 Case 1:18-md-02865-LAK                Document 836-47               Filed 06/27/22              Page 1 of 462

LION BRIDGE



          STATE OF NEW YORK
                                                        ss
          COUNTY OF NEW YORK




                                            CERTIFICATION



  This is to certify that the attached translation is, to the best ofmy knowledge and belief, a true

  and accurate translation from Danish into English of the attached letter from The Danish Tax

  Appeals Agency, dated June 26, 2020. I affirm that the linguist responsible for producing this

  translation is fluent in both the Danish and English languages.




                                                        Lynda Green, Senior Managing Editor
                                                        Lionbridge




                                                                     ETHA N WIN LY ·
  Sworn to and subscribed before me
                        J \,-\.
                                                             NOTARY PUBLIC-STATE OF NEW YORIC
       J.14-1..            ~t,         "2.--L                        No. 01 LY6323702
  this_--,_I"'_ day of _ _ _ _ __ , 20        .                Oualified in New York County
                                                              My Commission Expires 04-27-2023




                   259 W 30 th Street, 11 th Floor New York, NY 10001 +1 .212 .631 .7432
  Case 1:18-md-02865-LAK                     Document 836-47                 Filed 06/27/22            Page 2 of 462



Advokatfirmaet Poul Schmith, Kammeradvokaten I/S Vester                                    Contact
Farimagsgade 23                                                                            Send mail to the Danish Tax
1606 Copenhagen                                                                            Appeals Agency here
V Denmark
                                                                                           Telephone               33760909
Attn: Steffen Svaerke
                                                                                           Case Worker
                                                                                           Oliver Asbjørn Evers
                                                                                           Direct Telephone        33762411

                                                                                           Our Case No.            XX-XXXXXXX

                                                                                           Your Case No.           4000809
                                                                                           SS/ISA/CBRO


                                                                                           June 26, 2020




Mail from the Danish Tax Appeals Agency

You are hereby sent a copy of a letter from the Danish Tax Appeals Agency.

Please refer to the Danish Tax Appeals Agency’s case number if you contact us about this
letter.

Yours sincerely,

The Danish Tax Appeals Agency




                                                                                            VAT No 10 24 28 94
                                                                                            www.skatteankestyrelsen.dk


                                                                                                                          1/1
  Case 1:18-md-02865-LAK                     Document 836-47                Filed 06/27/22             Page 3 of 462



The Proper Pacific LLC 401k Plan                                                                        Contact
31W 21 ST Street Apt 2N                                                                                 Send mail to the Danish
NY 10010 New York                                                                                       Tax Appeals Agency here
United States of America (USA)
                                                                                                        Telephone 33760909

                                                                                                        Case Worker
                                                                                                        Oliver Asbjørn Evers
                                                                                                        Direct Telephone
                                                                                                        33762411

                                                                                                        Our Case No.XX-XXXXXXX

                                                                                                        June 26, 2020


Decision

An appeal has been filed against the Danish Tax Agency’s decision dated 04/06/2018 for The
Proper Pacific LLC 401k Plan, ID No 20630. The National Tax Tribunal has now ruled on the case.
The decision is attached.

Guidelines for proceedings
The decision may be appealed within 3 months of the date of the decision. The rules on judicial
review are set out in §§ 48-49 of the Danish Tax Administration Act.

The case must be brought before the district court where the taxpayer is domiciled. The action is
brought against the Ministry of Taxation, Nicolai Eigtveds Gade 28, 1402 Copenhagen K. The
detailed guidance on bringing an action is available at www.domstol.dk.




Best regards

Malene Bregnhøj




                                                                                                  VAT No 10 24 28 94
                                                                                                  www.skatteankestyrelsen.dk


                                                                                                                           1/1
    Case 1:18-md-02865-LAK                     Document 836-47               Filed 06/27/22              Page 4 of 462




                                                          Decision

                                                             from

                                           The Danish National Tax Tribunal




                                                         June 26, 2020

                                                     Case No. XX-XXXXXXX


Participants in the decision: Eline Ringgaard Kjeldsen, Bodil Toftemann and Poul Erik Nielsen

Appellant                    The Proper Pacific LLC 401k Plan

Matter being appealed:       Danish Tax Agency’s decision of 04/06/2018

Persona/Corporate ID No.:    20630




The Danish Tax Agency has revoked an earlier decision on the reimbursement of dividend tax. The National Tax Tribunal

upholds Danish Tax Agency’s decision.

Meeting etc.
A meeting was held with the representative of the Proper Pacific LLC 401k Plan (hereinafter the Pension Plan).

Factual information
The pension plan, established in September 2014, is registered as a pension fund in the United States.

The pension plan is established by a U.S. limited liability company (LLC) for the benefit of the company’s employees. A U.S.
pension plan established by an employer for the benefit of one or more employees cannot be self-administered. Nor may the
employer administer the pension plan. A trust acts as trustee through a person entitled to subscribe, known as a trustee.

By requests dated April 20, April 21, April 27, and May 15, 2015, an agent on behalf of the Pension Plan requested a
reimbursement of dividend taxes of $29,035,888.
The Danish Tax Agency has obtained information on the Pension Plan from the U.S. tax authorities, Department of the Treasury,
Internal Revenue Service (hereinafter IRS). This information shows:




Case No. XX-XXXXXXX                                      Page 156/239
    Case 1:18-md-02865-LAK                      Document 836-47                    Filed 06/27/22           Page 5 of 462




   -      That the Pension Plan is a newly established pension fund.
   -      That the annual contribution to the pension fund is limited to between USD 12,500 and USD
          53,000 per participant depending on the age of the contributor.
   -      That the Pension Plan failed to file FORM 5500, thereby representing to the IRS that its assets at
          year-end 2014 and 2015 were less than $250,000.

Assuming that the Pension Plan must own the stocks at the time of the General Meeting (the day before the
ex-date), the acquisition cost of the Pension Plan’s purchase of the stocks indicated in the request is calculated
on the basis of the closing price on the last trading day before the ex-date:

 Danish Tax                   Stock                    Date of rate         Amount          Exchange rate      Calculated
  Agency                                                                                                       acquisition cost in
 bundle no.                                                                                                    DKK
     35015     CHR. Hansen Holding A/S                  11-27-2014                839,500          258,90              217,346,550
       35015   Coloplast A/S – B                        12-04-2014                930,208          527,00             490,219,616
       39015   Novozymes A/S B                          02-25-2015                683,931          322,50             220,567,748
       39015   TDC A/S                                  03-05-2015            3,293,727             54,00             177,861,258
       39015   DSV A/S                                  03-12-2015                692,422          219,20             151,778,875
       39015   Pandora A/S                              03-18-2015                400,364          614,50             246,023,678
       39015   Danske Bank A/S                          03-18-2015            2,906,712            175,30             509,546,614
       35215   Novo Nordisk A/S B                       03-19-2015            6,634,763            341,90            2,268,425,470
       39015   Gn Store Nord A/S                        03-19-2015                622,804          154,20              96,036,377
       39015   Tryg A/S                                 03-25-2015                 34,813          868,50              30,235,091
       39015   FL Smidth & CO A/S                       03-26-2015                 81,037          314,00              25,445,618
       39015   Carlsberg A/S – B                        03-26-2015                180,313          571,50             103,048,880
       35215   A.P. Møller Mærsk A/S A                  0330--2015                  7,879        15,810,00            124,566,990
       35215   A.P. Møller Mærsk A/S B                  03-30-2015                  8,083        16,410,00            132,642,030
       39015   Vestas Wind Systems A/S                  03-30-2015                377,809          290,20             109,640,164
       40115   Coloplast A/S – B                        05-06-2015                294,370          510,00             150,128,700

In 2015, the Danish Tax Agency paid a reimbursement of dividend tax to the Pension Plan pursuant to a request
from the Pension Plan’s agent, Goal Taxback Limited:

Danish Tax      Date of                     Stock                  Amount           Ex-date *)      Dividend         Dividend tax
 Agency        maturation                                                                          total DKK         refund
bundle no.
   35015        04/20/2015 CHR. Hansen Holding A/S                     839,500      11/28/2014      3,164,915               854,527
   35015        04/20/2015 Coloplast A/S – B                           930,208      12/05/2014      6,976,560             1,883,671
    35215       04/21/2015 A.P. Møller Maersk A/S A                      7,879      03/31/2015     15,529,509             4,192,967
    35215       04/21/2015 A.P. Møller Maersk A/S B                      8,083      03/31/2015     15,931,593             4,301,530
    35215       04/21/2015 Novo Nordisk A/S B                         6,634,763     03/20/2015     33,173,815             8,956,930
    39015       04/27/2015 Novozymes A/S B                              683,931     02/26/2015      2,051,793               553,984
    39015       04/27/2015 Vestas Wind Systems A/S                      377,809     03/31/2015      1,473,455               397,832
    39015       04/27/2015 TDC A/S                                    3,293,727     03/06/2015      3,293,727               889,306
    39015       04/27/2015 Gn Store Nord A/S                           622,804      03/20/2015        560,523               151,341
    39015       04/27/2015 Tryg A/S                                     34,813      03/26/2015      1,009,577               272,585
    39015       04/27/2015 Pandora A/S                                 400,364      03/19/2015       3,603,276              972,884
    39015       04/27/2015 FL Smidth & CO A/S                           81,037      03/27/2015         729,333              196,919




Case No. XX-XXXXXXX                                       Page 156/239
    Case 1:18-md-02865-LAK                      Document 836-47                 Filed 06/27/22            Page 6 of 462




    39015       04/27/2015 DSV A/S                                   692.422      03/13/2015         1,107,875               299,126
    39015       04/27/2015 Carlsberg A/S – B                         180,313      03/27/2015         1,622,817                438,160
    39015       04/27/2015 Danske Bank A/S                         2,906,712      03/19/2015        15,986,916              4,316,467
    40115       05/15/2015 Coloplast A/S – B                         294,370      05/07/2015        1,324,665                 357,659
      Total                                                                                       107,540,349              29,035,888

*) The date on which a stock ceases to be traded with dividend rights

The request was accompanied by the following appendices:

          1.       Form 06.003 ENG – Claim to Relief from Danish Dividend Tax.
          2.       Credit Advices.
          3.       FORM 6166 from IRS – Certificate of resident in USA (issued by IRS).
          4.       Power of Attorney to Goal Taxback Limited.

Re: 1. Form 06.003 declares that the Pension Plan is the legal owner of the stocks and is covered by the Double Taxation
Convention between Denmark and the United States.

Re: 2. Credit advices prepared by custodian Old Park Lane Capital PLC or Telesto Markets LLP as evidence of the Pension Plan’s
ownership of the stocks and receipt of dividends from the stocks.

Re: 3. Certificate evidencing that an individual or corporation is domiciled in the United States for U.S. tax purposes.

Re: 4. Authorization to the agent of the Pension Plan to submit the request for reimbursement of withholding tax.

All stocks in Danish listed companies are registered with VP Securities, the Danish central securities depository.

This registration includes a securities account in a Danish bank set up in the name of a stockholder. A securities account
contains the stockholder’s holdings of stocks, which may consist of stocks in various Danish listed companies. Stocks in listed
companies may be registered as held by, for example, banks that have one common securities account for their customers
(called an omnibus securities account). The bank will be registered with VP Securities as the owner, even if it is a client who
actually owns the stockholding. Omnibus securities accounts are registered with the nationality/address of the securities
account holder (typically the bank) – without knowledge of the nationality of the underlying owner.

A search of information provided by VP Securities did not reveal any securities account held with a Danish bank of which the
Pension Plan or its custodian, Old Park Lane Capital PLC or Telesto Markets LLP, is the registered owner.

The Danish Tax Agency has obtained information from the IRS, which has attached Instructions for FORM 5500-EZ in a letter
dated June 13, 2016, which states:

          “Who Does Not Have To File FORM 5500-EZ




Case No. XX-XXXXXXX                                        Page 156/239
    Case 1:18-md-02865-LAK                      Document 836-47                 Filed 06/27/22            Page 7 of 462




          You do not have to file FORM 5500-EZ for the 2015 plan year for a one-participant plan if the total of the plan’s assets
          of all other one-participant plans maintained by the employer at the end of the 2015 plan year does not exceed
          $250,000, unless 2015 is the final plan year of the plan. For more information on final plan years, see Final Return
          later.”

Based on information provided by the IRS, it is the Danish Tax Agency’s assessment that this is a “One-Participant (Owners and
Their Spouses) Retirement Plan.”

For general questions about retirement plans and contributions to them, the IRS has provided links to the IRS website on
“Topics for Retirement Plans.” The website states, among other things:

          -        That a One-Participant 401(k) plan covers a business owner with no employees other than the person and any
                   of his or her immediate family.
          -        That the annual deposit is limited to between USD 12,500 and USD 53,000 depending on the age of the
                   depositor (limited to a maximum of USD 53,000, however USD 59,000 for participants aged over 55).

The Danish Tax Agency has based on information from the IRS:

          -         That if a pension plan does not file FORM 5500, the pension plan is indicating that it is a One-Participant
                    Retirement Plan with assets of less than $250,000.
          -         That if a tax-exempt retirement plan operates a business (Unrelated Business Income), it must pay taxes on
                    the income therefrom and a Form 990-T must be filed with the IRS.
          -         That if a tax-exempt retirement plan has Dept-financed Income, tax must be paid on the income therefrom
                    and a Form 990-T must be filed with the IRS.
          -         That if a pension plan distributes funds, this must be reported to the IRS on a Form 1099, stating how much
                    was paid out and to whom. The person who received the funds is taxable on the income and must file a tax
                    return.

The IRS indicated in a letter dated December 13, 2016, that it does not have tax returns (FORM 5500) for the pension plan
because no tax returns were filed for 2014 or 2015.

The Pension Plan representative has indicated that the stocks were purchased shortly before the dividend date and that the
Pension Plan entered into a contractual agreement for payment after the dividend date. After receiving the dividend, the
Pension Plan lent the stocks to third parties. The borrower had to provide cash collateral which the Pension Plan could use to
pay for the stocks at the time of settlement for the acquisition of the stocks.

The representative of the pension plan has stated that its investment strategy aims at realizing a profit by exploiting the price
difference on the spot and forward market, which consists of three components: a stock purchase, a derivative transaction (a
forward) and a stock lending transaction. The actors in these three transactions include:

          “
          1      An American pension plan (which becomes the owner of the Danish stocks)
          2      A trader (a trustee who places all orders for all transactions)




Case No. XX-XXXXXXX                                       Page 156/239
    Case 1:18-md-02865-LAK                     Document 836-47                Filed 06/27/22            Page 8 of 462




         3         An execution broker, who acts as a legal counterparty to the buyers and sellers, carrying out owner-matching
                   transactions
         4         A clearing agent who receives settlement instructions after a trade has been concluded and the contract is
                   therefore final
         5         A custodian who registers the ownership of the stocks as sub-custodian and thereby holds the stocks for the
                   pension plan
         6         A forward intermediary (the legal counterparty to the forward hedge)
         7         A stock loan intermediary. The pension plans do not know who the final stock lender was, as the
                   intermediary not only arranges a stock loan, but also enters into the contracts as borrower or lender
         8         Tax agents (who submit the reimbursement applications)
         9         Introducing broker (a contact person who introduces clients to the various financial institutions for a fee)
         10        An “arranger” (an agent with exclusive access to certain networks, companies or business concepts
                   (intellectual property rights)).”

The pension plan representative among other things also stated:

                   ‘Apart from the pension plan, which would realize an arbitrage gain from the transactions, the sole motivation
                   of all the other actors to carry out the transactions was to earn their respective fees in the performance of
                   their respective tasks.

                   As the pension plan’s profit was already secured when the forward contract was concluded, all the operators
                   could be sure that they would receive the required fee. It was only when the gain between the stock
                   purchase and the forward contract had been used up and the dividend reimbursement had still not been
                   received that the service providers ran the risk of not being paid (in the event that the reimbursement would
                   not be paid), as the pension scheme would then be in a loss-making situation. This was therefore the limit for
                   how long the pension scheme could keep the positions open.”

The pension plan representative described a trade as follows:

                   “Any arbitrage investment consists of a series of sequential events beginning with the opening of a position
                   followed by its closing, whereby such a position consists of three parts: a stock trade (a stock position is
                   opened and closed, i.e., the stocks are bought and sold), a forward contract (which is opened and closed) and
                   a stock loan (the loan is made and repaid). In addition to these trading transactions, a net dividend and a
                   reimbursement of withholding tax are received. However, the latter are intended only to cover part of the
                   loss in the price of the stock, which takes place on the ex-date.

                   To open or close a position, exactly the same actions are performed as are documented for the emails
                   presented.

                   The economic gain realized from an arbitrage transaction can be considered in different ways:

                   One way is to compare the economic outcome of the equity trade itself (opening and closing the equity
                   position) in isolation from the forward contract (its opening and closing), as done in the example below.
                   Another way is to compare the economic outcome between the equity and forward trade when these two
                   positions are opened and closed.




Case No. XX-XXXXXXX                                      Page 156/239
    Case 1:18-md-02865-LAK                     Document 836-47                 Filed 06/27/22            Page 9 of 462




                   While the figures used in both scenarios are the same, the economic conclusions drawn are different, as the
                   gain from aggregating both transactions is realized when the positions are opened (when the stocks are
                   bought and the forward contract is concluded), rather than when the positions are closed on the last day of
                   the investment. The arbitrage gain is not included in the dividend tax reimbursement. The gain is simply a
                   similar amount. The pension fund, which paid 100 % of the value of the stocks before the ex-date, also paid
                   for the gross dividend with the purchase price. However, the pension plan received only the net proceeds.
                   The pension plan had thus paid the dividend tax when the stocks were acquired. The final gain (including the
                   reimbursement of the dividend tax) is not the same as the dividend tax. It is higher if the pension plan does
                   not use the entire profit from the arbitrage transaction to keep the stock loan open.

                   The arbitrage gain, which can be identified and thus retained (booked as unrealized gain) already when the
                   stocks are purchased and the forward contract is concluded on the first day of the transaction, is shown in
                   the statements (cash ledgers) prepared by Schaffelhuber Müller & Kollegen S.a.r.l.”

The pension plan representative described a stock arbitrage transaction with an example at the office meeting as follows:

                   “Purchase/sale of stocks and forward contract
                   On November 27, 2014, the pension plan issued a purchase order for 839,500 CHR Hansen Holding A/S stocks
                   at a price of DKK 258.9 per stock, totaling DKK 217,346,550.00. Payment, delivery of stocks and registration
                   were scheduled for December 2, 2014 (settlement).

                   On November 27, 2014, the pension plan also entered into a forward contract (a financial contract) for the
                   sale of 839,500 CHR Hansen Holding A/S stocks at a price of DKK 256 per stock for settlement on March 20,
                   2015.

                   On December 16, 2014, the pension plan entered into a new forward contract with the same settlement
                   date, March 20, 2015, for the purchase of 839,500 CHR Hansen Holding A/S stocks at a price of DKK 261.22.
                   They therefore closed the open position and had a loss on the forward of DKK -4.80 per stock.

                   On December 16, 2014, the pension plan sold the stocks at a price of DKK 261 per stock, totaling DKK
                   219,109,500. The pension plan thus had a net gain of DKK 2.10 per stock, totaling DKK 1,762,950.

                   The stock trades and forward contracts resulted in a total loss of DKK -2.70 per stock, for a total loss of DKK –
                   2,266,650.

                   Stock Lending
                   On December 01, 2014, the pension plan issued an order for settlement on December 2, 2014 to lend
                   839,500 CHR Hansen Holding A/S stocks at a price of DKK 258.90 per stock, totaling DKK 217,346,550, against
                   collateral of cash payment of the amount. The pension plan thus received DKK 217,346,550 as security for
                   the return of the stocks.

                   The stock loan was terminated on December 16, 2014, with an effective date of December 18, 2014. This had
                   the consequence that the stocks had to be returned. The stocks then (on December 16, 2014) had a market
                   value of DKK 261 per stock, totaling DKK 219,109,500.




Case No. XX-XXXXXXX                                      Page 156/239
     Case 1:18-md-02865-LAK                                                  Document 836-47                      Filed 06/27/22            Page 10 of 462




            This amount plus the total amount of the current valuation adjustment, MTM, which amounted to DKK -1 762 950 had
            to be repaid to the stock borrower, totaling DKK 217 346 550.

            The stock borrower was thus guaranteed to receive the full amount he had given as cash collateral for the stock loan.

            In addition, the pension plan had to pay interest on the stock loan of DKK 67,618.93 and receive a fee for the stock loan
            of DKK 23,880.98, in total paying -DKK 43,737.95.

            Dividend – Reimbursement payment and reimbursement
            Pay day, the day on which the dividend is paid, was December 02, 2014.

            The dividend had been approved at the Annual General Meeting on November 27, 2014. The pension plan received
            compensation for the net dividend.

            On the record day (December 1, 2014), the pension plans were not yet registered as owners of the stocks, as the
            settlement of the purchase did not take place until December 2, 2014.

            VP therefore paid the dividend to the former owner, who was registered as the owner of the stock with VP on
            December 1, 2014.

            Under the so-called “market claim process,” the seller’s custodian is required to debit the proceeds from the seller and
            credit the proceeds to the buyer (or forward the proceeds to the buyer’s custodian so that he can credit the buyer’s
            account).

            The gross dividend paid by CHR Hansen Holding A/S was DKK 3.77 per stock, totaling DKK 3,164,915 for the pension plan
            stocks.

            The net dividend amounted to DKK 2,310,387.95 and the dividend tax to DKK 854,527.05.”


The representative provided an example of the Pension Plan’s stock transactions:



    The Proper Pacific LLC 401k Plan
    2014 CHR HANSEN HOLDING NS


                                                                                      C

                                          Opening Balance
                        Equity            Buy 839.500 CHR HANSEN HOLDING A/5@ 258,9 OKK                                                -217.346.550,00    -211._346.s~.oo
                        Forward           Sell 839.500 CHR HANSEN HOLDING A/5@ 256,42 OKK EXPIRES 20.Mar 15                                               -217.346.550,00
                        Trading Fee       Bastion Capital Broker Invoice                                                                     -2.716,83    -217.349.266,83
                        Oivklend          CASH OIVIOENO CHRHANSEN HOLDING A/5 P002. 0ez 14                              2.310.387,95                      -215.038.878,88
                        Stock Loan
                        Trading Fee
                                          lend839.SOOCHRHANSEN HOLDING A/5@ 258,9 OKK
                                          Trading Fees USO 624,70@ 0,1676
                                                                                            ----                      217.346.550,00
                                                                                                                                             -3. 727,33
                                                                                                                                                             2.307.671,12
                                                                                                                                                             2.303.943,79
                        Equity            Sell 839.500 CHR HANSEN HOLDING A/5@ 261 OKK                                219.109.500,00                      221.413.443,79
                        Forward           8uy 839.500 CHR HANSEN HOLDING NS@ 261,22 OKK EXPIRES 20.M~r 15                                -4.029.600,00    217.383.843,79
                        Stock Loan        Recall 839.500 CHR HANSEN HOLDING A/5~ K                                                     -219.109.500,00      -1.725.656,21
                        Stock Loan        Stockloan MTM Realized                                                        1.762.950,00                           37.293,79
“                       Stock Loan        Stocklending Fee                                                                                  -43.737,95          -6.444,16
                        Trading Fee       Bastion Capital Broker Invoice                                                                     -2.738,87          -9.183,03
                        Trading Fee       Trading Fees USO 4.396,91 @ 0,1681                                                                -26.156,51         -35.339,54
                        Platform Fee      CPL TAS Platfonn Fee· December 14 USO 1.814,70@ 0,1625                                            -11.167,38         -46.506,93
                        Dividend          TaxRedaim CHR HANSEN HOLDING A/S                                               854.527,05                           808.020,12

           ----
              Dividend                    Goal Group Fee
                                          Oosing Balance
                                                                                                                                             -8.545,27        799.474,85
                                                                                                                                                              799.474,85


         • Exchange rates are based on closing price of the date or last available closing price




Case No. XX-XXXXXXX                                                                                Page 156/239
    Case 1:18-md-02865-LAK                   Document 836-47                Filed 06/27/22            Page 11 of 462




“
The pension plan representative has explained the individual steps for the complete implementation of a trade as follows:


“
         1 Order to buy stocks placed by e-mail
         2 The clearing agent’s commitment to the stock purchase (which indirectly means a guarantee for the settlement and
         payment of the stocks in the clearing agent’s capacity as prime broker) – this was also done by e-mail
         3 Matching of the purchase order and thereby the conclusion of a binding agreement on the purchase of the stocks
         was confirmed by the broker by e-mail
         4 Invoice from the broker was received by e-mail
         5 A broker confirmation (trade note) was received by e-mail
         6 Order to sell stocks through a forward contract was placed by e-mail
         7 Confirmation of the forward contract was received by e-mail
         8 Order for stock lending was placed by e-mail
         9 Confirmation of stock lending was received by e-mail
         10 Order to sell the stocks was given by the pension plan by e-mail
         11 The fund broker confirmed the execution of the sale by e-mail
         12 Order to buy back the forward contact was given by e-mail
         13 Confirmation regarding the repurchase of the forward contract was received by email
         14 The stock lending was recalled by e-mail
         15 The cancellation of the stock loan was confirmed by e-mail.”


The representative of the pension plan presented a number of general and specific appendices. The following are examined in
detail:

         1. Retirement Plan Account Opening Procedure dated September 26, 2014 signed by Doston Bradley.
         2. Certification of Trust signed on September 26, 2014 by Trustee Doston Bradley on behalf of Pacific India LLC.
         3. Trust Agreement dated September 26, 2014 between Pacific India LLC and Trustee Doston Bradley.
         4. Custody Agreement is not presented in the case. Only the “Terms and conditions for custody services” have been
             submitted.




Case No. XX-XXXXXXX                                     Page 156/239
   Case 1:18-md-02865-LAK                     Document 836-47                 Filed 06/27/22            Page 12 of 462




       5.    Various Global Master Securities Lending Agreements (GMSLAs) entered into between British Virgin Islands and
             Cayman Islands sellers (Party A), and DB4 Investment Trust (Party B). The agreements are undated.

The agreements are described as a framework agreement for use in the Pension Plan’s stock lending.

The pension plan representative has stated that short selling, which according to the FSA’s own definition means the sale of a
stock that the seller does not own at the time of the sale, as opposed to an ordinary securities trade where the seller owns the
security being sold, is not regulated in Denmark with the exception of the rules prohibiting uncovered short selling and some
flagging rules.

The representative has also stated:

        “It is internationally recognized that a short seller is considered covered if he simply has a framework stock loan
        agreement in place at the time he sells the stocks he does not own. Such a framework agreement is a GMSLA. A person
        who wishes to sell stocks he does not own simply needs to ensure that he can deliver the stocks at the point of delivery
        by means of a stock loan framework agreement. The short seller does not have to enter into a specific agreement to
        borrow a certain number of stocks before the sale is made, as postulated by the Danish Tax Agency in its submission of
        May 9, 2019, as such an agreement would make the short seller the civil law owner of the stock. He would thus no
        longer be a short seller at all, but a “long owner seller.” Short selling can therefore (legally) only occur in the form of
        sales under stock loan framework agreements.

        As a short seller only needs to be covered by entering into a framework agreement for stock lending, short selling has
        the consequence that a short seller increases the number of stocks traded and thus the number of stocks for which final
        and binding purchase agreements are entered into. All purchasers of these stocks become, under the general rules of
        the law of obligations, the owners of the stocks acquired.

        No one can distinguish between stocks sold by a short seller and stocks sold by a real stockholder (“long owner”). The
        number of stocks available for trading (i.e., free float) thus increases (temporarily) in the case of short selling to a
        number exceeding 100 percent of the issued stocks. It is only at the settlement of the stock dealers that this excess
        number of stocks in trading is brought back to the actual number of stocks issued by the company. The total amount of
        dematerialized stocks will always be correct at the time of settlement, when the short seller has to sell the stocks sold,
        by drawing stocks under the stock loan or making a covering purchase on the market.

        It is thus possible that more Danish stocks are traded on the market than the number originally issued by the
        companies. “Short selling has precisely the typical (and also often desired) consequence that more stocks are available
        on the market than were originally issued.”

       6.   Tax Opinion dated June 27, 2012 issued by Hannes Snellman Advokatpartnerselskab at the request of Solo Capital
            (Dubai) Limited.

       7.   Custody Statement for the Pension Plan for the period January 01–December 31, 2015.




Case No. XX-XXXXXXX                                       Page 156/239
Case 1:18-md-02865-LAK                   Document 836-47                Filed 06/27/22            Page 13 of 462




 The pension plan representative has stated that the Custody Statement shows stock purchases and sales as well as loan
 transactions and forward transactions. “Custody statements therefore show all transactions relating to stock positions. The
 dividend distribution was obviously not booked to the stock accounts, but to a cash account. This cash account could be
 viewed online by the pension plans on a regular basis. Since none of the pension plans whose cases were selected as lead
 cases printed these cash accounts in paper form, we were unable to provide these pages.”

 8.    Equity Forward Transaction. Several similar agreements have been concluded. For example, on March 6, 2015, an
       agreement was entered into between Gartside Global Ltd, British Virgin Islands, and the Pension Plan for the sale by
       the Pension Plan of forwards relating to stocks in TDC A/S, and an agreement was entered into on May 28, 2015
       between Gartside Global Ltd, British Virgin Islands, and the Pension Plan for the purchase by the Pension Plan of
       forwards relating to the same stocks. The agreements were signed by Authorized Trader Matthew Tucci on behalf of
       the Pension Plan.

 9.    Trading note from Bastion Capital London Ltd for the purchase of stocks and invoices for brokerage from the same
       companies for the purchase of stocks.

 10.   Various e-mails which, according to the Pension Plan representative, document orders for the purchase of stocks,
       the sale of stocks, for stock lending, the purchase of forwards, etc., see above regarding documentation for the
       complete execution of the transaction.

 On August 28, 2017, the Danish Tax Agency requested the Public Prosecutor for Special Economic and International Crime
 (SØIK) to:

 •      To confirm or deny that the Pension Plan has received the dividends in question.
 •      To state whether the material seized includes custody statements from financial institutions showing custody
        holdings of the pension fund.

 On November 23, 2017, SØIK partially granted the Danish Tax Agency’s request and replied to 66 specific pension plans:



        “In response to the Danish Tax Agency’s enquiries, SØIK can state that, as a general rule, information from a
        pending criminal prosecution is not disclosed to parties outside the criminal proceedings.
        The reasons for this are given below in relation to the specific request for disclosure of information from the
        pending criminal investigation.
        However, in view of the exceptional nature of the case and the Danish Tax Agency’s special need to receive
        information for the purposes of the pending tax proceedings, SØIK considers that it can provide the following
        information without prejudice to the investigation:

 Regarding 1.
 On the basis of the investigation conducted so far, SØIK cannot confirm that the U.S. pension plans mentioned in the
 above e-mails have received stock dividends as a result of holding Danish stocks.




 Case No. XX-XXXXXXX                                      Page 156/239
   Case 1:18-md-02865-LAK                      Document 836-47                Filed 06/27/22           Page 14 of 462




     Regarding 2.
     Based on the investigation conducted so far, SØIK cannot confirm that the pension plans mentioned in the above e-mails
     have held Danish stocks. Nor has VP-Securities A/S received any information on the ownership of stocks which, on the basis
     available could confirm that the pension plans in question held Danish stocks.

The Danish Tax Agency’s decision
On April 6, 2018, the Danish Tax Agency revoked previous decisions on the reimbursement of dividend taxes. The reasons given

are as follows:

     “The Danish Tax Agency has in the past decided on dividend tax refunds to The Proper Pacific LLC 401K Plan (hereinafter The
     Proper). The payments relate to the following dividend tax reimbursement requests received by the Danish Tax Agency
     from Goal Taxback Limited on behalf of The Proper:
     ...
     The Danish Tax Agency’s previous decisions on reimbursement of dividend taxes totaling DKK 29,035,888 to The Proper are
     revoked, as The Proper has not been entitled to receive the amounts.

     This is the Danish Tax Agency’s assessment:
            x That The Proper does not own or have owned the stocks set forth in the requests.
            x That the dividends in respect of the stocks shown in the applications have not been received by The Proper.

     Furthermore, it is the Danish Tax Agency’s assessment that The Proper has not had the capital to finance the investments in
     Danish stocks that are the basis for the dividend tax reimbursement requests.

     In its assessment, the Danish Tax Agency has emphasized that The Proper has not provided any evidence that The Proper
     has owned the stocks. Nor has The Proper provided any evidence that the pension fund has received dividends on the
     stocks. The information in the case does not provide a basis for such significant investments in Danish stocks.

     The Danish Tax Agency has emphasized:
          x At The Proper is a newly founded pension fund.
          x That The Proper has only a single participant with the resulting limited deposit amounts.
          x That The Proper has not filed Form 5500 in the United States, therefore it must be assumed that The Proper’s
               net worth was less than USD 250,000 at the end of the relevant tax years.
          x That SØIK cannot, on the basis of the investigation conducted so far, confirm that The Proper has held Danish
               stocks or has received stock dividends as a result of holding Danish stocks.

     On the basis of the information now available, it is the Danish Tax Agency’s assessment that The Proper has not had the
     financial means to own stocks to the extent indicated in The Proper’s applications for reimbursement of Danish dividend
     tax. This is shown, for example, by,

           x      That within 3 months of its foundation, The Proper had invested DKK 217,346,550 in the CHR stock. Hansen Holding
                  A/S.




Case No. XX-XXXXXXX                                       Page 156/239
   Case 1:18-md-02865-LAK                     Document 836-47                 Filed 06/27/22             Page 15 of 462




           x    That on March 19, 2015, The Proper was the owner of stocks in Novo Nordisk A/S with a total value of DKK
                2,268,425,470.

     Therefore, The Proper has not demonstrated that The Proper qualifies for a reimbursement of withholding taxes on Danish
     stocks under Article 10 of the Double Taxation Treaty between Denmark and the United States.

    The Proper’s representative, Advokatfirmaet TVC, has not provided any information or evidence with their objections to the
    Danish Tax Agency’s proposal of March 24, 2017 that The Proper has owned the stocks and received the stock dividends
    according to the requests.

    The Danish Tax Agency’s decisions to reimburse dividend tax to The Proper are therefore wrongly based. The Danish Tax
    Agency therefore revokes the previous decisions on the reimbursement of dividend tax.

    By this decision, the Danish Tax Agency does not collect the unjustified reimbursement of dividend tax. This is a change
    from the Danish Tax Agency’s previous proposed ruling of March 24, 2017 to The Proper. On behalf of the Danish Tax
    Agency, the Advocate General will send a demand letter in which the Danish Tax Agency will claim repayment and
    compensation from The Proper.
    ....”

The appellant’s view
The pension plan representative has requested that the Danish Tax Agency’s decision of April 6, 2018 be annulled.

In support of the action, it is submitted that there are no grounds for challenging the Danish Tax Agency’s earlier decision on the
reimbursement of dividend tax, since there are no grounds for challenging the (tax) ownership of the stocks in question, as the
Danish Tax Agency claims.

Furthermore, it is submitted that the Danish Tax Agency’s decision of April 6, 2018 should be annulled, so that the previous
decision on the reimbursement of dividend tax stands, while leaving it to the Danish Tax Agency to carry out the necessary full
investigations into the matter.

The representative further stated:

    “1 No basis for contesting the ownership of the stocks
    In general, it is submitted that there is no basis for disputing the tax ownership of the stocks in question, as claimed by the
    Danish Tax Agency.

    1.1 Lack of capital

    First,
    -  - it is disputed that The Proper Pacific LLC 401K Plan (as claimed by the Danish Tax Agency) did not have the financial
    means to acquire the stocks from which dividends were paid and subsequently claimed back.

    In this context, it should be noted that a buyer of stocks (i.e., here the pension fund) has numerous possibilities to obtain
    financing for the purchase of stocks in today’s global financial markets without using equity. In addition to traditional debt
    financing, there are several other financial instruments that can be used to obtain the necessary financing to acquire
    beneficial ownership or legal title, and in the case at hand, legal (fiscal) ownership of the stocks.




Case No. XX-XXXXXXX                                       Page 156/239
  Case 1:18-md-02865-LAK                       Document 836-47                  Filed 06/27/22             Page 16 of 462




    The various players in the financial sector offer a wide range of financial products and derivatives that provide immediate
    access to liquidity (cash flow) for the payment of securities at the time of delivery. The motivation for investors to sell
    liquidity in the form of such standard instruments is to limit the use of their own funds (equity as opposed to cash) to
    increase the expected return on their assets. The buyer of stocks would rather use external sources of liquidity than use
    own funds.

    For example, liquidity or cash flow to pay for the delivery of the stocks can be generated by carrying out various derivative
    transactions, such as issuing a deep in the money call option or a prepaid performance contract over securities.

    Investors can also obtain liquidity by using Prime Broker Facilities for Securities Lending (including Repo-Pools) and Intraday-
    Liquidity-Facilities, which provide access to same-day funding (“just-in-case” or “back-up” facilities).

    Providing their clients with access to liquidity is an important part of any stock-broker’s or investment manager’s standard
    service. This service – similar to prime broking for institutional clients – is due to the fact that interest rates are negative
    today. The primary motivation is to offer free money as an incentive to invest. A stockholder can use its own assets,
    including stocks, to provide liquidity by pledging them as collateral for liquidity facilities.
    This will provide the stockholder with a very substantial liquidity facility. Such an “intra-day liquidity facility” would only be
    used if there were insufficient liquidity at the time of delivery of the stocks (delivery versus payment).

    A so-called “Global Master Securities Lending Agreement” (GMSLA), which is the “market standard” for the contracts
    offered by prime brokers, is usually executed as an integral part of the account opening procedure between the client and
    the broker, even before any orders to buy stocks are placed. A broker will know under a GMSLA that his client has access to
    liquidity for the payment of the stocks already on the date the purchase contract is concluded (which is three business days
    prior to delivery), as the client can lend his stocks to a third party for an indefinite period of time and receive up to 100
    percent of their respective price in cash.
    This means that each purchase of stocks will generate the necessary liquidity to finance the continued holding of the stocks
    after their purchase, as the buyer can raise sufficient liquidity to pay for the purchase by lending its stocks to a third party.
    In other words: The stock borrower, who would use the stocks (which in this example belonged to the pension fund) after
    the dividend date, provided security for this stock loan in the form of cash (which was deposited in the pension fund
    accounts) for the duration of the stock loan.

    The Danish Tax Agency states in the present decision that The Proper Pacific LLC 401K Plan did not have the capital to
    acquire the stocks from which dividends were paid and for which dividend tax reimbursements were sought. The Danish Tax
    Agency thereby overlooks the fact that the size of a legal entity’s capital does not limit its ability to acquire assets, including
    stocks, since the financial resources for such acquisitions can easily be obtained by other means. The decisive factor in
    determining whether a given legal entity can acquire stocks and other assets is whether the necessary liquidity can be
    provided (by substitution of own funds). Therefore, it is not correct as assumed by the Danish Tax Agency that The Proper
    Pacific LLC 401K Plan did not have the financial ability to acquire the stocks from which




Case No. XX-XXXXXXX                                        Page 156/239
  Case 1:18-md-02865-LAK                       Document 836-47                 Filed 06/27/22            Page 17 of 462




    dividends have been paid and for which a reimbursement of dividend tax has been claimed. Whether this has been done
    using a substitute for equity or otherwise is legally irrelevant, for the Danish Tax Agency bases its decision on a fundamental
    misunderstanding of the relevant economic facts by assuming that ownership of stocks must be obtained through capital
    rather than liquidity obtained by other means.

                                                                 --------

    In accordance with the decision of the National Tax Board in SKM2010.26.SR, it is thus the pension fund that, as the lender
    of the stocks to third parties, is also entitled to receive the dividends paid by the company on the stocks held by the pension
    fund.

    It is therefore not correct that the pension fund was unable to pay for the transactions in question.

    1.2 Dividends and reimbursed dividend taxes are payable to The Proper Pacific LLC 401K Plan

    Secondly, it is generally disputed that The Proper Pacific LLC 401K Plan (as alleged by the Danish Tax Agency) did not receive
    the dividends alleged in The Proper Pacific LLC 401K Plan’s dividend tax reimbursement requests.

    The Danish Tax Agency has not substantiated this view in the contested decision or documented that the pension fund has
    not received the dividend or the reimbursement.

    It should be noted that the dividend tax reimbursement requests were accompanied by so-called Dividend Credit Advices
    (hereinafter DCA) prepared by the responsible custodian(s). These specifically stated that The Proper Pacific LLC 401K Plan
    had received the net dividend in respect of the stocks identified in the requests.

    According to the Danish Tax Agency’s website at the time, the DCAs were sufficient documentation of the receipt of
    dividends.

    It should be emphasized that the DCAs in question were issued by regulated financial institutions authorized to issue such
    certificates. The Proper Pacific LLC 401K Plan may properly refer to these DCAs as there is no other evidence of receipt of a
    dividend.

    Furthermore, it should be emphasized that, to the extent that the Danish Tax Agency has contested the content of the DCAs
    - could have obtained relevant documentation from the other professional actors involved in the execution of the
    transactions at stake (i.e., professional actors responsible for tax-filings, stock-brokerage, clearing, settlement, custody,
    safe-keeping and administration). However, the Danish Tax Agency failed to do so.

    It should be noted in this context that all the professional operators involved have been subject to supervision by public
    supervisory authorities during the period covered by the case. In addition, the accounts and procedures of the operators
    concerned have been examined and approved by independent auditors during the period covered by this case.

    In particular, in relation to the custodian(s) in question, the Danish Tax Agency has failed to use its authority to obtain
    relevant information and documentation with




Case No. XX-XXXXXXX                                       Page 156/239
  Case 1:18-md-02865-LAK                       Document 836-47                 Filed 06/27/22             Page 18 of 462




    the implementation of the disputed transactions by the competent supervisory authorities. This is particularly relevant in
    view of the fact that The Proper Pacific LLC 401K Plan held its accounts with a custodian regulated and supervised by the
    English supervisory authorities. This is of crucial importance as The Proper Pacific LLC 401K Plan – like all other clients of a
    custodian – obviously does not have access to confidential information of their custodians.

    1.3 Failure to file a tax return in the U.S.

    Thirdly,
    - - - - it is disputed in general that the lack of a tax return for The Proper Pacific LLC 401K Plan under U.S. tax law – as
    claimed by the Danish Tax Agency – can be given weight in assessing whether The Proper Pacific LLC 401K Plan was the
    rightful owner of the stocks from which dividends were paid and subsequently claimed back.

    Thus, it is disputed that The Proper Pacific LLC 401K Plan’s failure to file a Form 5500 tax return in the United States may
    prejudice The Proper Pacific LLC 401K Plan.

    A pension fund is exempt from tax under U.S. tax law if its assets do not exceed the threshold of USD 250,000 on the last day
    of the accounting year.

    It should be noted that the assets of the pension fund may well have exceeded the limit during the year, provided that the
    assets at the last accounting date were less.

    Of course, there may be a variety of specific reasons why the pension fund’s assets were less than USD 250,000 at the last
    reporting date.

    For example, the completed stock transactions would typically have been completed at this point (purchase and sale
    completed), with the effect that the stocks were no longer in custody.

    In addition, there are a number of costs associated with the transactions carried out, which also result in a reduction in the
    pension fund’s assets.

    It is also possible to make distributions from the pension fund, with the effect that the assets at the reporting date were less
    than USD 250,000.

    In the instant case, The Proper Pacific LLC 401K Plan’s assets at each of the respective year-ends did not exceed the
    $250,000 threshold.

                                                                   ------

    It is further disputed that The Proper Pacific LLC 401K Plan’s failure to file a Form 990-T self-assessment return in the United
    States may prejudice The Proper Pacific LLC 401K Plan.

    Filing the “Form 990-T” tax return is required if a 401K retirement plan has loan-funded income.

    As stated above, The Proper Pacific LLC 401K Plan has not technically borrowed any funds to pay for the purchase of Danish
    stocks. As noted, The Proper Pacific LLC 401K Plan loaned its stocks to a third party. The cash collateral provided to secure
    this




Case No. XX-XXXXXXX                                        Page 156/239
  Case 1:18-md-02865-LAK                       Document 836-47                 Filed 06/27/22             Page 19 of 462




    lending of stocks, enabled The Proper Pacific LLC 401K Plan to recover the purchase price of the stocks, with the third party
    (borrower) having to provide collateral (in the form of cash) for the stock loan. The pension fund thus had the necessary
    liquidity available to pay the purchase price of the stocks.

    In this way, the liquidity for the acquisition of the stocks came from the stock lending operation itself. In other words, The
    Proper Pacific LLC 401K Plan did not have loan-funded income, and therefore The Proper Pacific LLC 401K Plan was not
    required to file a “Form 990-T” tax return.

                                                                  -------

    Finally, it should be noted that even if the pension fund had erroneously failed to file a tax return in the United States, any
    failure to file a tax return could in no way result in the pension fund not being the legal owner of the stocks in respect of which
    the dividend distribution was sought.

    In this context, it is noted that the pension fund in the United States is validly constituted and has both formal and effective
    legal capacity.

    1.4 Registrations in the Central Securities Depository

    - - - - it is disputed in general that the failure to register the stocks with VP Securities A/S can be attributed significance
    Fourthly,
    in assessing whether The Proper Pacific LLC 401K Plan was the rightful (tax) owner of the stocks from which dividends were
    paid and for which dividend tax reimbursements were subsequently sought.

    It is argued in this regard that it is not possible to determine from the records of VP Securities whether or not The Proper
    Pacific LLC 401K Plan was the beneficial owner of the stocks.

    Thus, this would not be possible in the present case where, as stated, The Proper Pacific LLC 401K Plan has lent the stocks to
    a third party. In such cases, this third party would appear to VP Securities as a stockholder, notwithstanding that the
    pension fund remains the legal (tax) owner of the stocks. The same applies in cases where the legal owner has its Danish
    stocks in an omnibus account or where the custodians themselves use other (sub)custodians.

    1.5 Newly founded pension fund with one participant

    In general, it is noted that the fact whether the pension fund in question is newly established, or has only one member, has
    no impact on the eligibility of the pension fund to receive dividends.

    If the pension fund fulfils the conditions of the double taxation agreement between Denmark and the USA, see Article
    22(2)(e), see Article 10(3)(c), the pension fund is entitled under the agreement to a reimbursement of the dividend tax.

    The agreement states that Denmark and the USA themselves define what constitutes a pension fund, and that this, cf. also
    the Danish Tax Agency’s decision, is understood as




Case No. XX-XXXXXXX                                        Page 156/239
  Case 1:18-md-02865-LAK                     Document 836-47                Filed 06/27/22            Page 20 of 462




           “A legal person organized under the laws of a Contracting State for the purpose of providing retirement or similar
           benefits under a defined benefit plan to employed persons, including self-employed persons, provided that more than
           50% of the beneficiaries of such person are natural persons resident in one of the Contracting States.”

    Since the pension fund is validly constituted under U.S. law and covered by the Agreement, Denmark must recognize the
    pension fund as eligible for dividend distribution. It is noted in this context that the Danish Tax Agency has apparently not
    been informed by the U.S. authorities that the pension fund is not validly constituted etc., as the Danish Tax Agency has not
    referred to this in the decision.

    Furthermore, the OECD’s comments on the U.S. double tax treaties indicate that all 401(k) plans with a single component
    are assumed to be covered by the U.S. treaties, as can also be documented in U.S. congressional documents relating to the
    vote on ratification of the U.S. double tax treaty.

    2 The Danish Tax Agency’s decision must be annulled

    Furthermore, it is submitted in general terms that the Danish Tax Agency’s decision of April 06, 2018 must be annulled, so
    that the previous decisions on the reimbursement of dividend taxes stand, while leaving it to the Danish Tax Agency to carry
    out the necessary, adequate investigations into the matter.

    By decision of April 6, 2018, see Appendix 1, the Danish Tax Agency has revoked previous decisions on the reimbursement
    of dividend tax.

    It should be pointed out in this connection that the Danish Tax Agency’s previous decisions on the reimbursement of
    dividend tax were unquestionably valid, which is also the basis on which the Danish Tax Agency has based its decision, since
    the revocation of the previous decisions presupposes, in purely administrative law terms, that the decisions were valid.

    The initial decisions on the reimbursement of dividend tax were taken on the basis of requests which undisputedly met the
    current documentation requirements.

    It is only now (several years after the submission of the reimbursement applications) that the Danish Tax Agency is
    questioning the validity of the documentation attached to the applications.

    However, the Danish Tax Agency based its subsequent opinion solely on undocumented assumptions about The Proper
    Pacific LLC 401K Plan’s lack of ownership and lending of the stocks in question. Thus, the Danish Tax Agency has not
    provided any actual evidence to support the claim of lack of ownership, etc., and the claim is therefore entirely
    unsubstantiated.

    The Danish Tax Agency has completely failed to obtain relevant information from the many foreign professionals who were
    undoubtedly involved in the transactions in question. Similarly, the Danish Tax Agency failed to obtain relevant information
    from foreign supervisory and control authorities.




Case No. XX-XXXXXXX                                     Page 156/239
   Case 1:18-md-02865-LAK                     Document 836-47                 Filed 06/27/22            Page 21 of 462




    The failure to obtain relevant information must be viewed in light of the fact that the Danish Tax Agency, through its powers
    of control, unlike The Proper Pacific LLC 401K Plan, has a real ability to obtain the information requested by the Danish Tax
    Agency.

    The evidentiary doubts regarding the issues raised by the Danish Tax Agency in its decision of April 6, 2018 must therefore
    be attributed to the Danish Tax Agency’s lack of effective investigation, which obviously cannot be detrimental to the
    Proper Pacific LLC 401K Plan.

    As stated, the Danish Tax Agency’s revocation is based solely on assumptions made several years after the dividend tax
    reimbursement decisions. This is, of course, particularly objectionable given the size and very serious significance of the
    matter for The Proper Pacific LLC 401K Plan. At the same time, The Proper Pacific LLC 401K Plan’s ability to rebut the Danish
    Tax Agency’s claims has been significantly impaired by the length of time involved and the fact that SØIK has also seized a
    large part of the documents in the case.

    In light of the above, it is submitted in general that the Danish Tax Agency could and should have conducted a more
    effective investigation into the matters raised by the Danish Tax Agency and that the Danish Tax Agency’s continued failure
    to do so cannot be detrimental to The Proper Pacific LLC 401K Plan.

    The Landsskatteretten must therefore ---
                                         annul the Danish Tax Agency’s revocation decision so that the original, valid profit tax
    reimbursement decisions stand and so that the Danish Tax Agency has the opportunity to conduct a proper investigation of
    the case.”

The Danish Tax Agency’s summary remarks
In its final observations, the Danish Tax Agency referred to final and summary submissions made in 5 preliminary cases in the
complex. These include the following:

    “(...)

    Despite the submission of several thousand pages of supporting documents, still none of the pension plans can document
    that they have paid for stocks. Nor can they prove that they have received stocks or that they have received the net proceeds
    of the stocks they claim to have owned. On the other hand, it is clear that they had no money.

    In itself, it is incredible that pension plans with no assets buy such extremely large stakes as alleged – often in the billions.
    This impression is considerably reinforced when none of the pension plans provide their own bank accounts to document
    cash flows to/from the pension plans’ own (bank) accounts, (...) but only some internal records with a custodian without
    underlying supporting documentation. It is consistent that none of the pension plans provide bank statements, let alone an
    explanation as to why they do not provide their own bank statements.

    In more detail, the Danish Tax Agency notes the following:

    Table of contents

    1.       INTRODUCTION                                                                                                         4
    2.       THE CASES IN OUTLINE5                                                                                                5
             2.1 Fraud complex worth DKK12.7 billion                                                                              5
             2.2 The six leading cases                                                                                            6




Case No. XX-XXXXXXX                                       Page 156/239
  Case 1:18-md-02865-LAK                   Document 836-47               Filed 06/27/22        Page 22 of 462




         2.3 The alleged arrangement of pension plans                                                                  9
         2.4 The alleged arrangement could never be applied in reality                                                11
    3.   NO MONEY OR CREDIT RATING, BUT BILLIONS IN STOCKS                                                            12
         3.1 Pension plans had no money and received no net dividends                                                 13
         3.2 Pension plans have not had access to external funding                                                    14
             3.2.1 GMSLAs are not credible                                                                            15
             3.2.2 The alleged financing was not in place at the time of the contract                                 16
             3.2.3 The stock loan agreements are “back-to-back “                                                      17
             3.2.4 GMSLAs have not been respected                                                                     18
             3.2.5 Stock Lending Rate is arbitrarily fixed and the agreed Rate is not applied (new)                   20
    4.   UNREALISTIC SET-UP WITHOUT BUSINESS RATIONALE                                                                21
         4.1 Unrealistically large stockholdings have been traded                                                     22
         4.2 The profit of the pension plans corresponds exactly to the dividend distribution                         24
         4.3 There is no commercial rationale behind the alleged transactions (new)                                   26
         4.4 The zero return on investment is highly unlikely                                                         27
         4.5 The zero result is achieved by “arithmetic error” alone (new)                                            28
    5.   ERRORS AND OMISSIONS SHOW THAT NO STOCKSHAVE BEEN TRADED                                                     30
         5.1 There is no evidence that pension plan custodians (“the Solo Group”) have held stocks                    30
         5.2 Pension plans refer to internal accounting by their custodians (“Custody Statements” – Appendix 10)      32
         5.3 Subsequent accounting statements prove nothing                                                           33
         5.4 Broker Confirmations (Appendix 11) do not document ownership                                             34
             5.4.1 Brokers do not complete the trade (new)                                                            34
             5.4.2 There are several inconsistencies between the alleged stockholdings and the commercial notes (new) 35
             5.4.3 Concrete examples of errors in commercial invoices                                                 36
         5.5 There is no evidence of completed trades                                                                 41
         5.6 Terms of settlement are not in line with market                                                          42
         5.7 Trade (and profits)                                                                                      44
         5.8 It is undocumented that net dividend and reimbursement are eaten up by costs                             45
         5.9 Custody Agreement has not been respected                                                                 45
    6.   THE SYSTEM SHOWS THAT IT HAS BEEN A DESK EXERCISE                                                            47
         6.1 All pension plans buy on the same day and at the same price (new)                                        48
         6.2 The size of stockholdings is systematized                                                                49
         6.3 Pension plans have almost identical equity portfolios (new)                                              51
         6.4 All pension plans deal with the same parties (new)                                                       52
         6.5 Time of sale is systematized (new)                                                                       53
         6.6 Sanjay Shah controlled the custodians of the pension plans (Solo Group)                                  55
         6.7 Custodian: Sanjay Shah’s “universe”                                                                      56
         6.8 Credit Advices are numbered consecutively across the Solo Group                                          57
         6.9 Credit Advice from Solo Group was used for attempted fraud in 2017                                       60
         6.10 Pension plans have maintained that trades were not centrally managed                                    61
         6.11 Two pension plans forgot to apply for reimbursement (new)                                               62
    7.   FORMALIA                                                                                                     64
         7.1 Burden of proof                                                                                          64
         7.2 Annulment or revocation – invalid decisions can be revoked                                               66
    8.   WHEREAS                                                                                                      68
         8.1 The money machine of pension plans                                                                       68
         8.2 One stock may have several owners                                                                        68




Case No. XX-XXXXXXX                                  Page 156/239
     Case 1:18-md-02865-LAK                   Document 836-47                 Filed 06/27/22             Page 23 of 462




         8.3 Short-selling results in more stocks on the market than issued by the company                                       68
         8.4 1 dividend tax may lead to 2 reimbursements                                                                         69
         8.5 The case is about jura                                                                                              69
         8.6 It is impossible to cheat with stock trader                                                                         70
         8.7 Changing explanations 1: Pension plans’ “conclusive” evidence changes character                                     70
         8.8 Alternate explanations 2: Inconsistencies in explanations of guarantee and payment of reimbursement                 72
         8.9 Alternate explanations 3: Pension plan accounts                                                                     72
         8.10 Alternate explanations 4: Lack of evidence                                                                         73
         8.11 Lack of connection to VP Securities and settlement at netting                                                      73
         8.12 Stock borrower will provide security at market value                                                               74
         8.13 Speculation as to whether Pinsent Masons has advised Solo Capital                                                  75


1.      INTRODUCTION

        In addition to the pension plans in the 6 lead cases, TVC Law Firm represents more than 100 U.S. pension plans, all of
        which have participated in exactly the same arrangement and with the same set of players.

        On the basis of alleged ownership of Danish stocks, the pension plans have each been paid many millions of DKK in
        reimbursements of withheld dividend tax – in the six leading cases from DKK 1.2 million to DKK 70.9 million.

        The pension plans cannot prove that they have owned the alleged stocks and that they have received (net) dividends
        therefrom, (...). And the pension plans’ completely identical story is unrealistic on a concrete, as well as a general, level.

        These are newly established pension plans that had no money or any creditworthiness whatsoever. Yet they claim to
        have bought Danish stocks worth many hundreds of millions of DKK (and in many cases even billions of DKK). The
        pension plans claim to have financed the alleged stock purchases by stock lending and forward contracts, but they
        cannot prove this. In particular, there is no documentation of cash flows and it is therefore not possible to see where
        the money for the stock purchases would have come from or where it would go, (...).

        Anyone who buys stocks will of course secure for themselves evidence of having owned the stocks, but the pension
        plans apparently have not.

        It is completely unrealistic that one newly founded pension plan with no money and no creditworthiness could have
        raised external funding to make such massive investments. And it is even more unrealistic that the same could be done
        for more than a hundred newly established pension plans without money and creditworthiness.

        In addition, pension plans cannot document where their alleged massive gains have gone.

        The total profit on each stock trade (including stock lending and forward transactions) is exactly equal to the
        reimbursement paid, and the entire profit accrues to the pension plans. This illustrates quite clearly that the arrangement
        according to the pension plans has the sole purpose of obtaining an unjustified reimbursement from which only the
        pension plans themselves benefit. The other players in the arrangement (sellers of stocks, buyers of stocks, borrowers
        of stocks and forward contractors) contribute – according to the history of the pension plans – stocks, money and risk
        cover, but do not share in the profits. It is therefore an arrangement completely without business rationale for the other
        actors. Commercial agreements are concluded so that both parties can profit from the agreement. In this case, other
        players have participated in very significant stock deals without sharing in the profits in thousands of cases.




Case No. XX-XXXXXXX                                      Page 156/239
  Case 1:18-md-02865-LAK                     Document 836-47                Filed 06/27/22            Page 24 of 462



        The pension plans have submitted several thousand pages of supporting material. But none of them has produced its
        own bank statements. In general, the complex of cases is characterized by a total lack of documentation for money
        payments and transfers.

        The appendix material is both deficient and erroneous, which (although natural when such a voluminous and fictitious
        arrangement has been constructed) is in itself suspicious when it comes to material that is supposed to document stock
        transactions worth many billions of DKK.

        However, one thing can also be deduced from all the supporting material: there is a completely systematic and centrally
        coordinated fraud involving reimbursements of withheld dividend tax. The systematic nature of the alleged stock deals
        clearly shows that they are fictitious deals disguised by pure desk maneuvers.

        The history of pension plans is simply not coherent and does not hold in the real world. The pension plans’ own
        explanations are not consistent either, but change according to what best fits their story.

        2.        THE MAIN FACTS OF THE CASES

        The administrative cases concern the question of whether the pension plans were eligible for a reimbursement of
        withheld dividend tax. The cases ---
                                           do not concern the reimbursement of amounts paid out. The issues of repayment of
        the amounts are pending in the U.S. litigation filed by the IRS with, inter alia, all pension plans represented by the TVC
        Law Firm, including the six lead cases. The repayment issue will therefore be settled in the civil actions.

        2.1       Complex fraud cases worth DKK 12.7

       The cases concern systematic fraud involving reimbursement of withheld dividend tax from 2012 to 2015, which has
       resulted in the Danish state being defrauded out of a total of approximately DKK 12.7 billion.

       These include 277 U.S. pension plans that have requested – and been paid – remergers of withheld dividend tax. However,
       the pension plans did not own the stocks in question and therefore did not receive (net) dividends. They were therefore
       not entitled to the reimbursements in question.

       In several cases, the pension plans, etc. have together recovered dividend tax on a scale that is simply impossible.

       For example, if all the reimbursement requests were taken into account, they would cover more than half of the stocks
       (A and B) in A.P. Møller – Maersk A/S. This cannot possibly be the case, as known Danish funds themselves own more than
       half of the total stocks. In addition, there are stocks held by other professional investors.

       Another example where reimbursement claims cannot be taken into account, is stockholdings in Tryg A/S. In 2015, Tryg
       made a dividend distribution and (correctly) withheld approximately DKK 123 million in dividend tax. Subsequently, with
       reference to ownership of stocks in Tryg A/S, a reimbursement of withheld dividend tax totaling approximately DKK 151
       million has been requested. Of this, the pension plans have recovered a total of approximately DKK 136 million. This means
       that far more reimbursement has been applied for – and paid out – than has been withheld. It goes without saying that
       there can never be a claim for reimbursement of more than has been withheld. It should be noted that by no means all
       stockholders are entitled to a reimbursement.




Case No. XX-XXXXXXX                                     Page 156/239
  Case 1:18-md-02865-LAK                      Document 836-47                  Filed 06/27/22             Page 25 of 462



       In other words, there has undoubtedly been fraud with the information on the ownership of Danish stocks in the
       reimbursement applications.

       (...)

       2.3        Pension plans’ alleged arrangement

       The pension plans have explained their arrangement in their 5 presentations and at the office meetings. All pension
       plans have used the same model and to a large extent traded the same stocks at the same times.

       As an example of the explained arrangement, the smallest of the sample cases – [pension plan A] – can be used. [Pension
       Plan A] made one alleged stock purchase, namely 2,987,462 stocks in TDC A/S. According to the pension plan, the stocks
       were acquired on August 07, 2014 for DKK 153,406,173.70.

       The transactions can be summarized as follows (...):

       (...)

       [Pension Plan A] claims (see (...)) that on August 7, 2014 the pension plan purchased approximately 2.9 million stocks in
       TDC for approximately DKK 153 million. [Pension Plan A] made this purchase without having capital and without having
       secured financing at the time of the agreement.

       On the same day – August 7, 2014 – [Pension Plan A] found a counterparty (a forward counter-party), which was prepared
       to hedge a stockholding of 2.9 million stocks in TDC at a market value of approximately DKK 153 million. This forward
       counterparty was thus promised the stock price increases, but in return had to cover any price decreases. The forward
       counterparty had to be very solvent. Price fluctuations of, say, 10 % (some DKK 15.3 million in this case) are not abnormal
       (...) and this counterparty would thus be able to bear very substantial losses. In this case, the stock price of TDC fell during
       the term of the agreement and the forward counterparty realized a loss of approximately DKK 16 million (...).

       Five days later (on August 12, 2014) [Pension Plan A] lent the 2.9 million stocks. The borrower agreed to provide cash
       collateral corresponding precisely to the stock price on August 07, 2014 (i.e. at the time of purchase), even though the
       stock price – inter alia due to a distribution of DKK 1,5 per stock – had obviously changed since then.

       The borrower provided DKK 153 million in cash for the loan of the stocks. The borrower did not require the collateral to
       be adjusted in relation to the fair value of the stocks, even though the loan agreement (the GMSLA) provided for this by
       default (...). The collateral amounted to DKK 51.35 per stock, even though the stock price on August 12, 2014 varied
       between DKK 47.67 and DKK 48.28 (...). Approximately DKK 3 per stock (or DKK 9 million in total) was thus overpriced at
       the time of the payment of the guarantee.

       The next day – August 13, 2014 – [Pension Plan A] had to pay the seller for the stocks in order to get them. And the pension
       plan had to deliver the stocks to the stock borrower to get the cash collateral. The collateral from the stock borrower
       matched the purchase price, so the transactions were even and, according to the pension plans, were completed.




Case No. XX-XXXXXXX                                       Page 156/239
  Case 1:18-md-02865-LAK                      Document 836-47                 Filed 06/27/22            Page 26 of 462




      On the same day, [Pension Plan A] received the net proceeds of approximately DKK 3.2 million.

      On November 05, 2014, [Pension Plan A] disposed of the stockholding for approximately DKK 134 million. The forward
      agreement was closed at the same price and the stock loan was settled.

      On November 12, 2014, (...) on behalf of [Pension Plan A] requested a reimbursement of withheld dividend tax. The request
      was sent to the Danish Tax Agency, att. Sven Nielsen. Attached to the request was a completed blank application, Power
      of Attorney, Credit Advice issued by Old Park Lane and Form 6166 from the IRS.

      On November 28, 2014, the pension plan received a reimbursement of approximately DKK 1.2 million from the Danish Tax
      Agency.

      2.4 The alleged arrangement could never be used in reality

      In the Danish Tax Agency’s view, the model is not coherent. The alleged arrangement is simply impossible. The pension
      plans’ own explanation of what has happened cannot therefore be accepted.

      As can be seen, [Pension Plan A] relied on the agreements to unwind completely. If this did not happen, [Pension Plan A]
      would be left with risks that the pension plan could not undisputedly bear.

      First, [Pension Plan A] had to find a stock seller who would trade stocks for over DKK 150 million with a pension plan without
      capital and creditworthiness and with no control over funding at the time of the trade (the stocks were, after all, only lent
      out several days later). In addition, the seller would have to be prepared to forego any price gain arising in the period from
      the conclusion of the contract to settlement (since such a price rise would accrue to the pension scheme), while retaining
      the risk of a price fall in the same period if the pension scheme defaulted on the purchase (because the pension scheme
      had no money).

      Secondly, [Pension Plan A] would at the same time have to find a forward counterparty able to bear a very significant loss,
      since a fall in the exchange rate of, say, 10% would entail a loss of DKK 15.3 million. This forward counterparty had to
      believe that stock prices would rise.

      Thirdly, [Pension Plan A] had to find a stock borrower with available cash of DKK 153 million. This stock borrower’s purpose
      for the stock loan necessarily had to be shorting if there was to be a business rationale behind it. In other words, the stock
      borrower had to believe that stock prices would fall.

      In addition, the stock seller, forward counterparty and stock borrower had to be prepared for the entire gain – which exactly
      corresponded to the reimbursement – to go to the pension plan.

      Finally, it was necessary for the custodian to ensure that the stock purchase and the stock loan were carried out
      simultaneously. Otherwise, the pension plan could neither pay for the stocks nor lend them.

      It’s quite unlikely that this whole cabal could unravel for just one pension plan for one stock trade.

      However, the pension plans represented by TVC Law Firm claim that not just one, but more than 100 independent pension
      plans have used this very same approach for countless million and billion-dollar deals. Largely on the same days and with
      the same stocks.




Case No. XX-XXXXXXX                                      Page 156/239
  Case 1:18-md-02865-LAK                      Document 836-47                 Filed 06/27/22               Page 27 of 462




    It is impossible that this could have been possible in the real world. The pension plans’ extensive supporting material does
    not document the alleged stock deals – on the contrary, see §§ 3 and 5, below. When the supporting material is as unreliable
    as it is, it confirms the fictitious nature of the transactions. The pension plans have thus not proved that they acted in the
    entirely improbable way they claim.

    The reality is that the history of pension plans is purely an accounting record with no real action.

    3.   NO MONEY OR CREDIT RATING, BUT STOCKS WORTH BILLION

    It is undisputed that the pension plans themselves did not have the money to finance the alleged massive purchases of Danish
    stocks. The stocks could therefore only be purchased through external financing.

    Thus, a fundamental necessary (but not sufficient) element in assessing whether pension plans have met their burden of
    proving ownership of the alleged stocks is whether they were able to obtain external financing for the purchase of the stocks.

    According to the TVC Law Firm, the newly founded pension plans had “easy” access to financing for their massive million and
    billion-dollar investments in Danish equities, (...).

    In other words, pension plans claim that they could fund their million and billion-dollar investments without having to take a
    penny out of their pockets and without having to provide any kind of collateral.

    That’s not true.

    It goes without saying that pension plans cannot finance the purchase of the alleged stocks without having either money or
    creditworthiness.

    And if the pension plans have not been able to fund the alleged stock purchases, the pension plans cannot – in the real world
    – have bought the stocks at all.

    3.1 Pension plans had no money and did not receive net dividends

    The pension plans are “one-participant plans” (Supporting Appendix, § 1.3), and the annual contribution per participant is
    thus limited, according to the IRS website for 2016, to a maximum of $53,000 ($59,000 for participants older than 55), (...).
    No evidence has been provided that such contributions have actually been made to the pension plan.

    Moreover, the pension plans were newly founded when they started their allegedly very massive investments in Danish
    stocks.

    None of the pension plans filed Form 5500 with the IRS, and therefore each may be considered to have assets of $250,000 or
    less at the end of each plan year, as described in the Supporting Appendix, § 1.3.

    Nevertheless, pension plans claim to have owned stocks in Danish C20 companies for very large amounts of millions and in
    some cases even billions of DKK.

    The fact that the pension plans have not filed Form 5500 with the IRS, therefore, must be relied upon that they each had
    assets of no more than $250,000 at the end of their fiscal year which demonstrates not only that the pension plans did not
    have a sufficient capital base to purchase the massive, alleged holdings, but also that the pension plans did not receive the
    alleged net dividends.




Case No. XX-XXXXXXX                                       Page 156/239
  Case 1:18-md-02865-LAK                          Document 836-47             Filed 06/27/22             Page 28 of 462



     In the complaints, p. 5, it is stated that

                   “It is also possible to make distributions from the pension fund, with the effect that the assets at
                   the reporting date were less than USD 250,000.”

     However, at a meeting on December 13, 2017, the IRS informed the Danish Tax Agency that if a pension plan distributes
     funds, the pension plan must report the distribution to the IRS on Form 1099-R (...), indicating how much was paid and to
     whom. The pension plans have not filed this Form 1099-R with the IRS.

     Minutes of the Danish Tax Agency’s meeting with the IRS on December 13, 2017 are presented as (...).

     The pension plans have also not provided any documentation of distributions from the pension plan. The reason for this is
     the simple fact that the pension plans have not received the alleged net benefits (and subsequently distributed them). It
     should be stressed that this is the pension plans’ own documentation, since the alleged distributions were supposed to have
     been made by them. However, none of the more than 100 pension plans provides such documentation.

     The TVC Law Firm’s complaint letter states (...) that there may be a variety of specific reasons why the pension plans’ assets
     exceeded the $250,000 threshold (for purposes of the requirement to file Form 5500 with the IRS) during the year, while
     the assets as of the last reporting date were less. In no case, however, is there any explanation of what specifically caused
     each pension plan’s assets to fall below the threshold. Possible reasons include that equity transactions were completed at
     that time, that transaction costs reduced assets and – as quoted above – that distributions may have been made from the
     pension plans.

     However, no evidence is provided.

     It is highly odd that a party sets up some possibility of how he may have acted -
                                                                                     without
                                                                                       - - - wanting and being able to tell what
     he actually did. This underscores that pension plans are searching and searching for possible explanations that might save
     their case.

     3.2 Pension plans have not had access to external funding

     The pension plans claim that they have financed the stock purchases by lending the stocks against collateral (...). The
     purchase agreement and the loan agreement have been executed (settled) simultaneously (...) and the money from the
     stock borrower has been used to pay for the stocks.

     The explanation does not hold. No one is going to enter into million-dollar transactions – either trades or stock loans – with
     a party that has no money of its own at all.

     The supporting documents submitted do not provide any evidence of financing. There is no cash flow and the contract
     documents are unreliable. Moreover, even on paper, the agreements have not been respected by the financial plans:




Case No. XX-XXXXXXX                                       Page 156/239
  Case 1:18-md-02865-LAK                       Document 836-47                 Filed 06/27/22             Page 29 of 462




     3.2.1    The GMSLAs are not credible

     The pension plans have presented a number of GMSLAs as (...). In most cases, the pension plans are not listed in the GMSLAs
     as the contracting party and no explanation is given as to how these agreements relate to the individual pension plans.

     The counterparties to the GMSLAs are in all cases companies domiciled in notorious tax havens and at the same addresses
     in the Cayman Islands and the British Virgin Islands respectively.

     The GMSLAs presented are in many cases not signed by (all) contracting parties and no agreement has been reached on e.g.,
     currency.

     Furthermore, the GMSLAs are undated, which supports that they are merely constructed for the occasion.

     In other words, the GMSLAs in no way demonstrate that the pension plans thereby had the opportunity to raise sufficient
     liquidity to fund the alleged equity investments, nor is this alleged raising of liquidity evidenced by account statements.

     In a letter dated October 26, 2017, the IRS also informed the Danish Tax Agency about the possibilities for pension funds to
     finance stock purchases with borrowed funds (...):

                   “[...] given the size or magnitude of the purported funds borrowed from a third party or GMSLA,
                   these arrangements are highly suspect. A typical first-year, one-participant pension plan or one-
                   participant plan in existence for two or even three years would likely not have access to the millions
                   of dollars required to collateralize the GMSLA used in these transactions.” (emphasis mine).

     In other words, it is not true when pension plans claim that, despite their modest equity, they had the ability to fund the
     alleged massive equity investments.

     According to the pension plans, the GMSLAs enabled the financing of stock purchases by simultaneous stock lending to third
     parties against cash collateral. The delivery of stocks to the pension plans took place at the same time as the payment from
     the pension plans (‘Delivery Versus Payment’), (...). This is simply not a practical option for the simple reason that the pension
     plans undeniably had no money. And no one is doing either GMSLAs or OTC trades with a party that either has money or
     creditworthiness. That goes without saying.

     For the same reason, a contracting party would not allow the pension plans to pay for the stocks until after the purchase
     date, because there is no certainty that the pension plans would be able to fulfill such agreements.

     3.2.2    The alleged financing was not in place at the time of the agreement

     With regard to the stock loans, the pension plans state in (...) that the stock borrowers undertook, by means of specific
     agreements, “to provide security in the form of cash equivalent to the market price of the stocks on the date on which the
     pension plans concluded the agreement to purchase the stocks.”

     So, the pension plans’ explanation is that the stock lending agreements were always concluded at the same rate as the
     alleged stock purchases.




Case No. XX-XXXXXXX                                       Page 156/239
  Case 1:18-md-02865-LAK                       Document 836-47                 Filed 06/27/22             Page 30 of 462




    This is a completely unlikely approach. If the stock price falls in the period between the purported stock purchase and the
    establishment of the stock loan, the stock borrower will obviously only provide security in line with the reduced market value
    at the time of the stock loan. In this way, the pension plans will not obtain the contingent security necessary to pay for the
    stocks. Conversely, if the stock price rises, the pension plans will naturally require collateral in line with this price increase.
    This follows from the “Marking-to-Market” provision in Paragraph 5.4 of the GMSLA (...).

    In (...), the pension plans state:

               “Moreover, the stock loans were not established until after the dividend date.”

    In (...) this is elaborated:

               “The stocks were paid two and three days after purchase by lending the stocks the day after the dividend
               date and thereby receiving a cash collateral equal to the purchase price of the stocks. The individual stock
               loans were settled under the GMSLA framework agreement concluded prior to the stock deal.”

    (...)

    Moreover, it does not make sense that pension plans (without equity) should have entered into multi-million (and in some
    cases billion) dollar stock purchase agreements, only to try to raise funding through stock lending several days later. It is quite
    unlikely that the stock seller would allow the pension plans to pay only after the conclusion of the purchase agreement
    (“Delivery Versus Payment,” (...)), when at the time of the purchase the pension plans did not even have the financing in
    place. It is even more unlikely that the custodian would agree to such ex post funding.

    3.2.3      The stock loan agreements are “concluded backwards”

    The pension plans claim that they have financed stock purchases through stock lending. In support of this, the pension plans
    have provided, inter alia, e-mails which, according to the pension plans, show how the stock loan agreements were concluded.

    The pension plans have only provided examples of these email correspondences, (...). In (...), the pension plans were
    requested to provide “all correspondence concerning stock loans.” The request has not been answered.

    (...)

    3.2.4      The GMSLAs have not been complied with

    The stock loan agreements (GMSLAs) contain a condition that the collateral may be adjusted daily at the market rate (...).
    The clause is called “Marking-to-Market.”

    Such a possibility of daily regulation of the collateral safeguards both the stock borrower and the stock lender against
    excessive risks. As long as the collateral corresponds to the market value of the stocks, both the borrower and the lender have
    full security. If the borrower does not return the stocks, the lender has money to make replacement purchases. If the lender
    does not repay the collateral, the borrower can sell the stocks and obtain satisfaction from the proceeds. When the stock
    price changes, this balance disappears. For example, if the stock price rises by 10%, the lender no




Case No. XX-XXXXXXX                                        Page 156/239
  Case 1:18-md-02865-LAK                      Document 836-47                 Filed 06/27/22            Page 31 of 462




    longer has full security for the return of the stocks. Conversely, the borrower does not have full security for the repayment of
    the collateral (i.e., the money) if the stock price falls.

    The ‘Marking-to-Market’ clause is thus central to maintaining the balance between the parties and to minimizing the risks to
    the parties. The clause allows for a continuous adjustment of the collateral, so that both parties have (almost) full collateral
    at all times. Independent parties will of course enforce such a term on an ongoing basis in order not to be left with an
    unsecured claim.

    An example of the importance of the term is [Pension Plan A’s] purchase of TDC stocks (...). According to the pension plans,
    the stocks were purchased at a price of 51.35 on August 07, 2014 (including a dividend of DKK 1.5 per stock). Immediately
    afterwards, the TDC stock price fell very sharply (...). On August 12, 2014, the price was between DKK 47.67 and DKK 48.28.
    On November 03, 2014, the price was between DKK 44.95 and DKK 45.41 (...).

    The stock borrower had provided cash collateral of DKK 153,406,173.70 on August 12, 2014. Already at that time, the market
    value of the stocks (at the highest price of the day, DKK 48.28) was only DKK 144,234,665.36. The stock borrower thus had an
    unsecured claim of more than DKK 9 million, which the pension plan undoubtedly did not have the means to cover.

    When the stock loan was settled on November 05, 2014, the price was DKK 45 per stock and the market value was thus DKK
    134,435,790 (...). The unsecured receivable at that time was DKK 18,970,383.70.

    As the example shows, the stock borrower had a very significant unsecured claim as a result of the stock price movement.
    The “Marking-to-Market” clause in the GMSLA was intended to avert such risks by providing for a continuous adjustment of
    the collateral. It would have been obvious in a case such as this – in accordance with the GMSLA invoked – to adjust the
    collateral downwards, so that the stock borrower would not have had an unsecured claim.

    However, this did not happen. Indeed, as shown by (...), no payments were booked under the Marking-to-Market clause at
    any time prior to November 05, 2014, when the entire mortgage agreement was settled.

    This means that the stock borrower apparently accepted to have an unsecured receivable of many millions of DKK from August
    12, 2014 to November 5, 2014. This was despite the fact that the receivable was with a pension plan that undisputedly had
    no funds.

    If a daily regulation (Marking-to-Market, (...)) was not made in any case, it must be because it was not necessary – because
    there were no stocks and therefore no risks.

    the TVC Law Firm states in (...) that Paragraph 5.4 of the GMSLA does not apply;

                   “Had the Danish Tax Agency read Appendix 1.3 to the GMSLA, it would have seen that such daily
                   regulation was not required, as it is not Paragraph 5.4 but rather Paragraph 5.5 that applies.”

    TVC Law Firm’s statement is quite incomprehensible and must be due to a misreading of the GMSLAs. The statement is
    certainly wrong. The reference to “Appendix 1.3 to the GMSLA” is presumably a reference to the “Schedule” of the GMSLAs,
    Paragraph 1.3.




Case No. XX-XXXXXXX                                      Page 156/239
  Case 1:18-md-02865-LAK                          Document 836-47                   Filed 06/27/22       Page 32 of 462




     In the “Schedule” to the GMSLAs the following is stated in point 1.3, (...):

      1_3     Basis of Marg- Mminren.mce:

              rm gr ph :i.4 (ilggregmio ) oo.ill ot         If                                     C


              P.i gra,ph 5.4 (..!1s9gregalion) applies unless the box is li cked.


     As can be seen, point 5.4 applies unless the box is checked off – which it is not. The provision in point 5.4 on the daily
     adjustment of the security therefore applied.

     3.2.5    Stock Lending Rate is arbitrarily set and the agreed Rate is not applied (new)

     The pension plans cannot explain what factors are relevant for the calculation of the stock lending fee stated in the custody
     statement (...), which was allegedly paid in connection with the stock lending.

     In the pension plans’ (...), the pension plans state that the relationship between the ‘capital strength’ of the stock borrower
     and the lender (i.e., the pension plan) is important when negotiating the interest rate and the stock loan amount.

     This is not true if the pension plans otherwise mean by their statements that the fee is set by negotiation.

     A review of the custody statement provided (...) shows that the determination of the Stock Lending Rate does not depend
     on who is the contracting party.

     As (...) an example is presented of a list of pension plans represented by TVC Advokatfirma, which in 2015 lends A.P. Møller
     Maerk A/S A-stocks, (...). The overview has been prepared using data from the custody statements provided by the pension
     plans (...). The table shows that the Stock Lending Rate is the same for the pension plans that lend the stock for the same
     number of days, regardless of who the pension plan lends the stock to.

     The same result is seen for all transactions for all pension plans lending the same stock in the same period.

     It is highly unlikely and appears contrived that all pension plans enter into exactly the same agreement with different
     contracting parties.

     This shows that the Stock Lending Rate is not determined by the capital strength of the parties and by a negotiation of the
     interest rate. Rather, the Stock Lending Rate is set to make the transactions go to zero, see § 4.5.

     In addition, there is a discrepancy in the [Pension Plan B] lending of 998,992 Coloplast stocks in 2014. [Pension Plan B] agreed
     in email correspondence with the contracting party (...) a stock loan fee of 36.47 base points, i.e., 0.3647% (...). According to
     the custody statement (...), the stock lending rate was 0.0173% at the time.

     It does not make sense to use a Stock Lending Rate other than the one agreed between the parties. This illustrates that the
     parties’ paper agreements are made for show only. If there had been




Case No. XX-XXXXXXX                                           Page 156/239
  Case 1:18-md-02865-LAK                       Document 836-47                 Filed 06/27/22            Page 33 of 462




    real stocks and money involved, the parties would of course have reacted to the fact that the cost of the loan differed from
    what had been agreed.

    4.   UNREALISTIC ARRANGEMENT WITHOUT BUSINESS RATIONALE

    It is unrealistic that the alleged arrangement of pension plans could take place in the real world. In this section, the Danish
    Tax Agency ignores the characteristic total lack of documentation that characterizes all pension plan cases.

    As described in § 2.4, above, there are far too many parties involved in transactions that need to be bottled in one particular
    way. It is deeply unrealistic that this would happen even once if real stocks and money were involved between independent
    parties. However, pension plans make the case that it has all bottled up in every single stock trade for more than 100 pension
    plans. However, this can only happen if there is no money or stocks and if the parties are not independent.

    In addition, the pension plans have each traded equity securities of a size that is quite extraordinary (§ 4.1, below). Even
    leaving aside the lack of funding, it is doubtful that a single pension plan would be able to acquire such a large stockholding
    in a single day, given that the volume of each trade is highly unusual in the Danish stock market. It is obvious that so many
    pension plans have not been able to buy such large amounts of stocks in one day. This shows that the stocks are fictitious.

    In addition, in each case, the pension plans allegedly had an arbitrage gain exactly equal to the dividend distribution (excluding
    broker fees, etc.), see § 4.2, below. It is very remarkable that the figures match in this way – and this happens in the case of
    all pension plans for all trades. This means that all the transactions result in 0 if the dividend reimbursement is excluded. This
    would not be the case if there were real trades between independent parties (§ 4.4, below).

    Indeed, a deeper analysis shows that the zero result is achieved only because a certain expense (Stock Lending Fee) is adjusted
    to exactly the value that makes it all go to zero (§ 4.5, below).

    Finally, it must be concluded that, in any event, it is inconceivable that the alleged co-contractors would participate in the
    arrangement described by the pension plans, since the pension plan receives the entire arbitrage profit without sharing with
    the other parties (§ 4.4).

    A systematic review of the pension plans’ alleged arrangement and “documentation” thus shows that it is deeply unrealistic
    that stock trading would have taken place in the way claimed by the pension plans and otherwise shown in the supporting
    documents.

    4.1 Unrealistically large stockholdings have been traded

    [Pension Plan C] allegedly acquired 6,267,033 B-stocks in Novo Nordisk A/S on March 19, 2015. The stocks were purchased
    from the broker (...) for a total of DKK 2,142,698,582.7, equivalent to DKK 341.90 per stock.

    [Pension Plan C] was established in September 2014, and the pension plan has not disclosed, through Form 5500, assets with
    an aggregate value of more than $250,000 to the U.S. tax authorities (...). It is deeply unrealistic that such a pension plan with
    no assets of any significant value would purchase stocks worth more than DKK 2.1 billion in a Danish listed company.




Case No. XX-XXXXXXX                                       Page 156/239
  Case 1:18-md-02865-LAK                       Document 836-47                  Filed 06/27/22             Page 34 of 462




    Moreover, it is unrealistic to think that it would be possible to acquire such a large stake in one day. It is very rare that such a
    large stake is put up for sale in one go. When the estate of Maersk Mc- Kinney Møller had to sell stocks worth up to DKK 3.9
    billion, it did so through accelerated book building – not on the free market (...).

    Nevertheless, the broker of the pension plan in question, (...), was able to obtain the stock with a market value of
    approximately DKK 2.1 billion.

    [Pension Plan C] is far from the only pension plan claiming to have acquired Novo Nordisk stocks for approximately DKK 2
    billion on March 19, 2015.

    Of the more than 100 pension plans represented by the TVC Law Firm – and which have submitted custody statements (...) –
    76 pension plans have, according to their custody statements (...), purchased stocks in Novo Nordisk A/S on March 19, 2015.
    The pension plans have each purchased between 5.7 million stocks and 7.1 million stocks (equivalent to Novo Nordisk stocks
    worth approximately DKK 2 billion for each pension plan).

    Together, these 76 pension plans acquired 482 million stocks in Novo Nordisk on the same day. There were a total of 2.113
    million B-shares in the company, and the pension plans represented by the TVC Law Firm have thus acquired more than 22%
    of Novo Nordisk stocks in one day.

    It simply doesn’t make sense.

    On the one hand, pension plans have not been able to afford it. And secondly, it would simply not be practical to find sellers
    of so many stocks in one day.

    All the stocks were acquired at the same price, namely DKK 341.9 per stock, which was the market closing price on the date
    in question, when the price had varied between DKK 335 and DKK 342 (...). The next day the stock opened at DKK 341.7.

    It is striking in itself that all the pension plans acquired Novo Nordisk stocks at exactly the same price. Moreover, it goes
    without saying that it is not possible to buy so many stocks in the market in one day without affecting the price dramatically.
    Such a massive demand would of course lead to a significant price increase. The fact that the market price has been unaffected
    by such massive trading in one day is of course due to the fact that the trading has not actually taken place.

    The Novo Nordisk stock in 2015 is not the only place where, according to the reimbursement requests to the Danish Tax
    Agency, very significant acquisitions should have taken place. The Tax Agency has carried out an analysis of all the
    reimbursement requests covered by the complex of cases (see Supporting Appendix, § 5). The analysis shows that the
    unknown pension plans, companies, etc. together – according to their reimbursement requests – would have owned some
    quite unrealistically large stocks of Danish-listed companies around the dividend date (...).

    For example, the following pension plan ownership interests are highlighted:

                       At the time of distribution in 2014
                       A.P. Møller                                     51.4%
                       Novo Nordisk                                    59.5%
                       TDC (August distribution)                       78.4%



                       At the time of distribution in 2015
                       Carlsberg                                       58.5%
                       Danske Bank                                     65.3%




Case No. XX-XXXXXXX                                        Page 156/239
  Case 1:18-md-02865-LAK                       Document 836-47                   Filed 06/27/22             Page 35 of 462



                      Novo Nordisk                                      61.7%
                      TDC (March distribution)                          79.7%

     This means that, for example, 65.3% of the stocks in Danske Bank should have been owned by unknown foreign pension
     plans etc. around the dividend date in 2015. This is of course not true.

     4.2 Pension plan profits exactly equal dividend payout

     It appears from (...), as an example, that the total arbitrage gain of the seller and the buyer (which corresponds to the
     reimbursement) is distributed with 87.5% to the seller and 12.5% to the buyer (the pension plans). The example is not
     consistent with the supporting documents provided by the pension plans.

     As an example, [Pension Plan D’s] purchase of Danske Bank stocks (...) is representative. The following transactions involving
     the purchase/sale of stocks, loans and forwards are shown:

      Mar 18, 2015    Equity        Buy 3. 519. 9b7 Danske Bank A/S @ 175.3 OKK.                                                  -617 .0SO. 215,10
      Mar 18, 2015    Forwa rd      Se ll 3 . 519 .967 Da nske Bank A/5 @ 171,2147 DKK EXPI RES 19.Jun 15

      Mar 19, 2015    Div idend     CAS H DIV IDEND Danske Bank A/5 PD 23 .M ar 15                             14.132. 667,50
      Mar 20, 2015    Stodc: lrnn   Lend3.~19.967 llanske Bank A/5 @115,3 UKK                                617.0'iO J15,10
       May 22, 2015   Div idend     Tax Recla im Danske Bank A/S                                              5.227. 151,00
      June 2, 2015    [quity        Sell 3. 519.967 Danske Rank /\fS @ 198 DKK                              696. 953. 466,00
      June 2, 2015    Forwa rd      Buy 3. 519 .967 Danske Bank A/5 @ 197,9673 DKK EXPIRES 19.Jun 15                             -94 . 168. 269,17
      June 2, 2015    Stock Loan    Recall 3. 519. 967 Danske Bank A/S @ 196 DKK.                                               -b9b.9ll.4bb,(X)
      June 2, 2015    Stock Loan    Stockloan MTM Realized                                                   79. 903. 250,90
      June 2, 2015    Stodc: Loan   Stoddending Fee                                                             132.350,77


     When these “cash flows” are added together, the result of the stock purchase, stock sale, stock loan and forward agreement,
     as well as the net dividend and reimbursement for the pension plan, is obtained. The result of these transactions is a profit
     for [Pension Plan D] of DKK 5,227,151.00.

     This corresponds exactly to the reimbursement (“Tax Reclaim Danske Bank A/S” in the 5th line of the table, above).

     The profit of the pension plan is therefore equal to the dividend distribution. However, some minor fees are paid to
     brokers (...), tax reclaim agent (...) and for the use of the platform (...).

     This means that if the reimbursement is not taken into account, all the transactions will be zero. And the same 0 result

     (before reimbursement) is found for each of the 6 drivers (...)

     (...)

     And from custody statements (...) the same result can be seen for all transactions for all pension plans.

     In all cases, it is the pension plan that receives the entire arbitrage gain – which corresponds exactly to the dividend
     distribution. This fact in itself also proves that the pension plans have claimed the right to dividend distribution on a fictitious
     basis.



     4.3 There is no business rationale for the alleged transactions (new)




Case No. XX-XXXXXXX                                        Page 156/239
  Case 1:18-md-02865-LAK                       Document 836-47                  Filed 06/27/22             Page 36 of 462



     The pension plans claim that they have all used the investment strategy ‘dividend arbitrage’ (...):

           “By buying the stock, receiving the net dividend and a reimbursement of withheld dividend tax, and selling
           the stock again at a lower price (the stock price falls after the dividend is paid), the pension plan could
           realize a gain. It was this gain that was the purpose of the entire transaction.” (...)

           “Exchange arbitrage is a low-risk investment strategy caused by the fact that, due to different double
           taxation conventions, an exchange does not have the same value for every investor. Investors without a
           double tax treaty will seek to sell their stocks to the market before the dividend date, while investors with
           favorable terms in the double tax treaties will seek to buy stocks before the dividend date. The different
           buying and selling preferences immediately lead to price differences in the different markets (spot and
           futures) for the same stock. It is this difference that the dividend arbitrager uses to realize a gain. “ (...)

     Thus, pension plans argue that there is a gain to be made from trading stocks around the dividend date because the stock
     dividend does not have the same value for all investors, with some investors having to pay dividend tax while others do not.
     The alleged arbitrage gain (which is achieved by trading in different markets and a complex arrangement of transactions
     between many parties) is thus at most the dividend tax that can be saved.

     The total gain for all participants in dividend arbitrage cannot therefore be more than the dividend merger (the tax saved).

     In general, the Danish Tax Agency disputes that dividend arbitrage is a recognized investment strategy that can function as
     a pure money machine. There is no evidence that the stock and spot markets behave as the TVC Law Firm claims.

     Even if dividend arbitrage were a possible investment strategy, pension plan documentation is inconsistent.

     The alleged investment strategy requires the involvement of a wide range of parties:

           Part                                                  Performance
           Seller                                                Delivers the stocks
           Pension plan                                          ?
           Buyer                                                 Acquires the stocks.
           Stock borrower                                        Provides financing.
           Forward buyer/seller                                  Hedges price risks.
           Custodian                                             Responsible for solvency and execution of transactions.

     As can be seen, each party, with the exception of the pension plan, is reported to be contributing what is necessary for the
     transactions to be carried out with the desired result. It goes without saying that all parties must receive a stock of the profits
     before it makes sense for them to enter into the arbitrage transaction. Otherwise, there is no business rationale for them to
     participate in this arrangement, which obviously entails a number of risks, such as default by counterparties and insolvency
     of counterparties.




Case No. XX-XXXXXXX                                        Page 156/239
  Case 1:18-md-02865-LAK                       Document 836-47                 Filed 06/27/22            Page 37 of 462




    As shown in § 4.2, above, the arbitrage transaction gives the pension plan a positive result equal to the dividend distribution.
    This is the total maximum gain for the dividend arbitrage arrangement. And it is earned by the pension plan alone.

    The pension plan thus does not stock the arbitrage gain with anyone. This means that no other parties gain from participating
    in this arrangement – apart from the small fees they receive for executing transactions.

    None of the other parties thus has any commercial incentive to engage in arbitrage. This applies to all the transactions which
    the pension plans represented by the TVC Law Firm claim to have concluded and for which they have provided ‘evidence’.

    The other parties would therefore not have participated in this arrangement if they were real traders. For this reason, too, it
    is completely unrealistic that the trades should have taken place.

    4.4 The zero return on investment is deeply unlikely

    As noted in § 4.2, above, it is striking that pension plan profits are quite equal to the dividend payout when taking into account

         x         Purchase and sale of stocks
         x         Forward agreements
         x         Stock Lending Fee and Interest Rebate
         x         Net dividend

    All these transactions together add up to exactly DKK 0 for all alleged stock trades for all pension plans that have provided
    documentation.

    Such a result cannot be achieved in reality, but only as accounting entries coordinated centrally.

    Indeed, it is highly unlikely that the fee in the stock loan agreement should correspond precisely to the loss/profit of the
    forward contract added to the price fluctuations of the purchase/sale in just one single case. And therefore, it is of course
    impossible that this should consistently be the case.

    4.5 The zero result is reached only by “calculation errors” (new)

    A component of the zero result is the loan cost, which is allegedly settled with the counterparty to the stock loan. The
    borrowing costs consist of the Interest Rebate and the Stock Lending Fee.

    The Stock Lending Fee should be calculated based on an agreed Stock Lending Rate, the amount borrowed and the length of
    the loan period, i.e., according to the following formula:

                                                                                           interest days
                                                                           Amount
                                                                                     360 interest-bearing days

    However, there are no cases where the Stock Lending Fee is set in this way. Instead, the Stock Lending Fee is set at exactly
    the amount needed to bring the total to 0. In other words, the Stock Lending Fee is calculated as a variable that makes the
    equation equal to 0.




Case No. XX-XXXXXXX                                       Page 156/239
  Case 1:18-md-02865-LAK                              Document 836-47                           Filed 06/27/22                            Page 38 of 462



    An example is [Pension Plan B’s] lending of 998,992 Coloplast stocks in 2014. The custody statement ...):


      Sottlomont Dato    RetumOate          Typo                Undorlying            Nominal         Start Price       Start Cash            End Price   End Cash



      09 December 2014   19 December 2014   l end              COLOBDC                998,992         527.0000          526,468,784.00        501.5000    -500,994,488.00


      Trado Dato         Nomlnal            Cash                Rolurn Dato           No, of Days     Raia              $lock Lending Fee     Raio        lntorcsl Rebate



      08 December 2014   998,992            526,468.784.00      19 December 2014
                                                                                     0                                                        0.7000      -102,368.93




    Here, allegedly DKK 526,468,784 is lent for 10 days at an agreed Stock Lending Rate of 0.0173%. Thus
    Stock Lending Fee should be:


                                                                     interest days
                                                                                                                                     10
                                                             Amount ,.,--3
                                                                         ---          Q,/0173,      :t: S2J61       68.784 * 360 = 2 .SZ. 9'111cr.


    However, as can be seen from the custody statement above, the Stock Lending Fee has been set at DKK 2,525.23.

    This is a deviation of DKK 4.74, which seems insignificant in transactions involving hundreds of millions of kroner. However,
    the deviation is of great importance for the overall picture.

    Indeed, the deviation can be found in all pension plans’ stock trades. In all cases, there is a “calculation error,” which means
    that the transactions (purchase, sale, forward, loan, loan costs and net dividend) add up to DKK 0.

    The “error” supports the fact that there is no question of independent parties having concluded stock transactions and stock
    loan agreements. Rather, someone calculated how the transactions should be constructed so that the total result would be
    0.

    This is further supported by the fact that the Stock Lending Rate appears to have been agreed at a different rate to that set
    out in the custody statement (§ 3.2.5, above)

    By “calculating backwards” it is possible to calculate the Stock Lending Rate from the Stock Lending Fee, the loan amount and
    the number of interest days. For [Pension Plan B’s] lending of Coloplast stocks (the example above), this gives the following
    “actual” Stock Lending Rate:


                                                                                        2...5.25,23
                         ckl.imdi                                                                                   10,0172675537Q 7215 0 %
                                                              interest days                            llO
                                                    Amoun':t;- -3
                                                                - .-6-0- -         5,2M68.'18       *-.360
                                                                                                        -

    The Stock Lending Fee thus corresponds to a Stock Lending Rate that is almost equal to the Rate indicated in the Custody
    Statement (0.0173%). In fact, the Rate in the Custody Statement is (probably) just a rounding of the Stock Lending Rate that
    has been applied.

    However, this makes no commercial sense. After all, the pension plans and their counterparties, the stock borrowers, have
    agreed on a Stock Lending Rate – and of course it is not agreed to 15 decimal places. It is from that rate that the Stock Lending
    Fee should be set. It is not the other way around.

    This means that the custody statement (...) has been cheated on the scales in order to make the transactions go to zero. The
    Stock Lending Fee amount has just been set to the amount




Case No. XX-XXXXXXX                                                 Page 156/239
  Case 1:18-md-02865-LAK                      Document 836-47                Filed 06/27/22            Page 39 of 462




    that must be used for the calculation to dividend 0. This is subsequently camouflaged by setting the Stock Lending Rate to
    something close to the correct result.

    5.      ERRORS AND OMISSIONS SHOW THAT NO STOCKS HAVE BEEN TRADED

    5.1 There is no evidence that the pension plan custodians (“Solo Group”) held stocks

    All pension plans represented by TVC Law Firm, except one, have used one or more of the following 4 custodians: Old Park
    Lane, Solo Capital, Telesto and West Point.

    (...)

    The four custodians – Old Park Lane, Solo Capital, Telesto and West Point – are collectively referred to as the “Solo Group.”
    The four companies have been controlled by Sanjay Shah (§ 6.6, below), who is alleged to be one of the main backers of the
    proceeds case.

    The Solo group is only known to the Danish Tax Agency from this complex of cases.

    As custodians, Solo Capital, Old Park Lane, Telesto and West Point have certified ownership of Danish stocks and that dividend
    tax has been withheld on distribution. This has been done by issuing Credit Advices which, according to the pension plans,
    certify the ownership of a given stock, the receipt of dividends for that stock and that dividend tax has been withheld. On the
    basis of the Credit Advices in question (which the pension plans submitted with the reimbursement requests), the Danish Tax
    Agency paid reimbursements of withheld dividend tax to the pension plans’ agents.

    Credit Advices prepared by the Solo Group have led to the reimbursement of approximately DKK 9 billion out of the total of
    approximately DKK 12.7 billion involved in the fraud:

                               Custodian                                  Reimbursement


                              Solo Capital Partners LLP                              5,442,113,750
                              Old Park Lane Capital PLC                              1,776,763,390
                              Telesto Markets LLP                                 DKK925.443.359
                              West Point Derivatives Ltd                          DKK880,884,044
                               Grand total                                        9,025,204,543

     The Solo-group must therefore have held stocks to an extraordinarily large (and unrealistic) extent on behalf of pension
     plans if the clients/pension plans were to have been entitled to reimbursement to this extent. According to the Credit Advices
     issued, the Solo Group received and settled a total of DKK 24.4 billion in net dividends to its customers.

     However, there is no evidence that the Solo Group held the stocks that the pension plan claims to have owned and for which
     the Solo Group has certified ownership:

                   x None of the custodians in question (or the pension plans themselves) are registered with VP Securities,
                      and it is not otherwise documented that the Solo Group actually has




Case No. XX-XXXXXXX                                       Page 156/239
  Case 1:18-md-02865-LAK                      Document 836-47                Filed 06/27/22             Page 40 of 462




                      held equity positions for the pension plans, for example by showing a chain of sub-custodians where
                      there is a link to a securities account in VP Securities.

                  x No evidence has been provided that the Solo Group has received net dividends for stockholdings on behalf
                      of its clients (the pension plans). The net dividend should otherwise amount to DKK 24.4 billion.

                  x For a number of pension plans that have used the Solo group as custodians, the Public Prosecutor for
                      Special Economic and International Crime (“Statsadvokaten for Saerlig Økonomisk og International
                      Kriminalitet,” SØIK) has in a letter dated November 23, 2017, the Danish Tax Agency was informed that
                      SØIK could not confirm, on the basis of the investigation conducted at that time, that 66 specific pension
                      plans had received stock dividends as a result of holding Danish stocks. Nor could SØIK confirm that the
                      pension plans had held Danish stocks, including by contacting VP Securities A/S (...). The statement has
                      been confirmed on July 12, 2019 (...).

                  x No evidence has been provided of cash flows to/from the Solo Group as a result of the significant
                      investments in Danish equities.

     There is thus no money or stock trail that in any way documents, let alone makes probable, that the Solo group would have
     held a single stock in Danish companies on behalf of the pension plans.

     Yet the Solo group has issued documents (including Credit Advices) that have led to the reimbursement of over DKK 9 billion
     from the Danish state on the basis of alleged stockholdings.

     The “universe” of the Solo Group is fictitious and constructed by Sanjay Shah, and documents issued by the Solo Group are
     therefore of no evidentiary value.

     5.2            The pension plans refer to the internal accounting of their custodians (...)

     The pension plans have provided as (...) a custody statement prepared by their respective custodians. However, [Pension
     Plan C] has only provided a custody statement for one of several Shah-controlled custodians used, which is also characteristic
     of a number of other pension plans.

     (...)

     In any case, the custody statements in question (...) cannot prove ownership of stocks, as the supporting documents do not
     show movements and balances relating to the pension plans’ stockholdings and cash (i.e., the assets that the custodian
     should hold in custody).

     Thus, firstly, the custody statements provided (...) do not show statements of cash balances of the pension plans showing
     movements and daily balances, including deposits and withdrawals of funds, outgoing and incoming amounts relating to the
     purchase and sale of stocks, receipt of income (e.g., dividends, reimbursements and interest) and payment of fees to e.g.,
     brokers.
     Secondly, the custody statements provided do not contain the account statements for the pension plans’ stockholdings,
     which show for each stock the name of the stock issuer, the number of stocks, the increase and decrease in the number of
     stocks (as a result of the purchase and sale of stocks) and the current value of the stocks in question (as well as a breakdown
     of the price gain or loss).




Case No. XX-XXXXXXX                                      Page 156/239
  Case 1:18-md-02865-LAK                       Document 836-47                 Filed 06/27/22             Page 41 of 462




     As the custody statements provided lack this key information, it is misleading to refer to them as “custody statements.”

     Thus, the custody statements submitted (...) – or, for that matter – do not provide any account statements that document
     that money has actually been deposited in and withdrawn from the pension plan account, let alone that stocks have actually
     been received in the pension plan’s stock account.

     In general, there is no evidence of any transfer of stocks to (and money from) the pension plan account.

     If money and stocks do not change hands – which will be shown on the account statement – it is not a stock trade, but at
     most a fraud disguised as a stock trade.

     If money and stocks don’t change hands, there will be no point in having a custodian either (other than to disguise the fraud).

     The only “proof” in this custody statement that there should be stocks and payments is that the Shah-controlled custodian
     in question “declares” that the stock is there and “posts” stocks/payments (internally). Just as Credit Advices from these
     Shah-controlled custodians are not indicative of any reality, see Paragraphs 6.8-6.9, below, neither, of course, is their internal
     bookkeeping.

     5.3            Subsequently prepared summary accounting records prove nothing

     The pension plans have provided “summary accounting records” (...). The (...) states that “The individual entries in the
     pension scheme’s account with its custodian are shown in the statement, which is presented as (...).” Such a statement has
     been provided for each of the (...) cases.

     (...)

     The accounting statements provided (...) are not statements of account but merely extracts from undated Excel sheets which
     have no authoritative character. In (...) the Danish Tax Agency pointed out a number of errors in these statements:

                   x Transactions are recorded on the trade date and not on the delivery date.
                   x The tables do not include all entries for a given period.
                   x Entries that do not appear in the custody statement are nevertheless shown in the table. These include
                   broker and custodian fees and dividend payments.
                   x “Stocklending Fee” appears in the table, but corresponds to “Total Fees and Rebates”

     The tables can therefore not be used.

     The pension plans subsequently stated that the summaries were merely “a summary of events prepared by [the pension
     plans’ representative] on the basis of the trading records available to the pension plans.” (...). It is not clear what “records”
     are involved. The pension plans further state that “the discrepancies found arose from the simplifications made to the
     statements drawn up by Schaffelhuber Müller & Kollegen S.à.r.l. in order to explain the transactions in a simple manner to
     the Danish Tax Appeals Agency.” (...).

     Such summaries drawn up subsequently for the purposes of the appeal have no evidential value.




Case No. XX-XXXXXXX                                       Page 156/239
  Case 1:18-md-02865-LAK                      Document 836-47                 Filed 06/27/22            Page 42 of 462




     Moreover, it is striking that the pension plans’ representative in (...) has been able to provide information such as the
     payment of dividends to the pension plan and fees when such information does not appear in the custody statement (...),
     but allegedly in a cash account which the pension plans do not possess (...).

     5.4    Broker Confirmations (...) do not document ownership

     5.4.1 Brokers do not complete the deal (news)

     In all cases, the pension plans allegedly used an executing broker. The pension plan claims (...) that a purchase order has
     been placed with the custodian/clearing agent, which is part of the Solo group. No evidence of these purchase orders has
     been provided. Once the custodian has approved the order, the order has been placed with an executing broker.

     The executing broker was allegedly responsible for matching the order – i.e., finding a buyer/seller for the given stock. After
     matching, the broker has issued a broker confirmation (...) setting out the terms of the trade.

     Subsequently, the custodian of the pension plan allegedly arranged for the clearing of the transaction (...). That is to say, it
     is a custodian of the Solo group who has been responsible for and has checked whether the trade was in fact carried out by
     an exchange of stocks and money.

     Thus, the trading records provided do not document that the pension plans actually purchased stocks. A trading note is
     merely a confirmation of an agreement to trade stocks, stating the key terms of the deal. A trading note does not prove that
     the stock trade has actually been executed, if only because the broker does not know whether the trade has been executed
     in accordance with what was agreed.

     For this reason alone, the brokers’ material cannot prove that the pension plans held stocks.

     The pension plans attach considerable weight to the broker confirmations in (...). It is argued in (...) that the trade
     confirmations “are the decisive evidence that a stock purchase has taken place’ and that the trade confirmations are ‘the
     decisive evidence against the allegations of fraud,” (...).

     This is wrong, as the trade notes do not document the execution of the trade (exchange of money and stocks). In the
     complex, the use of brokers and the presentation of trade notes only serve to hide the fact that no stock transaction has
     actually taken place.

     5.4.2 There are several discrepancies between the alleged stockholdings and the trading notes (new)




     If the pension plans had actually traded stocks, the process should be as follows when using an executing broker:

       1. The pension plan places an order (e.g., for purchase) – possibly after approval from the custodian
       2. The broker matches the pension plan with a counterparty (e.g., a vendor)
       3. The broker makes a trade note (broker confirmation)




Case No. XX-XXXXXXX                                      Page 156/239
  Case 1:18-md-02865-LAK                        Document 836-47                  Filed 06/27/22             Page 43 of 462




       4. The transaction (settlement) is carried out in accordance with the agreement

     If everything had been done properly, the trade should be settled on the terms set out in the trade note (unless there is a
     mistake in settlement). In other words, the trade note (for real stock trades) should determine the terms of the trade.

     However, in these cases, the pension plans have submitted a large number of commercial notes in which the contractual
     terms do not correspond to the order allegedly given by the pension plans according to the custody statement (...). These
     are very serious errors (see § 5.4.3).

     Nevertheless, the transaction has been carried out in accordance with the pension plan’s alleged – and undocumented –
     purchase order. This is the equivalent of booking a train ticket to Aarhus, getting on a train to Malmö and still being driven
     to Aarhus.

     It makes no sense that the trades were not executed in accordance with the trade notes. It also makes no sense that the
     information in the custody statement (...) is not in accordance with the contractual terms of the commercial notes (...).

     Further, it misses the point that pension plans have not responded to significant errors in trading reports confirming stock
     trades for significant millions of dollars.

     Indeed, a number of trade memoranda state that pension plans are required to check the information. For example, a
     commercial note from (...) states that

           “Please verify all details for accuracy, and immediately inform (...) of any errors. (...) cannot be held
           responsible for errors not brought to our attention immediately. The Purchaser and the Seller acknowledge
           receipt of this confirmation, that the terms contained herein and any and all actions and/or disputes arising
           therefrom are the sole and exclusive responsibility of the purchaser and the seller, and further agree to hold
           Brokers, and its agents and/or representatives harmless from any dispute and/or action that may arise as
           a consequence of the above transaction.”

     As it appears, (...) disclaims responsibility for all errors not immediately reported. Given the size of the trades, it is clear that
     the pension plans would obviously have checked the trades closely and would have reacted to discrepancies if they had been
     real stocks. This is particularly true because the pension plans would not be able to bear a loss caused by errors in the trade
     notes. The reason why the pension plans have not reacted is, of course, that there have been no stock trades and therefore
     there are no risks associated with an incorrect confirmation of the contractual terms.

     It does not make sense that brokers can make such mistakes when pension plans at the same time describe brokers as
     “professional service providers,” (...). The attempt by the pension schemes to reinforce the credibility of the brokers by
     referring to the fact that the brokers have undergone a “special scrutiny by the UK Financial Services Authority,” (...) falls flat
     when one considers how fundamental the errors are.

     5.4.3 Concrete examples of errors in commercial invoices

     There are many cases where the trade notes (...) do not match the information in the custody statements (...) and Credit
     Advices (...). This implies that the undocumented settlement invoked by the pension plans with reference to the custody
     statements (...) does not match the terms of the




Case No. XX-XXXXXXX                                         Page 156/239
  Case 1:18-md-02865-LAK                      Document 836-47                Filed 06/27/22             Page 44 of 462




     the commercial notes (...). The pension plans have not provided any evidence as to how the settlement should have been
     done correctly, despite the fact that the commercial invoices were faulty.

     5.4.3.1 Two different trade dates for the same transaction

     (...) shows a case where two different trade dates (“Trade Dates”), respectively March 5, 2015 and March 31, 2015, were
     used for the same alleged stock trade in 3,092,779 TDC stocks with a value of approximately DKK 167 million.

     The attachment consists of a Credit Advice, a custody statement, an invoice from the broker (...) and a trading note from the
     same. The documents relate to [Pension Plan C] and have already been presented in court.

     The custody statement submitted in the case is available at (...). The document was prepared by [Pension Plan C’s] custodian,
     West Point (who is a Shah custodian). It states that the trade date (“Trade Date” framed in red) is March 05, 2015 and that
     the trade in 3,092,779 TDC stocks is a purchase (“Buy” framed in red).

     The Credit Advice provided in the case is available at (...). The document was also prepared by West Point. It is dated March
     10, 2015 and states that [Pensionsplac C] owned 3,092,779 TDC stocks over the ex-date of March 06, 2015 (“Ex Date” framed
     in red). The Credit Advice is therefore supported by the trade date set out in the custody statement.

     The commercial invoice submitted in the case is available at (...). The document was prepared by the broker, (...), who
     apparently conducted the trade in the TDC stocks. It appears from the trade note that the trade date (“Trade Date” framed
     in red) is March 31, 2015 and that the trade in 3,092,779 TDC stocks relates to a purchase (“BUY” framed in red).

     Thus, there is a discrepancy between the trade dates for the same alleged stock trade.

     Only one of the trade dates can be correct, and if the trade note is to be given such “decisive” significance as [Pension Plan
     C] suggests, it must be March 31, 2015. This would mean that [Pension Plan C] did not own 3,092,779 TDC stocks on the ex-
     date, and that the Credit Ad- vice on which [Pension Plan C’s] reimbursement request was based is thus not correct.

     There are several indications that the discrepancy between the custody statement and the handling note is due to an error
     by the broker.

     First of all, the reference number of the commercial invoice (“TRADE CONFIRMATION REFERENCE: e184376” framed in red)
     also appears on the invoice of (...) dated March 31, 2015 (...). Here, the trade date (“Trade Date” framed in red) is indicated
     as March 05, 2015 and thus not March 31, 2015 as indicated in the trade note.

     In addition, March 10, 2015 is mentioned as the settlement date (“Settlement on March 10, 2015”) under “SETTLEMENT
     TERMS” in the Commercial Note (...). This settlement date also appears in the custody statement on (...) (“Settlement Date”
     framed in red), which could indicate that the error only concerned the trading day indicated by the broker.

     However, this is not related to the fact that “SETTLEMENT TERMS” are indicated as “T+2” in the trade note. If the trade date
     was March 05, 2015 (as indicated in the custody statement) and the settlement date was March 10, 2015, then the trade
     would have been executed “T+3” and not as indicated “T+2.”




Case No. XX-XXXXXXX                                      Page 156/239
  Case 1:18-md-02865-LAK                       Document 836-47                 Filed 06/27/22             Page 45 of 462




     Thus, March 7th and 8th were Saturday and Sunday, while the rest of the days in between are working days, see details on
     the calculation of the delivery time in § 5.6, below.

     The confusion is even greater when in the commercial note above “SETTLEMENT TERMS” under “Settlement Date” it says
     “T+1.” This settlement period is not correct either if the trading day was March 5, 2015 as provided in the custody statement.

     the TVC Law Firm states in (...) that it is ‘the broker who has made a mistake’ and that it was “a general problem that (...)
     had.”

     Thus, according to the pension plans, it was a general problem that trade notes (for stock transactions of several hundred
     million DKK) prepared by the broker (...) were incorrectly attached. This seems quite frivolous for a professional broker to
     do such large stock deals.

     In addition, it does not make sense that the trade has been conducted in accordance, as stated in the custody statement,
     when the written contract confirmation (the trade note) states otherwise.

     5.4.3.2       Commercial invoices confuse buying and selling

     There are several examples where the alleged stock trades appear as sales under the custody statement and broker’s invoice,
     but appear as “BUY” in the trade note (...).

     For example, there is a discrepancy between the custody statement (...) and a trade note relating to a trade in Maersk B
     stocks (...). (...)

     It appears from the custody statement, 3rd line, that 7,896 Maersk B-stocks have been sold (“Transaction Type: Sell”) to the
     broker, (...) (“Counterparty”) with trade date June 19, 2015 (“Trade Date”) and settlement date June 23, 2015 (“Settlement
     Date”).

     On the contrary, the trading note prepared by (...), which concerns precisely 7,896 Maersk B stocks, shows that the stocks
     have been purchased (“YOU: BUY”). The trading note is addressed to [Pension Plan B] and “YOU: BUY” thus means that
     [Pension Plan B] is purchasing 7,896 Maersk B stocks.

     According to TVC Law Firm, this is “also an expression of human error” and the pension plan
     “have not noticed this typographical error,” (...), although it must be said to be a rather crucial error.

     Again, it is very remarkable that [Pension Plan B] allegedly ended up selling stocks in accordance with the intentions, even
     though the broker who was in charge of matching between buyer and seller, according to the trading note, has perceived
     [Pension Plan B] as a buyer – and thus must have matched with a seller, not another buyer.

     5.4.3.3       Trade notes do not take public holidays into account (new)

     Another example of broker error is found in settlement terms around Danish holidays, especially on- shine. As an example,
     (...).
     Settlement/delivery of stocks and money respectively is of crucial importance when concluding trades. It is of importance
     for when financing has to be obtained and when the stock/purchase price is actually available.




Case No. XX-XXXXXXX                                       Page 156/239
  Case 1:18-md-02865-LAK                                   Document 836-47                Filed 06/27/22           Page 46 of 462




     Settlement is typically indicated in trade notes as “T + (number of days).” For settlement “T + 2,” stocks and payment must
     be exchanged on day no. 2 counting from the agreement date. When counting days, only business days are to be counted.
     The number of business days varies from country to country.

     Business days are determined by the market in the country where the stock is traded (i.e., Denmark, in the case of Danish
     stocks).

     According to (...), [Pension Plan C] purchased 375,802 stocks in Vestas Wind in March 2015 (...). The agreement was
     concluded on Monday, March 30, 2015, according to the commercial note, and settlement was to take place ‘T + 6’, i.e., six
     business days later (...). According to the custody statement, delivery took place on Tuesday, April 07, 2015 (...).

     Delivery thus took place according to the Danish public holiday calendar three working days after the conclusion of the
     contract, i.e., T+3:



                                                                                  Calendar
                                                       Stock issuer            Normal cycle        Denmark         England      USA
                                 Monday                                        Trade Date (T)      Trade Date      Trade Date   Trade Date
                                                                                                       (T)             (T)          (T)
                                 March 30, 2015
                                 Tuesday               Dividend Ex-date              T+1               T+1            T+1         T+1
                                 March 31, 2015
                                 Wednesday             Dividend Record         Normal Settle-          T+2            T+2         T+2
                           CUM




                                 April 1, 2015               Date               ment (T + 2)
                                 Thursday                                     Maundy                                  T+3         T+3
                                 April 2, 2015                                Thursday

                                 Friday                                       Good Friday
                                 April 3, 2015
                                 Saturday
      Settlement, stocks




                                 April 4, 2015
                                 Sunday
                                 April 5, 2015
                           EX




                                 Monday                                       The day after                                       T+4
                                 April 6, 2015                                Easter Sunday
                                 Tuesday                                                               T + 3concerned. T + 4
                                           Aprilboxes indicate weekend and public holidays in the countries
                                      The grey                                                                                    T+5
                                 7, 2015

                                 The grey boxes indicate weekends and public holidays in the countries concerned.

     It is noteworthy that delivery took place T+3 (i.e., Tuesday, April 7, 2015), although delivery was agreed T+6. Delivery T+6
     would have implied delivery on Friday, April 10, 2015. As the table shows, the delivery also does not correspond to either
     the English or the American public holiday calendar.
     Delivery has therefore not taken place in accordance with the agreement.

     5.4.3.4 Commercial note indicates price as “#########”




Case No. XX-XXXXXXX                                                   Page 156/239
  Case 1:18-md-02865-LAK                       Document 836-47                  Filed 06/27/22             Page 47 of 462




     There is also an example of a trading note from the broker (...), where the price of the pension plan’s sale of 7,884 Maersk
     stocks is indicated as “ #########” (...). The price was DKK 12,290 per stock, i.e., total DKK 96,894,360.

     In such large deals, the responsible parties will of course check that the figures, including prices, are correct on the
     confirmation. It screams to the heavens and jumps out at you when the purchase price is listed as “#########.”

     The TVC Law Firm’s explanation weakens pension plans’ case. It is – according to TVC Law Firm – “obviously a computer
     error,” as if that matters in terms of whether you’d notice it.

     The TVC Law Firm has submitted as (...) an email from the broker, (...) Capital London Ltd., which states that the error is due
     to the fact that the column in the underlying excel sheet was not large enough to contain the price. A new trading note (...)
     was submitted with the e-mail. This adds to the mystery. The signatory of the e-mail, (...), himself states that he is now
     employed by (...). Notwithstanding the fact that he is no longer employed by (...), he nevertheless issues a new commercial
     note on (...) letterhead by correcting the relevant Excel sheet. This seems very strange.

     Furthermore, it is unreliable when (...) confirms in his e-mail of May 16, 2019 that the revised trading note “accurately
     reflects” the stock trade that should have been made on June 22, 2015, i.e., 4 years earlier. Credibility is further weakened
     by the fact that it was not Adrian Milne himself, but Patrick Milne, who is listed as broker on the “original” trade notes.

     5.4.3.5       Misdeclaration of settlement date

     All the above errors and inconsistencies are found in the driver files. If one starts to re-examine the cases outside the master
     files, new errors will appear. For example, a trading note from the broker (...) concerning a trade in Coloplast stocks for
     [Pension Plan E] is presented. Here, the settlement date appears as December 9, 2012, which is not in accordance with either
     the custody statement (...) or Credit Advice (...).

     5.5           There is no evidence of completed trades

     There is no evidence that the pension plans’ alleged stock trades were settled, i.e., that the stock trades were effected by
     exchanging the parties’ services (stocks and money).

     According to the pension plans, the settlement/settlement of a stock deal is not a condition for obtaining ownership of the
     stocks, (...). However, it is evident that settlement is a precondition for the completion of a stock deal. If the seller does not
     hold stocks (including dividends) which the seller is entitled to sell, there is an injunction. If, as a result, settlement does not
     take place, stocks and money will not have changed hands and there will be no (completed) stock deal. After all, the buyer
     has never acquired any stocks. The same applies if the seller has stocks, but the trade is not completed for one reason or
     another.

     There is no evidence that at any time stocks were held in a securities account of the pension plan custodian. And therefore,
     it is irrelevant that the custodian has “certified” the pension plans’ ownership of stocks in Credit Advices and that the broker
     has confirmed “trades” in broker confirmations (...). A Credit Advice is just words on paper. And as stated in (...), a broker
     confirmation does not document that the stock trade was actually executed.




Case No. XX-XXXXXXX                                        Page 156/239
  Case 1:18-md-02865-LAK                       Document 836-47                  Filed 06/27/22             Page 48 of 462




     The vast majority of pension plans represented by TVC Law Firm have requested dividend reimbursements for more than
     one alleged stock purchase. All of the alleged trades involve extremely large amounts. When pension plans argue that
     liquidation/settlement is not necessary to acquire ownership rights, it just shows how weak the pension plans’ case is when
     that kind of argument is used. Because in the real world, no more such agreements are made without settlement. And if it
     is not settled, there will be a subsequent court battle in which the party that loses money on such a failure to settle will claim
     damages from the other party.

     Thus, there is no evidence that the pension plans (or their custodians) at any time held, let alone received, stocks. This means
     that there have never been any stock transactions. In this context, it is irrelevant whether the pension plans believe there
     have been stocks.

     5.6 Terms of settlement are not market-compliant

     Until October 06, 2014, the standard for stock trades in Denmark was that stocks were delivered three days after the contract
     was entered into (i.e., settlement T+3). After October 06, 2014, the standard was delivery after two days (i.e., T+2) (...). For
     the calculation of delivery time, only business days are taken into account – i.e., neither weekends nor public holidays are
     taken into account.

     The pension plans’ explanation of the unwinding of the alleged stock trades is not consistent.

     In (...), the pension plans state that settlement takes place two days after the conclusion of the contract, i.e., T+2. In (...), it
     is stated that settlement takes place three days after the purchase, i.e., T+3. Finally, the pension plans (...) indicated that
     they had chosen to follow the Danish rules for stock exchange trades (...), which the pension plans have clarified in the e-
     mail of April 24, 2019 to the effect that the settlement date for both OTC trading and trading on the stock exchange was two
     (previously three) days later than the trade date (i.e., T+2 and previously T+3).

     However, according to custody statements (...), the pension plans have consistently deviated from the market stance when
     purchasing stocks. Up to October 06, 2014, the stocks were purchased on terms T+4, according to the appendix, and after
     October 06, 2014, the stocks were purchased on terms T+3, according to the appendix.

     In addition, according to broker confirmations, in some cases the pension plans have settled on completely different terms,
     e.g., T+6 (...) or T+1 (...).

     The information provided by the pension plans is therefore inconsistent with the material submitted. In all cases, the delivery
     time agreed was one day longer than that indicated by the pension plans in their submissions and longer than the market
     standard.

     The deviation from market conditions in the custody statement (...) is noteworthy, as the deviation – even if there had been
     stock transactions and not just book entries – greatly facilitates fraud. This is due to the “timing” of distributions on the
     Danish market:

     When a company decides to make a distribution, a record date is set. Those who are registered as deposit holders on that
     date will receive the dividend.

     Once the record date is set, the ex-date (ex-dividend date) is set. The date is determined by the trading platform based on
     the record date and the market conditions for the delivery of stocks. The ex-date is the first day on which the stocks are
     traded without dividends, i.e., the seller is paid the dividend even if the stock is sold.
     Prior to October 6, 2014, the market standard was T+3 delivery. This meant that if you subscribed for stocks on Monday,
     August 11, 2014, you would receive the stocks (be registered as owner) on Thursday, August 14, 2014. Stocks therefore had
     to be acquired three days before the record date if one was to be registered as owner on the record date. In fact, trading
     two days before the record date would – under normal delivery conditions – mean that the stocks would no longer be
     received before the company determined the circle of owners for the purpose of paying the dividend – and thus the seller
     would receive the dividend. The ex-date was therefore two days before the record date.




Case No. XX-XXXXXXX                                        Page 156/239
  Case 1:18-md-02865-LAK                      Document 836-47                  Filed 06/27/22            Page 49 of 462



     Therefore, to be entitled to dividends, stocks had to be acquired at least three days before the record date. According to the
     market standard, you would then receive the stocks and be registered as an owner at the time when the distributing
     company determines the circle of owners and you would receive the dividend.

     On October 6, 2014, the market standard was changed so that delivery takes place T + 2. This means that the ex-date became
     the day before the record date – i.e., one day closer to the record date due to the shortened delivery time.

     For the sale of stocks by the pension plans, according to their custody statement (...) they have followed the market trend,
     T+2 (after October 06, 2014).

     However, in buying stocks, pension plans have deviated from the market standard. According to custody statements, the
     pension plans (...) acquired the stocks on the day before the ex-date (i.e., on the last possible day on which the stocks could
     be acquired including dividends), but with ‘delayed’ delivery. Delivery took place T+3 (although the market standard was
     T+2) and thus the day after the record date. The pension plan therefore did not even receive the dividend directly from the
     distributing company or through its own sub-custodians, according to its own agreements. Instead, the alleged dividend was
     paid to a seller who was the custodian on the record date but who was obliged to continue the distribution since, according
     to the pension plans, the stock had been sold including the dividend (before the ex-date).

     The pension plans thus claim to have been owners even though, according to custody statements, they were not registered
     as owners on the record date, as they acted on terms that differed from the market standard. This is an arrangement which
     will greatly facilitate fraud, as the pension plans will – will be registered as owners of the stock on the record date on which
     the company records the owners and pays the dividend. For the pension plans claim that they will get the stocks delivered
     later – and entitled to the dividend their seller receives.

     Moreover, the extended delivery period, contrary to market standards, creates additional work and risks of loss. If the
     pension plans had followed the market standard, as they falsely claim in their submissions they did, a transfer of the proceeds
     from the seller of the stocks to the pension plans would be avoided. And pension plans would also avoid the risk that the
     stock seller would not pass the dividend on to them. In all of the Shah cases, this inconvenience and additional risk was
     chosen without any legitimate reason being given.

     5.7 The trades (and the profits)

     The pension plans have stated (...) that “From 2015 onwards, trades were made using an algorithm trader, where the trustee
     simply had to approve the proposals. There is therefore no documentation of the conclusion of these trades,” (...).

     This explanation is simply too simplistic. Of course, there is evidence of multi-billion dollar stock purchases. Moreover, there
     is no “algorithm trader” that ensures that stock purchases are made by consecutive number, or that depends on which
     custodian the pension plan is affiliated with. It simply does not make sense. If there is an algorithm for pension plans, it must
     have been used solely to disguise the unreality of the alleged stock trades.




Case No. XX-XXXXXXX                                       Page 156/239
  Case 1:18-md-02865-LAK                      Document 836-47                Filed 06/27/22            Page 50 of 462




     5.8    It is unsubstantiated that net profit and reimbursement are swallowed up by costs

     The pension plans have indicated that their assets at year-end did not exceed $250,000 due to the high transaction costs
     associated with Div-Arb (i.e., dividend arbitrage) investment opportunities (...).

     Given the size of the alleged equity investments, there must indeed have been very significant costs associated with the
     transactions.

     However, no evidence has been provided, including bank statements and invoices, that the pension plan incurred costs that
     could have reduced the pension plans’ assets – including reimbursement and alleged net benefits received in the millions –
     to no more than $250,000, (...). The costs are not otherwise itemized, nor is there any evidence of who paid the costs, what
     benefits the costs cover or what contractual terms the costs are subject to.

     Furthermore, it makes no sense for pension plans to agree to participate in dividend arbitrage investments if all profits were
     eaten up by costs. Of course, pension plans would have made a profit if they had actually participated in a complex stock
     trade et-up.

     And there is the small but not insignificant detail that all pension plans represented by TVC Law Firm have refused to provide
     their own bank statements showing movements and balances.

     5.9    The Custody Agreement has not been complied with

     According to the pension plan, the relationship between the individual pension plan and its custodian from Sologruppen has
     been governed by a Custody Agreement and/or Terms and Conditions for Custody Services (...).

     It appears from Paragraph 5.1 of the Custody Agreement submitted (...) that the pension plans were to transfer immediately
     to the pension plans’ account with its custodian (the “Minimum Cash Balance”), upon conclusion of the agreement, an
     amount to secure the pension plans’ obligations.

     The starting amount of the guarantee was EUR 500,000. (...). In some cases, however, the security requirement is lower, (...),
     where only €20,000 was required.

     The requirement for a minimum custodian fee is set out in all Custody Agreements and/or Terms and Conditions for Custody
     Services.

     In all cases, the collateral is unrealistically low compared to the custodian’s deposit for the pension plans’ billion-dollar
     transactions.

     In addition, none of the pension plans complied with the condition (...). On (...), the pension plans thus confirmed that none
     of them had transferred such an amount to its custodian (...).

     The capital requirement constitutes a security for the custodian, which must of course be present before trading. The
     collateral is necessary because there are risks associated with trades. Considering that pension plans have no equity, the
     minimum capital requirement is even more relevant.




Case No. XX-XXXXXXX                                      Page 156/239
  Case 1:18-md-02865-LAK                      Document 836-47                  Filed 06/27/22            Page 51 of 462




     Therefore, it is clearly presumed that stock trading took place before the security deposit was made.

     When the pension plans directly state that the pre-trade minimum capital requirement with the custodian has not been met
     by any of the plans, it shows that the Custody Agreement has not been met, but has merely been entered into/signed for
     show.

     In (...), the pension plans stated that there was no minimum funding clause in early custodial agreements, and therefore
     some of the pension plans had realized enough profit to meet the requirement without making a deposit. As a result, the
     minimum amount requirement of the pension plans has been met by offsetting.

     It is undocumented and has the presumption clearly against it. It is contrary to the custody statements provided (...), where
     it is stated on the first page of each custody statement (...) that the “Opening Cash Balance” for the pension plans in all years
     is DKK 0. In addition, according to the custody statement, no profit is generated by the custodian on the transactions, as
     shown in the ‘Total Cash Balance’ (...). Thus, no gains are shown which could be used for offsetting. However, [Money Plan
     F] made a profit of USD 0.29 (...).

     This also contradicts the pension plans’ claim – albeit unsubstantiated like so many of their claims – that their gains are very
     small due to high costs, cf. 5.8. The pension plans where the claim was EUR 500,000 have an additional evidentiary problem.
     If they have such large assets, they have to file accounts with the U.S. tax authorities, see the Supporting Appendix, § 1.3,
     which of course applies when the assets are above USD 250,000.

     An apparent exception to the lack of surplus is [Pension Plan D], whose account with Old Park Lane in 2014 was credited
     with cash payment/receipts of $927,100.27 and debited $19,952.02. It is undocumented what these items cover. At the end
     of 2014, these amounts were apparently in the account at Old Park Lane. However, the amounts disappear from 2014 to
     2015, when [Pension Plan D] used a different Shah custodian, namely Solo Capital. As it is both undocumented where the
     amounts originated and where they went, this cannot be attributed any significance. In addition, the deposit/profit is in any
     case still less than the minimum amount of 500,000 euros at Old Park Lane (...). There is therefore no profit which would
     allow the deposit requirement to be waived.

     Thus, according to the pension plans’ own documentation, namely custody statements (...), the pension plans do not
     generate any profit that can be used to meet the minimum offset requirement. In fact, the account starts at 0 and, according
     to the custody statement, no profit is generated.

     5.       THE SYSTEMATICS SHOW THAT THIS HAS BEEN A DESK-TOP EXERCISE

     The tax authorities have carried out an investigation into the reimbursement requests and alleged stockholdings originating
     from pension plans represented by the TVC Law Firm, which have used custody statements from the Solo Group and which
     have provided information on the purchase of stocks (broker confirmations or custody statements). The findings of the
     investigation relate to -all pension plans for which the TVC Law Firm filed complaints on behalf of the pension plans during
     2018 – except for [Pension Plan G], which used a different custodian.
     It turns out that all the transactions are systematized to an extent that only makes sense if they are centrally orchestrated
     transactions not involving stocks or money. So, systematization




Case No. XX-XXXXXXX                                       Page 156/239
  Case 1:18-md-02865-LAK                      Document 836-47                 Filed 06/27/22            Page 52 of 462




     transactions could never take place in reality. Indeed, the pension plans’ alleged equity investments have been carefully
     aligned.

     The systematics, which are elaborated in the following §§, cover, among other things:

           x All stocks used for reimbursement on a given stock are purchased on the same day and at the same price (§ 6.1,
             below).
           x Stockholdings are systematized so that no two pension plans own the same number of stocks. For the A.P. Møller
             Maersk stocks in 2015, it can even be seen that the stockholdings (with some gaps) are “consecutive,” so that each
             pension plan owns one stock more than the previous one (§ 6.2, below).
           x Although the stockholdings are of considerable size, in all cases it is possible to buy, lend, hedge and sell the
             stockholding together (§ 6.2, below).
           x The investment profiles of pension plans are similar. They are thus the same assets that each of the pension plans
             claims to have owned (§ 6.3, below).
           x In the alleged spring 2014 trades, all pension plans allegedly purchased stocks from the same broker, sold stocks to
             the same broker, entered into forward agreements with the same party, and lent the stocks to the same party (§
             6.4, below).
           x The pension plans allegedly dispose of the stocks according to a fixed pattern, which, however, changes over time.
             For example, in 2014, all pension plans sell either in one day (e.g., Coloplast stocks in December) or over a four-day
             period (e.g., Novozymes stocks) (§ 6.5, below).
           x Sanjay Shah, suspected as the main backer in the whole proceeds case, has controlled all four custodians used who
             have played a key role (§§ 6.6 and 6.7, below).
           x Credit Advices are numbered consecutively across custodians, which on paper are independent legal entities (§ 6.8,
             below). Subsequent requests for reimbursement (submitted in 2017) also use the same numbering system (§ 6.9,
             below).

     Despite all these similarities – and the fact that the pension plans have chosen the same lawyer and are filing identical briefs
     in the complaints – the pension plans maintain that they have nothing to do with each other (Paragraph 6.10, below).

     The system shows that there cannot possibly be actual stock transactions. The system is only possible because it is an
     accounting exercise orchestrated centrally and without any basis in reality – either through cash flows or stockholdings.

     Finally, two pension schemes appear to have forgotten to claim reimbursement of some DKK 29.5 million for their alleged
     stockholdings, which can only be the case because no stock transactions have actually taken place (Paragraph 6.11, below).

     6.1     All pension plans buy on the same day and at the same price (new)

     In all cases, the pension plans acquired their stocks the day before the Ex-date, i.e., the last day on which the stock could be
     acquired including the right to dividends.

     In addition, the pension plans have paid exactly the same price for the stocks (the market closing price on the given day).
     However, this does not seem to apply to Chr. Hansen Holding stocks and Coloplast stocks in 2013 and [Pension Plan H’s]
     purchase of Coloplast stocks in December 2014 (a total of 15 trades out of approximately 1,400 trades).




Case No. XX-XXXXXXX                                       Page 156/239
  Case 1:18-md-02865-LAK                       Document 836-47                 Filed 06/27/22             Page 53 of 462




     For example, according to their custody statements, 76 pension plans (...) purchased stocks in Novo Nordisk A/S on March
     19, 2015. The pension plans have each purchased between 5.7 million stocks and 7.1 million stocks (corresponding to a
     purchase amount of between DKK 1.96 billion and DKK 2.44 billion). All stocks were acquired at the same price, namely DKK
     341.9 per stock (see also §§ 4.1 and 6.1, above).

     Although all pension plans claim to have used the same investment strategy, and although it is not unusual to use the closing
     price for stock trades, it is striking that the pension plans have had such similar trading patterns. For example, it takes quite
     a lot of work to gain access to buy such a significant size of stocks for each pension plan. Once you have a deal with one or
     more sellers, you will want to close it as quickly as possible to retain the seller. And there is a tremendous amount of work
     to close 76 stock purchases with a value per piece of about $2 billion.

     6.2      The size of stockholdings is systematized

     For the pension plans that have bought the same stocks on the same day and at the same price, the size of the stockholdings
     is also systematized. There are thus no cases where two pension plans have bought the same number of stocks.

     (...) shows how the alleged holdings are systematized across pension plans. The appendix contains a number of summaries
     of the number of stocks that the pension plans, according to their submitted Credit Advices, should have held over the
     dividend date. The summaries are based on all Credit Advices (...) received by the Danish Tax Agency from pension plans
     using the Solo Group and on which the Danish Tax Agency has paid dividend reimbursements. In addition to the pension
     plans represented by the TVC Law Firm, other U.S. and Malaysian pension plans are included, whose names have been
     anonymized in the appendix.

     The statements have been sorted by the number of stocks that the pension plans, according to their submitted Credit
     Advices, should each have owned over the dividend date. The number of stocks is increasing from top to bottom.

     All the charts illustrate that the number of stocks has a direct correlation with who is the custodian of the pension plans.
     The system works in such a way that there are 3 ranges according to which the number of stocks is recorded. The smallest
     range is controlled by West Point and Telesto, the largest range is controlled by Solo Capital, and the range in the middle is
     controlled by Old Park Lane.

     The chart in (...) (Maersk A-stocks), for example, illustrates that West Point and Telesto control the accounting in the range
     7,717 – 8,193. The table shows the number of Maersk A Stocks that the pension plans claimed to hold above the dividend
     date of March 31, 2015 according to their Credit Advices. The pension plans include [Pension Plan F], [Pension Plan C] and
     [Pension Plan B], all of which are lead cases. Their trustees, who reportedly “give all orders for all transactions” (...) and who
     had ‘no direct or indirect connection or knowledge of all the other pension plans’ (...), are (...), (...) and (...) respectively.

     As can be seen (...) there is no overlap between the number of stocks claimed to be held by the pension plans above the
     dividend date. In the overview of the Maersk A-stocks (...) and Maersk B-stocks (...), the number of stocks is even consecutive
     with only a few “gaps.” The third pension plan in the series claims in its Credit Advice to have owned 7,840 Maersk A stocks,
     the next pension plan claims to have owned 7,841 Maersk A stocks, the next again 7,842 Maersk A stocks and so on.




Case No. XX-XXXXXXX                                       Page 156/239
  Case 1:18-md-02865-LAK                        Document 836-47                      Filed 06/27/22                 Page 54 of 462




     It makes no sense whatsoever for pension plans that have no knowledge of each other – and who were reportedly supposed
     to control their own alleged stock trades – would act in such a pattern. It goes without saying that this pattern is no mere
     coincidence.

     The consecutive number of stocks was merely a smokescreen intended to hide the reality from the Danish Tax Agency,
     namely that all alleged purchases of stocks are fictitious and designed solely to improperly obtain dividend distribution.




     In all cases, pension plans manage to find

               x   one seller,
               x   one buyer,
               x   one stock borrower and
               x   one forward contracting party,

     who will trade these quite abnormally large stockholdings for precisely the amounts that the pension plan has “wanted.”
     This applies to these very substantial stockholdings – and in all cases.

     This means that pension plans have never failed to find counterparties for large transactions. And it means that at no point
     did the pension plan have to split the transaction in two or only partially complete the transaction.

     It can’t be done for just one pension plan. Nor can it be done in so many cases.
     The pension plans’ claim is therefore unrealistic to the second degree.

     6.3       Pension plans have nearly identical stock portfolios (new)

     According to the pension plans’ custody statements (...), the pension plans that traded stocks in 2015 had exactly the same
     stock portfolio and traded the same 14 Danish stocks in 2015.

     This concerns 77 pension plans out of the more than 100 pension plans for which the TVC Law Firm filed complaints in 2018.
     As an example, six pension plans’ investments in 2015 are shown here, including the lead case [Pension Plan C]:

     Name (“pension plan”)              [Pension          [Pension          [Pension           [Pension          [Pension           [Pension
                                        plan C]           plan I]           Plan J]            Plan K]           Plan L]            Plan M]
     SANST ref.

                                        (...)             (...)             (...)              (...)             (...)              (...)
     A.P. Møller Maersk A/S – A                   7,880             7,865              7,849             7,851              7,892           7,871
     A.P. Møller Maersk A/S – B
                                                  7,884             7,871              7,864             8,069              7,893           8,079
     Carlsberg A/S – B Coloplast
                                                18,0314           178,346            178,352           178,402            181,135      177,618
     Coloplast A/S – B
                                                292,365           294,517            295,956           293,038            295,514      295,238
     Danske Bank A/S
                                            3,026,108 3,399,185                     3,080,069 3,332,339                  3,293,014 2,978,112
     DSV A/S
                                                824,244           685,834            759,755           776,849            776,849      804,456




Case No. XX-XXXXXXX                                         Page 156/239
  Case 1:18-md-02865-LAK                       Document 836-47                  Filed 06/27/22             Page 55 of 462



     FLSmidth & Co A/S                           81,040     80,155              80,283          80,292           81,548     79,791
     GN Store Nord A/S                          588,285    552,691             626,259         588,941          581,185    591,435
     Novo Nordisk A/S – B                     6,267,033 5,887,844            6,671,570       6,274,023        6,191,398 6,300,588
     Novozymes A/S – B                          688,545    686,764             686,991         776,240          797,000    814,004
     Novozymes A/S – B Pandora A/S              416,809    468,196             424,241         458,988          453,572    410,198
     TDC A/S                                  3,092,779 3,296,713            2,766,412       2,886,717        2,957,050 3,205,055
     Tryg A/S                                    34,618     34,976              34,540          34,742           35,067     34,793
     Vestas Wind Systems A/S                    375,802    374,281             373,968         376,685          374,009    378,845
     Grand total                             15,883,706 15,955,238          15,994,109      16,022,572       16,033,126 16,086,083

     (...)

     For stock trades made in 2014, it can be seen that pension plans traded among the same 12 stocks. In 2013, all pension
     plans traded among the same two stocks.

     This too is highly curious if, as TVC Law Firm claims, the pension plans are all independent of each other. On the contrary, it
     makes perfect sense when it is a desk exercise aimed at inducing the Danish State to make unjustified payments.

     6.4      All pension plans deal with the same parties (news)

     A review of the pension plans’ custody statements (...) shows that stock trades made in spring (February to May) 2014 were
     concluded with exactly the same contracting parties. This applies to all transactions for all pension plans represented by the
     TVC Law Firm for which a complaint was filed in 2018 and custody statements and/or broker confirmations were submitted
     (...).

     As (...), a chart is provided illustrating the pension plans’ contracting parties in alleged purchases of A.P. Møller Maersk A/S
     A-stocks in 2014, including one of the pension plans from the lead cases (marked in red in the appendix).

     As can be seen, the broker (...) handles all transactions relating to the purchase of stocks. Furthermore, it appears that the
     broker (...) handles the sale of stocks, that (...) is the contracting party to forwards and that (...) is the contracting party to
     the GMSLA. However, for some of the alleged stock transactions, there is no information on the contracting parties of the
     pension plans on forwards and GMSLAs.

     It is quite unlikely that “independent” pension plans make multi-million dollar stock trades with exactly the same
     counterparties. Again, this shows that the fictitious stock deals are constructed from the center.

     In addition, it is highly unlikely that the same parties can provide liquidity and risk coverage on the extremely large scale
     demanded. It is already completely undocumented and untrue that the equity borrower would be able to provide funding
     for just one pension plan’s extraordinarily large equity purchases. It is impossible that the stock borrower could finance
     many pension plans at the same time.

     The same applies to the forward contracting party. It is unlikely (and undocumented) that one company (domiciled in a tax
     haven) could hedge the trades of a large number of pension plans for millions of kroner.




Case No. XX-XXXXXXX                                        Page 156/239
  Case 1:18-md-02865-LAK                      Document 836-47                 Filed 06/27/22            Page 56 of 462




    6.5        Time of sale is systematized (new)

    For the 2013 and 2014 stock trades, either the same sell date is used for all trades of a specific stock across pension plans, or
    all pension plans sell their stock positions within four days

    For example, 20 pension plans, including the lead case [Pension Plan N], allege that between June 16 to 19, 2014 they all sold
    their Novozymes stocks purchased on February 26, 2014 (...). It is striking that 20 pension plans, claiming to be independent
    of each other, each arrive at the conclusion that the Novozymes stocks were to be ‘held’ for almost 4 months and then
    suddenly disposed of within a few days.

    Another example is 23 pension plans that sold Coloplast stocks on December 17, 2014 (compilation of data from the pension
    plans’ (...) – the leaders are highlighted):

          Shareholder (Pension Plan)                                           Amount of stocks    Sale
                                                                               (Coloplast)         (Trade date)
          [Pension plan O]                                                                  997,67      December 17, 2014
          [Pension plan P]                                                                  919,16      December 17, 2014
          [Pension plan Q]                                                                   1,063,10       December 17, 2014
          [Pension plan B]                                                                     998,99       December 17, 2014
          [Pension plan E]                                                                   1,016,17       December 17, 2014
          [Pension plan R]                                                                     928,52       December 17, 2014
          [Pension plan S]                                                                     950,51       December 17, 2014
          [Pension plan T]                                                                   1,002,63       December 17, 2014
          [Pension plan U]                                                                   1,074,21       December 17, 2014
          [Pension plan V]                                                                   1,020,07       December 17, 2014
          [Pension plan D]                                                                   1,046,89       December 17, 2014
          [Pension plan W]                                                                     997,58       December 17, 2014
          [Pension plan X]                                                                   1,015,15       December 17, 2014
          [Pension plan Y]                                                                   1,095,42       December 17, 2014
          [Pension plan Z]                                                                     990,46       December 17, 2014
          [Pension plan AE]                                                                    930,20       December 17, 2014
          [Pension plan Ø]                                                                     907,16       December 17, 2014
          [Pension plan Å]                                                                     933,55       December 17, 2014
          [Pension plan AA]                                                                  1,073,34       December 17, 2014
          [Pension plan H]                                                                   1,087,68       December 17, 2014
          [Pension plan AB]                                                                    931,26       December 17, 2014
          [Pension plan AC]                                                                    998,14       December 17, 2014
          [Pension plan AD]                                                                    975,44       December 17, 2014




Case No. XX-XXXXXXX                                       Page 156/239
  Case 1:18-md-02865-LAK                       Document 836-47                  Filed 06/27/22             Page 57 of 462



     In all of these cases, the pension plans claim that they had purchased the stock on December 4th. It is striking that 23
     independent pension plans all had to decide to “own” the stocks in exactly 13 days.

     The examples show how the alleged stockholdings are systematized across the pension plans.



     In 2015, it seems that a different system has been applied for the liquidation of “stockholdings.” The pattern is changing so
     that instead of selling on the same day or in a very few days, pension plans are starting to dispose of their stocks over a
     period of about two months.

     However, it is still clear that the actions are systematized from a central location. The distribution of the sales suggests rather
     that the sizes of the trades are sought to be masked.

     There is thus a sharp division between the four custodians in the Solo group. At no time are two custodians selling the same
     stocks on the same day.

     This can be illustrated by (...) showing that Maersk A-stocks allegedly purchased on March 31, 2015 are very likely sold on
     different dates depending on the custodian. For example, Old Park Lane sells stocks on June 2, 2015, Telesto sells stocks on
     June 3, 2015 and Solo Capital sells stocks on June 8, 2015.

     The timing of the sale of the stocks by the Shah-controlled custodians is thus coordinated centrally, supporting the view that
     the stock dealers are merely a fictitious construct created for the purpose of obtaining unjustified dividend tax
     reimbursements.

     6.6    Sanjay Shah controlled the pension plan custodians (Solo Group)

     The pension plans represented by TVC Law Firm have all (except one ([Pension Plan G])) used one or more of four custodians:
     Old Park Lane, Solo Capital, Telesto and West Point. Together, these four custodians make up the Solo Group.

     The Solo group is only known to the Danish Tax Agency from these cases.

     The four companies are all largely controlled by Sanjay Shah, who is being investigated by the Danish, British and German
     police in connection with the extortion case as one of the suspected masterminds behind the fraud.

     Solo Capital Partners LLP, company number OC367979, was founded in September 2011. The company was founded by
     Sanjay Shah and Solo Capital Limited. Solo Capital Partners LLP is currently in receivership and is being treated as under
     “Special Administration” in England due to the alleged crimes committed in the company. The company was previously
     owned by the Luxembourg company, Aesa SARL, owned by Sanjay Shah, and Sanjay Shah was previously the Managing
     Director of the company. A large number of the Credit Advices submitted by Solo Capital are signed by Sanjay Shah personally
     (...).
     Old Park Lane Capital PLC was owned at the dates of payment by a number of stockholders, one of the largest stockholders
     being Aesa Holdings (UK) Limited, which has subsequently changed its name to Solo Group Holdings Limited and is owned
     by Aesa SARL, which is owned by Sanjay Shah.




Case No. XX-XXXXXXX                                        Page 156/239
  Case 1:18-md-02865-LAK                      Document 836-47                  Filed 06/27/22            Page 58 of 462




     Telesto Markets LLP was in 2015 owned by Solo Group Holdings Limited, which as mentioned above is owned by Aesa SARL,
     which as mentioned above is owned by Sanjay Shah.

     West Point Derivatives Ltd was in 2014 b.l.a. owned by Hooloomooloo Holdings Limited, which is owned by Sanjay Shah.

     Previously, the pension plans claimed that they had no knowledge of whether these 4 custodians “belonged to the same
     group of companies.” This was based on the assumption of the Danish Tax Agency that (...).

     Later, pension plans radically changed their explanation of these 4 custodians.

     On (...), the pension plans thus stated, as a novelty, that “Solo Capital was the overall custodian in relation to Old Park Lane,
     Telesto and West Point.” and that all the pension plans’ money was held in Solo Capital’s bank account, (...), and (...). And in
     (...) the pension plans consistently refer to the 4 custodians as the “Solo Group.”

     The four custodians Old Park Lane, Solo Capital, Telesto and West Point together form the Solo group and have been
     controlled by Sanjay Shah.

     6.7      Custodian: Sanjay Shahs “universe”

     The four custodians in the Solo group (Solo Capital, Old Park Lane, Telesto and West Point) have together produced
     documentation that has been used to obtain over DKK 9 billion in dividend reimbursements from the Danish state. The
     documentation covers alleged stockholdings with a market value (at the time of distribution) of approximately DKK 1,354
     billion. The documents produced are intended to show that the Solo group held very substantial stockholdings for its clients,
     i.e., the pension plans, and that the stockholdings in question had been subject to dividend payments and dividend tax,
     which the pension plans then claimed back from the Danish Tax Agency.

     However, subsequent checks have revealed that, although the Solo group has certified that it holds stocks from which gross
     dividends totaling DKK 33.4 billion have been paid, there is no objective evidence – or even a trace – that the Solo group
     held a single stock (§ 5.1, above). The only ‘evidence’ of the stockholdings are the documents produced by the Solo Group
     itself.

     Indeed, an examination of the documents provided by the Solo-group to the pension plans reinforces the impression that
     the Solo-group did not hold stocks on behalf of the pension plans, but only produced documentation for the sole purpose
     of obtaining dividend payments:

     Credit Advices are numbered consecutively across the 4 custodians, even though they are independent legal entities (§ 6.8,
     below). Credit Advices that fit early in the numbering range have also been attempted to obtain reimbursement late in the
     process (in 2017) (§ 6.9, below), illustrating that they are shadow documents with no reality.

     Alleged stockholdings are – as shown in § 6.1-6.5 – systematized across the Solo group. The amount of stockholdings certified
     by each custodian is closely aligned, which can only serve to obscure the system and the consistency from the tax authorities.
     Moreover, in some cases, the size of the pension plans’ stockholdings is seen to be “consecutive”; i.e., each pension plan on
     the list holds one stock more than the previous one.




Case No. XX-XXXXXXX                                       Page 156/239
  Case 1:18-md-02865-LAK                     Document 836-47               Filed 06/27/22           Page 59 of 462




     The Custody Agreement has not been complied with as the pension plans have not paid the required Minimum Cash Balance
     at any time (Paragraph 5.9, above). The Custodian has thus not had any security, which would be unacceptable if stocks
     were actually traded (see also Paragraph 3.2, above), as the Custodian was supposed to guarantee the execution of the
     transactions.

     Custody statements (...) do not show daily movements on either general cash accounts or on stock accounts (and holdings)
     (Paragraph 5.2, above). Regardless of their designation, the supporting documents presented as (...) do not therefore
     constitute custody statements proper and do not document stockholdings.

     Accounting summaries have been prepared subsequently by the pension plans’ representative for the purpose of this case
     (§ 5.3, above). They are flawed and contain information which does not appear in the supporting documents. The statements
     therefore have no probative value.

     Taken together, the errors and deficiencies, together with the systematic nature of the pension plan documentation
     provided by the Solo Group, are clear indicators that the pension plans never owned stocks, but that they were a single and
     complex fraud.

     6.8     Credit Advices are numbered consecutively across the Solo group

     In connection with the Danish Tax Agency’s decisions to revoke previous decisions on the reimbursement of withheld
     dividend tax and to reject new reimbursement requests, the Danish Tax Agency has registered all Credit Advices submitted
     with the reimbursement requests, including Credit Advices issued by the Solo Group. The Danish Tax Agency’s registration
     of Credit Advices from the four custodians in question covers approximately 3,400 Credit Advices, which have formed the
     basis for reimbursement requests totaling approximately DKK 9 billion.

     The Danish Tax Agency’s records show that Credit Advices from the four Shah-controlled custodians – which are legally
     independent entities – are numbered by the respective custodians themselves, and that the numbering is continuous. The
     registration also shows that there are no duplicates in the Credit Advice ID numbers from these four custodians. There are
     a few “gaps” in the numbering, i.e., Credit Advice ID numbers which are apparently not used.

     The sequential numbering of the Credit Advices issued by Solo Capital, Old Park Lane, Telesto and West Point “jumps”
     between these four custodians. This can be illustrated by the following extract from the Danish Tax Agency’s registration
     (...):

     Credit Advice ID 2533-2578: Telesto
     Credit Advice ID 2579-2619: West Point
     Credit Advice ID 2620-2659: Solo Capital
     Credit Advice ID 2660-2701: Old Park Lane
     Credit Advice ID 2702-2746: Solo Capital
     Credit Advice ID 2747-2788: Old Park Lane
     Credit Advice ID 2789-2830: Telesto
     Credit Advice ID 2831-2871: West Point



     Concrete (anonymized) examples of sequential numbering are the following, (...):

     Example 1:




Case No. XX-XXXXXXX                                    Page 156/239
  Case 1:18-md-02865-LAK                     Document 836-47                Filed 06/27/22            Page 60 of 462




    Credit Advice ID 2788: Old Park Lane                                        March 17, 2015
    Credit Advice ID 2789: Telesto                                              March 17, 2015

    Example 2:
    Credit Advice ID 2904: Solo Capital                                         March 23, 2015
    Credit Advice ID 2905: Old Park Lane                                        March 23, 2015
    Credit Advice ID 2906: Solo Capital                                         March 23, 2015

    Example 3:
    Credit Advice ID 2935: Solo Capital                                         March 23, 2015
    Credit Advice ID 2936: Telesto                                              March 23, 2015

    Example 4:
    Credit Advice ID 2955: Old Park Lane                                        March 23, 2015
    Credit Advice ID 2956: Telesto                                              March 23, 2015
    Credit Advice ID 2957: West Point                                           March 23, 2015

    Regardless of whether these 4 custodians (despite using different letterhead) should have used the same back office, (...), it
    makes no sense that the total of approximately 3,400 Credit Advices are consecutively numbered across the companies.

    And if the four custodians have had the same back office (...), it does not make sense that they have used such a different
    layout for their Credit Advices:

    (...)

    These are four legally independent entities. The consecutive numbering does not make sense – even if it is within the same
    group. And if it were a legitimate arrangement with group companies, the differences in layout do not make sense.

    It thus underlines that the arrangement as far as the issuance of Credit Advices is concerned is orchestrated from the central
    level. The Credit Advices issued are not an expression of reality, but merely an element in the deliberate production of
    requests for dividend distribution without ownership of stocks.

    In a number of cases, pension plans that have been wrongly reimbursed dividend tax and other newly established pension
    plans have subsequently (i.e., after the fraud was discovered) submitted additional merger requests for several hundred
    million DKK, which were however rejected by the Danish Tax Agency on the grounds of lack of evidence of ownership of stocks
    and receipt of net dividends. Also, in connection with these subsequent requests, the pension plans have referred to the
    Credit Advice of the Solo Group

    More importantly, the submitted Credit Advices fit into the consecutive numbering system (...), regardless of the fact that
    they were submitted later.

    This consecutive numbering of Credit Advices issued by the 4 Shah Custodians is quite a marked illustration of the systematic
    fraud of the reimbursements.
    6.9       Credit Advices from Solo Group were used for fraud attempts in 2017




Case No. XX-XXXXXXX                                     Page 156/239
  Case 1:18-md-02865-LAK                         Document 836-47             Filed 06/27/22             Page 61 of 462




     On February 1, 2017, the Danish Tax Agency received 34 requests for reimbursement of dividend tax via the current IT
     solution, all of which were identified as suspicious by the Danish Tax Agency’s dividend department. The requests were
     therefore forwarded to Special Control.

     The 34 requests from U.S. pension plans were all submitted by the agent (...), who was unknown to the Danish Tax Agency.
     The requests were submitted on behalf of 34 U.S. pension plans and amounted to between DKK 290,835 and DKK 1,479,587.
     In total, more than DKK 25 million was claimed. Of the 34 pension plans, 29 are named after (...).

     A review of the attached “documentation” showed that the Credit Advices in question were issued by Telesto (8), West Point
     (8), Old Park Lane (9) and Solo Capital (9). These Credit Advices were numbered in such a way as to fit into the ‘gaps’ in the
     sequential numbering of Credit Advices as set out above, but also in such a way that there continued to be no duplication of
     values.

     It makes no sense for new (unknown) pension plans to submit additional Credit Advices 1½ years later that fit in the middle
     of the chronology of Credit Advice numbers. This indicates very strongly that these are prefabricated “drawer documents”
     that fit into a large, overarching system.

     Finally, due to the current electronic application procedure, it was possible for the Danish Tax Agency to check the ‘digital
     footprint’ of each uploaded document, which was not possible with the previous physical application procedure (Supporting
     Appendix, § 2). A review of the uploaded documents relating to the 34 pension plans showed that Sanjay Shah was listed as
     the author on all credit advices issued by both Solo Capital and Old Park Lane (18 documents in total) (...).

     The Danish Tax Agency, Special Control, issued proposals for decisions in the 34 cases. In all cases, the proposal was that the
     request would be rejected, as the pension plans had not documented ownership of the stocks and receipt of net dividends.
     Copies of the proposals were sent to the agent (...).

     (...) subsequently submitted 35 letters objecting to the Danish Tax Agency’s draft decision. In other words, objections were
     sent in a non-existent case, i.e., a case where no request for reimbursement was ever made to the Danish Tax Agency and
     where the Danish Tax Agency therefore did not make a proposal for a decision (...).

     The Danish Tax Agency decided to reject the requests on June 01, 2018. The decisions have been appealed.

     When, as is evident, the same methodology and the same basis for claiming reimbursements is used as in the present case,
     it becomes clear that the systematic fraud in the reimbursement of dividend taxes is not only historical but also of future
     importance.

     6.10     Pension plans have maintained that trades were not managed centrally

     Throughout the proceedings, the pension plans have maintained that there is no complex and that the pension plans have
     been completely independent of each other.

     This position is reflected, for example, in (...):

              “Our general response to these allegations is that the individual [pension plan] has no direct or indirect
              connection or knowledge of all the other pension plans that also appear to have purchased Danish listed
              stocks under a similar investment strategy. The [pension plan] has at no time had knowledge of the
              identity of all the other pension plans with a similar investment strategy.




Case No. XX-XXXXXXX                                       Page 156/239
  Case 1:18-md-02865-LAK                        Document 836-47                  Filed 06/27/22              Page 62 of 462




            strategy on the same or other trading platforms by the same or other brokers, investment managers, etc. “
            (my underlining)

     Furthermore, pension plans have described how it was the pension plans themselves that bought and sold the stocks. the
     TVC Law Firm has noted that the trustee of the pension plans “had online access via Solo’s web portal to view and manage
     all transactions on a daily basis,” (...).

     On (...), the pension plans also provided a list of Authorized Signatories of Trust, (...), and a list of Authorized Traders of Trust,
     (...). Both lists are said to relate to [Pension Plan B] and the only person on the lists is (...) – [Pension Plan B’s] trustee.

     Finally, the pension plans have also submitted correspondence between (...), which must belong to [Pension Plan B], and
     the broker (...) concerning stock purchases, (...), as well as the pension plans have also noted that the custodian was not
     authorized to act on behalf of the pension plans, (...).

     Pension plans’ description of,

            -              that the trustee should “manage all transactions on a daily basis,” (...),
            -              the pension plans had “no direct or indirect connection or knowledge of all the other pension plans’ or
                           ‘knowledge of the identity of all the other pension plans with a similar investment strategy,” (...); and
            -              the custodian was not authorized to trade stocks on behalf of the pension plans, (...),

     is in no way related to the collective and coordinated investment strategy of pension plans, as illustrated by the alleged stock
     trades.

     6.11       Two pension plans forgot to apply for reimbursement (new)

     Two pension plans represented by TVC Law Firm apparently forgot to seek re-merger of dividend tax for their alleged stock
     holdings.

     This is [Pension Plan Q], which has not claimed reimbursement for stocks acquired in 2015:

                Stock                                          Number of stocks         Dividend tax withheld
                A.P. Møller Maersk A/S – B                  8,094                               DKK 4,307,383.98
                Carlsberg A/S – B                           179,556                               DKK 436,321.08
                Coloplast A/S – B                           294,759                               DKK 358,132.19
                Danske Bank A/S                             3,578,514                           DKK 5,314,093.29
                DSV A/S                                     823,723                               DKK 355,848.23
                FLSmidth & Co A/S                           80,747                                DKK 196,215.21
                GN Store Nord A/S                           630,605                               DKK 153,237.02
                Novo Nordisk A/S – B                        6,717,867v                          DKK 9,069,120.45
                Novozymes A/S – B                           822,009                                  DKK 665,827




Case No. XX-XXXXXXX                                         Page 156/239
  Case 1:18-md-02865-LAK                     Document 836-47                Filed 06/27/22            Page 63 of 462




              Pandora A/S                               492,896                       DKK 1,197,737.28
              TDC A/S (March)                           3,090,704                      DKK 834,490.08
              Tryg A/S                                  35,072                         DKK 274,613.76
              A/S                                       378,092                        DKK 398,130.88
              A.P. Møller Maersk A/S – A                7,894                         DKK 4,200,949.98
              TDC A/S (August)                          1,092,245                      DKK 294,906.15
              Sum                                                                     DKK 28,057,006.87

     In addition, [Pension Plan E] has not applied for reimbursement of a stockholding of 1,475,613 Coloplast stocks acquired in
     2015, which would have included DKK 1,792,869.80 in the custody statement (...).

     It makes no sense that the pension plans could miss out on being paid such substantial amounts, which were allegedly used
     to cover significant costs associated with this arrangement (Paragraph 5.8, above), or which the pension plans should in any
     event believe they are entitled to if they maintain that they are entitled to the reimbursements at issue in this case.

     On the other hand, it makes sense that a single pension plan or accounting entry can disappear into the crowd in a fraud
     that at the Solo Group has been around DKK 9 billion and involved well over 100 pension plans and many thousands of
     alleged stock traders.

     Pension plans claim they have very small gains, as the gains are eaten up by undocumented expenses. If this is true, then
     the two pension plans are missing a significant amount of money and thus have a significant outstanding balance that has
     not been paid. The alleged counterparties would discover this. The fact that they have apparently not discovered it merely
     shows that the whole thing is a paper exercise – and does not reflect real cash flows.

     7.   FORMALITIES

     7.1 Burden of proof

     It is the pension plans that have requested reimbursement of withheld dividend tax and it is thus also the pension plans that
     have the burden of proof that the conditions for reimbursement of dividend tax are fulfilled, cf. e.g., UfR 2003.2312/3H. The
     pension plans do not dispute this, (...).

     It is irrelevant whether the pension plans have submitted documents at the time of application, which – if they had been
     correct – were sufficient documentation according to the Danish Tax Agency’s working procedures in 2015, cf. (...). What
     matters is whether, on the basis of the information in the case, the Danish National Tax Tribunal considers that the pension
     plans have proved that they met the conditions for reimbursement of dividend tax.

     The pension plans’ explanation of the transactions that should have entitled to dividend distribution is not transparent, see
     § 2.4, above, and the burden of proof is therefore increased, see e.g., UfR 1998.898 H.

     In addition, the pension plans’ supporting material is flawed and deficient and their explanations and pleas incoherent and
     shifting to such an extent that the burden of proof must be further increased, see Paragraphs 3-6, above, and Paragraph 8,
     below, and e.g., SKM2019.250.ØLR. The pension plans, on the other hand, argue that the burden of proof has shifted so
     that the Danish Tax Administration Authority is most likely to bear the risk of doubt due to the passage of time and the
     tribulations of reimbursement. In this context, the pension plans are hiding behind the fact that the Danish and English
     authorities have seized material from their custodians (...) and that the Danish Tax Agency should obtain material from the
     SØIK (...).




Case No. XX-XXXXXXX                                     Page 156/239
  Case 1:18-md-02865-LAK                      Document 836-47                Filed 06/27/22             Page 64 of 462



     The Danish Tax Agency disputes that the burden of proof can be reversed in this way, even taking into account the nature
     of the cases. The pension plans have claimed reimbursements in the period 2012–2015 on the basis of very large alleged
     stockholdings. Each of the pension plans has thus made investments worth many millions of kroner – and in many cases
     even several billion kroner. The cases were (in the lead cases) commenced by the issuance of proposed rulings on March 23
     and 24, 2017, and thus a few years after the payouts – and at times when accounting records should still be filed under both
     Danish and U.S. law.

     TVC Law Firm represents more than 100 pension plans. It is simply not true that -all these pension plans have been so reckless
     as to not even have any physical or electronic documentation of their past stockholdings (which formed the basis of their
     reimbursement claims).

     It is striking that the pension plans have failed to provide, in 5 submissions and over 4,000 pages of supporting material,
     relevant material which must be in their possession if, as they claim, stock dealing has taken place:

     x    The pension plans have not provided their own statements. Statements of account have not been provided for either
          the cash or the equity holdings of the pension plans. It goes without saying that the pension plans are in possession of
          this material.

     x    There is no evidence that the pension plans have received the alleged net dividends or dividend distribution, (...).

     x    There is no evidence of cash flows, including cash collateral and payment for stocks. There is therefore no evidence that
          settlement has taken place, i.e., that the alleged stock transactions have actually been carried out.

     x    According to the pension plans’ own information, they have earned millions of kroner from the transactions. An
          example of this is [Pension Plan B] (...). In 19 cases [Pension Plan B] has, according to its own statement, traded stocks
          and thereby earned an amount which ‘by chance’ is almost as large as the dividend distribution, (...). The pension plans
          have not even attempted to provide the Danish National Tax Tribunal with an answer as to where their very large profits
          have gone. This is an example of how unrealistic the pension plans’ attempts at argumentation are. When the story
          doesn’t add up, well, that’s just because it’s wrong.

     x    Only a few of the GMSLAs invoked (...) have been provided and these are undated, unsigned and incomplete. In
          addition, in most cases the pension plans are not contractual parties.

     x    There is no evidence of the alleged pledge of the arbitrage proceeds (and the additional funds of the pension plans) to
          the GMSLA co-contractors and/or the custodian/Solo Capital, pursuant to the TTC clause.

     Instead, pension plans have emerged with a series of shifting explanations and a significant volume of documents. When
     the pension plans’ explanations are compared with the documents submitted by the pension plans during the preparation
     of the cases before the Danish Tax Appeals Agency, it appears that




Case No. XX-XXXXXXX                                      Page 156/239
  Case 1:18-md-02865-LAK                       Document 836-47                 Filed 06/27/22            Page 65 of 462




     the pension plans have never owned Danish stocks. The available information, however, points in the opposite direction, cf.
     UfR 2003.2313/3 H. The “documentation” is in fact flawed to an unnaturally large extent.

     There is no doubt in the matter; there is no evidence of the alleged stock deals and there are too many errors in the evidence
     provided by the pension plans to support their “story.” In the National Tax Tribunal’s view, if there is any doubt, it is only
     because the pension plans have failed to produce documents that must be in their possession. This must be to their
     evidential detriment and is contrary to their statement that they would disclose the files, (...).

     7.2           Annulment or revocation – invalid decisions can be revoked

     In (...), the pension plans claim that the Danish Tax Agency should have revoked its original, valid dividend tax reimbursement
     decisions, (...), even though no new facts have emerged in the cases since the payment decisions, (...). This is a
     misunderstanding of both the facts and the law.

     The pension plans now correctly state in (...) that the legal circumstances must be understood as meaning that the Danish
     Tax Agency’s revocation decisions amount to an annulment of the original decisions on the ground that they were unlawful
     and therefore invalid.

     Thus, the decisions for [Pension Plan C], [Pension Plan B] and [Pension Plan F] state that (...):

                   “[Name] has therefore not demonstrated that [name] qualifies for a reimbursement of Danish
                   withholding tax under Article 10 of the Double Taxation Treaty between Denmark and the United
                   States.

                   (...)

                   The Danish Tax Agency’s decisions to reimbursement dividend tax to [name] are therefore wrongly
                   based.

                   The Danish Tax Agency therefore revokes the previous decisions on reimbursement of dividend
                   taxes.”

     Similar wording appears in the Danish Tax Agency’s decisions in the other drivers’ cases.

     As can be seen, the decisions state that the conditions for reimbursement were not met and that the decisions to pay were
     taken on an erroneous basis. The Danish Tax Agency’s decisions are therefore not a recall of a valid decision. It is therefore
     incorrect for the pension schemes to state that “The Danish Tax Agency itself considered that the original decisions on the
     payment of the dividend tax reimbursement were legally valid, since otherwise the Danish Tax Agency would have had to
     take a decision to annul these earlier decisions,” (...).

     It is irrelevant whether the Danish Tax Agency has called the decision “revocation’ or ‘annulment,” (...). The financial plans
     cannot rely on the heading. In addition, the terms “revocation” and ‘annulment’ are not used consistently. In
     SKM2011.501.HR, the Supreme Court ruled that the Danish Tax Agency could “revoke” (not cancel) a license because it
     lacked a legal basis, i.e., because it was invalid. The judgment illustrates how the concepts are (to some extent) used
     synonymously.




Case No. XX-XXXXXXX                                       Page 156/239
  Case 1:18-md-02865-LAK                        Document 836-47                 Filed 06/27/22            Page 66 of 462




     Since the pension plans never owned the stocks claimed, nor were they entitled to the dividends, the Danish Tax Agency’s
     original dividend tax reimbursement decisions are invalid and the Danish Tax Agency was therefore both entitled and obliged
     to annul the decisions. For invalid decisions, the clear starting point is that such decisions cannot be upheld, see e.g.,
     SKM2011.501.HR. This is also clear from Administrative Law – General Topics, 6th edition, Chapter 8, pp. 517-518, to which
     the pension plans refer (...). The considerations on revocation referred to by the pension plans are thus of no relevance to
     the present case.

     The facts are set out above and in (...). As can be seen, the Danish Tax Agency now has a number of items of information
     that were not available at the time of payment. It is therefore incorrect for the pension schemes to state that in the present
     case the Danish Tax Agency “does not appear to be in possession of any genuinely new factual information in the matter,”
     (...). When the Danish Tax Agency paid dividends to the pension plans’ agent, the Danish Tax Agency was not aware of the
     large-scale reimbursement fraud. Nor did the Danish Tax Agency have any reason to believe that the basis for the requests
     was without substance.

     The conditions for annulment/revocation of the earlier decisions are thus met, since the decisions are irremediable.

     Even if the Danish Tax Agency can be blamed for not having carried out a proper check of each individual request for
     reimbursement, this does not alter the fact that the pension plans have not provided evidence that the pension plans
     actually owned the stocks claimed. Therefore, the Danish Tax Agency is also not prevented from revoking/cancelling the
     reimbursement decisions as a consequence, see e.g., UfR 2003.2312/3H and UfR 2007.3052 H.

     The fact remains that there is no evidence that the pension plans actually owned the alleged stocks and received the alleged
     net proceeds, and therefore they were not entitled to the reimbursements paid.

     8.             PENSION PLANS CONSIDERATIONS

     8.1            Pension plans’ money machine

     The pension plans have stated in (...), that

           “the elimination of financial risks [...] is a standard routine for any DIV-Arb transaction”

     and that

           “every Div-Arb transaction is profitable.”

     According to the pension plans, they have therefore been able to use an investment vehicle without any financial risk and
     which always pays off.

     Indeed, the pension plans state in (...) that “Div-Arb is a money-making machine.”

     No such (legal) money machine exists.
     8.2          One stock can have several owners

     According to the pension plans, “a stock may have more than one owner,” (...).




Case No. XX-XXXXXXX                                        Page 156/239
  Case 1:18-md-02865-LAK                      Document 836-47                Filed 06/27/22            Page 67 of 462




     That’s not true.

     This would imply that the issuing company would have to distribute dividends to more than 100% of its stockholders. This is
     not the case. Any doubt as to who owns a stock does not of course imply that there are several owners of the same stock at
     the same time.

     If there could be multiple owners of the same stock, it would also mean that more than 100% of stockholders could attend
     and vote at the company’s AGM.

     8.3           Short-selling means that there are more stocks on the market than issued by the company

     Pension plans claim that short-selling typically results in “more stocks being available on the market than were originally
     issued,” (...).

     That’s not true.

     No more stocks may be traded than issued by the company – not even by short-selling. The chain in short-selling can be set
     up as follows:

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     Short-selling must be covered. In other words, the stock borrower must have borrowed the stock before selling it to the
     short buyer, and this sale agreement must of course respect the terms of the stock borrower’s loan agreement with the
     stock lender – otherwise there is a default. Thus, one cannot (legally) duplicate either the stock or the right to dividend
     distribution by short-selling.

     8.4           1 dividend tax can lead to 2 reimbursements

     The pension plans claim that their setup “results in two parallel dividend mergers, even though the Treasury has received
     only one dividend tax payment from the company.” (...).

     This is patently false.

     The reimbursements are, of course, the repayment of an amount that has been withheld. The payment of 1 withholding tax
     cannot therefore lead to 2 (legitimate) reimbursements. This would cause enormous losses to the Treasury. Any doubt as to
     who owns a stock and is therefore entitled to dividends and reimbursements does not, of course, mean that the Treasury
     has to reimbursement more dividend tax than has been withheld. After all, the State does not have to bear the risk (or the
     cost) that a trade was unlawful.

     8.5           The case is about law

     Pension plans try to wrap their “money machine” in a variety of legal considerations.

     Ownership cannot be achieved through legal considerations. Rather, whether the pension plans acquired the alleged stocks
     is a question of fact. And the fact is that the pension plans cannot provide any concrete evidence of having owned the stocks.
     It is particularly noteworthy that none of the more than 100 pension plans has provided so much as one page of their own
     accounts.




Case No. XX-XXXXXXX                                      Page 156/239
  Case 1:18-md-02865-LAK                       Document 836-47                 Filed 06/27/22            Page 68 of 462




     This case does not concern the clarification of a legal grey area for the ownership of stocks. The case is about fact. Therefore,
     the pension plans’ considerations of bona fide ownership and beneficial ownership are not relevant.

     The right to a reimbursement of withheld dividend tax depends on whether you have owned stocks and received net
     dividends from them. If no stocks have been traded or if there are fictitious stock trades, the pension plans have not owned
     the stocks and are therefore not entitled to a reimbursement. This goes without saying. And it is irrelevant whether the
     pension plans were acting in good faith. Ex tuto, it should be noted that it is the Danish Tax Agency’s view that the pension
     plans were acting in bad faith.

     If these were not merely fictitious stock transactions, there would be firm and unequivocal evidence that the pension plans
     had purchased and owned the stocks and received the net proceeds therefrom.

     8.6            It’s impossible to cheat with stock trades

     According to the pension plans, stock transactions are subject to such strict regulation that fictitious stock transactions
     cannot occur at all, (...). It is also – according to the pension plans – impossible for a custodian to issue documents without
     reality.

     At the same time, however, the pension plans acknowledge that there are errors in (...) (custody statements and broker
     confirmations), which, according to the pension plans, ‘appear to be due to simple human input errors in the computers’,
     (...). In addition, some of the written trade notes from (...) (broker) contain ‘deviations from the electronic instructions for
     settling the trade’, (...).

     These errors and anomalies illustrate the obvious fact that it is possible to cheat on stock trades if you have the will to do
     so.

     Indeed, as this post shows, there are several clear errors in the material presented by the pension plans.

     8.7            Alternate explanations 1: Pension plans’ “conclusive” evidence changes character

     The Pension Plans have previously claimed that the Credit Advices provided by the Shah-controlled custodians were “legal
     evidence” that the Pension Plans purchased the alleged stocks, (...). It is even stated in (...) – in general terms – that in
     addition to the Credit Advices

           “there is no other evidence of receipt of a benefit.”

     It is simply wrong that the pension plans – if they had actually received the alleged benefits – should not be able to provide
     any objective evidence of this.

     Subsequently, the pension plans have taken the view that the trade receipts (...) are “the decisive proof that the purchase of
     stocks has taken place,” (...), since the presentation of a trade receipt is “the only way of proving that one is the legal owner
     of stocks,” (...).

     Neither Credit Advices nor Trading Notes (...) document ownership of stocks. Credit Advices are just words on paper and
     trade notes do not prove that trades have actually been executed. In addition, the pension plans state in (...) that ‘This
     allegation is materially incorrect. A broker confirmation is a trade note that can only be issued [...] when a trade has been
     executed.” (my emphasis).




Case No. XX-XXXXXXX                                        Page 156/239
  Case 1:18-md-02865-LAK                       Document 836-47                  Filed 06/27/22             Page 69 of 462




     Conversely, the pension plans state in (...) that “the trading note from a broker [constitutes] evidence of a final and binding
     agreement to purchase stocks. As far as settlement is concerned, the trade note from the broker does not prove that
     settlement has taken place.” (my emphasis).

     It is therefore agreed that the broker confirmations submitted (...) do not prove that the transaction has been carried out.

     Pension plans have also previously argued that a custody statement has “the same substantive value as supporting
     documentation as a bank statement.” (...). The pension plans have maintained that the custody statements provided (...)
     showed daily account movements, (...).

     However, the custody statements provided (...) are only annual statements which – without underlying account statements
     – show a number of internal accounting entries at the custodian.

     The (...) also states that the custody statements submitted (...) are merely ‘account statements produced at the end of each
     year and therefore only show a summary of all transactions. Each transaction, be it a purchase, sale, forward hedge or stock
     loan, was entered in the custodian’s systems on an ongoing basis and each trustee was able to view each transaction in the
     account on an ongoing basis through online access.”

     The pension plans’ comments further state that “the trustee had online access via Solo’s web portal to view and manage all
     transactions on a daily basis.”

     It is also striking in this light that none of the pension plans provide statements of account of any kind. And it is remarkable
     that the pension plans now so radically change the explanation of the content of (...), which the pension plans in (...), referred
     to as “legal evidence of ownership of stock positions.”

     8.8           Alternate explanations 2: Inconsistencies in explanations of guarantee and payment of reimbursement

     According to the pension plans, the GMSLAs involve a “pledge of all assets (present and future),” (...), the pension plans state
     that the financial result of the alleged stock transactions and forwards was “pledged as security under the GMSLA.” No
     evidence of such pledging of the pension plans’ assets to the GMSLA co-contractors has been provided.

     Moreover, this pledge is not linked to the fact that the pension plans in (...), have indicated that the Div- Arb result (including
     net dividends and reimbursement) was pledged to the respective custodian. According to (...), the ownership rights to all
     the pension plans’ funds was transferred to the custodian as security for the payment of the stock transactions under the
     TTC clause (point 4.3 of the Custody Agreement, (...)). This collateral has not been documented either.

     The pension plans have in (...), changed the explanation that the ownership rights for the funds (including net-two dividends
     and reimbursement) was always transferred to Solo Capital. However, this is not consistent with the TTC clause in the
     Custody Agreement submitted (...), which refers to the “Custodian.” It is – or at least has been so far – undisputed that Solo
     Capital is only one of 4 Shah-controlled custodians used by the pension plans represented by TVC Law Firm. It is obvious that
     this information from the pension plans is contradictory.

     In addition, it is undisputed that the reimbursements were not paid to either the GMSLA co-contractors or the custodian (or
     Solo Capital), but to the pension plans’ agents.




Case No. XX-XXXXXXX                                        Page 156/239
  Case 1:18-md-02865-LAK                        Document 836-47                      Filed 06/27/22     Page 70 of 462




     If the result is pledged, it does not make sense that the reimbursements are paid to the pension plan agents instead of to
     the pledgee.

     8.9             Alternate explanations 3: Pension plans accounts

     The pension plans have stated at the office meetings that all their money was deposited in Solo Capital’s account, (...), and
     that all the alleged stock transactions as well as the receipt of net dividends and reimbursement were made through this
     account, (...). No evidence of this has been provided. It is also contrary to the pension plans’ earlier statement that the
     pension plans did not need separate accounts in addition to the account with their respective custodian (which in far from
     all cases was Solo Capital), (...).

     If the pension plans’ money was in Solo Capital’s account, it also seems odd that custody statements – which the pension
     plans themselves compare to bank statements, (...) – prepared by West Point, Telesto and Old Park Lane are widely available.

     In any event, none of the pension plans provided any account statements at all.

     8.10            Alternate explanations 4: Lack of evidence

     It is stated in (...) – in general terms – that in addition to Credit Advices

            “there is no other evidence of receipt of a benefit.”

     It is simply wrong that the pension plans – if they had actually received the alleged dividends – should not be able to provide
     any kind of objective evidence of this, e.g., in the form of a dividend note, account statement, fund/deposit statement or
     similar, cf. the Supporting Document, § 2.2, on the examples of evidence now available on the Danish Tax Agency website.

     8.11            Lack of connection to VP Securities and settlement netting

     The pension plans state in many places in (...) that VP Securities does not have an accurate ownership register (...) and that
     stock trades are not necessarily executed by delivery of stocks between custodians, as trades are first settled by transfers of
     stocks internally (accounting-wise) at each custodian (...).

     Such pleas cannot lead to the pension plans’ complaint being upheld. Data from VP Securities must be taken into account in
     the assessment of evidence. It is therefore relevant whether the pension plans or their custodians held deposits in VP
     Securities – or whether they can show through which sub-custodians they allegedly held stocks.

     It is the pension plans that must prove that they have owned stocks in Danish companies at the time of distribution, cf.
     § 7.1, above. If pension plans cannot prove ownership, they are not entitled to dividend distribution.

     Through contact with VP Securities, the Danish Tax Agency has attempted to confirm whether the custodians listed by the
     pension plans have held stockholdings. VP Securities was unable to confirm this. The purpose of the Danish Tax Agency’s
     contact with VP Securities was to clarify the cases. This does not alter the fact that the pension plans have the burden of
     proving ownership.
     The same applies to netting procedures. There is no evidence that pension plan custodians have held stocks in Danish
     companies at any time. Where the Shah-related custodians (Solo Capital, Telesto, West Point and Old Park Lane) do not hold
     any stocks prior to delivery, they




Case No. XX-XXXXXXX                                         Page 156/239
  Case 1:18-md-02865-LAK                      Document 836-47                  Filed 06/27/22             Page 71 of 462




     of course receive stocks upon execution of the pension plans’ “trades.” It is up to the pension plans to prove that such
     delivery of stocks has occurred. The burden of proof cannot, of course, be discharged by reference to general considerations
     of netting.

     The pension plans apparently claim that it is impossible to prove ownership of Danish stocks. This is of course not true.

     8.12         Stock borrower will provide collateral at market value

     As regards the alleged collateral provided by the stock borrower, the pension plans claim that

                  “However, it is customary in the stock lending industry to value the collateral to be provided mark-to-market
                  (i.e., on a market basis) without any haircut. The main risk for the lender in a stock lending transaction is default
                  by the borrower. It is therefore important that the value of the collateral (at least) corresponds to the market
                  price (mark-to-market).” (...)

     This is not consistent with the fact that the collateral was not the market price at the time of the conclusion of the specific
     stock lending agreement, but rather the market price at the time of the conclusion of the purchase agreement, see § 3.2.2
     above.

     By extension, the pension plans refer to Nordnet requiring more than 100% of the market value in collateral.

     Pension plans, however, distort the facts.

     Nordnet is a large and established player in the market, with assets worth €92 billion according to its 2018 annual report.
     SEK, a gross profit of 1.3 billion SEK. SEK and equity of approximately SEK 2 billion. SEK.

     The clipping from Nordnet (...) shows that a capital-intensive party, Nordnet, demands more than 100% collateral for
     shorting, so that Nordnet is sure to get the lent stocks back – and otherwise the collateral is high enough to make cover
     purchases.

     Unlike Nordnet, the pension plans have neither equity nor assets. Consequently, it is the counterparty – namely the stock
     borrower, who must be capital strong and provide a me- sure significant amount of millions – who will be concerned about
     whether he will get his money back. And therefore, it is very unlikely that the borrower will agree to provide 100% security.

     The example of Nordnet shows that the strong party will demand a “margin” in the security position in its favor.

     The pension plans’ invocation of the Nordnet example illustrates once again that the pension plans are invoking facts and
     evidence that are completely beside their situation. And it underlines how bad a case they have.


     8.13         Speculation as to whether Pinsent Masons has advised Solo Capital




Case No. XX-XXXXXXX                                      Page 156/239
  Case 1:18-md-02865-LAK                     Document 836-47                Filed 06/27/22            Page 72 of 462




     The pension plans refer to the fact that Pinsent Masons advised Solo Group in connection with the transactions carried out
     (...). However, this is undocumented and does not appear from the invoice and e-mail correspondence submitted (...), which
     do not concern advice relevant to the cases pending before the Danish Tax Appeals Agency.

     In addition, any advice or opinion given by Pinsent Masons is, of course, irrelevant to the assessment of whether the pension
     schemes have owned stocks. This is true whether or not Pinsent Masons represents the Inland Revenue in England.

     The pension plans’ emphasis on this fact only looks like an attempt to muddy the picture.

     What is most interesting about the pension plans’ presentation of (...) is where the pension plans got the part of (...) that
     relates to advising Sanjay Shah and his companies. The pension plans’ possession of (...) in its entirety suggests that the
     pension plans have contact with Sanjay Shah.”

     Supporting document from the Danish Tax Agency dated August 09, 2019:

     “The Danish Tax Agency’s Supporting Appendix

     Table of contents
     1.       ACTORS                                                                                                           2
     1.1      Custodian                                                                                                        2
     1.2      Agents                                                                                                           3
     1.3      U.S. pension plans                                                                                               4
     1.4      Brokers                                                                                                          6
     2.       REIMBURSEMENT APPLICATIONS                                                                                       7
     2.1      Period 2012-2015                                                                                                 7
     2.1.1 Forms                                                                                                               8
     2.1.2 Credit Advice                                                                                                       8
     2.1.3 Form 6166                                                                                                           8
     2.1.4 Power Attorney                                                                                                      9
     2.2      New application process from 2017 onwards                                                                        9
     3.       TYPES OF CONTRACT                                                                                                9
     3.1      Global Master Securities Lending Agreement (GMSLA)                                                               9
     3.2      Forwards                                                                                                        10
     4.       CIVIL ACTION                                                                                                    11
     4.1.1 Germany: Arrest of around 2.2 billion euros                                                                        11
     4.1.2 USA: Litigation worth some €5.4 billion brought – and not dismissed                                                12
     4.1.3 Settlement: repayment of DKK 10 million and DKK1.6 billion respectively                                            13
     5.       TREASURY DATA ANALYSIS                                                                                          13
     5.1.1 The basis of the Danish Tax Agency’s analysis                                                                      14
     5.1.2 The result of the analysis                                                                                         16

     (...)

    1.       ACTORS

    The complex of cases relating to the reimbursement of dividend tax concerns a total of 306 pension plans and companies
    from various foreign jurisdictions that, through agents, have unjustifiably requested the Danish Tax Agency to reimbursement
    dividend tax totaling approximately DKK 12.7 billion in the period from 2012 to 2015 inclusive. On the basis of the
    reimbursement requests, the Danish Tax Agency has paid the requested amounts in total approximately 12.7 billion




Case No. XX-XXXXXXX                                     Page 156/239
  Case 1:18-md-02865-LAK                                        Document 836-47                Filed 06/27/22          Page 73 of 462




    in the corresponding period. Payments were made to foreign bank accounts designated by – and belonging to – the agents.

    Of the total of 306 pension plans and companies that have asked the Danish Tax Agency for dividend tax reimbursements,
    277 pension plans are domiciled in the United States.

    The various key actors and documents can be illustrated as follows:


             The case                                                applicants for withheld
                                                                    dividend tax/Pension Pla




                                                                                                        usJodian




                                                                                                       power of attorney from the
                                                                                                       pension fund
        o,,........Jm, lraSK.U lil.,\pntlns i.oalD I                                                   requests for dividend tax
        llaalr,.i   OIL",?         1)1.'1;.                                                            reimbursement
      Transfers from The Danish Tax Agency to the Agent’s
      account at the bank, totalling circa 12.7 million DKK


     1.1 Custodian

     Generally, a custodian is a financial institution that holds clients’ stocks and other securities.

     The Credit Advices submitted in the case, which alone constitute the alleged “proof” of ownership of the stocks and receipt
     of dividends, have been produced by 12 different international custodian firms, listed below.

     The distribution of the claim amounts for which each custodian has provided claimed “evidence” (Credit Advices) can be
     calculated as follows (in proportion to the 12.7 billion DKK unduly paid):


                                                        Custodian                              Total (DKK)
                                                     Solo Capital Partners LLP                      5,442,113,750
                                                     Old Park Lane Capital PLC                      1,776,763,390
                                                     (...)                                          1,135,775,342
                                                     Telesto Markets LLP                              925,443,359
                                                     (...)                                            920,721,387
                                                     West Point Derivatives Ltd                       880,884,044
                                                     (...)                                            688,383,335
                                                     (...)                                            582,830,675
                                                     (...)                                            320,758,845
                                                     (...)                                             33,748,380




Case No. XX-XXXXXXX                                                            Page 156/239
  Case 1:18-md-02865-LAK                           Document 836-47                    Filed 06/27/22                Page 74 of 462



                                     (...)                                                         1,863,000
                                     (…)                                                           810,000

                                       Grand total                                      12,710,095.50




         The custodians involved are all domiciled in England except for (...) and (...), which are domiciled in (...) and (...)
         respectively.

    1.2 Agents
         All 306 pension plans and companies in the case applied for dividend tax reimbursements via a form system regulated
         by the Danish Tax Agency. The 306 entities used six international external advisory firms, so-called “agents,” which
         forwarded the requesting entities’ application for reimbursement of withheld dividend tax to the Danish Tax Agency.

         The distribution of reimbursement requests between the six agents has been as follows:



                                      Agent                                    Paid (DKK)
                                     (…)                                                  4,549,985,549
                                     (…)                                                  3,610,468,065
                                     (…)                                                  3,043,663,066
                                     (...)                                                1,220,975,179
                                     (...)                                                262,207,548
                                     (...)                                                22,796,100

                                      Grand total                              12,710,095,507



     (...) has played the largest role as an agent in the complex, having been involved in making requests for reimbursement of
     dividend tax for approximately DKK 4.5 billion out of the DKK 12.7 billion defrauded.

     (...) is domiciled in England, as are (...), (...) and (...). The agents (...) and (...) are established in (...) and (...) respectively.

     The agents were responsible not only for the dissemination of material but also for direct communication with the Danish
     Tax Agency and for sending the documentation for the reimbursement applications.

     In their requests to the Danish Tax Agency, the agents indicated, on behalf of the 306 pension plans and companies, the
     foreign bank accounts to which they wanted the reimbursement amounts transferred. All the bank accounts indicated by
     the agents were accounts of the agents and the Danish Tax Agency, on the basis of a review of the requests, paid all the
     amounts relating to the requests into the bank accounts indicated by the agents.

     1.3 U.S. pension plans




Case No. XX-XXXXXXX                                            Page 156/239
  Case 1:18-md-02865-LAK                      Document 836-47                 Filed 06/27/22            Page 75 of 462



     The vast majority of the 277 U.S. pension plans have been “401(k) plans,” according to the information provided to the
     Danish Tax Agency. The designation refers to the fact that the pension plans have been established under the terms of §
     401(a) of the U.S. Internal Revenue Code (“IRC”).

     A 401(k) plan is established by an employer for the benefit of its employees. It is a prerequisite for setting up a pension plan
     that the employer has an Employer Identification Number (ENI), which is assigned by the U.S. tax authorities, the IRS.
     Furthermore, it is a condition for the creation of 401(k) plans that there is a formally adopted plan document and that there
     is a separate agreement with a trustee. The plan document must govern the terms of the retirement plan, including
     compliance with the IRC and, if applicable, the Employee Retirement Income Security Act (“ERISA”), as well as other
     applicable laws. The agreement with the trustee shall govern how the plan assets are invested and managed.

     Contributions to 401(k) plans can be made by both employees and the employer according to the retirement plan’s plan
     document and the limits set by the IRC. Except for exceptions regarding the accrual of contributions at year-end changes,
     contributions to a 401(k) plan for each participant (both employer and employees) cannot exceed the lesser of 1) an amount
     limit that is periodically adjusted for inflation ($53,000 in 2016 or $59,000 for participants age 55 or older) and 2) 100% of
     the participant’s compensation from the employer that year. The amount limit is lower for certain types of 401(k) plans.

     Generally, 401(k) plans can only make distributions to participants or to cover allowable expenses of the pension plan.
     Distributions to participants can only be made under certain circumstances, such as termination of employment, financial
     hardship, death, disability, age (59½) or termination of the pension plan without succession. Such distributions must be
     reported to the IRS on Form 1099-R. It should be noted that other forms may be required if the distribution is made to a
     non-resident of the United States.

     Contributions to 401(k) plans must be held in a separate fund managed by one or more trustees who, with certain
     exceptions, have the exclusive right to manage the pension assets, including the right to invest the funds.

     In the present case, the trustees concerned have acted as trustees of the pension plans at a general level. The Trustee has
     signed powers of attorney on behalf of the pension plan --and on behalf of the employer that established the plan. There are
     about 70 different trustees involved in the complex of cases. The vast majority are based in the United States. Of the 70
     trustees, 4 trustees represent a total of 156 of the 277 U.S. pension plans.

     The vast majority of the 401(k) plans involved in the case are of the “One-participant plans” type, as is also evident from the
     Danish Tax Agency’s revocation decisions where this is the case. “One-participant plans are pension plans for business
     owners who do not have employees in the associated business (except for the owner’s spouse, if any). These pension plans
     are thus, as the wording suggests, composed solely of the owner (and possibly his/her spouse). The pension plan is otherwise
     subject to the same rules and requirements as other 401(k) plans, except ERISA.

     “One-participant plans are not required to file financial information (Form 5500) with the U.S. authorities when they have
     assets of $250,000 or less at the end of the fiscal year.




Case No. XX-XXXXXXX                                       Page 156/239
  Case 1:18-md-02865-LAK                      Document 836-47                 Filed 06/27/22            Page 76 of 462




     If one-participant plans have assets in excess of $250,000, they are required to file financial statements (Form 5500) with
     the U.S. authorities. This obligation is normally fulfilled by filing a Form 5500-EZ, but may in some cases be fulfilled instead
     by using a Form 5500-SF.

     Of the 277 pension plans in the case, the vast majority have not filed Form 5500. It must be assumed that the other pension
     plans have not had assets of more than
     $250,000 at the end of their plan year.

     401(k) plans offer a number of tax advantages in the United States. Thus, the employer is entitled to deduct contributions
     to the pension plan, the employee is tax-exempt for contributions to the pension plan, and the pension plan’s funds/income
     are exempt from income taxation. In addition, in double tax treaties with the US, 401(k) plans are granted some tax
     advantages, including the right to a reimbursement of dividend tax on foreign stocks. When these benefits are claimed in
     other countries, the pension plan must prove that it is domiciled in the United States.

     1.4           Brokers
     Generally, a broker is a middleman between investors who want to buy and sell securities. The broker is typically paid a fee
     for his role.

     The broker arranges for the matching of the buyer and seller and thus the conclusion of the purchase agreement (executing
     broker) and/or for the completion of the transaction (clearing broker), i.e., the exchange of the parties’ services.

     The pension plans represented by the TVC Law Firm have allegedly used their custodian for the clearing (execution) of the
     trades (...). They have thus used only executing brokers.

     This means that the broker has been responsible for finding a buyer/seller. After matching, the broker has issued a broker
     confirmation (...) setting out the terms of the trade.

     However, these trade notes are flawed to an extent that they have no probative value in themselves in the relationship of
     two parties having found each other in a stock trade (Summary Statement, § 5.4). The use of executing brokers is therefore
     at most a part of Sanjay Shah’s cover-up of the fraud.

     In addition, executing brokers do not execute the trades (clearing) and therefore have no knowledge of whether the parties
     actually exchange services – and whether the parties actually held the stocks that are allegedly bought/sold.

     REIMBURSEMENT APPLICATIONS

     2.1           Period 2012–2015

     From 2012 to 2015, the pension plans have requested the Danish Tax Agency to reimbursement withheld dividend tax,
     referring to double taxation agreements between Denmark and the country in which each pension plan was resident.

     The reimbursement requests were submitted by a number of international agent companies via the form system. The agents
     acted on behalf of the pension plans.

     The requests were accompanied by the following:

     1.    Form 6.003 ENG – Claim to Relief from Danish Dividend Tax (§ 2.1.1, below),




Case No. XX-XXXXXXX                                      Page 156/239
  Case 1:18-md-02865-LAK                      Document 836-47                  Filed 06/27/22            Page 77 of 462




             2.    Certificate issued by a custodian in the form of, for example, a “Credit Advice” for the ownership of the stocks
                   in question and the receipt of dividends on the stocks (§ 2.1.2, below).
             3.    IRS Form 6166 (for the 277 U.S. pension plans) (§ 2.1.3, below); and
             4.    Power of Attorney from the Pension Plan (§ 2.1.4, below),

     On the basis of the pension plans’ requests, the Danish Tax Agency paid the amounts requested into the agents’ accounts,
     provided that the appropriate documents were attached. The Danish Tax Agency did not actually process the payments.

     In the cases where the Danish Tax Agency has decided in 2018 to revoke the previous decisions to reimbursement withheld
     dividend tax, it is the Danish Tax Agency’s opinion that the submitted documents are invalid and that the reimbursement
     has been wrongly unpaid.

     2.1.1         Forms

     The claim forms shall specify, inter alia, the amount of the reimbursement sought by the agent – on behalf of the pension
     plan – and the amount to be paid to the agent’s bank account. Furthermore, the agent declares that the pension plan is the
     beneficial owner of the stocks in question.

     Requests submitted in the specific driver cases are discussed below in § 6.

     2.1.2         Credit Advice

     As the only “evidence” of the pension plans’ claim for reimbursement of withheld dividend tax, the requests were
     accompanied by Credit Advices issued by various custodians. These Credit Advices have been issued and submitted as
     “evidence” that the pension plans have owned stocks in Danish C20 companies, that the pension plans have received
     dividends from these companies and that dividends received have been subject to withholding tax.

     All Credit Advices issued by the Solo Group are provided with an ID number.

     These Credit Advices show – apparently – which Danish stocks the pension plans owned, which dividends had been
     distributed to the pension plans, and which dividend taxes had been withheld in connection with the distributions.

     However, in the cases where the Danish Tax Agency has decided in 2018 to revoke the previous decisions to reimbursement
     withheld dividend tax, it is the Danish Tax Agency’s view that the Credit Advices submitted are without substance.

     2.1.3         Form 6166

     Form 6166 (Certification of U.S. Tax Residency) is a certificate issued by the United States Treasury Department as evidence
     that an individual or business is domiciled in the United States for U.S. tax purposes. The certificate is issued by the Treasury
     Department on the basis of the financial plan’s filing of Form 8802 (Application for United States Residency Certification).

     The information on Form 8802 is furnished under responsibility and is not verified by the Treasury Department in issuing
     Form 6166. All of the 277 U.S. 401(k) retirement plans at issue in this case have attached Form 6166 to their applications.




Case No. XX-XXXXXXX                                       Page 156/239
  Case 1:18-md-02865-LAK                     Document 836-47                 Filed 06/27/22            Page 78 of 462




     The Form 6166 certificate certifies that a legal entity is domiciled in the United States for U.S. tax purposes. It should be
     noted that the certificate does not document whether the other conditions for receiving a reimbursement of withholding
     tax on foreign stocks are met under a double tax treaty, including whether the applicant is the beneficial owner of the stocks
     on which the reimbursement is sought.

     To meet the requirements to receive the certificate, the retirement plan must submit a copy of the signed Form 5500 or an
     IRS determination letter or a statement (made under penalty of law) as to why the retirement plan is not required to file
     Form 5500 and why the retirement plan does not have an IRS determination letter.

     2.1.4        Power of Attorney

     The Power of Attorney submitted authorizes the agent to apply on behalf of the pension plan, inter alia, for a reimbursement
     of withheld dividend tax and to receive reimbursement amounts from the Danish Tax Agency.

     2.2          New application process from 2017 onwards

     In early 2017, the Danish Tax Agency launched a new IT solution for reporting dividend tax reimbursement requests. The IT
     solution functions as “TastSelv,” where the reimbursement request is uploaded with the corresponding documentation.

     The Danish Tax Agency website states that it is a condition for dividend reimbursement that Danish dividend tax is withheld
     from the dividend for which reimbursement is sought (“condition 3”) and that the stockholder is the legal owner of the
     stocks at the time of the adoption of the dividend (“condition 4”), (...).

     According to the Danish Tax Agency’s website, evidence of compliance with conditions 3 and 4 may include a dividend note
     or notification from the custodian bank of the dividend received, an account statement, a securities account statement
     showing, among other things, the stockholding at the time the dividend was declared and a purchase receipt, (...).

     3.           TYPES OF AGREEMENT

     3.1          Global Master Securities Lending Agreement (GMSLA)

     A GMSLA is a standard for loan agreements developed by ISLA (The International Securities Lending Association). The
     standard agreement allows securities, such as stocks, to be lent across national borders.

     The GMSLA contains a number of standard terms and conditions, and in addition there is various information that the parties
     must fill in specifically.

     The GMSLA is thus a framework agreement. This means that the GMSLA sets the framework in terms of the stock lending.
     However, the GMSLA has no effect unless the parties actually enter into equity loan agreements, in which case the terms of
     the GMSLA will apply.

     The pension plans have submitted a number of GMSLAs as (...) in the respective cases. The GMSLAs submitted are in many
     cases not signed by (all) parties to the agreement.




Case No. XX-XXXXXXX                                      Page 156/239
  Case 1:18-md-02865-LAK                       Document 836-47                 Filed 06/27/22             Page 79 of 462




     3.2           Forwards

     A forward is a forward contract. It can be a binding agreement for the future delivery of a currency or commodity at a pre-
     agreed date and price. The forward contract thus constitutes a hedge against the time of future delivery, since the parties
     to the contract know in advance at what price the commodity/currency will be traded.

     The pre-shipment agreement need not be tied to physical delivery of the asset, but can also be settled by difference
     settlement. This means that at the end of the forward contract, instead of delivering the currency/asset (e.g., a stock), the
     parties settle the difference between the market price and the price agreed in the forward contract.

     In the case of netting, it is not necessary for the parties to actually hold the asset to which the forward contract is linked, as
     the asset does not have to be delivered, but is only used to establish a payment obligation.

     Example
     A and B enter into a forward on August 1, 2019. The agreement is that on September 1, 2019 A will acquire B’s Novo
     Nordisk stocks, which on August 1st have a market value of DKK 1 million, for DKK 1.01 million.

     On September 1, 2019, the agreement will be settled. For example, the market value of the stock is assumed to have
     increased to DKK 1.2 million.

     The settlement can then either be made by A buying the stockholding from B for DKK 1,01 million. Or the settlement can
     be made by difference settlement:

     The parties had agreed to trade the stock for DKK 1.01 million, but the stock has a value of DKK 1.2 million (the market price,
     also called the spot price). The stock is therefore worth DKK 190,000 more than the price agreed by the parties. B must then
     pay A DKK 190,000, which is the difference between the agreed price and the market price on the expiry date.

     4.            CIVIL LEGAL ACTION

     The tax authorities have taken a number of civil actions in several jurisdictions, including the US, Germany and the UK. The
     aim is to recover financial losses incurred by the State amounting to more than DKK 12.7 billion, which were wrongly paid
     into the accounts designated by the agents. The Tax Agency has thus brought both recovery and compensation claims against
     a number of different actors in the case in order to establish their respective payment obligations.

     In particular, all the pension plans represented by TVC Law Firm have been sued in the United States for payment.

     No final decisions on the merits of the case have yet been taken.

     However, there are a number of cases where foreign courts have ruled on (parts of) the complex of cases and where the
     decisions are not subject to confidentiality:




Case No. XX-XXXXXXX                                       Page 156/239
  Case 1:18-md-02865-LAK                       Document 836-47                 Filed 06/27/22             Page 80 of 462




     4.1.1         Germany: Arrest for approximately DKK 2.2 billion

     In June 2018, civil seizures and arrests were carried out in various jurisdictions, including Germany. In connection with the
     arrests, the Danish Tax Agency described and provided evidence of the alleged fraud in the case.

     To be successful in an application for arrest in Germany, three conditions must be met:

     5. there must be a legal basis for the claim against the owners,
     6. there must be a preponderant probability that the assets in question actually belong to funds disbursed by the Danish
        Tax Agency; and
     7. there must be a risk that the assets will be moved or lose their value to the detriment of the Danish Tax Agency if the
        arrest is not carried out.

     The Tax Agency has carried out arrests in Germany for approximately DKK 2.2 billion.

     4.1.2         USA: Lawsuits worth around €5.4 billion filed – and not dismissed

     In the U.S., the Danish Tax Agency has retained a U.S. law firm to advise on the possibility of pursuing the Danish Tax Agency’s
     recovery and damages claims in the U.S. against the U.S. pension plans involved. A total of 155 lawsuits have been filed in a
     number of U.S. courts, primarily in New York, in the period up to June 15, 2018 against pension plans, management members
     and trustees of these pension plans and, in some cases, third parties related to the pension plans and the applications. In
     total, litigation has been brought for approximately DKK 5.4 billion.

     All pension plans represented by TVC Law Firm have been subpoenaed.

     The first hearing in a series of the lawsuits was held on June 26, 2018 in New York.

     The pension plans filed a motion to dismiss the cases with the Court of the Southern District of New York. The pension plans
     argued, inter alia, that the court did not have jurisdiction because, according to the pension plans, the Danish Tax Agency’s
     claims were governed by the common law doctrine of the revenue rule, which provides that U.S. courts do not have
     jurisdiction over cases directly or indirectly seeking enforcement of foreign tax laws. In other words, the rule means that
     foreign tax authorities cannot bring claims that can be directly or indirectly characterized as tax claims before U.S. courts.

     On January 9, 2019, the Court dismissed the pension plans’ application for a declaration of inadmissibility in its entirety (...).
     It follows, inter alia, from the order of the Court (...) that

                   “If plaintiff can prove that the defendants never in fact owned the relevant Danish stocks – and the
                   Court is obliged to accept their allegations as true for present purposes – the revenue rule would not
                   apply because the substance of the claims would be for garden variety commercial fraud.
                   Accordingly, the motion to dismiss is denied.”

     In this regard, the Court of First Instance emphasizes, among other things, that in its summons the Danish Tax Agency has
     alleged that there is fraud (“commercial fraud”) (...), and that a position on the case does not require an interpretation of
     the concept of “beneficial ownership” in Danish tax law. The tax authorities have thus (without distinguishing between
     beneficial and beneficial ownership) claimed that the pension plans have not owned the stocks and the pension plans have
     not provided any evidence to the contrary (...).




Case No. XX-XXXXXXX                                       Page 156/239
  Case 1:18-md-02865-LAK                      Document 836-47                Filed 06/27/22            Page 81 of 462




     4.1.3        Settlement: repayment of DKK 10 million and DKK 1.6 billion respectively

     The IRS has reached two settlements with a total of 63 U.S. pension plans and related individuals and companies:

     In the fall of 2018, the Danish Tax Agency settled with 2 U.S. pension plans. The two pension plans had previously filed
     complaints with the Danish Tax Appeals Agency and were represented by TVC Law Firm during the complaints. When the
     cases were settled in autumn 2018, the complaints were withdrawn. The settlements implied that the two pension plans
     repaid the reimbursement amounts, see the press release of the Ministry of Taxation of November 1, 2018 (...) and the press
     release of May 29, 2019 (...).

     In May 2019, the Danish Tax Agency reached a new settlement agreement. The new settlement agreement was reached
     with 61 American pension plans and a number of related persons and companies. The 61 pension plans had received
     approximately DKK 2.9 billion in the period 2012–2015. Of this, the pension plans themselves had received approximately
     DKK 1.6 billion. The settlement was that the pension plans and their associated persons and companies would repay
     approximately DKK 1.6 billion. The Tax Agency is still pursuing the remainder with other responsible parties (...).

     So far, 63 U.S. pension plans have settled the case, covering more than a fifth of the total suspected fraud.

     5.             DANISH TAX AGENCY DATA ANALYSIS

     The Danish Tax Agency has reviewed the reimbursement requests submitted and compared these with the Danish C20
     companies’ distributions, stock capital, etc. On this basis, the Danish Tax Agency has carried out an overall analysis of
     whether the reimbursement requests may be correct overall.

     The analysis resulted in two partial conclusions, which are discussed in more detail below:

                  too much was reimbursed in relation to what was withheld
                  In some cases, more than the amount of dividend tax withheld has been reimbursed. This suggests that (part
                  of) the reimbursement requests are fraudulent, as the reimbursement cannot exceed the amount withheld.

                  Reimbursement claims based on unlikely large investments in and ownership of Danish companies

                  It is quite unlikely that very significant stocks of Danish C20 companies would be owned by unknown pension
                  plans etc., which often have only one owner and which have at most a very modest capital base.

     The partial conclusions of the analysis show that there has been significant fraud.

     5.1.1        Basis for the Danish Tax Agency’s analysis

     The Danish Tax Agency has analyzed a number of distributions from selected Danish companies where the pension plans
     etc. have subsequently applied for a reimbursement of alleged withheld dividend tax. The Danish Tax Agency’s analysis has
     concentrated on the distributions where the largest proceeds have accrued to the pension plans, etc., and where SØIK has
     obtained material from VP Securities. The analysis has thus covered approximately DKK 12.4 billion out of the total fraud of
     DKK 12.7 billion.




Case No. XX-XXXXXXX                                      Page 156/239
  Case 1:18-md-02865-LAK                      Document 836-47                Filed 06/27/22            Page 82 of 462




     5.1.1.1      The legal basis

     When companies distribute dividends, they are generally required to withhold 27% dividend tax on all dividends. However,
     withholding may be applied at, for example, 0% or 15% instead, depending on the circumstances and information about the
     recipient of the dividend, cf. §§ 65-67 A of the Withholding Tax Act.

     Withholding at rates other than 27 % indicates that the taxpayer is covered by an exemption provision, see for example §
     65(11) of the Withholding Tax Act and § 31(1)(2) of the Withholding Tax Order. In such cases, no (legitimate) claim for
     reimbursement of dividend tax can be made under double taxation conventions, as the recipient of the dividend does not
     meet the requirements of the exemption provisions if he is a foreigner under tax law. It is therefore only when 27% dividend
     tax is withheld that a reimbursement can be claimed.

     In addition, the requests must be supported by a double taxation agreement. It is therefore a requirement that the applicant
     is not resident in Denmark, in which case the person would not be covered by a double taxation agreement.

     A reimbursement of dividend tax can thus only (legitimately) be claimed if the withholding tax has been withheld at the rate
     of 27% from a (tax) foreigner.

     5.1.1.2      The facts

     For Danish listed companies, VP Securities registers the taxation to be paid to each of the registered owners when dividends
     are distributed. VP Securities also handles the actual distribution. VP Securities then informs the company of the
     distributions, inter alia so that the company can fulfil its obligation to provide information to the Danish Tax Agency.

     Indeed, companies are obliged to declare to the Danish Tax Agency what has been distributed in total and what has been
     withheld in dividend tax at each of the given percentages (inter alia 15% and 27%). On this basis, the Danish Tax Agency is
     aware of (...):

                  Amount distributed
                  Withholding tax – both total and broken down by respective percentage

     The Danish Tax Agency also has information on all reimbursement requests, as these have been sent to the Danish Tax
     Agency (...). The information has been recorded in the IT system 3S for applications under the blanket scheme.

     When the Danish Tax Agency became aware that reimbursement requests for dividend tax might have been fraudulent, the
     Danish Tax Agency manually made a calculation of the total amount of reimbursement requested for each distribution. In
     addition, the Danish Tax Agency manually calculated how much the pension plans, etc. had claimed per distribution. The
     Danish Tax Agency thus currently has knowledge of the total:

                  Total reimbursement requests for each distribution (...) Reimbursement requests from pension plans, etc. for
                  each distribution (...)

     In addition, the Danish Tax Agency has received additional information from VP Securities, which SØIK has obtained. This
     information has been extracted directly from VP Securities’ records relating to a number of specific distributions. This
     includes the total number of stocks (in each stock class) outstanding at the time of the distribution and the name and address
     of each registered owner at the time of the distribution.




Case No. XX-XXXXXXX                                      Page 156/239
  Case 1:18-md-02865-LAK                       Document 836-47               Filed 06/27/22             Page 83 of 462




     The ownership information recorded in VP Securities is not complete. A significant proportion of the stocks of listed
     companies are recorded as being owned by, for example, banks that have a single securities account for their customers
     (called an omnibus securities account). Here the bank is registered as the owner with VP Securities, even though it is a client
     who actually owns the stockholding. Omnibus securities accounts are registered with the nationality/address of the
     securities account holder (typically the bank) – without knowledge of the nationality of the underlying owner. In addition,
     addresses registered in VP Securities may not have been updated when the stockholder moved.

     The Danish Tax Agency has used the address information from VP Securities to determine whether the owner (for tax
     purposes) is a foreigner (...). Given that a very significant proportion of Danish C20 stocks are held in omnibus deposits, the
     proportion of foreign stockholders may be different from what appears from VP Securities’ records. Nevertheless, the
     statement gives an indication of the proportion of stocks held by residents of countries other than Denmark.

     On the basis of the companies’ reports and the data obtained from VP Securities, the Danish Tax Agency has obtained
     knowledge of (...):

                  Total number of stocks outstanding at dividend date
                  Percentage of stocks registered as owned by foreigners on the date of dividend

     Finally, the Danish Tax Agency has collected a number of publicly available information on, among other things, stock prices
     and dividends per stock.

     5.1.2        The result of the analysis

     5.1.2.1      Excessive reimbursement in relation to what is withheld.

     The Danish Tax Agency has compared the reimbursement requests with the withheld dividend tax for the distributions in
     the period 2012–2015 from Danish C20 companies where there has been the most extensive fraud with reimbursement
     requests (...). Thus, not all distributions have been included in the analysis, but rather a number of selected distributions.

     The analysis has shown that across the distributions analyzed, 76.9% of the amount withheld has been paid out as a dividend
     reimbursement.

     Looking at the individual distributions separately, it appears that in 11 cases more was reimbursed than was withheld (...)
     and that fraud accounted for a very large proportion of the reimbursement requests. In three cases, the pension plans etc.
     alone were reimbursed more than the amount withheld.

     When more is reimbursed than is withheld, it goes without saying that some of the reimbursement requests have been
     unjustified. There can be no claim to “reimburse” something that has never been withheld.



     The Danish Tax Agency then carried out an even more in-depth analysis (...). As discussed, dividend reimbursements are only
     available if dividend tax is withheld at the rate of 27% and the dividend recipient is a foreigner (for tax purposes).

     The analysis shows that 91.7 % of the dividend withheld at the rate of 27% has been reimbursed. When taking into account
     that not all stocks with a dividend tax rate of 27% are owned by foreigners,




Case No. XX-XXXXXXX                                      Page 156/239
      Case 1:18-md-02865-LAK                        Document 836-47                Filed 06/27/22             Page 84 of 462



         that far from all foreigners are eligible for reimbursement at all and that many foreigners will be eligible for partial
         reimbursement at most, it is clear that (part of) the reimbursement requests have been unjustified.

         This is particularly true for the individual distributions. In 14 cases, more than the dividend withholding tax contained in the
         records of VP Securities at the rate of 27 % was reimbursed (...). This is not (legally) possible.

         Furthermore, in 23 cases, more than the dividend tax withheld from foreigners at the rate of 27% according to VP Securities’
         records was reimbursed (...).

5.1.2.2 Reimbursement requests reflect unlikely investments and ownership

         The Danish Tax Agency has also compared the information on the number of stocks at the time of the dividend with the
         official stock prices on that date (...). In this way it has been possible to calculate the total investment for the pension plans
         etc. in each C20 company at the time of the distribution.

         As can be seen, the total investment for the pension plans etc. has been around DKK 910 billion during March 2015.

         However, given the different distribution dates of the different companies, the investments have not necessarily been
         simultaneous, even if they are within the same month. For example, just on March 19, 2015, investments amounted to DKK
         445 billion in Novo Nordisk (B) and DKK 13.2 billion in GN Store Nord, for a total of DKK 458.2 billion.

         Finally, the Danish Tax Agency compared the number of stocks requested with the total stock capital of the companies (...).
         From this, it was calculated what proportion of the companies’ total stock capital should have been held by the pension
         plans, etc. This has been compared with the proportion of company stocks available for such investment.

         As can be seen, the pension plans etc. would have owned, inter alia, 51.4% of the A.P. Møller stocks in 2014, 59.5% of the
         Novo Nordisk B stocks in 2014 and 66.9% of the FL Smidth & Co. stocks in 2015.

         Overall, it is quite unlikely that stockholders/players unknown on the Danish market would have made such large
         investments and hold such significant stocks. The figures thus support the view that a large proportion of reimbursement
         requests must be unjustified.

         In particular, in relation to the A.P. Møller stocks, it is noted that four known major Danish stockholders together owned
         52.82% of the stock capital in 2014 (...), making it impossible for the pension plans etc. to own 51.4%.

         (...)”

         The appellant’s summary statement
         The appellant’s summary and closing submissions are as follows:

                  “As you know, the Danish Tax Appeals Agency has recommended, in a proposal for a decision dated July 3, 2019 in
                  the six leading cases, that the Danish Tax Agency’s decisions of April 6, 2018 and May 4, 2018 be upheld.




   Case No. XX-XXXXXXX                                        Page 156/239
  Case 1:18-md-02865-LAK                      Document 836-47                Filed 06/27/22            Page 85 of 462




     Since the purpose of the leading cases is to form the basis for the other cases represented by TVC and SMK, it must be
     assumed that the Danish Tax Appeals Agency will argue in the same way in this case.

     On the other hand, the pension plan maintains in general terms that the Danish Tax Agency is not entitled to annul the
     original decisions on the payment of dividend reimbursements.

     Thus, the Pension Plan maintains generally that the Pension Plan was entitled to receive the dividend distributions at issue
     in the cases, including that the Pension Plan owned the stock and dividend amounts at issue in the cases.

     The Danish Tax Appeals Agency’s proposed decision of July 3, 2019 in the six leading cases and the Danish Tax Agency’s
     summary of August 9, 2019 give the Pension Plan cause to submit the present summary.

     It is a feature of the present case that the pension plan has provided a very extensive supporting documentary evidence of
     the disputed transactions and the pension plans’ ownership of the disputed stocks and dividends.

     It is also a feature of the case that the Danish Tax Agency bases its views on assumptions made several years after the
     Danish Tax Agency decision on the disputed dividend tax reimbursements, and that the doubts which the Danish Tax
     Agency has sought to raise are to a large extent attributable to the Danish Tax Agency’s own inadequate information on
     the case.

                                                                 ... ...

     The pension plan maintains, as stated, that it was both the civil and tax owner of the stocks at issue and that the pension
     plan was entitled to receive the dividends at issue, with the effect that the pension plan was entitled to receive a
     reimbursement of the withheld dividend tax.

     It is therefore maintained that there are now no grounds for revoking or annulling the Danish Tax Agency’s original
     decision on the reimbursement of withheld dividend tax.

     In this summary, we will provide our comments on the Danish Tax Appeals Agency’s proposed decision of July 3, 2019 in
     the lead cases. In addition, we will discuss the views expressed by the Danish Tax Agency in its summary submission of
     August 9, 2019 in the lead cases.

     For the sake of clarity, we have also chosen to incorporate the above in subsequent posts, so that the present post serves
     as a summary post.

     In the first part of this paper, we describe in detail the investment strategy followed by the pension plan and the related
     dispositions.

     In doing so, we will explain why the pension plan both civilly and fiscally owned the disputed stocks and dividends.




Case No. XX-XXXXXXX                                      Page 156/239
    Case 1:18-md-02865-LAK                                Document 836-47                        Filed 06/27/22                   Page 86 of 462




       In the second part of this submission, we will comment on the Danish Tax Agency’s views in the case, in particular the
       Danish Tax Agency’s views in relation to the documentation and content of the disputed transactions.

       In addition, we will comment on the documentation requirements set by the Danish Tax Appeals Agency, as well as the
       Danish Tax Agency’s own lack of information.

       In the third part of this submission, we will present our comments on the Danish Tax Appeals Agency’s proposed decision of
       July 3, 2019 in the lead cases, including the points made by the Danish Tax Appeals Agency in relation to the documentation
       of the transactions in question and their substance.

1.INTRODUCTION------------------------------------------------------------------------------------------------------------------------------------------------8
PART 1: THE PENSION PLAN WAS THE BENEFICIAL OWNER OF STOCKS AND DIVIDENDS FOR TAX PURPOSES
2 DESCRIPTION OF FINANCIAL OPERATIONS AND RELEVANT EXTERNAL ACTORS -------------------------------------------------------------9
2.1       About the pension plan that acquired Danish stocks --------------------------------------------------------------------------------------9
2.1.1     Dispositions on behalf of the pension plan ------------------------------------------------------------------------------------------------- 11
2.2       Financial instruments used --------------------------------------------------------------------------------------------------------------------- 12
2.2.1     Stock purchase/sale ------------------------------------------------------------------------------------------------------------------------------ 13
2.2.2     Forwards -------------------------------------------------------------------------------------------------------------------------------------------- 14
2.2.3     Stock lending --------------------------------------------------------------------------------------------------------------------------------------- 14
2.3       The external actors involved ------------------------------------------------------------------------------------------------------------------- 16
2.3.1     Brokers ---------------------------------------------------------------------------------------------------------------------------------------------- 16
2.3.2     Stock Loan Intermediaries --------------------------------------------------------------------------------------------------------------------- 18
2.3.3     Forward counterparties and intermediaries ----------------------------------------------------------------------------------------------- 19
2.3.4     Custodians and clearing agents --------------------------------------------------------------------------------------------------------------- 20
2.3.5     Tax agents ------------------------------------------------------------------------------------------------------------------------------------------ 23
2.3.6     Introducing brokers ------------------------------------------------------------------------------------------------------------------------------ 24
2.3.7     Arrangers ------------------------------------------------------------------------------------------------------------------------------------------- 24
2.3.8     Summary remarks on the external actors involved -------------------------------------------------------------------------------------- 24
2.4       Pension Plan Business Model and Operations --------------------------------------------------------------------------------------------- 25
2.4.1     Introduction to dividend arbitrage ----------------------------------------------------------------------------------------------------------- 25
2.4.2     Transactions --------------------------------------------------------------------------------------------------------------------------------------- 27
2.4.2.1 Onboarding ---------------------------------------------------------------------------------------------------------------------------------------- 27
2.4.2.2 Purchase of stocks and sale of forwards ---------------------------------------------------------------------------------------------------- 27
2.4.2.2.1 Procedure for buying and selling forward ------------------------------------------------------------------------------------------------- 27
2.4.2.2.2 Business justification of the pension plan and the stock seller for stock purchase/sale ---------------------------------------- 29
2.4.2.2.3 Business rationale of the pension plan and the forward purchaser for sale/purchase of forward --------------------------- 31
2.4.2.3 Stock lending and financing of stock purchases ------------------------------------------------------------------------------------------ 32
2.4.2.3.1 Stock lending procedure ------------------------------------------------------------------------------------------------------------------------ 32
2.4.2.3.2 Business justification of the pension plan and the stock borrower for stock lending -------------------------------------------- 33
2.4.2.3.3 Other comments on the financing of stock purchases ---------------------------------------------------------------------------------- 34
2.4.2.4 Settlement of transactions -------------------------------------------------------------------------------------------------------------------- 35
2.4.2.6 Positions are closed ------------------------------------------------------------------------------------------------------------------------------ 38
2.4.2.7 Profit realized -------------------------------------------------------------------------------------------------------------------------------------- 38
2.4.2.8 Summary comments on the business model and transactions ------------------------------------------------------------------------ 39




Case No. XX-XXXXXXX                                                     Page 156/239
    Case 1:18-md-02865-LAK                               Document 836-47                       Filed 06/27/22                 Page 87 of 462



2.4.2.9    Examples of dividend arbitrage transactions ---------------------------------------------------------------------------------------------- 43
        3. THE PENSION PLAN BECAME THE CIVIL AND TAX LAWFUL
           OWNER OF THE STOCKS ----------------------------------------------------------------------------------------------------------------------- 46
3.1        The pension plan became the civil law owner of the stocks --------------------------------------------------------------------------- 46
3.2        Trading in large stocks – short selling -------------------------------------------------------------------------------------------------------- 48
3.2.1      Introduction to short selling ------------------------------------------------------------------------------------------------------------------- 49
3.2.2      Short selling creates more stocks until the trades are settled ------------------------------------------------------------------------- 52
3.2.2.1 The Tax Agency’s views on the “short buyer” --------------------------------------------------------------------------------------------- 55
3.2.2.2 Impact of multiple stocks due to short selling (until settlement) --------------------------------------------------------------------- 57
3.2.2.1 Missing withholding tax on compensation payments ----------------------------------------------------------------------------------- 58
3.2.2.3 Fiscal beneficial ownership in stock lending – dual ownership in addition to settlement -------------------------------------- 60
3.2.2.3.1 Case law on beneficial ownership for tax purposes stock lending -------------------------------------------------------------------- 61
3.2.2.3.2 Danish Tax Agency on tax ownership of stock lending ---------------------------------------------------------------------------------- 63
3.2.2.3.3 Ministry of Taxation on the beneficial ownership for tax purposes of stock lending -------------------------------------------- 64
3.2.2.3.1 Stock lending without resale to third parties ---------------------------------------------------------------------------------------------- 64
3.2.2.3.2 Stock lending with resale to third parties --------------------------------------------------------------------------------------------------- 65
3.2.2.3.3 Comments on the view of the Ministry of Taxation -------------------------------------------------------------------------------------- 65
3.2.2.3.4 The literature on beneficial ownership for tax purposes by stock lending --------------------------------------------------------- 66
3.2.2.4 Conclusion: short selling has an impact on the tax beneficial ownership of the pension plan -------------------------------- 71
        4. LEGAL ASPECTS OF DIVIDEND TAX ----------------------------------------------------------------------------------------------------------- 72
4.1        Dividend tax is withheld according to the rules of the withholding tax law -------------------------------------------------------- 73
4.2        Rules of the Withholding Tax Order on exemption from withholding tax ---------------------------------------------------------- 73
4.3        Limited tax liability of dividends -------------------------------------------------------------------------------------------------------------- 74
4.4        Determining the correct percentage --------------------------------------------------------------------------------------------------------- 74
4.5        Compensation payments ----------------------------------------------------------------------------------------------------------------------- 74
        5. PROOF OF LEGAL OWNERSHIP FOR TAX PURPOSES ------------------------------------------------------------------------------------ 75
5.1        The evidence available in practice for a tax law ownership ---------------------------------------------------------------------------- 76
5.1.1      Broker confirmations ---------------------------------------------------------------------------------------------------------------------------- 76
5.1.2      Custody statements and DCA ------------------------------------------------------------------------------------------------------------------ 78
5.2        Evidence of beneficial ownership of the pension plan for tax purposes ------------------------------------------------------------ 79
           CONCLUSION OF THE FIRST PART ------------------------------------------------------------------------------------------------------------ 82
           PART 2: THE TAX ADMINISTRATION’S VIEWS ARE BASED ON AN UNDOCUMENTED
           AND WRONG BASIS – NO BASIS FOR REVOCATION ------------------------------------------------------------------------------------- 82
        6. THE TAX AUTHORITIES’ FAILURE TO PROVIDE INFORMATION ----------------------------------------------------------------------- 82
        7. PRESENTED AND MISSING DOCUMENTATION ------------------------------------------------------------------------------------------- 84
7.1        Tax Agency’s unsubstantiated claim of false documentation -------------------------------------------------------------------------- 84
7.1.1      Errors in documentation from brokers ------------------------------------------------------------------------------------------------------ 85
7.1.1.1 Different trade dates on broker confirmations and custody statements ----------------------------------------------------------- 85
7.1.1.2 Commercial notes confuse buying and selling --------------------------------------------------------------------------------------------- 87
7.1.1.3 Commercial note indicates price as “#####”----------------------------------------------------------------------------------------------- 87
7.1.1.4 Commercial invoices do not take public holidays into account ----------------------------------------------------------------------- 88




Case No. XX-XXXXXXX                                                   Page 156/239
    Case 1:18-md-02865-LAK                               Document 836-47                        Filed 06/27/22                  Page 88 of 462




7.1.1.5 Errors in other commercial notes ----------------------------------------------------------------------------------------------------------- 89
7.1.3     Compliance with the GMSLA ----------------------------------------------------------------------------------------------------------------- 91
7.1.4     Stock lending rate------------------------------------------------------------------------------------------------------------------------------- 92
7.2       Lack of documentation ------------------------------------------------------------------------------------------------------------------------ 92
7.2.1     The contract of sale of the stocks ---------------------------------------------------------------------------------------------------------- 93
7.2.2     Cash flow and bank statements ------------------------------------------------------------------------------------------------------------- 93
7.2.2.1 Money flow -------------------------------------------------------------------------------------------------------------------------------------- 93
7.2.2.2 Flow of stocks ------------------------------------------------------------------------------------------------------------------------------------ 94
7.2.3     TTC clauses -------------------------------------------------------------------------------------------------------------------------------------- 94
7.2.4     Single account opening documents and transaction documents ------------------------------------------------------------------ 95
7.2.5     Documentation in 2014 and 2015 --------------------------------------------------------------------------------------------------------- 95
7.3       Responsibility for lack of documentation ------------------------------------------------------------------------------------------------- 96
8.        OVERPAYMENT OF DIVIDEND TAX -------------------------------------------------------------------------------------------------------- 97
8.1       Sum of all reimbursements ------------------------------------------------------------------------------------------------------------------- 97
8.2       Total reimbursements per distributing company -------------------------------------------------------------------------------------- 99
8.3       Error functions in dividend tax administration ----------------------------------------------------------------------------------------100
9.        PENSION PLAN FINANCIAL TRANSACTIONS -------------------------------------------------------------------------------------------102
9.1       Financing of stock purchases ---------------------------------------------------------------------------------------------------------------102
9.2       The possibility of carrying out the financial operations in question --------------------------------------------------------------104
9.3       Registrations in VP Securities are of no significance ----------------------------------------------------------------------------------108
9.3.1     Benefit of a registration with VP Securities ---------------------------------------------------------------------------------------------108
9.3.2     Documentation that the Solo Group has held stocks --------------------------------------------------------------------------------109
9.3.3     Letters from SØIK and VP Securities ------------------------------------------------------------------------------------------------------110
9.4       The pension plan received dividends -----------------------------------------------------------------------------------------------------112
9.5       Withholding tax was withheld in the pension plan dividend payment -----------------------------------------------------------113
9.6       The pension plan received the reimbursement ----------------------------------------------------------------------------------------115
9.7       Security under custody agreement --------------------------------------------------------------------------------------------------------116
9.8       “Fictitious transactions” ----------------------------------------------------------------------------------------------------------------------117
9.8.1     Definition of “fictitious transaction” ------------------------------------------------------------------------------------------------------118
9.8.1.1 Fictitious trade----------------------------------------------------------------------------------------------------------------------------------118
9.8.1.1 Purchase of short sellers ---------------------------------------------------------------------------------------------------------------------118
9.8.1.1.2 Delivery of stocks bought by short sellers ----------------------------------------------------------------------------------------------119
9.8.1.1.3 Adoption of dividends (market claim) ---------------------------------------------------------------------------------------------------119
9.8.1.2 Fictitious agreements ------------------------------------------------------------------------------------------------------------------------119
9.8.2     Trading organized by Solo -------------------------------------------------------------------------------------------------------------------120
9.8.3     Fictitious stocks – short selling ------------------------------------------------------------------------------------------------------------122
9.9       The Tax Agency’s erroneous assumptions about the process ----------------------------------------------------------------------123
9.10      Stock purchases were completed ---------------------------------------------------------------------------------------------------------124
9.11      Longer settlement period than VP Securities ------------------------------------------------------------------------------------------126
9.12      Not just a desk-top exercise -----------------------------------------------------------------------------------------------------------------128
9.12.1 All pension plans buy on the same day and at the same price ---------------------------------------------------------------------128
9.12. 2 The size of stockholdings --------------------------------------------------------------------------------------------------------------------130
9.12.3 Nearly equal equity portfolios --------------------------------------------------------------------------------------------------------------131
9.12.4 All pension plans have dealt with the same parties -----------------------------------------------------------------------------------132
9.12.5 Same time of sale -----------------------------------------------------------------------------------------------------------------------------132
9.12.6 Sanjay Shah controlled the custodians of the pension plans (Solo Group) -----------------------------------------------------133
9.12.7 Shah’s “Universe” -----------------------------------------------------------------------------------------------------------------------------134
9.12.8 Consecutive numbering of Credit Advices across the Solo Group, which was also used in 2017 --------------------------135




Case No. XX-XXXXXXX                                                    Page 156/239
    Case 1:18-md-02865-LAK                                Document 836-47                        Filed 06/27/22                  Page 89 of 462



9.12.9    Pension plans are not centrally managed------------------------------------------------------------------------------------------------136
9.12.10   Non-submitted claims for reimbursement ----------------------------------------------------------------------------------------------137
9.13      One dividend tax can lead to two reimbursements -----------------------------------------------------------------------------------138
9.15      It’s impossible to cheat on stock trades --------------------------------------------------------------------------------------------------141
9.16      Pension plans do not change explanation -----------------------------------------------------------------------------------------------142
9.16.1    Broker confirmations and custody statements -----------------------------------------------------------------------------------------142
9.16.2    Security -------------------------------------------------------------------------------------------------------------------------------------------143
9.16.3    Pension scheme accounts -------------------------------------------------------------------------------------------------------------------144
9.16.4     Documentation for receipt of dividends ------------------------------------------------------------------------------------------------144
9.17      Pinsent Masons --------------------------------------------------------------------------------------------------------------------------------145
10.       BURDEN OF PROOF AND FORMALITY--------------------------------------------------------------------------------------------------- 146
          CONCLUSION OF THE SECOND PART -----------------------------------------------------------------------------------------------------149
          PART 3: THE TAX ADMINISTRATION’S POSITION IN THE LEAD CASES – THE
          COMPLETED TRADES HAD REALITY ------------------------------------------------------------------------------------------------------150
11.       RECOGNITION OF THE IMPLEMENTATION OF THE STOCK DEALERS -------------------------------------------------------------150
12.       THE TAX AUTHORITIES’ DISREGARD OF TAX OWNERSHIP IN THE DRIVERS’ CASES -----------------------------------------151
12.1      Knowledge of the Transaction Documents ----------------------------------------------------------------------------------------------151
12.2      Documentation ---------------------------------------------------------------------------------------------------------------------------------151
12.2.1 Documentation for the ownership of the stocks ---------------------------------------------------------------------------------------152
12.2.2 Documentation of receipt of proceeds -------------------------------------------------------------------------------------------------- .153
12.2.3 Documentation for receipt of dividend reimbursement -----------------------------------------------------------------------------155
12.3      No basis to contest the merits --------------------------------------------------------------------------------------------------------------155
12.3.1 Civil law governs the assessment of tax ownership -----------------------------------------------------------------------------------156
12.3.2 General on the principle of reality ---------------------------------------------------------------------------------------------------------156
12.3.3 The principle of reasonableness in case law --------------------------------------------------------------------------------------------160
12.3.4 The principle of reality in the legal literature -------------------------------------------------------------------------------------------180
12.3.5 The principle of reasonability applied to pension plan cases -----------------------------------------------------------------------182
12.3.5.1 Documentation of the link to the pension plan’s finances --------------------------------------------------------------------------183
12.3.5.2 The reality principle – agreements with independent parties on market conditions -----------------------------------------184
12.3.5.3 The principle of reality – acting effectively implemented on
12.3.5.4 Pension plans, including right of disposal -----------------------------------------------------------------------------------------------184
12.3.5.4.1 Transfers from custodian -------------------------------------------------------------------------------------------------------------------184
12.3.5.4.2 Custodians’ actions on behalf of pension plans ---------------------------------------------------------------------------------------188
12.4      Otherwise, no basis for disregarding the tax ownership of the pension plan---------------------------------------------------188
12.4.1 Other documentation-------------------------------------------------------------------------------------------------------------------------189
          Final conclusion --------------------------------------------------------------------------------------------------------------------------------190
          Text mark not defined
          Appendix ----------------------------------------------------------------------------------------------------------------------------------------191
          Further development of the case ---------------------------------------------------------------------------------------------------------194

       1      INTRODUCTION

       In this case, there is little agreement between the Danish Tax Agency and the appellant – with one exception: the subject
       matter of the case.

       As the Danish Tax Agency rightly points out in the summary of the
       August 9, 2019 in the lead cases, § 2, page 5, all these cases concern the question of whether the pension plans were
       eligible for a reimbursement of withheld dividend tax.




Case No. XX-XXXXXXX                                                     Page 156/239
  Case 1:18-md-02865-LAK                      Document 836-47                Filed 06/27/22            Page 90 of 462




     The cases are thus not, at their core, about formalities (revocation or cancellation) or about stock trading and the actors
     involved in a stock trade.

     Contrary to the Danish Tax Agency’s claim, the cases do not concern the financing of stock transactions or errors in
     documentation.

     The cases in fact concern the question of how to become the legal owner of a Danish dematerialized stock, whether the
     pension plans have really received a dividend, short slinging, which results in more Danish stocks being in circulation than
     issued by the Danish companies, and shortcomings in Danish tax legislation, which results in underpayment of dividend
     tax.

     All these questions are triggered by the investment strategy of dividend arbitrage, which found its way to the Danish
     market in earnest in 2012.

     PART 1: THE PENSION PLAN WAS THE BENEFICIAL OWNER OF STOCKS AND DIVIDENDS FOR TAX PURPOSES

     It is maintained that the pension plan was the civil and tax owner of the stocks at issue and the civil and tax owner of the
     dividends at issue.

     The stocks were acquired through the implementation of dividend arbitrage.

     2    DESCRIPTION OF FINANCIAL TRANSACTIONS AND RELEVANT EXTERNAL ACTORS

     It should be pointed out at the outset that the transactions underlying the disputed dividend reimbursements are very
     complex.

     The underlying transactions are so complex that, in our view, there is a real risk that the present complex of cases will be
     decided on the wrong basis as a result of misunderstandings about the actors involved, the transactions and the investment
     strategy itself, i.e., dividend arbitrage.

     Therefore, in the following we will explain in detail the financial instruments used, the actors involved, the underlying
     transactions and the investment strategy applied.

     Thus, below – in § 2.1 – the pension plan involved that owned the traded stocks and dividends is explained.

     In this context, the trader who carried out the stock transactions in question on behalf of the pension plan is described.

     As indicated, the stock transactions in question were used as part of the implementation of the investment strategy
     commonly known as dividend arbitrage.

     § 2.2 explains the financial instruments used in the implementation of the dividend contribution.

     The implementation of this investment strategy has required the involvement and assistance of a large number of actors. In
     § 2.3 we have described each group of actors involved, including their role and the business rationale for their involvement
     in the transactions.




Case No. XX-XXXXXXX                                      Page 156/239
  Case 1:18-md-02865-LAK                      Document 836-47                Filed 06/27/22            Page 91 of 462




    In § 2.4, we have also explained the investment strategy in question and, in this context, we have detailed the individual
    steps in the implementation of the investment strategy.

    2.1 About the pension plan that acquired Danish stocks

    In the present case, the stock transactions in question were all carried out by a U.S. “single-employer” pension plan, a so-
    called Solo 401K pension plan.

    As stated, the pension plan owned the stocks and exchange mergers in question.

    The pension plan has the character of a tax-advantaged plan in the United States, in that the pension plan income is not
    taxed until it is distributed to the beneficiary(ies). The purpose of the pension plan is to generate income/gains through
    investments and accumulate them until they can be distributed to the beneficiary(ies). In this way, the rules for tax-
    advantaged pension plans can be aligned with the Danish rules for annuities, which are also taxed only when paid out.

    Solo 401K pension plans are established by sole proprietorships that are either incorporated (LLC) or personally owned. The
    beneficiaries are the business owners themselves and/or their spouses. The beneficiaries (participants) are also called “plan
    participants.”

    There are companies, such as the U.S. company Broad Financial, that specialize in providing assistance in setting up pension
    plans, including 401K pension plans and Solo 401K retirement plans.

    Standardized forms are typically used to set up pension plans. These forms are standardized so that the same forms can be
    used both for the establishment of small Solo 401K pension plans and for the establishment of large pension plans with
    many participants. For this reason, the forms refer in most cases to administrative committees appointed by the employer’s
    board of directors, even though no such committee exists in a Solo 401K pension plan, since such small pension plans are
    administered by a trustee appointed by the company owner when the pension plan and the underlying trust are
    established.

    Contributions to a 401K pension plan are held in a trust (set up for the purpose) designed to accumulate, manage and invest
    these contributions for the benefit of plan participants and beneficiaries. The establishment of a trust separates the pension
    plan’s assets from the business owner’s own assets. The trust manages the assets through the actions of the subscribing
    trustee or other agent.

    The Texas Rocco LLC 401K Plan is a (relatively) newly established Solo 401K plan managed by a trust and its trustee.




Case No. XX-XXXXXXX                                      Page 156/239
   Case 1:18-md-02865-LAK                       Document 836-47                Filed 06/27/22            Page 92 of 462




The actors involved in the pension plan itself can be outlined as follows:




                                         owner

                                                                           UC
                                                                     sole proprietorship

       beneficiary                                 trust
                                                                                                Trust agreement


                                                                                             Trust
                                Solo 401K pension plan legal
                                    owner of the assets                                Manager of the assets
                                                                                           authorized
                                                                                            or proxy




     The establishment is thus done by an LLC (the employer = sole proprietorship) establishing a trust (see e.g. JEB5 Investment
     Trust) and the 401k retirement plan (The Texas Rocco LLC 401K Plan). The Solo 401K Pension Plan is the legal owner of the
     assets and the trust trustee is the subscriber manager thereof.

     2.1.1 Operations on behalf of the pension plan

     As stated, the pension plan in question is a separate legal entity.

     It may act only through its trustee in the corresponding trust or a person authorized by the trustee. The so-called trader was
     thus either the trustee himself or an authorized professional trustee.

     In the majority of the cases where SMK and TVC Law Firm are the representatives (the TVC cases), it was the trustees
     themselves who placed the orders to buy and sell the stocks and entered into the forward hedges and stock loans under the
     GMSLAs. All the skills and knowledge that the trustees concerned have and use for the benefit of the pension plans must be
     attributed to the pension plans concerned.

     Since the trader must be able to identify the stocks where the price of the derivative (the future or the forward) is out of line
     with the spot price, and at the same time be able to obtain the necessary financing through a stock loan, a considerable
     degree of specialist knowledge and business relationships are required to execute dividend arbitrage trades.




Case No. XX-XXXXXXX                                        Page 156/239
   Case 1:18-md-02865-LAK                    Document 836-47                 Filed 06/27/22             Page 93 of 462



        2.2 Financial instruments used

        In the following, we will describe the financial instruments used by the pension plan to implement the
        investment strategy.

        In general, three types of financial transactions are used: a purchase (and sale) of stocks, a forward and a
        stock loan.

        As indicated, the pension plan bought Danish stocks on the dividend date, held them for a period (on
        average 45 days) and then sold them again. The basic motivation for buying the stocks at that particular
        time was tax-related: the pension plan was entitled to a reimbursement under the Double Taxation
        Convention between Denmark and the United States. Unlike others with a less favorable tax status, the
        pension plan could thus receive the gross proceeds - and not only the net proceeds.

        To hedge against the risk of price falls, the pension plan also entered into a forward hedge.

        The financing of the stock purchases was done by a stock loan, after the stocks were purchased but before
        the stocks had to be paid.

        These three transactions may at first glance resemble a "puzzle to be solved,” as the Danish Tax Agency
        puts it (see the Danish Tax Agency’s summary submission in the lead cases of August 09, 2019, page 12).
        However, they are nothing more than the expression of well-prepared, financial, structured transactions. In
        this respect, the financial industry is no different from any other industry: everything must be prepared in
        advance for the end result to fall into place. Just as the car factory has to have hundreds of individual parts
        on the assembly line at the right time for the end result to be a working car, so too financial transactions
        consisting of many links have to be prepared in advance. Just as the car manufacturer enters into
        framework agreements with subcontractors for the supply of parts, the pension plan enters into framework
        agreements with Stock Loan Intermediaries who can provide the necessary financing, as well as agreements
        with brokers who can provide the stocks and forward contracts, and clearing agents/custodians who
        ultimately ensure that the agreements entered into will be settled.

        These preparatory agreements are called "pre-trade" or on-boarding in the financial industry.

        2.2.1 Stock purchase/sale

        The dividend arbitrage investment strategy assumed that the pension plan purchased the stocks on which
        the dividends in question are paid.

        In this context, it is important to highlight that the stocks in question were traded through OTC transactions.

        Stocks are bought and sold not only through the stock exchange. Large-volume stock transactions are
        typically carried out over the counter (OTC). This prevents large price swings that would be triggered by
        trading large volumes of stocks on public exchanges.

        An OTC market is a decentralized virtual market without a physical location. Trading takes place between
        market participants via the Internet, telephone, e-mail and similar communication systems (messaging
        systems). In OTC markets, trading between two parties is anonymous, just like on stock exchanges. This
        means that you can only see how much was traded at what price, but not who bought or sold exactly how
        much. It is the traders who control the OTC market and it is they who set the price of what they buy and sell
        for. To trade on an OTC market, you need a broker. The broker can carry out a so-called owner matching
        trade. The broker then acts as a seller to his client. The broker buys the stock from the market (from
        another broker or another client). Where the broker obtains the stock, which he sells OTC, the customer
        cannot know. In many cases, the broker cannot even identify where the individual stock he is selling comes
        from, as the broker buys many stocks from many different sources. At the broker, all the stocks bought are
        mixed.




Case No. XX-XXXXXXX                                   Page 156/239
    Case 1:18-md-02865-LAK                    Document 836-47                 Filed 06/27/22               Page 94 of 462



        The stock transactions carried out by the pension plan were concluded OTC with its brokers as owner
        brokers.

        Proprietary trading, as defined in § 71(3) of the Capital Markets Act, is the execution of client orders against
        own funds. The broker - who is precisely not the operator of a regulated market - enters into the trade and
        acts as a seller to the pension plan wishing to purchase the stocks. The broker obtains the stocks from the
        market.

        The settlement deadline for OTC trades may differ from the "market-conform" settlement deadline. The
        main feature of OTC trades is that they are not standardized as on the stock exchange. OTC trades are
        tailor-made.

        What exchange trades and OTC trades have in common is that they are immediate trades (spot markets).
        They take place here and now. Ownership of the stocks is transferred with immediate effect. If you do not
        want to buy the stocks until a later date, but at a price agreed now, you enter into a forward contract.

        2.2.2 Forwards

        A forward is a bespoke forward contract between two parties to buy or sell an asset at a specific price at a
        specific time (a future date). A forward is terminated either by physical delivery of the asset or by difference
        settlement, whereby the parties settle at expiration the difference between the agreed forward price and
        the spot price (i.e. the current market price) at expiration.

        The conclusion of a forward contract is not to be regarded as a disposal of the stocks when/if the forward
        contract is covered by the Danish Capital and Exchange Gains Tax Act.

        It follows from the last sentence of Article 33(1) of the Danish Capital Gains Tax Act that the asset
        transferred is deemed to have been acquired or disposed of on the settlement date and at its market value
        on the settlement date if the contract is settled by delivery.

        A forward contract falls under the Danish Capital Gains Tax Act if one of the following conditions is not
        fulfilled:

x       The contract can only be fulfilled by delivery of the stocks (i.e. not by difference settlement)
x       The contract is not transferable
x       No counter contract has been concluded.

        The question whether the contract can be fulfilled only by delivery or whether difference settlement is
        possible depends on whether the contract was actually settled by difference settlement (see the
        explanatory memorandum to the Danish Capital Gains Tax Act, comments on Act No. 439 of June 10, 1997,
        point n). If this has actually happened, it does not matter whether it was foreseen in the contract.




Case No. XX-XXXXXXX                                    Page 156/239
   Case 1:18-md-02865-LAK                       Document 836-47                   Filed 06/27/22               Page 95 of 462



        2.2.3 Stock lending

        A stock loan is, as the name suggests, an agreement to lend stocks. As a general rule, the stocks lent will be
        listed stocks, which makes the stocks easily tradable. The stocks lent would therefore be considered a
        "commodity."

        A traditional equity loan is defined by an agreement between a counterparty, the lender (A), and a
        counterparty, the borrower (B), whereby A lends stocks listed on a regulated market to B for a
        consideration (fee) and possibly collateral. On transfer of the loaned stocks, ownership rights pass to B, so
        that B can subsequently dispose of the stocks in full. As a result, B has the right to vote at general meetings,
        to receive dividends and to sell the stocks.

        At the same time as the loan, B agrees to return the same number of stocks to A at a later agreed time.
        When lending the stocks, it will usually be agreed that A will/should be compensated for the dividends paid
        on the stocks during the lending period.

        Key to below graphic:

         Figure 2.4 illustrates a stock loan


                                                              securities
          at the start




                         Lender (A)                                                               Borrower (B)
                                                                                                (loan to owner)
                                                         possible collateral



                                                           securities and
                                                           remuneration
          at the end




                         Lender (A)
                                                                                                  Borrower (B)
                                                          possible collateral


        Tax qualification and treatment of REPO and stock loans – Master’s thesis July 17, 2013 by Nils Panum Thisted

        Tax qualification and treatment of REPO and stock loans – Master’s thesis July 17, 2013 by Nils Panum
        Thisted

        If B provides collateral to A in the form of cash, this cash collateral will be linked to an obligation on A to pay
        interest to B. The value of the collateral for a stock loan is typically above the current market price of the
        stocks.

        In this respect, stock lending is fundamentally different from a repurchase agreement or collateralized loan
        agreement. Repurchase agreements and collateralized loans are similar tostock lending against cash
        collateral. In all cases, stocks are transferred from one person to another in return for the payment of a sum
        of money, and in both cases the parties are obliged to return the stocks or the money.




Case No. XX-XXXXXXX                                       Page 156/239
   Case 1:18-md-02865-LAK                     Document 836-47                  Filed 06/27/22             Page 96 of 462



        However, the side on which a haircut is applied differs for stock lending and for repos/loans with a pledge
        on stocks. The Danish Tax Agency seems to overlook this fact in the summary of the preliminary rulings of
        August 09, 2019 in Paragraph 8.12.

        In this context, it should be stressed that a stock loan is made in the interest of the stock borrower. It is
        therefore the stock borrower who must provide collateral higher than the current market price. Stock
        borrowers are typically short sellers. Repos and loans against collateral in stocks, on the other hand, are in
        the interest of the stockholder. The stockholder asks the lender for a loan and puts up his stocks as collateral
        for the loan.

        The transactions can be very difficult to separate, however, circumstantial evidence such as (1) who is
        making the request and (2) the value of the stocks exceeds the amount paid helps.

        If the recipient of the money asks for a loan and provides stocks whose value exceeds the amount he
        receives as collateral, this is a repo or a loan with a pledge of stocks. A haircut is applied to the value of the
        collateral he provides to borrow the money.

        If, on the other hand, the recipient of the stocks requests a loan and provides cash collateral whose value
        exceeds the current market value of the stocks, this constitutes a stock loan. In this case, the stockholder is
        protected against the risk that the stock borrower does not return the stocks (which he wanted to borrow),
        and therefore the stock borrower must provide a higher amount of cash collateral than the current market
        value of the stocks.

        For further explanations on stock loans and repos, please refer to Katja Joo Dyppel, Taxation of stock loans
        and repos, SR.2013.0053, see Appendix 2c, and Nils Panum Thisted, Tax qualification and treatment of REPO
        and stock loans, which is presented here as Appendix 75.

        2.3 The external actors involved

        In order to realize the many structured financial transactions, it is necessary that a number of financial firms
        participate. These are fund brokers, custodians and clearing houses, as well as stock borrowers and their
        intermediaries, forward intermediaries, and introducing brokers and arrangers.

        As will be seen below, a very large number of players were involved in the completion of the transactions in
        question, each of whom had special knowledge and/or special contacts or who were exposed to not
        insignificant risks in the completion of the transactions in question.

        2.3.1 Brokers

        All orders for the purchase and sale of stocks were submitted by the trustee/trader to a professional,
        authorized and controlled broker in London.

        The broker's job is to match a buy order with a sell order. This matching creates the legally binding
        agreement on the purchase of stocks which, under Danish law, immediately leads to the transfer of civil law
        ownership to the buyer.

        The broker's primary task is to place the order on the market, seeking in his network of brokers and on the
        exchange to find one (or more) sell orders that match the buy order he has received from his client. The
        broker himself describes the task as "providing liquidity" for an order. He does not mean that he has to find
        cash to pay for a certain number of stocks that his client wants to buy.




Case No. XX-XXXXXXX                                     Page 156/239
   Case 1:18-md-02865-LAK                     Document 836-47                 Filed 06/27/22            Page 97 of 462



        The liquidity that the broker must provide to his client consists of sufficient stocks to match the client's buy
        order with the sell order.

        The brokers with whom the pension plan traded usually included the equity traders as owner-matching
        traders. The broker working for the seller thus bought the stocks from the seller himself and sold them on to
        another broker acting for the ultimate buyer (the pension plan). In other words, the pension plan bought the
        stocks from its own broker, not from the ultimate seller.

        When the broker obtains the stocks from the market, he can do this by buying stocks from several different
        sources. All the stocks bought by the broker are part of a large pool where it is no longer possible to
        distinguish which "specific stock" came from which source. Dematerialized stocks are only numbers on
        securities accounts, which differ as little from each other as monetary funds.

        The flow of stocks to the brokers into a large pool can be illustrated as follows:


                                                Flow of shares




        Nor was the "stock" - of indeterminate origin - that the pension plan subsequently had delivered to its
        custodial account with its custodian necessarily the very same stock with which its purchase was matched at
        the broker. This in itself is also irrelevant, as dematerialized stocks are commodities: the pension plan
        simply needs to be delivered a stock, of the same class and from the same company as it purchased.

        For tax purposes, it only makes a difference if you want to check whether the stock that the pension plan
        bought and was delivered came from a short seller or a long owner. If you want to treat these stocks
        differently (from a tax point of view), you run into the problem that the pension plan may have bought a
        stock originating from a long owner (who already has the stock in his custody at the time of sale) from his
        broker, but when the delivery takes place, the pension plan receives a stock originating from a short seller -
        or vice versa. And no one is able to distinguish these stocks from each other, in the cycle of stocks that
        constantly mixed together in pools. If stocks from short sellers were regarded as cold water and stocks from
        long owners as hot water, what arises for both brokers and custodians is lukewarm water that cannot be
        separated again.




Case No. XX-XXXXXXX                                    Page 156/239
   Case 1:18-md-02865-LAK                      Document 836-47                 Filed 06/27/22            Page 98 of 462



         The broker's fee depends on whether he can get his client the desired number of stocks.

Therefore, the pension plan's payment of the brokers' fees is evidence that the pension plan's orders to buy or sell stocks were
matched with corresponding orders that the brokers obtained from the market.

         The brokers with whom the traders for the pension plan placed the orders for the purchase and sale of
         Danish stocks were financial undertakings independent of the Solo group. The broker Novus was indeed
         bought by Sanjay Shah, but only after the pension plans had stopped using Novus as a broker. It was only in
         2013 (before Sanjay Shah took over Novus) that Novus was a broker for pension plans that used the Solo
         group as a clearing house and custodian.

         2.3.2 Stock Loan Intermediaries

         The pension plan, which was a client of the Solo Group, used a limited number of professional
         intermediaries (Stock Loan Intermediaries) as counterparties for stock lending. Prior to commencing
         business, the pension plan entered into Master Stock Lending Agreements (so-called GMSLAs) with Stock
         Loan Intermediaries. A GMSLA sets out only the general terms of the loans.

         Not all pension plans have kept copies of the signed GMSLAs for the simple reason that these are standard
         agreements that are identical for all pension plans.

         Each specific stock loan was concluded by the emails exchanged by the trustee with the stock loan
         intermediary after the purchase order for the stocks was placed and matched by the broker. It is only these
         e-mails that contain the concrete information necessary for the conclusion of a legally binding stock lending
         agreement: which and how many stocks are lent, the amount of the cash collateral, the amount of the fee
         and interest and the term of the stock loan.

         The pension plan and its trustee did not and still do not know the ultimate borrowers of the stocks, the stock
         lending intermediaries being between them. The pension plan therefore also does not know the motivation
         of the ultimate stock borrowers to borrow the stocks.

         Before the pension plan purchased a given stock, the pension plan inquired by telephone with the
         intermediaries how many stocks the intermediaries needed to lend, i.e. could convey to a final borrower.
         This was to ensure that the pension plan only purchased a number of stocks that the pension plan could
         subsequently lend. Thus, the e-mails from the intermediary to pension plans, presented in the cases, in
         which pension plans are asked whether they have a certain number of stocks, were sent after the pension
         plans had already been in contact with the intermediary.

         Thus, the stock loan agreements are not "backdated" as claimed by the Danish Tax Agency.

         Nor is there a "piece to fall into place" or a "puzzle to unravel" in order to finance the stock purchase, as the
         Danish Tax Agency claims. The Danish Tax Agency’s allegations rest on a lack of knowledge of the practice of
         dividend arbitrage.




Case No. XX-XXXXXXX                                     Page 156/239
   Case 1:18-md-02865-LAK                    Document 836-47                 Filed 06/27/22            Page 99 of 462



        2.3.3 Forward counterparties and intermediaries

        The Pension Plan has not been aware of the identity of the ultimate forward counterparties, as the forward
        contracts have been traded through intermediaries. The intermediaries thereby enter into the contract
        themselves (as in the case of an owner trade) and are themselves the immediate forward counterparty of the
        pension plan.

        The ultimate forward counterpart motivation is therefore also unknown to the pension plan.

        The Pension Plan has not promised the purchaser of the Forward (neither the Intermediary nor the Ultimate
        Forward Counterparty) anything as alleged by the Danish Tax Agency in the Summary Submission in the
        Lead Cases dated August 09, 2019, Paragraph 2.3 (page 10). At the very least, the pension plan has
        promised the counterparty to the forward a price increase. The ultimate counterparty to the forwarder
        simply has a conflicting interest with respect to the pension plan: He wants to own the stock on a certain
        date after the date of the stockholders' meeting. Whether this is because the ultimate counterparty, for his
        own motivation, expects a price increase, or because the counterparty, for (tax) reasons, simply does not
        want to own the stock on the dividend date, but wants to secure the purchase of the stock at a certain price
        on a later date, the pension plan as an independent party cannot say.

        An important aspect of the present case is that the stocks purchased were never delivered under the forward
        hedge, as the pension plan always settled the forward transaction with the forward counterparties on a
        contractual basis, i.e. settled the difference between the agreed forward price and the spot price (market
        price) at the time of the expiry of the forward contract. In this way, the pension plan avoided that the forward
        contracts could be considered as a disposal of the acquired stocks for tax purposes.

        It was essential for both the pension plan and the ultimate counterparties to the forward contracts that the
        forward contract would be covered by the Danish Capital Gains Tax Act, so that the conclusion of the
        forward contract is NOT to be considered as a disposal of the stocks. As stated in the preparatory works to
        the Danish Capital Gains Tax Act (comments to Act No. 439 of June 10, 1997, point n), the question whether
        a contract can only be fulfilled by delivery or whether difference settlement is possible depends on whether
        the contract has actually been settled by difference settlement. If this has in fact happened, it does not
        matter whether it was foreseen in the contract.

        2.3.4 Custodians and clearing agents

        Custodians and clearing agents have a dual role. On the one hand, the custodian has the task of maintaining
        the pension plans' securities (stocks). This role can only be fulfilled by the custodian once the stocks have
        been transferred from the seller's custodian to the buyer's custodian. This is done through the settlement
        process. At the settlement of the stock trade, the purchase price must be paid against the delivery of stocks
        (payment versus delivery). In other words, money and securities must be exchanged between the
        custodians involved.
        This can be either on a gross or net basis.

        If settlement is on a gross basis, the specific stock sold is exchanged from one custodian to another against
        the transfer of the specific purchase price.




Case No. XX-XXXXXXX                                   Page 156/239
  Case 1:18-md-02865-LAK                     Document 836-47                  Filed 06/27/22            Page 100 of 462




        Settlement on a gross basis can be illustrated as follows:


                                                           4000



                         2,000                                                                  2,000



                             BANKC                                                        BANKO
                       \._____ _ _ _s_ooo _ _ _ _ _./
                                                            Y"
                      Gross transfers of 27,000 is the result of the bilateral
                               trading activity between 4 bankers


        If settlement is on a net basis, all equity transactions in the settlement period (which is not necessarily a full
        day) are first netted between the custodians concerned before the net balance is transferred between the
        seller's and buyer's custodians.

        Settlement on a net basis can be illustrated as follows:




                         Netting of claims and obligations for the supply
                        has reduced the net transfer by 75% to only 7000




Case No. XX-XXXXXXX                                    Page 156/239
  Case 1:18-md-02865-LAK                    Document 836-47                Filed 06/27/22            Page 101 of 462



        At the time of clearing, the obligations to be exchanged are determined. If the clearing takes place using
        nets, several transfer orders between the custodians involved are rearranged and offset to form a net claim,
        so that only the net obligation is transferred between the two custodians (cf. Article 3(1)(29) of the Capital
        Markets Act).

        If the buyer and seller have the same custodian, the stock transaction is settled internally in accordance with
        Article 9 of the CSD Directive (settlement internalizers), so that no stocks are sent from custodian to
        custodian. The clearing and settlement of transactions is nevertheless real, and increasingly closely regulated
        by the EU.

        Custodians and clearing agents will in principle only become active after the final and binding agreement on
        the transfer of ownership of the stocks has been concluded.

        However, as the clearing agent guarantees the performance of a concluded agreement for the purchase and
        sale of stocks (as guarantor for the payment of the purchase sum and the delivery of the stocks) the broker
        and the trader must both inform the clearing agent of the intention to conclude a stock trade, which is only
        matched once the clearing agent has given an undertaking that the contractual obligations will be fulfilled.

        Because of this risk, which the clearing agent assumes in settling trades entered into by a pension plan
        without sufficient equity to pay for the stocks purchased, and the need to obtain a stock borrower for the
        specific number of stocks purchased by the pension plan, the clearing agent charges a substantial fee. A fee
        that the clearing agent either demands to be paid to itself or (for tax reasons) to an affiliated company.

        Because of the high risk of having to guarantee the payment of purchase sums of such a considerable order
        as in the stock transactions in question, the fee charged by the Solo group for its servciesas custodian and
        clearing agent was also quite substantial. Fees in the order of 70-80% of profits are normal in the industry
        and were also paid by the pension plans.

        These fees were deducted from the pension plans' cash account with their custodian. As the money under
        the TTC clause was already in Solo Capital's account, the payment of the fees only appeared by an entry in
        the pension plans' cash account with their own custodian. The TTC clause in the Custody Agreements was a
        security for the Solo group in case the clearing agent/custodian had to step in and pay the purchase price in
        a given stock transaction.

        2.3.5 Tax agents

        The reimbursement requests were submitted by a professional tax agent on behalf of the pension plan. The
        task of the hired tax agent was to verify that all conditions for obtaining a reimbursement from Denmark
        were met and duly documented.

        The tax agent in question received a fee for his services.

        Since the tax agent engaged was responsible not only for requesting the reimbursement but also for
        monitoring it, the reimbursement had to be paid from Danish Tax Agency to the tax agent. The tax agent
        informed the pension plan of the receipt of the respective reimbursement and transferred all
        reimbursement amounts to Solo Capital's cash account, as shown in Appendix 76, which is presented here.
        This had a discharging effect on the tax agent in question, as the pension plan had its account with the Solo
        Capital group. In the Solo group, the receipt of each reimbursement was booked to the account of each
        pension plan.

        Solo Capital was entitled to receive the reimbursement amounts due to the pension plan, as the pension
        plan had assigned the ownership of all its cash as collateral to its custodian.




Case No. XX-XXXXXXX                                   Page 156/239
  Case 1:18-md-02865-LAK                    Document 836-47                 Filed 06/27/22            Page 102 of 462



        This assignment as security for cash was made under the TTC clause of the Custody Agreement.

        The transfer of ownership rights to the reimbursement amount does not contradict the GMSLA as alleged
        by the Danish Tax Agency in the Agency's summary submission in the lead cases dated August 09, 2019, as
        the GMSLA only pledges the assets belonging to the pension plan. The cash only belongs to the pension plan
        for "a logical second,” after which it is immediately transferred to the custodian's ownership under the TTC
        clause.

        However, all funds accruing to the pension plans were recorded in separate accounts at the Solo- Group, so
        that the funds of each pension plan could be identified and released from the guarantee at any time. This
        was done on the basis of advice received from the law firm Pinsent Masons, which, as you know, is the
        Inland Revenue's own law firm in England.

        If the pension plan had no outstanding balance with its custodian, i.e. if the custodian had not had to pay a
        stock deal on behalf of the pension plan, the pension plan could at any time terminate the contract with its
        custodian and request both funds and stock deposits to be transferred to another custodian/bank. The
        custodian in question had no rights to the stock deposits at any time and the transfer of ownership of the
        funds was for security purposes only.

2.3.6   Introducing brokers

        Since it is not easy to find all the financial companies described here that are willing to accept a newly
        founded single man pension plan as a customer to invest in large Danish stockholdings without having
        sufficient equity capital themselves, so-called introducing brokers are necessary. An introducing broker
        introduces clients to the various financial companies for a fee.

2.3.7   Arrangers

        Finally, the pension plan needed a so-called arranger. An arranger is an agent with exclusive access to
        certain networks, companies or business concepts (intellectual property rights). An arranger also invoices
        the pension plan for its services.

2.3.8   Summary remarks on the external actors involved

        The remuneration of the large number of financial institutions involved, who had special knowledge and
        contacts or who assumed certain financial risks in the execution of the stock transactions, left the pension
        plan with a smaller stock of the total proceeds of the dividend arbitrage. This corresponds to market
        practice and is no indication that the various actors were not independent of each other or that the pension
        scheme merely acted as a 'front man' for other parties involved, as the Danish Tax Agency seems to suggest.

        The pension plan was not under the control of Sanjay Shah and could also switch to another financial
        company at any time. This is also evidenced by the fact that some pension plans were first clients of Solo
        Capital and subsequently of North Channel Bank. The pension plan does not know the specific names of the
        pension plans that changed clearer and custodian, but knows that it happened.

        The tax authorities are in a better position to name the pension plans that have filed reimbursement claims
        on the basis of a DCA issued by Solo Capital and later by North Channel Bank.
        2.4 Pension plan business model and transactions




Case No. XX-XXXXXXX                                   Page 156/239
  Case 1:18-md-02865-LAK                     Document 836-47                 Filed 06/27/22            Page 103 of 462



        2.4.1 Introduction to dividend arbitrage

        The pension plan used the investment strategy known as dividend arbitrage. Dividend arbitrage is basically
        investing in stocks around the dividend date.

        The business model is possible due to the fact that not all stockholders have the same tax status. Some pay
        more dividend tax than others. Some (like the pension plan) are exempt from paying dividend tax
        altogether. Stockholders who are (fully or partially) exempt from paying dividend tax thus receive a higher
        income from the dividend distribution than other stockholders who are less favorably treated.

        Stockholders who do not have access to a double tax treaty know with certainty that on the dividend date
        they will lose 27% of the dividend. A U.S. pension plan does not lose this 27%. Stockholders who are not in
        the same tax position as the pension plan will therefore want to sell the stocks over the dividend date. They
        usually do this by selling the stocks shortly before or on the dividend date itself at the current market price
        (which still includes the entire gross dividend) and buying back stocks from the market by buying a forward
        contract.

        The day after the dividend date, the stocks fall in price, as the company has lost value due to the dividend
        payment. Theoretically, the day after the dividend date (also called the ex-date, as this is the first day on
        which the stocks are traded ex-dividend) the stocks should fall by the same amount as the gross dividend.
        After all, this is the value that the company loses in dollars and cents on the dividend itself.

        In practice, however, the price almost never falls by exactly the same amount as the gross dividend. This
        fact alone encourages speculation on price movements around the dividend date and hence increased
        trading activity at that particular time.

        The speculative transaction becomes an arbitrage investment by the parallel investment in a forward
        contract.

        Arbitrage is an economic term for the trading of similar goods (and services) in separate markets. The
        purpose of trading is to exploit visible price differences in different markets. If the same good is traded in
        two different markets at a different price, the arbitrage opportunity arises: The same good is bought and
        sold simultaneously in different markets and the arbitrageur can immediately see which profit he will
        realize.

        The different "markets" in question cannot be just different stock exchanges. One and the same stock is not
        necessarily traded at exactly the same price on all exchanges. The different markets that an arbitrageur can
        target can also be the stock market itself and the derivatives market such as the forward market. The price
        of a stock bought immediately on the so-called "spot market" is not the same as the price of the same stock
        traded over a forward contract.

        The price of a stock traded over a forward contract already differs from the actual purchase price of the
        stock because of the interest factor: if one agrees over a forward contract to buy a stock at a certain point in
        time in the future at a certain price, the interest itself on the purchase price will be included in the price of
        the forward contract and thus differ from the stock price on the spot market.

        However, the price of the forward contract may also differ from the spot price for many other reasons. One
        reason for the forward price to be out of balance with the forward price (as it would be if only the return on
        the purchase price were factored in) may be demand from "former stockholders" who




Case No. XX-XXXXXXX                                    Page 156/239
  Case 1:18-md-02865-LAK                       Document 836-47                 Filed 06/27/22            Page 104 of 462



          sell their stocks to the market by the dividend date to avoid the loss of the 27 percent dividend tax. Since
          the original stockholder without a double taxation agreement knows that he will lose the 27% dividend tax
          when the dividend is distributed, the dividend and therefore the stock itself has a lower value for him than
          for a pension plan entitled to a reimbursement. This subjective difference in value, caused by discrimination
          against some stockholders compared with others, sets the market in motion. The loss of value that occurs
          on the ex-date is smaller for tax-advantaged pension plans than for other stockholders. The pension plan
          can therefore resell the stocks to the former owners under a forward agreement at a higher price than the
          forward price would have been, as the buyer of the forward will still be financially better off than if he had
          kept the stock, received a net dividend and suffered a loss in value of his stock on the ex-date in the order
          of the gross dividend.

          The pension plan suffers an immediate "loss" on the ex-date, as the stock also in his possession loses value.
          The gross proceeds are deducted from the market value of the stock. However, in the case of the pension
          plan, this loss is fully offset upon receipt of the net proceeds and the reimbursement. This leaves the
          pension plan with the gains it can realize on the arbitrage transaction: the purchase of the stock on the spot
          market and the sale of the stock on the derivatives market (forward contract).

          Although the gain realized by the pension plan was equivalent to the reimbursement of the dividend tax,
          the gain itself did not consist in the reimbursement as claimed by the Danish Tax Agency. The gain realized
          stemmed from the arbitrage transaction itself. The pension scheme could not risk losing this in the event of
          market movements and therefore had to close all positions once the arbitrage gain had fallen to the
          amount of the reimbursement.

          That dividend arbitrage is a perfectly legitimate investment strategy is shown in the brochure of the FCA
          from June 2017, which is provided as Appendix 77.

          2.4.2 Transactions

          The following § describes the business process of dividend arbitrage in practice, highlighting each step.

2.4.2.1   Onboarding

          Prior to the launch of the pension plan's trading activity, the pension plan has gone through extensive
          account opening procedures with all of the financial institutions involved, including the broker (fund
          broker), the intermediaries for the forward contracts and the stock loans, as well as the clearing and
          settlement agent and the custodian.

          The necessary contractual framework had to be in place before the pension plan could implement the
          business activity, including the framework agreements with the equity loan intermediaries (GMSLA
          agreements). This ensured that a concrete agreement for the lending of a concrete number of stocks on a
          concrete date could be concluded by e-mail and at short notice.

2.4.2.2   Buying stocks and selling forward

          2.4.2.2.1 Procedure for buying and selling stocks of forward

          The first step in the actual dividend arbitrage transactions has been to place a buy order with the fund
          broker. Once the pension plan trustee (or the trustee-Authorized Trader) has identified a particular stock
          where the price of the derivative (future/forward) is out of line with the price of the stock itself on the spot
          market, the trustee inquires by telephone with its stock loan intermediary whether there are




Case No. XX-XXXXXXX                                      Page 156/239
  Case 1:18-md-02865-LAK                    Document 836-47                 Filed 06/27/22            Page 105 of 462



        Is an interest in borrowing stocks in the company concerned. If the stock lending intermediary indicates that
        there is a general demand in the market to borrow a particular stock, the pension plan trustee places an
        order to purchase a certain number of stocks with the broker (execution broker).

        The broker then contacts his network to identify one (or more) suitable sales orders on the market. Trading
        does not necessarily take place on the stock exchange. Large volumes of stocks, such as those needed to
        make dividend arbitrage profitable (since the price differential between the spot and derivatives markets is
        so minimal), are generally traded OTC, i.e. outside the exchange. This is to prevent the risk of (illegal)
        market manipulation. See above under § 2.2.1.

        If the broker identifies one or more suitable sell orders in his network of brokers, he communicates this to
        the pension plan trader, who is asked to obtain the clearing agent's agreement that settlement will take
        place. In parallel, the seller's clearing agent is asked to agree that settlement will take place. Thus, the
        buyer's clearing agent guarantees that the purchase price will be paid and the seller's clearing agent
        guarantees that the stocks will be delivered. If the clearing agents receive these messages about the
        dividend date and can see that the settlement date is after the record day, the transaction is flagged in the
        computer systems (as "cum ex trade") so that the respective custodians are aware that a market claim
        occurs when the dividend is paid.

        "Record day" is the date on which the company (VP Securities) verifies who is registered as the owner of the
        Danish stocks. The dividend will be sent by VP Securities to the person registered as the owner of a stock on
        the "record day." If a stock trade has not yet been settled on the record day, VP Securities will immediately
        send the dividend to the wrong recipient, namely the seller. For example, if the seller has his securities
        account in Nordea and the buyer has his securities account in Danske Bank, VP Securities will send the
        dividend to Nordea. However, Nordea can see that the stocks have been transferred to Danske Bank after
        the record day. Nordea is therefore obliged under the so-called "market claim process" to forward the
        dividend to Danske Bank, where the rightful owner of the stock has his securities account.

        Thus, during the market claim process, the respective custodians are obliged to debit the net proceeds
        received by the seller in the first place because he was still registered as owner on record day and transfer
        these net proceeds to the buyer of the stock.

        If the broker does not find a suitable sell order in the market, the buy order cannot be fulfilled and the
        money plan does not become the owner of Danish stocks. Examples of purchase orders that were not
        matched are presented as Appendix 78. Unfortunately, not all pension plans have kept copies of the
        purchase orders that were not matched, as they had no legal or financial consequences.

        Since the pension plan will only buy the stocks if it can simultaneously sell the same number of stocks via a
        forward, the pension plan's trader sends in parallel with the order to buy stocks also an order to sell the same
        number of stocks via a forward contract.

        These two orders (buying stocks and selling a forward) are not necessarily sent to the same broker. If the
        broker can identify another broker (in its network) who has a client who wants to buy the stocks over a
        forward, the pension plan's broker communicates this to the pension plan, which in turn is invited to obtain
        the clearing agent's commitment to guarantee the settlement.

        The pension plan then asks its clearing agent for a commitment to settle the stock purchase and forward
        sale. If the clearing agent agrees, this is communicated to the pension plan and the brokers, who then
        match the trades. All this happens within seconds/minutes over electronic communication systems.




Case No. XX-XXXXXXX                                   Page 156/239
  Case 1:18-md-02865-LAK                     Document 836-47                  Filed 06/27/22            Page 106 of 462



        The brokers carry out the trades as so-called owner-matching trades. This means that it is the respective
        brokers who enter into the purchase agreement as a party. There is no direct contact between the pension
        plan and the ultimate sellers of the stocks. The seller of the stocks is and therefore remains unknown to the
        pension plan. There is no contractual link between them.

        As a broker simultaneously enters into several owner matching trades with different brokers over stocks
        issued by the same company, it is not possible to subsequently identify the original owner of the stocks
        purchased by the pension plan. At the broker, all the stocks are thus mixed together in a pool where it is
        subsequently no longer possible to trace a particular stock back to a particular original seller.

        The moment the brokers match the trades, the pension plan becomes the owner of the stocks. Within three
        seconds of the orders being matched, a trade report is automatically sent to the London Stock Exchange
        (LSE) and the settlement of the trade is simultaneously initiated by settlement instructions sent
        automatically to the clearing agent. In addition to this trade report, which is addressed to the public, a
        transaction report is also sent to the FCA (via the LSE's Una- vista MIFIR Reporting Portal - see Sanjay Shah's
        pleading to the High Court in London, Paragraph 56.9). This "transaction report" is used in the supervisory
        authorities' control and monitoring of stock transactions. Both reports are sent electronically and fully
        automatically from the trading systems (computers) where the traders were matched.

        After the matching of the buy and sell order, the time limit for the settlement of the trade starts to run.
        Trades that were to be settled through Solo Group companies, like many other OTC trades, were settled
        with a day longer deadline than VP Securities (as the national CSD) settles trades. Clearing agents have a
        duty (also under FCA rules) to ensure that the risk of a fail is avoided - i.e. that a trade cannot be settled -
        and a longer settlement period is used for this purpose, particularly when dealing with such large pools of
        stocks as those at issue in this case. Thus, until 2015, stock trades were settled four days after the orders
        were matched (T+4), and from 2015 onwards, stock trades were settled three days after the match (T+3).

        2.4.2.2.2 Business rationale for the purchase/sale of stocks by the pension plan and the stock seller

        The main actors in a dividend arbitrage transaction are, of course, the buyer and the seller of the stocks.
        These have conflicting interests: while the seller does not want to own the stocks at the date of legal
        acquisition of the dividend (the dividend date), the buyers have precisely the interest of being the legal
        owner of the stocks at that date.

        The ultimate seller's motivations for not wanting to own the stocks on the dividend date may be many, as
        indicated. As a result of the ineligibility for a reimbursement under the double taxation treaty to which the
        seller is subject, the seller may have an interest in selling the stock, if possible, at a price that includes 100
        percent of the value of the gross dividend. He would then be in a financial position as if he were subject to a
        double taxation agreement which entitled him to a reimbursement of the full dividend tax. The seller may
        also wish to be taxed on a stock profit - rather than being taxed on the stock dividend. In this situation, the
        seller will seek to sell the stock (including dividends) at a higher price than the repurchase price of the
        stocks after the dividend date (i.e. excluding dividends).

        Furthermore, speculators may of course speculate that the market price of a stock will not fall in line with
        the value of the dividend. Such speculators may also act as sellers of stocks before the dividend date. There
        are, of course, many other real economic incentives to sell stocks before the dividend date. The pension
        plan cannot know what has been the incentive of a given ultimate seller to sell before the dividend date.
        However, it is noted that there may notoriously be many different incentives to do so.




Case No. XX-XXXXXXX                                    Page 156/239
  Case 1:18-md-02865-LAK                     Document 836-47                Filed 06/27/22             Page 107 of 462



        The pension plan bought the stocks with the aim of realizing a profit by buying the stocks on the spot
        market and selling the stocks through a forward or a future.
        The pension plan trustee/trader can simultaneously view both the spot market price and the forward
        market price.
        /futures market and thereby immediately calculate the profit to be realized by buying the stocks on the spot
        market and selling them through a forward or a future. The only condition for this gain to be realized in
        reality is (1) that the dividend tax reimbursement is paid and (2) that the pension plan can bear the cost of
        the stock lending that finances the purchase price of the stocks.

        The pension plan's calculation of investment profitability is based on the assumption that the pension plan
        does not lose the dividend tax on the ex-date, but is entitled to receive a reimbursement. Otherwise, the
        pension plan would be at the same disadvantage as a seller who does not have access to the dividend
        reimbursement. Without a reimbursement, the pension plan has overpaid for the stocks before the ex-date.

        The acquisition of the stocks in question by the pension plan was financed by the collateral provided by the
        stockholders. While stock borrowers have to pay a fee for the stock loan, the pension plan has to pay
        interest on the cash collateral. The fee and interest rate are variable amounts which are constantly
        renegotiated between the parties depending on current market conditions. This creates uncertainty for the
        pension plan in terms of funding costs, which may force the pension plan to sell the stocks before the
        maturity date of the forward or cause the pension plan to extend the stock loan and the hedge beyond the
        initial maturity.

        In the event that Danish Tax Agency did not want to pay the reimbursement to which the pension plan was
        entitled, the pension plan did not have sufficient equity capital to immediately survive this loss of dividend
        reimbursement, which corresponded to 27% of the dividend. In order to counter this risk, the pension plan
        had to sell the stocks on the spot market and call back the stock loan when the financing costs of the
        transaction reached an amount equal to the previous gain without the dividend tax. The pension plan would
        then still reach a zero result if Danish Tax Agency did not have to pay the reimbursement. This is therefore
        also the reason why the gain realized on the transactions is equal to the amount of the dividend tax.
        However, the reimbursement of the dividend tax is only a reimbursement of the profit lost by the pension
        plan, as the pension plan had bought the stock the day before the ex-date for a price including gross profit,
        but only received a net profit from the Danish company during the settlement of the market claim process.

        2.4.2.2.3 Business justification of the pension plan and the forward buyer for the sale/purchase of the
        forward

        The business rationale for entering into a forward is essentially to hedge a risk position: if you have a stock
        position, you can hedge the risk of price fluctuations by selling a forward contract. This is an agreement to
        sell the stocks at a certain time in the future at a certain price.

        The buyer of the forward contract also hedges against price fluctuations by buying the stocks under a
        forward contract: He knows at what price he can buy the stocks in the future. This can be an important
        argument for a short seller or for a stockholder who sells his stocks before the dividend date to avoid the
        dividend tax.

        As it had no direct contact with the counterparties to the forward contracts, the financial plan cannot
        comment on their specific motivation. There was always an intermediary between the pension plan itself
        and the ultimate forward counterparty.




Case No. XX-XXXXXXX                                   Page 156/239
  Case 1:18-md-02865-LAK                    Document 836-47                 Filed 06/27/22             Page 108 of 462



        The ultimate counterparty to a forward hedge may have had numerous reasons for entering into an
        agreement with the pension plan.

        Thus, the ultimate buyer of a forward can hope that the stock price will rise again quickly after the date on
        which the stock is no longer traded with dividend rights (ex-dividend date). Empirical studies thus show that
        the stock price on the ex-dividend date does not always fall by exactly the same amount as the gross
        dividend, and that the stock price rises faster than usual after the ex-dividend date.

        The ultimate counterparty to a forward may also be a foreigner who sells his stock before the dividend date
        in order not to lose the dividend tax for which he is not entitled to a reimbursement. He may wish to secure
        the right to repurchase an equivalent amount of stocks in the company from the market at a specified price.
        He may give the arbitrageur an incentive to buy the stocks in-between the dividend date and sell stocks
        after the dividend date by pricing the forwarder high. The counterparty to the forwarder can thereby bring
        the price of the forwarder out of equilibrium with the spot market.

        2.4.2.3 Stock lending and financing of stock purchases

        2.4.2.3.1 The procedure for stock lending

        The pension plan finances the purchase of the stocks by lending the stocks and paying the stock seller with
        the cash collateral received from the stock borrower.

        The ex-dividend date, which is the first day on which the stocks are traded without entitlement to
        dividends, occurs between the trade date and the lending date and settlement date. Thus, even if the value
        of the stocks is lower on the lending date than on the trading date, the stock borrower provides cash
        collateral equal to the purchase price on the trading date. This is normal market practice, as the stock
        lender normally always pledges more collateral for the stock loan than the current market value of the
        stocks, see § 8.1 of this document. This is precisely what distinguishes a stock loan from a loan against a
        pledge of stocks. Here, it is the value of the stocks that exceeds the value of the loan.

        In the case of stock loans, however, it is the stock lender who is protected against the risk that the stock
        borrower (who in many cases is a short seller) cannot return the stocks borrowed. Therefore, the cash
        collateral exceeds the current market value of the stocks.

        As stated above, prior to the purchase of the stocks in question, the pension plan had already concluded a
        GMSLA framework agreement with the stock lending intermediary, which contains the general terms and
        conditions for the stock lending. The pension plan and the stock lending intermediary then agree on the
        specific terms as to which stocks, the number of stocks, the loan fee, the interest rate, etc. These
        agreements are concluded by e-mail. Once the stock loan intermediary and pension plan agree on the loan
        terms, the stock loan is communicated to the clearing agent and custodian. They check that the stock
        lending message received from the stock lender corresponds to the message received from the stock
        lending intermediary. If this is the case, the stock lending is confirmed.

        As the pension plan uses the cash collateral from the stock borrower to pay the purchase price of the
        stocks, the stock lending must be settled on the same day with the clearing agent and custodian as the
        stock purchase itself. Without payment of the purchase price, the stocks are not delivered to the pension
        plan's custodial account with the custodian.

        The settlement of the stock purchase will take place in parallel with the settlement of the stock lending. The
        stocks are thus registered three or four days after the purchase of the stocks, first in the pension plan
        securities account and then in the stock-borrower securities account. This registration in the pension plan's
        account is crucial for the correct settlement of the pension plan's market claim and for the pension plan's
        receipt of the proceeds that were initially wrongly sent by VP Securities to the seller's account.




Case No. XX-XXXXXXX                                   Page 156/239
  Case 1:18-md-02865-LAK                     Document 836-47                Filed 06/27/22             Page 109 of 462



        Even if all the conditions are agreed by e-mail when the stock loan itself is concluded, this does not mean
        that the conditions for the stock loan are fixed. As the stock loans did not have a fixed term (see: "term:
        open"), they were open to constant renegotiation, i.e. the pension plan could demand a different fee at any
        time and the stock borrower could demand a different interest rate at any time by threatening to terminate
        the loan immediately. If the pension scheme had an interest in continuing the stock loan, it would accept
        the changed conditions. The same was true for the stock borrower.

        As an example of these e-mails, by which the stock loan terms were continuously modified, is provided
        Appendix 79.

        The formula stated by the Danish Tax Agency in the summary submission of August 09, 2019 in the lead
        cases, Paragraph 4.5, page 28, is therefore quite correct, but it cannot be used to arrive at the exact amount
        that the total Stock Lending Fee constituted. Without knowing the exact interest rate applicable on each
        day at any given time, it is not possible to calculate backwards, as the Danish Tax Agency attempts to do on
        page 29.

        Since the Danish Tax Agency applies the wrong interest rate to all calculations of all stock loans for all
        pension plans, the Agency naturally also arrives at the same "calculation error" in all cases. When the
        Agency reaches the conclusion that there is an error in all the cases, the Agency should instead come to the
        conclusion that there must be an error in the Agency's approach and take into account variable interest
        rates for the different days.

        The fact that the Danish Tax Agency cannot make its own calculations add up is not a sign of fraud, but a
        sign that the Agency does not know how the stock lending industry works in reality.

        2.4.2.3.2 Business justification for stock lending by the pension plan and the stock borrower

        The pension plan needs cash to pay for the stocks purchased. These are obtained by lending the stocks and
        receiving a cash collateral for the stocks equal to the purchase price. The financial services industry refers to
        these as "cash-neutral transactions."

        The stock borrower may have many reasons for wanting to borrow the stocks.

        It is therefore incorrect for the Danish Tax Agency to claim that the sole purpose of the stock borrower was
        short selling.

        The stock borrower may thus need the borrowed stocks for hedging purposes. The stock borrower may also
        be a bank wishing to dispose of large cash balances in order to have a different, more valuable asset on its
        balance sheet than cash. A stock borrower may also be an investment firm that needs to respect a certain
        asset allocation (risk diversification) and therefore needs more stocks in its portfolio at the accounting date.

        The European Central Bank also explicitly refers on its website (https://www.ecb.eu- ropa.eu/explai-
        ners/tell-me-more/html/securities_lending.de.html) to the existence of many years to borrow a stock: If
        you only need a stock temporarily for a day or a few weeks, it is often cheaper, quicker and less risky to
        borrow the stocks rather than buy them. Many different strategies used in the financial markets rely on
        stock lending. The borrowed stocks can be used for trading (taking a risk to realize a gain), arbitrage
        (realizing a risk-free gain from price differences) or hedging purposes (reducing risk). If, for whatever
        reason, stocks are delivered late, stock lending may be an option to obtain the missing stocks on time.




Case No. XX-XXXXXXX                                   Page 156/239
  Case 1:18-md-02865-LAK                     Document 836-47                  Filed 06/27/22             Page 110 of 462



        It should be noted in this context that the world's largest national banks themselves act as borrowers of
        securities as a means of realizing their monetary policy. This allows national banks to pump additional
        liquidity into the market in order to increase the money supply and thereby raise inflation.
        Thus, it is also common knowledge that the Swiss and Japanese national banks are registered as the world's
        largest owners of listed stocks - whether these are bought or borrowed.

        The size of the global equity lending industry is USD 10 trillion, so it is obviously impossible to account for all
        the possible motivations that an equity borrower might have.

        The stock borrower will therefore not necessarily have the expectation that the stock price will fall, as
        claimed by the Danish Tax Agency in the submission.

        The stock borrower and the pension plan have conflicting interests: while the pension plan has stocks and
        needs cash, the stock borrower (who has cash) needs the stocks. Both parties in a stock loan charge for
        their services: the stock borrower charges interest on the cash collateral he has to provide, and the pension
        plan charges a fee for lending the stocks. Who thereby realizes a loss and who realizes a gain depends on
        current market conditions and the bargaining skills of the parties involved.

        2.4.2.3.3 Other comments on the financing of stock purchases

        Pension plans that do not have enough equity to pay for the stocks themselves trade under what is known
        as "margin trading" or leverage. This allows a huge number of stocks (or other assets) to be traded without
        using equity. All the investor needs is a prime broker to provide the investor with the necessary capital.

        Arbitrage transactions (not just those made around the dividend date) can be financed without equity when
        the gain from buying a stock on the spot market and simultaneously selling the derivative on the forward
        market can be determined immediately. As a rule, the price difference between the spot and forward
        markets is minimal. It therefore takes a huge volume of trading to generate enough profit for the strategy
        to pay for all the services involved.

        Prime brokers, who in the present cases were custodians, and clearing agents do not necessarily have to
        directly fund the investor themselves in the form of a credit.
        The prime broker can also simply act as a guarantor that payment for the stocks will be made. If the pension
        plan obtains the necessary financial means to pay for the stocks by lending them against a constant collateral,
        the role of the prime broker is limited to that of guarantor.

        2.4.2.4 Settlement of transactions (settlement)

        The actual settlement of the stock purchases was carried out four days until 2015 and three days after the
        stock purchases and forward sales from 2015. The stock purchases were settled by clearing and settlement
        (settlement). It was the clearing agent's task to calculate the total amount of money going from the buyer's
        custodian to the broker (and from there on to the ultimate seller), and the total number of stocks going
        from the custodian's securities account to the pension plan's securities account.

        These settlements may be on a gross or net basis. This means that each trade can either be accounted for
        separately and each number of stocks transferred separately to the pension plan custodian (gross
        settlement). Alternatively, all purchases and sales to be settled between the broker's (= seller's) custodian
        and the buyer's custodian can be netted against each other, and all acquisitions and sales of




Case No. XX-XXXXXXX                                    Page 156/239
  Case 1:18-md-02865-LAK                    Document 836-47                 Filed 06/27/22             Page 111 of 462



        stocks are netted (offset) so that only one net sum of money is transferred and only one net total of stocks
        is transferred between the buyer's and seller's custodians (net settlement after netting).

        If netting is used during the clearing and settlement procedure, a stock can never be traced from the
        ultimate seller to the pension plan that bought the stock. After netting all purchases and sales, the pension
        plan will most likely not receive a stock that was at one time in the custody of the broker or the ultimate
        seller, but a stock that was previously in the custody of another client of the same custodian. This is
        precisely the purpose of netting: Fewer stocks are transferred between different custodians.

        If, on the day of settlement of the trade, the pension plan has not yet received the cash collateral for the
        stock lending, the clearing agent is liable to the broker (seller) for the payment of the purchase price. Once
        the buy and sell orders have been matched, the settlement of the trade can no longer be stopped.
        The clearing agent is obliged to pay for the stocks himself if the buyer does not have sufficient funds.

        It should be noted that in none of the transactions carried out by the pension plan did the clearing agent
        have to pay the purchase price until a stock loan was in place.

        The pension plan settled the stock purchase, the forward and the stock lending on the same day. The
        pension plan was thereby registered as the owner of the stocks four and three days respectively after the
        purchase. The pension plan was thus the owner of the stocks for a period of four and three days
        respectively, without this being registered with the custodian.
        Registration with the custodian only occurred when the pension plan paid for the stocks and had them
        delivered to its custodial account. This meant that for the first four or three days after the conclusion of the
        purchase agreement, the original owner was still registered as the owner of the stocks, even though he was
        no longer the legal owner of the stocks.

        After the pension plan had been the legal owner of the stocks for several days, the pension plan lent the
        stocks so that the purchase price could be paid. The stock borrower was then registered as the new civil law
        owner.

        However, registration of ownership of the stocks is not a prerequisite for acquiring ownership under Danish
        law. Registration is only declaratory and serves to secure the rights as owner against third parties. In this
        respect, Danish law differs fundamentally from German law. It is therefore fatal for the Danish Tax Agency
        to base its entire reasoning in the case on German case law.

        The tax authorities attribute to the registration of ownership with the custodian a significance for
        ownership which the custodian does not have. The ownership of the pension plan does not start with the
        registration of the purchase with the custodian, which is why there is no "review ownership" of the stocks
        for a few minutes when the pension plan is first registered as the owner and the stock borrower is then
        immediately registered as the civil law owner during the stock lending. The pension plan was the owner of
        the stocks already from the matching of the purchase order.

        2.4.2.5 Maturity of transactions

        As stated above, the stocks purchased were never delivered under the forward hedge as the pension plan
        always settled the difference with the forward counterparties.

        The pension plan never held the stocks for the exact same period as the forward contract term. On average,
        90 days elapsed between the purchase and sale of the stocks by the pension plan. This maturity was
        achieved either by (1) extending the forward contracts (so-called "roll-over"), (2) purchasing another
        forward from the market with the same settlement date as the originally sold forward contract or (3) by an
        earlier difference settlement of the sold forward contract. That the maturity of the forward was generally
        not respected is proof that the transactions are genuine, since they are subject to market movements.




Case No. XX-XXXXXXX                                   Page 156/239
  Case 1:18-md-02865-LAK                      Document 836-47                 Filed 06/27/22            Page 112 of 462



          Thus, the Danish Tax Agency’s claim that the pension plan traded the stocks in such quick succession that it
          was not possible to identify the beneficial owner is clearly incorrect. When 90 days elapse between the
          purchase and sale of the stocks, it makes no sense to talk about 'looping' the stocks.

          The claim of "looping" put forward by the Danish Tax Agency seems to be a claim uncritically taken over
          from the German "cum ex cases." This, despite the fact that the Danish Tax Agency and the Ministry of
          Taxation are both of the opinion that (1) cum ex-trading is not possible in Denmark and that (2) none of the
          pension plans should allegedly have bought any Danish stocks at all. If the Danish Tax Agency really wants to
          rely on the German argumentation, the Danish Tax Agency must first admit that (1) this is a cum ex case and
          (2) all the pension plans really bought and sold Danish stocks. The Germans, in all the years they have
          fought to change the law to prevent cum ex-trading, have never claimed that no trading took place at all.
          The Germans also admit that there existed a flawed legal framework.

          The pension plan was able to pass 90 days before selling the stocks again because the financing was secured
          by a stock loan. As long as the pension plan realized a positive result from the stock lending (i.e. as long as
          the stock lending fee exceeded the interest on the cash collateral), or at least the pension plan did not
          realize a loss exceeding the arbitrage gain, the pension plan could hold on to the stocks and let the stock
          loan run its course.

          Where the stock lending fee exceeded the interest payable by the pension plan on the cash collateral, and
          the pension plan thus realized a gain on maintaining the stock lending, either the receipt of the merger or
          the evolution of prices on the stock markets caused the pension plan to close all positions. As the forward
          contract was sold at a price out of balance with the current stock market, the normal price development of
          both the stock market and the forward market could cause the pension plan to realize the gains made so far
          and not to run any further risks.

          The calculated gain to be realized by the pension plans was at the same level as the dividend tax, and when
          it was reached, the targeted gain was realized and the positions closed.

2.4.2.6   The positions are closed

          Like all pension plans, a solo 401K pension plan aims to generate a profit, and in any case avoid realizing
          losses.

          Dividend arbitrage is an obvious form of investment here, as by closely monitoring the investment, the
          trader can close positions in time to avoid realizing a loss.

          The pension plan knows, at the moment the stocks are purchased and the forward contract is sold, what
          gain can be realized (purchase and sale prices are both known). The only uncertainties associated with the
          transaction are (1) whether and when the reimbursement is paid and (2) the cost of the stock lending and
          hence of financing the stock purchase.

          The pension plan knows that the sale price of the forwarder is below the purchase price of the stocks. This is
          also normal as the dividend is due between the purchase date of the stocks and the expiry date of the forward
          contract. If the selling price of the forward plus the gross dividend is above the purchase price of the stocks
          (on the spot market), the




Case No. XX-XXXXXXX                                     Page 156/239
  Case 1:18-md-02865-LAK                      Document 836-47                 Filed 06/27/22             Page 113 of 462



          pension plan expect to realize a gain. From this gain, the pension plan only has to deduct the cost of the
          stock lending.

          The terms of the stock loan (= the interest on the cash collateral and the stock loan fee) are constantly
          subject to renegotiation, as both the stock lender and the stock borrower can terminate the stock loan at
          any time. This means in practice that the current market conditions for stock lending constantly have a
          direct impact on the cost of the transaction. If the cost of the stock lending increases to the point where the
          pension plan can no longer realize a profit if the reimbursement is not received, the pension plan has to
          close all positions: terminate the stock loan, sell the stocks and buy a forward.

          The stock loan can be cancelled at one day's notice.

          The forward contract can either be bought back or the pension plan can enter into a similar forward contract
          to buy the same number of stocks it has previously sold, with the same settlement date as the original sale.

          The sale of the stocks will follow exactly the same procedure as the purchase of the stocks described above.
          Now the pension plan is just the seller not the buyer.

2.4.2.7   Profits realized

          The pension plan starts the whole transaction with a liquidity loss: the pension plan has bought the stocks
          for their full value - including the gross dividend - and the next day (on the ex-date) the stocks are traded at
          a lower value. Theoretically, this lower value should be equal to the gross dividend. However, the markets
          react differently from theory. Sometimes the stock price falls more, sometimes less than the gross dividend.

          The fact is, however, that the market price of the stocks bought by the pension plan already falls the day
          after the purchase. This "loss" is offset by two payments: the net dividend and the reimbursement. This
          means that the loss on the highly liquid stock value is replaced by two less liquid asset items: the net
          dividend claim and the reimbursement claim. While the net dividend is usually received a few days after the
          stock purchase, it takes several months before the reimbursement is received.

          From an accounting point of view, the pension plan did not realize a loss the day after the purchase either,
          despite the fact that the market price of the stocks fell, because the pension plan sold a forward at the
          same time. The sum of the value of the forward, the net proceeds and the dividend distribution was always
          at least equal to the purchase price of the stocks. The purpose of a forward hedge is precisely to offset the
          loss in the value of the stocks by a corresponding increase in the value of the hedge.

          Thus, the gain realized by the pension plan does not derive from the reimbursement. The reimbursement
          only covers the loss in stock value. Instead, the gain arises either from a profit realized on the stock lending
          (if the stock lending fee exceeded the interest payable on the cash collateral), from the sale of the stocks or
          from the settlement of the forward contract.

          The reason why the accounting gives the impression that the benefit of the pension plan was the
          reimbursement (see the Danish Tax Agency’s summary submission in the
          August 09, 2019, § 4.2, page 24), is that the pension plan in principle closed its positions when the gain that
          the pension plan could realize under the stock lending, stock sale and/or forward contract was equal to the
          value of the reimbursement. If the pension plan would let the investment run its course,




Case No. XX-XXXXXXX                                     Page 156/239
  Case 1:18-md-02865-LAK                    Document 836-47                    Filed 06/27/22         Page 114 of 462



        the pension plan could risk realizing a loss: namely, in the event that the reimbursement would not be paid
        out.

        2.4.2.8 Summary of the business model and transactions

        In the present case, the pension plan purchased the Danish stocks before the ex-dividend date, i.e. before
        the dividend was deducted from the stock. It became the owner of the stocks and the dividend on the basis
        of a final and binding agreement to purchase the stocks.

        This agreement was reached by electronically matching the pension plan's purchase order with a sales order
        from a broker. The pension plan paid 100 percent of the current market price before the dividend was
        deducted from the value of the stock. The purchase price thus included 100 percent of the gross dividend.

        Since the pension plan had access to a double tax treaty entitling it to a dividend tax reimbursement, the
        stocks also had this value for the pension plan, even though it only received the net dividend on its account
        with its custodian on a first-name basis.

        The stocks were paid three and four days after purchase by lending the stocks after the dividend date and
        thereby receiving a cash collateral equal to the purchase price of the stocks. The individual stock loans were
        drawn under the GMSLA, which was concluded prior to the stock deal as a framework agreement. The
        terms of each stock loan were determined by e-mail correspondence. The e-mail correspondence is
        attached as Appendix 80.

        The economic risk associated with the transaction was managed using a forward hedge (in 2012 futures
        were used for the same purpose). On the same day as the stocks were purchased, a forward hedge was
        entered into on the sale of the stocks at a later date at a fixed price. However, in neither case were the
        stocks delivered under the forward hedge. The forward hedge was always offset. This eliminated the risk of
        losing ownership of the stocks when the hedge was entered into.

        To illustrate the progress of the transactions in the dividend arbitrage carried out by the pension plan,
        please refer to the timeline below. The timeline further illustrates that the pension plan could not possibly
        have sold the "same" stocks under a forward contract that they had just purchased that day, even ignoring
        the fact that the forward was generally settled by difference settlement and that stocks were never
        delivered under the forward contract.

           Date          6/1                  6/5                      7/26           7/30              8/30



                   Stock Purchase              Settlement              Stock            Settlement
                                                                        Sale



                                                            Maturity                                 Settlement of forward
                         Forward                                                                       sales of shares by
                          Sales                                                                      delivery or difference
                                                                                                           settlement



                                            Stock loan             Stocks          Stock loan
                                            made                                   ended


                                                                                                      Settlement of forward
                                                                                   Maturity           purchase of shares by
                                                                   Forward
                                                                                                      delivery or difference
                                                                  Purchases                                 settlement




Case No. XX-XXXXXXX                                      Page 156/239
  Case 1:18-md-02865-LAK                     Document 836-47                  Filed 06/27/22             Page 115 of 462



        It was the difference between the price of the stock on the spot market and the price of the stock on the
        forward market that prompted the pension plan to buy the stocks immediately before the dividend
        payment. The trader of the pension plan could see that the selling price on the forward market was not as
        far below the spot market price as the gross dividend would mathematically be. This may be due, among
        other things, to the fact that sellers who wish to buy back the stocks after the dividend date are offering
        more than normal for the stocks, as the dividend on their stocks is taxed at 27 %, and these sellers may
        therefore offer a higher price for the forward than other buyers. The reason for this is an increased demand
        from the market to buy stocks after the dividend date (e.g. from those who have sold the stocks before the
        dividend date).

        By buying the stock, receiving the net dividend and a reimbursement of the withheld dividend tax, and
        selling the stock again at a lower price (the stock price falls after the dividend payment), the pension plan
        could realize a gain. It was this gain that was the purpose of the whole transaction - and what created the
        financial profit. The purpose of the transactions was thus not simply to obtain a reimbursement of dividend
        tax from the Danish tax authorities, as claimed by the Danish Tax Agency. On the contrary, the subsequent
        reimbursement of withheld dividend tax merely ensured that the transaction was tax neutral for the
        pension plan.

        Dividend arbitrage is thus nothing more than a normal arbitrage transaction. The only special feature of
        dividend arbitrage is that it is carried out around the date of the distribution of the dividend. It is precisely
        the fact that the company intends to pay a dividend that upsets the markets (spot and forward).

        Foreign investors who are not eligible for dividend distribution seek to sell their stocks before the dividend
        is distributed in order to buy them back from the markets after the distribution. (Danish) stockholders who
        would rather realize a profit that is taxable under the rules of capital gains tax than receive a stock dividend
        also seek to sell their stocks to the market before the distribution of the dividend. These stockholders may
        also buy back stocks from the market after the dividend date. And finally, there are pure speculators who
        believe that the stock price will not fall by the very amount paid in dividends which bring stocks to the
        market just before the dividend date. All these groups of investors cause movements in the market just
        around the dividend date. These movements are not identical in the spot and forward markets. The spot
        market price for the same stock may move differently from the forward market price. This creates the
        possibility of an arbitrage trade.

        The only reason that dividend arbitrage is called dividend arbitrage is that this arbitrage is undertaken
        precisely when the distribution of dividends brings particularly large movements into the market.

        Similar arbitrage trades are made throughout the year, as the spot and futures markets do not only diverge
        around the dividend date.

        However, the tax authorities are only interested in dividend arbitrage because it is carried out around the
        date of distribution of the dividend and thereby triggers dividend income for the arbitrageur with a resulting
        right to a reimbursement of withheld dividend tax under the applicable rules.

        After the pension plan had already described the dividend arbitrage in detail to the Danish Tax Agency in its
        2nd submission, it was the Danish Tax Agency itself that, in its 2nd submission of 18 January 2019, for the
        first time described dividend arbitrage as a "money machine." This concept is not that of pension plans, as
        the Danish Tax Agency again claims in the Agency’s summary submission in the preliminary proceedings of
        August 08, 2019, § 8.1.

        Incredibly, the Danish Tax Agency continues to deny the existence of profit arbitrage throughout its
        submissions (most recently in the summary submission in the Lead Cases of August 09, 2019, § 4.3, page




Case No. XX-XXXXXXX                                     Page 156/239
  Case 1:18-md-02865-LAK                     Document 836-47                 Filed 06/27/22             Page 116 of 462



        26). This, despite the much publicity this investment strategy has received under the term "cum ex" not
        only in the Danish but also in the international press, and the thorough study conducted by ESMA at the
        request of the European Parliament, see the European Parliament's proposal for a resolution on a common
        solution of November 2018, presented here as Appendix 81. When the Danish Tax Appeals Agency
        submitted its summary submission in the lead cases on August 09, 2019, ESMA's report on dividend
        arbitrage was already available. It therefore does not help the Danish Tax Agency’s case to deny the facts.

        It is also naïve to think that it is only the pension plans that realize a profit from the dividend contributions.
        However, it is only visible to the pension plans what profit they themselves realized from the business. After
        all, it is their business. Pension plans cannot possibly account for the business models and profits of
        independent third parties.

        Of course, pension plans do not have to stock their gains with the counterparties to the stock loan and the
        forwarder. That would have meant illegal cooperation between these independent market participants. The
        stock lender and the forward counterparty have commercial interests which are the opposite of those of
        the pension plans. They obviously do not co-operate and do not stock profits.

        After so many pages of descriptions of dividend arbitrage throughout the previous posts, it is also
        unfathomable that the Treasury still cannot or will not understand the role of pension plans. In its
        submission of August 09, 2019, § 4.3, page 27, the Danish Tax Agency lists the various actors without
        understanding the role of the pension plan.

        Thus, the partners are listed as follows:

            Party                           Service
            Seller                          Supplies the stocks
            Pension plan                    ?
            Buyer                           Receives the stocks
            Stock borrower                  Supply financing
            Forward purchase/sale           Hedges exchange rate risks
            Custodian                       Guarantees the solvency and completion of the transaction.

        The Tax Agency notes:

                  "As can be seen, each party - apart from the pension plan - is reportedly offering whatever is
                  necessary for the transactions to be carried out with the desired result. It goes without saying,
                  therefore, that all parties must have a share in the benefit before it makes sense for them to
                  engage in arbitration. Otherwise, there is no business rationale for them to participate in this
                  arrangement, which of course entails a number of risks, such as default by co-contractors and
                  insolvency of co-contractors."

        What the tax authorities refuse to accept is that the pension plan is the buyer of the stocks. There is no
        reason for the question mark next to the pension plan. The pension plan is the buyer of the stocks, since the
        pension plan has a favorable tax status which it uses to realize its gain.




Case No. XX-XXXXXXX                                    Page 156/239
  Case 1:18-md-02865-LAK                    Document 836-47                Filed 06/27/22            Page 117 of 462



         The other parties' business is not profit arbitrage. There is therefore no reason why they should share in
         the profit-sharing gains of the pension plan. It makes absolutely no sense that the buyer and seller of
         stocks or the buyer and seller of a forward contract should stock the gain realized on the transactions.
         Buyers and sellers never do.

         2.4.2.9 Examples of transactions at dividend arbitrage

         To illustrate the economics of the dividend arbitrage transactions undertaken by the pension plan, the
         following is a transaction undertaken by the pension plan. It concerns the purchase of an item of stocks in
         TDC A/S in 2015).

         A review of all pension plan transactions would show that the pension plan sometimes realizes a gain on
         the purchase and sale of the stocks, as in any other speculative investment.
         Sometimes, however, the gain was realized on the forward hedge. Here, the hedge worked precisely as
         intended: to offset the losses on the equity transaction itself. The fact that the gain occurred in such
         different ways is evidence of the reality of the transactions and that they were in no way centrally
         organized or controlled.

         Appendix 1 also shows a summary of all stock transactions carried out by the pension plan. It shows how it
         varies where the gain is realized: on the stock trade or the forward hedge. This is typical for dividend
         arbitrage transactions.

         A dividend arbitrage transaction can be divided into three transactions: a stock trade, a forward contract
         and a stock lending.

         Purchase/sale of stocks and the forward contract:

         On March 05, 2015, the pension plan issued a purchase order for 2,358,808 TDC A/S stocks at a price of
         DKK 54.00 per stock, totaling DKK 127,375,632.00. Payment, delivery of stocks and registration were
         scheduled to take place on March 10, 2015. As the purchase is concluded on the same date as the dividend
         distribution is decided, the trade is marked in the clearing system as a so-called "cum ex trade." This
         indicates to the custodians involved that a market claim will be realized after the settlement of the stock
         trade. This ensures that there are not two persons who both receive the dividend, receive a DCA and can
         thereby request reimbursement.

         Also on March 05, 2015, the pension plan entered into a forward contract (a financial contract) for the sale
         of 2,358,808 TDC A/S stocks at a price of DKK 53.00 per stock for settlement on June 19, 2015.

         On June 02, 2015, the pension plan entered into a new forward contract with the same settlement date,
         namely
         June 19, 2015 regarding the purchase of 2,358,808 TDC A/S stocks at a price of DKK 49.68 per stock. It
         therefore closed the open position and had a total gain on the forward of DKK 3.56 per stock.

         On June 02, 2015, the pension plan sold the stocks with a value date of June 04, 2015 at a price of DKK
         49.69 per stock, totaling DKK 117,209,169.52. The pension plan thus had a net loss of DKK -4.31 per stock,
         totaling DKK -10,166,462.48.

         The stock traders and the forward contracts together resulted in a total loss of DKK 1.5 billion. 0.75 per
         stock, for a total loss of DKK 1,774,059.50.




Case No. XX-XXXXXXX                                   Page 156/239
  Case 1:18-md-02865-LAK                    Document 836-47                Filed 06/27/22            Page 118 of 462



        Stock Lending

        On March 09, 2015, the pension plan issued an order for settlement on March 10, 2015 to lend 2,358,808
        TDC A/S stocks against cash collateral of DKK 54.00 per stock, totaling DKK 127,375,632.00. The pension
        plan thus received DKK 127,375,632.00 as security for the return of the stocks.

        The stock loan was terminated on June 02, 2015 with an effective date of June 04, 2015. This had the
        consequence that the stocks had to be returned. The stocks then had a market value of DKK 49.69 per
        stock, totaling DKK 117,209,169.52.

        This amount, plus the total amount of the current valuation adjustment, MTM, which amounted to DKK -
        10,166,462.48, had to be repaid to the stock borrower, totaling DKK 127,375,632.00.

        The stock borrower was thus guaranteed to receive the full amount of the cash collateral he had provided
        for the stock loan.

        In addition, the pension plan had to pay interest on the stock loan of DKK -213,000.36 and receive a fee for
        the stock loan of DKK 265,130.02, in total paying a net amount of DKK 52,129.66.

        Dividend and reimbursement payment

        The interim dividend had been adopted on March 05, 2015.

        The stocks were traded without dividend from March 06, 2015 (ex-date).

        Pay day, i.e. the day on which the dividend is paid, was March 10, 2015.

        The pension plan received the net proceeds in the form of a market claim, as the seller of the stocks was
        still registered as the owner of the stocks on the record date. The pension plans were not yet registered as
        owners of the stocks on the record date (March 09, 2015), as the settlement of the purchase did not take
        place until March 10, 2015.
        Record day is in Denmark the day before pay day. VP Securities therefore immediately paid the dividend to
        the former owner, who was still registered as owner of the stock with VP Securities, on March 09, 2015. In
        accordance with the so-called "market claim process,” the seller's custodian is obliged to debit the dividend
        from the seller and credit the dividend to the buyer (or forward the dividend to the buyer's custodian so
        that he can credit the buyer's account). It is therefore the buyer of the stocks who receives the dividend and
        is entitled to a reimbursement.

        The gross dividend paid by TDC A/S was DKK 1.00, in total DKK 2,358,808.00 for the pension plan stocks. The
        net dividend amounted to DKK 1,721,929.84 and the dividend tax to DKK 636,878.16.

        The payment of these two amounts to the pension plan merely offset the loss incurred by the pension plan
        on the ex-date, as the stocks lost the corresponding amount in value on that date. The reimbursement was
        therefore not the driving force behind the investments in the Danish stocks. The reason for investing in the
        Danish stocks was the price difference on the spot and forward markets triggered by the distribution of a
        dividend.




Case No. XX-XXXXXXX                                  Page 156/239
    Case 1:18-md-02865-LAK                   Document 836-47                 Filed 06/27/22            Page 119 of 462



        3 THE PENSION PLAN BECAME THE LEGAL AND TAXABLE OWNER OF THE STOCKS

        3.1 The pension plan became the civil law owner of the stocks

        In principle, tax law is governed by civil law. This also applies to the question of acquiring ownership of
        stocks.

        It is a fundamental principle of the law of obligations in Danish law that ownership of a given asset is
        acquired when a final and binding agreement has been concluded between the parties, which is legally
        valid. This principle also applies to the acquisition of stocks.

        Ownership is acquired regardless of whether the buyer defaults on the obligation to pay the purchase price.
        For the same reason, there are rules allowing the seller to rescind the sale afterwards if the agreed
        purchase price is not paid, unless only an insignificant amount remains to be paid. These rules on
        subsequent rescission of a sale if the buyer does not pay the purchase price illustrate very clearly that
        payment of the purchase price is not a precondition for the transfer of ownership. If this were the case,
        there would be no need for rules on subsequent rescission in cases where the buyer does not pay the
        agreed purchase price.

        As the payment of the purchase price is not a condition for acquiring ownership, stocks are delivered (in the
        settlement process called settlement) only when the payment is made (according to the principle of
        "Payment versus Delivery" - DvP).

        The consequence is that:

x       Settlement of a stock trade, which takes place with the clearing and settlement agent, is not a prerequisite
        for acquiring ownership of a stock.
x       Evidence of a flow of funds from buyer to seller is not evidence that a buyer has acquired ownership of a
        Danish stock.
x       Evidence of a transfer of a stock from the seller's to the buyer's securities account is not evidence that a
        buyer has acquired ownership of a Danish stock.
x       The buyer of a stock is already the owner before the stock is registered in his deposit.
x       If a stock is sold so shortly before the dividend date that the stock is not yet registered in the buyer's
        securities account, the dividend will be paid to the wrong party via VP Securities and the underlying sub
        custodians. It is against this background that Article 19(1) of the Danish Sale of Goods Act declares the
        buyer of a stock entitled to receive the dividend (and thus to a reimbursement).

        Accordingly, the comments on § 23 of the Danish Capital Gains Tax Act (L78 of 16 November 2005, see
        Appendix 12) also maintain this position:

                  "The decisive factor for determining the time of disposal is when there is a final and binding
                  agreement on the disposal. For stocks traded on the stock exchange, the date of the stock
                  exchange note (trade date) will be taken as the basis.

                  In addition, the determination of the acquisition date may have an impact, e.g. in the context of
                  new legislation. Here too, the decisive factor is when there is a final and binding agreement on the
                  acquisition. For stocks traded on the stock exchange, the date of the stock exchange note (the
                  trade date) will be taken as the basis."

        The same is stated in the Legal Guide, § C.B.2.1.6.1.




Case No. XX-XXXXXXX                                    Page 156/239
  Case 1:18-md-02865-LAK                     Document 836-47                  Filed 06/27/22             Page 120 of 462



        The trading date of a listed stock is thus the time at which buy and sell orders are "matched." This matching
        of buy and sell orders - which is done by an automated "handshake" on modern automated trading facilities
        - is referred to as the "execution of the trade."

        Also, the National Tax Agency leaves no doubt that the civil law ownership is acquired on the trade date,
        which is precisely not the settlement date, since in the decision of March 20, 2007 (SKM2008.831.SR) it was
        established that the trade date is after the placing of an order for the purchase of stocks, but before the
        settlement of the transaction:

                  "An order cannot be equated with a purchase [...]

                  [...] it is the trading date that must be taken into account when determining the time of purchase
                  or sale of stocks. The date of exchange is therefore not decisive. [...] This is true even if the value
                  date is only 1/4/2006 and even if the stocks were therefore not in the claimant's portfolio on
                  12/31/2005)."

        It is therefore clear, on the one hand, that a purchase order is not enough to become the owner of a stock.
        On the other hand, it is equally clear that the purchase need not yet be settled by entry in the purchaser's
        securities account. Payment for the stocks is therefore also not necessary in order to become the owner of
        the stocks, since the purchase price for the stocks must first be paid upon delivery (delivery versus
        payment) in accordance with § 72 of the Danish Securities Trading Act/§ 188 of the Capital Markets Act, i.e.
        upon entry of the stocks in the buyer's securities account.

        In the present case, the pension plan issued a purchase order to its brokers for the purchase of stocks.
        These orders were matched with sell orders received from other brokers. This matching is the purchase
        agreement itself, which is final and binding. The payment and registration of the stocks, confirming that the
        agreement was final and binding, took place three to four days later.

        It can thus be assumed in the decision that the pension plan was the civil law owner of the stocks at issue in
        this case.

        This civil ownership also gives rise to tax ownership, unless one of the exceptions developed by case law
        applies.

        In particular, in the context of stock loans, case law has held that the stock borrower becomes the civil law
        owner of the stock, but not the tax law owner of the stock. The stock lender continues to be the tax lawful
        owner of the stock until the stock is sold by the stock borrower to a third party.

        At the date of the dividend, the pension plan had not lent the stocks. The lending did not take place until
        three to four days later. Whether the stock borrower subsequently lent the stocks, kept them or sold them
        on to a third party, the pension plan cannot know. The pension plan therefore remained the legal owner of
        the stocks for tax purposes, even though a stock lending followed three or four days later.

        Similarly, the fact that the forward contract was entered into on the same day as the stocks were purchased
        does not mean that the pension plan lost its tax ownership of the stocks.

        3.2 Trading large stocks - short selling

        The Danish Tax Agency considers in the summary submission to the lead cases of August 9, 2019, § 4.1,
        pages 22-24, that unrealistically large stockholdings have been traded and that the pension plans cannot
        possibly have been the owners of the stocks in question for that reason. The Agency considers that it should




Case No. XX-XXXXXXX                                    Page 156/239
  Case 1:18-md-02865-LAK                      Document 836-47               Filed 06/27/22             Page 121 of 462




        be impossible to acquire such holdings in a single day. As an example, the Agency cites a sale of stocks
        worth DKK 3.9 billion that was sold through accelerated book building - not on the open market.

        Thus, the Agency correctly notes that large stockholdings are precisely not traded on the stock exchange.
        Alternative OTC markets are sought for large caps.

        If the tax authorities were to carry out a similar analysis of all trades made by, for example, Danske Bank,
        Deutsche Bank, Citibank or Blackrock, the tax authorities would arrive at similarly large trades in stocks.
        Unimaginably large amounts of stocks are traded every day by all major players in the market.

        Since it can indeed be difficult to obtain large holdings of stocks, it is evident that among the stocks bought
        by pension plans there must logically have been a number of stocks sold by short sellers. Which and how
        many stocks came from long owners or short sellers is impossible to say. But this is true for any buyer of
        stocks. No one can know from whom he buys a stock. Neither by exchange trades nor by OTC trades.

        3.2.1 Introduction to short selling

        Short selling is not regulated in Denmark, with the exception of rules prohibiting uncovered short selling
        and some flagging rules.

        According to a note dated April 10, 2018, from the Danish Financial Supervisory Authority regarding short
        selling in Denmark, which is presented as Appendix 82, short selling, according to the Danish Financial
        Supervisory Authority's own definition, means the sale of a stock that the seller does not own at the time of
        sale, as opposed to a regular securities trade, where the seller owns the security being sold.

        It is internationally recognized that a short seller is considered covered if he only has a framework stock
        loan agreement in place at the time he sells the stocks he does not own. Such a framework agreement is a
        GMSLA. A person who wishes to sell stocks which he does not own simply has to ensure that he can deliver
        the stocks at the time of delivery. In the short selling industry, this is also known as a "localization
        agreement": the short seller must be able to locate the stocks covering his sale so that he can deliver at the
        time of settlement. In the words of the FSA, see Appendix 82, page 2, a short seller must

                  "that is, before the sale, have been in a position to borrow the paper or have secured in some
                  other way a transfer of ownership of the paper."

        "Being able" to borrow is not the same as already having borrowed. This is why the Financial Services
        Authority talks about the short seller simply having to ensure that he can transfer ownership.

        In other words, the short seller does not have to enter into a specific agreement to borrow a certain
        number of stocks before the sale is made, as postulated by the Danish Tax Agency in its submission of
        August 9, 2019, as such an agreement would make the short seller the civil law owner of the stock. He
        would thus no longer be a short seller at all, but a "long owner seller." Short selling can therefore (legally)
        only occur in the form of sales under stock loan framework agreements (unless short selling is carried out by
        so-called "market makers" - banks authorized to engage in uncovered short selling).

        Since a short seller only needs to be covered by the conclusion of a framework agreement for stock lending,
        short selling has the consequence that a short seller increases the number of stocks traded and thus the
        number of stocks for which final and binding agreements to purchase are concluded. All the buyers of these
        stocks become, under the general rules of the law of obligations, the owners of the stocks acquired.




Case No. XX-XXXXXXX                                   Page 156/239
  Case 1:18-md-02865-LAK                                Document 836-47                     Filed 06/27/22                  Page 122 of 462




        Thus, the FSA also highlights in Appendix 82, page 6:

                          "Similarly, short selling allows market makers to offer their clients (retail as well as institutional
                          clients) to buy a security even if the market maker cannot obtain the security from its own
                          inventory or through the market at the time of the client's order." (our emphasis)

        Short sellers can, in effect, sell an unlimited number of stocks as long as they have stock loan localization
        agreements (GMSLAs) that allow them to deliver the stocks sold. Thus, at the beginning of 2018, the value
        of short positions in Danish listed stocks was approximately DKK 25 billion, equivalent to about 1 percent of
        the total value of the Danish listed stock market. And these figures only include short positions, each of
        which was reportable. If the ultimate sellers of the stocks sold to the pension plans were in part short
        sellers, they do not necessarily need to appear in these statistics if each short seller's net position did not
        exceed 0.2 percent of the stock capital issued by the company.




       Figure 3: The value of net short positions in Danish listed shares has increased
       sixfold since 2103
                   30                                                                                                 1.2



                   25                                                                                                 1.0




                                                                                                                             Percentage value of the Danish stock market
                   20

          .....:
           "'
          ":iE15                                                                                                      0.6



                   10                                                                                                0.4



                    5                                                                                                0.2




                         ---                                               ---
                    0                                                                                                0.0
                        2013            2014                2015       2016              2017               2018




                        --                                                 --
                               Banking                                               Chemicals
                               Construction and materials                            Foods
                               Health                                                Industry
                               Insurance                                             Oil and gas
                               Consumer goods                                        Housing
                               Retail                                                Technology
                               Telecommunications                                    Supplies
                               Market value share (Right)


          Note: The figure shows the market value in Danish kroner of net outstanding short positions above 0.2% of the issued share capital in
          Danish listed shares broken down by sector of the issuing company and the relative size compared to the total number of shares in
          the issuing company as against the total market. The sector breakdown is determined on the basis of GICS codes.
          Source: FSA (Finanstilsynet)




Case No. XX-XXXXXXX                                                Page 156/239
  Case 1:18-md-02865-LAK                    Document 836-47                 Filed 06/27/22            Page 123 of 462



        No one can distinguish between stocks sold by a short seller and stocks sold by a real stockholder (long
        owner). The number of stocks available for trading thus increases (temporarily) in the case of short selling
        to a number exceeding 100 percent of the issued stocks. It is only at the settlement of the stock trades that
        this excess number of stocks traded is brought back to the actual number of stocks issued by the company.
        The total quantity of dematerialized stocks will always be correct at the time of settlement, when the short
        seller has to deliver the stocks sold, by drawing stocks under the stock loan or making a covering purchase
        on the market.

        It is thus possible that more Danish stocks are traded on the market than the number originally issued by the
        companies. Short selling has precisely the typical - and also often desired by central banks and financial
        supervisors (cf. the Financial Supervisory Authority's report on short selling, see Appendix 82, pages 5-6)
        - consequence that there are more stocks available on the market than originally issued.

        Under Danish law, the transfer of ownership is completely separate from the settlement of a stock deal.
        Moreover, it is irrelevant for the question of ownership whether (1) a stock trade is settled physically (by a
        "de-registration" of the seller and a "registration" of the buyer with VP Securities or another custodian) or
        whether the trade (2) is settled using netting (with the consequence that a net report maynot be sent to VP
        Securities at all - if the net result is 0).

        3.2.2 Short selling creates more stocks until the trades are settled (settlement)

        When a short seller sells stocks under a Master Stock Lending Agreement (GMSLA), he either creates more
        stocks than the company has issued, or expressed differently, double ownership of one and the same stock
        arises: the stock lender who has not yet lent the stock under a specific stock lending agreement (but has
        only entered into a Master Agreement for a potential lending) is still the civil law owner of the stock. At the
        same time, the buyer acquires civil law ownership of a stock by the final and binding agreement with the
        short seller.

        It is only at the settlement of the trades (which usually takes place two days after the trade has been
        concluded by a final and binding agreement) that the number of owners is brought back to the number of
        stocks issued by the company, as no more than one owner of the same stock can be registered. It is this fact
        that we have tried to outline with the following illustration.

        The illustration shows an artificial world in which a company issues only a single stock. Thus, the owner can
        only sell a single stock.

        However, the illustration shows 3 short sellers bringing the total number of stocks in circulation up to 4
        stocks, even though only one stock can be delivered. The trade is still 4 stocks.

        In the situation illustrated here, several stocks become the subject of a final and binding stock purchase
        agreement, and there are thus four buyers who become owners of the stocks even though only one can
        have the stock delivered. There is thus a temporary "inflation" of stocks, as Unidroit puts it, on the trade
        date which disappears again on the settlement date.




Case No. XX-XXXXXXX                                   Page 156/239
  Case 1:18-md-02865-LAK                     Document 836-47                    Filed 06/27/22      Page 124 of 462




                                                      EU 909/2014 Art 37 Ill & Kap ML§ 192 II



                                            This Chart simulates a world of only 1 Share
                                       It explains why Free-Float temporarily exceeds 100%


                                                         Example M arket of l Share

                  Cum                                                     AGM                                  EX
                  T+ O                                                    T+l                                 T+2




                                          .,
                                         ......
                                         .....
                                                             ...
                                                  1 Settltment posSi'bh




        Thus, it is only until the liquidation of the stock dealers that there are more owners of Danish stocks than
        the number of stocks issued by the companies. Since no more stocks can be "physically" delivered than the
        company has issued, the double temporary ownership created by the short seller must cease when the
        stocks are to be delivered by electronic book-keeping (entries/registrations) with the custodian(s) involved.
        Whether settlement using netting can lead to an extension of the dual ownership beyond the time of
        settlement does not need to be discussed here, as the pension plan lent the stocks at the time the stock
        purchases had to be settled in order to pay the purchase price. The pension plan's civil ownership therefore
        also ceased with the settlement of the stock purchase, pursuant to the stock lending agreement they
        entered into by email. However, on the date of the dividend, the pension plan had civil law ownership of
        the stocks and was therefore also the proper recipient of the dividend, with the consequence that it was
        entitled to receive a reimbursement of the withheld dividend tax under the current rules on this subject.

        Which stocks have more than one civil law owner cannot be identified, as short sellers act under one or
        more stock lending framework agreements. GMSLAs are often concluded between (long owner)
        stockholders and stock loan intermediaries on the one hand and short sellers and stock loan intermediaries
        on the other hand. The stockholder who lends his/her stock does therefore not necessarily know the short
        seller. The stock lender who makes his stock available for a potential or actual loan also does not know the
        ultimate stock borrower and his motivation, much less whether the ultimate borrower is a short seller at all.

        The short seller only relies on the master agreement (GMSLA) - often only by e-mails that maintain the
        concrete terms of the specific stock loan - if and when he has to deliver the stocks during the clearing and
        settlement process. If the short seller buys stocks from the market again before he has to deliver the stocks
        he originally sold and he agrees a shorter delivery time for the stock purchase than for the stock sale




Case No. XX-XXXXXXX                                    Page 156/239
  Case 1:18-md-02865-LAK                    Document 836-47                 Filed 06/27/22            Page 125 of 462




        (in the case of OTC orders, the delivery period can be freely agreed), the short seller never has to withdraw
        any stocks under the GMSLA. He has nevertheless transferred ownership of the stocks to a buyer.

        Thus, on the day of delivery, the short seller offsets the excess number of stocks over the number of stocks
        issued (free float is brought back to normal) by making a covering purchase so that no one "discovers" that
        the short seller has sold stocks he did not own. If the short seller did not succeed in making such a covering
        purchase, it would be obvious that there had been more owners of stocks than the number issued. He must
        therefore draw on the GMSLA, bringing the stock lender's ownership to an end. However, this does not
        alter the fact that there have legally been two owners for a period of time. Who continues to be the owner
        will be decided according to the rules of substantive law, including the rules on observance of security
        deeds and vindication/extinction. It is precisely in -
                                                             this
                                                               -context that the delivery of the stock plays a role
        under Danish law. The person who has the stock registered in his deposit has a secured legal position as
        owner. Until delivery, the ownership acquired by the buyer is not protected against extinction. The buyer
        has nevertheless acquired ownership of the stock.

        In other words, during the period between the sale of the stocks he did not own and the cover purchase (or
        the loan of the stocks under a specific loan agreement), the short seller transferred ownership of the stocks
        by a simple purchase contract to a buyer who cannot know that the seller is a short seller. In doing so, the
        short seller de facto creates more owners of Danish stocks than the company has issued. This can only be
        prevented if the actual transfer of ownership of stocks requires delivery of the stocks.

        However, such a requirement does not exist in Danish law. In Danish law, the delivery of the stocks, which
        takes place during the settlement process and which leads to the registration of the ownership with the
        custodian of the buyer, is merely declaratory.

        In this respect, Danish legislation differs significantly from, for example, German legislation. Under German
        law, the delivery of the stock from the seller's depository to the buyer's depository is necessary for the
        buyer to become the owner. As this is not necessary under Danish law, Denmark - also according to German
        Prof. Dr. Christoph Spengel from the University of Mannheim - has made it extremely easy for short sellers
        to create more stocks than the number of Danish stocks issued by the companies.

        The professor believes that Denmark is suffering from a legal problem that legislation and legal practice have
        created.

        It is quite obvious that the tax authorities are trying to rely on German rules and case law on the acquisition
        of stocks to solve the problems arising from short selling. The tax authorities are trying to do this without
        any legal basis. There are no rules in Denmark requiring the delivery of stocks in order to acquire ownership,
        quite the contrary.

        3.2.2.1 The Tax Agency's views on the "short buyer"

        In its summary submission of August 09, 2019, the Danish Tax Agency presents in § 8.3, page 69, a chain that
        would reproduce short selling:

        Owner/stock lender à Stock borrower/short seller à "Short buyer"

        This chain correctly represents how a stock is delivered. However, it does not represent how ownership is
        transferred.

        In presenting this chain, the tax authorities seem to want to introduce the (new and fictitious) figure "short
        buyer." In reality, there is no such thing as a 'short buyer'. The introduction of dematerialized stocks and the




Case No. XX-XXXXXXX                                   Page 156/239
  Case 1:18-md-02865-LAK                      Document 836-47                  Filed 06/27/22             Page 126 of 462



        anonymous way in which these are traded has made it impossible to follow a particular stock from a particular
        seller to a particular buyer. Stocks exist only as numbers in computers, and when these numbers can be netted
        against each other during the settlement process (called "netting"), so that each financial firm transfers only
        the net sum of all purchases and sales made by its customers to the next financial firm, it is impossible to
        follow a particular stock from seller to buyer. There is no "short buyer" equivalent to a short seller.

        A short seller is only a short seller if he is not the civil owner of the stock. The civil owner of the stock is the
        long seller. At the moment the short seller enters into a concrete stock loan with the owner of the stock,
        the stock borrower becomes the civil law owner of the stock. In other words, the short seller is only "short"
        as long as he is either (1) uncovered (which is allowed for a so-called "market maker"), or (2) "only" covered
        by a GMSLA, but has not yet drawn (= borrowed) a concrete number of stocks under a GMSLA. When the
        stocks are drawn by a specific stock loan under the GMSLA, the short seller becomes the long owner. Short
        selling is therefore only possible as long as there is "only" a GMSLA under which no stocks have yet been
        drawn. When a short seller draws stocks under a GMSLA, he draws stocks that the company has issued. The
        existence of the GMSLA covers the short seller and makes his sale legal (since he is not "uncovered"), but at
        the same time this short selling results in more stocks being traded than have been issued by the company.
        There are more stocks on the market to trade than issued by the company.

        If the Danish Tax Agency were correct in its argumentation, short selling would exist exclusively in the form
        of extended short selling (by market makers).

        The reason why the short seller can transfer ownership of something he does not own (civil and legal
        ownership) is that the short seller can legitimize the transfer of ownership of the stocks by being able to
        exclude the risk of a "fail" of the trade, i.e. that the trade does not settle. The short seller can exclude a
        failure by (1) having a GMSLA that allows him to borrow stocks for delivery, and
        (2) have a clearing agent and custodian who - in case of emergency - is obliged to guarantee the delivery of
        the stocks during the settlement of the trade. The short seller's lack of title to the stocks still held by the
        stock lender at the time of the sale does not result in the buyer, acting in good faith on the seller's
        ownership, not acquiring ownership. Rather, ownership of the stocks by the stock lender is acquired by the
        purchaser acting in good faith. This exclusion is justified by the fact that the stock lender has exposed itself
        to the risk that the stock borrower disposes of the stocks by entering into a GMSLA.

        How the buyer acts in good faith on the short seller's right to assign legitimate- right ownership to assets he
        only borrows later can be illustrated as follows:




Case No. XX-XXXXXXX                                     Page 156/239
  Case 1:18-md-02865-LAK                    Document 836-47                 Filed 06/27/22            Page 127 of 462




                                   (Solo) Settlement for Danish Shares
                                                    post Oct. 6~ 2014



               Day 1               Day2                Day3                    Day 4                   Dayx



                   T-0              T+1                 T+2                     T+3                       T+ X
                Cum-Day            Ex-Day           Record-Day                Pay-Day              Unwi nd-date


          Fiscal-OVmer
                                                                           Sett Iement-D•ay
          Legal-Owner
                                                                              Delivery
          Buyer in ,.good faith"
                                                                            Marf<et daim


          Buy shares                                                                                  Sell Shares


          Forward contract                                                                              Forw ar d
                                                                                                        contract

                                                    Stock Loan Email
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                                                    Legal-Ownership
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                                                    of s.hort-seller


        The correct chain to illustrate the transfer of ownership should therefore look as follows:

                  Owner/lender à Bona fide purchaser

        If a non-owner seller could not transfer ownership, the rules on acquisition of ownership in good faith
        (vindication/extinction) would not exist at all. Since the dual ownership of the stocks ceases - or to put it
        another way: the number of stocks owned is brought back to the number of stocks issued by the company -
        when the stocks are delivered and registered in the buyer's securities account, short selling does not lead to
        problems of extinction. When the short seller enters into an agreement to borrow a specified number of
        stocks under a GMSLA, he becomes the owner of those stocks and delivers them to his purchaser of the
        stocks.

        Increasing the number of stocks traded by short selling is precisely one of the effects of short selling desired
        by the FSA. Reference can therefore be made to both the FSA publication on short selling (see Appendix 82)
        and the ESMA report on dividend arbitrage (see Appendix 83). ESMA makes it quite clear that a legal claim
        for reimbursement should depend on the receipt of a net dividend and not on the ownership of a stock, as
        short selling has precisely the consequence that more stocks are traded than issued by the sellers. When
        the trade itself is sufficient to acquire ownership, short selling has fatal consequences for the tax system.
        ESMA makes no secret of the fact that a DCA (dividend credit advice) is the correct document with which to
        prove a legal claim for reimbursement, but that this DCA should not depend on the ownership of the stock,
        but on the receipt of the dividend.

        The Danish Tax Agency seems to base its entire theory that there should be no "reality" in the stock
        transactions carried out on the fact that the stock transactions should have been carried out as short selling.
        In so doing, the Danish Tax Agency overlooks the fact that short sales are also real stock transactions and that
        the supply chain is not identical with




Case No. XX-XXXXXXX                                   Page 156/239
  Case 1:18-md-02865-LAK                    Document 836-47                 Filed 06/27/22             Page 128 of 462




        the chain of transfer of ownership, as the supply chain only takes place several days after ownership is
        transferred. The tax authorities consistently overlook the fact that an unlimited number of stocks can be
        traded and that only the number of stocks that can be delivered is limited by the number of stocks issued by
        the companies

        3.2.2.2 Consequence of multiple stocks as a result of short selling (until settlement)

        The fact that short sellers may create more owners of stocks than the number of issued stocks in the period
        between the purchase agreement and the delivery of stocks only leads to problems if and when short
        selling occurs around the dividend date. The purchase contract then makes a person entitled to dividends
        even if he is not yet registered as an owner, cf. § 19(1) of the Danish Sale of Goods Act: the purchase of
        stocks includes the dividends which were not due at the time the purchase was concluded.

        This has the consequence that the purchaser must be credited with the net dividend on the dividend
        payment date, irrespective of when the registration of the stocks takes place on his deposit. If the payment
        date is earlier than the registration date of the stock with the custodian, the seller of the stock must pay the
        net dividend to the buyer (the short seller pays a compensation payment during the "market claim process"
        to the buyer). This compensation payment is not subject to withholding tax under Danish tax law, even
        though it is in fact the payment of a dividend to the civil law owner of the stock. Since the buyer of the stock
        is the owner on the dividend date and receives the net dividend on the payment date, he is also entitled to
        a reimbursement.

        If the payment date of the dividend is after the record date of the stock sale by a short seller, the stock
        lender is entitled to the compensation payment under the GMSLA. In this case, the stock buyer receives the
        dividend directly from the company (where dividend tax is also paid), but the stock lender receives the
        compensation payment from the short seller, on which Denmark does not levy withholding tax, despite the
        fact that it is considered a dividend for economic and tax purposes.

        However, the temporary dual ownership of the stock between the sale and the delivery of the stock only
        has consequences for the payment of dividends and their taxation.

        As cumulative legal ownership ends when the stocks are to be delivered, only one stockholder per stock will
        always be entitled to vote at the general meeting, the right to vote requiring that the registration of the stock
        be evidenced by a statement from the respective custodian.

        The Danish Tax Agency’s assertion in its summary submission in the drivers' cases of August 9, 2019, that

                  "If there could be multiple owners of the same stock, it would also mean that more
                  than 100% stockholders could attend and vote at the company's AGM."

        is obviously not correct.

        3.2.2.2.1 Lack of withholding tax on compensation payment

        The Ministry of Taxation and the Danish Tax Agency have clearly identified short selling as one of the main
        problems in the dividend tax cases, as stated in the Early Warning issued in 2015.

        As long as no dividend tax is levied on the compensation payment that a short seller has to pay to the
        person who buys the stock on the record date (the date on which the dividend is legally acquired and thus
        entitled to a reimbursement), but who only becomes registered as owner after the record date, there will
        be no dividend tax payment. Since the buyer of the stock (or any other person) cannot tell the difference
        between a stock bought by a short seller and a stock bought by a long owner, the short seller, who sells on




Case No. XX-XXXXXXX                                   Page 156/239
  Case 1:18-md-02865-LAK                                  Document 836-47                   Filed 06/27/22              Page 129 of 462



        the date of the general meeting, will have to pay a compensation payment into the chain of custodians and
        finally down to the buyer equal to the net proceeds of the stocks. All purchasers of stocks, including those
        who purchase the excess number of stocks outstanding, receive a net dividend and a DCA and are eligible
        for reimbursement as owners of the stocks and recipients of a net dividend.

        Since no one other than the short seller itself and its immediate custodian knows, can see or can recognize
        that a payment in fact does not come from the company itself, but from a short seller, it is necessary to tax
        the compensation payment. Already at the first sub-custodian in the chain of custodians, all net proceeds
        from the company itself are irrevocably mixed with the compensation payments from short sellers. No one
        in the chain of custodians is able to confirm to the buyer of the stock whether the amount credited to his
        account (the net proceeds) actually originates from a short seller or from the company.

        This is also reflected in the fact that neither the buyer of a stock - nor any other human being - can tell
        whether the stock he has bought and is being delivered originates from a short seller or from a long owner.
        It is quite possible that the very "stock" that the buyer gets registered in his securities account due to
        netting in the settlement process was previously registered with a completely different customer as the
        same custodian. The buyer does not receive the specific stock sold to him by "his" seller, but any stock from
        the same company, as stocks are commodities.

        At the office meeting, the following sketch was presented, showing this problem in graphic form:



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                                                                                   Short Seller
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        The sketch shows that both stocks and also the dividend payment from the company itself (shown with
        black arrows) are mixed with stocks/compensation payments originating from a short seller (shown with
        red arrows). While the short seller can only fulfil its obligation to deliver stocks with stocks issued by the
        company, the "dividend" received by the buyer can just as well be a compensation payment from a short
        seller. Since the requirement to pay the dividend already arises with the purchase of the stocks, the short
        seller has to create a "dividend" - over and above what the company has paid. This dividend from the short
        seller is called the compensation payment.




Case No. XX-XXXXXXX                                                   Page 156/239
  Case 1:18-md-02865-LAK                   Document 836-47                Filed 06/27/22            Page 130 of 462




        Germany recognized the problems of compensation payments already in 1999 (by a BFH ruling) and
        introduced a withholding tax on compensation payments in 2007. In 2012, the withholding tax rules were
        changed again as it became clear that the debtor obliged to withhold and report withholding tax on
        dividends also had to be changed. To date, however, Denmark has done nothing to remedy this
        shortcoming. In Denmark, the withholding tax law (§ 65) is still in force, according to which it is the
        distributing company which is obliged to withhold and report the dividend tax, and the compensation
        payment from the short seller is not taxed at all.

        3.2.2.3 Tax ownership of stock lending - double ownership in addition to settlement

        In addition to the problems created by the fact that a purchaser acting in good faith may acquire ownership
        of stocks still held by a stock lender, the practical handling of stock lending and the case law on stock
        lending and beneficial ownership give rise to further problems concerning the identification of the
        beneficial owner for tax purposes and thus a risk of double reimbursement, as reimbursement may be paid
        to a stock lender who is no longer to be considered as the beneficial owner of the stocks for tax purposes.

        3.2.2.3.1 Case law on beneficial ownership for tax purposes in stock lending

        In the case of stock lending, the stock borrower is registered with VP Securities as the new owner of the
        stock. However, this civil law categorization of the stock loan, as expressed by VP Securities, does not
        correspond to the tax law categorizations of stock loans.

        From a tax point of view, ownership of stock loans is not transferred from the lender to the borrower (cf.
        SKM2010.266.SR). Thus, there is no assignment in the case of stock loans concluded under the Danish
        standardized stock loan scheme, Morgan Stanley & Co International Limited - Overseas Securities Lender's
        Agreement or Overseas Securities Lenders Association, Global Master Securities Lending Agreement
        (GMSLA).

        The lender retains all its rights, etc. arising from the stocks. However, the borrower has certain powers of
        disposal over the stocks, since the loan agreement generally requires only the return of the stocks at a
        certain time in the future. Until that time, the borrower may dispose of the stocks in full, including
        transferring them to third parties. However, the borrower must pay the lender an amount equal to the
        dividends paid by the company during the term of the stock loan (compensation payment). At the end of
        the loan period, the borrower must return stocks of the same quantity and type. The lender is thus placed in
        the same position as if the stocks had been in his possession throughout the period of the loan. He is
        therefore regarded, from an overall view of the stock loan arrangement, as the owner of the stocks for tax
        purposes. This result is reached by Danish Tax Agency, tax experts and the Danish National Tax Tribunal.

        Since the stock lender does not lose the tax ownership of the stocks upon lending and, accordingly, he is
        also entitled to receive the dividend under the GMSLA, the stock lender is also entitled to the dividend
        reimbursement.

        Since the sale of dematerialized stocks takes place anonymously (via brokers) and all the service providers
        involved in a transfer transaction mix all the stocks transferred between all their customers, a buyer of a
        stock cannot know whether he is buying and receiving a stock from a long owner (who has the stock in his
        securities account) or whether he is buying the stock from a short seller who has only been able to borrow
        the stock.




Case No. XX-XXXXXXX                                  Page 156/239
  Case 1:18-md-02865-LAK                                                 Document 836-47                              Filed 06/27/22                                    Page 131 of 462




        This is in itself for 364 days a year also not relevant. It is only at the moment when the company pays out a
        dividend that it becomes a problem, when the tax authorities, case law and literature consider the stock
        lender to be the tax owner of the stock.

        When the buyer cannot know whether the seller is a short seller who is only borrowing the stock, the buyer
        must necessarily become not only the civil owner of the stock but also the tax owner upon purchase of the
        stock. Since the buyer of the stock will be registered with VP Securities or any other sub custodian, the
        buyer will also receive a net dividend and be eligible for a reimbursement.

        Next to the stock lender, who has received a compensation payment from the stock borrower and is taxable
        as if he had received the dividend directly, there is the new owner of the stock, who also receives a
        dividend, is taxable and is entitled to a reimbursement.

        The case law on stock loans has thus created two tax owners of the same stock at the time of distribution.


         Owner 1                                                                                                                                                       Owner 2
                                                                                    VP-Securities pays




          0
                                                                                    net dividend
                        SKM 2010.266                                                                                   Purchase price including 100%
                                                                                                                       of gross dividend
                                                                73% of gross dividend


         Stock         Lends stocks, remains legal owner, receives net
                                                                                        Stock borrower
                                                                                                                Sells stocks to buyer who in good faith pays 100% of           Buyer (in good faith)
         lender        dividend under GMSLA (=compensation payment)                     Registered as Civil     the value of the stocks (ILLEGIBLE gross dividend)
                                                                                        Law owner on
                        Legal owner receives net dividend as “compensation              Record Day
                        payment”

                                                                                                                                                                             Reimbursement
                                73% of gross dividend                                                                                                                        with documentation



                                                                                                                                                                       ffi
          Reimbursement with                                                                                  73% of gross dividend
                                                                                                                                                                             Bank statement
          documentation
                                                                                                                                                                             Dividend note
           GMSLA                                                                    Recipient:
          Bank statement shows compensation
                                                                                    a) Net dividend from Company --- go to II as market claim
          payment = net dividend
                                                                                    b) 100% of sale price from buyer (inc. 100% of gross dividend) ---
                                                                                                   73% to stock lender as compensation payment
                                                                                                   27% of dividend retained by stock lender as Short seller profit



        3.2.2.3.2 Danish Tax Agency on tax ownership of stock lending
        Since short selling must be covered by a stock loan, all the problems recognized by case law, tax experts
        (Katja Dyppel Joo, see Appendix 2c) and Danish Tax Agency Law and Large Companies (see Early Warning
        2015 presented as Appendix 4a) lead to the problems mentioned in connection with short selling.

        As Danish Tax Agency Large Companies wrote to Danish Tax Agency Law in Early Warning on March 27,
        2015, VP Securities registers the legal owner as a rule. In the case of stock loans, the borrower is registered
        as the owner, whereby the lender is no longer registered as the owner. Subsequently, it is stated that in the
        case of stock loans, the legal owner/beneficial owner must be determined for tax purposes, cf.
        SKM2010.266.SR. The ruling states that an agreement to lend stocks cannot be qualified as a disposal for tax
        purposes. A lender is considered the beneficial owner of the stocks for tax purposes. Dividends distributed
        during the loan period are deemed to accrue to the lender and are therefore taxable.

        In the context of short selling, this has the consequence that the stock lender is still considered to receive a
        dividend, he is taxed on it, and consequently he must be eligible for reimbursement if he otherwise meets
        the conditions.




Case No. XX-XXXXXXX                                                                Page 156/239
  Case 1:18-md-02865-LAK                    Document 836-47                  Filed 06/27/22            Page 132 of 462




        At the same time, a purchaser acting in good faith, and not knowing that he is buying from a short seller,
        acquires ownership of the stocks, receives the dividend and is taxable thereon, with the consequence that he
        is also entitled to a reimbursement of withheld dividend tax under the applicable rules in this respect.

        Danish Tax Agency Jura's Early Warning of July 7, 2015, to the Ministry of Taxation is based on the Early
        Warning from Danish Tax Agency Large Companies. Danish Tax Agency Jura's Early Warning also states at
        the outset that the borrower is registered as the owner of the borrowed stocks under civil law, but that the
        stocks are not deemed to have been transferred in accordance with TfS 1999, 408. Thus, for tax purposes,
        the lender continues to be considered the owner of the loaned stocks. In SKM2010.266.SR, the National Tax
        Board agreed with Danish Tax Agency's recommendation that it is the lender who, according to the double
        taxation agreements concluded, is the beneficial owner of the dividends on the borrowed stocks when
        these are not sold by the borrower.

        The problem that arises is that, in principle, the stock lender cannot know why the borrower is taking out a
        stock loan, much less whether the borrower is reselling the stock. The stock lender must therefore assume,
        on the basis of SKM2010.266.SR, that despite the lending of the stocks he remains the rightful recipient of
        the dividend, liable to tax and entitled to reimbursement. At the same time, the buyer of the stocks
        becomes the legal owner of the stocks, the dividend therefrom and thus also entitled to a reimbursement.

        From a tax perspective, SKM2010.266.SR thus results in a double tax ownership of the same stocks. This, of
        course, only as long as the stock loan exists.

        Danish Tax Agency Law rightly states in the Early Warning that the tax treatment of stock loans in Denmark
        differs from the tax treatment of stock loans in the rest of the world. This difference gives rise to problems
        when Danish lenders or borrowers enter into stock loans with foreign lenders or borrowers.

        3.2.2.3.3 Ministry of Taxation on tax ownership of stock lending

        In its response to the Early Warning in relation to stock loans of 23 September 2015, the Ministry of Taxation
        distinguishes between two different situations when it comes to stock loans: (1) stock loans without resale to
        third parties and (2) stock loans with resale to third parties.

        3.2.2.3.3.1 Stock lending without resale to third parties The Ministry of Taxation describes this as follows:

                  "In a stock loan agreement between lender and borrower, notwithstanding the
                  lending of the stocks to the borrower, the lender will still be the beneficial owner of
                  the stocks for tax purposes and therefore also of the dividends"

        The Ministry of Taxation relies on SKM2010.266.SR, according to which dividends on loaned stocks are
        taxable to the lender. In the case of a foreign lender, the latter will also be entitled to seek a reimbursement
        of the excess dividend tax (see Appendix 4a, memorandum of September 23, 2015, page 6).

        When the Ministry of Taxation writes in the same memorandum that "Danish tax law does not provide for
        the possibility of crediting or reimbursing withheld taxes on dividends to parties other than the party
        considered for tax purposes as the recipient of the money from a company under Danish law,” this should be
        seen in the context that this only concerns cases of stock loans without resale to third parties.

        The Ministry of Taxation leaves no doubt as to the applicable law when the loaned stocks are not sold to
        third parties:




Case No. XX-XXXXXXX                                    Page 156/239
  Case 1:18-md-02865-LAK                    Document 836-47                 Filed 06/27/22            Page 133 of 462




        "It is the borrower who receives the dividend on the stocks. The borrower will usually compensate the lender
        for the dividend in the form of a so-called dividend compensation. If the gross dividend is transferred from
        the borrower to the lender as dividend compensation, the dividend compensation will generally have such a
        direct link to the dividends paid that the dividend compensation is taxed as dividends of the lender (cf.
        SKM2009.65.SR). Similarly, the borrower is not liable to tax on the dividends, as the borrower de facto
        merely receives the dividends on behalf of the lender. The distribution of the dividend thus has, as a rule, no
        tax consequences for the borrower."

        What the Treasury overlooks here is the fact that the borrower does not receive any gross proceeds at all,
        which he can pass on to the lender. Since the borrower only receives a net profit, it can also only be this
        amount that the borrower has to pass on to the lender. The reimbursement of the dividend tax must be
        claimed by the lender from the tax authorities on the basis of its tax ownership of the stocks. Such
        ownership is relatively difficult to prove as there is no register of stock loans. Only the borrower can prove
        his civil law ownership with a statement from his custodian.

        3.2.2.3.3.3 Stock lending with resale to third parties

                "In the event of resale by the borrower to a third party, the stocks shall not be deemed to have been
                disposed of by the lender for the purposes of determining the amount of the advance. This has to be
                seen in the context that the loan agreement between the lender and the borrower agrees that the
                borrower shall sell back the stocks, as the loan remains in force. However, as the stocks are a non-
                cash item, the sale is, so to speak, irrelevant for the lender in terms of profit. There is therefore no
                transfer tax on the lender.

                With the acquisition of the stocks by the third party from the borrower, the third party becomes the
                legal owner of the stocks and thus also of the dividend (see SKM2010.266.SR). The dividend is then
                taxed in the hands of the third party. It is thus the third party who is entitled to receive any
                reimbursement of dividend tax withheld.

                In cases where the borrower still has to compensate the lender for dividends that the borrower has
                not received due to the sale to a third party, the cost of the compensation for the dividends qualifies
                as a loss covered by the State Tax Act."

        As a result of the sale of the stocks by the borrower to a third party, the Treasury is of the opinion that the
        lender is no longer considered a current stockholder, that the compensation payment no longer qualifies as
        a dividend and that the stock borrower is no longer eligible for reimbursement. The third party that
        acquired the stocks from the stock borrower is entitled to reimbursement.

        3.2.2.3.3.3 Comments on the Treasury's view

                      The Treasury overlooks two fundamental aspects:

        1       The stock lender cannot know if and when a stock borrower sells the stocks, as they do not
        necessarily have any immediate contact with each other. Stock loans are intermediated by so-called stock
        loan intermediaries.
        2       The stock lender receives only the net proceeds from the stock borrower (this is fully in line with the
        GMSLA).

        Making the legal position of the stock lender depend on circumstances of which he has no knowledge and
        no influence would result in legal uncertainty that would destroy the Danish market for stock lending. When
        a stock lender can in practice neither know whether a stock borrower sells the stocks (and if so, when), or




Case No. XX-XXXXXXX                                   Page 156/239
  Case 1:18-md-02865-LAK                     Document 836-47                 Filed 06/27/22             Page 134 of 462



        whether the amount he receives entitles him to reimbursement or not, even if he receives only a payment
        equal to the net proceeds, his legal position cannot possibly be altered by the unilateral dispositions of the
        stock-borrower. This would be contrary to every principle of the rule of law.

        The position of the Ministry of Taxation is not legally tenable in case of resale of the stocks to a third party.
        When the case law under SKM2010.266.SR holds that the stock lender remains the tax owner of the stock,
        this must necessarily apply regardless of whether the stock borrower resells the stocks to a third party or
        not.

        The inter-ministerial working group set up in 2015 under the Ministry of Taxation also seems to recognize
        the problem, stating both in the publication "Danish Tax Agency out of the crisis,” see Appendix 4b, and also
        in the progress note of 26 June 2016, page 6, see Appendix 5a, that there is no set of rules in Denmark that
        ensures that it is possible to identify the beneficial owners for tax purposes.

        3.2.2.3.4 Literature on tax ownership of stock lending

        In the academic literature, Katja Joo Dyppel in particular has dealt with the consequences of stock lending,
        see Appendix 2a, in her article "Taxation of stock loans and repos" from 2013.

        She maintains that stocks transferred by way of a stock loan are generally not considered to have been
        disposed of for tax purposes and that the loan of stocks does not therefore give rise to a disposal tax.

        She also correctly notes that companies pay the dividend to the borrower of the stocks if the stocks are
        transferred to the borrower's securities account, or to a third party if the stocks are transferred to the
        borrower's securities account. However, under the standard loan agreements, the stock lender is entitled to
        any dividends distributed during the loan period and the borrower must compensate the lender for the
        dividends.

        In order for a payment to be considered a dividend for tax purposes, it is a condition that the payment
        qualifies as a distribution and that the recipient is a stockholder of the company making the distribution.
        This follows from § 16A of the Tax Assessment Act, which defines dividends as 'anything distributed by the
        company to current stockholders'. The decisive factor is therefore whether the lender or the borrower is a
        stockholder at the time of the distribution.

        Katja Joo Dyppel then makes a thorough analysis of the case law, which looks as follows:

        In TfS 2001, 146, the National Tax Assessment Council took a position on the tax qualification of dividends
        paid under a stock loan. Accordingly, the compensated dividend was to be taxed as ordinary income of the
        lender, regardless of whether the borrower continued to hold the stocks or had disposed of them. To the
        extent that the borrower received dividends from the company, these dividends were subject to dividend
        tax. If it is assumed for tax purposes that the stocks lent have not been transferred to the borrower and the
        lender's stockholder position has therefore not ceased, this decision is difficult to explain. Under § 16A of
        the Tax Assessment Act, the taxation of dividends presupposes the existence of a stockholder position, and
        the same applies in relation to § 4E of the State Tax Act. It seems reasonable to assume that a stockholder
        within the meaning of the Danish Capital Gains Tax Act is also a stockholder within the meaning of § 16A of
        the Income Tax Act, and since there is no disposal/acquisition under the Danish Capital Gains Tax Act, the
        practice seems difficult to justify.

        The consequences of the National Tax Assessment Council’s decision published in TfS 2001, 146 are set out
        in TfS 2001, 760, which considers whether compensated dividends from a stock loan are included in
        investment trusts' mini-major distributions. For investment funds which lend stocks, the lent stocks are still
        included in the investment fund's stockholding, but according to the National Tax Assessment Council,




Case No. XX-XXXXXXX                                    Page 156/239
  Case 1:18-md-02865-LAK                    Document 836-47                Filed 06/27/22            Page 135 of 462



        reimbursements of dividends received other remuneration shall not be included in the minimum
        distribution. The argument was that the minimum distribution only includes interest, dividends earned
        under § 16A of the Danish Income Tax Act and gains on financial contracts under §§ 29-33 of the Danish
        Capital Gains Tax Act, cf. § 16A of the Danish Income Tax Act. Since the dividends transferred from the loan
        to the lender were taxable as ordinary income, the National Tax Assessment Council did not consider this
        amount to be covered by the minimum distribution in § 16 C of the Tax Assessment Act.

        Later, in TfS 2002, 755, the National Tax Assessment Council took a position on the tax treatment of the
        borrower's right to deduct the payment of remuneration for the loan and compensatory dividends to the
        lender. With reference to Tfs 2001, 146, according to which remuneration and compensation for dividends
        are qualified in the case of the lender, irrespective of whether or not the stocks are sold on by the
        borrower, it is stated that similar considerations apply to the borrower. In this context, the National Tax
        Assessment Council notes that the possible sale of the stocks is therefore irrelevant for the borrower's
        ability to deduct the remuneration and compensation for dividends from taxable income.

        In relation to the tax treatment of dividends and compensatory dividends on the loaned stocks, the Danish
        National Tax Tribunal amended the answer given by the National Tax Assessment Council in TfS 2002, 755 in
        an order published in TfS 2004, 152. According to the Danish National Tax Tribunal, the tax treatment
        depends on how the borrower disposes of the borrowed stocks during the loan period, and is addressed in
        three scenarios:

        1       The borrower has resold the stocks and does not receive dividends, but must compensate the lender
        for dividends. The current consideration and the amount paid to the lender as compensation for the
        dividend are so directly related to the stock loan agreement that the expense must be included in the
        determination of the borrower's gain or loss on sale and purchase under the rules of § 4(f) of the State Tax
        Act.
        2       The borrower does not resell the stocks and does not receive dividends and therefore has no gain
        recognized, but still has to pay a fee for borrowing the stocks. The cost of the consideration is therefore his
        loss on the agreement and this loss is not deductible under § 4F of the National Tax Act in determining taxable
        income, but only in any other gains on similar agreements in the same year.
        3       The borrower has not resold the stocks but has received dividends for which he must compensate
        the lender. As the borrower has not become the owner of the stocks by virtue of the loan agreement or
        otherwise, he is not liable to pay tax on the dividends accruing to the lender under the GMSLA.

        It can be inferred from the Danish National Tax Tribunal's ruling that the tax treatment of the borrower's
        expenditure on remuneration and compensatory dividends depends on how the borrower disposes of the
        stocks during the period. It follows that, to the extent that the borrower compensates the lender only for
        the dividends received by the borrower, the borrower is not taxed on the dividends received, so that the
        distribution has no tax consequences for the borrower. The argument is that the borrower has not become
        the owner of the stocks and is receiving the dividends solely on behalf of the lender.

        In cases where the borrower has to compensate for dividends which he has not received, whether the
        stocks have been resold or not, the expenditure qualifies as a loss covered by the betting provision in § 4 F
        of the State Tax Act.

        In TfS 2009, 283, a position is taken on how the lender is taxed on compensatory dividends. With reference
        to the National Tax Tribunal's ruling, the National Tax Agency states that payments received for deficient
        dividends on loaned stocks are taxable as dividends for the lender, provided that the dividends accrue to
        the lender.

        However, for the compensatory dividend to be taxed as a dividend by the lender, it must be a condition
        that a distributed dividend is actually compensated. Thus, if no dividend is distributed, but the borrower has
        to pay a consideration, this can hardly be qualified as a dividend, since the consideration is not the claim




Case No. XX-XXXXXXX                                   Page 156/239
  Case 1:18-md-02865-LAK                      Document 836-47              Filed 06/27/22              Page 136 of 462



        that a distribution has been made in accordance with § 16 A of the Tax Assessment Act has not been
        satisfied. In such a case, the income is presumably taxable under § 4 of the State Tax Act.

        The decision of the National Tax Board in TfS 2009, 283 refers to situation 3 in the Danish National Tax
        Tribunal’s order, which concerns the case where the borrower has not resold the stocks but has received
        dividends for which the lender must be compensated. Thus, the taxation of the lender is not addressed in
        the situation where the borrower has sold the borrowed stocks and is still obliged to compensate the lender
        for the lack of dividends.

        Katja Joo Dyppel illustrates the situation as follows:



        Figure 4. Payment stream for compensatory dividend on resale

                                Loan of the                                Resale of securities
                                securities

          Lender of stock                             Borrower of                                  3 Men
                                                      stocks
                                Compensation for
           Owner of the         dividends                                                         Owner of securities
           securities


                                                                                                  Dividends




        What is different from the case where the borrower does not sell the borrowed stocks is that a third party
        (also) becomes the owner of the stocks, which is why there is dual ownership if the sale of the stocks by the
        borrower does not result in the lender being deemed to have given up its stockholder position.

        The consequence of the lender continuing to be considered a stockholder may be that the lender continues
        to be taxed under § 16A of the Tax Assessment Act on compensatory dividends received by the borrower,
        notwithstanding that the borrower compensates the lender for dividends distributed without the borrower
        having received them. At the same time, a third party will also be taxed on the distributed dividends it
        receives from the distributing company, pursuant to § 16 A of the Danish Tax Assessment Act. This dual
        ownership may thus result in the undesirable consequence of a situation where a larger amount is taxed
        on dividends than is actually distributed.

        Katja Joo Dyppel argues in her 2013 article that, alternatively, even if the lender is not considered to have
        disposed of its stocks at the time of the stock loan, the sale of the borrower results in the lender no longer
        being the current stockholder of specific stocks, but only having the right to receive in the future the same
        amount of stocks issued by the same company and with the same rights as those lent. This results in the
        lender no longer being considered a current stockholder and thus no longer eligible to receive dividends
        under § 16A of the Danish Tax Assessment Act, and the dividends are instead taxed under § 4 of the Danish
        State Tax Act. However, she believes that this may be correct, as it seems difficult to see how the lender can
        still be considered to be the actual stockholder under § 16 A of the Danish Tax Assessment Act when the
        stocks have been sold to a third party.

        Katja Joo Dyppel's alternative argumentation has the following consequence: if the borrower (of the stocks)
        has to compensate the lender for dividends distributed during the lending period, the tax treatment
        depends on whether the borrower has (re)sold the stocks to a third party or not. If the stocks have not been
        sold to a third party, the lender is deemed to be the current stockholder and is thus taxed on the dividends
        in accordance with § 16 A of the Danish Tax Assessment Act, without the distribution having any tax




Case No. XX-XXXXXXX                                    Page 156/239
  Case 1:18-md-02865-LAK                     Document 836-47                 Filed 06/27/22            Page 137 of 462



        consequences for the borrower. However, if the stocks are sold to a third party, the lender can, in Katja Joo
        Dyppel's opinion, presumably not be considered a current stockholder, which is why the compensatory
        dividend is taxed under § 4 of the State Tax Act, while the borrower has a deduction for the compensatory
        dividend only under the betting provision in § 4(f) of the State Tax Act.

        In this alternative argument, Katja Joo Dyppel overlooks the fact that in practice the lender cannot know
        what the borrower does with the stocks. Most stock loans are intermediated by stock loan intermediaries,
        who prevent any direct contact between the original stock lender and the final borrower. The stock loan
        intermediary is the contractual counterparty of the stock lender, and the stock loan intermediary can either
        lend the stock directly to another client or lend the stock to another stock loan intermediary. Whether and
        when a stock is sold on to a third party is in practice completely unclear to the original stock lender. In
        practice, the alternative model presented by Katja Joo Dyppel therefore does not work.

        The practical consequences for a stock lender would be that he can never know whether he is still the tax
        owner of the stocks or not, how he should be taxed on the compensation payment and whether he is
        eligible for reimbursement. The risk for the stock lender is so significant that in practice he would never be
        prepared to lend his stocks, as he would constantly be at risk of breaching tax law because of the actions of
        a stock borrower with whom he is not familiar.

        In a small national market where stock lender and borrower know each other, Katja Joo Dyppel's universal
        consideration model might work. In international stock markets, this model is doomed to fail.

        3.2.2.4 Conclusion: short selling has no impact on the tax beneficial ownership of the pension plan

        It is irrelevant to the pension plan's right to reimbursement whether a person who borrowed the stocks
        from the stock loan intermediary to whom the pension plan loaned their stocks resold the stocks, since the
        pension plan did not lend the stocks until after the vesting date of the dividend. Therefore, the tax lawful
        ownership of the pension plan cannot be affected by a resale to a third party.

        The point in time at which the dividend is acquired and thus the right to claim reimbursement is the point in
        time at which the dividend is declared, cf. the Legal Guide, § C.B.3.1 (The concept of dividends for tax
        purposes). The declaration of dividends will usually take place at the company's ordinary or extraordinary
        general meeting. For tax purposes, dividends are thus understood to be anything distributed by a company
        to current stockholders (cf. § 16 A(2)(1) of the Danish Income Tax Act).

        The pension plan purchased the Danish stocks at the latest on the day of the Annual General Meeting. It
        became the civil law and therefore also the tax owner of the stocks on the same day, since the stock
        purchase agreement is necessary for the transfer of ownership.

        The dividend was paid by the company (VP Securities) to the former owner of the stocks, who was still
        registered as owner of the stocks on the so-called record day. The company may pay the dividend to the
        person registered as the owner on the record day (cf. the Danish Securities Trading Act, Article 71(2)), even
        if that person is not (any longer) the rightful recipient of the dividend, with discharging effect vis-à-vis the
        current civil and tax law owner of a stock.

        The proceeds paid to the seller shall be debited from the seller's account and credited to the pension plan
        account. This is done through the custodians involved, who must settle this "market claim,” as the buyer's
        claim to the transfer of the dividend is called. The seller has no influence on this forwarding of the dividend
        to the beneficiary (the buyer).




Case No. XX-XXXXXXX                                    Page 156/239
  Case 1:18-md-02865-LAK                    Document 836-47                 Filed 06/27/22            Page 138 of 462




        If the pension plan purchased the stock from a long owner seller, that seller is charged the dividend he
        received by virtue of his registration on record day from the company. The amount is credited to the
        pension plan's account as soon as it is registered as the new owner of the stock by its custodian. It is only at
        that point that it becomes apparent in the chain of custodians who the true beneficiary of the dividend was:
        the pension plan, which was the owner of the stock on the dividend date, despite the fact that it was still
        not registered as such.

        However, if the pension plan purchased the stock from a short seller (which the pension plan cannot know)
        the short seller must compensate the pension plan for the dividend accruing to the pension plan as the legal
        owner of the stock on the dividend date. The actual dividend is paid by the company via VP Securities to the
        stockholder with whom the short seller covers its sale after the dividend date on the settlement date. The
        compensation payment from the short seller is in practice indistinguishable from the dividend itself, which
        originally came from the company, as both are mixed together in the cash flow passing through the various
        custodians. In practice, the buyer of a stock does not know who the seller is - even in OTC trading. The
        buyer therefore has no way of knowing whether the "market claim" credited to his account when the stock
        purchase is settled and the stocks are registered in his securities account with his custodian actually
        originates from a long owner seller or a short seller.

        If the pension plan purchased from a short seller, the stockholder who -     later
                                                                                       - -loaned the stock to the short
        seller to settle the trade was still the legal owner of the stock at the time of the dividend. At the same time,
        the pension plan became the owner of the stock by the purchase contract with the short seller.

        The legal ownership of the stock acquired on the dividend date and thus the claim to payment of the
        dividend and reimbursement is lost by the pension plan under civil law only when the stock is lent to a third
        party. This loan is made between the date of the general meeting and the date of settlement of the stock
        purchase. Whether the pension plan also lost tax ownership of the stock and thus the claim to the dividend
        when the stocks were lent is irrelevant for the pension plan's right to the dividend and reimbursement that
        arose before the stock was lent.

        The pension plan was the owner of the Danish stocks at the decisive moment, the day of the general
        meeting, which is the vesting date. This, despite the fact that the pension plan was not yet registered as
        owner with its custodian and therefore could not participate in the general meeting itself.

        Since only registered owners of stocks can participate in the general meeting, the civil law dual ownership
        of a stock that exists between the purchase of a stock from a short seller and the settlement of the stock
        purchase also does not lead to more votes being cast at a general meeting than stocks issued.

        4 LEGAL MATTERS RELATING TO DIVIDEND TAX

        In the following, we will explain the reasons for the payment of the dividend tax reimbursement at issue in
        the case.

        In the present case, the basis for the reimbursement is the withholding tax law and the corresponding
        withholding tax order, as well as the relevant double taxation agreement between Denmark and the United
        States.

        4.1 Dividend tax is withheld according to the rules of the withholding tax law.

        According to § 65(1) of the Danish Withholding Tax Act, dividend tax at a rate of 27 percent must be
        withheld from any decision to distribute dividends from companies based in Denmark.




Case No. XX-XXXXXXX                                   Page 156/239
  Case 1:18-md-02865-LAK                     Document 836-47                Filed 06/27/22            Page 139 of 462



        According to § 65(6) of the Danish Withholding Tax Act, the dividend tax has been reduced to 22 percent for
        dividend distributions to companies and foundations that are taxable in Denmark under § 1 of the Danish
        Corporate Income Tax Act or the Danish Corporate Income Tax Act, with effect from the 2014 income year.
        Prior to that, the dividend tax rate for these companies and foundations was reduced to 25 percent,
        corresponding to the current corporate tax rate under § 17(1) of the Corporate Tax Act.

        Article 66(1) of the Withholding Tax Act stipulates that companies subject to withholding tax must pay the
        withholding tax to Danish Tax Agency in the month following the dividend distribution, at the latest at the
        same time as the deadline for payment of the company's withholding tax and social security contributions.

        § 65(4) (until January 1, 2013, § 65(5)) of the Withholding Tax Act provides that no withholding tax shall be
        withheld from dividends if the recipient of the dividend is resident abroad and is not subject to limited tax
        liability under § 2(1)(c) of the Corporate Tax Act.

        The starting point of § 2(1)(c) of the Corporate Tax Act is that foreign recipients of dividends from Denmark
        are subject to limited tax liability. However, this does not apply in particular to recipients of dividends on
        subsidiary stocks (i.e. ownership of at least 10 percent of the company making the distribution) or group
        stocks (i.e. where the foreign owner is jointly taxed with the Danish company paying the dividend or can be
        jointly taxed with it under § 31A of the Danish Corporate Tax Act), provided that the foreign recipient can
        rely on a double taxation convention or the EU Parent/Subsidiary Directive (Directive 2011/96/EU).

        4.2 Rules of the Withholding Tax Order on exemption from the withholding obligation

        Pursuant to § 65(3) (until January 1, 2013 § 65(4)) of the Withholding Tax Act, the Minister for Taxation may
        lay down rules on exemption from the obligation to withhold tax on dividends that are not taxable for the
        recipient. This option is used in Chapter 9 of the Withholding Tax Order, which deals with dividend and
        royalty taxes.

        § 31 of the Withholding Tax Statutory Order provides that, inter alia, no dividend tax shall be withheld when
        the recipient can receive the dividend tax-free under the rules on tax exemption for subsidiary/group
        company stocks in § 4 A or § 4 B of the Danish Capital Gains Tax Act, § 2(1) of the Act on Corporate Income
        Tax and § 4(2) of the Act on Corporate Income Tax. 1, c, § 13(1)(2) of the Corporate Tax Act or § 10(1) of the
        Fund Tax Act, unless the company making the distribution is an investment company exempt from Danish
        tax under § 13(1)(19) of the Corporate Tax Act.

        4.3 Limited tax liability of dividends

        Under § 2(1)(c) of the Danish Corporate Tax Act, foreign recipients of dividends from Denmark are generally
        subject to limited tax liability in Denmark on the dividends. The tax rate for the limited tax liability is 27%,
        corresponding to the dividend tax withheld according to § 65(1) of the Danish Withholding Tax Act when the
        dividend is paid to the foreign stockholder.

        4.4 Determining the correct percentage

        Thus, the same rate of dividend tax does not have to be withheld from all stockholders. If the tax status of
        the stockholder is not known, the highest tax rate (27%) is withheld. However, this does not necessarily
        mean that the Danish Tax Agency is on the safe side as regards collecting the same amount of dividend tax
        for which it is later entitled to a reimbursement. Trades made on the dividend date that have still not been
        settled on the record day will entail a risk of reimbursement claims from stock buyers who cannot know




Case No. XX-XXXXXXX                                   Page 156/239
  Case 1:18-md-02865-LAK                     Document 836-47                Filed 06/27/22             Page 140 of 462



        how much they will have to pay. Their reimbursement claim would therefore always be against the 27%
        dividend tax, even if the ultimate seller had not been deducted for dividend tax.

        4.5 Compensation payments

        It must be assumed that dividend tax has been withheld in the dividends distributed by the Danish
        companies.

        There is no provision for withholding tax on the compensation payments paid into the custody chain of
        short sellers and not in any way distinguishable in the chain from the dividends paid by the Danish
        companies. The rule introduced in Germany in 2006 to tax the dividend compensation payment from the
        short seller is missing in Denmark to date.

        4.6 Reimbursement of dividend tax

        § 69B(1) of the Withholding Tax Act provides, inter alia, that if a person liable to tax under § 2 of the
        Withholding Tax Act or § 2 of the Corporate Tax Act has received dividends, royalties or interest which,
        under §§ 65 to 65D, have deducted at source withholding tax in excess of the final tax under a double
        taxation agreement, the amount shall be repaid within six months of receipt of the request for repayment
        by the Customs and the Danish Tax Agency.

        The US-Denmark Double Tax Convention provides in Article 10(3)(c) that dividends from a company resident
        in Denmark are not taxable in Denmark if the beneficial owner is a pension fund, as defined in Article
        22(2)(e), resident in the US. It is a condition that such profits do not arise from the carrying on of business
        by the pension fund or by any associated enterprise.

        Article 22(2)(e) of the DTC provides that a person resident in a Contracting State shall be entitled to all the
        benefits of this Convention only if that person is a legal person, whether exempt from taxation or not,
        organized under the laws of a Contracting State for the purpose of providing retirement or similar benefits
        under a defined benefit scheme to employed persons, including self-employed persons. It shall be a
        condition that more than 50 percent of the beneficiaries, members or participants of such person are
        natural persons resident in one of the Contracting States.

        Neither the Danish Tax Agency nor the Danish Tax Appeals Agency denied that the applicant for
        reimbursement was an American 401K pension plan organized under the laws of the United States for the
        purpose of providing pensions under a defined benefit plan to employees, including the self-employed.

        Since, as stated above, it must be assumed that the pension plan in question was the owner of the stocks
        and dividends in question under both civil and tax law, it must therefore be assumed that the pension plan
        satisfies the conditions for reimbursement under the withholding tax law and the corresponding ordinance.
        As stated above, there are no grounds for refusing reimbursement on the grounds of inadequate
        withholding of dividend tax.

        5 EVIDENCE OF LEGAL OWNERSHIP FOR TAX PURPOSES

        There is no clear evidence of beneficial ownership for tax purposes. This has also been confirmed by the
        interministerial working group (see note of June 27, 2016, page 2, Appendix 5a):




Case No. XX-XXXXXXX                                   Page 156/239
  Case 1:18-md-02865-LAK                     Document 836-47                 Filed 06/27/22             Page 141 of 462




                  "A survey of the civil law rules in force has revealed, among other things, that there
                  are no rules ensuring that it is possible to identify the specific owners of securities."

        This is because tax ownership is not recorded anywhere. All that is recorded is civil ownership - and this is
        done by each investor-custodian under the EU CSD Directive and the Finality Directive.

        The evidence available for civil law ownership will therefore be reviewed below.

        5.1 The practical evidence of beneficial ownership for tax purposes

        5.1.1 Broker confirmations (trade notes)

        The final and binding agreement between the buyer and the seller of a stock, which results in the buyer
        becoming the immediate owner of the stock, is, for dematerialized stocks, concluded electronically through
        a broker.

        Under the Capital Markets Act and the underlying EU legislation, listed stocks cannot be traded without the
        involvement of (authorized and controlled) fund brokerage firms. By brokers, buy and sell orders are
        brought together by an electronic transaction called "matching." In owner matching trades, the broker acts
        as the seller of the stock to his own client. The broker buys the stock from another client or another broker.

        As the actual conclusion of the contract transferring the ownership of the stock to the buyer is a purely
        electronic process, the documentation of this can only be done by (1) examination of the computer where
        the buy and sell order were merged, or by (2) indirect evidence such as the trading note (= broker
        confirmations) which is subsequently issued as physical evidence that an electronic contract has been
        concluded.

        It should be noted that the commercial paper itself is not the contract that transfers ownership of the
        stocks. Any human error (such as the use of the wrong template referring to a purchase ("BUY") instead of a
        sale ("SALE"), or wrong dates, amounts or similar typographical errors in a broker confirmation are of no
        relevance to the validity of the actual purchase contract concluded by the electronic matching. Indeed,
        official statistics from the U.S. show that approximately 10% of all broker confirmations are incorrect, see
        presentation from U.S. conference, see presentation from ACA Spring 2015 Compliance Conference,
        provided as Appendix 84.

        The contract itself for the purchase of the dematerialized stocks is a pure electronic merger of purchase and
        sale order. Under EU law (Regulation 910/2015), such an electronic contract has the same legal effect and
        evidential value as a physical contract drawn up on paper.

        MIFID II, implemented in Denmark by the Capital Markets Act, has introduced rules for a market structure
        that ensures that trading takes place on regulated marketplaces. In order to achieve a better protection of
        investors, MIFID II has imposed a trading obligation on all stocks and other financial instruments on
        "regulated trading facilities" ("trade obligation,” Article 23 of MIFID). This means that any order for the
        purchase of stocks placed by a client with a stockbroker - who must have access to a regulated trading
        facility - must lead to a matching, i.e. the conclusion of a final and binding agreement for the purchase of
        stocks. Stockbrokers are subject to a non-discretionary obligation to execute orders for stocks through a
        randomized, computerized "matching procedure."




Case No. XX-XXXXXXX                                    Page 156/239
  Case 1:18-md-02865-LAK                    Document 836-47                 Filed 06/27/22            Page 142 of 462




        Since both the stocks themselves and the contract transferring ownership of the stocks exist only in
        electronic form, the documentation for both is available only in electronic form. Physical evidence of the
        existence of the stocks and of the transfer of ownership is no more than documents subsequently issued for
        evidential purposes.

        The commercial document is thus a piece of paper representing the fact that an electronic purchase
        contract has been concluded.

        The trade note must not (as the Danish Tax Agency does in its summary submission of August 9, 2019) be
        confused with the electronic instruction from the trading platform (where matching has occurred) to the
        clearing agent and custodian to settle the trade.

        The trade note is issued only after instructions have been given by the broker to the clearing agent to settle
        the final and binding purchase contract. These instructions initiate a settlement which cannot be stopped
        again. For this very reason, the clearing agent is liable for the payment and delivery of the stocks.

        The individual steps involved in the purchase of a stock can be outlined as follows:



                                                                                   Kob’s order
                                                 Buyer

                                                                                    Trade note

                                                       Trading
            Confirmation of settlement                 instructions                                Broker




                                           . Clearing                    Trading instructions

                      Transaction                Agent
                      report                                                          Confirmation of
                                                       Trading                        settlement
                                                       report


                                               London
                                                 Stock
                                               Exchang

        5.1.2 Custody statements and DCA

        Despite the fact that clearing and settlement of a stock trade, leading to the registration of the stock in the
        buyer's securities account with its custodian, is not necessary to become the owner of a Danish stock, the
        pension plan's stock trades were cleared and settled and the stocks registered in its securities account with
        the custodian.

        This is documented by the custody statements provided. The custody statement documents that a stock
        trade has been cleared and the stock transfer settled and that the dematerialized stock is in the securities
        account of the buyer.

Case No. XX-XXXXXXX                                   Page 156/239
  Case 1:18-md-02865-LAK                     Document 836-47                 Filed 06/27/22             Page 143 of 462



        There is no obligation to hold Danish securities in a securities account with VP Securities or in a Danish bank.
        The absence of a securities account statement from such an institution is therefore no indication that the
        investor does not own a Danish stock.

        No stockholder shall be entitled to be informed by his custodian of the location of his sub-securities
        accounts. Sanjay Shah did not even disclose to the High Court in London (see his pleadings submitted as
        Appendix 85, Paragraphs 56.1.4 and 56.1.5) in which banks the Solo group had its sub-accounts. The lack of
        presentation of a chain of sub custodians from the stockholder's own securities account to a securities
        account with VP Securities cannot therefore be an indication that the stockholder is not the owner of a
        Danish stock.

        In addition to a custody statement, the owner of a stock also receives the Dividend Credit Advice (DCA)
        initially requested by Danish Tax Agency. This is issued by the custodian once the stock trade has been
        settled and the dividend received.

        The custody statements and the DCA thus document that the pension plan not only entered into a final and
        binding agreement to purchase stocks, but that these agreements were also "implemented" - as the Danish
        Tax Agency likes to put it in layman's terms. Correctly, the Danish Tax Agency would speak of the trades
        having been settled or settled.

        Whether the trade in the stocks was settled (cleared and settled) by a "physical" delivery of the stocks by a
        "de-registration" by the seller and a "registration" by the buyer and a corresponding transfer of stocks
        between the seller's and the buyer's custodian, or whether the trade was settled by the use of netting (with
        the consequence that a net report may not be sent to VP Securities at all - if the net result is 0), is irrelevant
        in this context.

        5.2 Documentation of the tax ownership of the pension plan

        Documentation of each step in the execution of a complete dividend arbitrage transaction has been
        provided to the extent it is still available. The 12 individual steps can be summarized as follows:

        1       Orders to purchase stocks are placed by e-mail to the broker, which is presented here as Appendix
        86. At the same time, the clearing agent is informed that this order has been placed and the pension plan
        asks for a commitment to settle the purchase if it matches.
        2       The clearing agent gives a commitment to the purchase of the stocks (which indirectly means a
        guarantee for the settlement and valuation of the stocks in the clearing agent's own prime broker position) -
        this commitment is itself given electronically and therefore cannot be provided in the form of a paper
        document, but it is also confirmed by e-mail, see Appendix 80.
        3       The electronic matching of the purchase order and thereby the conclusion of a binding agreement
        on the purchase of the stocks is confirmed by the broker by e-mail. The matching itself is an electronic
        process, which cannot be documented per se, however the broker confirms the deal by e-mail, which is
        provided as Appendix 86. Later, the broker sends the trade note, which is presented as Appendix 11.
        4       Invoice from the broker is received by e-mail. Presented as Appendix 11.
        5       A broker confirmation (trade note) is received by e-mail, see Appendix 11.
        6       Orders to sell stocks through a forward contract are placed by e-mail, see Appendix 86.
        7       Confirmation of the forward contract will be received by e-mail, see Appendix 80.
        8       Orders for stock lending are placed by e-mail, see Appendix 86.
        9       Confirmation of stock lending is received by e-mail, example provided as per Appendix 80.




Case No. XX-XXXXXXX                                    Page 156/239
  Case 1:18-md-02865-LAK                    Document 836-47                Filed 06/27/22           Page 144 of 462



        10    The individual steps to sell the stocks again are similar to those described under points 1-5 in
        connection with the purchase of the stocks.
        11    The open forward contract is closed by placing an order to buy a forward contract (see points 6 and
        7).
        12    The stock lending will be recalled by e-mail, which was also confirmed by e-mail (see points 8 and 9).

        As the actual agreement to transfer ownership of a stock is concluded purely electronically (by matching
        buy and sell orders in the computer systems), the broker confirmation issued after the trade is concluded is
        simply a confirmation of what has happened electronically. Therefore, clerical errors in a broker
        confirmation have --
                           no impact on the existence of a final and binding contract.

        The clearing and settlement of stock trades is also done electronically on computer systems to which the
        clients (the pension plan) do not have access. The pension plan has access only to the e-mails it has sent and
        received and to the documentation issued as evidence after the trade: a broker confirmation (trading note),
        a DCA (Dividend Credit Advice) and a custody statement. The pension plan may not hold any other
        documents as proof of ownership.

        The pension plan has provided the following documentation to demonstrate the purchase and ownership of
        the stocks, the financing of the stock purchases and the receipt of the dividends:

        1       Orders to buy and sell stocks (e-mails). When such e-mails are matched, the contract to buy or sell
        stocks is concluded
        2       Broker confirmations = trade notes showing that an electronic contract for the purchase or sale of
        stocks has been concluded
        3       Dividend Credit Advice: shows not only ownership of stocks, but also receipt of a net dividend
        4       Custody statements showing equity holdings, equity lending and forward hedging.
        5       E-mails relating to the clearing and settlement of transactions
        6       GMSLA framework agreements and e-mails specifying in each case the conditions of the individual
        stock lending. The pension plan has hereby produced "all correspondence concerning stock loans." The tax
        authority's statement on page 17 is incorrect. The Danish Tax Agency's request in the Agency's 3rd submission
        to provide all correspondence has been answered.

        In addition, the pension plan has provided the documentation related to the account opening procedure
        with the various financial institutions involved in the stock transactions.

        It is therefore incorrect for the Danish Tax Agency to claim that none of the pension plans has provided

                  "any physical or electronic evidence of their previous stockholdings (which
                  formed the basis of their reimbursement applications)" (submission of May 09,
                  2019, point 1)

        On the one hand, the Danish Tax Agency demands that the Danish National Tax Tribunal’s decision
        disregard the very documents which, on the other hand, the Danish Tax Agency claims do not exist. The
        documents in the possession of the pension plan and the additional documentation which it has produced,
        since the Danish Tax Appeals Agency was apparently not satisfied with the documentation already
        produced, have been submitted to the Danish Tax Appeals Agency.

        In an attempt to discredit the documentation provided, the Danish Tax Agency alleges that the companies
        issuing the documentation were dishonest and issued false documentation. In so doing, the Danish Tax
        Agency completely ignores the fact that neither of the independent companies involved, nor the




Case No. XX-XXXXXXX                                  Page 156/239
  Case 1:18-md-02865-LAK                     Document 836-47                 Filed 06/27/22             Page 145 of 462




        to date, any of the documents relied on in the case have been alleged or proved to be false.

        Considering that electronic documents have general evidential value and the purchase contracts that
        immediately led to the pension plans becoming owners of the Danish stocks were concluded electronically
        with the fund brokers, it is this electronic matching that must be proven in this case. This electronic
        matching is not in the possession of the pension plan, as it takes place with the fund brokers, i.e. on the
        trading platform where the brokers act.

        After the electronic matching, which constitutes the purchase contract itself, various documents are issued
        in physical form. These may contain typographical errors, which do not affect the validity of the contract,
        which was already concluded electronically.

        Immediately after the electronic matching of the buy and sell order, instructions are passed on for clearing
        and settlement. The clearing and settlement of the trade is further evidence that a purchase contract had
        previously been concluded. However, the pension scheme cannot provide this additional proof as the Solo
        group's computers have been seized.

        CONCLUSION OF THE FIRST PART

        The pension plan became the beneficial owner of the stocks for tax purposes and received dividends from
        the Danish companies, since the compensation payment from a short seller must also be considered as
        dividends under Article 10 of the Danish-American Double Taxation Convention, since no owner of a stock
        can distinguish between stocks purchased by short sellers and stocks purchased by long owners.

        If the compensation payment is not equated with a genuine dividend from the company itself, this would -
        in addition to the purely factual problems that arise when no one can distinguish between the
        compensation payment and theexploitation in the chain of custodians - also mean that the recipient of the
        compensation payment would not be liable to tax on it, since it would not then be covered by § 4 of the
        State Tax Act.

        The pension plan's ownership of the stocks is also evidenced by all the documents of ownership required by
        EU law. No further documentation can be provided as proof of beneficial ownership for tax purposes.

        PART 2: THE TAX ADMINISTRATION'S VIEWS ARE BASED ON AN UNFOUNDED AND ERRONEOUS BASIS
        - NO GROUNDS FOR REVOCATION

        6 LACK OF INFORMATION BY THE TAX AUTHORITIES

        In particular, the Danish Tax Agency - in line with all other authorities - had the responsibility to provide
        sufficient information before the Danish Tax Agency took a decision on the case.

        This is a fundamental principle of Danish administrative law. The principle - known as the official principle or
        official maxim - is not enshrined in law, but is the expression of something so fundamental that in theory it
        can be taken to be the expression of a general principle of law.

        The purpose of the principle of legality is to support the taking of decisions that are materially legal and
        correct.




Case No. XX-XXXXXXX                                    Page 156/239
  Case 1:18-md-02865-LAK                     Document 836-47                  Filed 06/27/22             Page 146 of 462




        The principle of officiality belongs to the so-called guarantee rules, and if a case is insufficiently informed,
        this may mean that the decision must be set aside as invalid. It may also mean that the case has to be
        reopened so that the missing investigations can be carried out.

        In the present case, the Danish Tax Agency has largely failed to comply with the official principle. This is
        particularly objectionable in view of the extraordinarily large subject-matter and the very serious nature of
        the protection, and the consequent major impact on the pension plans and their owners.

        In this context, the missing report of June 19, 2018, from Deloitte, which was prepared at the request of the
        Government Lawyer Boris Frederiksen, should be highlighted. The Deloitte report followed the complete
        flow of funds to the Solo Capital group's capital account at Barclays Bank, but the Danish Tax Agency did
        not, however, produce this report in the case.

        In addition, the Danish Tax Agency has not received a copy from SØIK of the information relevant to the
        case, including in particular the information relevant to the documentation of the disputed stock
        transactions and the receipt of dividends, etc.

        The tax administration has also failed to obtain relevant information from the many professional foreign
        operators and foreign control and supervisory authorities.

        The Danish Tax Agency has apparently not even informed VP Securities about how the securities settlement
        takes place in practice, including what happens to the dividend when a stock purchase has not yet been
        settled on record day. This is particularly critical in view of the central importance of the settlement of the
        market claim process in the present case.

        The failure to obtain relevant information must be seen in the light of the fact that Danish Tax Agency, through
        its powers of control, has a real possibility to obtain the information requested by Danish Tax Agency.

        In the present case, however, Danish Tax Agency has based its view on undocumented assumptions about
        the non-ownership and lending of the stocks in question by the pension plans. Thus, Danish Tax Agency has
        not provided any real evidence to support its claim of lack of ownership, etc., and the claim is therefore
        entirely unfounded.

        In deciding the present case, it is very important to bear in mind that a lack of adequate information cannot
        be detrimental to the pension plans. This is particularly the case when the Danish Tax Agency, which, as
        stated above, has a number of special tools for providing information on the case, is the closest to clarifying
        a number of the facts of the case.

        The lack of information must therefore in all respects be prejudicial to the tax authorities.

        7 SUBMITTED AND MISSING DOCUMENTATION

        7.1 The Tax Agency's unsubstantiated claim of false documentation

        While the Danish Tax Agency acknowledges that the documents submitted (agreements, e-mails, custody
        statements, DCNs) together prove that the pension plan was the owner of the stocks, received the net
        proceeds and was entitled to a reimbursement, the Danish Tax Agency tries to convince the Danish National
        Tax Tribunal’s decision to disregard this documentation, claiming that it is allegedly "false."

        The tax authorities are still reluctant to explicitly invoke forgery. This, probably against the background that
        none of the independent companies involved issued these documents,




Case No. XX-XXXXXXX                                    Page 156/239
  Case 1:18-md-02865-LAK                     Document 836-47                 Filed 06/27/22            Page 147 of 462




        has not been charged with document fraud by the responsible auditors, financial supervisors or
        prosecutors. Not even the voluminous evidence presented by the hundreds of individuals sued in courts
        around the world, where the Treasury has launched an onslaught of civil suits, has produced any evidence
        of document fraud.

        The Danish Tax Agency attempts to refute the probative value of the documentation provided and deny the
        reality of the transactions by highlighting typographical errors and other deficiencies in the documents
        provided. The Danish Tax Agency considers that these errors should be treated as suspicious.

        It should be noted at the outset that this is not a case of typographical errors in various documents. It is a
        case about how to become the owner of a Danish stock and whether the pension plans have received a net
        dividend from their stocks.

        An examination of the errors and shortcomings referred to shows that they are all human typing errors.
        These errors reflect the reality of the transaction and its documentation. Had the sole task and purpose of
        the brokers and the Solo group been to produce false documents (and not, as was in fact the case, to match
        buy and sell orders (the real task of the brokers) and to clear and settle real stock transactions (the real task
        of the Solo group)) it must be assumed that so many companies with so many employees would at least
        have been able to produce correct "false" documents without typographical errors or other defects.
        However, as the Solo group concentrated on clearing, settling and storing stocks, the traders concentrated
        on placing buy and sell orders and raising finance by finding borrowers for their stocks, and the fund brokers
        concentrated on matching buy and sell orders on the alternative marketplace, no one noticed the human
        typographical errors in the documentation, which are insignificant for the transactions themselves and
        which merely prove what the real world actors have done. Real people who make real transactions and
        have to document them make real mistakes. These are the errors identified by the Danish Tax Agency in the
        course of a major investigation. Perfect documentation without the errors that are normal in all stock
        trading would, on the other hand, indicate that the material was produced for the purpose and could not
        document real stock transactions.

        7.1.1 Errors in documentation from brokers

        The tax authorities seem to confuse human error - which occurs entirely without or, rather, against the will
        of the persons involved - and fraud, which requires intent. If the tax authorities are seriously of the opinion
        that a clerical error in the documentation of a stock deal renders the deal itself invalid or even fraudulent,
        then 10% of all deals worldwide are invalid or fraudulent. A position that the tax authorities cannot take
        seriously.

        The documentation is not the transaction itself, but the Danish Tax Agency still does not seem to be able or
        willing to understand this, even in the summary of the preliminary proceedings of August 9, 2019, § 8.6,
        page 70. Clerical errors can and do happen de facto every day, also in the field of stock trading. However,
        the stock traders themselves are not affected by these clerical errors. Stock trading takes place properly
        and, being tied into such a strictly regulated system, there can be no fraud in stock trading. The EU has
        ensured this most recently with MIFID and MIFIR.

        If the Danish Tax Agency is seriously of the opinion that human clerical errors cause the document
        containing a clerical error to be fictitious, fraudulent or non-existent, then the pension plans must concede
        that the Danish Tax Agency itself must face the fact that in that case the Danish Tax Agency has not sued
        anyone at all in the civil proceedings, since in those proceedings the Danish Tax Agency has consistently
        misidentified the appellant as "Danish Tax Agency." This error was challenged in the High Court in London
        by Pinsent Masons, the UK solicitor for the Inland Revenue.




Case No. XX-XXXXXXX                                   Page 156/239
  Case 1:18-md-02865-LAK                    Document 836-47                Filed 06/27/22             Page 148 of 462



        7.1.1.1 Different trade dates on broker confirmations and custody statements

        The Tax Agency highlights in its summary submission, § 5.4.3, page 36, that there should be

                  "several cases where the trade notes (Appendix 11) do not tally with the
                  information provided in the custody statements (Appendix 10) and credit
                  advices (Appendix Q)."

        It rightly follows that custody statements - which in fact document settlement - do not tally with the
        commercial notes in Appendix 11. However, the custody statements are consistent with the clearing
        statements submitted as Appendix 80.

        Appendix 11 was an erroneous trade note attached to the invoice from the broker Sunrise, which was
        received long after the transactions.

        The Danish Tax Agency further highlights that the pension plans have not provided any evidence as to how
        the settlement would have been done correctly, despite the fact that the trade notes were (allegedly)
        incorrectly endorsed.

        It should be noted that settlement is not based on commercial invoices. Settlement takes place on the basis
        of the electronic clearing and settlement instructions which go from the trading venue, where the buy and
        sell orders are matched, to the clearing agent and custodian. Such electronic settlement instructions going
        from one computer to another cannot be provided by pension plans without access to these computers.

        Only SØIK can provide this documentation as they are in possession of the computer systems.

        The trade note is only issued by the broker (several weeks) after the settlement instructions have been
        given.

        Having noted inconsistencies between the commercial notes - which show human typing errors - and the
        custody statements, the Danish Tax Agency analyses in § 5.4.3.1, page 37, the dates indicated as
        commercial date and as settlement date in the various appendices, and comes itself to the very correct
        conclusion that

                  "There are several factors that could indicate that the discrepancy between the
                  custody statement and the commercial invoice is due to an error made by the
                  broker"

        However, these clerical errors in a broker confirmation do not invalidate the actual stock trading that takes
        place through the electronic entry of buy and sell orders.

        The significance that the pension plans refer to the commercial notes as evidence in the case is not a
        significance invented by the pension plans, as the Danish Tax Agency suggests. The legislator, unlike the
        Danish Tax Agency, has understood that when settlement of a trade - which in Danish usage is referred to as
        "settlement" or "afregning" - is not necessary to become the owner of a stock, the documentation one can
        find for the trade must be found elsewhere. The documentation must be found for the purchase contract,
        which is concluded electronically by matching the purchase and sale order.

        One such document is the commercial invoice. However, if such a commercial document contains errors,
        this does not mean that the transaction has not taken place. The commercial document is merely an
        electronic record of what has happened.




Case No. XX-XXXXXXX                                  Page 156/239
  Case 1:18-md-02865-LAK                    Document 836-47                 Filed 06/27/22            Page 149 of 462



        When independent, authorized and supervised stockbrokers have issued these trade notes, it is an
        indication that they have executed a trade under their professional responsibility.

        It should be noted that a trade is already completed when the buy and sell orders are matched. The Danish
        National Tax Tribunal’s decision is wrong in the Agency's assertion that the pension plans have not
        documented that an agreement to purchase stocks has been consummated. Since ownership changes to
        the buyer when the contract is concluded, the conclusion of the contract itself also constitutes completion.

        A broker confirmation is simply proof that an electronic agreement has been concluded. It is not the
        agreement itself. Where the substance of the agreement manifests itself is the recording of the number of
        stocks purchased in the securities account with the custodian. This appears in the custody statements.

        Custody statements contain the correct dates and these are confirmed and supported by the trading emails
        provided in the cases. The trade was concluded by matching the orders evidenced by the emails.

        The trade date in the emails provided matches the trade date in the custody statements and in the DCA. Only
        the broker made an error in the preparation of the documentation attached to his invoices.

        7.1.1.2 Commercial invoices confuse buying and selling

        The reference by the Danish Tax Agency to a purchase of stocks, while the custody statements show a sale,
        is also an expression of human error. The pension plan, which clearly concentrated on carrying out the stock
        transactions and verifying that the stocks ordered or sold were properly registered in the pension plan's
        securities account, did not notice this clerical error in the trading notes received from the pension plan's
        broker. The pension plan's order was consistent with the registration in the pension plan's securities
        account. Often, the pension plan also did not receive the trade notes until several weeks after a stock
        transaction had been executed.

        The pension scheme has been in contact with the broker following the Danish Tax Agency’s letter and can
        therefore inform you that it was clearly a human error on the part of the employee who had to issue the
        commercial invoice. The employee used the wrong template, which by default read "BUY,” and not the
        template with "SALE."

        7.1.1.3 Commercial note indicates price as "#####"

        Also, the example of a trading note from the broker Bastion Capital London Ltd. where the price of the sale
        of 7,884 Mærsk stocks is indicated as "#########" (Appendix AA, page 57) is clearly a computer error.

        As noted above, the Pension Plan has not previously noticed this typographical error either, as a broker
        confirmation is not received until long after the actual stock transaction has been completed.

        The error has also been confirmed by the broker Bastion Capital London Ltd, as documented by emails
        dated January 7 and May 16, 2019, from Bastion Capital London Ltd, submitted as Appendices 88 and 89,
        stating that the field did not contain a number, but only "####,” as the size of the field was set with too few
        characters to reflect the correct amount. Bastion Capital London Ltd has subsequently issued a corrected
        broker confirmation. There is nothing "mysterious" about this, although the Inland Revenue would like to
        see mystery in everything that goes on in this case. The facts of the case have simply been explained and
        documented, as the Danish Tax Agency has requested.




Case No. XX-XXXXXXX                                   Page 156/239
  Case 1:18-md-02865-LAK                      Document 836-47                Filed 06/27/22            Page 150 of 462




        Naturally, the representatives of the pension plans have asked the broker to issue a correct broker
        confirmation, now that the error has been discovered by the Danish Tax Agency’s detective work.

        The simple explanation for Adrian Mildne issuing the new broker confirmation, even though he no longer
        works for his brother's company, Bastion Capital London Ltd, is that he still has the form on his computer
        and it was his fault that the form was set with too few characters. Adrian Mildne was therefore able to
        confirm, even long after the transactions, that the field was simply set incorrectly, because he still had the
        original on his computer. The real, original transactions were recorded in his computer. Whether it is Adrian
        Mildne or his brother, Patrick Mildne, who signs a form which originally - in original - originates from a
        computer of which Adrian Mildne at least has a copy, is for that matter immaterial. This in no way weakens
        the credibility of the documentation presented.

        7.1.1.4 Commercial invoices do not take public holidays into account

        The Danish Tax Agency considers that the trading notes should erroneously have not taken into account
        public holidays and therefore that weekdays should be determined on the basis of the market in the
        country where the stock is traded. Whether this is true or not, why should an OTC trade conducted by
        foreigners through foreign brokers and settled by foreign clearing agents and custodians stick to Danish
        business days?
        - is not of decisive importance.

        The fact is, as the Danish Tax Agency itself states, that the trade was in fact settled T+3 according to the
        Danish public holiday calendar. The trading note from Sunrise Brokers was once again, as so often,
        erroneous, as it showed T+6. However, this typing error does not mean that the agreed terms were not
        respected. What was agreed was the content of the computer that SØIK seized.

        7.1.1.5 Errors in other trade notes

        The errors highlighted by the tax authorities in commercial notes from other, non-precedent cases, only
        confirm the pension plans' assertions about how many typographical errors there were in the confirmations
        of what had happened in reality, which were immaterial to the 'dividend arbitrage' business itself. The final
        and binding agreement is an electronic transaction and there were no errors in it. This is evidenced by the
        custody statements provided.

        The pension plans were aware that they were engaging in dividend arbitrage and that because of the
        marginal profit they can realize on each stock they own, they have to acquire huge amounts of stocks. This
        can of course only be done by using service providers who offer the necessary services as a "manufactured
        good." As in any other factory, increasing production also means an increasing amount of errors.

        Considering how many transactions are carried out by pension plans and how many individual steps are
        needed for this all to fall into place, what is really remarkable is not that there are errors in the subsequent
        documentation, but how few there really are.

        7.1.2 Error in documentation from custodian - custody statement and account statement

        The Danish Tax Agency seems to misunderstand the nature of the documentation presented at the office
        meetings with the Danish Tax Appeals Agency.




Case No. XX-XXXXXXX                                   Page 156/239
  Case 1:18-md-02865-LAK                    Document 836-47                 Filed 06/27/22             Page 151 of 462




        The Danish Tax Agency thus writes in its 3rd submission of May 09 2019, point 3.4, that,

                  "The summaries of accounts provided (Appendices 45-49 and PowerPoint
                  presentation, p. 134) are not statements of account, but merely extracts from
                  undated Excel sheets, which have no automatic character and whose origin is
                  not documented."

        It should be noted that the table was prepared by Schaffelhuber Müller & Kollegen S.à r.l. for use in the
        office meetings to explain the transactions. This was also disclosed to the Danish Tax Appeals Agency at the
        meetings.

        The summaries provided are only a summary of events prepared by Schaffelhuber Müller & Kollegen S.à r.l.
        on the basis of the trading records available to the pension plans. As the Danish National Tax Tribunal’s
        decision should have noted, nowhere is it indicated that this is an account from the custodian's computer
        systems. In that case, the statements would have indicated the name of the individual custodian and would
        have been prepared on the custodian's letterhead.

        The charts have been prepared as an aid for the Danish Tax Agency and the Danish National Tax
        Tribunal/Danish Tax Appeals Agency to understand the individual steps of a complete stock transaction, which
        consists of so many individual aspects. Thus, they make sense.

        The Danish Tax Agency further comments on these summaries:

                  " The statements of accounts (Appendices 45-49 and PowerPoint presentation,
                  p. 134, from the office meetings) do not contain all transactions for the given
                  pension plan for a given period, but only extracts."

        That is quite true. As the Danish Tax Agency rightly points out, this is precisely an extract from the records
        of transactions. Extract means that not everything is included. For ease of understanding, we have only
        included transactions relating to a single stock. Otherwise, the overview would become confusing and
        complicated. The overview was only prepared as an explanation of a single example. The statement is not
        and should not be a formal statement of account from an account-holding institution.

        The Danish Tax Agency does not understand why the receipt of the reimbursement appears in the
        statements prepared for the Danish Tax Appeals Agency, but not in the custody statements provided. The
        reason is relatively simple: as explained at the office meetings, some pages of the custody statements show
        stock purchases and sales. Others show loan transactions, and others show forward transactions. Custody
        statements therefore show all transactions relating to the equity positions. The dividend reimbursement
        was of course not booked to the stock accounts, but to a cash account. This cash account could be viewed
        online bythe pension plans. Since the Danish Tax Agency attaches such importance to seeing the movements
        on the cash account as well, the pension plans have been able, with great effort, to obtain the statements
        of movements on their cash account as kept by their respective custodians, presented here as Appendix 90.

        To date, the pension plans have not considered documentation of receipt of the dividend distribution to be
        material to the case, as the Danish Tax Agency is well aware of how much dividend distribution Danish Tax
        Agency has paid to the pension plans' agent on behalf of the pension plans. This is also clear from the
        Danish Tax Agency’s own documents. Nor do any of the pension plans contest the receipt of the dividend
        payment.




Case No. XX-XXXXXXX                                   Page 156/239
  Case 1:18-md-02865-LAK                    Document 836-47                Filed 06/27/22            Page 152 of 462




        If the Danish Tax Agency believes that the dividend reimbursement should not have gone to the pension
        plans, then the serious question arises as to why the Danish Tax Agency has sued all the pension plans in the
        U.S. for back-payment, thereby causing such enormous costs to Danish taxpayers.

        The documentation requested by the Danish Tax Agency for payment of the broker, tax agent and custody
        fee appear on the cash account statements provided here.

        The stock lending fee requested by the Treasury and shown in the table covers the total costs and interest
        associated with the stock lending. This is therefore the total of both items, which appear in the custody
        agreement as "stock lending fee" and "interest." The fact that the statement uses different terms from the
        custody statement is simply because the two are not prepared by the same persons. The summary is, as I
        said, a summary and therefore draws together different items.

        Consequently, there are no errors in the custody statements provided. The inconsistencies noted are due to
        the simplifications made to the statements drawn up by Schaffelhuber Müller & Kollegen S.à r.l. in order to
        explain the transactions in a simple manner to the Danish Tax Appeals Agency.

        Moreover, according to official U.S. statistics, the error rate in custody statements is 9:1, which means that
        10% of all documents relating to stock transactions are incorrect. Errors do not mean that Danish stocks were
        not traded, on the contrary.

        7.1.3 Compliance with GMSLA

        The Danish Tax Agency states in the summary submission of August 9, 2019, in § 3.2.4, page 18, that
        GMSLAs should not be complied with.

        In this respect, it is stated that the GMSLAs had to anticipate a so-called "Marking to Market" ("MTM")
        revaluation of the value of the stocks, and this corresponded to the cash collateral, in order to ensure that
        there was neither over- nor under-collateralization.

        The question of over- or under-insurance has absolutely nothing to do with the question of whether the
        pension plans were owners of the Danish stocks and received dividends. The GMSLAs therefore foresee,
        both in § 5.4.b and in § 5.5.b, that the stock borrower and the stock lender will receive an additional
        payment of collateral or a repayment of the collateral already provided only upon request. It is therefore
        not relevant whether 5.4 or 5.5 applies.

        However, from the custody statements provided, which are prepared to show all the transactions for the
        year, the Danish Tax Agency cannot see each entry of the daily MTM. The annual statement shows a
        summary amount at the end of the year.

        Since we do not have access to the computer system "TAS" located on the Solo Group's computers, which
        performed these daily MTM calculations - see Paragraph 56.8.3, page 23, of Sanjay Shah's pleading - and do
        not have daily printouts from this system, we have also been unable to include these individual daily entries
        in the preparation of our supporting document for the clarification of the transactions. Moreover, they
        would have rendered the overview totally unmanageable, thus defeating the whole purpose of an
        explanatory supporting document.

        As these daily MTM regulations are of no relevance to ownership, no further investigation of the MTM
        relationship has been undertaken.




Case No. XX-XXXXXXX                                   Page 156/239
  Case 1:18-md-02865-LAK                    Document 836-47                 Filed 06/27/22            Page 153 of 462




        7.1.4 Stock lending rate

        The Danish Tax Agency states in the summary submission of August 09, 2019 in § 3.2.5 that the stock lending
        rate is set arbitrarily and that the agreed rate is not applied.

        The Danish Tax Agency doubts that the terms of the stock loans are negotiated between the partners, simply
        because (1) the same terms can be seen in the e-mails provided and (2) the agreed interest rate should not
        be exceeded.

        Had the tax authorities looked more closely, they would have seen that no loan period was stipulated
        (Term: open). This means that the pension plan and the professional intermediary in stock loans could
        terminate the loan at any time if the counterparty did not agree to changed, new market conditions. The
        fact that the interest rate was constantly changing between the parties is shown by the fact that one cannot
        calculate backwards, as the Danish Tax Agency attempts in § 4.5, page 28. As this is a regular exercise, it is
        often done by telephone. We have provided as Appendix 79 some examples of e-mails sent in connection
        with the agreement on a 're-rating'.

        The interest rate agreed at any time was respected. The interest rate was just not the same all the time.

        As regards the fact that at any given time the same interest rate was agreed for all the stock loans, this is a
        natural consequence of the fact that (1) all the pension plans worked with the same five stock loan
        intermediaries, who therefore, when concluding the agreements, naturally applied the market interest rate
        applicable at the time, and (2) that other interest rates were subsequently agreed informally by means of a
        so-called "re-rating."

        As mentioned above, whether pension plans were able to negotiate different interest rates in their ongoing
        negotiations with the intermediaries in stock lending depended on the current market and the negotiating
        power of the pension plans.

        7.2 Lack of documentation

        In the following, we will explain the documentation that the Danish Tax Appeals Agency claims is missing in
        this case.

        7.2.1 The purchase contract for the stocks

        Pension plans cannot directly document the actual contract by which the stocks were purchased, as this
        contract is electronic. It is concluded when the purchase and stock orders are matched.

        7.2.2 Cash flow and bank statements

        7.2.2.1 Money flow

        The tax authorities require documentation of a cash flow to the pension plans. Such a cash flow is not
        required to become an owner of a stock. Ownership is acquired even before the payment of the stock.

        However, as the settlement of purchases (and sales) of stocks is on a delivery versus payment basis, the
        payment flow for the stocks must necessarily be from a cash account with the custodian. Otherwise, the
        custodian cannot ensure that payment is made at the same time as the stocks are delivered to the buyer's
        account.




Case No. XX-XXXXXXX                                   Page 156/239
  Case 1:18-md-02865-LAK                     Document 836-47                 Filed 06/27/22             Page 154 of 462




        As the payment is to be made from a cash account with the custodian, the cash collateral during the stock
        lending is also paid into this account with the custodian. This also ensures that the stock borrower receives
        the stocks at the same time as he pays the cash collateral.

        Also, the receipt of the net proceeds can only have occurred in the pension plan's account with its
        custodian, as the flow of funds from the company down the sub-custody chain can only reach the custodian,
        not any other bank or financial institution.

        Since the pension plans used an online system to view the cash flows to their own accounts, without the
        computer from their custodian, they cannot document all these cash flows. The only thing the pension plans
        can show are the cash account statements from their own custodians, which they still kept in paper form,
        see Appendix 90.

        All pension plan funds were held under a TTC clause in Solo Capital's account at one or more commercial
        banks.

        As none of the four custodians in the Solo group had a banking license allowing them to hold cash, all cash
        was held in Solo Capital's account in a regular commercial bank. According to the pension plans' latest
        investigations, Solo Capital was thereby acting as sub custodian for its three subsidiaries (the other three
        custodians) and was thus holding not only its own customers' funds but also the funds of the three
        subsidiaries and their respective customers. All money transactions between customers within the Solo
        group could be carried out without any movement on Solo Capital's account at its bank. This was fully in line
        with the European CSD Directive 909/2014 Chapter IV Article 9 on internalized settlement.

        Which commercial bank Solo Capital used, the pension plans do not know for sure. However, from Sanjay
        Shah's pleading to the High Court in London, it appears that Solo Capital held the pension plans' cash in an
        account at Barclays.

        The pension plans all established an account in the United States at the time of their formation (see, for
        example, the account statements submitted as Appendix 91 to the appellant’s leading cases), yet these
        accounts were not used to effect the stock transactions and cash flows related thereto. Account statements
        from other banks showing payments from Solo to the pension plans cannot be produced as they had not yet
        received their profits from their custodian to another bank when Solo Capital was closed down and put into
        administration by PwC in the summer of 2015.

        The pension plans had no reason to have the gains from the dividend arbitrage transactions paid into
        another account in the United States, as a payment to the beneficiaries was not imminent. In any event,
        however, the gains in the lead cases were below an amount that would result in a reporting obligation to
        the IRS.

        The reason why the gain retained by the pension plans was less than USD 250,000 is the high transaction
        costs described in § 2. Not least, the Solo group invoiced significant amounts to the pension plans (see §
        2.3.4.) for their services and for the fact that the Solo group ultimately had to act as guarantor that the stocks
        would be paid if a stock borrower was not found in time.

        7.2.2.2 Stream of stocks

        Evidence of a flow of stocks (or dividends) through the chain of custodians cannot be provided by the pension
        plans, as no custodian informed the pension plans who their respective sub custodian is. However, when the
        settlement of a stock trade is not necessary to be the owner of a Danish stock, and the




Case No. XX-XXXXXXX                                    Page 156/239
  Case 1:18-md-02865-LAK                     Document 836-47                 Filed 06/27/22             Page 155 of 462




        only at the settlement of a trade that a "flow of stocks" through the chain of custodians may occur (namely
        if there is no internalized settlement), such a flow of stocks through the custody chain is even without
        probative value.

        Finally, it should be noted that the netting procedures used by all clearing and settlement agents lead to the
        impossibility of following any stock through the chain of sub custodians.

        7.2.3 TTC clauses

        The tax authorities claim that the pension plans have not documented the TTC clause. As explained at the
        meetings, the TTC clause was originally a component of the custody agreements. In 2014, this clause was
        taken out of the custody agreements and put into the general terms and conditions to be accepted online.

        For the Pegasus Fox 23 LLC Solo 401K Plan, a custody agreement containing the TTC clause was submitted in
        the lead cases. In addition, an example of a printout from the terms and conditions was submitted for
        online approval. The pension plans are unable to provide proof of this approval, as SØIK has obtained the
        computers from the Solo group. However, the pension plans have provided evidence that the pension plans
        have decided to approve the general terms and conditions.

        7.2.4 Single account opening documents and transaction documents

        For some of the pension plans, the above-mentioned documentation concerning the transactions and the
        account opening procedure is missing. This is mainly because the trustees of the respective pension plans
        no longer have access to the e-mail account through which all transactions were settled. However, it can be
        assumed that all transactions for all pension plans represented by the TVC Law Firm/Schaffelhuber Müller &
        Kollegen S.à r.l., which were clients of the Solo Group, were carried out in the same way. The
        documentation provided by the other pension plans can therefore be used by analogy.

        7.2.5 Documentation in 2014 and 2015

        More documents are available for trades executed in 2014 than for trades executed in 2015. This is simply
        because trading was automated in 2015 with the introduction of the Octave, and BrokerMesh software
        systems to handle order (algo trading), trade, clearing and settlement tasks. It is only regrettable that the
        Danish Tax Agency denies the existence of algo trading. The pension plans refer the Danish Tax Agency to §
        3, No 18 and No 20 of the Capital Markets Act, which regulates algo trading.

        In fact, the algo trader made the choice of stocks to buy (knowing the dividend schedule and the dividend
        expected to be paid), as well as the number that each pension plan would buy. This was done on the basis
        of programmed aspects of the funding possibilities of each pension plan, risk profile and risk diversification,
        etc.

        The Danish Tax Agency’s claim with regard to algo trading (see the summary pleading of August 09, 2019,
        page 44), according to which

                  "If there is an algorithm used by pension plans, it must have been used solely
                  to disguise the alleged stock traders' lack of reality"

        is completely absurd. It is not at all the purpose of algo trading to obscure stock trades and their reality.




Case No. XX-XXXXXXX                                    Page 156/239
  Case 1:18-md-02865-LAK                    Document 836-47                 Filed 06/27/22            Page 156 of 462




        All stock trades, including those cleared by the Solo Group, were duly reported to the London authorities
        (FCA and Stock Exchange) (daily trade and transaction reports), as documented by the FSA statistics already
        provided. These reports would be confirmed by the Danish Tax Agency to the SØIK if the Agency would
        simply request the SØIK to do so. Such confirmation could in no way prejudice any criminal investigations
        which, after 3½ years, are allegedly still ongoing.

        The real purpose of algo trading is to increase trading volume with less risk of error, eliminating human
        interference as much as possible.

        Algo trading cannot disguise stock trading either, as it is reported to the FCA and the LSE in London.

        As a result of these reports, the Interministerial Working Group has also noted in its progress note of 27
        June 2016:

                  "In connection with the work of the inter-ministerial working group, the Committee has received
                  information on trading statistics from the Danish Financial Supervisory Authority for the years
                  2012-2015, showing stock trades for selected listed Danish companies. This shows that, among
                  other things, there are remarkably large stock trades around the time of dividend distribution. The
                  working group has not at this stage uncovered the reason for this, including whether the trades
                  may be tax-motivated. Danish Tax Agency will investigate this further."

        7.3 Responsibility for missing documentation

        The tax authorities claim that

                  "In this context, the pension plans are largely hiding behind the fact that Danish and British
                  authorities have seized material from their custodians"

        It should be noted at the outset that there is no question of "hiding" behind the simple fact that the
        material has indeed been seized. It is unfortunately a fact of the case that the authorities have seized the
        computer systems which handled the stock trades. The pension plans therefore have no way of verifying all
        the electronic transactions that took place after the orders to buy the stocks were placed.
        Matching of buy and sell orders was done electronically, clearing and settlement was done electronically,
        and the actual record-keeping and existence of the stocks was electronic. Dematerialized stocks now exist
        only in electronic form.

        Any documentation issued is therefore no more than a physical reflection of what took place electronically.
        Without access to the electronic transactions, pension plans are limited to presenting paper documentation
        that does not constitute the acts themselves, but merely reflects the fact that acts have been executed. Of
        course, when these statements of transactions are issued by humans, they also include the very common
        human errors such as typing errors in dates or ISIN numbers, the use of wrong templates (showing
        purchases instead of sales) and fields that are too small to show the many numbers and therefore only print
        "####."

        The computer systems are the main evidence in the case, as the electronic acts were carried out here.
        These computer systems have been in the possession of SØIK for years, without this leading to any positive
        evidence that the pension plans did not own the Danish stocks. This must indicate that the SØIK has indeed
        found electronic evidence of the settlement of the stock trades. Since the settlement took place only -
                                                                                                              after
                                                                                                                - -a
        final agreement on the purchase of the stocks had been concluded, transferring ownership of the stocks to
        the buyer, the




Case No. XX-XXXXXXX                                   Page 156/239
  Case 1:18-md-02865-LAK                             Document 836-47                Filed 06/27/22              Page 157 of 462




        proof that ownership had been transferred by matching purchase and sale orders.

        8 OVERPAYMENT DIVIDEND TAX

        8.1 Sum of all reimbursements

        In several of its submissions, the Danish Tax Agency presents various statistics which allegedly show that
        Danish Tax Agency paid out more in reimbursements than it received in dividend tax.

        These statistics, produced by Danish Tax Agency itself, contradict the publicly available statistics.

        According to the SIR report of September 24, 2015 (Tax Committee 2014-15 2nd session) SAU Alm del),
        page 16, Danish Tax Agency has not paid out more in reimbursements than received:

        Page 16 states:


          Graph 7.2 below shows the revenue, reimbursements and number of reimbursement
          applications for the years 2005 to June 2015.


                                                                 Dividend tax

                         20                                                                                                          50.000

                                                                                                                                     40.000
                         15
               Billion




                                                                                                                                     30.000




                                                                                                                             I
                         10
                                                                                                                                     20.000



                                                                         L
                          5
                                                                                                                                     10.000




                         -                              -
                          0                                                                                                          0




                                                                                    -
                              2005     2006      2007   2008   2009       2010      2011    2012      2013      2014     jun-15
                              Total revenue in DKK        Total reimbursements in
                                                          DKK                              Number of reimbursements - applications


                                                                    Graph 7.2.




Case No. XX-XXXXXXX                                       Page 156/239
  Case 1:18-md-02865-LAK                                    Document 836-47                                Filed 06/27/22                          Page 158 of 462



        This graphical representation is supported by Table 7.1, page 15, of the same SIR report:


            Table 7.1 includes revenue (dividend tax), reimbursements and the number of
            reimbursements per year from 2005 to June 2015.

        I                                 -                                                          -                                                            -
                                                                                                                                                                2015
                                        2006         2006          2007       2008     200g         2010           2011          2012      2013     2014
                                                                                                                                                               Jan-julll
            Revenue in bil. DKK             6,69       9,36          9,94       11,1      8 ,1)6          6,36          9,66       8 ,71    11,69      13,.2      111,51

        IReimbursements in bil. DKK           1.18     1,Sll         1,07       0.7S      0,7$            0,68          1. 12      HS        2.79      08          &.73
        INumber of Reimbursement         18.617      18 .618       15.6117    16.855    2128,1       2US1              2•.m      30.765    33.861    41 .764     34.850

                                                                              Tabel 7.1.

        More recent figures are presented in the report of the Interministerial Working Group 2016/2017. These
        too show that no more was paid out in reimbursements than was received from the Danish authorities.
        From this report comes the table below, showing Denmark's net receipts from dividend tax on stocks:


       Table 2.1. Revenue from withholding tax on dividends



                Mia. kl. {current prices '}             2005 2006 2007 2008 2009 201:0 2011 2012 2013 2014 2015
               Gross revenue from dividend tax
                                                         6.7 9,4 10,0 11.1 8,1 6,4 9,7 8,7 11,7 13,2 22,2    1




               Offset against corporation tax (1)        -1.2        -1 ,6     -1 ,8   -2,1        -0,8      -0,6        -0,9'     -1., -1.6 -1 ,7             -3,6
               Reimbursements (2)                        -1 ,2       -1,9      •1,1    -0,8        .0,8      -0.7        -1 ,1     -1 ,5   -2,8     -6,1   -10,9
               of which economic crime                                                                                             .(J ,
                                                            0,0       0,0      0,0      0,0        0,0           0,0      0,0              --0,7    -3,8       -7,8

                                                                                                                                                               5.5
               Net revenue from dividend tax
                                                            .4,3      5,9      7,0     8,3         6,5           5.1      7,6       6.2     7,9     9.3


        It is therefore disputed in principle that Danish Tax Agency should have paid out more in reimbursements
        than was paid in.

        The only thing that can be seen from the statistics provided is that the number of reimbursements has
        increased considerably. But selling the stocks before the dividend date to a stockholder who is eligible for a
        reimbursement is also the motivation for the seller of the stocks - and the fact that puts the derivatives
        market (forwards and futures) out of balance with the spot market. The statistics thus simply show that
        investors interested in dividend arbitrage turned to the Danish stock market in earnest from 2014 onwards.

        The Danish Tax Agency thus also appears in the summary of the preliminary proceedings of August 9, 2019,
        to abandon this manifestly false allegation of overpayment of dividends, since the argument put forward in
        all previous submissions is now abandoned.

        8.2 Total reimbursements per distributing company

        The Danish Tax Agency now refers in the summary statement in § 2.1 only to all reimbursements made
        under TRYG A/S. The Danish Tax Agency wishes to reject the pension plans' claim for reimbursement on the
        grounds that a total of approximately DKK 151 million has been claimed. TRGY A/S had for the year




Case No. XX-XXXXXXX                                                          Page 156/239
  Case 1:18-md-02865-LAK                    Document 836-47                   Filed 06/27/22           Page 159 of 462




        tax year (2015) only withheld approximately DKK 123 million in dividend tax. Of the DKK 151 million, U.S.
        pension plans had received DKK 136 million.

        In this respect, the Danish Tax Agency notes in § 2.1, page 6, that

                  "far more has been claimed (and paid out) in reimbursements than has been withheld. It goes
                  without saying that there can never be a claim for reimbursement of more than has been
                  withheld."

        However, the Danish Tax Agency is not in a position to document who specifically would not be entitled to a
        reimbursement. A pension scheme's claim for reimbursement cannot be denied on the grounds that another
        recipient of reimbursement may not have been entitled to receive it.

        By citing this example, the Danish Tax Agency has chosen (voluntarily or accidentally) to demonstrate that
        the exchange tax system suffers from a systemic malfunction and that there is no fraud. The Tax Agency has
        no explanation as to why approximately DKK 151 million has been paid out in reimbursements while only
        approximately DKK 136 million has been paid in by Tryg A/S.

        Although the Danish Tax Agency claims that all applications from customers in the Solo group amounting to
        DKK 136 million were fraudulent, which is clearly disputed, there is still a difference of DKK 15 million that
        has been overpaid (the difference between DKK 136 million and DKK 151 million). There must therefore
        clearly be another explanation for the discrepancies. The most obvious is that not too much dividend tax
        has been paid, but rather too little.

        If the beneficial owner of a stock on the dividend date is not correctly identified, the dividend tax payable is
        also incorrectly calculated.

        8.3 Malfunctions in the administration of dividend tax

        Although it is not the task of the pension plan to analyze the Danish dividend tax system and explain how it
        can happen that more is paid out in dividend distribution for a certain company than this company has paid
        in dividend tax, we would nevertheless like to make our offer on the most obvious explanations for this
        discrepancy:

        1        The banking scheme (the spreadsheet solution) has led to dividend payments to banks without any
        evidence of ownership of the stocks or receipt of dividends. Since the payments to the banks were not
        registered by Danish Tax Agency's own "3-S" platform - see the Bech-Bruun report, page 92 et seq., and the
        SIR report of September 24, 2015, point 11.4 - the banks' applications could lead to the same stock being
        reimbursed several times. One via the bank scheme and another via the form scheme. The banking scheme
        was stopped in 2015 when the problems became known, but only with the official explanation that there
        was no legal basis for the solution. The fact was, however, that the banks had received reimbursements of
        withheld dividend tax without sufficient evidence of legal ownership of the stocks. An investigation into the
        banking system has therefore now also been launched by the Ministry of Taxation, and rightly so.
        2        If, on the dividend date, a stockholder sells his stocks to a buyer with a different tax status and the
        transaction is settled with a longer deadline than the one used by VP Securities (i.e. now longer than T+3),
        VP Securities will apply the wrong tax rate when calculating the dividend tax. For example, if the seller is
        exempt from tax and this is registered with VP Securities, no dividend tax is calculated on the dividend (see
        the Danish Tax Agency’s Appendix AO) which is immediately sent to the seller of the stocks (because he is
        still registered as the owner on the record day). Since the buyer of the stocks cannot know that the seller is
        registered as tax exempt with VP Securities, the buyer expects to receive only a net dividend. Only net
        proceeds are circulated during the market claims process between the various custodians and sub
        custodians.




Case No. XX-XXXXXXX                                   Page 156/239
  Case 1:18-md-02865-LAK                    Document 836-47                 Filed 06/27/22            Page 160 of 462




        The purchaser (pension plan) receiving a net dividend is entitled to a reimbursement as he was the legal
        owner of the stock on the dividend date. However, VP Securities has not calculated the 27% dividend tax.
        The seller of the stock has run away with them.
        3       The dividend tax is calculated on the basis of the registrations with VP Securities. However, VP
        Securities does not know the beneficial owners of Danish stocks. In the case of stock lending, for example,
        the beneficial owner may be someone else with a completely different tax status than the registered civil law
        owner.
        4       The errors in the way the tax authorities have administered the reimbursement of withheld dividend
        tax are even more obvious in the case of short selling. The main problem with short selling, which is
        triggered by stock lending by banks, asset managers and not least hedge funds, is that it leads to an increase
        in the free-float of stocks - i.e. stocks available on the market - beyond 100 percent of all stocks issued by a
        company through VP Securities, and that this allows for more than one legal owner of a single stock.

        This is, in our view, the most obvious explanation as to why more could have been paid in dividend tax
        reimbursements than the amounts received by the Danish tax authorities from the companies, if this claim
        by the Danish Tax Agency were correct.

        The example that the Danish Tax Agency wants to use as evidence to deny the pension plans dividend
        distribution simply confirms that a dividend tax administration system based on the VP Securities
        regulations suffers from serious flaws. The beneficial owners entitled to the reimbursement cannot be
        identified by these records.

        As demonstrated above, under the applicable law, the owner of the stocks is entitled to the dividend
        reimbursement if he is the legal owner of the stocks on the dividend date and has received the net
        dividend. The beneficial owner of the stocks has no obligation to investigate or document whether other
        beneficial owners are also claiming reimbursement. This is also quite impossible for an owner of a stock (or
        for any other person).

        As already shown above, there may be more beneficial owners of Danish stocks than the number of stocks
        issued by a Danish company.

        Despite the very clear "Early Warning" of 2015, the Ministry of Taxation has not solved the problem of stock
        loans and short selling, but at least the Ministry acknowledges in the status note of June 26, 2016, that
        Denmark simply does not have a system or rules to identify the rightful owner of Danish stocks (page 6).

        9 PENSION PLAN FINANCIAL TRANSACTIONS

        9.1 Financing of stock purchases

        The Pension Plan has demonstrated, by means of the Master Stock Lending Agreements (GMSLAs) and the
        e-mails provided, by which the individual stock loans are drawn under the GMSLA, that it had the necessary
        financial resources to pay for the stocks at the time the loan was made. The pension plan was thus able to
        pay for the stocks on the date of delivery.

        A retention of title which meant that ownership of the stocks first passed to the pension plan (cf. § 188(1) of
        the Capital Markets Act) had not been asserted by the seller when the purchase contract was concluded. The
        pension plan thus became the civil law owner of the stocks even before payment for them. This ownership
        was subsequently secured by registration with his custodian. This act of security meant that the pension
        scheme could receive the dividend to which it was entitled as the purchaser of the stocks under Article 19(1)
        of the Danish Sale of Goods Act.




Case No. XX-XXXXXXX                                   Page 156/239
  Case 1:18-md-02865-LAK                         Document 836-47                     Filed 06/27/22           Page 161 of 462




        The Danish Tax Agency has raised doubts as to whether a stock borrower would provide an amount as security
        corresponding to the market value of the stocks on the day before the stock loan, i.e. before the ex-date.

        The pension plan has documented that it is normal practice for the stock borrower to provide a larger amount
        in cash collateral than the market value on the date of the loan by providing documentation of how much
        Nordnet, for example, requires in collateral.


           Help

               Stocks that can be shorted

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                 Stocks that can be shorted

                                   Currency           IDIKK "-" I
                If you want to short stocks that are not on the list of the day, you can contact
                Nordnet’s brokers by phone on 70 20 66 85


                    Name                                                  Short name                 Security requirement
                    A.P. ~            - ~           AA/S                    M A E RSK A            1.250
                    A.P. ~            -             IB A/S                  M AERSK 1B             1.250
                    A L K-Abe ll 6 1B A / S                                 ALK B                  1500
                            IBr a nd A/S                                    ALM B                  1400
                    &m.ma., A/S                                             AMBU B                 1500
                    Bavarian Nor d ic A/S                                   BAVA                   1600
                    Ca r lsbe r g 1B A/S                                    CARL B                 1.150
                    C h r ., Hanse-n Hol d i ng A/S                         CHR                    1.250
                    Co-l op l a .st B A/S                                   COLO B                 1.200
                    DFDS A/S                                                DFDS                   1.300
                    DSV A/S                                                 DSV                    1.150
                    Danske Bank A/S                                         DANSKE                 1.200
                    ~               &.Co. A/S                               F LS                   1250
                    G IN Sl:or,e Nor d A/S                                  GN                     1200
                                  .A/ S                                     GEN                    1700
                    H ., Lundbeck A / S                                     LUN                    1300
                    ISS A/S                                                 ISS                    1200
                              Ban k A/S                                     JY SK                  1300
                    ~         A/S                                           M ATAS                 1250
                    N ordea 'Ba nk                                          NIDA D K               1200



       https:/""'1.,.,,v.nordnet:.dk/mwu'pa.__~blankninginl.!btml                                             2.17.2019

        In the Agency's summary submission of August 9, 2019, at Paragraph 8.12, page 74, the Danish Tax Agency
        attempts to distort the roles in a stock loan by claiming that it is the equity of the stock lender that plays a
        role in determining the amount of cash collateral required for a stock loan. Of course, it is not. The purpose
        of the cash collateral is to secure a possible cover purchase if the borrower does not return the stocks.
Case No. XX-XXXXXXX                                         Page 156/239
  Case 1:18-md-02865-LAK                     Document 836-47                 Filed 06/27/22            Page 162 of 462



        In its description of Nordnet, the Danish Tax Agency fails to mention that it is not the bank's capital strength
        that determines how much cash security they can demand from their customers. The fact is that when
        Nordnet lends stocks to their customers, the bank itself has to borrow the stocks elsewhere. Nordnet must
        therefore provide collateral of the same amount as the bank itself requires from its customers if it wants to
        operate competitively in the market.

        Where the capital strength of the borrower and lender is expressed is in the ongoing negotiations about the
        interest the pension plan has to pay for the cash collateral and the loan fee the borrower has to pay to
        borrow the stocks. The stronger the capital strength of the equity borrower relative to the equity lender
        (the pension plan), the better the equity lender can impose a higher interest rate and a lower equity loan
        fee. The combined result of the interest rate payable on the cash and the fee payable on the equity loan is
        referred to in the industry as the "rebate."

        As regards the consequences of a possible price drop on the stock market, reference is made to the
        standard terms under the GMSLA, which already foresee how the parties should deal with this.

        9.2 The possibility of carrying out the financial transactions in question

        The IRS believes it would be like a con game to have all three transactions occur simultaneously, namely (1)
        find a stock seller willing to sell to the pension plan, (2) find a stock borrower who would need the stock and
        was willing to put up the purchase price as cash collateral for the stock loan, and (3) find a forward
        counterparty who could bear any price loss on the stock.

        The tax authorities are trying to make it seem impossible. However, this is by no means the case.

        Contrary to what the Danish Tax Agency claims, these are not coincidences, but normal transactions on
        international financial markets. Agreements are concluded with brokers to arrange the purchase and sale of
        stocks and derivatives and framework agreements with intermediaries in stock loan intermediaries long
        before a single transaction is settled. All individual transactions are thus recorded long before they are
        executed. The financial industry is different from any other industry in this respect. Everywhere, all the
        components of what is to be produced (cars, houses, bread or structured financial products like dividend
        arbitrage) must be planned and coordinated in advance so that everything is present at the right moment in
        the machinery. If just one ingredient is missing, the final product will not work.

        As for the challenge of finding a seller who will sell to a pension plan, the answer is quite simple: The seller
        to the pension plan was not the previous owner of the stock, but the pension plan's fund broker, who
        conducted the transactions as an owner-matching trader. In other words, he sold the stocks to the pension
        plan himself. He obtained the stocks from another fund broker, who himself obtained them from the
        original stockholder. This is how owner-matching trades take place.

        The pension plan's fund broker knew that the pension plan had entered into a master stock lending
        agreement and that the pension plan therefore had a constant stock loan intermediary whose sole job was
        to procure stock loans. The intermediary therefore knew that, even before the purchase of the stocks, the
        pension plan would contact the stock loan intermediary to see if he could arrange a loan against the
        necessary cash collateral if the pension plan wanted to purchase the stocks.




Case No. XX-XXXXXXX                                    Page 156/239
  Case 1:18-md-02865-LAK                    Document 836-47                 Filed 06/27/22            Page 163 of 462




        The fund broker also received acceptance from the pension plan's clearing agent that the trade would re-
        clear and settle. The clearing agent thereby assumed the risk that payment would be made on the sale of
        the stock. This risk could be assumed by the clearing agent in its capacity as prime broker, since the clearing
        agent would itself receive the stocks if the pension plan failed to pay.

        Finding a seller is therefore absolutely no challenge in practice, once all business relations have been
        established.

        As can be seen from the e-mails provided as Appendix 78, despite all the preparation, not all pension planners
        managed to place an order to buy stocks in every single case. This could theoretically be because there was
        no corresponding supply of stocks on the market or because the clearing agent had not given its commitment
        to guarantee the settlement of the trade. Which of the two scenarios was actually the case is, in this respect,
        irrelevant. The fact is, however, that the pension plans did not always “unravel the cabal,” as the tax
        authorities again allege, without any evidence whatsoever.

        The same goes for the challenge of finding a forward counterpart. A forward is also brokered by brokers.
        The ultimate counterparty to the forward contract may have many different reasons for entering into the
        contract. One of them may be to speculate on how much the stock price will fall when the dividend is paid.
        Another may be that the forward counterparty wants to secure the price at which he can buy the stocks
        back from the market after he has originally sold his stocks to the market before the distribution of the
        dividend. This may be a purely speculative transaction or, as mentioned above, a foreigner who would lose
        the 27% dividend tax if he owned the stocks on the dividend date.

        Finally, there is the equity borrower, whose motivation has already been described in detail in this post.
        Also, the stock borrower is found through professional stock loan intermediaries. The GMSLA framework
        agreement concluded in advance ensures that the pension plan can lend the stocks when the need arises. A
        brief conversation with the intermediary prior to the stock purchase ensures the pension plan that the
        specific loan can be made in time to pay for the stocks.

        Finding all these counterparties is certainly not something that can be done in a short time. That is why the
        account opening procedure with the various professional operators takes so long. All contracts must be in
        place before trading can begin.

        The best evidence that this is possible in the real world and behaves exactly as described in our post is that
        all the trade and transaction reports were filed with the respective responsible (regulatory) authorities in
        London (FCA and LSE). This is further supported by the voluminous documentation of the transactions
        (custody statements, electronic custody records, trade notes from the fund brokers, audited financial
        statements of the custodians, etc.).

        It is further noted that the following statistics from the Danish Financial Supervisory Authority on the
        turnover of Danish stocks, which have been presented in the cases, confirm that in reality the situation is as
        stated:




Case No. XX-XXXXXXX                                   Page 156/239
         Figure 2.3. Stock turnover in selected companies - 2015




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                                              turnover                   dividend date                                                                    turnover                                                                               dividend date

        Note: The dividend date indicated is the first day on which the share is traded without the dividend (the so-called x-day -
        the day after the day of the General Meeting. The dividend itself is not paid to shareholders until a few days later. The
        figures are based on Mi-FID data, which aims to investigate market abuse cases. It means that for one transaction there
        may be 1, 2, 3, 4 or in some cases more MiFID reports. The reported turnover is therefore not necessarily fully accurate.
        However, whether or not there is a risk of multiple reporting based on the same transaction cannot explain the large
        around dividend dates. SOURCE: Financial Supervision
                                                                                                                                                                                                                                                                 Document 836-47




        The fact that there is a daily trading volume of Danish stocks of more than DKK 100 trillion means that
        countless investors trade stocks in the same companies at the same time every day. Many investors choose
        to trade a particular stock just when a dividend payment is about to be made. All this is not a sign of fraud.

        Had there been real evidence of fraud in the cases, there would also have to be suspicions on the part of
        the prosecution of a strength that would lead to the indictment of the pension plans or their trustees. The
        court in Lyngby has indicated by order of March 18, 2019 that this is not the case for Doston Bradley or any
        of the pension plans managed by him (including the Pegasus Fox 23 LLC Solo 401K Plan trial). The order is
                                                                                                                                                                                                                                                                 Filed 06/27/22




        provided as Appendix 92.

        In line with this, in November 2019 the English prosecutors also decided to stop their own investigations into
        the case. They will only provide Denmark with the assistance required under international agreements, cf.
        the Ministry of Justice's communication to the Folketing's Judicial Committee quoted in the article of
        November 16, 2019, which is presented here as Appendix 93. Also attached as Appendix 94 is a letter from
        the UK Crown Prosecution Service stating that they are no longer pursuing investigations against former Solo
        Group employees on their own initiative.
                                                                                                                                                                                                                                                                 Page 164 of 462




        Despite this, the Danish Tax Agency continues to claim that the pension plans' arbitrage transactions

                                     "only act as accounting entries without real transactions"
                                     (summary post of August 09, 2019, page 28)




Case No. XX-XXXXXXX                                                                       Page 156/239
  Case 1:18-md-02865-LAK                     Document 836-47                Filed 06/27/22             Page 165 of 462




        However, all trading in dematerialized stocks today takes the form of electronic book-keeping records only,
        as there are no longer any paper documents being transferred. Pension plans placed electronic orders with
        their brokers, just as any other customer would do with his broker. The broker electronically matched the
        pension plans' buy orders with sell orders in accordance with applicable rules and under the supervision of
        the UK FCA. After the matching of the orders, clearing instructions were electronically given to the clearing
        and settlement agent. Both clearing and settlement instructions and their execution are now always
        electronic, as dematerialized stocks cannot be cleared, settled and stored in any form other than electronic.

        Thus, a stock trade today only manifests itself electronically and is real when these electronic records are
        based on real transactions, which today are also electronic. The trades carried out by the pension schemes
        via the UK brokers and clearing and settlement agents are thus no different from trades carried out by any
        other Danish bank. Here, too, everything is done entirely electronically by book-keeping entries.

        The purchase of an e-book is also today nothing more than accounting entries and electronic transactions.
        Nevertheless, both the purchases of the dematerialized stocks made by the pension plans are as real as any
        online purchase of an e-book.

        9.3 Registrations in VP Securities are without meaning

        9.3.1 The importance of a registration with VP Securities

        The Danish Tax Agency has repeatedly argued throughout its submissions that "the Pension Plans were not
        the owners of the stocks at issue in the case." Whether the tax authorities mean civil or tax ownership is
        consistently avoided and instead a legally unknown concept of 'beneficial' ownership is insisted upon.

        The tax authorities claim that the pension plan was not the "owner" of the stocks because it did not
        purchase any stocks. It seems that the Danish Tax Agency is referring to the fact that the pension plan
        should not be the civil law owners of the stocks and thus not the tax owners, simply because they cannot be
        found in the VP Securities register.

        Finally, the Danish Tax Agency admits in the lead cases in the submission of May 9, 2019, Paragraph 4.10,
        and in the summary submission of August 9, 2019, Paragraph 8.11, that a registration with VP Securities is
        not necessary to be the owner of a stock. Otherwise, the Danish Tax Agency would not have retreated to a
        statement that

                  "Data from VP Securities must be included in the evidentiary assessment."

        It is clear from this that registrations with VP Securities are only one of several possible proofs of ownership.
        Finally, the IRS seems to recognize that omnibus depositories make it impossible for VP Securities to prove
        that a person is NOT a stockholder. VP Securities can only confirm that a person is a stockholder when and if
        such person has a securities account with VP Securities.




Case No. XX-XXXXXXX                                   Page 156/239
  Case 1:18-md-02865-LAK                    Document 836-47                 Filed 06/27/22            Page 166 of 462




        The Danish Tax Agency considers in its summary submission of August 09, 2019, Paragraph 8.11, that it
        should be

                  "relevant, whether the pension plans or their custodians have held deposits in
                  VP Securities - or whether they can show through which sub-custodians they
                  reportedly have held stocks."

        That an existing registration with VP Securities unambiguously proves civil law ownership has never been
        questioned by the pension plans. After all, the very purpose of registering ownership with a custodian is to
        protect ownership against extinction. But protection is not the same as "existence or non-existence."
        Ownership may well exist without this protection.

        However, under current EU law, the tax authorities cannot discriminate against other custodians in relation
        to VP Securities. This would be a clear breach of fundamental rules on the free movement of capital and the
        guarantee of freedom to provide services within the EU. The tax authorities cannot therefore require
        stockholders who hold their securities account with a foreign custodian to provide a chain of custodians and
        sub-custodians up to VP Securities as the only acceptable proof of ownership. No stockholder of a company
        has access to these sub-custody chains. These chains can at most be enforced by the tax authorities, as part
        of the public administration, through the coercive power of the State, from the various custodians in the
        chain of custodians. However, the Danish Tax Agency has not done so. In the present case, this must be to
        the detriment of the tax authorities under the official power.

        The registration of stockholding with any authorized and supervised CSD (custodian) in the EU must have the
        same evidential value. The tax authorities cannot make English custodians second class compared to the
        Danish CSD VP Securities.

        As the Danish National Tax Tribunal’s decision has correctly noted, pension plans have stated in many places
        that VP Securities does not have an accurate ownership register and that stock trades are not necessarily
        executed by the transfer of stocks between custodians, as trades are first settled by transfers of stocks
        internally (book-keeping-wise) at each custodian.

        This fact, which results from the liberalization of capital markets by EU legislation, the Danish Tax Agency
        tries to eradicate by the simple assertion:

                  "Such pleas cannot lead the pension plans to succeed in their complaint."

        The Danish Tax Agency does not provide any legal justification why the Danish National Tax Tribunal’s
        decision should disregard the applicable EU rules on trading in securities, simply because the result implies
        that VP Securities can be used as the only legally valid source to document ownership of Danish stocks, or
        that the documentation of chains of custodians and money respectively stocks is not a practically possible
        proof of ownership under the EU rules.

        The Danish Tax Agency simply refuses to accept the fact in the case that ownership is a legal concept and
        that its acquisition is determined by legal rules. Legal rules which are partly Danish and partly European and
        even international (The Hague Convention).




Case No. XX-XXXXXXX                                   Page 156/239
  Case 1:18-md-02865-LAK                    Document 836-47                 Filed 06/27/22            Page 167 of 462




        9.3.2 Evidence that the Solo Group has held stocks

        The Danish Tax Agency requires in the lead cases the summary submission of August 9, 2019, § 5.1, page 31,
        that evidence must be provided that the Solo Group has "owned" the stocks that the pension plans have
        owned and for which the Solo Group has certified ownership.

        The chain of custodians and sub-custodians required by the Danish Tax Agency cannot be provided by any
        client of any bank. Therefore, neither can the pension plans. Since it is technically impossible for any client
        of the international custodians behind a long chain of sub-custodians, Directive 98/26/EC of the European
        Parliament and of the Council of May 19, 1998, on settlement finality in payment and securities settlement
        systems (Settlement Finality Directive) already recognizes the uniqueness (and hence the legally binding
        effect) of the registration of a securities settlement effected by an authorized clearing agent and the
        custody of the securities by a custodian. A re-registration with the CSD where the stocks were originally
        issued or the documentation of a chain of custodians is not required by the Directive for the recognition of
        ownership, even vis-à-vis third parties. On the contrary, recital 11 of the Directive explicitly states that:

                  "transfer orders and the netting of such orders should have legal effect in the legal
                  systems of all Member States and be binding on third parties."

        Article 3 further states that:

                  "Transfer orders and netting have legal effect and are binding on third parties even in
                  the event of insolvency proceedings against a participant if the transfer orders were
                  entered into the system at the time of the opening of insolvency proceedings"

        The tax administration's requirement for a chain of ownership is thus in direct contravention of EU law. The
        Finality Directive equates settlement with any authorized and regulated clearing agent and custodian with
        settlement of a securities trade with the CSD where the stocks were issued.

        9.3.3 Letters from SØIK and VP Securities

        The Danish Tax Agency states in the preamble to the summary submission of August 9, 2019, that, following
        an inquiry to SØIK on November 23, 2017, it was informed that SØIK could not confirm at that time that the
        pension plans had received dividends from the Danish stocks.

        This is quite natural. As mentioned above, no one can confirm this.

        What is remarkable here is that SØIK does not write that it can exclude that the pension plan members have
        received dividends. No one can do that either.

        The same applies to SØIK's opinion on the ownership of Danish stocks. SØIK does not exclude that the
        pension plans have been owners of the stocks. They can only say that they cannot confirm it. This is,
        however, quite natural when the computer systems of the Solo group have not been examined. That SØIK
        has not done so is clear from the very fact that SØIK has asked VP Securities to confirm whether the pension
        plans have owned the Danish stocks. If the computers had been examined, the SØIK could have made its
        own statement and did not have to approach VP Securities.

        But VP Securities knows nothing about stockholders who hold their stocks with sub custodians throughout
        the world. Therefore, VP Securities does not positively confirm in Appendix N that it can exclude pension




Case No. XX-XXXXXXX                                   Page 156/239
  Case 1:18-md-02865-LAK                     Document 836-47                 Filed 06/27/22            Page 168 of 462




        ownership. Thus, in VP Securities' letter of August 13, 2019, VP also explicitly points out that it has not kept
        securities accounts registered in the names of the pension plans, but that the stocks may have been held in
        omnibus securities accounts.

        Equally misleading is the letter from VP Securities dated August 13, 2019, forwarded as Appendix AO of
        August 17, 2019. Pursuant to this letter, the Government Lawyer has requested VP Securities to confirm the
        amount of gross profit calculations attributed to securities accounts registered in VP Securities. To this end,
        the Government Lawyer has provided VP Securities with the amounts of various gross dividends declared by
        pension plans for tax recovery purposes in relation to dividend payments from various listed companies. VP
        Securities was asked to explain whether the amounts are consistent with the allocation of gross dividends
        to VP Securities securities accounts, where 27% tax is withheld.

        The question itself is misleadingly worded. As noted above, VP Securities would not have withheld 27%
        dividend tax on the stocks purchased by the pension plans if, on the record date, those stocks were in the
        custody of a person with a tax status other than the 27%. In addition, if the seller was one of the tax-exempt
        stockholders mentioned in the VP Securities letter, no dividend tax was paid at all on the dividends received
        by the pension plans through the market claim process. Such an error can only be attributed to the Danish
        dividend tax system.

        The question to VP Securities also documents the Danish Tax Agency’s complete ignorance of the market
        claim process and the effect of short selling on the dividend date, introducing additional dividends into the
        custody chain than those originally originated by the company itself.

        Thus, the Danish Tax Agency does not document with Appendix AO anything other than the malfunctioning
        of the system for the administration of dividend tax.

        The tax authorities should rather have asked VP Securities whether a registration of ownership acquired by
        matching a buy and a sell order, which is then settled by an authorized clearing agent and settled in an
        account with a foreign custodian, is evidence of a genuine settled stock trade. This question is of course not
        asked by the Danish Tax Agency, as VP Securities would confirm this. VP Securities could also have
        confirmed on this occasion that the 'statement of account' requested by the Danish Tax Agency on page 32
        is nothing more than the custody statements submitted and that such a statement does not show the
        increase and decrease in the number of stocks and the calculation of the price gain or loss. A custody
        statement shows the stockholding - the name of the stocks, the number and the price at which they are
        traded. Custody statements also show whether the stocks are being bought or sold. Finally, the custody
        statements provided show the date of each transaction.

        The custody statement fulfils everything that a securities account statement should show. And that's all it
        needs. The tax authorities can calculate the gain or loss themselves by taking the purchase price and the
        sale price of the respective stock. This is what we have done in the published statements submitted, which
        the Danish Tax Agency does not wish to accept, see the Agency's summary submission of August 9, 2019, §
        5.3, page 33. Unfortunately, if the Agency does not want to do this, they will have to make their own effort
        and calculate the gains and losses. That is not what a bank statement shows.

        9.4 The pension plan received dividends

        When the pension plan purchased the stocks on the day it was decided to pay a dividend, the pension plan
        was not yet registered as the owner of the stocks on the record date. The dividend was therefore
        immediately, initially attributed to the seller's custodian.




Case No. XX-XXXXXXX                                    Page 156/239
  Case 1:18-md-02865-LAK                    Document 836-47                Filed 06/27/22             Page 169 of 462




        However, as trades on the date of the AGM are marked as "cum ex" in the clearing systems, the clearing
        agents and custodians ensure that the dividend from the company is taken from the seller as soon as the
        buyer has been registered as the new owner of the stock. The dividend is automatically passed on to the
        buyer during the market claim process. As the buyer can only be identified by his account with his
        custodian, the dividend is routed to the buyer's cash account with the custodian.

        Thus, what the pension plan received was the dividend itself from the Danish company, even though the
        buyer was not registered as owner on record day.

        As already mentioned above, neither the pension plan nor anyone else can rule out the possibility that
        among the crowns received by the pension plan through the chain of custodians there were some crowns
        which originated from a short seller and were thus in fact a compensation payment. As outlined in section
        3.3.2.2.1 shows, the crowns and ears originating from a short seller are irrevocably mixed with the crowns
        and ears originating from the company itself. No one in the chain of custodians can separate the total pay-
        received from his own custodian into the individual sub-sums consisting of real dividends and compensation
        payments.

        The pension plan must therefore assume in good faith that all the Danish kroner it received came from the
        Danish companies. However, the pension plan has no access to its custodian's account and therefore
        obviously cannot document whether the custodian has received the dividend or a compensation payment
        from a short seller, as the Danish Tax Agency requires in the August 9, 2019, page 31.

        Because of the seizure of all documents from their custodians, the pension plans can only refer to Sanjay
        Shah's statement of claim to the High Court in London, also filed on behalf of the individual custodians.

        As can be seen from pages 18 and 19 of this pleading, the Solo Group had omnibus accounts with financial
        institutions, which had their deposits with Danske Bank, among others. Danske Bank itself has an omnibus
        account with VP Securities. Even Sanjay Shah does not know whether the other custodian banks used by the
        Solo group also had an account with VP Securities, as he was apparently not a director of the four
        custodians in the Solo group.

        Since neither the pension plan nor its custodians can know how much of the net dividends received for the
        pension plan actually came from the Danish companies and how much came from short sellers, the
        requirement set by the Danish Tax Agency (in the summary submission of August 9, 2019, page 31) for
        documentation of the receipt of the dividends is unrealistic. No one can document how much dividend and
        how much compensation payment they have received.

        9.5 Withholding tax was withheld in the pension plan dividend payment

        Since Danish companies are obliged to withhold dividend tax, and the pension plan is no more able than
        anyone else to distinguish between crowns originally derived from a compensation payment and crowns
        derived from the company itself, the pension plan can legitimately assume that companies in Denmark have
        fulfilled their obligation to pay dividend tax.

        This view is also supported by the fact that the pension plan received only a net dividend.

        Ex tuto, it is noted that it is of --
                                           no consequence to the stockholder's claim for reimbursement whether the
        dividend-paying company has failed to pay the dividend tax as it should.




Case No. XX-XXXXXXX                                  Page 156/239
  Case 1:18-md-02865-LAK                     Document 836-47                  Filed 06/27/22             Page 170 of 462




        Thus, the failure of the dividend-paying company to pay the withheld dividend tax in breach of its
        obligations does not prejudice the pension plan or its right to dividend distribution.

        According to Article 69(1) of the Withholding Tax Act, it is a condition for the reimbursement of dividend tax
        to the dividend recipient that the dividend-paying company has withheld the dividend tax for which a
        reimbursement is sought.

        As stated in the first Paragraph of the provision, it is a condition that "under §§ 65-65 D, withholding tax is
        withheld which exceeds the final tax under a double taxation agreement [..]."

        As follows from the above quotation, it is a condition for the reimbursement of dividend taxes that the
        dividend-paying company has withheld the dividend tax from the dividend in question.

        If the dividend-paying companies have withheld but not paid the dividend tax as they should have, it follows
        from the case law on non-settlement of withheld but not paid dividend taxes that the dividend recipient is
        in principle not liable for the non-payment of the dividend tax.

        In this respect, reference can be made to the practice concerning the resetting of dividend taxes, see the
        Supreme Court's judgment of 26 May 1981, published in U 1981.473H, and the Supreme Court's judgment
        of 22 March 2013, published in SKM2013.294.HR. On the background of the reset institution, reference
        should also be made to the article by Signe Wesenberg-Lund and Winnie Smidt Pålsson in TfS 2011.618, and
        the article published in TfS 2011.170.

        Further to the above, it should be highlighted that, according to practice, it is a condition for such liability
        for unpaid dividend taxes that the dividend recipient is particularly closely linked to the dividend-paying
        company, see Legal Guide 2019-2, § A.D.6 (Reset and liability).

        In the present case, there is no basis for denying the pension plan reimbursement of the dividend taxes at
        issue, thereby effectively holding the pension plan liable for the non-payment of dividend taxes by the
        dividend-paying companies.

        Thus, as the above-mentioned case law shows, there is no legal basis to make the pension plan liable for a
        non-payment of dividend taxes.

        It should be pointed out in this connection that the pension scheme in question had no particular link with
        the dividend-paying companies, all of which are large listed companies.

        The pension plan has of course had no influence - either direct or indirect - on the decisions of the dividend-
        paying companies regarding the payment of dividend taxes.

        It would therefore be totally unjustified in the present case to deny the pension plan rem
                                                                                                 i bursementof the dividend
        taxes at issue on the grounds that the dividend-paying companies have not paid the dividend taxes as they
        should.

        9.6 The pension plan received the reimbursement

        Since the tax agent engaged was responsible not only for the request for the reimbursement but also for
        monitoring it, the reimbursement had to be paid from Danish Tax Agency to the tax agent.

        The pension plan had engaged a professional tax reclaim firm (tax agent) to verify that all the conditions for
        obtaining a reimbursement from Denmark were met and duly documented.




Case No. XX-XXXXXXX                                    Page 156/239
  Case 1:18-md-02865-LAK                    Document 836-47                 Filed 06/27/22            Page 171 of 462




        The tax agent informed the pension plan about the receipt of the respective reimbursement and transferred
        all reimbursement amounts to Solo Capital's cash account. This had a discharging effect on the pension
        plan, as the pension plan had its account with the Solo Group. In the Solo Group, the receipt of each
        reimbursement was booked to the account of each pension plan, as were all other transactions (purchase
        and sale of stocks, receipt and repayment of the cash collateral and payments under the forward contracts).
        The Solo Group was obliged to do this in its capacity as custodian.

        Like the dividend, the reimbursement also fell under the TTC clause, however, without a debt to the
        custodian, the pension plan was free to dispose of the reimbursement received.

        Upon receipt of the reimbursement, the liquidity loss incurred by the pension plan when it purchased the
        stocks including the gross dividend but received only a net dividend was offset. The gain that the pension
        plan had realized on the stock trade or forward transaction now also manifested itself in a corresponding
        liquidity. The pension plan had just closed all positions, as the gain realized so far was now only equal to the
        amount of the reimbursement. The profit on the stock trade could then cover the loss on the dividend tax if,
        against all expectations, the pension plan did not receive the reimbursement. At the moment the
        reimbursement was received, the gain from the stock deal or forward transaction would no longer cover
        this cash loss and appeared for accounting purposes as a gain. A gain that had the same size as the
        reimbursement. However, the gain was not the reimbursement.

        The realized gain available as cash after the reimbursement was used by the pension plan to pay various
        services. However, the fact that bills had to be paid for services rendered did not limit the pension plan's
        ability to dispose of the gain, which was equal to the amount of the reimbursement. The pension plan was
        responsible for who was paid, when and how much. It was within the pension plans' own discretion
        whether or not to pay for services received (i.e. to keep the contracts with the service providers).

        Moreover, there was nothing to prevent the pension plan from deducting the gain corresponding to the
        reimbursement amount from the Solo group. For example, if the pension plan wanted to switch to another
        custodian, it was free to transfer all the assets, including the gain, to another custodian/bank.

        However, the pension plan did not manage to withdraw the profit to another bank before the Solo group's
        business activity was stopped in the summer of 2015. Unable to do business without its servers, Solo Group
        had to file for bankruptcy and PwC was appointed as trustee. All funds held in the Solo Group accounts
        were placed under the administration of PwC, which to date has not paid the pension plan its stock of the
        funds.

        However, it is a deprivation of the funds that PWC first wrongly imposed on the pension plan. Until then,
        the pension plan was unlimited in its powers of disposal over the funds.

        9.7 Security under custody agreement

        Paragraph 5.1 of the custody agreement submitted in the main proceedings, see Appendix 21, states that the
        pension plan was to transfer an amount immediately to the pension plan's account with the custodians
        (minimum cash balance) as security for the pension plan's obligations when the agreement was concluded.

        This obligation was not foreseen in all versions of the custody agreements used. The custody agreements that
        Solo Capital started to use did not foresee this condition.




Case No. XX-XXXXXXX                                   Page 156/239
  Case 1:18-md-02865-LAK                     Document 836-47                 Filed 06/27/22            Page 172 of 462




        Taking into account that MIFID II would soon enter into force, this minimum deposit requirement was
        introduced. This was to ensure that all clients could be considered as (semi-)professionals. The introduction
        of a minimum deposit was not justified to pension plans on the grounds that there should be risks
        associated with the trading of dividend arbitrage. The risk associated with dividend arbitrage is in fact also
        very limited, as a forward hedge is entered into on the same day as the stocks are acquired. The pension
        plan - and its custodian - ensures through the forward hedge that the stocks can be sold at a fixed price. The
        price that the forwarder maintains.

        The four custodians did not need to enforce a prepayment of a certain minimum deposit as, as specialists in
        dividend arbitrage, they knew how to manage risks by realizing all the transactions (stock purchases,
        forward hedges and stock loans) simultaneously.

        The Custodian also effectively only incurred a (limited) financial risk until the net proceeds from the stocks
        were received and thus stood as collateral under the Custody Agreement and the TTC clause.

        Since the money is held by Solo Capital under the TTC clause, it is no longer a component of the pension
        plan's own assets that must be reported to the IRS. "Title Transfer" means precisely that the ownership of
        the cash is transferred to Solo Capital. The pension plan has thus not breached any reporting obligation in
        the United States, as the IRS would like to make it appear in its summary statement in the lead cases on
        page 46.

        When and if a pension plan changed custodian (within the Solo group) from one year to the next, the
        minimum deposit remained with Solo Capital as the parent company and the new custody statements
        showed an "opening cash balance" of DKK 1,000. This fact has also been established by the Danish Tax
        Agency itself, which claims that 'the money disappears':

                  "An apparent exception to the lack of profit is Jump Group (SANST j.nr. 18-
                  0004756, Appendix 10, p. 2), whose account with Old Park Lane in 2014 was
                  credited with cash payment/receipts of 927.100,27 DKK and debited with
                  19.952,02 USD. It is undocumented what these items cover. At the end of
                  2014, these amounts were apparently in the account of Old Park Lane.
                  However, the amounts disappeared from 2014 to 2015, when Jump Group
                  used a different Shah custodian, namely Solo Capital."

        9.8 "Fictitious transactions"

        The tax authorities repeatedly refer to the fact that the allegation of fictitious activity is the result of
        investigations into the records of VP Securities. The pension plan has repeatedly denied that VP Securities is
        a suitable source of evidence of beneficial ownership of Danish stocks, including the identification of
        fictitious or real activity.

        The pension schemes represented in the lead cases have asked an English expert - Simon Bird - to
        investigate whether the activity of the Solo companies could be "fictitious." The expert's report - presented
        here as Appendix 95 - concludes that the claim of "fictitious" activity is not tenable. He also points out that
        his investigations into the concept of 'fictitious activity' show that this is not a legally unambiguous concept.

        The tax authorities claim, without any evidence, that the pension plan did not become the owner of the
        stocks. It must be for the Danish Tax Agency to prove this allegation of a negative fact (no ownership), since
        the pension plan has provided not only the evidence of ownership originally requested, but also
        subsequently all the documents now requested in support of a claim for reimbursement, which is more
        than




Case No. XX-XXXXXXX                                    Page 156/239
  Case 1:18-md-02865-LAK                      Document 836-47                Filed 06/27/22            Page 173 of 462




        can be presented. The pension plan is the only one not to have provided documentation on ownership
        chains and cash flow, which no stockholder holding its stocks in an omnibus securities account can provide.
        The pension plan has lifted the burden of proof several years ago. In this context, reference is also made to
        the above-mentioned burden of proof in these cases.

        9.8.1 Definition of "notional transaction"

        9.8.1.1 Fictitious Trade

        The Danish Tax Agency claims in the Agency's summary submission of August 9, 2019, pages 5, 12, 50, 52,
        54 and 70, as in all of the Agency's previous submissions, that the stock transactions carried out by the
        pension plans should be fictitious - and should not have led to the pension plans actually becoming the
        owners of the stocks in question.

        While the Danish Tax Agency’s submissions in Denmark do not provide many clues as to what is meant by
        "fictitious transactions" and "beneficial owners,” the Danish Tax Agency’s submissions in other countries
        during the civil compensation cases provide more clues as to what the Danish Tax Agency’s actual claim may
        be.

        The tax authorities seem to deny the reality of the transactions by assuming that the pension plans must
        have bought the large stockholdings from short sellers who never delivered stocks to the pension plans'
        securities accounts, so that the pension plans could not have received a dividend (in the form of a market
        claim) and were therefore not entitled to a reimbursement.

        This starting point is supported by the following assumptions:

        1      Pension plans bought stocks from short sellers
        2      The stocks were never delivered to the pension plans
        3      The pension plans did not receive any dividends (any market claim).

        9.8.1.1.1 Purchase of short sellers

        As will be seen in more detail in the § above (on short selling), no buyer knows whether he is buying from a
        short seller or a long owner. The pension plan has no contact with the ultimate seller. Moreover, all stocks
        sold by all the broker's clients are unambiguously mixed together at the broker's premises, so that it is not
        possible to trace which "stock" came from which seller. Dematerialized stocks are commodities that cannot
        be individually identified and traced. Finally, the owner-matching trades carried out by brokers mean that
        pension plans always buy from a long owner. None of the brokers sold the stocks short. They were not
        market makers.

        9.8.1.1.2 Delivery of stocks bought by short sellers

        Even if some of the stocks purchased by the pension plans ultimately originated from one or more short
        sellers, all stocks were delivered to the pension plans' securities account in the Solo group. At the latest at
        the time of delivery, only one civil law owner of the stocks remains.

        For tax purposes, the pension plans are also the beneficial owners of the stocks, because the pension plans
        did not know whether - and if so, which - of the stocks purchased the short seller had borrowed in order to
        deliver.

        Furthermore, upon delivery to the pension plans, the legal ownership of (and right to repurchase) the stocks
        by the stock lenders ends and the pension plans become the sole legal owners of the stocks.




Case No. XX-XXXXXXX                                    Page 156/239
  Case 1:18-md-02865-LAK                    Document 836-47                Filed 06/27/22            Page 174 of 462



        9.8.1.1.3 Receipt of dividends (market claim)

        As the pension plans received the stocks in their securities account and were also the last buyers of the
        stocks on the date of issue (the date of the General Meeting), the pension plans also received the dividends
        from the companies. Whether the dividend received by the pension plans was a compensation payment
        from a short seller or the dividend originally paid by the company itself is not known. Least of all the
        pension plans themselves.
        Therefore, the pension plans cannot be required to prove that the amounts they received were not
        compensation payments, but original dividends from the Danish companies.

        9.8.1.2 Fictitious agreements

        The Danish Tax Agency's theory of fictitious transactions can also be interpreted to mean that the Agency
        believes that the pension plans either did not issue any orders to purchase stocks or, if they were issued,
        they were not directed to a purchase of stocks but directed to making it appear that the pension plan
        intended to purchase stocks.

        With such a definition, the Danish Tax Agency would be guided by the concept of "Scheingeschäft" as
        defined in Germany. In the European database eur-lex.europa.eu and on the European Parliament's home
        page, europarl.europa.eu, the German term "Scheingeschäft" is translated precisely as "fictitious
        transactions,” "financial operations,” "phantom operations" or "supposed transactions" which are not
        based on factual circumstances (are not the result of the actual intentions of the parties concerned).

        Considering that Germany, after many years of experience in the investigation of ex-trading, must be
        considered as a leader in Europe, it can be assumed that the tax authorities are influenced by the language
        of the German authorities.

        The Danish Tax Agency does not only encounter the problem that German law differs substantially from
        Danish law as regards the conditions for acquiring ownership of stocks (see above). The Tax Agency is also
        led by the German allegations that the cum ex transactions are so-called "Scheingeschäfte,” without a
        similar concept existing in Danish language and much less legally defined.

        Under German law, "Scheingeschäft" is defined both in tax law (§ 41 Abs. 2 AO), and in civil law
        § 117 BGB (cf. BFH BStBl 1985, 33; 2004, 622; Klein, AO, 13. edition p. 42 Nr. 42). According to this, a 'sham
        transaction' is one in which the contracting parties, by common agreement, merely make it appear that a
        legal transaction has taken place, but the parties do not intend, by common agreement, to give effect to the
        legal effects normally associated with the legal transaction (BGH NJW 1982, 569; 2002, 1963). This is
        particularly so in view of the fact that they agree not to intend what they declare and that declarations are
        only made in order to pretend that what one declares corresponds to one's real intention (BFH BStBl 1997,
        655; BFH/NV 1988,151; 2007, 2233).

        In the cases in question, however, there are no external circumstances (circumstantial evidence) to suggest
        that the pension plans have reservations about not wanting the legal effects of the agreements (purchase
        contracts, forward contracts and stock loans). On the contrary. The pension plans would acquire ownership
        of the stocks and thus fulfil the conditions of the double taxation agreement with Denmark. The pension
        plans and the respective contractual counterparties wanted all the legal effects associated with the
        agreements concluded. These legal effects were also realized as the stocks were registered in the securities
        accounts of the pension plans.

        Where a person makes a declaration of intent which has certain legal effects and the person intends both to
        give effect to those effects and also to the possibility of doing so, there cannot




Case No. XX-XXXXXXX                                  Page 156/239
  Case 1:18-md-02865-LAK                    Document 836-47                 Filed 06/27/22            Page 175 of 462



        be fictitious acts or agreements. If the will to produce the effects is present and the person has the power
        to cause the effects to be produced, the agreement concerning those effects is also final and binding and
        produces the effects intended by the agreement.

        9.8.2 Trade organized by Solo

        The tax authority's claim of fictitious trading arranged and controlled by a clearing agent (Solo) turns the
        reality and rules of stock trading on their head, as:

        x      The fund broker receives an order (instructions) from his client (the pension plan)
        x      The fund broker sends instructions to the clearing and settlement agent on clearing the trade
        x      The Clearing and Settlement Agent is a mere recipient of instructions from the Fund Broker and
        cannot thereby arrange, cause or control the transaction. Clearing and custody comes last in the chain of
        services.

        The tax authorities' allegations about internal bookkeeping and a lack of flow of stocks and money are
        untenable, as these allegations refer to the post-trade process (i.e. clearing and settlement), which only takes
        place after the buyer has become the owner of the stocks. Ownership is transferred by the final and binding
        purchase agreement. Clearing and settlement are thus in principle irrelevant for the acquisition of ownership
        of the stocks, as they are processes leading to a registration of the already acquired ownership with a
        custodian.

        In this context, it should be noted that the entity exclusively responsible for clearing and settlement is
        subject to the following prohibition under Article 37(3) of the CSD Regulation: "Overdrafts on securities,
        debit balances and securities creation are [...] not permitted in a securities settlement system operated by a
        CSD." This also applies to an investor CSD such as the companies in the Solo group, pursuant to Article
        192(2) of the Capital Markets Act. It is therefore impossible for a regulated and controlled UK investor CSD
        to have credited Danish stocks to the account of a pension scheme without having debited the same to
        another securities account. This would have been detected and prevented by regular supervision of the firm
        under FCA regulations.

        Even if the FCA's ongoing monitoring of the Solo group had not revealed a lack of cover for the transactions
        in the accounts, the thorough investigation of the Solo group's servers after 2015 by the FCA, the UK
        prosecutors and SØIK would have produced evidence of this and led to corresponding criminal proceedings.

        The trade and transaction reports submitted and received by the FCA and the LSE respectively further
        demonstrate that the brokers, clearing agents and custodians were not simply carrying out "internal
        bookkeeping." The records of the stock transactions in electronic form were reported to the competent
        authorities as required by the relevant legislation.

        The clearing agent and the custodian, contrary to what the Danish Tax Agency claims, settled the purchase
        contract concluded by the independent broker and thereby secured the ownership of the stocks already
        acquired by the pension plan. The solo group did not carry out any fictitious transactions but ensured that
        the excess number of owners of Danish stocks which might have arisen from the purchase of stocks from
        short sellers was brought back into line with the number of stocks issued by the Danish companies.




Case No. XX-XXXXXXX                                   Page 156/239
  Case 1:18-md-02865-LAK                      Document 836-47               Filed 06/27/22            Page 176 of 462



        9.8.3 Fictitious stocks - short selling

        As explained above in § 7, short selling leads to multiple civil law owners of Danish stocks, from the time the
        purchase contract is concluded to the time the stocks are delivered during the settlement of the trade.

        If the Danish Tax Agency cannot approve the concept of multiple owners of the same stocks, the Danish Tax
        Agency will necessarily come to the conclusion that there must be more stocks outstanding than issued by
        the companies.

        However, these stocks are far from fictitious, as the Danish Tax Agency claims in the summary submission of
        August 9, 2019, page 21. They are real, they are traded, and they give entitlement to registration in the
        purchaser's securities account and entitlement to dividends (provided the purchaser is the last purchaser on
        the dividend date). They are no different in fact, in reality or in law from stocks issued by the companies
        themselves. They suffer only from a single defect: They are not (yet) protected against third parties, as they
        are not yet registered in a securities account. However, stocks issued by companies themselves also suffer
        from this deficiency in the period between the sale of the stocks (by a long owner) and the registration of
        the transfer of ownership on the securities account.

        Stocks sold by short selling are also effectively indistinguishable from stocks sold by a long owner seller. The
        only person who can see the difference between the stocks is the short seller's custodian and clearing
        agent, who can see that the short seller does not have the stock at the time of the sale and the clearing
        agent therefore guarantees that the stock sold will also be delivered. However, the stock that the custodian
        posts to the buyer's account is always a genuine stock issued by the company. The excess number of stocks
        held in the trade cannot be re-registered in a securities account.

        However, short selling may result in there being more than one legal owner of the stocks, as the stock
        lender cannot know whether the stock borrower is selling the stocks to a third party buyer who is acting in
        good faith and thus does not know that the stocks he is buying are only borrowed. In many cases, the
        beneficial owner does not even know that his stocks are on loan, since many banks have (or had) included
        in their general terms and conditions the right to lend or even sell the stocks to third parties without
        informing the depositary. In this case, it is the bank that compensates its customer for the dividends
        received. The stocks which the buyer receives on his securities account are also in this case the stocks
        issued by the company itself. Other stocks cannot themselves be registered in a securities account.

        At the moment when the pension plan's stock purchases were all settled and the stocks were registered in
        its account, they were undoubtedly genuine stocks issued by the Danish companies owned by the pension
        plan.

        9.9 The Tax Agency's erroneous assumptions about the process

        In its summary of August 9, 2019, the Danish Tax Agency describes in § 5.4, pages 34-35, how it believes the
        process for purchasing stocks should be, thereby reproducing - again erroneously - what the pension plans
        in the lead cases have previously written.

        The Danish Tax Agency thus claims:

                  The pension plan claims (5th submission, page 12, point 3 and § I.1.1.7) that a purchase
                  order has been placed with the custodian/clearing agent, which is part of the Solo group.
                  No evidence of these purchase orders has been provided. Once the custodian has
                  approved the order, the order has been placed with an executing broker.

        This quote is wrong.




Case No. XX-XXXXXXX                                   Page 156/239
  Case 1:18-md-02865-LAK                    Document 836-47                Filed 06/27/22            Page 177 of 462



        The Pension Plan has never alleged that the purchase order is placed with the custodian/clearing agent. The
        purchase order is, of course, placed with the broker. The clearing agent is simply informed that the order
        has been placed so that the clearing agent can give a pre-commitment to settle the trade if it is matched.
        Once the clearing agent has given its settlement commitment, the broker matches the order that he already
        has from the pension plan.

        The trade note actually documents that the trade has been matched, and since no one can prevent the
        settlement after the matching has taken place, a broker confirmation is also a confirmation of the settlement
        ("execution,” as the Danish Tax Agency wants to call it). Therefore, a broker confirmation also contains
        information about the settlement date.

        On page 35, the Danish Tax Agency continues with an incorrect description of how a trade takes place:

        1.                          "The pension plan places an order (e.g. for purchase) - possibly after approval by
                                     the custodian
        2.                          The broker matches the pension plan with a co-contractor (e.g. a seller)
        3.                          The broker makes a trade note (broker confirmation)
        4.                          The transaction is carried out 8settlement) in accordance with the agreement"

        This is not correct.

        The broker does not match a pension plan with a counterparty. What is matched are the respective orders.

        Should the Danish Tax Agency have thought that it was the orders that were matched and simply forgot to
        write the word "order,” we must now note that clerical errors also happen to the Danish Tax Agency itself.
        When this happens to the Danish Tax Agency itself in a post of "only" 76 pages, it is all the more natural that
        typing errors also occur in thousands of pages of broker confirmations.

        The Danish Tax Agency continues on page 35:

                  "If everything had been done nicely and properly, the trade should be executed
                  (settlement) on the terms indicated in the trade note (unless there is an error in
                  execution). In other words, the trade note (for real trades) should determine the terms of
                  the trade."

        The fundamental mistake made by the Danish Tax Agency here is that settlement is not made on the basis of
        a broker confirmation, but on the basis of a separate electronic settlement instruction issued by the trading
        platform where the orders were matched. It does not matter what is written on a broker confirmation for the
        settlement of a trade. The clearing agent does not see the broker confirmation. It is sent as documentation
        from the broker to the client (the pension plans).

        The example constructed by the Danish Tax Agency, where "you book a train ticket to Aarhus, get on a train
        to Malmö and still get taken to Aarhus,” is as wrong as the rest of the Danish Tax Agency’s claims about
        broker confirmations. A broker confirmation is neither to be compared with a train ticket nor to be
        compared with getting on the wrong train. If you want to compare a stock purchase with a train journey, a
        broker confirmation can at most be compared to a handwritten receipt for the train ticket to Aarhus.
        However, you still get on the right train and have the right ticket.

        9.10 Stock purchases were completed




Case No. XX-XXXXXXX                                   Page 156/239
  Case 1:18-md-02865-LAK                     Document 836-47                 Filed 06/27/22             Page 178 of 462



        The Danish Tax Agency’s claim that it has not been proven that the pension plan's stock transactions were
        settled, i.e. that the stock transactions were carried out by exchanging the parties' services (stocks and
        money), is incorrect.

        The documentation for settlement is the custody statements provided.

        It can be ruled out that the seller was not entitled to sell the stocks purchased by the pension plan and that
        there could therefore be a disqualification, since the pension plan in fact received the stocks in its securities
        account. This is precisely what the custody statement shows.

        In its summary of August 9, 2019, the Danish Tax Agency points out in point 5.5 on page 42 that

                  "there is no evidence that at any time stocks were held in a custodian of the pension plans."

        This is a simple unsubstantiated claim by the Danish Tax Agency.

        The custodian of the pension plans did not have its own omnibus account with VP Securities. For the same
        reason, VP Securities also confirms that it cannot confirm that the pension plans have been owners of Danish
        stocks.

        However, VP Securities does not confirm that it can exclude that the pension plans have been the owners of
        the Danish stocks. This is precisely because of the omnibus accounts and the settlement of stock
        transactions during the application of netting.

        Admittedly, VP Securities has confirmed that the pension plan custodians did not themselves have an
        account with VP Securities. However, this does not automatically mean that the custodians in question did
        not hold any stocks in custody. Whether they held stocks in custody can only be confirmed by the four
        custodians themselves, because only they know for sure where they held their respective securities
        accounts - with which they sub custodian.

        If SØIK had not found any stock deposits for the four custodians on the computers seized in 2015, it must be
        assumed that SØIK would have documented this to the Danish Tax Agency. Such documentation could in no
        way prejudice the criminal investigations.

        The absence of such confirmation must be interpreted as meaning that SØIK has in fact found all the
        necessary stock deposits.

        A custody statement and a dividend credit advice (DCA) are not just, as claimed by the Danish Tax Agency,
        "words on paper." Rather, they are documents issued as a result of an irreversible process that is set in
        motion when a buy order is matched with a sell order. The electronic trading platforms then provide an
        automatic signal for settlement and the result of the settlement is a custody settlement and a CDA when
        the exchange is received. Under the control of the UK FSA, trading systems cannot be set up that do not
        actually trade in stocks. The required "trade reports" and "transaction reports" to the London authorities
        would have revealed any "fictitious activity."

        There is absolutely no reason to suppose that the documentation is just words on paper and the whole
        thing a "desk exercise" - as claimed in the Danish Tax Agency’s summary submission in § 6, page 47. For if it
        were indeed as alleged by the Danish Tax Agency, then one must seriously question why the Solo Capital
        Group/Sanjay Shah even bothered to onboard




Case No. XX-XXXXXXX                                    Page 156/239
  Case 1:18-md-02865-LAK                    Document 836-47                Filed 06/27/22           Page 179 of 462



        so many customers. If Solo Capital simply printed false papers, there would be no need for any money plans.

        That the Danish Tax Agency also takes this view is demonstrated by the fact that, from June 2015 until the
        civil summons in the case in the summer of 2018, it was constantly denied that the pension plans existed at
        all. The Tax Minister and Danish Tax Agency spoke publicly about "fictitious pension plans."

        With the civil suits, the Danish Tax Agency necessarily had to admit the existence of the pension plans, but
        now retreats on equally untenable claims of "fictitious trades" or "fictitious actions."

        9.11 Longer settlement period than VP Securities

        First of all, the representatives of the pension plans would like to point out that the confusion that has
        arisen in the previous cases regarding which settlement period was used is solely due to the
        representatives' own lack of information at the time when the individual submissions had to be sent to the
        Danish Tax Appeals Agency.

        As the Treasury correctly points out, and as described above in § 2, OTC trades were generally settled with a
        day's longer delay than VP Securities - and other national CSDs - use.

        However, a longer settlement period does not mean that a trade is not "market-conform." Even less is it
        evidence of fraud.

        The only consequence of a longer settlement period is the internationally recognized and well-functioning
        "market claim": the proceeds are passed on from the seller's custodian to the buyer's custodian when the
        stock trade marked "cum ex" is settled in the custody systems. None of the international securities
        settlement systems has problems settling equity trades with any settlement deadline. Were it otherwise,
        regulators - not least from the EU - would have introduced a mandatory settlement deadline.

        The absence of such a statutory winding-up period means that the parties are free to agree on the winding-
        up period. There is nothing fraudulent or risky about this.

        If you check the websites of the major clearing agents (e.g. Euroclear: ttps://www.luxcsd.com/luxcsd-
        en/products-and-services/market-coverage/europe-t2s/belgium/settlement-services-belgium-euro-clear-
        belgium-- 1279750 or Clearstream https://www.clearstream.com/re-
        source/blob/1316782/08a424c5b61fe77d19385e550a56a842/compensation-hand- book-cata-en-
        data.pdf), one sees that they have incorporated a flagging system that allows them to handle trades around
        the dividend date correctly (namely marked "cum ex"), no matter how long a settlement period is agreed.

        There is no "risk,” as the Danish Tax Agency claims in the summary in § 5.6, page 43, that pension plans
        "exploit the timing" of distributions in the Danish market. All world stock markets operate with long
        settlement periods and deal with this by transferring the dividend as a "market claim" to the buyer. All
        custodians can handle this.

        Even VP Securities knows the market claim process and can handle it. Better disclosure by the Danish Tax
        Agency, by informing VP Securities about the "market claim process, could save us all from these untenable
        allegations that stem solely from the Danish Tax Agency’s own ignorance of how the stock market works.




Case No. XX-XXXXXXX                                  Page 156/239
  Case 1:18-md-02865-LAK                     Document 836-47                 Filed 06/27/22             Page 180 of 462



        The problem faced by the Danish Tax Agency is not a settlement deadline that is not "market compliant,”
        but rather a tax law that cannot handle the market claim process when dealing with net dividends.

        When the dividend is sent out of VP Securities and further into the settlement system as a net dividend, this
        will always mean that the market claim procedure may result in the dividend being received by a person
        who has a completely different tax status than the one VP Securities used when calculating the dividend tax.

        So, there is nothing wrong with a long settlement period. The problem lies in the market claim procedure,
        which the Danish Tax Agency cannot handle. Presumably because the tax authorities (or the legislator) do
        not understand this process.

        The market claim process also involves no additional risk for the buyer of the stocks, as the dividend is
        automatically passed on by the custodians involved from the seller to the buyer. The risk of the seller not
        transferring the dividend to them, as pointed out by the Danish Tax Agency, does not exist at all. The seller
        himself has no influence on this. The settlement systems take care of this fully automatically.

        We recommend that the tax authorities inquire with VP Securities about how real stock trading is done in
        the real world and how it is handled. Then everything that "makes no sense" (see pages 17, 23, 27, 30, 35,
        36, 38, 44, 45, 47, 50, 52, 58, 60, 61, 63 and 72) would become clear to the Danish Tax Agency. It is simply
        too simplistic to claim that financial transactions carried out every day by hundreds of operators around the
        world - including the world's largest banks - should not give rise to any misunderstanding. Of course, they
        make no sense to anyone who does not understand financial transactions. Nor does Chinese make sense to
        anyone who has never learned the language. Yet Chinese is spoken by some 1.1 billion people. And that is
        how these transactions are carried out.

        As evidence of this, reference can be made to ESMA's report of July 02, 2019 (see Appendix 83), which
        demonstrates the existence of dividend arbitrage and the threat that these trades pose to countries whose
        legislation does not match the realities of equity markets as created by the EU's own harmonized
        legislation.

        9.12 Not just a desk-top exercise

        The Danish Tax Agency considers that it can conclude in the preliminary cases that all stock transactions
        should be a desk exercise, simply because they have observed a certain systematicity.

        In reality, the system observed is nothing more than an expression of genuine profit arbitrage.

        9.12.1 All pension plans buy for the same day and at the same price

        The Tax Agency considers that it is a sign of fraud that all pension plans have purchased stocks on the same
        day and at the same price, see the Danish Tax Agency’s submission of August 09, 2019, § 4.1.

        This is obviously not true.

        It is a matter of course for all investors in dividend arbitrage to buy stocks at the latest on the dividend date.
        There is certainly nothing remarkable about this, but it is an indication of genuine dividend arbitrage at
        market conditions. The sellers of stocks, who do not have access to a double taxation agreement, do not sell
        their stocks until the dividend date.




Case No. XX-XXXXXXX                                    Page 156/239
  Case 1:18-md-02865-LAK                    Document 836-47                 Filed 06/27/22            Page 181 of 462



        As described above, it is also necessary to trade huge amounts of stocks to realize any gain at all when the
        difference between spot and forward prices is as minimal as it is in dividend arbitrage. Such large volumes
        of stocks can only be traded OTC to avoid the risk of spot price movements and allegations of market
        manipulation.

        Setting the OTC price as the market closing price, as the Danish Tax Agency correctly acknowledges in the
        summary submission of August 9, 2019, page 48, is only logical if the price is to be fair to both parties and
        not risk being undercut as not fair. Thus, the Danish National Tax Tribunal’s decision also admits on page 49
        that it is not unusual to use the closing price for stock trades.

        It is therefore unclear what the Danish Tax Agency actually wants to claim when it is established that the
        stocks have been traded at the same price, namely the market closing price.

        The fact that in 15 cases out of about 1,400 a different exchange rate was used also confirms that this is not
        a centrally organized fictitious trade.

        It is striking that the Danish Tax Agency considers both the use of the same rate and the use of different
        rates to be signs of fraud. That cannot be right. It must be either/or. The Danish Tax Agency must decide
        what is to be regarded as an indication of fraud: the same price or different prices. It cannot possibly be
        both.

        This shows how desperately the Inland Revenue is trying to drag out every aspect of the stock transactions
        to claim that no matter how the pension plans had traded, the Inland Revenue believes it is fraud. This
        shows that the tax authorities have decided in advance that fraud is involved, - regardless of how the
        pension plans have acted. The IRS is impossible to please. The tax authorities have decided that the pension
        plans must be guilty, but they just don't know in what.

        There is therefore nothing striking in the fact that the pension plans, which all invested in dividend-paying
        securities, had similar trading patterns. After all, many of them had the same trustees.

        In addition, the automation of trades in 2015 with the introduction of algo trading leads to harmonized
        trading. There is nothing suspicious about this.

        The Treasury rightly recognizes that it takes quite a lot of work to gain access to stockholdings of such
        significant size. This work is also done, months before the actual trade is concluded, by entering into
        contracts with brokers who can provide what they call "liquidity,” i.e. enough stocks to match the trades.

        Pension plans must recognize that brokers are also likely to enter into agreements with short sellers who
        wish to speculate on price movements around the dividend date. How many, and which stocks bought by
        pension plans, in the end really came from short sellers, and how many came from long owners, pension
        plans cannot know.

        Nor do the pension plans have any reason to "close the deal" with the sellers as soon as possible in order to
        "retain" the sellers, as the Treasury claims in the summary, page 49, because the seller's clearing agent and
        custodian are liable for the stocks also being delivered on the settlement date at the agreed price. These are
        market conditions for all stock trading throughout the world, about which the Danish Tax Agency is
        apparently unconvinced.




Case No. XX-XXXXXXX                                   Page 156/239
  Case 1:18-md-02865-LAK                     Document 836-47                Filed 06/27/22             Page 182 of 462



        9.12.2 The size of the stockholdings

        The pension plans have never denied that their stock trades were systematic. Systematic, however, does
        not mean fraud or deskilling, as the tax authorities would like to call it. "Systematic' means no more and no
        less than a well-organized trading desk, such as exists in every other bank.

        The fact that the algo trader did not suggest that all trustees buy the same number of stocks for the same
        client is not to "cover up" anything. It is done to give all the actors involved (clearing agents, custodians,
        brokers and arrangers etc.) a better opportunity to distinguish between the different orders placed on
        behalf of the different pension plans. This reduces the risk of errors.

        Of course, in 2012-2014, each trustee himself used similar techniques to ensure that he did not confuse the
        stockholdings belonging to the various pension plans.

        Since the dividend date triggers the purchase of the stocks, and as explained above, this occurs at the same
        price, the different numbers of stocks are neither more nor less than an element to ensure the
        management of such large stock portfolios for so many pension plans. After all, it was more the exception
        than the rule for a trustee to manage only one pension plan.

        Once again, the Danish Tax Agency is distorting the facts of the case to suit its argumentation: if all pension
        plans had bought the same number of stocks, this would have been used against them as well.

        The Danish Tax Agency notes in the Agency's summary at the bottom of page 50, by the way, completely
        outside the other systematics of the submission and unrelated to the number of stocks purchased by each
        pension plan:

        "In all cases, pension plans manage to find

              x    one seller,

              x    one buyer,

              x    one stock borrower and

              x    one forward contracting party,

        who will trade these quite abnormally large stockholdings for precisely the amounts that the pension plan has
        "wanted." This applies to these very substantial stockholdings - and in all cases.

        This means that pension plans have never failed to find co-contractors for large transactions. And it means
        that at no time has the pension plan had to split the transaction in two or only partially complete the
        transaction.

        It can't be done for just one pension plan. Nor can it be done in so many cases. The pension plans' claim is
        therefore unrealistic to the second degree."




Case No. XX-XXXXXXX                                   Page 156/239
  Case 1:18-md-02865-LAK                      Document 836-47                 Filed 06/27/22             Page 183 of 462



         Again, an example of how little the tax authorities still understand about dividend arbitrage and how
         arrogantly they present their ignorance.

         Firstly, the tax authorities can only see those orders that have been matched and where the pension plans
         have therefore acquired ownership of the stocks. Stocks that the pension plans have not purchased do not
         give rise to a dividend claim, much less a reimbursement claim. It is therefore only natural that the tax
         authorities cannot see transactions that have not been realized.

         At no time did the pension plans claim that all of their purchase orders were matched. Examples of
         purchase orders that were not matched are provided as Appendix 78.

         As regards the Danish Tax Agency’s repeated assertion that it does not believe it is possible to find a seller, a
         buyer for the forwarder and a borrower for the stocks, reference can only be made to the above, which
         describes the number of intermediaries with whom contracts are concluded before the actual transaction
         starts.

         Pension plans knew that by becoming clients of the Solo Group, they had access to highly specialized brokers,
         clearing agents and custodians who had access to the contractual counterparties necessary for transactions
         to succeed. This was the high price they paid.

         9.12.3 Almost identical stock portfolios

         The fact that the Danish Tax Agency in the first cases in the summary in § 6.3 can state that the pension
         plans have had almost similar portfolios is a logical consequence of (1) their strategy was dividend-paying,
         which is why they all just bought stocks in companies that distributed a dividend, and (2) the algo trader,
         who in 2015 suggested which and how many stocks each pension plan should buy. The computer was
         programmed to do that. That doesn't mean the trades didn't happen.

         The 12 stocks bought in 2014 and the two traded in 2012 are also a clear indication of dividend arbitrage.
         The trader (trustee) chooses which of the stocks to buy on behalf of the pension plans that specifically pay
         dividends.

         The tax authorities' findings are not evidence of a desk exercise, but documentation of real stock
         transactions.

9.12.4   All pension plans have dealt with the same parties

         Few comments are needed to answer why the pension plans traded with the same partners: since these are
         owner-matching transactions, the sellers (and later the buyers) of the stocks are always the pension plans'
         brokers.

         The counterparty to the forward contract was also a professional intermediary, like the stock borrowers.

         All counterparties were not the ultimate counterparties but professional intermediaries in their respective
         industries.

         In order for the clearing agent to be able to guarantee the financial risk of a failure (i.e. that the necessary
         capital would not be available to pay for the stocks on the settlement date), it was of course a condition
         that all parties - i.e. the pension plans and all intermediaries to the various transactions - were clients of the




Case No. XX-XXXXXXX                                     Page 156/239
  Case 1:18-md-02865-LAK                     Document 836-47                 Filed 06/27/22             Page 184 of 462



        Solo group. By having all parties as customers, the Solo-group did not need so much capital under the Basel
        2 requirements (international requirements for a minimum capitalization of financial institutions).

 9.12.5 Same time of sale

        The fact that all pension plans sold their stocks at almost the same time is also not evidence of fraud, but
        rather evidence of the reality of the individual components of dividend arbitrage.

        The pension plans bought the stocks at the same time and thus had almost the same financing conditions -
        as they depend on current market conditions. In other words, the cost of funding at the same time has
        absorbed the previous gain on the transactions. The evolution of the market is the same for all pension
        plans and therefore has the same consequences for all pension plans. They more or less simultaneously
        reach a zero return on investment and have to close all positions (see above).

        9.12.6 Sanjay Shah controlled the custodians of the pension plans (Solo- group)

        The tax authorities state in the summary submission of August 09, 2019 in § 6.6, page 55, that the pension
        plans should have changed their explanation about the four custodians.

        This is not correct. The pension plans have not changed their explanations, they have added additional in-
        formation that they have received between the various submissions. The pension plans have - as a result of
        the fact that the tax authorities have now for several years been making assumptions and accusations
        against the pension plans - been forced to investigate the links between the custodians used more closely.
        In order to carry out dividend arbitrage, it is completely irrelevant to the pension plans which company
        belongs to whom and what their relationship is.

        By consulting an expert in London (Simon Bird), who has prepared a report, see Appendix 95, the pension
        plans in the lead cases have been informed that Solo Capital was already established in 2009 and not, as
        claimed by the Danish Tax Agency, in 2011. Solo Capital then acquired the specialist firms Telesto, Old Park
        Lane and West Point Derivatives in the period 2012-2015. These companies already existed and were each
        authorized by the UK FSA to act as clearing agents and custodians. After they became subsidiaries of Solo
        Capital, they held their omnibus accounts with Solo Capital and no longer directly with external custodians.
        The external omnibus securities accounts for the whole group were, according to Simon Bird, established in
        the name of Solo Capital.

        Pension plans did not know this in 2014 and 2015, nor did they need to know it.

        It is a feature of all the Danish Tax Agency’s submissions that irrelevant claims and unsubstantiated
        allegations are constantly being made, which the pension schemes are having to take great pains to comply
        with. When they succeed, the Danish Tax Agency turns around and claims that the pension plans contradict
        themselves - with the new knowledge they have acquired thanks to the investigations carried out under
        pressure from the Danish Tax Agency. Alternatively, the Danish Tax Agency claims that the pension plans
        have not met the burden of proof or have failed to respond to a request if the document provided by the
        Danish Tax Agency cannot be produced - for purely practical reasons, or simply because what the Danish
        Tax Agency requires to be documented cannot be documented by any human being on earth.

        It is also striking that the Danish Tax Agency is again trying to discredit the credibility of pension schemes and
        the evidential value of their documentation by referring to investigations by the Danish, British and German
        police. However, an investigation by so many authorities over so many years with no apparent result does
        not exactly support the Danish Tax Agency’s assumption that there is something




Case No. XX-XXXXXXX                                    Page 156/239
  Case 1:18-md-02865-LAK                     Document 836-47                 Filed 06/27/22            Page 185 of 462



        illegal in Sanjay Shah's companies. If his companies had not settled stock transactions, but merely drawn up
        false documents, it must be assumed that the prosecuting authorities in three countries could have
        detected this after four years. Not least because they are in possession of all the documentation that the
        pension plans lack: the computers on which the transactions were recorded.

        9.12.7 Shah's "Universe"

        The Danish National Tax Tribunal’s decision presents a long history of the "Shah's Universe" in the summary
        post of August 9, 2019.

        In this regard, it should first be noted that these cases do not concern Sanjay Shah and his company. He is a
        party to the civil actions in London and Dubai and is himself defending his case there. It is not for the
        pension plans to answer questions about the owners of the companies of which they were merely clients.

        Nor can they do so without the Treasury again making claims that any information or corrections the
        pension plans would retrieve regarding the Treasury's fabricated stories about a "Shah universe" would be
        evidence that the pension plans and their custodians were acting as a conspiratorial "gang."

        However, the Pension Schemes have obtained from the High Court in London Sanjay Shah's own 204 page
        pleading dated May 2019, in which he sets out in detail his position on all the claims made by the Inland
        Revenue, see Appendix 85. Further, the pension plans have nothing to add to this voluminous document.

        As detailed as Sanjay Shah describes every step his companies took in settling the equity transactions on
        behalf of the pension plans, the pension plans cannot even describe the post-trade process. The pension plans
        only know that they have given instructions for settlement, but how this is done they cannot describe. The
        pension plans must therefore rely entirely on the evidence presented by Sanjay Shah in London.

        As can be seen, the conduct of business of the four custodians in the Solo group was organized so as to
        comply strictly with European and English laws and regulations on stock dealing.

        It is further seen that the business conduct of the Solo group is similar to the typical dividend arbitrage as
        described by ESMA.

        As described by Sanjay Shah, the clearing/settlement, custody of the stock traders was carried out in full
        compliance with the Unidroit guidelines laid down in the Geneva Securities Convention - presented here as
        Appendix 96, which is the applicable law - also for Denmark, which has been a member of Unidroit since
        1940. According to this Convention, the electronic registration of stock entries with a custodian evidencing
        ownership of the stocks cannot be false (see Articles 10, 16 and 18). The most central rules of this
        Convention are also found in EU rules, in particular in the CSD Directive and the Finality Directive, thus
        ensuring legal certainty in the settlement of stock transactions within the EU.

        9.12.8 Consecutive numbering of Credit Advices across the Solo group, which was also reversed in 2017

        The tax authorities state that the four custodians belonging to the Solo group have issued DCAs with
        consecutive numbers. As the Danish Tax Agency has correctly stated, there are no duplicates in the
        numbers of these four custodians. The Danish Tax Agency has also found "gaps" in the numbering, which
        apparently were not used, but which the Danish Tax Agency notes must have been issued to the 34 pension
        plans that filed dividend tax reimbursement claims in February 2017.




Case No. XX-XXXXXXX                                    Page 156/239
  Case 1:18-md-02865-LAK                     Document 836-47                 Filed 06/27/22             Page 186 of 462



        This fact does not suggest that Credit Advices is centrally orchestrated. Nor does it indicate a lack of reality
        or fraud.

        It is only evidence that the four companies belonging to the same group of companies used the same "back
        office" to issue DCAs for the four companies. It is evidence that the four custodians worked together with
        regard to various administrative tasks such as issuing documentation to the clients. This is an expression of
        work rationalization and cost savings.

        The fact that no duplicates have been issued and that the DCAs submitted by Alpine Consultancy in 2017 fit
        into the "gaps" identified by the Danish Tax Agency is precisely evidence that the four custodians must have
        used the same IT service provider or software to issue the DNAs and that this software or IT service provider
        worked flawlessly. No DCAs with the same number were issued for the four custodians (hence no duplicates)
        and all numbers were issued without "gaps."

        It is logical that the DCAs submitted in February 2017 fit into the numbering, as the 34 pension plans must
        have traded the Danish stocks at the same time as the other pension plans that had previously submitted
        claims for reimbursement - and had them granted.

        Since the pension plans are not part of the Solo group, they cannot, of course, provide the internal
        agreements required by the Danish Tax Agency on a central administration to issue all DCAs. If the pension
        schemes were able to provide these internal agreements, the Danish Tax Agency would use this as
        indicative evidence of the pension schemes' lack of independence from their custodians.

        However, there is nothing strange in the fact that the central administration issues DCAs on each of the four
        custodians' own letterheads and that each custodian has its own layout. They were, after all, independent
        companeis, each with its own distinctive character. They had absolutely no reason to use the same layout, and
        certainly no reason to use a common name, when 'ordering' or 'withdrawing' their DCAs from the central
        administration.

        The use of consecutive numbering, on the other hand, demonstrates that an additional safeguard was built
        into the Solo group to ensure that two pension plans could not receive a DCA for the same asset item. Each
        stock item had its own number across all four companies.

        Moreover, the pension plans have never claimed that the four custodians are four independent companeis. It is
        the pension plans themselves that have introduced the concept of the 'Solo Group'.

        9.12.9 Pension plans are not managed centrally

        The tax authorities claim in the summary statement, page 61, that the pension plans should have claimed
        that they were all completely independent of each other.

        This is not correct.

        Pension plans have never claimed to be all completely independent of each other.

        The pension plans knew that they had contact with some of the other pension plans through the same
        trustee.

        However, they were not and are not all in contact with each other, and much less are TVC Law Firm's clients
        in contact with other pension plans that were clients of other brokers, custodians, clearers, etc. and similarly
        invested in dividend arbitrage. The pension plans have noted with surprise how many




Case No. XX-XXXXXXX                                    Page 156/239
  Case 1:18-md-02865-LAK                    Document 836-47                Filed 06/27/22            Page 187 of 462



        other U.S. pension plans that have followed the same investment strategy in dividend arbitrage in Danish
        stocks, when the IRS went out and subpoenaed 470 individuals and companies worldwide in connection
        with this activity.

        The fact that 110 pension plans have all engaged the same lawyer is far less a sign of their lack of
        independence from one another - least of all for their alleged dependence on their custodian. TVC Law Firm
        is not engaged by the pension plans' custodian. TVC Law Firm is engaged by the pension plans' trustee. That
        110 pension plans find the same lawyer is more a sign of how complex a case this is, and thus how difficult it
        is to find Danish lawyers who can explain dividend arbitrage. A business that the tax authorities themselves
        and their lawyer to this day quite obviously still do not understand.

        Moreover, the public campaign in all media does not make it easy to find lawyers willing to get involved in
        these cases in which it seems that pension plans are "doomed" in advance. A fair trial is virtually impossible
        with the public mood against the pension plans. Not many lawyers are willing to litigate such a case.

        Finally, it should be noted that the Danish Tax Agency’s reference to the pension plans submitting identical
        letters in the appeal cases (see the Danish Tax Agency’s summary of August 09, 2019, page 48) is merely a
        logical consequence of the fact that Danish Tax Agency itself started by sending identical letters to all
        pension plans to inform them that Danish Tax Agency intended to revoke their previous decisions and that
        the revocations of the decisions themselves were also identical. Danish Tax Agency even sent identical
        letters to all pension schemes, irrespective of the custodian they had used. Logically, an administrator
        would reply to all identical letters from Danish Tax Agency with identical letters.

        9.12.10 Non-submitted applications for reimbursement

        The Danish Tax Agency states in the summary submission dated August 09, 2019, § 6.11, page 62, that two
        pension plans represented by U.S.(The Sanford Villa Pension Plan, the Danish Tax Appeals Agency Case No.
        18- 0004776, and The Patrick Partners Conglomerate Pension Plan, the Danish Tax Appeals Agency Case No.
        18- 0004361) "apparently failed to seek dividend tax reimbursements" for their stock holdings.

        In this respect, the Danish Tax Agency considers that it should not give

             "an opinion that the pension plans could miss out on being paid such substantial amounts,
             which allegedly were used to cover significant costs associated with this arrangement, or
             which the pension plans should in any event believe they are entitled to if they maintain
             that they are entitled to the reimbursements at issue in this case."

        We can inform you that this is by no means an oversight.

        Sanford Villa Pension Plan had simply not yet received its U.S. tax certificate 6166 in August 2015, when
        Danish Tax Agency stopped all reimbursements with allegations of fraud, see Appendix 97.

        As the pension plan had closed all positions in time to realize only a zero result without reimbursements,
        the pension plan decided not to submit further claims for reimbursements for reasons of prudence. The
        Danish press was already full of the unconfirmed allegations of fraud.




Case No. XX-XXXXXXX                                   Page 156/239
  Case 1:18-md-02865-LAK                     Document 836-47                 Filed 06/27/22            Page 188 of 462



        As the Treasury press briefing shows, when individual pension plans decided in 2017 to request the
        remaining reimbursements to which they were legally entitled before they would have lapsed, pension plan
        fears about the public narrative they would invent regarding their requests were well-founded. The 2017
        requests were widely reported as "further attempts at fraud." Again, without any form of evidence to
        support this.

        As for The Patrick Partners Conglomerate Pension Plan, the pension plan has not forgotten to apply for
        reimbursement. This pension plan had handed over all documents to Syntax to request re-merger. Syntax
        has confirmed by email to Roger Lehman (which is presented here as Appendix 98) that the reimbursement
        request including the DCA, see Appendix 99, was submitted to Danish Tax Agency on May 19th 2015.

        As described above, the investment strategy ensured that a lack of reimbursement would not result in a
        loss if the reimbursement was not paid. The trustee closely monitored price movements and also that he
        could close the positions before a failure to reimburse would result in a loss without the merger.

        The other service providers, who received the majority of the gain realized from the arbitrage, were
        compensated based on the gain. This was 0 without the reimbursement. Therefore, the pension plans could
        easily survive the non-payment of a reimbursement.

        9.13 A dividend tax can lead to two reimbursements

        As explained earlier in this post, the shortcomings of Danish tax law may result in the Treasury receiving
        only one dividend tax payment, but there being two beneficial owners of the same stock and therefore two
        recipients of a net dividend and consequently two beneficiaries.

        The losses that this rightly imposes on the Treasury are not a consequence of any doubts as to who is the
        owner of a stock, as alleged in the Agency's submission of August 09, 2019, Paragraph 8.4, page
        69. There is no doubt who the owner is and that there can be two owners of the same stock as a result of
        Danish legislation and case law.

        These shortcomings are not the responsibility of the pension plans, and the losses that it incurs for the State
        must also be borne by the State itself. It is the responsibility of the State to legislate properly and to ensure
        that it collects enough tax to match the amount it has to pay out.

        9.14 The case is about law

        The Danish Tax Agency argues in the summary submission of August 09, 2019 in § 8.5, page 69, that this
        case is not about law.

        This is obviously wrong.

        Ownership is a purely legal concept invented and shaped by legal texts and case law, and how it is acquired,
        protected and transferred is determined by law alone. The facts of the case can only provide indications as to
        whether ownership has been acquired or not.

        In the case of trading in dematerialized stocks, however, the fact is limited to relatively few aspects, since

        x      There are no stocks in paper form that can be followed in physical form. Dematerialized stocks exist
        only as electronic accounting records or records




Case No. XX-XXXXXXX                                    Page 156/239
  Case 1:18-md-02865-LAK                    Document 836-47                 Filed 06/27/22            Page 189 of 462



        x      Payment for the stocks is not required to acquire ownership, so a cash flow for that reason alone
        cannot be followed to prove the transfer of ownership. Moreover, neither a cash flow nor a stock flow can
        be traced through the clearing systems
        x      Settlement of a stock purchase is not necessary to acquire ownership of stocks
        x      Netting in the settlement of stock trades makes it impossible to follow individual "stocks" through
        the settlement system.
        x      Dematerialized stocks cannot be identified as "individual specific stocks,” so a buyer of "a stock" will
        never receive the specific stock he bought from "his seller."

        The fact of trading in dematerialized stocks is that ownership is transferred by a final and binding
        agreement to purchase the stock, and that the existence of such an agreement, provided purely
        electronically by matching a buy and a sell order, is evidenced in the first line by the subsequent trade note
        issued after the trade has also settled.

        In addition to the trade note, a custody statement documents that the acquired ownership has also
        obtained protection from third parties by being registered in a securities account (the acquired right is
        made public and thus protected). When the owner of the stock receives a dividend, the custodian issues a
        dividend credit advice, which is a document proving that ownership has been acquired, that ownership has
        been registered and that the dividend has been received. Since a dividend credit advice contains all the
        information that Danish Tax Agency needs to assess the pension plan's entitlement to a reimbursement, it
        was this document that Danish Tax Agency itself required from anyone wishing to claim a reimbursement.

        As stock transfers are purely electronic, only the parties involved can prove that the transaction has taken
        place.

        This has been done in the present cases.

        Just because the Danish Tax Agency is now requesting additional information and documentation does not
        mean that the pension plan did not own the stocks, did not receive a reimbursement and was not entitled
        to a reimbursement.

        The Pension Plan has provided such evidence as may exist of ownership. The fact that an independent third
        party, who was not involved in the stock transfer, cannot confirm the ownership is a fact that applies to all
        dematerialized stocks. It cannot therefore be concluded, under the rules on the burden of proof, that the
        pension plan has not proven its ownership of the stocks. The pension plan has provided the best legal
        evidence of ownership of a stock.

        The considerations of bona fide purchase and beneficial ownership put forward by the pension plan are
        paramount in this case, where the Danish Tax Agency mainly justifies its doubts about the ownership of the
        pension plan by considerations of overpaid dividend tax. However, Danish Tax Agency has itself argued in
        the Early Warning of 2015 to the Ministry of Taxation that situations may arise with two beneficial owners
        of the same stock. It is only natural that the Danish Tax Agency would rather be without this
        documentation, because the Danish Tax Appeals Agency knows that it is the problems of stock lending,
        short selling to the bona fide purchaser and dual beneficial ownership under Danish law and case law that
        this case is really about. Understandably, the Danish Tax Agency would like to be provided with evidence
        that even in 2015 the Danish Tax Agency agreed with the pension plan's argument regarding dual beneficial
        ownership of a stock. Far worse for the Danish Tax Appeals Agency in this context is that even if it were to
        follow the Ministry of Taxation's view - which differs from the Danish Tax Agency’s own, which in 2015
        argued that there were two beneficial owners of the same stock - and were to assume that the stock lender
        loses its beneficial ownership when the stock borrower sells the stock on to a bona fide purchaser, the
        pension plans would be entitled to a reimbursement. This would, in accordance with the Ministry of
        Taxation, impede the two rightful owners of the same stock, but the one who was then not entitled to




Case No. XX-XXXXXXX                                   Page 156/239
  Case 1:18-md-02865-LAK                     Document 836-47                Filed 06/27/22             Page 190 of 462



        reimbursement would, according to this interpretation, be the (ultimate) stock lender. The pension plan, as
        a bona fide purchaser, would be the legal owner and thus eligible for reimbursement.

        Whatever the Danish Tax Agency thinks, this case is precisely about the problems of obtaining stock
        ownership and clarifying the legal "grey areas" left by previous case law, which Danish Tax Agency itself clearly
        pointed out in the Early Warning of 2015.

        The tax authority notes ex tuto that the pension plans were in bad faith. This is precisely what the whole
        case of the Danish Tax Agency is based on: the Danish Tax Agency has decided, following the so-called
        "whistleblower,” that all U.S. pension plans that have traded Danish stocks are pure fraudsters and that
        they acted in bad faith, but has nothing but undocumented allegations to support this.

        By shifting the burden of proof back onto the pension plans, the Danish Tax Appeals Agency is again trying
        to escape its dilemma of not being able to prove so much as a single word of its untenable claims against
        the pension plans. The pension plans, however, have carried the burden of proving the legal claim for
        reimbursement more than once. Everything about trading in dematerialized stocks is documented to the
        extent possible. What no human being in the world can document, the pension plans cannot be required to
        document.

        Evidence of ownership of dematerialized stocks held in sub-custody cannot be verified in any other way than
        the pension plans have done.

        9.15 It's impossible to cheat with stock trades

        The Pension Plan continues to maintain that under the current EU rules, which are essentially based on the
        Geneva Securities Convention of the United Nations, see Appendix 96, it is not possible to defraud the
        registration of dematerialized stocks. The Convention states that the electronic registration of stockholdings
        with a custodian, evidencing ownership of the stocks, cannot be false (see Articles 10, 16 and 18). The most
        central rules of this Convention are found in the EU CSD Directive and the Finality Directive. These two
        Directives ensure legal certainty in the settlement of stock transactions in the EU. No distinction is made
        between registrations with the CSD where the stocks were originally issued ("issuer CSD") and registrations
        of the stocks with any other custodian ("investor CSD").

        In the commentaries by Dan Moalem, David Moalem, Peer Schaumburg-Müller and Erik Werlauff to the
        Capital Markets Act of 2018, it is also stated in § 3, No. 34 (page 197) that:

               "a fund asset shall be deemed to be registered in a CSD both (i) when that CSD acts as
               issuer CSD and carries out the initial registration of a fund asset and (ii) when the CSD acts
               as investor CSD and carries out a technical registration in its systems of a security issued
               by another CSD"

        The Capital Markets Act thereby confirms that there is no legal basis for discriminating between registration
        of a security with an investor CSD and registration with a national CSD (such as VP Securities).

        The European Commission's Directorate-General for Internal Market and Services, under the authority of
        the European Economic and Social Committee, conducted a public consultation from January 05, 2010 to
        January 21, 2011 on the Legislation on Legal Certainty of Securities Holding and Dispositions, as set out in
        Appendix 100, which is presented here. As it makes clear, EU law protects any purchaser of a dematerialized




Case No. XX-XXXXXXX                                   Page 156/239
  Case 1:18-md-02865-LAK                    Document 836-47                 Filed 06/27/22            Page 191 of 462



        stock, who will have it registered in his securities account. He is undoubtedly the civil law owner of a stock.
        No distinction is made between protection obtained by registration with an issuer CSD and protection
        obtained by registration with an investor CSD. The two are equivalent.

        9.16 Pension plans don't change explanation

        The Danish Tax Agency alleges in the summary submission of August 09, 2019, Paragraph 8.7, page 70, that
        the money plans in the drivers' cases were supposed to switch explanations.

        This is not correct.

        9.16.1 Broker confirmations and custody statements

        The pension plans do not change their explanations regarding the documentation provided, but comply
        with the Danish Tax Agency’s insatiable demands for more and more documents with the utmost care. The
        documents provided by the pension schemes are those which, unlike the documents requested by the
        Danish Tax Agency, actually prove ownership. What the Danish Tax Agency wants to see - such as bank
        accounts with someone other than the Solo group - in no way documents ownership of Danish stocks.

        Ownership is acquired as explained by the pension plans by an electronic transaction. This is reflected in a
        broker confirmation, a custody statement and finally a DCA. The pension plans have constantly confirmed
        this from day one.

        It is also a characteristic of the Danish Tax Agency to require documentation without specifying what this
        documentation should be and how it could be provided by pension plans. Thus, for example, on page 70,
        the Danish Tax Agency claims that there must be 'some form of objective evidence of the receipt of the
        proceeds'. The Danish Tax Agency does not specify what this objective evidence should be. After all, the
        dividend is received by all stockholders worldwide precisely in a cash account with their custodian. If the
        money was deposited in an account with a bank other than the custodian, this would indicate that the
        dividend was not paid.

        As already highlighted numerous times, pension plans as clients also cannot provide documentation for the
        inflow of money to their custodian. Only the custodian can document the inflow of money.

        However, in the present cases, the custodian is prevented from assisting its clients - the pension plans - in
        providing evidence of receipt of the proceeds through the custody chain, as all records of all custodians
        have been seized by the authorities.

        It is also fundamentally wrong for the Danish Tax Agency to state on page 71 that a commercial invoice does
        not mean that a transaction has been carried out. The trade note is issued by the broker only after
        settlement instructions have been given. The clearing and settlement instructions set in motion a
        settlement process that nobody can stop. This is why the clearing agent is responsible for the payment of
        the money (and the delivery of the stock).

        The fact that the Danish Tax Agency does not understand sufficient English to understand that a custody
        statement is a statement of account (see the Danish Tax Agency’s summary statement, page 71) is a
        regrettable fact, however, does not change the facts of the case. A custody statement is a statement of
        account for a securities account. Whether this is issued daily, weekly, monthly or annually. They show all
        assets - stocks, forwards, contracts as well as stock loans that the pension plans have taken out.




Case No. XX-XXXXXXX                                   Page 156/239
  Case 1:18-md-02865-LAK                    Document 836-47                Filed 06/27/22            Page 192 of 462



        9.16.2 Guarantee

        The Danish Tax Agency believes in its summary submission in § 8.8, page 72, that there should be a
        contradiction between the statement of a pledge under the GMSLAs and the transfer of ownership of the
        cash under the TTC clause.

        This is again not the case.

        The pension plans had both transferred ownership of their cash to their custodian under the TTC clause and
        pledged their (other assets) under the GMSLA.

        The transfer of ownership as security for the funds precedes a simple pledge. The pledge covers only the
        assets belonging to the pension plans. Immediately after receipt, the funds no longer belong to the pension
        plans, as ownership has already been transferred to the custodian.

        A pledge gives fewer rights over an asset than a transfer by way of security. Even the tax authorities should
        know that. The pledgor is still the owner of his asset. This is not the case when there is a transfer of
        ownership for security (as happens under a TTC clause).

        In its summary in § 8.8, page 72, the Danish Tax Agency also considers that it does not make sense that the
        reimbursements were paid to the pension plan agents when the results of the transactions are pledged.

        In doing so, the Danish National Tax Tribunal’s decision overlooks the fact that under the TTC clause, the
        pension plans have transferred ownership of cash only to the custodian. They have not transferred
        ownership of the stocks and therefore not the claim for reimbursement. Therefore, the Custodian could not
        claim reimbursement at all. Only the pension plans, as owners of the stocks, could ask the tax agents to
        submit claims for reimbursement on behalf of the pension plans.

        However, because of the TTC clause, the funds were deposited directly into the custodian's or sub-
        custodian's account (Old Park Lane, West Point Derivatives and Telesto themselves had their cash in their
        parent company's cash account.) This shows - again - the pension plans' subsequent investigations.

        9.16.3 Pension plans accounts

        The tax authorities incorrectly state that the pension plans should have provided conflicting information
        about their accounts.

        This is not the case.

        The pension plans, as is true, have indicated that they themselves had their accounts immediately with their
        custodians. In addition to these accounts, they had only one account in the United States for the Foundation
        - as presented here as Appendix 91.

        The pension plans held their Danish stocks in a securities account with their custodian. If their immediate
        custodian was not Solo Capital but one of the three subsidiaries, the immediate custodian held the stocks in
        their omnibus account with Solo Capital. Solo Capital in turn held the stocks in omnibus accounts with their
        custodian. The location of the omnibus accounts of these custodians who held the stocks for Solo Capital
        cannot be disclosed to the pension plans.




Case No. XX-XXXXXXX                                  Page 156/239
  Case 1:18-md-02865-LAK                    Document 836-47                 Filed 06/27/22            Page 193 of 462



        As for the funds, it is quite true that they were deposited in Solo Capital's own account at Barclays Bank. It
        was given as security to Solo.

        Nevertheless, it was of course recorded with the respective custodian how much money accrued to each
        pension plan (dividends, sale price of stocks, forward sale price, reimbursement, etc.) and which was
        transferred as collateral to the custodian. All custodians in the group held the funds pledged to them by the
        pension plans in Solo Capital's bank account at Barclays Bank.

        Evidence that the custodians correctly recorded all funds in the pension plan accounts is provided as
        Appendix 90.

        9.16.4 Proof of receipt of dividends

        The Danish Tax Agency again demonstrates its lack of understanding of English in its summary submission in
        § 8.10, page 73. The Agency demands to see a "dividend receipt" for the receipt of the dividend. But these
        are the Dividend Credit Advices provided. This is why Danish Tax Agency also requested these Dividend
        Credit Advices at the time when Acupay asked Lisbeth Rømer which documents should be submitted with
        the application for reimbursement, see Acupay System LLC's submission to the Court of London of 1 April
        2019, which is submitted here as Appendix 102. Lisbeth Rømer seems to understand more English than the
        Danish Tax Agency’s lawyers.

        The additional bank statements and fund/deposit statements requested have also been provided.

        Of course, a pension plan that has your account with Solo Capital (or one of its three subsidiaries) can only
        provide statements from there and not from another bank.

        A customer in Vendsyssel Bank cannot present an account statement from Nordea to prove that he has stocks
        in his securities account in Vendsyssel Bank. Not even if Vendsyssel Bank has its omnibus account in Nordea.

        9.17 Pinsent Masons

        In the summary submission of August 09, 2019 in Paragraph 8.13, page 75, the Danish Tax Agency alleges
        that the pension schemes in the lead cases attempt to muddy the picture by referring to the fact that the
        Danish Tax Agency’s own lawyer in England advised the Solo group.

        This is obviously not the case.

        The one who is trying to muddy the picture is the tax authorities with all their unsubstantiated allegations
        about Sanjay Shah and his "universe,” which is not a party to these cases at all.

        Nor is it a simple claim by the pension schemes that the Inland Revenue's own London lawyer, Pinsent
        Masons, has been advising the Solo group. It is a fact that is clearly apparent from Sanjay Shah's pleading in
        the High Court in London (see page 52 and Appendix 1, No 24, pages 54 and 55 of the pleading) that no
        fewer than 44 lawyers at Pinsent Masons have advised Solo Capital, which was set up to provide services to
        the dividend arbitrage industry, Sanjay Shah's apparent specialism when one considers his publicly available
        CV and his pleading. This is further confirmed by numerous press releases, which are attached hereto as
        Appendices 103-106, and by email correspondence provided to the Pension Plans by Pinsent Mason, which
        is attached hereto as Appendix 107. Finally, the pension




Case No. XX-XXXXXXX                                   Page 156/239
  Case 1:18-md-02865-LAK                    Document 836-47                 Filed 06/27/22            Page 194 of 462



        plans come into possession of the invoice dated December 29, 2011 from Pinsent Mason, which is provided
        as Appendix 108.

        Solo Capital had absolutely no reason to hire and pay 44 lawyers at Pinsent Masons if the firm's intention
        was simply to print fictitious papers to make it look like stock trades were being settled. As Sanjay Shah's
        pleadings show, the Solo group took advice on numerous aspects of proper business conduct (including
        corporate government and legal compliance, clearing, settlement and custody). The custody agreements,
        which are so central and controversial today, were drawn up by the Inland Revenue's own English lawyers.

        It is only logical that the former clients of the Solo Group seek help from their contractual partners (the Solo
        Group) in the fight against the unjustified allegations of fraud. The fact that Sanjay Shah provides what
        documentation he can to support his clients is evidence that he too is convinced that he has conducted a
        real and honest business. Were it otherwise, he would obviously not support the pension plans, which he
        would then have defrauded. For they gave the order to buy stocks.

        There is absolutely nothing suspicious about the pension plans seeking contact with Sanjay Shah through
        their respective lawyers. If anyone is trying to muddy the picture, it is surely the Inland Revenue with
        allegations like these.

        10. BURDEN OF PROOF AND FORMALITY

        The present decisions of Danish Tax Agency are very largely based on a large number of assumptions and
        assumptions concerning the facts, which together lead the Danish Tax Agency to conclude that there should
        be fraud.

        The conditions for the revocation of the original decisions on the payment of the dividend tax
        reimbursement are not met in the present cases.

        This has in fact also been confirmed in the Danish Tax Agency’s own submissions, which must be read as
        meaning that the cases are not really about the revocation of the original decisions on the payment of
        reimbursements of withholding tax, but about whether these decisions can be annulled as unlawful. Thus,
        the Danish Tax Appeals Agency also emphasizes in the office submission that Danish Tax Agency should be
        entitled to annul the original decision to pay the reimbursement.

        It is therefore agreed that Danish Tax Agency could not revoke the decisions. This leaves the question of
        whether the conditions for annulment are met.

        It is maintained that the burden of proof to overturn the original dividend tax reimbursement decisions now
        lies with the tax authorities and that the tax authorities have not discharged this burden of proof.

        Of course, it is not disputed that, as a general rule, the burden of proving that the conditions for such a
        payment are met lies with the taxpayer seeking the reimbursement of dividend tax.

        In the present cases, a number of facts lead to the conclusion that this starting point does not apply in the
        present cases, which are in fact concerned with the question whether the original decisions on the payment
        of reimbursements of dividend tax can be annulled.




Case No. XX-XXXXXXX                                   Page 156/239
  Case 1:18-md-02865-LAK                    Document 836-47                Filed 06/27/22            Page 195 of 462



        It is only now (several years after the submission and approval of the reimbursement requests by Danish
        Tax Agency) that the Danish Tax Agency questions the validity of the documentation attached to the
        requests, which actually documents the ownership of the stocks, the receipt of the net dividend and thus
        also the payment of the dividend tax. The fact that Danish Tax Agency initially approved the applications for
        payment of the dividend tax reimbursement has of course led the pension plans involved to position
        themselves in the confidence that they did not need to provide any further evidence that they were and are
        entitled to receive the dividend tax reimbursement applied for. If the pension plans had received an
        indication from Danish Tax Agency at the time they applied for the dividend reimbursement that they
        wanted additional documentation, they would have had the opportunity to seek it and would have been
        careful to keep relevant documents already in existence. The pension schemes' ability to rebut the Danish
        Tax Agency’s new claims has been significantly impaired by the length of time taken and the fact that SØIK
        has now seized a large proportion of the documents in the case.

        Furthermore, both incarnations of the Danish Tax Agency have failed to obtain relevant information from the
        many foreign professionals who have undoubtedly been involved in the transactions in question. Similarly,
        Danish Tax Agency has failed to obtain relevant information from foreign control and supervisory authorities.

        The failure to obtain relevant information must be seen in the light of the fact that both incarnations of the
        Danish Tax Agency, through their powers of control, have - unlike the pension plans - a real possibility to
        obtain the information requested by the Danish Tax Agency.

        In the light of the above, it is generally argued that Danish Tax Agency could and should have carried out a
        more effective investigation of the matters now problematized by the Danish Tax Agency at the time when
        it was dealing with the original applications, and that this has led to the pension schemes involved having a
        legitimate expectation that they would not have to provide further documentation.

        It is thus Danish Tax Agency's conduct that has led to doubts being raised by the tax authorities, several
        years after the applications for payment of the dividend reimbursement were approved by Danish Tax
        Agency, as to whether the conditions for payment of this reimbursement were met. It follows that the tax
        authorities are most likely to bear the risk of such doubts, with the effect that any doubts as to factual
        matters which should have been further clarified in the original applications for dividend reimbursements
        are to the detriment of the tax authorities.

        As already stated, the Danish Tax Agency based its subsequent opinion solely on undocumented
        assumptions about the pension plans' lack of ownership and lending of the stocks in question. The Danish
        Tax Agency has thus not provided any real evidence for the claim of lack of ownership etc. and the claim is
        thus completely unsubstantiated.

        The evidentiary doubts concerning the facts which the Danish Tax Agency has now subsequently
        problematized must then be attributed to Danish Tax Agency's failure to carry out effective initial
        investigations, so that the conditions for annulling the initial decisions on the payment of reimbursements of
        dividend tax are not met. As a result, the pension plans' claims must be upheld.

                                                             ... ...

        In its submissions, the Danish Tax Agency has put forward a wide range of views on the issue of the burden
        of proof in the present case, including the burden of proof in cases of fraud as the Danish Tax Agency
        actually claims to exist.




Case No. XX-XXXXXXX                                   Page 156/239
  Case 1:18-md-02865-LAK                    Document 836-47                Filed 06/27/22            Page 196 of 462



        However, it is very important to bear in mind that the tax authorities cannot, of course, simply turn the
        problem around by means of unsubstantiated allegations of fraud, so that the pension plans are "stuck with
        the monkey" in terms of the burden of proof. As stated above, there are undocumented assumptions about
        the lack of ownership of the pension plans, and the Danish Tax Agency has not provided any real evidence
        of this.

        Furthermore, it seems that the Danish Tax Agency does not really want to contribute to the proper
        disclosure of cases, but that these should be decided on the basis of assumptions, combined with the
        pretense that the tax authorities have been trying to create since the late summer of 2015, that everything
        is simply an expression of criminal fraud.

        The fact that something criminal may have been committed by other actors involved - of which the pension
        plans have no knowledge whatsoever - is not in itself decisive for whether Danish Tax Agency's original
        decisions on the payment of dividend tax reimbursements can now be annulled.

        In this context, it is particularly important to note that the present cases are solely concerned with whether
        the pension plans involved are entitled to keep the requested reimbursement of withheld dividend tax as
        originally assumed and paid by Danish Tax Agency.

        Pension plans cannot be required to provide additional and/or different documentation than that already
        provided. As stated above, the pension plans in the cases have provided extensive documentation proving
        the ownership of the stocks, the receipt of the net dividend and thus the payment also of the dividend tax.
        At the same time, the records required by the Danish Tax Appeals Agency from VP Securities, money or
        stock flows are merely circumstantial, and not actual evidence, of ownership of the stocks in question. In
        this connection, reference is made to the above-mentioned problems with the documentation of ownership
        of dematerialized stocks.

        CONCLUSION OF THE SECOND PART

        All stock transactions were real and are documented, with all the supporting documents that in the real-
        world document real stock transactions and transfer of ownership of stocks. The fact that the tax
        authorities provide a wish list of documents which the tax authorities would like to see but which are not
        legally valid documentation of the ownership of stocks and the receipt of dividends cannot mean that the
        pension plan has not met its burden of proving its claim for reimbursement.

        The Danish Tax Agency's unsubstantiated allegations of fraud against the custodians involved are not
        sufficient to overturn the documentation issued by those custodians for the transactions. In so doing, the
        tax authorities are attempting to evade the fact that the UK supervisory authorities have manifestly found
        no evidence of fraud on the part of the four custodians. Just like SØIK, which after four years of
        investigation has not come forward with so much as an accusation. The decision taken in November 2019
        by the UK authorities to discontinue their criminal investigations into the case and leave this impossible
        undertaking to Denmark is further evidence of how unreliable the allegations of fraud really are.

        Finally, requiring more documentation from a foreign custodian than from VP Securities means unjustified
        discrimination against UK custodians that does not hold up at the European Court of Justice.




Case No. XX-XXXXXXX                                   Page 156/239
  Case 1:18-md-02865-LAK                    Document 836-47                Filed 06/27/22            Page 197 of 462



        The EU has established a set of rules (the CSD and Finality Directives) that guarantee that a buyer of a
        dematerialized stock actually becomes its owner and can prove this without any doubt in all EU countries by
        a statement from its own custodian, also called investor CSD.

        The pension plan's evidence of ownership in the form of DCAs and custody statements cannot be rejected
        as evidence in the cases.

        PART 3: THE DANISH TAX APPEALS AGENCY ATTITUDE IN THE LEAD CASES - THE TRANSACTIONS CARRIED
        OUT HAD REALITY

        11 RECOGNITION OF THE COMPLETION OF THE STOCK TRADES

        The Danish Tax Appeals Agency’s office position in the lead cases supports the irrelevance of the Danish Tax
        Agency’s views regarding errors in documentation and pure speculation regarding the veracity of what
        actually occurred. The Danish Tax Appeals Agency does not question that agreements for the purchase of
        stocks were concluded and that these were implemented.

        The implementation of the dividend arbitrage investment strategy is as little questioned as all the individual
        stages of the operation (buying and selling stocks, concluding forward contracts and lending stocks against
        cash collateral).

        The Danish Tax Appeals Agency also does not doubt in the preliminary cases that the pension plans could
        finance the purchase of stocks. The fact that the pension plans were predominantly - but not exclusively -
        newly established plays no role in the possibility of purchasing and financing the stocks. The stock purchases
        were paid for by the cash collateral of a stock borrower, which was paid to the pension plans on the same
        day as the pension plans had to pay for the stocks.

        The Danish Tax Appeals Agency also does not argue in the lead cases a registration of the pension plans
        with VP Securities as a condition of ownership. The Danish Tax Appeals Agency acknowledges the limited
        value of the registrations with VP Securities, which knows only a few civil law stockholders of the Danish
        C20 companies, but far from all (due to omnibus deposits), and does not know the legal owners of Danish
        stocks at all. Legal ownership is not registered anywhere.

        The Danish Tax Appeals Agency expressly confirms in the preliminary cases that there is documentation
        relating to transactions concerning the purchase and sale of stocks, stock lending and the conclusion of
        forwards, including commercial notes, e-mails, etc. The Danish Tax Appeals Agency is simply of the opinion
        that this documentation does not

              " come to the "knowledge" of the Pension Plans, and for that reason they should not
              evidence the Pension Plans' ownership of the stocks."

        However, this is not correct. The pension plans had full knowledge of all the documents, as they are
        provided by the pension plan trustees. The pension plans can only act through these trustees and their
        knowledge must be imputed to the pension plans. As legal persons, they can only have knowledge of the
        fact through natural persons. These natural persons are their trustees.




Case No. XX-XXXXXXX                                  Page 156/239
  Case 1:18-md-02865-LAK                    Document 836-47                Filed 06/27/22            Page 198 of 462



        12 THE DANISH TAX APPEALS AGENCY DISREGARD OF TAX OWNERSHIP IN THE CASES

        12.1 Knowledge of the transaction documents

        The Danish Tax Appeals Agency’s real reason for wanting to disregard the pension plans' tax ownership of the
        stocks in the lead cases seems to be that the pension plans should have been aware of all the documents that
        actually document the stock transactions.

        It should be noted that a person can acquire rights (and obligations) through a legally binding agreement
        even without knowledge of that agreement. It is sufficient that the person has authorized the person to act
        and that the person has knowledge of the documents.

        In the cases at hand, the pension plan's own trustee acted predominantly. The order to buy and sell stocks
        was placed by the trustee by e-mail, the forward hedge was sold by e-mail, the trade notes were sent to the
        trustee by e-mail - and subsequently to the pension plan trustee in hard copy together with the invoice. The
        stock lending based on a GMSLA was concluded by e-mail sent and received by the trustee.

        The Trustee does not only have a power of attorney from the pension plan to act on its behalf. The Trustee
        is the pension plan's own acting body. When a pension plan wants to enter into a legal act, this can only be
        done by an act of the trustee.

        If the Danish Tax Appeals Agency means by "pension plan" the beneficiaries of the pension plan, it should
        be noted that the beneficiaries of a given pension plan - which is not self-administered - never have
        knowledge of the individual acts by which the pension plan acquires and sells assets accruing to the
        beneficiaries under the pension plan. For example, when Danica or Nordea invest funds in a Danish pension
        scheme for their beneficiary policyholders, they do not send copies of the transaction documents to the
        policyholders every time. Danica and Nordea nevertheless acquire stocks on behalf of their pension
        policyholders.

        There is no reason to consider an American solo 401K pension plan differently from Danica or Nordea when
        managing pension funds.

        12.2 Documentation

        The Danish Tax Appeals Agency recommends in the first cases to set aside the pension plans' legal claim for
        reimbursement, on the grounds that it has not been sufficiently proven that the pension plans (a) have
        been the owners of the stocks in question, (b) have received dividends on the stocks, or (c) have received
        exchange distributions.

        12.2.1 Proof of ownership of the stocks

        As all trading in dematerialized stocks is paperless, documentation is a fundamental problem. For
        stockholders who have their own securities account with VP Securities, it is relatively easy to document
        ownership. However, most foreign stockholders do not have their own securities account with VP
        Securities. They hold their stocks in foreign banks, which operate omnibus accounts in long chains of sub
        custodians.

        If stocks are traded between clients of the same custodian, this is not seen either by VP Securities or by the
        next custodian in the chain of sub custodians. Buying and selling stocks offset each other during the netting
        procedure. The external trace of such a trade at the same custodian is limited to the two reports issued by




Case No. XX-XXXXXXX                                   Page 156/239
  Case 1:18-md-02865-LAK                    Document 836-47                 Filed 06/27/22            Page 199 of 462



        the trading and settlement systems: trade reports sent to the stock exchange (here the LSE) and transaction
        reports sent to the financial regulator (here the FCA in London).

        If the number of stocks bought or sold within a single custodian exceeds the number of stocks held by that
        custodian, a trace of the settlement process will lead to the next custodian in the chain of sub custodians,
        where netting of all transactions may again result in no stocks being transferred to or from that custodian's
        omnibus account.

        The use of omnibus accounts in the chains of sub custodians and the application of netting thus erase the
        external traces of the settlement of the equity transactions.

        This applies both to the trail of stocks settled through the systems and to the cash flows used to pay for the
        stocks.

        Tracking stock traders by cash and stock flows is thus not possible.

        Stock transactions can only be documented by the brokers and custodians involved. An external third party
        cannot prove a trade in dematerialized stocks.

        Therefore, pension plans cannot be required to provide such documentation. The documentation for stock
        traders that can be requested is the documentation required by all authorities for a stock trade: a trade
        note, a custody statement and finally a DCA when a trade has been received.

        These documents have been produced in all cases to the extent that they are still available. However, as in
        2014 and 2015 Danish Tax Agency only requested a DCA as evidence of the ownership of the stocks and the
        receipt of the dividends, in all cases the pension plans did not keep any additional evidence of the
        ownership of the stocks and the receipt of the dividends.

        All other processes are purely electronic and leave no "trace" that can be documented in paper form.

        It is therefore not only unreasonable, but also unrealistic to require any other documentation from the
        pension plans than the provided commercial notes, custody statements and DCAs.

        Nor can the value of the documents produced be undermined by the simple allegation that they originate
        from companies directly or indirectly linked to Sanjay Shah.

        Firstly, after four years of (presumably and hopefully) intensive investigation of the so-called case complex
        by SØIK, to date no charges have been brought against Sanjay Shah, see also the Ministry of Justice's
        responses of 2017 and 2018, presented here as Appendices 109 and 110. The British prosecutors, who have
        also been investigating the case since 2015, have also not provided any evidence of wrongdoing. Indeed,
        the British have abandoned the arrest they had over Sanjay Shah's assets in November 2018, see the Crown
        Court in London's lifting of restrictions on Sanjay Shah's assets of December 10, 2018, submitted as
        Appendix 111. This is not done where there is strong circumstantial evidence of criminal activity. All
        allegations against Sanjay Shah and his companies are thus completely undocumented.

        Second, the allegation against Sanjay Shah seems to be precisely that his companies issued false
        documents. Without proving this allegation, the tax authorities are thus arguing in circles to disqualify the
        available and only possible legally valid evidence of the stock deal. Viable proof that the documentation
        originating from Sanjay Shah's companies would be false is not provided by the




Case No. XX-XXXXXXX                                   Page 156/239
  Case 1:18-md-02865-LAK                      Document 836-47                  Filed 06/27/22             Page 200 of 462



        Danish Tax Agency. The tax authorities argue only that the transactions are 'unrealistic' (15 times in the
        summary), 'unbelievable' (four times), 'unrealistic' (six times), 'improbable' (15 times), 'impossible' (10
        times), 'fictitious' (11 times), 'have no commercial rationale' (six times). These allegations provide no basis
        for what would be 'false' about the documentation issued by the Solo Group. The only thing these
        allegations show is that the Treasury apparently does not understand stock lending and short selling and
        has no experience with stock trading to the significant extent that margin trading, dividend arbitrage and
        algorithmic trading do.

        12.2.2 Proof of receipt of proceeds

        Every stockholder receives the dividends on his stocks in an account with his custodian, as the money can
        only find its way from the company to the stockholder through the chain of custodians and sub custodians.

        If a stock is bought so shortly before the ex-date that the buyer is not yet registered with his custodian as a
        stockholder, the dividend will not reach the seller's custodian until then. At the latest when the stock is
        booked out of the seller's account, the seller's custodian sees the date of sale and thus knows that the
        dividend in fact belonged to the buyer (cf. Article 19 of the Danish Sale of Goods Act). The seller's custodian
        therefore automatically withdraws the dividend from the seller and transfers it to the buyer's custodian, so
        that the latter can credit the amount to the buyer's account. This process is called the "market claim
        process."

        The market claim process can only be carried out by the custodians involved, as only they can see that the
        exchange has to be passed on to the buyer, who was not yet registered on record day.

        If there is a short seller on the dividend date, the short sale results in more owners of Danish stocks on the
        dividend date than the number of stocks issued by the company. The short seller therefore has to pay a
        compensation payment into the system of custodians and sub custodians, as the buyer of a stock cannot
        see whether the ultimate seller is a long owner or a short seller. However, all buyers of stocks are entitled
        to the net proceeds circulating in the system.

        It is therefore possible that the money that reaches the buyer of the stocks during the market claim process
        is in fact (in whole or in part) originally from a short seller and is a compensation payment. However,
        whatever the original source of the payment, it can only reach the stockholder via his custodian, as only he
        knows that the stockholder owns the stocks.

        Since the net proceeds from the companies are irrevocably mixed with the net compensation payments
        from the short sellers already at the first custodian in the chain, it is impossible to identify what it is that
        each stockholder receives during the market claim process.

        The only person who can prove that the stockholder has received a dividend (or an indistinguishable
        compensation payment) is the individual stockholder's own custodian.

        The legal documentation for the receipt of a dividend is a DCA. For this reason, Danish Tax Agency also
        originally required a DCA.

        As stated in ESMA's report of July 2, 2019, the evidence of receipt of an exchange is a DCA. This must be
        issued by the custodian when a net dividend is credited to a stockholder's account. This, regardless of
        whether the source of the payment is the company itself or a short seller - as in the real world - no one can
        distinguish a real net dividend from a net compensation payment.




Case No. XX-XXXXXXX                                     Page 156/239
  Case 1:18-md-02865-LAK                    Document 836-47                Filed 06/27/22            Page 201 of 462



        The tax administration's desire to follow a flow of funds from the company to every stockholder is - as
        ESMA documents it - pure utopia.

        In addition to the DCA itself, a stockholder can of course also show by a bank statement that he has
        received a dividend. However, this statement is also issued by the custodian.

        As long as the Danish Tax Agency, under undocumented allegations of fraud committed by the Solo Group,
        refuses to accept documentation received from the Solo Group, no evidence of receipt of proceeds can
        exist. The tax authorities cannot require pension plans to provide documentation that cannot exist.

        12.2.3 Proof of receipt of dividend reimbursement

        It is not disputed by the tax authorities that the Danish Tax Agency has paid a reimbursement.

        Nor does the Danish Tax Agency seem to dispute that the pension plans have received the dividend tax,
        because why else would Danish Tax Agency have summoned all pension plans in the USA and England in
        June 2018? The tax authorities confirm in all the summonses that the pension plans have received the
        reimbursement from Danish Tax Agency.

        The receipt of the reimbursement paid by Danish Tax Agency is also a logical consequence of the request for
        re-merger, which was properly documented, with everything that Danish Tax Agency requested.

        As the reimbursement requests show, Danish Tax Agency paid the reimbursement immediately to the
        agents (Acupay, Goal Taxback, etc.). From there, the reimbursement was transferred to the pension plans'
        account with their custodian, where the funds were entrusted as security under the TTC clause of the
        custody agreement. The cash flow showing the inflow to the pension plans is therefore a transfer from the
        agents to the custodian respectively Solo Capital, which was the account manager for the other companies
        in the Solo group. The pension plans could see via their online access to their account that the
        reimbursement amounts were credited to their current account with their custodian. When pension plans
        had to pay fees for the services received, this was done via instructions to the custodian, who then
        withdrew the money from Solo Capital's cash account at Barclays Bank.

        The Barclays Bank account statements are held only by Solo Capital's administrator (PwC), the SØIK and the
        English NCA.

        The pension plans saw no need to produce a screen print of the accounting of the receipt of the exchange
        reimbursement on their account.

        12.3 No basis to contest reality

        In its summary submission of August 09, 2019, the Danish Tax Agency has challenged the civil reality of the
        transactions at issue in the main proceedings.

        Moreover, in the event that the pension plans are successful in civil proceedings, the tax authorities also
        appear to contest the tax reality of the transactions in question.

        In addition, the Danish Tax Appeals Agency has stated in the office recommendation that the stock
        transactions in question have not in fact passed through the pension plans' finances, so that in the Danish Tax
        Appeals Agency's view they are merely empty bookkeeping by custodians without any tax reality.




Case No. XX-XXXXXXX                                   Page 156/239
  Case 1:18-md-02865-LAK                     Document 836-47                 Filed 06/27/22            Page 202 of 462



        12.3.1 Civil law governs the assessment of tax ownership

        As stated above, it must be assumed that the stock transactions in question were valid under civil law.

        It is then argued that the transactions, including the disputed purchases and sales of stocks, stock lending
        and the conclusion of forwards, also had the requisite tax reality.

        Thus, the pension plans were also the tax owners of the dividends paid to the pension plans, on which the
        underlying companies withheld dividend taxes. As a result, the pension plans also received the dividend tax
        reimbursements in question.

        There is therefore no basis for disputing, for tax purposes, the civil law transactions between the pension
        plans and any short sellers who may have acted as ultimate sellers.

        In this context, reference should be made to the starting point in Danish tax law: that civil law governs tax
        law.

        It is thus the practical general rule that civil law is the governing law for tax law. See, among others, Søren
        Mørup in TfS 2002.665 and Jakob Bundgaard's Skatteret & civilret, 2006, page 187.

        This approach also applies to the question of the acquisition of ownership of stocks and therefore to the
        question of the legal entitlement of pension plans to the reimbursements of withholding tax paid in the
        cases.

        There is therefore no basis for a different assessment for tax purposes - in other words, the pension plans
        must also be regarded for tax purposes as the owners of the stocks in question, which have been
        transferred to them under civil law.

        12.3.2 General reality principle

        As stated above, the general starting point is that the tax qualification of fact is governed by the civil
        qualification of fact.

          This starting point may - in exceptional cases - be derogated from. It is thus assumed in much of the
          theory and in practice that a general clause on the reality of tax law applies - often referred to as the
          reality clause.

          The principle of reality is applied in cases where there is a clear discrepancy between the internal reality
          and the external formal appearance.

          The principle of reality ensures that taxation of tax uses is linked to the real economy and the real substance
          of the dispositions in relation to which taxation is to be applied, rather than to the formal nature of the
          dispositions.

          The reality principle was first formulated by Jan Pedersen, who has stated the following about the
          content of the reality principle in The Tax Law 1, 9. edition, 2019, page 124 ff:




Case No. XX-XXXXXXX                                    Page 156/239
  Case 1:18-md-02865-LAK                     Document 836-47                 Filed 06/27/22             Page 203 of 462



               "The purpose of the general clause is to determine the legal distinction between tax evasion
               and tax avoidance. The General Clause is unlawful, but is created by the law-making activity
               of the Court.

               Its main feature is the requirement that taxation of taxable transactions be linked to the real
               economy and the real substance of the transactions in relation to which the taxation is to be
               levied, rather than to the formal nature of the transactions.

               The general clause applies in the event of a clear discrepancy between the internal reality and
               the external formal appearance. In practical legal life, of course, the assessment of reality may
               often give rise to doubts.

               This is because the reality principle is more an expression of a specific legal method to
               counter tax abuse than a limited legal rule to resolve individual issues.

               Consequently, the scope of the reality principle can only be determined on the basis of
               practice.

               As the principle is applied to the many and varied problems of tax law, it is obviously difficult
               to summarize the practice in anything other than procedural statements.

               [...]

               The general clause can be used to override empty and artificial tax dispositions, so that
               taxation is instead made in relation to the opposite reality. However, the General Clause is
               not an arbitrary norm which can be used for discretionary taxation.

               The clause presupposes an indisputable finding that ordinary and normal commercial
               dispositions have been disregarded in favor of empty and tax-related dispositions, so that
               the form of the dispositions is contrary to their real content."

        To illustrate the content of the principle of reality, reference should also be made to what Jan Pedersen
        stated in TfS 2000, 142, from which the following, inter alia, appears:

               "It is characteristic that tax law is not directed at the economic content of taxpayers'
               dispositions. Rather, taxation is directed at the civil law characterization of those
               dispositions. The fact that a taxpayer has received an amount in specified circumstances is
               not of independent interest for the purposes of tax law. It is only when the transaction is
               classified for tax purposes as a wage, sale, gift, loan, purchase, business activity, etc., that
               the tax legislation can be applied to the civil events thus classified. Although income
               taxation is directed at private financial flows, from which specified proportions are sought
               to be withdrawn for the benefit of society, the income tax system is able to fulfil this task
               only by means of a prior civil law qualification. No distinction in tax law between the
               formality and reality of taxpayers' dispositions is therefore generally necessary.




Case No. XX-XXXXXXX                                    Page 156/239
  Case 1:18-md-02865-LAK                    Document 836-47                 Filed 06/27/22             Page 204 of 462



               It must be borne in mind, however, that the use of taxes is a misuse of civil law. By
               circumvention or even pro forma, the arrangements are organized in such a way that they
               appear in form to be advantageous from the point of view of tax law, but in such a way
               that the actual and real content of the arrangement differs from it.

               A number of court decisions illustrate such a schism between formality and reality. For
               example, the famous Havnemøll judgment, UfR 1960, p. 535 H, in which double taxation
               under company tax law was sought to be avoided by the transfer of a branch of activity
               from the company to a partnership set up for the purpose by the stockholders. In
               principle, such a split cannot be criticized, but the assessment must be different where the
               split is made in such a way that the physical operation of the partnership continues to be
               carried out by the company, which at the same time bears all the risks. The sole purpose
               of the separation was to transfer part of the company's income to the partnership. In
               operational and economic terms, the situation was the status quo and the hive-off had no
               effect. The Supreme Court therefore considered the transferred income to be disguised
               profit, since it had actually been earned by the company and then distributed.

               Thus, a characteristic feature of some of the tax exploits is that the civil law form is used
               as a backdrop in order to steer taxation in a prejudicial direction. The arrangements are
               characterized by an artificial and unusual form in which the taxpayer seeks only to obtain
               the resulting tax advantages but not the corresponding civil law consequences. Disposals
               are disguised as long-term loans or contracts of use in such a way that the "transferor"
               effectively gives up his property rights, loan agreements with corresponding interest
               deductions are set up without the borrower being subjected to any real financial burden,
               etc.

               The essence of the principle of reality is therefore that, under certain conditions, taxation
               may be directed towards the actual economic reality at the expense of the opposing civil
               formality. This frees taxation from the control of civil law by depriving legal and valid
               dispositions of their fiscal significance.

               The principle of reality does not pose any domestic problems, since the norm does not
               prescribe interpretations or analogical inferences beyond the clear word limit of the tax
               laws concerned. On the other hand, the principle of reality relates to the preliminary
               determination of the fact to which the tax laws must be applied. More specifically, the
               test is whether the civil law form claimed has a corresponding reality.
               This is aptly described as the requirement that dispositions be "flesh and blood." The
               principle of reality thus relates to the determination of facts rather than the interpretation
               of the law.

               It must of course be made clear that the principle of reality does not imply a total
               formlessness, where "the end justifies the means." It does not allow for arbitrary and
               unjustified taxation. This is ensured by the requirement that the civil law regime can only
               be set aside if the form claimed does not correspond at all to the real economic realities.




Case No. XX-XXXXXXX                                   Page 156/239
  Case 1:18-md-02865-LAK                     Document 836-47                  Filed 06/27/22             Page 205 of 462



               However, due to the nature of the reality principle, it is - unfortunately - not possible to give
               a more concrete and clear framework for the scope of the principle."

        12.3.3 The principle of reality in case law

        As stated, the principle of reality does not allow the tax authorities to freely apply taxation - there are
        therefore limits to the application of the principle of reality.

        To illustrate the application of the reality principle, a number of case law decisions are referred to below.

        The highlighted decisions illustrate precisely that the principle of reality is not an arbitrary norm that can be
        applied to taxation at will.

        From the case law, reference is first made to the Supreme Court's judgment of October 30, 2003, published
        in TfS 2003, 889 H.

        The company in question (Over-Hold ApS) acquired a loss-making company and subsequently decided to
        convert it into a limited company and, at the same time, to increase its stock capital by DKK 120 million.

        The capital increase was made through a loan in the parent company, and the capital increase was
        immediately lent to another group company, which used the amount for the purchase of stocks.

        All transactions took place on the same day.

        The acquired limited company received the same interest payment as the company provided for the loan
        from the parent company.

        The company argued that the chosen approach was justified by a desire to establish a system whereby the
        limited partnership could take advantage of the possibility of carrying forward previous years' losses to offset
        against interest income under the current provisions of the Danish Tax Assessment Act

        The Danish National Tax Tribunal upheld the local tax authorities' denial of the right to deduct interest. The
        Danish National Tax Tribunal considered that the loan did not involve a real risk for the companies and that
        the company did not have free disposal rights over the loan proceeds. It was also considered that the
        company had not obtained any income from the disposal and that, subsequently

        In the opinion of the Danish National Tax Tribunal, there was no business justification for placing the
        interest income in the Danish loss-making company Over-Trading A/S.

        The Western High Court upheld the Danish National Tax Tribunal's decision. In this context, the Court
        considered that the loan did not involve a real risk for the companies and that the company had not had
        free disposal rights over the loan proceeds.

        It had also been given weight that the company had not earned any income from the dispositions. In the
        contested decision, therefore, not attached to the borrowing.




Case No. XX-XXXXXXX                                    Page 156/239
  Case 1:18-md-02865-LAK                     Document 836-47                  Filed 06/27/22             Page 206 of 462



         On the other hand, the Supreme Court emphasized that the method of exploiting the possibility of carrying
        forward losses, which could have been established without loans having been granted between the
        companies belonging to the group, had to be characterized as a lawful exploitation of the express provision
        for financial loss companies in the current § 15(7)(3) of the Tax Act.

        The Supreme Court's reasoning is as follows:

                   "The Supreme Court's observations.

                   Over-Hold ApS received proceeds of DKK 120 million from the Cirrus AB loan and
                   used it for a cash capital increase in Over-Trading ApS, which was a financially
                   loss-making company, in order to make profits in that company. Over-Trading
                   ApS lent the amount to Bonnier Information Services A/S, which used it to acquire
                   stocks in A/S Børsen Holding.

                   The chosen approach was justified by a desire to establish a system which made
                   it possible for Over-Trading ApS to take advantage of the right to carry forward
                   losses from previous years for set-off against interest income, which existed
                   under the current provisions of § 15(1) of the Danish Income Tax Act, cf.
                   Paragraphs 5 and 7(3). Such an arrangement, which could have been established
                   without loans being granted between the group companies, must be
                   characterized as a lawful use of the express exemption for financial loss-making
                   companies in § 15(7)(3) of the Danish Tax Assessment Act.

                   The circumstances invoked by the Ministry of Taxation do not, in the light of the
                   foregoing, provide a basis for considering the loan from Cirrus AB to Over-Hold
                   ApS to be without reality or for finding that there has been an arbitrary distortion
                   of the companies' income base. The Supreme Court therefore upholds Over-Hold
                   ApS's claim."

        The Supreme Court therefore upheld the company's claim for interest deduction.

        Secondly, reference should be made to the Supreme Court's judgment of December 07, 2006, published in
        SKM2006.749 H.

        The case concerned the question of whether there was a tax-free sale of stocks to the issuing company or in
        fact a transfer of stocks to a third party, so that the advance was taxable under the Stock Advance Tax Act §
        2, in a situation where the issuing company did not finance the repurchase with free reserves accumulated
        in the company but by a simultaneous capital injection.

        In February 1999, the limited company in question, Finwill ApS, had acquired 50 percent of the stock capital
        (nominal value DKK 750,000) in a limited company, Circuit Electric A/S. In April 1999, Circuit Electric A/S
        acquired all the stocks in Finwill ApS. Acceptance of this transaction was given on April 09, 1999.
        An extraordinary general meeting of Circuit Electric A/S was held on the same date. It was decided to
        reduce the stock capital by a nominal amount of DKK 750,000 and at the same time to increase the stock
        capital by a nominal amount of DKK 750,000. The new stocks are subscribed by the company Hedeselskabet
        Miljø og Energi A/S.

        It followed from the Companies Act that a capital reduction and a capital increase could be conducted
        simultaneously, cf. the Act § 46(1), first indent, and that a limit of 10 percent. For the acquisition of own stocks




Case No. XX-XXXXXXX                                     Page 156/239
  Case 1:18-md-02865-LAK                    Document 836-47                Filed 06/27/22            Page 207 of 462



        could be exceeded if the stocks were acquired for the purpose of a capital reduction, cf. § 48 B, no. 1 of the
        Act.

        However, the tax authorities considered the transfer of stocks from Finwill ApS to Circuit Electric A/S as
        having been made directly to Hedeselskabet Miljø og Energi A/S, and therefore this profit, which had been
        established at Finwill ApS, was considered to be taxable in accordance with Article 2(1) of the Danish Capital
        Gains Tax Act. The reason for this was that the transfer of stocks from Finwill ApS to Hedeselskabet Miljø og
        Energi A/S was "camouflaged" as a capital increase and decrease. Finwill ApS, on the other hand, argued
        that there had been no pro forma legal transaction and that payments had actually been made in
        accordance with the decisions taken.

        After an overall assessment, the Danish National Tax Tribunal held that there had in fact been a transfer of
        stocks from the limited company directly to Hedeselskabet Miljø og Energi A/S, and that the resulting profit
        was therefore taxable for the limited company under the rules of the Danish Capital Gains Tax Act (§ 2,
        Paragraph 1 of the Danish Capital Gains Tax Act). The reason given was that there was such a link between
        the transactions that the transfer of stocks had to be regarded as having been made to Hedeselskabet Miljø
        og Energi A/S.

        The Western High Court upheld this decision with the following grounds:

                  "It must be assumed that A made the transfer to the company conditional on the sole
                  purpose of obtaining tax exemption. The implemented model was thus preferred
                  because it was assumed to lead to tax exemption.

                  The company did not have the means to purchase the stocks. The transfer therefore
                  required the raising of funds from outside. The purchase price was obtained by G1
                  Miljø og Energi A/S paying the purchase price to the company, which then paid it to
                  A's company, when subscribing for a very similar stock. The transfer was conditional
                  on a capital reduction, which was conditional on a simultaneous capital increase of
                  the same amount, corresponding to the purchase price. The transfer therefore did not
                  entail any change in the stock capital or the amount of equity.

                  The legal consequences for G1 Miljø og Energi A/S and the company must therefore
                  be assumed to have been essentially the same, irrespective of whether the transfer
                  was made immediately to G1 Miljø og Energi A/S or to the company. The same applies
                  to the company A. Moreover, there was no commercial justification for the sale to the
                  company rather than to G1 Miljø og Energi A/S.

                  In the circumstances described, the transfer appears to have been effectively made to
                  G1 Energi og Miljø A/S, which after the transfer owned 100 % of the company, and the
                  transfer to the issuing company must be considered to have been made for tax
                  avoidance purposes only. It is therefore accepted that the transfer has been
                  considered taxable.
                  The transfer is thus not considered - notwithstanding the validity of the company law
                  dispositions - to have the character of a transfer of stocks to the issuing company,
                  which, under Paragraph 16 B(1) of the § 13, Paragraph 1, no. 2, according to Tax
                  Assessment Guidelines 1999, S.C.1.2.4.3., can be made tax-free."




Case No. XX-XXXXXXX                                   Page 156/239
  Case 1:18-md-02865-LAK                    Document 836-47                  Filed 06/27/22             Page 208 of 462



        The Danish National Tax Tribunal and the Western High Court thus applied the principle of reality.

        However, the majority of the Supreme Court (five out of seven judges) came to a different conclusion. The
        Supreme Court's ruling reads as follows:

                "The general rules on taxation on the disposal of stocks are set out in the Danish Capital
                Gains Tax Act. According to the rules of the current law on the taxation of profits on
                stocks, profits are taxable when the taxpayer has acquired the stocks at a time less than
                three years prior to the disposal. If the stockholder is a limited liability company, the gain
                is tax exempt if the period of ownership is three years or more, cf.

                However, § 16B of the Danish Tax Assessment Act provides that the entire amount of the
                disposal is taxable as a dividend if the stockholder disposes of stocks to the company that
                issued the stocks. This provision covers not only cases where the stockholder disposes of
                part of his stocks to the issuing company, but also cases where the stockholder disposes of
                all his stocks to the company. According to the preparatory works, the purpose of the
                provision is to prevent 'stockholders from obtaining a lower tax burden by having the
                company buy back its own stocks instead of making a distribution to the stockholders in
                the usual way', see Folketingstidende 1960- 61, supplement A, p. 836.

                According to the current provision in § 13(1)(2) of the Corporate Tax Act, dividends are
                exempt from tax if the company receiving the dividend (the parent company) owns at
                least 25% of the stock capital of the company paying the dividend (the subsidiary) for a
                continuous period of at least one year, within which period the date of distribution must
                fall. The provision is intended to alleviate the economic double taxation of distributed
                company income, cf. 1975-76, Supplement A, p. 4105.

                The interaction of the rules means that a parent company's gain on the sale of stocks in a
                subsidiary is tax-free on fulfilment of the one-year ownership requirement if the stocks are
                sold to the subsidiary, whereas the gain is tax-free only after three years of ownership if
                the stocks are sold to another party.

                Five judges - Torben Melchior, Per Sørensen, Lene Pagter Kristensen, Thomas Rørdam and
                Poul Dahl Jensen - then state: The concept of dividends in § 13(1)(2) of the Corporate Tax
                Act also covers the disposal sums which are treated as dividends under § 16B(1) of the Tax
                Act, cf. Statements from the Injured Party 1982, decision No 2. It therefore follows from
                the wording of the provisions that Finwill ApS, which at the time of the disposal on April
                09, 1999 had held 25% of the stock capital of Circuit Electric A/S for more than one year,
                was entitled to sell all its stocks in Circuit Electric to that company free of tax.

                The question in the case is whether the sale is tax exempt also in the present situation,
                where Circuit Electric did not finance the buy-back with free reserves saved in the
                company, but where the buy-back (as part of a change in the company's stockholder
                base) was financed by a simultaneous capital contribution, which resulted from
                Hedeselskabet Miljø og Energi A/S subscribing for new stocks in the company as an
                incoming stockholder.




Case No. XX-XXXXXXX                                   Page 156/239
  Case 1:18-md-02865-LAK                    Document 836-47                 Filed 06/27/22             Page 209 of 462



                 A change in the ownership of a limited company can be implemented by a stockholder
                 selling stocks directly to another or a new stockholder. However, it follows from Article
                 44a(1)(2) and Article 48b(1) of the Companies Act that a change of ownership may also
                 be effected by a reduction in capital which may be combined with a simultaneous
                 increase in capital, cf. Article 46 of the Act. It must be assumed that the disposals made
                 in connection with Finwill's withdrawal as a stockholder and Hedeselskabet Miljø og
                 Energis' entry have been made in accordance with the rules of the Companies Act.

                 It is clear from the preparatory work on § 16 B of the Danish Income Tax Act that the
                 provision was enacted in accordance with § 16 A, and that this was done out of a desire
                 to ensure that there was no difference in the tax treatment of cases where a stockholder
                 sells stocks to the issuing company and cases where a company redeems part of the
                 stock capital by distribution to the stockholders, cf. Folketingstidende 1960-61,
                 supplement B, sp. 852. According to the preparatory works for § 16 A, this provision
                 covers any distribution by the company, irrespective of whether it derives from profits
                 earned, increases in assets exempt from income tax or from the capital injected into the
                 company, cf. Folketingstidende 1960-61, supplement A, p. 833. We consider that it must
                 follow from this that § 16B must apply in the same way to any sum of money disposed of
                 by the company, irrespective of whether it derives from profits earned, increases in
                 assets exempt from income tax or - as here - from the capital contributed to the
                 company. Such disposal sums are therefore tax-free where the conditions of Article
                 13(1)(2) of the Corporate Tax Act are met.

                 Against this background, we consider that the fact that the issuing company, Circuit
                 Electric, financed the repurchase of the stocks from Finwill with the capital which
                 Hedeselskabet Miljø og Energi at the same time injected into Circuit Electric, cannot lead
                 to the disposal sum not being covered by § 16 B, Paragraph 1, of the Danish Income Tax
                 Act, with the consequent possibility of tax exemption under § 13, Paragraph 1, point 2 of
                 the Danish Corporate Tax Act.

                 In our view, the fact that Circuit Electric did not have sufficient funds to finance the
                 acquisition prior to the capital increase cannot lead to a different result, since it must be
                 assumed that Hedeselskabet Miljø og Energis' subscription of new stocks for an amount
                 of DKK 17,460,000 was matched by real assets in Circuit Electric.

                 We therefore consider that there are no grounds for refusing to recognize that the disposal
                 sum in Finwill's stock transfer to Circuit Electric is a dividend covered by § 16 B(1) of the
                 Danish Income Tax Act and thus exempt from tax under § 13(1)(2) of the Danish Corporate
                 Tax Act. In view of the above, we vote in favor of Finwill's claim.

                 Judges Asbjørn Jensen and Marianne Højgaard Pedersen state: As stated by the District
                 Court, it was agreed that Hedeselskabet Miljø og Energi would purchase Finwill's 50%
                 stock of the total stock capital in Circuit Electric. It must also be assumed that the agreed
                 sales price was DKK 17,460,000. In order to avoid the sale being subject to the law on
                 capital gains tax, it was subsequently agreed that the transfer of the business should be
                 carried out as a capital reduction in the company and a simultaneous capital increase.




Case No. XX-XXXXXXX                                   Page 156/239
  Case 1:18-md-02865-LAK                     Document 836-47                 Filed 06/27/22            Page 210 of 462



                  Under § 13(1)(2) of the Corporate Tax Act, cf. § 16B(1) of the Tax Assessment Act, a sale
                  is exempt from tax if it qualifies as a dividend. The purpose of § 13(1)(2), according to
                  the preparatory works, is solely to alleviate double taxation in the case of a distribution
                  to a parent company of the income of the subsidiary, and the purpose of § 16B(1) of the
                  Danish Income Tax Act, according to the preparatory works, is solely to prevent a more
                  favorable taxation being obtained in the case of a sale to the company than in the case
                  of a distribution of dividends.

                  As stated by the District Court, Circuit Electric did not have the means to purchase the
                  stocks itself and the transactions did not involve any change in the stock capital or in the
                  amount of equity. The agreed capital increase in Circuit Electric was not intended to
                  inject capital into the company but was in fact payment by Hedeselskabet Miljø og
                  Energis for Finwill's stocks. The transactions were organized solely in this way and not as
                  a direct sale of the stocks, in order to allow Finwill to avoid being taxed on the proceeds
                  of the sale. Apart from the tax saving, there was no business justification for the
                  approach taken.

                  Under these circumstances, the sale amount cannot, in our view, be considered to be
                  covered by § 13(1)(2) of the Corporate Tax Act. We therefore accept that the disposal
                  sum of DKK 17,460,000 cannot be exempted from taxation, but must be taxed in
                  accordance with the general rules on taxation of profits from the disposal of stocks in the
                  Danish Capital Gains Tax Act.

                  The fact that the proposal to amend § 16B of the Danish Income Tax Act was withdrawn
                  in the 1998-99 parliamentary year in Bill No. L 87 cannot, in our view, be taken as an
                  indication that the legislature has subsequently accepted that the sale of stocks can be
                  organized in a manner such as that at issue here, without the profit being subject to the
                  basic rules on the taxation of profits in the Danish Capital Gains Tax Act.

                  We therefore vote to uphold the judgment. The decision will be taken by the number of
                  votes."

        The Supreme Court judgment referred to above can thus be seen both as an expression of the great
        importance of the application of civil law concepts in tax law, cf. The judgment can also be seen as an
        expression of the fact that the principle of reality is not an arbitrary norm which allows tax authorities to tax
        at will.

        Thirdly,
        - - - -to illustrate the principle of reality, reference is made from the case law to the minority opinion in
        the Supreme Court's judgment of August 24, 2007, published in TfS 2007, 752 H.

        The case concerned whether a limited partner had a deduction for interest expenses incurred in connection
        with a limited partnership's participation in a real estate investment project.

        The tender documents indicated that a negative operating result was budgeted over a period of 20 years.

        The acquisition of the property, acquired with a right of repurchase to the original owner and at a high
        price, was financed, inter alia, by a "vendor's mortgage" without personal liability. The terms provided for
        the debt to be adjusted "in proportion to the debtor's total income and expenditure in respect of the
        property." In addition, the debt was to be repaid by DKK 350,000.




Case No. XX-XXXXXXX                                    Page 156/239
  Case 1:18-md-02865-LAK                    Document 836-47                Filed 06/27/22            Page 211 of 462



        The question then was whether the limited partner had a deduction for the interest on the loan in question.

        The majority of the Danish National Tax Tribunal upheld the tax authorities' denial of the right of deduction
        on the following grounds:

                  "The Danish National Tax Tribunal must pronounce:

                  Two members of the Court, including the President, shall [...] agree, in respect of loans
                  taken out with S A/S [...], that no deduction may be made in respect of interest thereon.
                  These are loans granted on non-recourse terms in an arrangement without any real
                  economic risk for the taxpayer and the loan was taken out solely for tax purposes. These
                  two members of the court therefore vote in favor of not allowing the appellant to deduct
                  interest expenses on debts to S A/S.

                  A member of the court should note that the assumption of debt and interest obligations
                  by K/S K cannot be considered to have real substance [...]."

        The Danish National Tax Tribunal's decision was subsequently upheld by the Eastern High Court) in a
        judgment of January 19 20007 [sic]. The reasons given by the District Court are as follows:

                  "The promissory note was without personal liability, but with specified security issued to
                  the seller of the rental property in question. It formed part of a complex of agreements.
                  No information has been provided to rebut the presumption that the purchase price of
                  the property was much higher than the market value, and the Treasury has not
                  commented on the basis for depreciation. In view of all the terms of the assignment, the
                  security and the write-off, it is not established that the creditor would ever receive
                  payment corresponding to the amount of the claim. Moreover, according to the tender
                  documents, the investment was loss-making and could only yield a net benefit after tax.

                  The payment obligation under the promissory note was limited in advance to an annual
                  payment of DKK 1,296 per unit. No more was to be paid, because the seller had assumed
                  the expenditure risk against his specified ability to pay and because the actualization of
                  the personal liability for the credit union loan was hypothetical in view of the security
                  and the agreed adjustment of the payment instalments.

                  After an overall assessment of the arrangement, the District Court finds that A has not
                  faced any real risk of having to repay and prepay its stocks of the credit balance under
                  the promissory note. The posted interest expenses are therefore not deductible. The
                  principal claim and the alternative claim are therefore inadmissible.

                  As he has not demonstrated that the arrangement, apart from the promissory note, was
                  genuine, the expenses entered cannot be deducted as current service. Nor can the more
                  subtle claim be upheld.

                  Dismisses the action;"




Case No. XX-XXXXXXX                                   Page 156/239
  Case 1:18-md-02865-LAK                     Document 836-47                 Filed 06/27/22             Page 212 of 462



        In particular, the Court referred to the absence of personal liability and the purchase price exceeding the
        value of the goods, as well as to the fact that it had not been established - in the light of the specific terms
        of the vendor's mortgage - that the creditor would receive payment corresponding to the amount of the
        claim.

        The Court also considered that the investment was loss-making and could only produce a net benefit after
        tax. In view of the absence of any real possibility of repayment and interest on the loan, the Court held that
        the interest costs were not deductible.

        Nor could the District Court accept the limited partner's argument that the deduction was automatically
        permitted under the interest accrual provision in Paragraph 6(2) of the Business Tax Act. In view of the lack
        of reality, the court also held that no deduction could be granted for current payments. The Ministry of
        Taxation was therefore discharged in its entirety.

        However, the Supreme Court split by a three-two vote. The majority of the Supreme Court, like the Court of
        Appeal, did not consider that a real debt obligation had been established, and therefore neither the interest
        paid nor the interest actually incurred was deductible.

        In the present context, however, it is the reasoning of the minority of the Supreme Court that is interesting.
        The reasons given by the minority are as follows:

                  " Judges Lene Pagter Kristensen and Niels Grubbe said:

                  It is not disputed that K acquired the property from S on December 31, 1992 by means of
                  a transfer which was valid under civil law, and the tax authorities have acknowledged
                  that the transfer is also taken into account for tax purposes, so that the company as
                  owner was able to make tax depreciation allowances on the property. It is also
                  undisputed that K carried on a business of letting the property and, in so doing, received
                  rental income and incurred normal property expenses and interest on the credit
                  association debt for tax purposes.

                  The case thus concerns only the question whether interest deductions should be denied,
                  on the grounds that the promissory note did not express a real debt to S for tax
                  purposes.

                  The promissory note was created as part of the settlement of the purchase and was
                  intended in particular to cover the balance of the purchase price and K's current
                  operating deficit on the property.

                  Mr. S. had himself acquired the property on May 01, 1990 by way of a purchase in the
                  ordinary course of trade between independent parties for a cash consideration of DKK
                  27.2 million. The resale to K took place two and a half years later at a price
                  corresponding to the purchase price, DKK 27.9 million, plus project and sales costs,
                  totaling DKK 30.4 million. The property was then fully rented and the rent was somewhat
                  higher than at the time of purchase. Furthermore, at the time of resale - but not at the
                  time of acquisition - a 10-year guarantee was given for the current net rent with an
                  annual cumulative increase of 3 % corresponding to the agreed rent adjustment. The
                  guaranteed net rent of DKK 1,765,000 gave K an annual return before interest and tax of
                  5.8 % of the purchase price of DKK 30.4 million in the first year, increasing by 3%
                  annually. On this basis, we consider that it is not likely that the purchase price exceeded
                  the market value. This is the case irrespective of the available - summary - information
                  on the disposal of the property in 2003 and irrespective of the public property valuation,
                  S's perception of the market situation and the statistical evidence on cash prices for
                  commercial property.




Case No. XX-XXXXXXX                                    Page 156/239
  Case 1:18-md-02865-LAK                    Document 836-47                  Filed 06/27/22            Page 213 of 462



                  The obligation under the promissory note was secured, inter alia, by a pledge on a title
                  deed of DKK 6 million secured on the property after the credit union loan and by a
                  conveyance in the rental receipts. These assets constituted real assets for K, who thus - in
                  addition to being liable for the debt - assumed a sacrifice of property by the collateral.


                  Although the project was organized in order to eliminate the risk of loss, K thus had a risk,
                  but because of the limited partnership's articles of association and the loan agreement's
                  limited liability provision (non-recourse terms), this did not entail a risk of the limited
                  partners suffering losses in addition to their obligation to make deposits and ongoing
                  payments. This risk limitation for the limited partners does not in itself prevent them from
                  being entitled to deduct interest on the loan.

                  We find - contrary to the majority - that, notwithstanding the security for the promissory
                  note and S's right of purchase and sale, K had real access to the legal and actual disposal
                  of the property.

                  We also find - contrary to the majority - that K had a real opportunity to profit from the
                  disposal of the property. This possibility also existed in the case of S's exercise of the
                  right to buy, if the net rental income increased by more than the assumed 3% per
                  annum, or the interest charge was reduced by reprioritizing the credit union loan or the
                  loan with S.

                  Although the project was established for a 10-year project period, K was not bound to
                  this period but could settle the debt to S beforehand or dispose of the property before
                  the end of the period. If S did not exercise its right to purchase during the 10-year period,
                  K could keep the property and, depending on the evolution of rents and interest rates,
                  this was, in our view, not just a theoretical possibility.

                  In these circumstances, we find no basis for holding that the reality of the agreements
                  concluded was merely that the limited partners bought into a temporary formal debt
                  relationship in order to obtain, inter alia, the disputed interest deduction, and thus no
                  basis for holding that the promissory note issued by K did not, for tax purposes, express a
                  real debt to S. Accordingly, A is entitled to the interest deduction.

                  Under § 6(2) of the Corporate Tax Act, deductions for interest expenses, etc., are spread
                  over the period to which the interest expenses relate. This provision derogates from the
                  general rules in Article 5(1) and (2) of the Tax Assessment Act on the accrual of interest
                  deductions, but its wording cannot be taken to derogate from the provision in the
                  current Article 5(7) (now Article 5(8)) of the Tax Assessment Act, which limits the interest
                  deduction in certain cases to interest paid. This understanding is also supported by the
                  comments on Article 6(2) of the draft law on corporate tax (Folketingstidende 1985/86,
                  Supplement A, sp. 2629).
                  It is undisputed that the provision of the current
                  § Article 5(7)(1), taken in isolation, would lead in the present case to a limitation of the
                  interest deduction to the amounts claimed in the alternative by A. We consider that A is
                  not exempt from this limitation by virtue of the provision in sub§ (2) relating to payment
                  or security for debts due. Nor does Paragraph 3 apply, if only because S does not belong
                  to any of the categories of creditors to which that provision applies.

                  We then vote to uphold A's alternative claim."

        The reasoning of the minority of the Supreme Court thus reflects the fact that the tax law principle of reality
        cannot be used to override any inconsistency between form and substance, since the minority can be said
        to have upheld the formality of the case, see in particular the minority's observation that there was no basis
        for finding that the reality of the agreements concluded was merely that the limited partners bought into a
        temporary debt relationship in order to obtain, inter alia, the disputed interest deduction, so that there was
        no basis for finding that the promissory note did not represent a genuine debt for tax purposes.


Case No. XX-XXXXXXX                                    Page 156/239
  Case 1:18-md-02865-LAK                   Document 836-47               Filed 06/27/22            Page 214 of 462



        Similarly,- reference should be made to the minority's dissent in the Supreme Court's judgment of November
        25 1999, published in TfS 1999, 950 H.

        The case concerned the question whether a company (J.S. Ejendoms- og Investeringsselskab A/S (formerly
        Jysk Sengetøjslager A/S), which was part of the Jysk Sengetøjslager group, was entitled to deduct commission
        payments to the company Hobby Hall A/S, with which it was jointly taxed.

        By agreement dated August 25, 1989, Jysk Sengetøjslager A/S and Hobby Hall A/S agreed that Hobby Hall
        A/S would carry out all the purchasing for Jysk Sengetøjslager A/S and that a commission would be paid by
        Jysk Sengetøjslager A/S to Hobby Hall A/S as remuneration for the work carried out. The commission was
        agreed at 5 % of the purchase.

        The agreement was later supplemented by the auditor with the information that Hobby Hall A/S made all
        purchases for the group, including deliveries to foreign subsidiaries and business partners.




Case No. XX-XXXXXXX                                 Page 156/239
  Case 1:18-md-02865-LAK                    Document 836-47                Filed 06/27/22            Page 215 of 462




        The product range was determined in cooperation between the purchasers and the employees of the
        complainant company. The control of the goods was carried out by the purchasers and Hobby Hall A/S bore
        the related costs.

        This included salaries, allowances and travel, subsistence and administrative expenses. In addition to Jysk
        Sengetøjslager A/S's main stockholder, Hobby Hall A/S employed a director and four or five buyers.

        The purchasing business was carried out from rented premises in Silkeborg.

        The purchasing function was carried out in the name of Jysk Sengetøjslager A/S and for the account and risk
        of Jysk Sengetøjslager A/S.

        The purchased goods were delivered and invoiced directly to Jysk Sengetøjslager A/S, and Jysk
        Sengetøjslager A/S invoiced foreign subsidiaries for any deliveries.

        Hobby Hall A/S received a commission of 5% of Jysk Sengetøjslager A/S's total purchases.

        In the period from September 01, 1989 to August 31, 1990, Jysk Sengetøjslager A/S paid Hobby Hall A/S a
        commission of DKK 21 884 788.

        The local tax authorities, however, denied Jysk Sengetøjslager A/S a deduction for the majority of the
        commission paid and increased the assessment by DKK 18,468,059, since the expenses incurred for the
        purchasing function could, in the opinion of the tax authorities, be estimated at DKK 3 million, while the
        remainder of the commission was regarded as a non-deductible subsidy.

        The Danish National Tax Tribunal upheld the tax authorities' decision, taking the view that the transfer of the
        purchasing function could not be recognized for tax purposes

        In so doing, the Danish National Tax Tribunal held that Hobby Hall A/S was not exposed to any commercial
        risk, since it was acting in the name of Jysk Sengetøjslager A/S and at the latter's expense and risk.

        The arrangement was therefore not found to be commercially justified, and in this connection the Danish
        National Tax Tribunal’s decision referred to the company's auditor's letter of August 28, 1992, which stated
        that Hobby Hall A/S's function was solely to make purchases for Jysk Sengetøjslager A/S, the latter company
        invoicing subsidiaries etc. The scheme was then found to have been set up solely to transfer income to
        Hobby Hall A/S, and the National Tax Tribunal upheld the tax authorities' decision.

        By judgment of December 11, 1997, the Western High Court upheld the Danish National Tax Tribunal's
        decision in the case on the grounds that the terms agreed between Hobby Hall A/S and the parent company
        could not be regarded as usual commercial terms.

        Like the Western High Court, the majority of the Supreme Court also found that there was no basis for
        recognizing the separation of the purchasing function. Thus, the majority found that the agreement
        deviated from normal, commercially justified function splits, that the arrangement had to be disregarded
        for tax purposes.

        In the present case, however, it is the reasoning of the minority of the Supreme Court that is interesting.

        The minority acknowledged in principle the corporate construction, although the commission paid could not
        be acknowledged in terms of amount. The reasons given by the minority are as follows:

                  "Judges Walsøe and Jytte Scharling state:

                  The purchasing function performed by Hobby Hall cannot be regarded as a normal
                  agency activity, but is in the nature of the ongoing performance of purchasing tasks for
                  J.S. Ejendoms- og Investeringsselskab, a company with a vested interest.
                  On the basis of the information on the nature and size of the Jysk Sengetøjslager group

Case No. XX-XXXXXXX                                     Page 3/3
  Case 1:18-md-02865-LAK                    Document 836-47                 Filed 06/27/22            Page 216 of 462



                  and the explanations given, we consider that the transfer of the purchasing function to
                  an independent company within the group also served a regulatory purpose. We
                  therefore consider that there are no grounds for disregarding the agreement of August
                  25, 1989 altogether for tax purposes.

                  However, the agreement is between parties in the same interest and, for the reasons given
                  by the District Court, we consider that it is unlikely that the appellant would entrust
                  procurement tasks on similar terms to an outside undertaking.

                  Hobby Hall bore the costs of staff, premises, driving and administration, and Hobby
                  Hall's performance of the purchasing functions would be of some significance to the
                  appellant's profits in terms of quality, prices, etc. Against this background, it must be
                  assumed that it would also be normally commercially justifiable to charge a profit to an
                  affiliated undertaking for the performance of the purchasing functions for the appellant.

                  However, taking into account the costs of Hobby Hall's purchasing business and the
                  limited financial risk of the individual, the agreed commission of 5% of turnover
                  significantly exceeds what could be achieved between independent parties.

                  In the light of the foregoing, we vote in favor of the parties' alternative submissions that
                  the case be referred back to the tax authorities for reconsideration."

        As can be seen, the minority of the Supreme Court acknowledged in principle the split of the purchasing
        function - i.e. the corporate construction made.

        The Supreme Court's judgment also illustrates the fact that the principle of reality does not apply to just any
        inconsistency.

        Fifthly,
        - - - -reference can be made to the judgment of the Western High Court of June 27, 2002, published in TfS
        2002, 760 V.

        The case concerned whether a leasing business carried on by a leasing company ceased to exist before or,
        at the latest, at the same time as all the stocks in the leasing company ceased to exist on January 01, 2001.
        On September 01, 1992, the leasing company's stocks were transferred by Aktivbanken A/S to the applicant,
        Bilka Lavprisvarehus A/S, which was then jointly taxed with the leasing company, and whether the leasing
        company had at that time disposed of all its operating assets, with the consequence that the company's
        depreciation balance in respect of those assets had to be deducted for tax purposes in the 1992 financial
        year (the 1993/1994 tax year) in accordance with Paragraph 6 of the current Depreciation Law.

        Aktivbanken, the sole stockholder in a leasing company, had sold the stocks in the leasing company to Bilka.

        The leasing company had a large unused depreciation balance and the purchase price was set as the leasing
        company's equity plus a premium of DKK 49 million, calculated on the basis of an expected tax value of the
        leasing assets.

        At the time of the transfer, the leasing company had no staff and no further contracts were concluded. The

        Danish National Tax Tribunal upheld the decision of the tax authorities on the following grounds:

                  "The Danish National Tax Tribunal must pronounce

                  Based on an overall assessment of the contractual material and the arrangements made
                  in connection with Bilka's acquisition of the Leasing Company, the Danish National Tax




Case No. XX-XXXXXXX                                      Page 3/3
  Case 1:18-md-02865-LAK                   Document 836-47                 Filed 06/27/22           Page 217 of 462



                 Tribunal finds in accordance with the tax authorities' view, that it must be assumed that
                 all the assets of the leasing company - irrespective of the formal basis - must in fact be
                 regarded as having been transferred before Bilka took over the company, and that the
                 entire business activity to date had thus ceased at that time.

                 The Danish National Tax Tribunal’s decision has taken into account the arguments put
                 forward by the tax authorities in support of this view, emphasizing in particular that,
                 following Bilka's acquisition of the leasing company, there was no actual activity in the
                 company and that, by virtue of the agreements concluded, there was no economic risk or
                 any possibility of additional income being generated by the leasing activity.

                 Since the Court agrees with the Government Lawyer that there was no conflict of interest
                 between Bilka and Aktivbanken as regards the continued formal placement of a leasing
                 activity in the Leasing Company in order to be able to exploit the depreciation base of
                 the company for tax purposes, and since the Court also agrees with the Government
                 Lawyer's statement concerning the principle of reality, the Court considers that the
                 reclassification of the agreements concluded by the tax authorities was justified. Finally,
                 since the Court agrees with the proposed amendments to the tax assessments in the
                 circumstances set out, the assessments complained of are confirmed.

        The Treasury argued that the company's leasing activities were divested for tax purposes at the same time
        as the sale of the company, as the activities lacked reality after that date. Losses on the disposal of the
        assets should therefore be deducted in the same tax year. Since the joint taxation of the leasing company
        with the purchasing company was not established until the following tax year, the loss established could
        not, according to the Ministry of Taxation, be used for joint taxation with the purchasing company.

        In support of the plea of lack of reality, the Ministry of Taxation argued that there had been a community of
        interests between the selling and the buying company on the basis of coinciding tax interests and,
        furthermore, that agreements had been concluded which eliminated the risk of loss and the possibility of gain
        linked to the leasing assets.

        It was thereby argued that the selling company had in fact bought out the leasing assets, so that the leasing
        activities remained with the seller after the transfer of the stocks in the company.

        The District Court considered that the sale of the company was conditional for tax purposes and that after
        the sale there was no real activity in the leasing company.

        However, the District Court emphasized that leasing activities continued to be carried out on the basis of
        the leasing contracts, including with the assets which the leasing company continued to own, at least
        formally.

        A common tax interest, the fact that the operating risk remained with the vendor and the fact that, after
        the sale, the vendor continued to appear to the lessees as the owner of the leasing activities could not
        justify an intention to change the ownership of the leasing assets.

        By judgment of the District Court, the Ministry of Taxation was then ordered to recognize the reality of the
        arrangement.

        Sixthly,
        - - - -as regards case-law, reference is made to the judgment of the Supreme Court of June 10, 1997,
        published in TfS 1997, 506 H.

        The case concerned the taking out of loans by a major stockholder in a controlled tax company.

        The taxpayer in question, who was resident in Belgium in 1980-92, was liable to tax in Denmark only on
        business income and business assets.




Case No. XX-XXXXXXX                                     Page 3/3
  Case 1:18-md-02865-LAK                   Document 836-47                Filed 06/27/22           Page 218 of 462



        The taxpayer deducted interest on loans from his taxable income for 1985 and debts from his taxable assets
        for 1986 as a result of a loan of DKK 4 million granted by a Jersey company set up by him for his personally
        run business in Denmark.

        The loan of DKK 4 million was granted by a company established by the taxpayer in Jersey on September 13,
        1985 to the taxpayer-owned company in Denmark, Ejendomscenteret, which repaid this one-year loan on
        September 15, 1986. As lender, the taxpayer had signed on behalf of the Jersey company by power of
        attorney, and as borrower, Ejendomscentret/taxpayer had signed.

        The taxpayer had received from the company an irrevocable power of attorney to make all dispositions of
        the company's securities, and the loan document in question was signed by the taxpayer for the lender
        under the power of attorney and by the taxpayer as borrower for the company.

        The tax authorities did not allow these deductions, on the grounds that the taxpayer was in fact both the
        creditor and the debtor in the loan relationship. The formal existence of the loan was not contested.

        The taxpayer appealed the tax authorities' decision to the Danish National Tax Tribunal, which upheld the
        proposed assessments.

        The taxpayer then brought the case before the District Court, where the taxpayer requested that the
        Ministry of Taxation be ordered to recognize that the taxpayer's taxable assets in Denmark for the 1985
        income year were reduced by DKK 4 million, secondly, an order that the Ministry of Taxation recognize that
        the taxpayer was entitled to deduct interest of DKK 126,000 from his taxable income in Denmark for the
        1985 income year and was entitled to deduct interest of DKK 229,556 for the 1986 fiscal year.

        The taxpayer argued at trial that the Jersey company was a legally established and existing business under
        Jersey law. The company should therefore be recognized in Denmark as an independent taxable entity. The
        loan of DKK 4 million of September 10, 1985 had been concluded between two independent legal entities,
        with the Jersey company as creditor and the taxpayer as debtor, and the loan should therefore be
        recognized for tax purposes, since it had been concluded on normal commercial and undeniable terms. The
        taxpayer did not have a controlling influence in the Jersey company, which had an independent board of
        directors of which the taxpayer was not even a member.

        Finally, the taxpayer argued that the terms of the loan were usual and normal market terms. There was no
        confusion of interests between the parties in relation to the loan, which was also repaid on time.

        The District Court considered that the main purpose of the existence of the company and the transfer of the
        mortgages had been to obtain tax advantages.

        The Court further held that the taxpayer had been the sole stockholder of the Jersey company (Zartok Ltd.)
        during the relevant period, which had its origin in Denmark, from where the company was also operated.
        The taxpayer had not, in the view of the District Court, documented or otherwise demonstrated any
        business justification for the operation and existence of Zartok Ltd. or for the loan which that company
        granted to the claimant's company, Ejendomscentret Nordbo Huse, which was personally run in Denmark.

        Therefore, the District Court held that the taxpayer's borrowing of DKK 4 million from the Jersey company
        should be deprived of tax significance

        However, the Supreme Court found that loans taken out with the Jersey company had the requisite reality
        and should therefore be recognized, and the Supreme Court ruled that the agreed interest rate
        corresponded to arm's length terms.

        The Supreme Court's - brief - reasoning is as follows:
                 "The case concerns only the loan which Tage S. Nielsen's personal company,
                 Ejendomscentret Nordbo Huse, took out in September 1985 with the Zartok Ltd.




Case No. XX-XXXXXXX                                    Page 3/3
  Case 1:18-md-02865-LAK                     Document 836-47                 Filed 06/27/22            Page 219 of 462



                  company, and the loan, which replaced Danish bank loans, was granted on normal
                  market terms.

                  The Supreme Court considers that the loan was in the nature of a normal commercial
                  arrangement for financing the company's operations. There are therefore no grounds for
                  depriving the loan of any tax significance.

                  The Supreme Court therefore upholds the appellant's claim."

        Seventh, as regards case law, reference is made to the judgment of the Supreme Court of April 16, 1997,
        published in TfS 1997, 392 H.

        The case concerned a Danish company which had made part of its exports through a controlled
        establishment in Liechtenstein at a price equivalent to only 50 percent of the invoice price for sales directly
        from the parent company.

        The tax authorities took the view that there was an interim invoice without independent economic reality,
        and the institution's income was therefore transferred back to the Danish parent company.

        The Danish National Tax Tribunal upheld the tax authorities' decision. In this context, the Danish National
        Tax Tribunal considered that the sale of the goods in question through the company in Liechtenstein had
        been under-invoiced by approximately 50%, as demonstrated by the fact that the prices actually obtained
        on resale to the companies in the Netherlands and Germany were approximately double the prices invoiced
        to the company in Liechtenstein.

        The Danish National Tax Tribunal’s decision also emphasized that the company in Liechtenstein had no
        employees, premises or business activity, which meant that the company had to be regarded as a non-
        existent company for tax purposes.

        The majority of the Supreme Court agreed with the applicant, considering that the sales through the
        Liechtenstein company were made at prices not significantly different from those applied to sales to other
        foreign customers. Whether those prices were approximately 50 percent lower than the prices applied to
        sales to Danish customers, and regardless of whether the prices were those applied to sales to
        intermediaries, there was no basis for finding that there had been a transfer of income to the company in
        Liechtenstein which should not be respected by the tax authorities.

        The majority of the Supreme Court upheld the decision of the District Court, considering that the owner of
        the Danish company, through the company in Liechtenstein, was engaged in the business of reselling the
        traded products to Sweden and elsewhere to an extent not specified.

        The majority of the Supreme Court also considered that the sale to the Liechtenstein company as an
        intermediary was made at prices which did not differ significantly from the prices charged to other foreign
        customers. Therefore, the majority of the Supreme Court considered that it was questionable to consider
        that it had been established that the sale to the Liechtenstein company had taken place on such terms that
        there was a transfer of income which was rightfully due to the Danish parent company.

        The majority of the Supreme Court thus ruled that the intermediate sale had the necessary reality and also
        ruled that the intermediate invoice price fixed corresponded to the arm's length price, i.e. the value of the
        sale to a third party.

        12.3.4 The Principle of Reality in the Legal Literature

        As indicated above, the principle of reality has also been extensively discussed in the legal literature.

        In its time, the reality principle was formulated by Professor Jan Pedersen in his doctoral thesis
        "Skatteudnyttelse" from 1989.




Case No. XX-XXXXXXX                                      Page 3/3
  Case 1:18-md-02865-LAK                     Document 836-47                   Filed 06/27/22               Page 220 of 462



        In his doctoral thesis, Jan Pedersen argued that civil law is in principle the guiding principle for tax law.

        In principle, tax law is not directed against the economic content of the taxpayer's transactions, but against
        the civil law qualification of these transactions.

        In other words, the fact that a taxpayer has, for example, received an amount in more precisely specified
        circumstances is not of independent interest for the purposes of tax law. Only when the disposition is
        qualified in civil law terms as a wage, sale, gift, loan, purchase, business activity, etc., can tax law be applied
        to the civil events thus classified.

        The tax qualification thus presupposes a prior civil law qualification. There is therefore no need for a
        distinction in tax law between formality and reality in the taxpayer's dispositions.

        However, there is a risk of abuse of the above civil law governance.

        By circumvention or even pro forma, the dispositions can be organized in such a way that they appear in
        form in a way that is advantageous from a tax point of view, but in such a way that the actual and real
        content of the dispositions differs from this.

        Thus, some of the tax exploits are characterized by the use of the civil law form as a backdrop in order to
        steer taxation in a favorable direction.

        The arrangements are characterized by an artificial and unusual form, in that the taxpayer seeks only to
        obtain the resulting tax advantages, but not the corresponding civil law consequences. Disposals are
        disguised as long-term loans or contracts of use, in such a way that the "transferor" effectively gives up his
        property rights, loan agreements with corresponding interest deductions are set up without the borrower
        being subjected to any real financial burden, etc.

        The essence of the principle of reality is therefore that, under certain conditions, taxation may be directed
        towards the actual economic reality at the expense of the opposing civil formality.

        It is very important to bear in mind that the principle of reality is not an arbitrary norm allowing tax
        authorities to apply taxation at will.

        It is therefore assumed that the above-mentioned civil law rule can be set aside only if the form claimed
        does not correspond at all to the real economic realities, it not being possible, however, to specify more
        specifically and clearly the scope of the principle. See Jan Pedersen in TfS 2000, 142, where the following is
        also stated:

                  "In its time, the principle of reality was formulated as a result of the judicial activity of
                  the courts.

                  It was stressed that the establishment of the practice fulfilled essential tax policy needs
                  and that inaction against tax abuse posed a threat to income taxation itself and thus to
                  society as a whole.

                  In doing so, the courts assumed a significant legal policy responsibility, which gained
                  broad support - also among taxpayers.

                  Past legal developments have increased and reinforced the evidence for the very
                  existence and specificity of the legal principle expressed by the principle of reality.




Case No. XX-XXXXXXX                                       Page 3/3
  Case 1:18-md-02865-LAK                     Document 836-47                 Filed 06/27/22             Page 221 of 462



                  The concrete application of the law will always be difficult, as it involves a balancing of
                  purely normative concepts.

                  The individual decisions and judgments can therefore give rise to discussion pro and
                  contra. The decisive point, however, is that

                  The Supreme Court is diligently monitoring to ensure that the principle of reality is not
                  abused to implement unfair taxation. This not only ensures that taxation is carried out
                  on a lawful basis, but also safeguards the fundamental freedom of contract.

                  The Supreme Court has thus continued to exercise its responsibility in terms of legal
                  policy and has contributed to ensuring that the legal position, from an overall point of
                  view, continues to be considered fair and reasonable."

        12.3.5 Reality principle applied to pension plans cases

        As stated, the principle of reality does not have the character of a free access for the tax authorities to a
        fiscal reclassification of a given fact.

        It thus follows from the Supreme Court case law cited above that the principle of reality cannot simply be
        abused to implement unfair taxation, since according to the principle of reality - as stated by Jan Pedersen -
        taxation must continue to produce reasonable results.

        In the present case, it is submitted that the principle of effectiveness cannot be relied upon to disregard the
        ownership of the stocks in question by the pension plans.

        There is therefore no mismatch between the civil legal ownership of the pension plans and their tax
        ownership of the stocks in question, as required by the principle of sound administration.

        There is therefore no basis for a different assessment for tax purposes - in other words, the pension plans
        must also be regarded for tax purposes as the owners of the stocks in question, which have been
        transferred to them under civil law.

        Therefore, the pension plans were also the tax owners of the dividends paid to the pension plans, on which
        the underlying companies withheld dividend taxes. As a result, the pension plans are also entitled to the
        dividend tax reimbursements in question.

        12.3.5.1 Documentation of the link to the pension plan economy

        The necessary link with the pension plans, which proves that the stock transactions etc. have passed
        through the pension plans' finances, has been proven in the lead cases, as in the present case, by the
        presentation of custody statements and the accounting records prepared by Schaffelhuber Müller &
        Kollegen S.à r.l.

        The stock transactions, the receipt of dividends and the dividend distribution are all recorded directly in the
        pension plans' accounts (cash and securities accounts) with their respective custodians.

        The tax authorities themselves confirm in the civil proceedings before the High Court in London that they
        have paid reimbursements to three tax agents who have transferred the following amounts to Solo Capital's
        contact account in Barclays Bank (converted into Danish kroner):

        x From Syntax to Solo Capital: DKK 2.746 billion.
        x From Goal to Solo Capital: DKK 2.79 billion.
        x From Acupay to Solo Capital DKK 2.961 billion

        These amounts are all the pension plans' money according to the reimbursement requests.



Case No. XX-XXXXXXX                                      Page 3/3
  Case 1:18-md-02865-LAK                    Document 836-47                 Filed 06/27/22             Page 222 of 462



        As the pension plans had not been in existence for very long when SØIK initiated the seizure of all accounts
        belonging to the four custodians and Solo was transferred to PWC's administration, none of the pension plans
        that carried out stock transactions in 2014 and 2015 had yet had the opportunity to withdraw money from
        the Solo group.

        The beneficiaries were/are also all still too young to have received pension payments from the pension
        plans.

        Had the Danish Tax Appeals Agency and the Danish Tax Appeals Agency accepted a pension plan that had
        traded stocks in 2012 - such as The Sander Gerber Pension Plan - as the lead case, we could have
        documented payments from the Solo group to U.S. banks. This pension plan's transactions were far enough
        back in time to have had time to transfer money out of what the tax authorities like to describe as a "closed
        system."

        However, the fact that all realized gains were still in the account of the Solo group does not mean that the
        transactions were unrelated to the finances of the pension plans.

        12.3.5.2 The reality principle - agreements with independent parties on market terms

        While the Danish Tax Appeals Agency has no doubt that the purchase and sale of stocks, the forward
        contracts and the stock loans were concluded between independent parties, the non-payment of the
        deposit to the custodian mentioned in the custody agreement, point 5.1, is for the Danish Tax Appeals
        Agency an indication of the lack of independence of the pension plans from the custodian.

        The custody agreement that the pension plans signed with the Solo Group custodians included a standard
        requirement to deposit a margin of USD 500,000 before stock trading could start. However, the pension
        plans were informed that this condition was included for future transactions to take place under the MIFID
        II rules. However, MIFID II had not yet entered into force in 2014. The custodians in question allowed
        pension plans to wait until after the first trade(s) had taken place before paying the required margin if the
        pension plan wanted to buy the stocks on the last day before the ex-date of the dividend. This risk could be
        taken by the respective custodians, as the custodian could already take the initially required "initial margin"
        upon receipt of the net dividend.

        However, the fact that the custodian did not immediately demand the predicted margin does not mean that
        the pension plans were not independent of their custodian. The profit made by the custodian on the
        transactions was large enough for it, as an independent service provider, to be willing to take the financial
        risk for a few days.




        12.3.5.3 Reality principle - acts effectively carried out on behalf of pension plans, including the right of
        disposal

        In its recommendation in the lead cases, the Danish Tax Appeals Agency puts forward no less than two
        arguments for its position that the transactions were not carried out by or on behalf of the pension plans:

        1 No evidence of transfer of funds to the pension plan from the custodian or other actors involved in the
        stock transactions, etc. has been provided
        2 The long series of agreements, account statements, trade notes, etc., produced with the custodian as the
        agent in the transactions should not - given the circumstances of the case - be sufficient to document that
        the custodian acted on behalf of the pension plans.

        12.3.5.3.1 Transfers from custodian




Case No. XX-XXXXXXX                                      Page 3/3
  Case 1:18-md-02865-LAK                    Document 836-47                 Filed 06/27/22            Page 223 of 462



        Who the pension plans paid and how much to enable the transactions is irrelevant to the question of
        whether the pension plans acquired ownership of the stocks.

        Since the pension plans themselves did not have the capital to fund the transactions, the clearing agent and
        custodian naturally ran a relatively high risk of having to step in and pay for the stocks if the pension plan
        could not find a stock borrower in time. The clearing agent and custodian were, of course, well
        compensated for this risk.

        The persons who arranged the pension plans as clients of the Solo group also charged an "Introduction" or
        "Arrangement fee."

        The pension plans were aware from the outset that these were necessary business transaction costs that they
        would have to pay after they had realized the gains from the transactions themselves as presented in
        Appendix 1.

        The transfers were carried out electronically and therefore the pension plans cannot provide evidence of this.
        However, they are also not required to acquire ownership.

        According to the Inland Revenue's own summons filed with the High Court in London, the Inland Revenue
        agrees that payments have been made from Solo Capital's account in Barclays Bank to various beneficiaries
        in quite significant amounts. The Inland Revenue is thereby aware that payments have been made from the
        Solo Capital account to service providers on behalf of the pension schemes who were the owners of the
        funds in the Solo Capital account.

        The amount first invoiced by Solo Capital to the pension plans for services and then paid by Solo Capital itself
        to other service providers, and the amount paid by the pension plans themselves to other service providers,
        cannot be proven at this stage from the London subpoenas.

        However, it appears that the following persons and companies have received the following amounts from
        Solo Capital's account in Barclays Bank to their respective accounts in Varengold Bank:

               Recipient                     Amounts                       Conversion to DKK                 Total
                                             received from
                                             Solo Capital
                                             pursuant to
                                             the
                                             summonses
                                             in London
               Ganymede                      200,624,137                   1,496,644,478 DKK                 2.2
               Cayman                        EUR                           459,131,688 DKK                   billion
                                             57,319,077                    35,356,626 DKK                    DKK
                                             GBP
                                             5,308,011
                                             USD




Case No. XX-XXXXXXX                                      Page 3/3
  Case 1:18-md-02865-LAK      Document 836-47       Filed 06/27/22      Page 224 of 462



               Colbrook       8,666,663.93         64.6 million DKK        64.6
               Limited (Not   EUR                                          million
               “Coolbrook”)                                                DKK
               T&S Capital     2,000,000 EUR       14.9 million DKK        14.9
                                                                           million
                                                                           DKK
               Elysium         222,100,000 EUR     Circa 1.80 billion      1.8
               Global Ltd      14,999,983 GBP      DKK                     billion
               (Virgin                                                     DKK
               Islands)
               Ampersand       13,763,641.37 EUR   102,675,967             102.7 million
               Capital                             DKK                     DKK
               Limited
               Elysium         2,211,193 EUR       16,493,976 DKK          33.5 million
               Global Dubai    1,574,970 USD       10,539,397.29           DKK
               Ltd             800,000 GBP         DKK
                                                   6,463,998.36
                                                   DKK
               Sanjay Shah     11,100,000 USD      74,294,828.64           108 million
                               4,500.00 EUR        DKK                     DKK
                                                   33,566,549.87
                                                   DKK
               Trillium        60,500,000 EUR      Circa 451.3             451.3 million
               Capital                             million DKK             DKK
               (illegible)




Case No. XX-XXXXXXX                     Page 3/3
  Case 1:18-md-02865-LAK                 Document 836-47               Filed 06/27/22          Page 225 of 462



        From Barclays Bank, according to the subpoenas, the following payments were also made to other
        accounts:
              Recipient                         Amounts                      Conversion to             Total
                                                received from                DKK
                                                Solo Capital
                                                pursuant to
                                                the
                                                summonses in
                                                London
               Elysium Global Ltd              111,000,000                  820,495,951.55             1.7
               (Virgin Islands)                EUR                          DKK                        billion
               (or) Elysium Global                                                                     DKK
                                               22,000,000                   177,836,721 DKK
               Dubai Ltd
                                               GBP
                                                                            642,623,757 DKK
                                               96,000,000
                                               USD
               Ganymede                        9,000,000 EUR                67,139,806.23              212.6
               Cayman                                                       DKK                        million
                                                                                                       DKK




Case No. XX-XXXXXXX                                  Page 3/3
  Case 1:18-md-02865-LAK            Document 836-47     Filed 06/27/22         Page 226 of 462




                                       18,000,000         145,482,618.47 DKK
                                       GBP
               Sanjay Shah             9,818,000 EUR        73,242,085.70           94.4
                                                            DKK                     million
                                       2,493,000 GBP
                                                                                    DKK
                                                            20,148,270 DKK
                                       151,000 USD
                                                            1,010,489.16 DKK
               Edo Barac               60,000 GBP           480,606 DKK             12
                                                                                    million
                                       1,554,375 EUR        11,595,548 DKK
                                                                                    DKK
               Jaswinder Bains         3.245 million        26 million DKK          26
                                       GBP                                          million
                                                                                    DKK
               Treefrog Capital        13,545,774 EUR       101,050,692 DKK         114
               Limited                                                              million
                                       2,000,500 USD        13,325,317 DKK
                                                                                    DKK
               Darren Lui              274,191 GBP          [illegible]             2.2
                                                                                    million
                                                                                    DKK
               Rajan Shah               6,596,000           53.3 million            53.3
                                        GBP                 DKK                     million
                                                                                    DKK
               Hooloomooloo             24,180,000          1,524,657               9.1
                                        JPY                 DKK                     million
                                                                                    DKK
                                        950,000 GBP         7,609,595
                                                            DKK
               Solo Capital             1,152,700                                   9.3
               Limited                  GBP                                         million
                                                                                    DKK
               Agrius Capital Ltd       531,000 GBP        4,253,364.49             4.4
                                                           DKK                      million
                                        17,000 GBP
                                                                                    DKK
                                                           126,819.02
                                                           DKK
               Aesa Sarl                2,150,333          16 million               16
                                        EUR                DKK                      million
                                                                                    DKK
               Anupe                    1,500,000          11,190,027.63            12
               Dhorajiwala              EUR                DKK                      million
                                                                                    DKK
               Old Park Lane            206,099 GBP        1,650,874.14             1.7
               Capital Ltd                                 DKK                      million
                                                                                    DKK
               Telesto Markets          320,000 EUR        2,387,181.52             7
               LLP                                         DKK                      million
                                        672.522 USD
                                                                                    DKK
                                                           4,479,664.58
                                                           DKK




Case No. XX-XXXXXXX                          Page 3/3
  Case 1:18-md-02865-LAK                    Document 836-47                 Filed 06/27/22            Page 227 of 462



        12.3.5.3.2 Custodians' actions on behalf of pension plans

        In fact, the evidence provided shows that the custodian did not act on behalf of the pension plans before
        the stock transactions entered into by the pension plans themselves were to be settled. Nor is this the role
        of a custodian. A custodian only becomes really active when the pension plans have already become owners
        of the Danish stocks, by their orders to buy Danish stocks being matched by the broker with sell orders.

        Nor do custodians "act on behalf" of pension plans. They execute orders received from the pension plans:
        orders to settle the stock purchases made by the pension plans themselves.

        The way stock trade settlement systems work, the settlement of a stock trade can no longer be stopped
        once a buy order has been matched with a sell order. Any clearing house/custodian authorized by an EU
        supervisory authority must have its computerized system for settling stock trades approved by supervisory
        authorities. This ensures that trades are settled correctly and that the settlement process cannot be
        interfered with manually.

        The settlement is not triggered by the commercial invoice, as claimed by the Danish Tax Appeals Agency in
        its summary submission. Settlement is initiated by an electronic signal (the settlement instruction)
        automatically triggered by the trading system when the buy and sell orders have been matched.

        12.4 Otherwise, no basis for disregarding the tax ownership of the pension plan

        Moreover, the tax ownership of the pension plan cannot be disregarded on the grounds that the pension
        plan should have owned more stocks than were available on the market or that more has been paid out in
        reimbursement than received from the Danish companies.

        The fact that the pension plan could own the large stockholdings is a natural consequence of the fact that
        ownership is acquired exclusively with the stock purchase agreement. Short selling will have this invisible
        consequence for any buyer of Danish stocks, that nobody knows whether they are buying a stock from a
        long owner or a short seller. Not even if you buy three stocks in Tryg A/S from your own bank. Especially
        when buying stocks through a bank that is authorized to act as a market maker, there is a high risk of buying
        a stock that the bank does not own - of the bank acting as an uncovered short seller, as the EU and the FSA
        want in order to increase liquidity in Danish stocks.

        That the reimbursement payment MAY exceed the deposit may be a consequence either of short selling or
        simply of stockholders with one tax status selling to stockholders with another tax status on the exchange
        date with a settlement date after the record day.

        However, it is disputed that Denmark should have paid out more in reimbursements than it received from
        the Danish companies.

        The Danish Tax Appeals Agency acknowledges in the Leading Cases the consequences of short selling as
        presented by the representatives of the pension plans, and that this may lead in certain situations to the
        creation of more owners of Danish stocks than the number of stocks issued by the companies, but that this
        does not lead to a different result either

        (...)

        FINAL CONCLUSION

        In the light of the above, it is concluded that there are no grounds for revoking the original decisions on the
        reimbursement of dividend tax.

        The Danish Tax Agency's arguments in the present case are based on assumptions made several years after
        the dividend tax reimbursement decisions.




Case No. XX-XXXXXXX                                      Page 3/3
  Case 1:18-md-02865-LAK                      Document 836-47                  Filed 06/27/22              Page 228 of 462



        The doubts which the Danish Tax Agency has sought to raise are largely attributable to the Danish Tax
        Agency’s own inadequate information. As stated above, these are undocumented assertions about the lack
        of ownership of the pension plans, for which the Danish Tax Agency has provided no real evidence. In
        addition, the Danish Tax Agency has not really wanted to contribute to the clarification of the cases, but has
        neglected to obtain a large amount of relevant information.

        In the present case, it must be considered that the pension plan was the legal owner for tax purposes of the
        stockholdings and dividend payments at issue in the case and that, therefore, the pension plan was also
        entitled to the dividend payments in question, which it also received.

        The pension plan has provided a very extensive body of evidence to support the reality of the traded
        transactions - both in relation to the stock trades, the stock loans and the forwards in question.

        The evidence provided must of course be seen in the light of the fact that, as stated, the obtaining of the
        information is hampered by the fact that the information was sought several years after the original
        reimbursement applications, that a number of items of information are on the hard disks seized from the
        custodians, etc.

        Nevertheless, the pension plan has provided adequate documentation of the traded stock transactions,
        including trade notes, custody statements and DCAs.

        In the circumstances, it is not only unrealistic to require additional documentation
        - it is also unfair. Particularly in view of the fact that the Danish Tax Agency itself has failed to obtain a
        number of the items of information.

        Similarly, the pension plan has also provided DCAs from custodians that adequately document the receipt of
        net dividends.

        DCAs, as indicated, are the only possible evidence of the receipt of net dividends.

        As stated, it is both unrealistic and unreasonable to require documentation of the cash flow of dividends
        from the issuing company to the stockholder. Indeed, it is impossible to identify what part of the net
        dividends received during the market claim process resulted from ordinary dividends distributed by the
        issuing company and what part of the net dividends resulted from compensation payments by a short seller.

        Nor, as stated, can the pension scheme be harmed by the fact that the Danish legislature has failed to take
        account of the special nature of short selling, which entails, inter alia, the intended phenomenon that a
        greater number of stocks may be offered than issued, and the resulting double ownership

        The Danish National Tax Tribunal must therefore consider that the pension plan was the legal owner for tax
        purposes of the stockholdings and dividend payments at issue in the case and that the pension plan was
        therefore also entitled to the dividend payments in question, which it also received."

    The Danish National Tax Tribunal's decision
    § 69b(1) of the Withholding Tax Act provides that if a person liable to tax under § 2 or § 2 of the Income Tax Act
    has received dividends, royalties or interest which, under §§ 65 to 65d, have deducted at source withholding
    tax in excess of the final tax under a double taxation agreement, the amount shall be repaid within six months
    of receipt of the request for repayment by the Customs and the Danish Tax Agency.

    The Double Taxation Convention between the United States and Denmark provides in Article 10(3)(c) that
    dividends from a company resident in Denmark shall not be taxed in Denmark if the




Case No. XX-XXXXXXX                                        Page 3/3
  Case 1:18-md-02865-LAK                  Document 836-47              Filed 06/27/22          Page 229 of 462



    beneficial owner is a pension fund as referred to in Article 22(2)(e) which is domiciled in the United States. It is
    a condition that such profits are not derived from the carrying on of business by the pension fund or by any
    related undertaking.

    Article 22(2)(e) of the DTC provides that a person resident in a Contracting State shall be entitled to all the
    benefits of this Convention only if that person is a legal person, whether exempt from taxation or not,
    organized under the laws of a Contracting State for the purpose of providing retirement or similar benefits
    under a defined benefit scheme to employed persons, including self-employed persons. It shall be a condition
    that more than 50 percent of the beneficiaries, members or participants of such person are natural persons
    resident in one of the Contracting States.

    The reimbursement of dividend tax is therefore conditional on the Pension Plan having owned stocks and on
    the Pension Plan having received dividends on those stocks, where dividend tax has been withheld in the
    payment of the dividends.

    The Danish National Tax Tribunal’s decision considers that it is for the Pension Plan to prove that these
    conditions are met and that, on this basis, the Pension Plan was entitled to a reimbursement of dividend tax.

    The Danish National Tax Tribunal does not consider that this burden of proof has been met.

    In this respect, the Danish National Tax Tribunal has emphasized that the Pension Plan is a newly established
    pension fund which does not have the financial means to make the alleged stock purchases in question and
    that it is not documented that the Pension Plan has purchased and been the owner of the alleged stocks in
    question or has received dividends from the stocks. The documentation provided in respect of transactions
    involving the purchase and sale of stocks, stock lending and the conclusion of forwards is merely the
    presentation of a series of agreements, etc., which do not demonstrate the Pension Plan's ownership of the
    alleged stocks in question. Thus, there does not appear to be the requisite link to the Pension Plan to prove
    that there have been stock transactions etc. which have passed through the Pension Plan's finances. No
    evidence has been provided that the Pension Plan paid initial capital to the Custodian, and no evidence has
    been provided of other transfers of funds to the Pension Plan from the Custodian or other actors involved in
    the alleged stock transactions, etc. Only a large number of constructed agreements, account statements, trade
    notes, etc. with the Custodian as the agent in the alleged transactions have been provided, which,
    notwithstanding what has been provided, does not demonstrate that the Custodian traded stocks on behalf of
    the Pension Plan. Particular attention has been paid to the consecutive numbering of Credit Advices in the
    case, which indicates a systematic organization of the alleged transactions with a view to obtaining an
    unjustified reimbursement of dividend tax. Reference is also made to the Danish National Tax Tribunal's
    decision of December 19, 2019, SKM 2019.650 LSR.

    The fact that a Tax Opinion of June 27, 2012 has been submitted cannot lead to a different result, as the
    conditions for dividend merger are not met in the specific case.

    Since the Pension Plan is not considered to have owned stocks or received dividends as declared in the
    application for dividend reimbursement, the Danish National Tax Tribunal considers that Danish Tax Agency
    has paid the reimbursement on an incorrect basis on the basis of the Pension Plan's application. Danish Tax
    Agency was therefore entitled to annul the original decisions to pay the dividend reimbursement. The
    representative's comments on the burden of proof and the fact that Danish Tax Agency used the word
    "revocation" cannot lead to a different result.




Case No. XX-XXXXXXX                                  Page 3/3
  Case 1:18-md-02865-LAK        Document 836-47      Filed 06/27/22   Page 230 of 462




The National Tax Tribunal hereby upholds the appealed decision.




[signature]
Eline Ringgard Kjeldsen, Office Manager               Oliver Asbjorn Evers, Case Worker




Case No. XX-XXXXXXX                   Page 227/228
  Case 1:18-md-02865-LAK            Document 836-47         Filed 06/27/22       Page 231 of 462




Indicative assessment
The Danish Tax Appeals Agency must give an opinion on the extent to which the complaint has been
upheld.

The extent to which the appellant can obtain reimbursement of the costs of advice during the complaint
procedure is determined by the assessment of whether the complaint has been upheld. The finding is
indicative only. The application for reimbursement of costs must be sent to the Danish Tax Agency,
which will take the decision.


The Danish Tax Appeals Agency states the following:


The facts complained of were not upheld.




The decision is sent to

The Proper Pacific LLC 401k Plan, 31W 21 ST Street Apt 2N, NY 10010 New York, USA

The TVC Law Firm P/S, Søren Frichs Vej 42A, 8230 Åbyhøj

The Poul Schmith Law Firm, Kammeradvokaten I/S, Vester Farimagsgade 23, 1606 København V




Case No. XX-XXXXXXX                          Page 3/3
Case 1:18-md-02865-LAK   Document 836-47   Filed 06/27/22   Page 232 of 462
Case 1:18-md-02865-LAK             Document 836-47           Filed 06/27/22         Page 233 of 462




                                                                                        Kontakt
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                                                                                        Sagsbehandler
Att: Steffen Sværke                                                                     Oliver Asbjørn Evers
                                                                                        Direkte telefon 33762411


                                                                                        Vores sagsnr.   XX-XXXXXXX


                                                                                        Dit sagsnr.     4000809
                                                                                        SS/ISA/CBRO




                                                                                        26. juni 2020




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Case 1:18-md-02865-LAK              Document 836-47            Filed 06/27/22         Page 234 of 462




                                                                                          Kontakt
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Amerikas Forenede Stater (USA)
                                                                                          Sagsbehandler
                                                                                          Oliver Asbjørn Evers
                                                                                          Direkte telefon 33762411


                                                                                          Vores sagsnr.    XX-XXXXXXX




                                                                                          26. juni 2020




Afgørelse

Der er klaget over SKATs afgørelse af 06-04-2018 for The Proper Pacific LLC 401k
Plan, ID-nr. 20630. Landsskatteretten har nu truffet afgørelse i sagen. Afgørelsen
vedlægges.

Vejledning om sagsanlæg
Afgørelsen kan indbringes for domstolene senest 3 måneder efter afgørelsens dato.
Reglerne om domstolsprøvelse fremgår af skatteforvaltningslovens §§ 48-49.

Sagen skal indbringes for den byret, hvor den skattepligtige har hjemting. Stævnin-
gen skal udtages mod Skatteministeriet, Nicolai Eigtveds Gade 28, 1402 København
K. Den nærmere vejledning om sagsanlæg fremgår af www.domstol.dk.




Med venlig hilsen

Malene Bregnhøj




                                                                                          Cvr-nr. 10 24 28 94
                                                                                          www.skatteankestyrelsen.dk



                                                                                                           1/1
Case 1:18-md-02865-LAK                Document 836-47          Filed 06/27/22        Page 235 of 462




                                         Afgørelse
                                                 fra

                                   Landsskatteretten
                                             Ϯϲ͘ũƵŶŝϮϬϮϬ

                                         Sagsnr. XX-XXXXXXX


 I afgørelsen har deltaget:   Eline Ringgaard Kjeldsen, Bodil Toftemann og Poul Erik Nielsen

 Klager:                      The Proper Pacific LLC 401k Plan

 Klage over:                  SKATs afgørelse af 06-04-2018

 Cpr-nr./cvr-nr.:             20630


 SKAT har tilbagekaldt tidligere afgørelse om refusion af udbytteskat.

 Landsskatteretten stadfæster SKATs afgørelse.

 Møde mv.
 Der har været afholdt møde med repræsentanten for The Proper Pacific LLC 401k Plan (herefter
 Pensionsplanen).

 Faktiske oplysninger
 Pensionsplanen, der er stiftet i september 2014, er registreret som en pensionskasse i USA.

 Pensionsplanen er stiftet af et amerikansk limited liability company (LLC) til fordel for selskabets
 medarbejder. En amerikansk pensionsplan stiftet af en arbejdsgiver til fordel for én eller flere
 medarbejdere kan ikke forvalte sig selv. Arbejdsgiveren må heller ikke forvalte pensionsplanen.
 Som forvalter virker en trust gennem en tegningsberettiget person, en såkaldt trustee.

 Ved anmodninger af 20. april, 21. april, 27. april og 15. maj 2015 anmodede en agent på vegne af
 Pensionsplanen om refusion af udbytteskatter på 29.035.888 kr.
 SKAT har indhentet oplysninger om Pensionsplanen fra de amerikanske skattemyndigheder, De-
 partment of The Treasury, Internal Revenue Service (herefter IRS). Af oplysningerne fremgår:



 Sagsnr. XX-XXXXXXX                             Side 156/239
Case 1:18-md-02865-LAK                  Document 836-47                Filed 06/27/22         Page 236 of 462




     -    At Pensionsplanen er en nystiftet pensionskasse.
     -    At det årlige indskud til pensionskassen er begrænset til mellem 12.500 USD og 53.000
          USD pr. deltager alt efter indskyders alder.
     -    At Pensionsplanen ikke har indsendt FORM 5500, hvorved Pensionsplanen overfor IRS
          har tilkendegivet, at dens aktiver ultimo 2014 og 2015 var under 250.000 USD.

 Med udgangspunkt i at Pensionsplanen skal eje aktierne på tidspunktet for generalforsamlingen
 (dagen før ex-datoen), er anskaffelsessummen for Pensionsplanens køb af de aktier, der fremgår
 af anmodningen, beregnet på baggrund af lukkekursen på sidste børsdag før ex-datoen:

   SKATs                 Aktie                  Kursdato       Antal       Kurs       Beregnet anskaffelsessum DKK
  bundt nr.

     35015    CHR. Hansen Holding A/S           27-11-2014     839.500      258,90                      217.346.550
     35015    Coloplast A/S - B                 04-12-2014     930.208      527,00                      490.219.616
     39015    Novozymes A/S B                   25-02-2015     683.931      322,50                      220.567.748
     39015    TDC A/S                           05-03-2015   3.293.727       54,00                      177.861.258
     39015    DSV A/S                           12-03-2015     692.422      219,20                      151.778.875
     39015    Pandora A/S                       18-03-2015     400.364      614,50                      246.023.678
     39015    Danske Bank A/S                   18-03-2015   2.906.712      175,30                      509.546.614
     35215    Novo Nordisk A/S B                19-03-2015   6.634.763      341,90                    2.268.425.470
     39015    Gn Store Nord A/S                 19-03-2015     622.804      154,20                       96.036.377
     39015    Tryg A/S                          25-03-2015      34.813      868,50                       30.235.091
     39015    FL Smidth & CO A/S                26-03-2015      81.037      314,00                       25.445.618
     39015    Carlsberg A/S - B                 26-03-2015     180.313      571,50                      103.048.880
     35215    A.P. Møller Mærsk A/S A           30-03-2015       7.879   15.810,00                      124.566.990
     35215    A.P. Møller Mærsk A/S B           30-03-2015       8.083   16.410,00                      132.642.030
     39015    Vestas Wind Systems A/S           30-03-2015     377.809      290,20                      109.640.164
     40115    Coloplast A/S - B                 06-05-2015     294.370      510,00                      150.128.700


 SKAT har i 2015 udbetalt refusion af udbytteskat til Pensionsplanen i henhold til anmodning fra
 Pensionsplanens agent, Goal Taxback Limited:

   SKATs      Dato for an-              Aktie                 Antal      Ex-dato *)   Udbytte i alt   Refunderet ud-
  bundt nr.   modningen                                                                  DKK          bytteskat DKK
    35015       20-04-2015   CHR. Hansen Holding A/S           839.500   28-11-2014     3.164.915            854.527
    35015       20-04-2015   Coloplast A/S - B                 930.208   05-12-2014     6.976.560          1.883.671
    35215       21-04-2015   A.P. Møller Mærsk A/S A             7.879   31-03-2015    15.529.509          4.192.967
    35215       21-04-2015   A.P. Møller Mærsk A/S B             8.083   31-03-2015    15.931.593          4.301.530
    35215       21-04-2015   Novo Nordisk A/S B              6.634.763   20-03-2015    33.173.815          8.956.930
    39015       27-04-2015   Novozymes A/S B                   683.931   26-02-2015     2.051.793            553.984
    39015       27-04-2015   Vestas Wind Systems A/S           377.809   31-03-2015     1.473.455            397.832
    39015       27-04-2015   TDC A/S                         3.293.727   06-03-2015     3.293.727            889.306
    39015       27-04-2015   Gn Store Nord A/S                 622.804   20-03-2015       560.523           151.341
    39015       27-04-2015   Tryg A/S                           34.813   26-03-2015     1.009.577            272.585
    39015       27-04-2015   Pandora A/S                       400.364   19-03-2015     3.603.276            972.884
    39015       27-04-2015   FL Smidth & CO A/S                 81.037   27-03-2015       729.333            196.919



 Sagsnr. XX-XXXXXXX                                    Side 156/239
Case 1:18-md-02865-LAK                        Document 836-47                  Filed 06/27/22                 Page 237 of 462




     39015        27-04-2015     DSV A/S                                 692.422       13-03-2015         1.107.875          299.126
     39015        27-04-2015     Carlsberg A/S - B                       180.313       27-03-2015         1.622.817          438.160
     39015        27-04-2015     Danske Bank A/S                       2.906.712       19-03-2015        15.986.916        4.316.467

 I                                                                                                  I                 I
     40115        15-05-2015     Coloplast A/S - B                       294.370       07-05-2015         1.324.665          357.659
        I alt I                                                    I               I                    107.540.349       29.035.888
 *) Den dato, hvor en aktie ikke længere bliver handlet med ret til udbytte

 Anmodningen var vedlagt følgende bilag:

      1.    Blanket 06.003 ENG – Claim to Relief from Danish Dividend Tax.
      2.    Credit Advices.
      3.    FORM 6166 from IRS – Certificate of resident in USA (udstedt af IRS).
      4.    Power of Attorney to Goal Taxback Limited.

 Ad 1. I blanket 06.003 erklæres, at Pensionsplanen er den retmæssige ejer af aktierne og er om-
 fattet af dobbeltbeskatningsoverenskomsten mellem Danmark og USA.

 Ad 2. Credit advices udarbejdet af custodian Old Park Lane Capital PLC eller Telesto Markets LLP
 som dokumentation for Pensionsplanens ejerskab til aktierne og modtagelse af udbytte af ak-
 tierne.

 Ad 3. Certifikat, der dokumenterer, at et individ eller en virksomhed i amerikansk skattemæssig
 henseende har hjemsted i USA.

 Ad 4. Fuldmagt til agenten fra Pensionsplanen om at fremsende anmodning om refusion af ud-
 bytteskat.

 Alle aktier i danske børsnoterede selskaber er registreret hos VP Securities, som er den danske
 værdipapircentral.

 Til denne registrering hører et værdipapirdepot i en dansk bank oprettet i en aktionærs navn. Et
 værdipapirdepot indeholder aktionærens aktiebeholdninger, som kan være sammensat af aktier
 i forskellige danske børsnoterede selskaber. Aktier i børsnoterede selskaber kan være registreret
 som ejet af f.eks. banker, der har ét fælles depot for deres kunder (benævnt et omnibusdepot).
 Banken vil hos VP Securities være registreret som ejer, selvom det er en kunde, der faktisk ejer
 aktiebeholdningen. Omnibusdepoter er registreret med depotindehaverens (typisk bankens) na-
 tionalitet/adresse – uden viden om den underliggende ejers nationalitet.

 Ved søgning i oplysninger fra VP Securities er der ikke fundet noget værdipapirdepot i en dansk
 bank, hvor Pensionsplanen eller dennes custodian, Old Park Lane Capital PLC eller Telesto Mar-
 kets LLP, er registreret som ejer.

 SKAT har indhentet oplysninger fra IRS, der i brev af 13. juni 2016 har vedlagt Instructions for
 FORM 5500-EZ, hvoraf fremgår:

           ”Who Does Not Have To File FORM 5500-EZ


 Sagsnr. XX-XXXXXXX                                            Side 156/239
Case 1:18-md-02865-LAK                     Document 836-47                Filed 06/27/22     Page 238 of 462




           You do not have to file FORM 5500-EZ for the 2015 plan year for a one-participant plan if the
           total of the plan’s assets of all other one-participant plans maintained by the employer at
           the end of the 2015 plan year does not exceed $250,000, unless 2015 is the final plan year of
           the plan. For more information on final plan years, see Final Return later.”

 Det er på baggrund af oplysninger fra IRS SKATs vurdering, at der er tale om en ”One-Participant
 (Owners and Their Spourses) Retirement Plan”.

 IRS har i forbindelse med generelle spørgsmål om pensionsplaner og indskud herpå fremsendt
 links til IRS’ hjemmeside vedrørende ”Topics for Retirement Plans”. Af hjemmesiden fremgår
 bl.a. følgende:

       -    At en One-Participant 401(k) plan dækker en virksomhedsejer uden nogen ansatte ud
            over personen og eventuelt dennes nærtstående.
       -    At det årlige indskud er begrænset til mellem 12.500 USD og 53.000 USD alt efter indsky-
            ders alder (begrænset til maksimalt 53.000 USD, dog 59.000 USD for deltagere, der er æl-
            dre end 55 år).

 SKAT har på baggrund af oplysninger fra IRS lagt til grund:

       -    At hvis en pensionsplan ikke indgiver FORM 5500, tilkendegiver pensionsplanen, at der er
            tale om en One-Participant Retirement Plan med en formue på under 250.000 USD.
       -    At hvis en skattefri pensionsplan driver virksomhed (Unrelated Business Income), skal
            den betale skat af indtægterne herfra, og der skal indgives en Form 990-T til IRS.
       -    At hvis en skattefri pensionsplan har lånefinansieret indkomst (Dept-financed Income),
            skal der betales skat af indtægterne heraf, og der skal indgives en Form 990-T til IRS.
       -    At hvis en pensionsplan udlodder midler, skal dette indberettes til IRS på en Form 1099,
            hvor det skal oplyses, hvor meget der er udbetalt og til hvem. Den person, der har mod-
            taget midlerne, er skattepligtig af indtægten og skal selvangive denne.

 IRS har i brev af 13. december 2016 oplyst, at IRS ikke er i besiddelse af selvangivelser (FORM
 5500) for pensionsplanen, da der ikke er indsendt selvangivelser for 2014 eller 2015.

 Pensionsplanens repræsentant har oplyst, at aktierne blev købt kort før udbyttedatoen, og at
 Pensionsplanen indgik en kontraktmæssig aftale om betaling efter udbyttedatoen. Efter modta-
 gelsen af udbyttet udlånte Pensionsplanen aktierne ud til tredjemand. Låntageren var nødt til at
 stille kontant sikkerhed, som Pensionsplanen kunne bruge til at betale for aktierne på tidspunk-
 tet for afregningen for erhvervelsen af aktierne.

 Pensionsplanens repræsentant har om dens investeringsstrategi anført, at formålet er at reali-
 sere en gevinst ved at udnytte prisforskellen på spot- og forward-markedet, der består af tre
 bestanddele: Et aktiekøb, en derivativ transaktion (en forward) og en aktieudlånstransaktion.
 Aktørerne i disse tre transaktioner omfatter:

           ”
   1       En amerikansk pensionsplan (der bliver ejer af de danske aktier)
   2       En trader (en trustee, der afgiver samtlige ordrer til samtlige transaktioner)

 Sagsnr. XX-XXXXXXX                                      Side 156/239
Case 1:18-md-02865-LAK                Document 836-47               Filed 06/27/22           Page 239 of 462




   3  En fondsmægler (execution broker), der agerer som juridisk modpart til købs- og salgsor-
      drerne, idet han foretager ejermatchinghandler
   4 En clearing agent, der modtager afviklingsinstruktioner, efter en handel er indgået, og kon-
      trakten derfor er endeligt indgået
   5 Et depotinstitut (custodian), der registrerer ejerskabet aktierne som sub-custodian og der-
      ved opbevarer aktierne for pensionsplanen
   6 En forward intermediary (den juridiske modpart til forward hedgen)
   7 En mellemmand til aktieudlånet (stock loan intermediary). Hvem den endelige aktielånta-
      ger var, ved pensionsplanerne ikke, da mellemmanden ikke kun formidler et aktielån, men
      også selv indtræder i kontrakterne som låntager respektive långiver
   8 Tax agents (der indgiver ansøgningerne om refusion)
   9 lntroducing broker (en kontaktperson, der introducerer kunder til de forskellige finansielle
      virksomheder mod honorar)
   10 En ”arranger” (en agent med eksklusiv adgang til bestemte netværk, firmaer eller forret-
      ningskoncepter (immaterielle rettigheder)).”

 Pensionsplanens repræsentant har tillige bl.a. oplyst:

       ”Bortset fra pensionsplanen, der ville realisere en arbitragegevinst ved transaktionerne, var
       alle de øvrige aktørers eneste motivation for af gennemføre transaktionerne at tjene deres
       respektive honorarer i forbindelse med udførelsen af deres respektive opgaver.

       Da pensionsplanens gevinst allerede var sikret, da forward-kontrakten blev indgået, kunne
       alle aktørerne være sikre på, at de ville modtage det forlangte honorar. Det var først, når
       gevinsten, der lå mellem aktiekøbet og forward-kontrakten, var brugt op, og udbytterefu-
       sionen stadig ikke var modtaget, at tjenesteyderne løb en risiko for ikke at blive betalt (i til-
       fælde af at refusionen ikke ville blive betalt), da pensionsplanen da ville gå i en tabssitua-
       tion. Det var derfor grænsen for, hvor længe pensionsplanen kunne holde positionerne
       åbne.”

 Pensionsplanens repræsentant har beskrevet en handel således:

       ”Enhver arbitrageinvestering består af en række sekventielle begivenheder, der begynder
       med åbningen af en position efterfulgt af dennes lukning, hvorved en sådan position består
       af tre dele: en aktiehandel (en aktieposition åbnes og lukkes, dvs. at aktierne købes og sæl-
       ges), en forward-kontrakt (der åbnes og lukkes) og et aktielån (lånet gives og tilbagekal-
       delse). Ud over disse handelstransaktioner modtages et nettoudbytte og en refusion af ud-
       bytteskat. De sidstnævnte har dog kun til formål at dække en del af kurstabet på aktien,
       som finder sted på ex-datoen.

       For at åbne eller lukke en position foretages nøjagtig de samme handlinger, som er dokumente-
       ret ved de fremlagte e-mails.

       Den økonomiske gevinst, der realiseres ved en arbitrageforretning, kan betragtes på for-
       skellige måder:

       En måde er at sammenligne det økonomiske resultat af selve aktiehandlen (åbne og lukke
       aktiepositionen) isoleret fra forward-kontrakten (dennes åbning og lukning), således som
       det er gjort i nedenstående eksempel. En anden måde er at sammenligne det økonomiske
       resultat mellem aktie- og forward-handlen, når disse to positioner åbnes og lukkes.


 Sagsnr. XX-XXXXXXX                                 Side 156/239
Case 1:18-md-02865-LAK                 Document 836-47                Filed 06/27/22            Page 240 of 462




      Mens tallene, der anvendes i begge scenarier, er de samme, er de økonomiske konklusio-
      ner, der drages, forskellige, idet gevinsten ved at sammenlægge begge transaktioner alle-
      rede realiseres, når positionerne åbnes (når aktierne købes, og forward-kontrakten indgås),
      og ikke først når positionerne lukkes på investeringernes sidste dag. Arbitragegevinsten be-
      står ikke i refusionen af udbytteskat. Gevinsten udgør blot et lignende beløb. Pensionspla-
      nen, som betalte 100 pct. af aktiernes værdi inden ex-datoen, betalte med købsprisen såle-
      des også for bruttoudbyttet. Pensionsplanen modtog dog kun nettoudbyttet. Pensionspla-
      nen havde således betalt for udbytteskatten, da aktierne blev anskaffet. Den endelige ge-
      vinst - inklusive refusion af udbytteskat - er ikke det samme som udbytteskatten. Den er hø-
      jere, såfremt pensionsplanen ikke bruger den samlede profit fra arbitrageforretningen på at
      holde aktielånet åbent.

      Arbitragegevinsten, der kan identificeres og dermed fastholdes (bogføres som urealiseret
      gevinst), allerede når aktierne købes, og forwardkontrakten indgås på transaktionens første
      dag, fremgår af oversigterne (cash ledgers), der blev udarbejdet af Schaffelhuber Müller &
      Kollegen S.a.r.l.”

 Pensionsplanens repræsentant har i forbindelse med kontormøde beskrevet en aktiearbitrage-
 transaktion med et eksempel således:

      ”Køb/ salg af aktier og forwardkontrakten
      Pensionsplanen afgav den 27. november 2014 en købsordre på 839.500 CHR Hansen Holding
      A/S aktier til en pris på 258,9 DKK pr. aktie, i alt 217.346.550,00 DKK. Betaling, levering af aktier
      og registrering var fastsat til 2. december 2014 (afvikling).

      Pensionsplanen indgik - ligeledes den 27. november 2014 - en forwardkontrakt (en finansiel
      kontrakt) vedrørende salg af 839.500 CHR Hansen Holding A/S aktier til en pris på 256 DKK pr.
      aktie til afvikling den 20. marts 2015.

      Pensionsplanen indgik den 16. december 2014 en ny forwardkontrakt med samme afviklings-
      dag, nemlig den 20. marts 2015 vedrørende køb af 839.500 CHR Hansen Holding A/S aktier til en
      pris på 261,22 DKK. De lukkede derfor den åbne position og havde et tab på forwarden på -4,80
      DKK pr. aktie.

      Den 16. december 2014 solgte pensionsplanen aktierne til en pris på 261 DKK pr. aktie, i alt
      219.109.500 DKK. Pensionsplanen havde således en nettogevinst på 2,10 DKK pr aktie, i alt
      1.762.950 DKK.

      Aktiehandlerne og forwardkontrakterne gav et samlet tab på -2,70 DKK pr. aktie, i alt et tab på -
      2.266.650 DKK.

      Aktieudlånet
      Den 1. december 2014 afgav pensionsplanen en ordre til afvikling den 2. december 2014 om at
      udlåne 839.500 CHR Hansen Holding A/S aktier til en pris af 258,90 DKK pr. aktie, i alt
      217.346.550 DKK, mod sikkerhedsstillelse af kontantbetaling af beløbet. Pensionsplanen
      modtog således 217.346.550 DKK som sikkerhed for at få aktierne tilbage.

      Aktieudlånet blev den 16. december 2014 sagt op, med valutadato den 18. december 2014.
      Dette havde den konsekvens, at aktierne skulle leveres tilbage. Aktierne havde da (den 16. de-
      cember 2014) en markedsværdi på 261 DKK pr. aktie, i alt 219.109.500 DKK.


 Sagsnr. XX-XXXXXXX                                  Side 156/239
Case 1:18-md-02865-LAK                                                             Document 836-47                     Filed 06/27/22                        Page 241 of 462




            Dette beløb samt det samlede beløb af den løbende regulering af værdiansættelsen, MTM, som
            udgjorde - 1.762.950 DKK skulle tilbagebetales til aktielåntager, i alt 217.346.550 DKK.

            Dermed var aktielåntageren sikret at modtage det fulde beløb, som han havde givet i kontant
            sikkerhed for aktielånet.

            Herudover skulle pensionsplanen betale rente på aktieudlånet på 67.618,93 DKK samt modtage
            gebyr for aktieudlånet på 23.880,98 DKK, i alt betale -43.737,95 DKK.


            Udbytte – Refusionsbetalingen og refusionen
            Pay day, dagen hvor udbyttet udbetales, var den 2. december 2014.

            Udbyttet var blevet vedtaget på generalforsamlingen den 27. november 2014.

            Pensionsplanen modtog kompensationsbetaling for nettoudbyttet.

            Pensionsplanene var på ”record day” (den 1. december 2014) endnu ikke registreret som ejer af
            aktien, da afviklingen af købet først skete den 2. december 2014 .

            VP udbetalte derfor udbyttet til den tidligere ejer, der var registreret som ejer af aktien hos VP
            den 1. december 2014.

            I henhold til den såkaldte ”market claim proces” er sælgerens custodian forpligtet til at debitere
            udbyttet fra sælger og kreditere udbyttet hos køber (eller sende udbyttet videre til købers cu-
            stodian, så han kan kreditere købers konto).

            Bruttoudbyttet betalt af CHR Hansen Holding A/S var 3,77 DKK pr. aktie, i alt DKK 3.164.915 for
            pensionsplanens aktier.

            Heraf udgjorde nettoudbyttet 2.310.387,95 DKK og udbytteskatten 854.527,05 DKK.”


 Repræsentanten har fremlagt et eksempel på Pensionsplanens aktietransaktioner:


     The Proper Pacific LLC 401k Plan
     2014 CHR HANSEN HOLDING A/S




                         Equity                                                                                                 ·217:346.S50.00   ·217.346.S50.00
                         Forward          Sell 839.SOOOIR HANSEN HOLOINGA/S@2S6,42 OKK EXPIRES 20.M:irlS                                          -217.346.S50,00
     f-'-F='-"-----'-'
                    Tra
                      =,Ocs'
                          ng Fee          B,utionUpital 8rokerlnvoice                                                                 ·2,716,83   -217.349.266,83
                         Oividend         CASH DIVI DEND OIR HANSEN HOLDING A/S PD 02.Dez 14                   2.310.387,95                       -21S.038.878,88
                         Stock Loan       Le nd 839.SOO CHR HANSEN HOLDING A/S @ 258,9 DKK                   217.346.S50,00                          2.307.671,12
                         Trading Fee      Trading Fees USD 624,70@ 0,1676                                                             •3.727,33      2.303.943,79
                         Equity           Sell 839.SOOOIR HANSEN HOLOINGA/S @261 DKK                         219. 109. 500,00                     221.4 13.443,79
                         Forward          Bvy839.SOOCHRHANSEN HOLDING A/S@ 261,22 OKK EXPIRES 20.M:i r l S                        -4.029.600,00   217.383.843,79
                         Stock Loan       Recall 839.SOOOIRHANSENHOLOINGA/S @261 OKK                                            -219.109.500,00     -1.72S.6S6,21
                         Stockloan        Stockloan MTM Realize d                                              1.762.950,00                            37.293,79
                         Stockloan        Stocklending Fee                                                                           -43.737,9S         -6.444,16
                         Trading Fee      Bastion Capital Brol<erlrwoice                                                              •2.738,87         •9.183,03
                         Trading Fee      Trading Fees USO 4.396,91 @) 0,1681                                                        -26.156,Sl        -35.339,54
                         Platform Fee     OPl TAS Platform Fee · December 14 USO 1.814,70@0,162S                                     •11.167,38
                         Oividend         Tax Reda Im OIR HANSEN HOLDING A/S                                     854.527,05                           808.020,12
                         Oividend         GoalGroupFee                                                                                -8.545,27       799.474,SS
                                          Oosing Balance                                                                                              799.474,SS


          'Exchange rates are based on closing price of the date or last available dosing price
 ”


 Sagsnr. XX-XXXXXXX                                                                                 Side 156/239
Case 1:18-md-02865-LAK                Document 836-47                 Filed 06/27/22       Page 242 of 462




 ”
 Pensionsplanens repræsentant har oplyst de enkelte skridt for en handels komplette gennem-
 førelse således:

 ”
        1 Ordre til køb af aktier afgivet pr. e-mail

        2 Clearing-agentens tilsagn til aktiekøbet (hvilket indirekte betyder en garanti
            for afviklingen og betalingen af aktierne i clearing-agentens egenskab af
            prime broker) - også dette skete pr. e-mail

        3 Matching af købsordren og derved indgåelsen af en bindende aftale om køb af
            aktierne blev bekræftet af mægleren (broker) pr. e-mail

        4 Faktura fra fondsmægleren (broker) blev modtaget pr. e-mail

        5 En broker confirmation (handelsnota) blev modtaget pr. e-mail

        6 Ordre til at sælge aktier gennem en forward-kontrakt blev afgivet pr. e- mail

        7 Bekræftelse vedrørende forward-kontrakten blev modtaget pr. e-mail

        8 Ordre vedrørende aktieudlån blev afgivet pr. e-mail

        9 Bekræftelse af aktieudlån blev modtaget pr. e-mail

        10 Ordre til salg af aktierne blev afgivet af pensionsplanen pr. e-mail

        11 Fondsmægleren bekræftede gennemførelsen af salget pr. e-mail

        12 Ordre til at købe forward-kontakten tilbage blev afgivet pr. e-mail

        13 Bekræftelse vedrørende tilbagekøb af forward-kontrakten blev modtaget pr. e-mail

        14 Aktieudlånet blev kaldt tilbage pr. e-mail

        15 Tilbagekaldelsen af aktielånet blev bekræftet pr. e-mail.”

 Pensionsplanens repræsentant har fremlagt en række generelle og konkrete bilag. Heraf er føl-
 gende gennemgået punktvist:

       1. Kontoåbningsprocedure for Pensionsplanen af 26. september 2014 underskrevet af
          Doston Bradley.

       2. Certification of Trust underskrevet den 26. september 2014 af trustee Doston Bradley
          på vegne af Pacific India LLC.

       3. Trust Agreement af 26. september 2014 mellem Pacific India LLC og trustee Doston
          Bradley.

       4. Custody Agreement er ikke fremlagt i sagen. Der er alene fremlagt”Terms and condi-
          tions for custudy services”.

 Sagsnr. XX-XXXXXXX                                    Side 156/239
Case 1:18-md-02865-LAK                 Document 836-47               Filed 06/27/22           Page 243 of 462




       5. Forskellige Global Master Securities Lending Agreements (GMSLA) indgået mellem sel-
          skaber fra British Virgin Islands og Cayman Islands (Party A), og DB4 Investment Trust
          (Party B). Aftalerne er udaterede.

 Aftalerne er beskrevet som en rammeaftale til brug for Pensionsplanens aktieudlån.

 Pensionsplanens repræsentant har anført, at short selling, der i henhold til Finanstilsynets egen
 definition betyder salg af en aktie, som sælger ikke ejer på salgstidspunktet, i modsætning til en
 almindelig værdipapirhandel, hvor sælgeren ejer det værdipapir, som sælges, er ikke lovregule-
 ret i Danmark med undtagelse af reglerne om forbud mod udækket short selling og enkelte
 flagningsregler.

 Repræsentanten har tillige anført:

       ”Det er internationalt anerkendt, at en short seller betragtes som dækket, hvis han blot har
       en rammeaftale om aktielån på plads, på det tidspunkt hvor han sælger de aktier, han ikke
       ejer. En sådan rammeaftale er en GMSLA. Den, der ønsker at sælge aktier, han ikke ejer,
       skal ved en rammeaftale om aktielån blot sikre sig at kunne levere aktierne på leveringstids-
       punktet. Short selleren skal ikke indgå en konkret aftale om lån af et bestemt antal aktier,
       inden salget foretages, sådan som Skattestyrelsen postulerer i indlægget af den 9. maj
       2019, idet en sådan aftale ville gøre ”short selleren” til den civilretlige ejer af aktien. Han
       ville dermed slet ikke være shortseller mere, men en "long owner seller." Short selling kan
       derfor (legalt) kun forekomme i form af salg under rammeaftaler om aktielån.

       Idet en short seller blot skal være dækket i form af indgåelse af en rammeaftale om ak-
       tielån, har short selling den konsekvens, at en shortseller øger antallet af aktier i handel og
       dermed antallet af aktier, som der indgås endelige og bindende aftaler om køb om. Alle kø-
       berne af disse aktier bliver i henhold til obligationsrettens almindelige regler ejere af de er-
       hvervede aktier.

       Ingen kan skelne mellem aktier solgt af en shortseller og aktier solgt af en reel aktieejer
       (”long owner”). Det tilgængelige antal aktier i handel (dvs. free float) stiger dermed ved
       short selling (midlertidigt) til et antal over 100 pct. af de udstedte aktier. Det er først ved af-
       viklingen (settlement) af aktiehandlerne, at dette overskydende antal aktier i handel brin-
       ges tilbage til det reelle antal aktier udstedt af selskabet. Den samlede mængde af demate-
       rialiserede aktier vil altid være korrekt på afviklingstidspunktet, når short selleren skal le-
       vere de solgte aktier, idet han trækker aktier under aktielånet eller foretager et inddæk-
       ningskøb på markedet.

       Det er således muligt, at der handles flere danske aktier på markedet, end det antal der oprin-
       deligt blev udstedt af selskaberne. ”Short selling” har netop den typiske - og tillige ofte øn-
       skede - konsekvens, at der er flere aktier til rådighed på markedet, end der oprindeligt er
       udstedt.”

       6. Tax Opinion af 27. juni 2012 afgivet af Hannes Snellman Advokatpartnerselskab efter
          anmodning fra Solo Capital (Dubai) Limited.

       7. Custody Statement for Pensionsplanen for perioden 1. januar – 31. december 2015.


 Sagsnr. XX-XXXXXXX                                  Side 156/239
Case 1:18-md-02865-LAK               Document 836-47              Filed 06/27/22          Page 244 of 462




 Pensionsplanens repræsentant har anført, at Custody Statement dels viser aktiekøb og –salg,
 dels lånetransaktioner og forward-transaktioner. ”Custody statements viser således alle transak-
 tioner vedrørende aktiepositionerne. Udbytterefusionen blev naturligvis ikke bogført på aktie-
 kontiene, men derimod på en ”cash account”. Denne cash account kunne pensionsplanerne lø-
 bende se online. Da ingen af de pensionsplaner, hvis sager er udvalgt som førersager, har trykt
 disse cash accounts i papirform, har vi ikke kunnet fremlægge disse sider.”

       8. Equity Forward Transaction. Der er indgået flere lignende aftaler. Eksempelvis er der
          den 6. marts 2015 indgået aftale mellem Gartside Global Ltd, British Virgin Island, og
          Pensionsplanen om Pensionsplanens salg af forward vedrørende aktier i TDC A/S, og
          aftale indgået den 28. maj 2015 mellem Gartside Global Ltd, British Virgin Island, og
          Pensionsplanen om Pensionsplanens køb af forward vedrørende samme aktier. Afta-
          lerne er underskrevet af Authorised Trader Matthew Tucci på vegne af Pensionspla-
          nen.

       9. Handelsnota fra bl.a. Bastion Capital London Ltd om køb af aktier samt fakturaer for
          ”brokerage” fra samme selskaber for køb af aktier.

       10. Diverse e-mails, der ifølge Pensionsplanens repræsentant dokumenterer ordrer til køb
           af aktier, salg af aktier, til aktieudlån, køb af forward m.v., jf. ovenfor vedrørende do-
           kumentation for handlens komplette gennemførelse.

 SKAT har den 28. august 2017 anmodet Statsadvokaten for Særlig Økonomisk og International
 Kriminalitet (SØIK) om:

      •   At be- eller afkræfte, at Pensionsplanen har modtaget de omhandlede udbytter.
      •   At oplyse, om der i det beslaglagte materiale forefindes depotudskrifter fra pengein-
          stitutter, hvoraf depotbeholdninger tilhørende pensionskassen fremgår.

 SØIK har den 23. november 2017 delvist imødekommet SKATs anmodning og har for så vidt an-
 går 66 konkrete pensionsplaner bl.a. svaret:

 :
       "SØIK kan i besvarelse af SKATs henvendelser oplyse, at der som altovervejende hovedregel
       ikke udleveres oplysninger fra en verserende strafferetlig forfølgning til parter udenfor
       straffesagen.
       Der er senere nedenfor givet en begrundelse derfor i relation til den konkrete anmodning om
       udlevering af oplysninger fra den verserende strafferetlige efterforskning.
       SØIK finder imidlertid henset til sagens helt ekstraordinære karakter og SKATs helt særlige
       behov for at modtage oplysninger til brug for den verserende skattesag, at kunne oplyse
       følgende uden skadevirkning for efterforskningen:

       Ad. 1.
       SØIK kan ikke på baggrund af den indtil videre gennemførte efterforskning bekræfte, at de i
       ovennævnte e-mails anførte amerikanske pensionsplaner skulle have modtaget aktieudbytte
       som følge af besiddelse af danske aktier.




 Sagsnr. XX-XXXXXXX                                Side 156/239
Case 1:18-md-02865-LAK                Document 836-47               Filed 06/27/22          Page 245 of 462




       Ad. 2.
       SØIK kan ikke på baggrund af den indtil videre gennemførte efterforskning bekræfte, at de i
       ovennævnte e-mails anførte pensionsplaner har besiddet danske aktier. Der er heller ikke ved
       henvendelse til VP-Securities A/S modtaget oplysninger om ejerskab af aktier, der på det forelig-
       gende grundlag kan bekræfte de omhandlede pensionsplaner skulle have besiddet danske ak-
       tier".

 SKATs afgørelse
 SKAT har den 6. april 2018 tilbagekaldt tidligere afgørelser om refusion af udbytteskatter.

 Som begrundelse herfor er anført følgende:

       ”SKAT har tidligere ved udbetalinger af udbytteskatter truffet afgørelse om refusion af ud-
       bytteskatter til The Proper Pacific LLC 401K Plan (herefter The Proper). Udbetalingerne ved-
       rører følgende anmodninger om refusion af udbytteskatter, som SKAT har modtaget fra
       Goal Taxback Limited på vegne af The Proper:
       …
       SKATs tidligere afgørelser om refusion af udbytteskatter på i alt 29.035.888 kr. til The Pro-
       per tilbagekaldes, idet The Proper ikke har været berettiget til at modtage beløbene.

       Det er SKATs vurdering:
            At The Proper ikke ejer eller har ejet de aktier, som fremgår af anmodningerne.
            At udbytterne vedrørende de aktier, som fremgår af anmodningerne, ikke er tilgået
               The Proper.

       Det er endvidere SKATs vurdering, at The Proper ikke har haft den fornødne kapital til at fo-
       retage de investeringer i danske aktier, der ligger til grund for anmodningerne om refusion
       af udbytteskat.

       Ved vurderingen har SKAT lagt vægt på, at The Proper ikke har fremlagt dokumentation for,
       at The Proper har ejet aktierne. The Proper har heller ikke fremlagt dokumentation for, at
       pensionskassen har modtaget udbytte af aktierne. Sagens oplysninger giver ikke grundlag
       for sådanne betydelige investeringer i danske aktier.

       SKAT har lagt vægt på:
           At The Proper er en nystiftet pensionskasse.
           At The Proper kun har en enkelt deltager med de deraf begrænsede indskudsbeløb.
           At The Proper ikke har indsendt Form 5500 i USA, hvorfor det må lægges til grund,
               at The Proper formue var under 250.000 USD ultimo de relevante indkomstår.
           At SØIK ikke på baggrund af den indtil videre gennemførte efterforskning kan be-
               kræfte, at The Proper har besiddet danske aktier eller har modtaget aktieudbytte
               som følge af besiddelse af danske aktier.

       Det er på baggrund af de nu foreliggende oplysninger SKATs vurdering, at The Proper ikke har
       haft økonomiske muligheder for at eje aktier i et sådant omfang, som angivet i The Proper's an-
       søgninger om refusion af dansk udbytteskat. Dette fremgår eksempelvis ved,

              At The Proper under 3 måneder efter stiftelsen havde investeret for 217.346.550 kr. i
               aktien CHR. Hansen Holding A/S.



 Sagsnr. XX-XXXXXXX                                 Side 156/239
Case 1:18-md-02865-LAK                Document 836-47              Filed 06/27/22          Page 246 of 462




              At The Proper den 19. marts 2015 var ejer af aktier i Novo Nordisk A/S til en værdi
               på i alt 2.268.425.470 kr.

       The Proper har derfor ikke dokumenteret, at The Proper opfylder betingelserne for at få re-
       funderet indeholdte udbytteskatter af danske aktier, jf. artikel 10 i dobbeltbeskatningsove-
       renskomsten mellem Danmark og USA.

       The Propers repræsentant, Advokatfirmaet TVC har ikke med deres indsigelser til SKATs for-
       slag af 24. marts 2017 fremkommet med oplysninger eller dokumentation for, at The Pro-
       per har ejet aktierne og modtaget aktieudbytterne ifølge anmodningerne.

       SKATs afgørelser om at refundere udbytteskat til The Proper hviler dermed på et urigtigt
       grundlag. SKAT tilbagekalder derfor de tidligere afgørelser om refusion af udbytteskatter.

       SKAT opkræver ikke ved denne afgørelse den uberettigede udbetalte refusion af udbyt-
       teskat. Dette er en ændring i forhold til SKATs tidligere forslag til afgørelse af 24. marts
       2017 til The Proper. Kammeradvokaten vil på vegne af SKAT fremsende påkravsskrivelse,
       hvori SKAT rejser krav om tilbagebetaling og erstatning over for The Proper.
       …”.

 Klagerens opfattelse
 Pensionsplanens repræsentant har nedlagt påstand om, at SKATs afgørelse af 6. april 2018 an-
 nulleres.

 Til støtte for den nedlagte påstand er det gjort gældende, at der ikke er grundlag for at tilbage-
 kalde SKATs tidligere afgørelse om refusion af udbytteskat, idet der ikke som hævdet af SKAT er
 grundlag for at anfægte de (skattemæssige) ejerforhold til de omhandlede aktier.

 Endvidere er det gjort gældende, at SKATs afgørelse af 6. april 2018 skal annulleres, således at
 den tidligere afgørelse om refusion af udbytteskat står ved magt samtidig med, at det overlades
 til SKAT at foretage de nødvendige fyldestgørende undersøgelser af sagen.

 Repræsentanten har endvidere anført:

       ”1 Ikke grundlag for at anfægte ejerskabet til aktierne
       Det gøres helt overordnet gældende, at der ikke som hævdet af SKAT er grundlag for at an-
       fægte de skattemæssige ejerforhold til de omhandlede aktier.

       1.1 Manglende kapital

       Det bestrides for det første, at The Proper Pacific LLC 401K Plan - som hævdet af SKAT - ikke
       har haft økonomiske muligheder for at erhverve de aktier, hvorfra der er udbetalt udbytte,
       og som efterfølgende er søgt refunderet.

       I den forbindelse bemærkes, at en køber af aktier (dvs. her pensionskassen) har utallige
       muligheder for at opnå finansiering til køb af aktier på nutidens globale finansmarkeder
       uden anvendelse af egenkapital. Udover muligheden for at optage klassisk lånefinansiering
       findes der adskillige andre finansielle instrumenter, som kan benyttes til at opnå den nød-
       vendige finansiering for at erhverve såkaldt "beneficial ownership" henholdsvis juridisk


 Sagsnr. XX-XXXXXXX                                Side 156/239
Case 1:18-md-02865-LAK                Document 836-47                Filed 06/27/22           Page 247 of 462




      ejerskab, og for så vidt angår den foreliggende sag retmæssigt (skattemæssigt) ejerskab
      over aktierne.

      De forskellige aktører inden for finanssektoren tilbyder et stort udvalg af finansprodukter
      og afledte instrumenter (derivater), der giver øjeblikkelig adgang til likviditet (cash-flow) til
      betaling af værdipapirerne på leveringstidspunktet. Motivationen for investorer til at an-
      vende likviditet i form af sådanne standardinstrumenter er at begrænse brugen af egne
      midler (egenkapital i modsætning til likviditet) til at forøge det forventede afkast af deres
      aktiver. Køberen af aktier vil hellere anvende eksterne likviditetskilder end at bruge egne
      midler.

      For eksempel kan likviditet eller "cash-flow" til at betale for levering af aktierne genereres
      ved gennemførelsen af diverse transaktioner med derivater, som eksempelvis ved at udgive
      en såkaldt "deep in the money call option" eller en "prepaid performance contract over
      securities".

      Investorer kan desuden skaffe sig likviditet ved at bruge Prime Broker Facilities for Securi-
      ties Lending (herunder Repo-Pools) og "lntraday-Liquidity-Facilities", som giver adgang til fi-
      nansiering samme dag ("just-in-case" eller "back-up"-faciliteter).

      Det er en vigtig del af enhver "stock-broker" eller investment managers standardydelser at
      skaffe deres kunder tilgang til likviditet. Denne service - der ligner "prime broking" for insti-
      tutionelle klienter - skyldes, at renten i dag er negativ. Den primære motivation er at an-
      vende gratis penge som incitament til investering. En aktionær kan bruge sine egne aktiver,
      herunder aktier, til at skabe likviditet ved at stille dem sikkerhed for likviditetsfaciliteter.
      Herved vil aktionæren kunne opnå en meget betydelig likviditetsfacilitet. En sådan "intra-
      dag-likviditetsfacilitet" vil kun blive benyttet, hvis der ikke skulle være tilstrækkelig likviditet
      på tidspunktet for levering af aktierne (betaling mod levering - Delivery versus payment).

      En såkaldt "Global Master Securities Lending Agreement" (GMSLA), som er "markeds-stan-
      darden" for de kontrakter, der tilbydes af prime-brokere, udføres normalt som en alminde-
      lig del af kontoåbningsproceduren mellem klienten og mægleren, allerede før nogen ordrer
      til køb af aktier er placeret. En mægler vil under en GMSLA vide, at hans kunde har adgang
      til likviditet til betaling af aktierne, allerede på datoen hvor købekontrakten indgås - hvilket
      er tre arbejdsdage forud for leveringen - idet kunden kan låne sine aktier ud til en tredje-
      part for en ubestemt tid og modtage op til 100 pct. af deres respektive pris i kontanter.
      Dette betyder, at et- hvert køb af aktier vil generere den fornødne likviditet til at finansiere
      den fortsatte beholdning af aktierne efter deres køb, idet køber kan skaffe tilstrækkelig lik-
      viditet til at betale for købet ved at låne sine aktier til en tredjepart. Med andre ord: Aktie-
      låntageren, der skulle bruge aktierne (som i dette eksempel tilhørte pensionskassen) efter
      udbyttedatoen, stillede sikkerhed for dette aktielån i form af kontanter (som blev indbetalt
      på pensionskassens konti) for varigheden af aktielånet.

      SKAT anfører i den foreliggende afgørelse, at The Proper Pacific LLC 401K Plan ikke har haft
      den fornødne kapital til at erhverve de aktier, hvorfra der er udbetalt udbytte, og for hvilke
      der er søgt refusion af udbytteskat. SKAT overser hermed, at størrelsen af et retssubjekts
      kapital ikke begrænser mulighederne for at erhverve aktiver, herunder aktier, da de finansi-
      elle midler til sådanne køb let kan skaffes på anden vis. Afgørende for om et givent retssub-
      jekt kan erhverve aktier og øvrige aktiver, er, om den fornødne likviditet kan skaffes (ved
      substitution af egne midler). Det er derfor ikke korrekt som antaget af SKAT, at The Proper
      Pacific LLC 401K Plan ikke har haft økonomisk mulighed for at erhverve de aktier, hvorfra


 Sagsnr. XX-XXXXXXX                                 Side 156/239
Case 1:18-md-02865-LAK               Document 836-47               Filed 06/27/22          Page 248 of 462




      der er udbetalt udbytte, og for hvilke der er søgt refusion af udbytteskat. Om dette er sket
      ved benyttelse af et substitut for egenkapital eller på anden vis, er juridisk ligegyldigt, hvor-
      for SKAT baserer sin afgørelse på en fundamental misforståelse af de relevante økonomiske
      forhold ved at forudsætte, at ejerskab til aktier skal opnås via kapital, frem for likviditet der
      er fremskaffet på anden vis.

                                               • • • • ••

      I overensstemmelse med Skatterådets afgørelse i SKM2010.26.SR er det således pensions-
      kassen, der som udlåner af aktierne til tredjemand tillige er berettiget til at modtage udbyt-
      tet, der udbetales af selskabet, på de aktier pensionskassen ejer.

      Det er således ikke korrekt, at pensionskassen ikke har kunnet betale for de pågældende
      handler.

      1.2 Udbytterne samt de refunderede udbytteskatter er tilgået The Proper Pacific LLC 401K
      Plan

      For det andet bestrides det helt overordnet, at The Proper Pacific LLC 401K Plan - som hæv-
      det af SKAT -ikke har modtaget de udbytter, som anførtes i The Proper Pacific LLC 401K
      Plans anmodninger om refusion af udbytteskat.

      SKAT har ikke i den indklagede afgørelse nærmere begrundet dette synspunkt eller doku-
      menteret, at pensionskassen ikke har modtaget udbyttet eller refusionen.

      Det bemærkes, at anmodningerne om refusion af udbytteskat ledsagedes af såkaldte Divi-
      dend Credit Advices (herefter DCA), der var udarbejdet af den eller de ansvarlige custodi-
      ans. Heraf fremgik netop, at The Proper Pacific LLC 401K Plan havde modtaget nettoudbyt-
      tet vedrørende de aktier, der fremgik af anmodningerne.

      Ifølge SKATs daværende hjemmeside var DCA'erne tilstrækkelig dokumentation for modta-
      gelsen af udbytter.

      Det skal fremhæves, at de omhandlede DCA'er var udstedt af regulerede finansielle virk-
      somheder, der var autoriserede til at udstede sådanne bekræftelser. The Proper Pacific LLC
      401K Plan kan med rette henvise til disse DCA'er, idet der ikke findes noget andet bevisma-
      teriale for modtagelse af et udbytte.

      Endvidere skal det fremhæves, at SKAT - i det omfang SKAT har anfægtet DCA'ernes indhold
      - kunne have indhentet relevant dokumentation fra de andre professionelle aktører, der var
      involveret i gennemførelsen af de i sagen omhandlede transaktioner (dvs. professionelle
      aktører ansvarlige for tax-filings, share-brokerage, clearing, settlement, custody, safe-ke-
      eping samt kontoføring og administration). Dette har SKAT imidlertid forsømt.

      Det bemærkes i den forbindelse, at samtlige de involverede professionelle aktører har været un-
      derlagt tilsyn af offentlige tilsynsmyndigheder, i den periode som sagen omhandler. Dertil kom-
      mer, at de involverede aktørers regnskaber og procedurer er blevet gennemgået og godkendt af
      uafhængige revisorer, i den periode som nærværende sag omhandler.

      Særligt i relation til den eller de omhandlede custodians bemærkes, at SKAT har forsømt at
      anvende deres myndighed til at indhente relevante oplysninger og dokumentation med


 Sagsnr. XX-XXXXXXX                                Side 156/239
Case 1:18-md-02865-LAK                Document 836-47                Filed 06/27/22           Page 249 of 462




      hensyn til gennemførelsen af de omtvistede transaktioner fra de ansvarlige tilsynsmyndig-
      heder. Dette er særligt relevant, henset til at The Proper Pacific LLC 401K Plan jo havde sine
      konti hos en custodian, der var reguleret og kontrolleret af de engelske tilsynsmyndigheder.
      Dette er af afgørende betydning, idet The Proper Pacific LLC 401K Plan - ligesom alle andre
      kunder hos en custodian - selvsagt ikke har adgang til fortrolige oplysninger hos deres cu-
      stodians.

      1.3 Manglende selvangivelse i USA

      For det tredje bestrides det helt overordnet, at The Proper Pacific LLC 401K Plans mang-
      lende selvangivelse efter amerikansk skattelovgivning - som hævdet af SKAT - kan tillægges
      betydning, ved vurderingen af om The Proper Pacific LLC 401K Plan var den retmæssige ejer
      af de aktier, hvorfra der er udbetalt udbytte, og som efterfølgende er søgt refunderet.

      Det bestrides således, at The Proper Pacific LLC 401K Plans manglende indsendelse af en
      "Form 5500"-selvangivelse i USA kan komme The Proper Pacific LLC 401K Plan til skade.

      En pensionskasse er ifølge den amerikanske skattelovgivning undtaget selvangivelsespligt,
      hvis dens aktiver ikke overstiger grænseværdien på USD 250.000 på den sidste dag i regn-
      skabsåret.

      Det bemærkes, at pensionskassens aktiver i løbet af året således godt kan have oversteget
      grænsen, når blot aktiverne på sidste regnskabsdag var mindre.

      Der kan selvsagt være en lang række konkrete årsager til, at pensionskassens aktiver var
      mindre end USD 250.000 på sidste regnskabsdag.

      For eksempel vil de gennemførte aktietransaktioner typisk have været gennemført på dette
      tidspunkt (køb og salg gennemført), med den virkning at aktierne ikke længere befandt sig i
      depotet.

      Herudover er der en række omkostninger forbundet med de gennemførte transaktioner,
      som ligeledes medfører reduktion i pensionskassens aktiver.

      Det er ligeledes muligt at foretage udlodninger fra pensionskassen, med den virkning at ak-
      tiverne på regnskabsdagen var mindre end USD 250.000.

      I nærværende sag oversteg The Proper Pacific LLC 401K Plans aktiver ved hvert af de
      respektive års udgang ikke grænseværdien på USD 250.000.

                                                 • • • • ••

      Det bestrides endvidere, at The Proper Pacific LLC 401K Plans manglende ind- sendelse af
      en "Form 990-T"-selvangivelse i USA kan komme The Proper Pacific LLC 401K Plan til skade.

      Indsendelse af "Form 990-T"-selvangivelsen skal ske, hvis en 401K-pensionsplan har lånefi-
      nansieret indkomst.

      Som anført ovenfor har The Proper Pacific LLC 401K Plan teknisk set ikke lånt nogen midler til at
      betale for køb af danske aktier. The Proper Pacific LLC 401K Plan udlånte som anført sine aktier
      til en tredjepart. Den kontante sikkerhed (cash-collateral), som blev stillet til afsikring af dette


 Sagsnr. XX-XXXXXXX                                  Side 156/239
Case 1:18-md-02865-LAK                 Document 836-47                Filed 06/27/22            Page 250 of 462




      udlån af aktier, gjorde det muligt for The Proper Pacific LLC 401K Plan at erlægge købsprisen for
      aktierne, idet tredjeparten (låntager) måtte stille sikkerhed (i form af kontanter) for aktielånet.
      Pensionskassen havde derved den fornødne likviditet til rådighed til at betale købsprisen for ak-
      tierne.

      Likviditeten til erhvervelse af aktierne stammede på denne måde fra selve aktieudlån-
      stransaktionen. The Proper Pacific LLC 401K Plan havde med andre ord ikke lånefinansieret
      indkomst, hvorfor The Proper Pacific LLC 401K Plan ikke var forpligtet til at indgive en "Form
      990-T"-selvangivelse.

                                                 • • • • ••

      Endelig bemærkes, at selv om pensionskassen fejlagtigt måtte have undladt at selvangive i
      USA, kan en eventuel manglende selvangivelse på ingen måde medføre, at pensionskassen
      ikke er retmæssig ejer af de aktier, hvoraf der er søgt om udbytterefusion.

      Det bemærkes i den forbindelse, at pensionskassen i USA er gyldigt stiftet og såvel formelt
      som reelt har retsevne.

      1.4 Registreringer i Værdipapircentralen

      For det fjerde bestrides det helt overordnet, at den manglende registrering af aktierne hos
      VP Securities A/S kan tillægges betydning, ved vurderingen af hvorvidt The Proper Pacific
      LLC 401K Plan var den retmæssige (skatteretlige) ejer af de aktier, hvorfra der er udbetalt
      udbytte, og som efterfølgende er søgt refunderet udbytteskat for.

      Det gøres i den forbindelse gældende, at det ikke på baggrund af registreringerne i VP
      Securities er muligt at fastslå, hvorvidt The Proper Pacific LLC 401K Plan var den retmæssige
      ejer af aktierne eller ej.

      Dette vil således ikke være muligt i nærværende sag, hvor The Proper Pacific LLC 401K Plan
      som anført har lånt aktierne ud til en tredjepart. I sådanne tilfælde vil denne tredjepart i
      forhold til VP Securities vises som aktionær, uanset at pensionskassen forbliver den ret-
      mæssige (skattemæssige) ejer af aktierne. Tilsvarende gælder tilfælde, hvor den retmæs-
      sige ejer har sine danske aktier på en omnibus-konto, eller såfremt custodians selv anven-
      der andre (sub-)custodians.

      1.5 Nystiftet pensionskasse med en deltager

      Helt overordnet bemærkes, at det forhold, hvorvidt den pågældende pensionskasse er
      nystiftet eller kun har en enkelt deltager, ikke har nogen betydning for, hvorvidt pensions-
      kassen er berettiget til at modtage udbytterefusion.

      Såfremt pensionskassen opfylder betingelserne i dobbeltbeskatningsoverenskomsten mel-
      lem Danmark og USA, jf. artikel 22, stk. 2, litra e, jf. artikel 10, stk. 3, litra c, er pensionskas-
      sen efter overenskomsten berettiget til at få refunderet udbytteskatten.

      Af overenskomsten fremgår, at Danmark og USA selv definerer, hvad der konstituerer en
      pensionskasse, og at dette, jf. også SKATs afgørelse, forstås som




 Sagsnr. XX-XXXXXXX                                  Side 156/239
Case 1:18-md-02865-LAK                Document 836-47              Filed 06/27/22           Page 251 of 462




               "En juridisk person, der er organiseret efter lovgivningen i en kontraherende stat
               med det formål at yde pension eller lignende ydelser efter en fastsat ordning til ar-
               bejdstagere, herunder selvstændige erhvervsdrivende, forudsat at mere end 50 %
               af denne persons begunstigede medlemmer er fysiske personer, som er hjemmehø-
               rende i en af de kontraherende stater".

      Da pensionskassen efter amerikansk ret er gyldigt stiftet og omfattet af overenskomsten,
      skal Danmark anerkende, at pensionskassen er berettiget til udbytterefusion. Det bemær-
      kes i den forbindelse, at SKAT tilsyneladende ikke fra de amerikanske myndigheder har fået
      oplyst, at pensionskassen ikke er gyldigt stiftet mv., idet SKAT ikke har henvist hertil i afgø-
      relsen.

      Det fremgår endvidere af OECD's bemærkninger vedrørende de amerikanske dobbeltbe-
      skatningsaftaler, at samtlige 401 (k)-pensionsplaner med en enkelt del tager antages at
      være omfattet af de amerikanske aftaler, hvilket ligeledes kan dokumenteres i dokumenter
      fra den amerikanske kongres i forbindelse med afstemningen om ratifikationen af den ame-
      rikanske dobbeltbeskatningsoverenskomst.

      2 SKATs afgørelse skal annulleres

      Endvidere gøres det helt overordnet gældende, at SKATs afgørelse af den 6. april 2018 skal
      annulleres, således at de tidligere afgørelser om refusion af udbytte- skatter står ved magt,
      samtidig med at det overlades til SKAT at foretage de nødvendige, fyldestgørende undersø-
      gelser af sagen.

      SKAT har ved afgørelse af den 6. april 2018, jf. bilag 1, foretaget en tilbagekaldelse af tidli-
      gere trufne afgørelser om refusion af udbytteskat.

      Det skal i den forbindelse fremhæves, at SKATs tidligere afgørelser om refusion af udbyt-
      teskatter ubestrideligt var gyldige, hvilket også er lagt til grund af SKAT, idet en tilbagekal-
      delse af de tidligere afgørelser rent forvaltningsretligt forudsætter, at afgørelserne var gyl-
      dige.

      De oprindelige afgørelser om refusion af udbytteskat blev truffet på baggrund af anmodnin-
      ger, der ubestridt opfyldte de dagældende dokumentationskrav.

      Det er først nu - flere år efter indgivelsen af refusionsanmodningerne - at SKAT stiller
      spørgsmålstegn ved validiteten af den dokumentation, som var vedlagt anmodningerne.

      SKAT har imidlertid alene baseret sin efterfølgende opfattelse på udokumenterede antagel-
      ser om The Proper Pacific LLC 401K Plans manglende ejerskab og udlån af de omhandlede
      aktier. SKAT har således ikke ført noget egentligt bevis for på- standen om manglende ejer-
      skab mv., og påstanden er således aldeles udokumenteret.

      SKAT har helt forsømt at indhente relevante oplysninger hos de mange professionelle
      udenlandske aktører, der ubestridt har været impliceret i de omhandlede transaktioner. Til-
      svarende har SKAT forsømt at indhente relevante oplysninger hos udenlandske kontrol- og
      tilsynsmyndigheder.




 Sagsnr. XX-XXXXXXX                                Side 156/239
Case 1:18-md-02865-LAK                 Document 836-47              Filed 06/27/22          Page 252 of 462




       Forsømmelsen af at indhente relevante oplysninger skal ses i lyset af, at SKAT via sine kon-
       trolbeføjelser- i modsætning til The Proper Pacific LLC 401K Plan - har reel mulighed for at
       indhente de af SKAT efterspurgte oplysninger.

       Bevistvivlen vedrørende de forhold, som SKAT har problematiseret i afgørelsen af den 6.
       april 2018, må således tilskrives SKATs manglende effektive undersøgelser, hvilket selvsagt
       ikke kan komme The Proper Pacific LLC 401K Plan til skade.

       SKATs tilbagekaldelse er som anført alene baseret på antagelser opstået flere år efter afgø-
       relserne om refusion af udbytteskat. Dette er selvsagt særligt kritisabelt, når henses til sa-
       gens størrelse og meget alvorlige betydning for The Proper Pacific LLC 401K Plan. The Pro-
       per Pacific LLC 401K Plans muligheder for at modbevise SKATs påstande er samtidig blevet
       væsentligt forringet af det lange tidsforløb og det forhold, at SØIK endvidere har beslaglagt
       en stor del af sagens dokumenter.

       På baggrund af ovennævnte gøres det helt overordnet gældende, at SKAT kunne og burde
       have foretaget en mere effektiv undersøgelse af de af SKAT problematiserede forhold, og at
       SKATs fortsatte undladelse heraf ikke kan komme The Proper Pacific LLC 401K Plan til
       skade.

       Landsskatteretten skal derfor annullere SKATs afgørelse om tilbagekaldelse, således at de
       oprindelige, gyldige afgørelser om refusion af udbytteskat står ved magt, og således at SKAT
       får mulighed for at foretage en behørig oplysning af sagen. ”

 Skattestyrelsens sammenfattende bemærkninger
 Skattestyrelsen har i forbindelse med de afsluttende bemærkninger henvist til afsluttende og
 sammenfattende indlæg afgivet i 5 førersager i komplekset. Heraf fremgår bl.a. følgende:

       ”(…)

       Trods fremlæggelse af flere tusinde siders bilag er der stadig ingen af pensionsplanerne, der kan do-
       kumentere, at de har betalt for aktier. De kan heller ikke dokumentere, at de har modtaget aktier,
       eller at de har modtaget nettoudbyttet fra de aktieposter, som de påstår at have ejet. Til gengæld
       ligger det fast, at de ikke havde nogen penge.

       I sig selv er det utroværdigt, at pensionsplaner uden aktiver køber så ekstremt store aktieposter som
       påstået – ofte i milliardstørrelse. Det indtryk forstærkes betydeligt, når ingen af pensionsplanerne
       fremlægger deres egne bankkonti til dokumentation af pengestrømme til/fra pensionsplanernes
       egne (bank)konti, (…), men kun nogle interne posteringer hos en custodian uden underliggende bi-
       lagsmateriale. Det er konsekvent, at ingen af pensionsplanerne fremlægger kontoudtog, endsige gi-
       ver en forklaring på, hvorfor de ikke fremlægger egne bankkontoudtog.

       Mere uddybende bemærker Skattestyrelsen følgende:

       Indholdsfortegnelse

       1.     INDLEDNING                                                                                  4
       2.     SAGERNE I HOVEDTRÆK                                                                         5
               2.1    Sagskompleks med svindel for 12,7 mia. kr.                                          5
               2.2    De seks førersager                                                                  6


 Sagsnr. XX-XXXXXXX                                 Side 156/239
Case 1:18-md-02865-LAK               Document 836-47              Filed 06/27/22           Page 253 of 462




            2.3     Pensionsplanernes påståede set-up                                                    9
            2.4     Det påståede set-up ville aldrig kunne anvendes i virkeligheden                     11
      3.   INGEN PENGE ELLER KREDITVÆRDIGHED, MEN AKTIER FOR MILLIARDER                                 12
            3.1     Pensionsplanernes havde ikke nogen penge og har ikke modtaget nettoudbytter 13
            3.2     Pensionsplanerne har ikke haft adgang til ekstern finansiering                      14
                    3.2.1      GMSLA’erne er ikke troværdige                                            15
                    3.2.2      Den påståede finansiering var ikke på plads på aftaletidspunktet         16
                    3.2.3      Aktielånsaftalerne er ”indgået baglæns”                                  17
                    3.2.4      GMSLA’erne er ikke blevet overholdt                                      18
                    3.2.5      Stock Lending Rate fastsættes arbitrært, og den aftalte Rate anvendes ikke
                               (nyt)                                                                    20
      4.   UREALISTISK SET-UP UDEN FORRETNINGSMÆSSIGT RATIONALE                                         21
            4.1   Der er handlet urealistisk store aktieposter                                          22
            4.2   Pensionsplanernes fortjeneste svarer præcis til udbytterefusionen                     24
            4.3   Der er intet forretningsmæssigt rationale bag de påståede transaktioner (nyt)         26
            4.4   Nulresultatet ved investeringerne er dybt usandsynligt                                27
            4.5   Nulresultatet nås alene ved hjælp af ”regnefejl” (nyt)                                28
      5.   FEJL OG MANGLER VISER, AT DER IKKE ER HANDLET AKTIER                                         30
            5.1   Der er ingen dokumentation for, at pensionsplanernes custodians (”Solo-gruppen”) har
                  besiddet aktier                                                                       30
            5.2   Pensionsplanerne henviser til intern bogføring hos deres custodians (”Custody
                  Statements” – bilag 10)                                                               32
            5.3   Efterfølgende udarbejdede oversigter over bogføringer beviser ingenting               33
            5.4   Broker Confirmations (bilag 11) dokumenterer ikke ejerskab                            34
                  5.4.1       Brokere gennemfører ikke handlen (nyt)                                    34
                  5.4.2       Der er flere uoverensstemmelser mellem de påståede aktiebesiddelser og
                              handelsnotaerne (nyt)                                                     35
                  5.4.3       Konkrete eksempler på fejl i handelsnotaer                                36
            5.5   Der er ikke dokumentation for gennemførte handler                                     41
            5.6   Vilkår for settlement er ikke markedskonforme                                         42
            5.7   Handlerne (og fortjenesten)                                                           44
            5.8   Det er udokumenteret, at nettoudbytte og refusion ædes op af omkostninger             45
            5.9   Custody Agreement er ikke blevet overholdt                                            45
      6.   SYSTEMATIKKEN VISER, AT DET HAR VÆRET EN SKRIVEBORDSØVELSE                                   47
            6.1   Alle pensionsplaner køber samme dag og til samme pris (nyt)                           48
            6.2   Størrelsen på aktiebesiddelser er systematiseret                                      49
            6.3   Pensionsplaner har næsten ens aktieporteføljer (nyt)                                  51
            6.4   Alle pensionsplaner handler med de samme parter (nyt)                                 52
            6.5   Salgstidspunkt er systematiseret (nyt)                                                53
            6.6   Sanjay Shah kontrollerede pensionsplanernes custodians (Solo-gruppen)                 55
            6.7   Custodian: Sanjay Shahs ”univers”                                                     56
            6.8   Credit Advices er nummereret fortløbende på tværs af Solo-gruppen                     57
            6.9   Credit Advices fra Solo-gruppen blev anvendt til forsøg på svindel i 2017             60
            6.10 Pensionsplanerne har fastholdt, at handlerne ikke blev styret centralt                 61
            6.11 To pensionsplaner har glemt at ansøge om refusion (nyt)                                62
      7.   FORMALIA                                                                                     64
            7.1   Bevisbyrde                                                                            64
            7.2   Annullation eller tilbagekaldelse – ugyldige afgørelser kan tilbagekaldes             66
      8.   PENSIONSPLANERNES BETRAGTNINGER                                                              68
            8.1   Pensionsplanernes pengemaskine                                                        68
            8.2   Én aktie kan have flere ejere                                                         68


 Sagsnr. XX-XXXXXXX                                Side 156/239
Case 1:18-md-02865-LAK                   Document 836-47                 Filed 06/27/22           Page 254 of 462




             8.3     Short-selling medfører, at der er flere aktier på markedet end udstedt af selskabet 68
             8.4     1 udbytteskat kan føre til 2 refusioner                                               69
             8.5     Sagen handler om jura                                                                 69
             8.6     Det er umuligt at svindle med aktiehandler                                            70
             8.7     Skiftende forklaringer 1: Pensionsplanernes ”afgørende” beviser ændrer karakter       70
             8.8     Skiftende forklaringer 2: Uoverensstemmelser i forklaringer om sikkerhedsstillelse og
                     udbetaling af refusion                                                                72
             8.9     Skiftende forklaringer 3: Pensionsplanernes konti                                     72
             8.10    Skiftende forklaringer 4: Manglende bevismateriale                                    73
             8.11    Manglende forbindelse til VP Securities og settlement ved netting                     73
             8.12    Aktielåntager vil stille sikkerhed på markedsværdien                                  74
             8.13    Spekulation om, hvorvidt Pinsent Masons har rådgivet Solo Capital                     75


   1.   INDLEDNING

        Udover pensionsplanerne i de 6 førersager repræsenterer TVC Advokatfirma mere end 100 ameri-
        kanske pensionsplaner, som alle har deltaget i fuldstændig samme set-up og med samme kreds af
        aktører.

        På baggrund af påstået ejerskab til danske aktier har pensionsplanerne hver især fået udbetalt mange
        millioner kr. i refusion af indeholdt udbytteskat – i de seks førersager fra 1,2 mio. kr. til 70,9 mio. kr.

        Pensionsplanerne kan ikke dokumentere, at de har ejet de påståede aktier, og at de har modtaget
        (netto)udbytte herfra, (…). Og pensionsplanernes helt identiske historie er urealistisk på et konkret
        såvel som et generelt plan.

        Der er tale om nystiftede pensionsplaner, som ikke havde nogen penge eller nogen kreditværdig-
        hed i øvrigt. Alligevel påstår de at have købt danske aktier for mange hundrede millioner kr. (og i
        mange tilfælde endda milliarder kr.). Pensionsplanerne påstår, at de har finansieret de påståede ak-
        tiekøb ved aftaler om aktieudlån og forwards, men det kan de ikke dokumentere. Bl.a. er der ikke
        dokumentation for pengestrømme, og det er derfor ikke muligt at se, hvor pengene til aktiekøbene
        skulle være kommet fra, eller hvor de ryger hen, (…).

        Enhver, der køber aktier, vil naturligvis sikre sig selv dokumentation for at have ejet aktierne, men
        det har pensionsplanerne åbenbart ikke gjort.

        Det er helt urealistisk, at én nystiftet pensionsplan uden penge og kreditværdighed har kunnet skaffe
        ekstern finansiering til at foretage så massive investeringer. Og det er endnu mere urealistisk, at det
        samme skulle kunne lade sig gøre for mere end hundrede nystiftede pensionsplaner uden penge og
        kreditværdighed.

        Dertil kommer, at pensionsplanerne ikke kan dokumentere, hvor deres påståede massive gevinster
        er blevet af.

        Den samlede fortjeneste ved hver aktiehandel (inkl. transaktioner ved aktieudlån og forwards) svarer
        præcist til den udbetalte refusion, og hele gevinsten tilfalder pensionsplanerne. Det illustrerer ganske
        klart, at set-up’et ifølge pensionsplanerne har det ene formål at opnå en uberettiget refusion, som
        kun pensionsplanerne selv får udbytte af. De andre aktører i set-up’et (aktiesælgere, aktiekøbere,
        aktielåntagere og forward-medkontrahenter) bidrager – ifølge pensionsplanernes historie – med ak-
        tier, penge og risikoafdækning, men får ikke del i gevinsten. Det er altså et set-up fuldstændig uden

 Sagsnr. XX-XXXXXXX                                     Side 156/239
Case 1:18-md-02865-LAK                 Document 836-47                Filed 06/27/22            Page 255 of 462




      forretningsmæssigt rationale for de øvrige aktører. Forretningsmæssige aftaler indgås for, at begge
      parter kan opnå fortjeneste ved aftalen. Her har andre aktører i meget betydelige aktiehandler altså
      deltaget uden at få andel i gevinsten i tusindvis af tilfælde.

      Pensionsplanerne har fremlagt flere tusinde siders bilagsmateriale. Men ingen af dem har fremlagt
      sine egne kontoudtog. I det hele taget er sagskomplekset kendetegnet ved en total mangel på doku-
      mentation for pengebetalinger og overførsler.

      Bilagsmaterialet er både mangelfuldt og fejlbehæftet, hvilket – om end naturligt, når der er konstru-
      eret et så omfangsrigt og fiktivt set up – i sig selv er mistillidsskabende, når der er tale om materiale,
      som angiveligt skulle dokumentere aktiehandler for mange milliarder kr.

      Én ting kan dog også udledes af det samlede bilagsmateriale; der er tale om helt systematisk og cen-
      tralt koordineret svindel med refusioner af indeholdt udbytteskat. Systematikken i forbindelse med
      de påståede aktiehandler viser ganske tydeligt, at der er tale om fiktive handler kamufleret ved rene
      skrivebordsmanøvrer.

      Pensionsplanernes historie hænger ganske enkelt ikke sammen og har ikke hold i den virkelige ver-
      den. Pensionsplanernes egne forklaringer er da heller ikke konsekvente, men skifter alt efter, hvad
      der passer bedst ind i deres historie.

      2.       SAGERNE I HOVEDTRÆK

      De administrative sager angår spørgsmålet om, hvorvidt pensionsplanerne var berettigede til refu-
      sion af indeholdt udbytteskat. Sagerne angår - ikke
                                                       - tilbagebetaling af udbetalte beløb. Spørgsmålene
      om tilbagebetaling af beløbene verserer ved de amerikanske retssager, som Skattestyrelsen har an-
      lagt med bl.a. alle pensionsplaner repræsenteret af TVC Advokatfirma, herunder de seks førersager.
      Tilbagebetalingsspørgsmålet vil således blive afgjort ved de civile søgsmål.

      2.1      Sagskompleks med svindel for 12,7 mia. kr.

      Sagskomplekset omhandler systematisk svindel med refusion af indeholdt udbytteskat fra 2012 til
      2015, hvilket har resulteret i, at den danske stat er blevet snydt for samlet ca. 12,7 milliarder kr.

      Der er tale om bl.a. 277 amerikanske pensionsplaner, som har anmodet om – og fået udbetalt – re-
      fusion af indeholdt udbytteskat. Pensionsplanerne ejede imidlertid ikke de pågældende aktier og har
      derfor ikke modtaget (netto-)udbytte. De var derfor heller ikke berettiget til de omhandlede refusio-
      ner.

      Pensionsplanerne mv. har i flere tilfælde tilsammen tilbagesøgt udbytteskat i en størrelsesorden, der
      ganske enkelt er umulig.

      Hvis alle refusionsanmodningerne lægges til grund, vil de f.eks. omfatte mere end halvdelen af ak-
      tierne (A og B) i A.P. Møller – Mærsk A/S. Det kan umuligt være rigtigt, idet kendte, danske fonde i
      sig selv ejer over halvdelen af de samlede aktier. Dertil kommer aktier ejet af andre professionelle
      investorer.

      Et andet eksempel på, at refusionsanmodningerne ikke kan lægges til grund, er aktiebesiddelser i
      Tryg A/S. I 2015 foretog Tryg udlodning og indeholdt i den forbindelse (korrekt) cirka 123 millioner
      kr. i udbytteskat. Efterfølgende er der med henvisning til ejerskab til aktier i Tryg A/S blevet anmodet
      om refusion af indeholdt udbytteskat på samlet ca. 151 millioner kr. Heraf har pensionsplanerne til-


 Sagsnr. XX-XXXXXXX                                  Side 156/239
Case 1:18-md-02865-LAK                Document 836-47                Filed 06/27/22           Page 256 of 462




      bagesøgt samlet ca. 136 millioner kr. Der er altså ansøgt om – og udbetalt – langt mere i refusion,
      end der har været indeholdt. Det siger sig selv, at der aldrig kan være krav om refusion af mere, end
      der har været indeholdt. Det bemærkes, at det jo langt fra er alle aktionærer, der er berettiget til
      refusion.

      Der er med andre ord utvivlsomt svindlet med refusionsanmodningernes oplysninger om ejerskab til
      danske aktier.

      (…)

      2.3      Pensionsplanernes påståede set-up

      Pensionsplanerne har i deres 5 indlæg og på kontormøderne forklaret deres set-up. Alle pensionspla-
      nerne har anvendt samme model og i vidt omfang handlet samme aktier på samme tidspunkter.

      Som eksempel på det forklarede set-up kan anvendes den mindste af prøvesagerne – [pensionsplan
      A]. [Pensionsplan A] foretog ét påstået aktiekøb, nemlig 2.987.462 aktier i TDC A/S. Aktierne blev
      ifølge pensionsplanen erhvervet den 7. august 2014 for 153.406.173,70 kr.

      Transaktionerne kan opsummeres som følger (…):

      (…)

      [Pensionsplan A] gør gældende (jf. (…)), at pensionsplanen den 7. august 2014 købte ca. 2,9 mio.
      aktier i TDC for ca. 153 mio. kr. [Pensionsplan A] foretog dette køb uden at have kapital og uden at
      have sikret finansiering på aftaletidspunktet.

      Samme dag – den 7. august 2014 – fandt [Pensionsplan A] en medkontrahent (en forward counter-
      party), som var indstillet på at kurssikre en aktiepost på 2,9 mio. aktier i TDC til en kursværdi på ca.
      153 mio. kr. Denne forward counterparty blev således lovet kursstigningerne på aktien, men skulle
      til gengæld dække eventuelle kursfald. Forward counterparty skulle nødvendigvis være meget sol-
      vent. Kursudsving på f.eks. 10 % (ca. 15,3 mio. kr. i dette tilfælde) er ikke unormale (…), og denne
      aftalepart skulle dermed kunne bære meget betydelige tab. I det konkrete tilfælde faldt aktiekursen
      for TDC i aftalens løbetid, og forward counterparty realiserede et tab på ca. 16 mio. kr. (…).

      Fem dage senere – den 12. august 2014 – udlånte [Pensionsplan A] de 2,9 mio. aktier. Låntageren
      indvilgede i at stille en kontant sikkerhed, der svarede netop til aktiekursen den 7. august 2014 (dvs.
      på købstidspunktet), selvom aktiekursen – bl.a. pga. en udlodning af 1,5 kr. pr. aktie – naturligvis
      havde ændret sig siden.

      Låntageren stillede 153 mio. kr. til rådighed i rede penge for lån af aktierne. Låntager krævede ikke
      sikkerhedsstillelsen reguleret i forhold til dagsværdien af aktierne, selvom låneaftalen (GMSLA’en)
      standardmæssigt gav mulighed herfor (…). Sikkerhedsstillelsen svarede til 51,35 kr. pr. aktie, selvom
      aktiekursen den 12. august 2014 varierede mellem 47,67 kr. og 48,28 kr. (…). Cirka 3 kr. pr. aktie –
      eller i alt 9 mio. kr. – var dermed overkurs på tidspunktet for sikkerhedsstillelsens udbetaling.

      Dagen efter – den 13. august 2014 – skulle [Pensionsplan A] betale sælger for aktierne for at få disse.
      Og pensionsplanen skulle levere aktierne til aktielåntager for at få den kontante sikkerhedsstillelse.
      Sikkerhedsstillelsen fra aktielåntager matchede købesummen, så transaktionerne gik lige op og blev
      ifølge pensionsplanerne gennemført.



 Sagsnr. XX-XXXXXXX                                 Side 156/239
Case 1:18-md-02865-LAK                 Document 836-47               Filed 06/27/22            Page 257 of 462




      Samme dag modtog [Pensionsplan A] nettoudbyttet på ca. 3,2 mio. kr.

      Den 5. november 2014 afhændede [Pensionsplan A] aktieposten for ca. 134 mio. kr. Forward-aftalen
      blev lukket til samme kurs, og aktielånet blev afviklet.

      Den 12. november 2014 anmodede (… på vegne af [Pensionsplan A] om refusion af indeholdt udbyt-
      teskat. Anmodningen blev sendt til SKAT, att. Sven Nielsen. Vedlagt anmodningen var en udfyldt blan-
      ketansøgning, fuldmagt (Power of Attorney), Credit Advice udstedt af Old Park Lane og Form 6166
      fra IRS.

      Den 28. november 2014 fik pensionsplanen refunderet ca. 1,2 mio. kr. fra SKAT.

      2.4      Det påståede set-up ville aldrig kunne anvendes i virkeligheden

      Modellen hænger efter Skattestyrelsens vurdering ikke sammen. Det påståede set-up er simpelthen
      umuligt. Pensionsplanernes egen forklaring om, hvad der er sket, kan derfor ikke lægges til grund.

      Som det fremgår, var [Pensionsplan A] afhængig af, at aftalerne flaskede sig fuldstændigt. Hvis ikke
      det skete, ville [Pensionsplan A] stå tilbage med risici, som pensionsplanen ubestridt ikke kunne
      bære.

      [Pensionsplan A] skulle for det første finde en aktiesælger, der ville handle aktier for over 150 mio.
      kr. med en pensionsplan uden kapital og kreditværdighed og uden styr på finansiering på handels-
      tidspunktet (aktierne blev jo først udlånt flere dage senere). Derudover skulle sælger være villig til på
      den ene side at give afkald på en eventuel kursgevinst opstået i perioden fra aftaleindgåelsen til sett-
      lement (idet en sådan kursstigning jo ville tilfalde pensionsplanen), mens sælger på den anden side
      skulle beholde risikoen for kursfald i samme periode, hvis pensionsplanen misligholdt købsaftalen
      (fordi pensionsplanen ikke havde nogen penge).

      For det andet skulle [Pensionsplan A] samtidig finde en forward counterparty, der var i stand til at
      bære et meget betydeligt tab, idet et kursfald på f.eks. 10 % ville medføre et tab på 15,3 mio. kr.
      Denne forward counterparty skulle tro på, at aktiekurserne ville stige.

      Derudover skulle [Pensionsplan A] for det tredje finde en aktielåntager, som havde 153 mio. kr. til
      rådighed i likvide midler. Denne aktielåntagers formål med aktielånet måtte nødvendigvis være shor-
      ting, hvis der skulle være et forretningsmæssigt rationale bag. Aktielåntageren skulle altså tro på, at
      aktiekurserne ville falde.

      Tilmed skulle aktiesælger, forward medkontrahent og aktielåntager være indstillet på, at hele gevin-
      sten – som præcist svarede til refusionen – gik til pensionsplanen.

      Endelig var det nødvendigt, at custodian sikrede, at aktiekøbet og aktielånet blev gennemført samti-
      digt. Ellers kunne pensionsplanen jo hverken betale for aktierne eller udlåne dem.

      Det er helt usandsynligt, at hele denne kabale skulle kunne gå op for bare én pensionsplan for én
      aktiehandel.

      Pensionsplanerne repræsenteret af TVC Advokatfirma gør imidlertid gældende, at ikke bare én, men
      mere end 100 uafhængige pensionsplaner har benyttet netop denne samme fremgangsmåde for
      utallige million- og milliardhandler. I vidt omfang på de samme dage og med de samme aktier.



 Sagsnr. XX-XXXXXXX                                  Side 156/239
Case 1:18-md-02865-LAK                Document 836-47               Filed 06/27/22           Page 258 of 462




      Det er umuligt, at det har kunnet lade sig gøre i den virkelige verden. Pensionsplanernes omfattende
      bilagsmateriale dokumenterer ikke de påståede aktiehandler – tværtimod, jf. afsnit 3 og 5, nedenfor.
      Når bilagsmaterialet er så utroværdigt, som tilfældet er, bestyrker det jo handlernes fiktive karakter.
      Pensionsplanerne har således heller ikke bevist, at det har forholdt sig på den helt usandsynlige
      måde, som de påstår.

      Virkeligheden er, at pensionsplanernes historie alene er udtryk for bogføringsmæssige posteringer
      uden virkelige handler.

      3.       INGEN PENGE ELLER KREDITVÆRDIGHED, MEN AKTIER FOR MILLIARDER

      Det er ubestridt, at pensionsplanerne ikke selv havde penge til at finansiere de påståede massive
      opkøb af danske aktier. Aktierne kunne altså kun købes gennem ekstern finansiering.

      Det er således et grundlæggende nødvendigt – men ikke tilstrækkeligt – moment i vurderingen af,
      om pensionsplanerne har løftet deres bevisbyrde for at have ejet de påståede aktier, om de har kun-
      net skaffe ekstern finansiering til køb af aktierne.

      Ifølge TVC Advokatfirma havde de nystiftede pensionsplaner ”let” adgang til finansiering af deres
      massive million- og milliardinvesteringer i danske aktier, (…).

      Pensionsplanerne påstår med andre ord, at de kunne finansiere deres million- og milliardinvesterin-
      ger uden at skulle have én krone op af lommen og uden at skulle stille nogen form for sikkerhed.

      Det passer jo ikke.

      Det siger sig selv, at pensionsplanerne ikke kan finansiere købet af de påståede aktier uden at have
      hverken penge eller kreditværdighed.

      Og når pensionsplanerne ikke har kunnet finansiere de påståede aktiekøb, kan pensionsplanerne hel-
      ler ikke – i den virkelige verden – have købt aktierne.

      3.1      Pensionsplanernes havde ikke nogen penge og har ikke modtaget nettoudbytter

      Pensionsplanerne er ”one-participant plans” (støttebilaget, afsnit 1.3), og det årlige indskud pr. del-
      tager er således ifølge IRS’ hjemmeside for 2016 begrænset til maksimalt $53.000 ($59.000 for del-
      tagere, der er ældre end 55 år), (…). Der er ikke fremlagt dokumentation for, at der faktisk er foreta-
      get sådanne indskud til pensionsplanen.

      Pensionsplanerne var derudover nystiftede¸ da de påbegyndte deres påståede meget massive inve-
      steringer i danske aktier.

      Ingen af pensionsplanerne har indsendt Form 5500 til IRS, og det kan derfor lægges til grund, at de
      hver især havde aktiver på maksimalt $250.000 ved afslutningen af hvert regnskabsår (plan year), jf.
      støttebilaget, afsnit 1.3.

      Alligevel påstår pensionsplanerne at have ejet aktier i danske C20-selskaber for meget store milli-
      onbeløb og i nogle tilfælde endda milliardbeløb (DKK).

      Det forhold, at pensionsplanerne ikke har indsendt Form 5500 til IRS, hvorfor det må lægges til grund,
      at de hver især alene havde aktiver for maksimalt $250.000 ved udgangen af deres regnskabsår (plan


 Sagsnr. XX-XXXXXXX                                 Side 156/239
Case 1:18-md-02865-LAK                  Document 836-47             Filed 06/27/22          Page 259 of 462




      year) understøtter ikke blot, at pensionsplanerne ikke havde et tilstrækkeligt kapitalgrundlag til at
      købe de massive påståede aktieposter, men også, at pensionsplanerne ikke har modtaget de påstå-
      ede nettoudbytter.

      I klageskrivelserne, s. 5, er det anført, at

               ”Det er ligeledes muligt at foretage udlodninger fra pensionskassen, med den virk-
               ning at aktiverne på regnskabsdagen var mindre end USD 250.000.”

      På et møde den 13. december 2017 har IRS imidlertid oplyst SKAT, at hvis en pensionsplan udlodder
      midler, skal pensionsplanen indberette udlodningen til IRS på Form 1099-R (…) med angivelse af, hvor
      meget der er udbetalt og til hvem. Pensionsplanerne har ikke indleveret denne Form 1099-R til IRS.

      Referat af SKATs møde med IRS den 13. december 2017 er fremlagt som (…).

      Pensionsplanerne har heller ikke fremlagt dokumentation for udlodninger fra pensionsplanen. Grun-
      den hertil er den simple, at pensionsplanerne ikke har modtaget de påståede nettoudbytter (og ef-
      terfølgende udloddet dem). Det skal understreges, at der er tale om pensionsplanernes eget doku-
      mentationsmateriale, idet de påståede udlodninger skulle være sket fra dem selv. Alligevel fremlæg-
      ger ingen af de over 100 pensionsplaner en sådan dokumentation.

      Det anføres i TVC Advokatfirmas klageskrivelser, (…), at der kan være en lang række konkrete årsager
      til, at pensionsplanernes aktiver har oversteget grænseværdien på $250.000 (i forhold til pligten til
      at indsende Form 5500 til IRS) i løbet af året, mens aktiverne på sidste regnskabsdag var mindre. I
      intet tilfælde redegøres der dog for, hvad der konkret har fået de enkelte pensionsplaners aktiver til
      at falde til under grænseværdien. Som mulige årsager nævnes, at gennemførte aktietransaktioner
      var gennemført på dette tidspunkt, at omkostninger i forbindelse med transaktioner reducerede ak-
      tiverne, og – som citeret ovenfor – at der kan være foretaget udlodninger fra pensionsplanerne.

      Der fremlægges imidlertid ingen dokumentation herfor.

      Det er stærkt underligt, at en part opstiller nogle mulighed for, hvordan han kan have handlet ---
                                                                                                       uden
      at ville og kunne fortælle, hvad han faktisk har gjort. Dette understreger, at pensionsplaner søger og
      søger efter mulige forklaringer, der kan redde deres sag.

      3.2      Pensionsplanerne har ikke haft adgang til ekstern finansiering

      Pensionsplanerne gør gældende, at de har finansieret aktiekøbene ved at låne aktierne ud mod kon-
      tant sikkerhedsstillelse (…). Købsaftalen og låneaftalen er blevet gennemført (settlet) samtidig (…),
      og pengene fra aktielåntager er blevet anvendt til at betale for aktierne.

      Forklaringen holder ikke. Der er ikke nogen, der vil indgå million-transaktioner – hverken handler
      eller aktielån – med en part, der ikke selv har nogen penge overhovedet.

      De fremlagte bilag dokumenterer da heller ikke finansiering. Der er ingen pengestrømme, og afta-
      ledokumenterne er utroværdige. I øvrigt er aftalerne end ikke på papiret blevet overholdt af pen-
      sionsplanerne:




 Sagsnr. XX-XXXXXXX                                  Side 156/239
Case 1:18-md-02865-LAK                Document 836-47                 Filed 06/27/22           Page 260 of 462




      3.2.1    GMSLA’erne er ikke troværdige

      Pensionsplanerne har som (…) fremlagt en række GMSLA’er. Pensionsplanerne er i de fleste tilfælde
      ikke angivet i GMSLA’erne som aftalepart, og der er ikke redegjort for, hvordan disse aftaler relaterer
      sig til de enkelte pensionsplaner.

      Medkontrahenterne ifølge GMSLA’erne er i alle tilfælde selskaber hjemmehørende i notoriske skat-
      telylande og på samme adresser på henholdsvis Cayman Islands og British Virgin Islands.

      De fremlagte GMSLA’er er i mange tilfælde ikke underskrevet af (alle) aftaleparter, og der er ikke
      truffet aftale om f.eks. valuta.

      Endvidere er GMSLA’erne udaterede, hvilket understøtter, at de blot er konstrueret til lejligheden.

      GMSLA’erne dokumenterer med andre ord på ingen måde, at pensionsplanerne derved havde mu-
      lighed for at skaffe tilstrækkelig likviditet til at finansiere de påståede aktieinvesteringer, og denne
      påståede tilførsel af likviditet er heller ikke dokumenteret ved kontoudtog.

      I brev af 26. oktober 2017 har IRS endvidere oplyst SKAT følgende om pensionskassernes muligheder
      for at finansiere aktiekøb med lånte midler (…):

               ”[…] given the size or magnitude of the purported funds borrowed from a third
               party or GMSLA, these arrangements are highly suspect. A typical first-year, one-
               participant pension plan or one- participant plan in existence for two or even three
               years would likely not have access to the millions of dollars required to collateralize
               the GMSLA used in these transactions.” (mine understregninger).

      Det er med andre ord ikke rigtigt, når pensionsplanerne påstår, at de til trods for deres beskedne
      egenkapital havde mulighed for at finansiere de påståede massive aktieinvesteringer.

      Ifølge pensionsplanerne muliggjorde GMSLA’erne finansiering af aktiekøb ved samtidigt aktieudlån
      til tredjemand mod kontant sikkerhedsstillelse. Levering af aktier til pensionsplanerne skete samtidig
      med, at betaling skete fra pensionsplanerne (”Delivery Versus Payment”), (…). Dette er ganske enkelt
      ikke en praktisk mulighed af den simple grund, at pensionsplanerne ubestridt ikke havde nogen
      penge. Og der er ikke nogen, der laver hverken GMSLA’er eller OTC-handler med en part, som hver-
      ken har penge eller kreditværdighed. Det siger sig selv.

      Af samme grund ville en aftalepart heller ikke tillade pensionsplanerne først at betale for aktierne
      efter købsdatoen, fordi der ikke er nogen sikkerhed for, at pensionsplanerne ville kunne opfylde så-
      danne aftaler.

      3.2.2    Den påståede finansiering var ikke på plads på aftaletidspunktet

      Om aktieudlånene anfører pensionsplanerne i (…), at aktielåntagerne ved konkrete aftaler forplig-
      tede sig ”til at stille sikkerhed i form af kontanter svarende til aktiernes markedspris, på datoen hvor
      pensionsplanerne indgik aftalen om køb af aktierne.”

      Det er altså pensionsplanernes forklaring, at aktieudlånsaftalerne altid blev indgået til samme kurs
      som de påståede aktiekøb.




 Sagsnr. XX-XXXXXXX                                  Side 156/239
Case 1:18-md-02865-LAK                 Document 836-47               Filed 06/27/22            Page 261 of 462




      Det er en helt usandsynlig fremgangsmåde. Hvis aktiekursen falder i perioden fra det påståede aktie-
      køb til aktieudlånets etablering, vil aktielåntager naturligvis kun stille sikkerhed i overensstemmelse
      med den mindre kursværdi på aktieudlånstidspunktet. Derved vil pensionsplanerne ikke få den kon-
      tante sikkerhed, som er nødvendig for at betale for aktierne. Hvis aktiekursen omvendt stiger, vil
      pensionsplanerne naturligvis betinge sig sikkerhedsstillelse i overensstemmelse med denne kursstig-
      ning. Dette følger da også af ”Marking-to-Market”-bestemmelsen i GMSLA’ens pkt. 5.4 (…).

      I (…), anfører pensionsplanerne:

               ”Aktielånene blev desuden først etableret efter udbyttedatoen.”

      I (…) uddybes dette:

               ”Aktierne blev betalt to henholdsvis tre dage efter købet ved at låne aktierne ud
               dagen efter udbyttedatoen og derved modtage en kontant sikkerhedsstillelse sva-
               rende til købsprisen for aktierne. De enkelte aktielån blev afviklet under rammeaf-
               talen GMSLA, der var indgået forud for aktiehandlen.”

      (…)

      Derudover giver det ikke mening, at pensionsplanerne – uden egenkapital – skulle have indgået af-
      taler om aktiekøb for mange millioner kr. (og i nogle tilfælde milliarder kr.), for først at forsøge at
      skaffe finansiering ved aktieudlån flere dage senere. Det er helt usandsynligt, at aktiesælger ville til-
      lade pensionsplanerne først at betale efter købsaftalens indgåelse (”Delivery Versus Payment”, (…)),
      når pensionsplanerne på købstidspunktet ikke engang havde finansieringen på plads. Det er endvi-
      dere helt usandsynligt, at custodian ville indestå for en sådan efterfølgende finansiering.

      3.2.3    Aktielånsaftalerne er ”indgået baglæns”

      Pensionsplanerne gør gældende, at de har finansieret aktiekøb gennem aktieudlån. Til belysning
      heraf har pensionsplanerne fremlagt bl.a. e-mails, som ifølge pensionsplanerne viser, hvordan afta-
      lerne om aktielån er blevet indgået.

      Pensionsplanerne har kun fremlagt eksempler på disse e-mailkorrespondancer, (…). Pensionspla-
      nerne blev i (…) opfordret til at fremlægge ”al korrespondance om aktielån”. Opfordringen er ikke
      besvaret.

      (…)

      3.2.4    GMSLA’erne er ikke blevet overholdt

      I aktielånsaftalerne (GMSLA’erne) fremgår et vilkår om, at sikkerhedsstillelsen dagligt kan reguleres
      til markedskurs (…). Vilkåret kaldes ”Marking-to-Market”.

      En sådan mulighed for daglig regulering af sikkerhedsstillelsen sikrer både aktielåntager og aktielån-
      giver mod for store risici. Så længe sikkerhedsstillelsen svarer til aktiernes kursværdi, har både ak-
      tielåntager og aktielångiver nemlig fuld sikkerhed. Hvis låntager ikke tilbageleverer aktierne, har lån-
      giver penge, der kan bruges til at foretage erstatningskøb. Hvis långiver ikke tilbagebetaler sikker-
      hedsstillelsen, kan låntager afhænde aktierne og opnå fyldestgørelse gennem provenuet. Når aktie-
      kursen ændrer sig, forsvinder denne balance. Hvis aktiekursen f.eks. stiger 10 %, har långiver ikke



 Sagsnr. XX-XXXXXXX                                  Side 156/239
Case 1:18-md-02865-LAK                Document 836-47                Filed 06/27/22           Page 262 of 462




      længere fuld sikkerhed for tilbagelevering af aktierne. Omvendt har låntager ikke fuld sikkerhed for
      tilbagebetaling af sikkerhedsstillelsen (dvs. pengene), hvis aktiekursen falder.

      Vilkåret om ”Marking-to-Market” er dermed centralt for at fastholde balancen mellem parterne og
      for at minimere parternes risici. Vilkåret giver nemlig mulighed for en løbende justering af sikker-
      hedsstillelsen, hvormed begge parter hele tiden har (næsten) fuld sikkerhed. Uafhængige parter vil
      selvfølgelig håndhæve et sådant vilkår løbende for ikke at stå tilbage med et usikret tilgodehavende.

      Et eksempel på vilkårets betydning er [Pensionsplan A’s] køb af TDC-aktier (…). Aktierne blev ifølge
      pensionsplanerne købt til kurs 51,35 den 7. august 2014 (inkl. udbytte på 1,5 kr. pr. aktie). Umiddel-
      bart efter oplevede TDC-aktien et meget markant kursfald (…). Den 12. august 2014 var kursen mel-
      lem 47,67 kr. og 48,28 kr. Den 3. november 2014 var kursen mellem 44,95 og 45,41 kr. (…).

      Aktielåntageren havde stillet kontant sikkerhed på 153.406.173,70 kr. den 12. august 2014. Allerede
      på det tidspunkt udgjorde aktiernes kursværdi (med dagens højeste kurs, 48,28 kr.) kun
      144.234.665,36 kr. Dermed havde aktielåntageren et usikret tilgodehavende på mere end 9 mio. kr.,
      som pensionsplanen ubestridt ikke havde midler til at dække.

      Da aktielånet blev afviklet den 5. november 2014, var kursen 45 kr. pr. aktie, og kursværdien var
      dermed 134.435.790 kr. (…). Det usikrede tilgodehavende var på det tidspunkt 18.970.383,70 kr.

      Som eksemplet viser, havde aktielåntager et meget betydeligt usikret tilgodehavende som følge af
      kursudviklingen. ”Marking-to-Market”-klausulen i GMSLA’en havde til formål at afværge sådanne ri-
      sici ved at foreskrive en løbende regulering af sikkerhedsstillelsen. Det havde været oplagt i et til-
      fælde som dette i overensstemmelse med den påberåbte GMSLA – at regulere sikkerheden i nedad-
      gående retning, hvormed aktielåntager ikke havde haft et usikret tilgodehavende.

      Det skete imidlertid ikke. Som det fremgår af (…), er der nemlig ikke bogført nogen betalinger ud fra
      ”Marking-to-Market”-klausulen på noget tidspunkt forud for den 5. november 2014, hvor hele ak-
      tielånsaftalen blev afviklet.

      Det betyder, at aktielåntager tilsyneladende accepterede at have et usikret tilgodehavende på mange
      millioner kroner fra den 12. august 2014 til den 5. november 2014. Det var på trods af, at tilgodeha-
      vendet var hos en pensionsplan, der ubestridt ikke havde nogen midler.

      Når en daglig regulering (Marking-to-Market, (…)) ikke blev foretaget i nogen tilfælde, må det være
      fordi, det ikke var nødvendigt – fordi der ikke var nogen aktier og dermed ikke nogen risici.

      TVC Advokatfirma anfører i (…), at GMSLA’ens pkt. 5.4 ikke finder anvendelse;

               ”Havde Skattestyrelsen læst bilag 1.3 til GMSLA, havde man set, at en sådan daglig
               regulering ikke var påkrævet, idet det ikke er pkt. 5.4, men derimod pkt. 5.5, der
               finder anvendelse.”

      TVC Advokatfirmas udsagn er ganske uforståeligt og må bero på en forkert læsning af GMSLA’erne.
      Udsagnet er i hvert fald forkert. Henvisningen til ”bilag 1.3 til GMSLA” er formentlig en henvisning til
      GMSLA’ernes ”Schedule”, pkt. 1.3.




 Sagsnr. XX-XXXXXXX                                 Side 156/239
Case 1:18-md-02865-LAK                 Document 836-47               Filed 06/27/22            Page 263 of 462




      I ”Schedule” til GMSLA’erne fremgår følgende af pkt. 1.3, (…):

       1.3     Basis of Margin Maintenance:

               Paragraph 5.4 (aggregation) shall not apply'

               Paragraph 5.4 (aggregation) applies unless the box is ticked .


      Som det fremgår, finder pkt. 5.4 anvendelse, medmindre boksen er tjekket af – hvilket den ikke er.
      Bestemmelsen i pkt. 5.4 om daglig regulering af sikkerhedsstillelsen fandt derfor anvendelse.

      3.2.5    Stock Lending Rate fastsættes arbitrært, og den aftalte Rate anvendes ikke (nyt)

      Pensionsplanerne kan ikke forklare, hvilke forhold der har betydning for beregningen af den i custody
      statement (…) anførte stock lending fee, som angiveligt er blevet betalt i forbindelse med aktieudlå-
      nene.

      I pensionsplanernes (…), anfører pensionsplanerne, at forholdet mellem aktielåntagerens og långive-
      rens (dvs. pensionsplanen) ”kapitalstyrke” har betydning ved forhandling af renten og aktielånsgeby-
      ret.

      Det er ikke rigtigt, hvis pensionsplanerne ellers med deres udsagn mener, at gebyret fastsættes efter
      forhandlingsstyrken.

      En gennemgang af de fremlagte custody statement (…) viser, at fastsættelsen af Stock Lending Rate
      ikke afhænger af, hvem der er aftalepart.

      Som (…) fremlægges som eksempel en oversigt over pensionsplaner repræsenteret af TVC Advokat-
      firma, der i 2015 udlåner A.P. Møller Mærk A/S A-aktier, (…). Oversigten er udarbejdet med data fra
      pensionsplanernes fremlagte custody statements (…). Bilaget viser, at Stock Lending Rate er den
      samme for de pensionsplaner, der udlåner aktien i det samme antal dage, uanset hvem pensionspla-
      nen udlåner aktien til.

      Samme resultat ses ved alle transaktionerne for alle pensionsplanerne, der udlåner den samme aktie
      i samme periode.

      Det er særdeles usandsynligt og fremstår konstrueret, at alle pensionsplaner indgår præcis den
      samme aftale med forskellige aftaleparter.

      Det viser, at Stock Lending Rate ikke er fastsat ud fra parternes kapitalstyrke og ud fra en forhandling
      af renten. Derimod er Stock Lending Rate fastsat for at få transaktionerne til at gå i 0, jf. afsnit 4.5.
      Pensionsplanernes udsagn er altså objektivt forkert.

      Dertil kommer en uoverensstemmelse ved [Pensionsplan B] udlån af 998.992 stk. Coloplast-aktier i
      2014. [Pensionsplan B] aftalte i mailkorrespondance med aftaleparten (…) en ”stock loan fee” på
      36,47 basispoint, dvs. 0,3647 % (…). I henhold til custody statement (…) var Stock Lending Rate imid-
      lertid 0,0173 %.

      Det giver ikke mening, at der anvendes en anden Stock Lending Rate end den, der er aftalt mellem
      parterne. Det illustrerer, at parternes papiraftaler alene er lavet for syns skyld. Hvis der havde været


 Sagsnr. XX-XXXXXXX                                  Side 156/239
Case 1:18-md-02865-LAK                 Document 836-47                Filed 06/27/22            Page 264 of 462




      rigtige aktier og penge involveret, ville parterne selvfølgelig have reageret på, at låneomkostningerne
      afveg fra det aftalte.

      4.       UREALISTISK SET-UP UDEN FORRETNINGSMÆSSIGT RATIONALE

      Det er urealistisk, at pensionsplanernes påståede set-up skulle kunne finde sted i den virkelige ver-
      den. I dette afsnit ser Skattestyrelsen bort fra den helt karakteristiske, totale mangel på dokumenta-
      tion, der præger alle pensionsplanernes sager.

      Som beskrevet i afsnit 2.4, ovenfor, er der alt for mange parter involveret i transaktioner, der skal
      flaske sig på én helt bestemt måde. Det er dybt urealistisk, at det ville ske én eneste gang, hvis der
      var tale om rigtige aktier og penge mellem uafhængige parter. Pensionsplanerne gør imidlertid gæl-
      dende, at det hele har flasket sig ved hver eneste aktiehandel for mere end 100 pensionsplaner. Det
      kan imidlertid kun lade sig gøre, hvis der ikke er penge eller aktier, og hvis parterne ikke er uafhæn-
      gige.

      Dertil kommer, at pensionsplanerne hver især har handlet aktieposter af en størrelse, som er helt
      ekstraordinær (afsnit 4.1, nedenfor). Selv hvis der bortses fra den manglende finansiering, er det
      tvivlsomt, om en enkelt pensionsplan ville kunne anskaffe sig så store aktieposter på én enkelt dag,
      eftersom handlerne hver især har et volumen, der er yderst unormalt på det danske aktiemarked.
      Det er indlysende, at så mange pensionsplaner ikke har kunnet købe så store aktieposter på samme
      dag. Det viser, at aktierne er fiktive.

      Pensionsplanerne har derudover i hvert enkelt tilfælde angiveligt haft en arbitragegevinst, der er
      præcis lig med udbytterefusionen (når der bortses fra gebyrer til brokere mv.), jf. afsnit 4.2, nedenfor.
      Det er meget bemærkelsesværdigt, at tallene på den måde passer sammen – og det sker i samtlige
      pensionsplaners tilfælde for samtlige handler. Det betyder, at alle transaktionerne giver 0 som resul-
      tat, hvis der ses bort fra udbytterefusionen. Det ville jo ikke ske, hvis der foregik rigtige handler mel-
      lem uafhængige parter (afsnit 4.4, nedenfor).

      En dybere analyse viser da også, at nulresultatet alene opnås, fordi en bestemt udgift (Stock Lending
      Fee) justeres til præcis den værdi, der gør, at det hele går i 0 (afsnit 4.5, nedenfor).

      Endelig må det konstateres, at det under alle omstændigheder er utænkeligt, at de påståede med-
      kontrahenter ville deltage i det set-up, pensionsplanerne har beskrevet, eftersom pensionsplanen
      oppebærer hele arbitragegevinsten uden at dele med de andre parter (afsnit 4.4).

      En systematisk gennemgang af pensionsplanernes påståede setup og ”dokumentation” viser således,
      at det er dybt urealistisk, at der skulle være foregået aktiehandler på den måde, som pensionspla-
      nerne hævder og som bilagene ellers viser.

      4.1      Der er handlet urealistisk store aktieposter

      [Pensionsplan C] erhvervede angiveligt 6.267.033 B-aktier i Novo Nordisk A/S den 19. marts 2015.
      Aktierne blev købt fra brokeren (…) til i alt 2.142.698.582,7 kr., svarende til 341,90 kr. pr. aktie.

      [Pensionsplan C] blev stiftet i september 2014, og pensionsplanen har ikke gennem Form 5500 oplyst
      om aktiver med samlet værdi på mere end $ 250.000 til de amerikanske skattemyndigheder (…). Det
      er dybt urealistisk, at en sådan pensionsplan uden aktiver af nævneværdig betydning skulle købe
      aktier for mere end 2,1 mia. kr. i et dansk børsnoteret selskab.



 Sagsnr. XX-XXXXXXX                                  Side 156/239
Case 1:18-md-02865-LAK                Document 836-47                Filed 06/27/22           Page 265 of 462




      Derudover er det urealistisk, at det skulle være muligt at erhverve en så stor aktiepost på én dag. Det
      er meget sjældent, at så store aktieposter sættes til salg på én gang. Da dødsboet efter Mærsk Mc-
      Kinney Møller skulle sælge aktier for op til 3,9 mia. kr., skete det gennem accelereret bookbuildling
      – ikke på det frie marked (…).

      Alligevel kunne den pågældende pensionsplans broker, (…), fremskaffe aktieposten med en kurs-
      værdi på cirka 2,1 mia. kr.

      [Pensionsplan C] er langt fra den eneste pensionsplan, der påstår at have erhvervet Novo Nordisk-
      aktier for ca. 2 milliarder kr. den 19. marts 2015.

      Ud af de over 100 pensionsplaner, der er repræsenteret af TVC Advokatfirma – og som har fremlagt
      custody statement (…) – har 76 pensionsplaner ifølge deres custody statements (…) købt aktier i Novo
      Nordisk A/S den 19. marts 2015. Pensionsplanerne har hver købt mellem 5,7 millioner aktier og 7,1
      millioner aktier (svarende til Novo Nordisk-aktier for ca. 2 milliarder kr. for hver pensionsplan).

      Samlet har disse 76 pensionsplaner erhvervet 482 mio. aktier i Novo Nordisk samme dag. Der var i
      alt 2.113 millioner B-aktier i selskabet, og pensionsplanerne repræsenteret af TVC Advokatfirma har
      dermed erhvervet mere end 22 % af Novo Nordisk-aktierne på én dag.

      Det giver simpelthen ikke mening.

      Dels har pensionsplanerne ikke haft råd til det. Og dels vil det ganske enkelt ikke være praktisk muligt
      at finde sælgere af så mange aktier på én dag.

      Alle aktierne blev erhvervet til samme kurs, nemlig 341,9 kr. pr. aktie, hvilket var markedets lukkekurs
      den pågældende dato, hvor kursen havde varieret mellem 335 og 342 kr. (…). Næste dag åbnede
      aktien med kurs 341,7 kr.

      Det er i sig selv påfaldende, at alle pensionsplanerne erhvervede Novo Nordisk-aktierne til præcis
      samme kurs. Derudover siger det sig selv, at det ikke er muligt at opkøbe så mange aktier i markedet
      på én dag, uden at det påvirker prisen voldsomt. En så massiv efterspørgsel ville selvfølgelig føre til
      en markant kursstigning. Når markedskursen har været upåvirket af så massive handler på én dag,
      skyldes det selvfølgelig, at handlerne faktisk ikke har fundet sted.

      Novo Nordisk-aktien i 2015 er ikke det eneste sted, hvor der ifølge refusionsanmodningerne til SKAT
      skulle have fundet meget betydelige opkøb sted. Skattestyrelsen har foretaget en analyse af samtlige
      refusionsanmodninger omfattet af sagskomplekset (jf. støttebilaget, afsnit 5). Analysen viser, at de
      ukendte pensionsplaner, selskaber, mv. tilsammen – ifølge deres refusionsanmodninger – skulle have
      ejet nogle helt urealistisk store andele af danske børsnoterede selskaber omkring udbyttedatoen (…).

      Eksempelvis fremhæves følgende ejerandele til pensionsplanere:

                                 På udlodningstidspunktet i 2014
                                 A.P. Møller                  51,4 %
                                 Novo Nordisk                 59,5 %
                                 TDC (august-udlodningen)     78,4 %

                                 På udlodningstidspunktet i 2015
                                 Carlsberg                    58,5 %
                                 Danske Bank                  65,3 %


 Sagsnr. XX-XXXXXXX                                 Side 156/239
Case 1:18-md-02865-LAK                       Document 836-47                   Filed 06/27/22            Page 266 of 462




                                       Novo Nordisk                        61,7 %
                                       TDC (marts-udlodningen)             79,7 %

      Det vil altså sige, at f.eks. 65,3 % af aktierne i Danske Bank skulle have været ejet af ukendte, uden-
      landske pensionsplaner mv. omkring udbyttedatoen i 2015. Det er selvfølgelig ikke rigtigt.

      4.2            Pensionsplanernes fortjeneste svarer præcis til udbytterefusionen

      Det fremgår af (…), som eksempel, at sælger og købers samlede arbitragegevinst – som svarer til
      refusionen – fordeles med 87,5 % til sælger og 12,5 % til køber (pensionsplanerne). Eksemplet hæn-
      ger ikke sammen med de bilag, som pensionsplanerne har fremlagt.

      Som eksempel kan fremhæves [Pensionsplan D’s] køb af Danske Bank-aktier (…), der er repræsenta-
      tivt. Heraf fremgår følgende transaktioner, der angår køb/salg af aktier, lån og forwards:

       ts. Marts         Equity        Buy 3. ~19.'Jb/ llanske Bank A/S @ 175,3 IJKK                                           -617 .05<J. 115,10
       18. Mar 15        Forwa rd      Se ll 3.519 .967 Danske BankA/S @171,2147 DKK EXPIRES 19.Jun 15

       19. Mar 15        Div ide nd    CAS H DIV IDEND Danske Bank A/S PD23 .Mar15                          14.132. 667,50
       70. Mar15         Stock loan    Lend 3.~19.%/ Danske Bank A/5 @1/5,3 DKK                           617.050. J1 5,10
       22. Ma i 15       Dividend      Tax Recla im Danske BankA/5                                         5.227.151,00
       02. Jun 15        [quity        Sell 3. 519.967 Danske Bank A/S @ 198 DKK                         696. 953. 466,00
       02. Jun 15        Forwa rd      Buy 3.519.967 Danske Bank A/5 @ 197,9673 DKK EXPIRES 19.Jun 15                         -94.168. 269,17
       oz. Jun 1~        SIDClcLoan    Recall 3.519.967 Danske Bank A/S @ 198 DICK                                           -b9b.9~.4bb,(l(}
       02. Ju n 15       Stock Loa n   Stockloan MTM Real ized                                            79.903. 250,90
       02. Jun 15        Stodc Loan    StocklendWJC Fee                                                      132.350,77


      Når disse ”pengestrømme” lægges sammen, fremkommer resultatet af aktiekøb, aktiesalg, aktielån
      og forward-aftale samt nettoudbytte og refusion for pensionsplanen. Resultatet af disse transaktio-
      ner er en fortjeneste for [Pensionsplan D] på 5.227.151,00 kr.

      Det svarer helt nøjagtigt til refusionen (”Tax Reclaim Danske Bank A/S” i tabellens 5. linje, ovenfor).

      Pensionsplanens fortjeneste er altså lig med udbytterefusionen. Dog betales enkelte mindre gebyrer
      til brokers (…), tax reclaim agent (…) og for brug af platformen (…).

      Det betyder, at hvis ikke refusionen medregnes, går alle transaktionerne altså samlet i 0.

      Og samme 0-resultat (før refusionen) genfindes for hver enkelt af de 6 førersager (…)

      (…)

      Og ud fra custody statements (…) kan samme resultat ses ved alle transaktioner for alle pensionspla-
      nerne.

      I alle tilfælde er det dermed pensionsplanen, der oppebærer hele arbitragegevinsten – som nøjagtigt
      svarer til udbytterefusionen. Også dette forhold dokumenterer i sig selv, at pensionsplanerne har
      påberåbt sig ret til udbytterefusion på et opdigtet grundlag.



      4.3            Der er intet forretningsmæssigt rationale bag de påståede transaktioner (nyt)

 Sagsnr. XX-XXXXXXX                                          Side 156/239
Case 1:18-md-02865-LAK                Document 836-47                Filed 06/27/22           Page 267 of 462




      Pensionsplanerne gør gældende, at de alle har anvendt investeringsstrategien ”udbyttearbitrage”
      (…):

               ”Ved at købe aktien, modtage nettoudbyttet samt refusion af indeholdt udbyt-
               teskat og sælge aktien igen til en lavere pris (aktieprisen falder efter udbetaling af
               udbytte) kunne pensionsplanen realisere en gevinst. Det var denne gevinst, der var
               formålet med hele transaktionen.” (…)

               ”Udbyttearbitrage er en lavrisikoinvesteringsstrategi, der forårsages af, at et ud-
               bytte på grund af forskellige dobbeltbeskatningsoverenskomster ikke har den
               samme værdi for enhver investor. Investorer uden en dobbeltbeskatningsaftale vil
               søge at sælge deres aktier til markedet inden udbyttedatoen, mens investorer med
               gunstige betingelser i dobbeltbeskatningsoverenskomsterne vil søge at købe aktier
               inden udbyttedatoen. De forskellige ønsker i forhold til køb og salg fører umiddel-
               bart til prisforskelle på de forskellige markeder (spot- og futuremarkedet) for
               samme aktie. Det er denne forskel, som udbyttearbitragen benytter med henblik
               på at realisere en gevinst.” (…)

      Pensionsplanerne gør således gældende, at der kan opnås en gevinst ved handel af aktier omkring
      udbyttedatoen, fordi aktieudbyttet ikke har samme værdi for alle investorer, idet nogle investorer
      skal betale udbytteskat, mens andre ikke skal. Den påståede arbitragegevinst – som opnås ved handel
      på forskellige markeder og et komplekst set-up af transaktioner mellem mange parter – er dermed
      højst den udbytteskat, som kan spares.

      Den samlede gevinst for alle deltagere i udbyttearbitrage kan derfor ikke være mere end udbyttere-
      fusionen (den sparede skat).

      Skattestyrelsen bestrider helt overordnet, at udbyttearbitrage skulle være en anerkendt investerings-
      strategi, som kan fungere som en ren pengemaskine. Der er ingen dokumentation for, at aktie- og
      spotmarkedet skulle opføre sig, som TVC Advokatfirma påstår.

      Selv hvis udbyttearbitrage var en mulig investeringsstrategi, hænger pensionsplanernes dokumenta-
      tion ikke sammen.

      Den påståede investeringsstrategi kræver, at en lang række parter involveres:

                    Part                        Ydelse
                    Sælger                      Leverer aktierne
                    Pensionsplanen              ?
                    Køber                       Aftager aktierne.
                    Aktielåntager               Leverer finansiering.
                    Forward-køber/-sælger       Afdækker kursrisici.
                    Custodian                   Indestår for solvens og gennemførsel af transaktioner.

      Som det fremgår, byder hver part – bortset fra pensionsplanen – efter det oplyste ind med noget,
      der er nødvendigt, for at transaktionerne kan gennemføres med det ønskede resultat. Det siger der-
      for sig selv, at alle parter skal have en del af fortjenesten, før det giver mening for dem at indgå i
      arbitrageforretningen. Ellers er der intet forretningsmæssigt rationale for dem for at deltage i dette
      set-up, der naturligvis medfører en række risici, f.eks. medkontrahenters misligholdelse og medkon-
      trahenters insolvens.


 Sagsnr. XX-XXXXXXX                                 Side 156/239
Case 1:18-md-02865-LAK                Document 836-47               Filed 06/27/22           Page 268 of 462




      Som det fremgår i afsnit 4.2, ovenfor, giver arbitrageforretningen pensionsplanen et positivt resultat,
      der er lig med udbytterefusionen. Det er den samlede, maksimale gevinst for udbyttearbitragefor-
      retningen. Og den oppebærer pensionsplanen alene.

      Pensionsplanen deler dermed ikke arbitragevinsten med nogen. Det betyder, at ingen øvrige parter
      får nogen gevinst ud af at deltage i dette set-up – bortset fra de små fees, som de får for gennemfør-
      sel af transaktioner.

      Ingen af de øvrige parter har dermed noget forretningsmæssigt incitament til at indgå i arbitragefor-
      retningen. Det gælder for samtlige af de handler, som pensionsplanerne repræsenteret af TVC Advo-
      katfirma påstår at have indgået og har fremlagt ”dokumentation” for.

      De øvrige parter ville derfor ikke have deltaget i dette set-up, hvis der var tale om rigtige handler.
      Også af den grund er det helt urealistisk, at handlerne skulle have fundet sted.

      4.4      Nulresultatet ved investeringerne er dybt usandsynligt

      Som anført i afsnit 4.2, ovenfor, er det påfaldende, at pensionsplanernes fortjeneste er helt lig med
      udbytterefusionen, når der tages højde for

                     Aktiekøb og -salg
                     Forward-aftaler
                     Aktielån og låneomkostninger (Stock Lending Fee og Interest Rebate)
                     Nettoudbytte

      Alle disse transaktioner tilsammen giver helt præcis 0 kr. for alle påståede aktiehandler for alle pen-
      sionsplaner, der har fremlagt dokumentation.

      Et sådant resultat kan ikke opnås i virkeligheden, men kun som bogføringsmæssige posteringer, der
      koordineres fra centralt hold.

      Det er nemlig dybt usandsynligt, at gebyret i aktielånsaftalen skal svare netop til tabet/gevinsten ved
      forwardaftalen sammenlagt med kursudsvingene ved køb/salg i bare ét enkelt tilfælde. Og derfor er
      det selvfølgelig umuligt, at det konsekvent forholder sig sådan.

      4.5      Nulresultatet nås alene ved hjælp af ”regnefejl” (nyt)

      En bestanddel i nulresultatet er låneomkostningerne, som angiveligt afregnes over for medkontra-
      henten til aktielånet. Låneomkostningerne består af Interest Rebate og Stock Lending Fee.

      Stock Lending Fee burde beregnes ud fra en aftalt Stock Lending Rate, det lånte beløb og låneperio-
      dens længde, dvs. efter følgende formel:

                                        =                   ∗    ø ∗
                                                                       360     æ

      Der er imidlertid ingen tilfælde, hvor Stock Lending Fee er fastsat på denne måde. I stedet er Stock
      Lending Fee fastsat til netop dét beløb, der skal til, for at det samlede regnestykke giver 0. Stock
      Lending Fee er med andre ord beregnet som en variabel, der får regnestykket til at give 0.



 Sagsnr. XX-XXXXXXX                                 Side 156/239
Case 1:18-md-02865-LAK                              Document 836-47                                Filed 06/27/22                           Page 269 of 462




      Som eksempel kan fremhæves [Pensionsplan B’s] udlån af 998.992 stk. Coloplast-aktier i 2014. Heraf
      fremgår følgende af custody statement …):

       Sotdomont Date     Return Dato             Typo               Undor1ying             Nominal           Start Price   Start Cash                   End Price   End Cash



       09 December 2014   19 December 20 14       Lend               GOLOB DC               998,992           527,0000      526.468,7134.00              501.5000    -500,994,488.00



       Trada Date:,       Nomlnal                 Cash               Rc:,1umDa10            No, or oars       Rate          Stock Lcr'ld ing Foa         Rato        lnl(l(MI Rl'.lba!(l



       08 December 2014   998,992                 526,468,784.00     19 Deoombef 2014
                                                                                           0                <3 <a)                                       0.7000      -102,368.93




      Her udlånes angiveligt 526.468.784 kr. i 10 dage til en aftalt Stock Lending Rate på 0,0173 %. Dermed
      burde Stock Lending Fee være:
                                                                                                                            10
                            =                                ∗     ø ∗      360
                                                                                      = 0,0173 % ∗ 526.468.784 ∗ 360 = .                       ,   kr.

      Som det fremgår af custody statement ovenfor, er Stock Lending Fee imidlertid blevet fastsat til
      2.525,23 kr.

      Det er en afvigelse på 4,74 kr., hvilket jo forekommer ubetydeligt i handler, der involverer mange
      hundrede millioner kroner. Afvigelsen er imidlertid af stor betydning for det samlede billede.

      Afvigelsen kan nemlig findes ved alle pensionsplaners aktiehandler. Der er i alle tilfælde en ”regne-
      fejl”, som medfører, at transaktionerne (køb, salg, forward, lån, låneomkostninger og nettoudbytte)
      til sammen giver 0 kr.

      ”Fejlen” underbygger, at der ikke er tale om, at uafhængige parter har indgået aktiehandler og ak-
      tielånsaftaler. Derimod har nogen beregnet, hvordan transaktionerne skulle konstrueres, for at det
      samlede resultat ville blive 0.

      Det understøttes i øvrigt af, at Stock Lending Rate tilsyneladende er aftalt til en anden sats end den,
      der fremgår af custody statement (afsnit 3.2.5, ovenfor)

      Ved at ”regne baglæns” er det muligt at beregne Stock Lending Rate ud fra Stock Lending Fee, låne-
      beløbet og antallet af rentedage. For [Pensionsplan B’s] udlån af Coloplast-aktier (eksemplet ovenfor)
      giver det følgende ”faktisk” Stock Lending Rate:

                                                                                        2.525,23
                                              =                              =                              = 0,01726755370172150 %
                                                                                                      10
                                                         ø ∗                       526.468.784 ∗
                                                                   360                                360

      Stock Lending Fee stemmer dermed overens med en Stock Lending Rate, der næsten svarer til den
      Rate, der er angivet i Custody Statement (0,0173 %). Faktisk er Rate i Custody statement (formentlig)
      bare en afrunding af den Stock Lending Rate, der er blevet anvendt.

      Det giver imidlertid ingen mening kommercielt. For pensionsplanerne og deres medkontrahenter,
      aktielåntagerne, har jo aftalt en Stock Lending Rate – og den er selvfølgelig ikke aftalt med 15 deci-
      maler. Det er ud fra dén Rate, at Stock Lending Fee burde være fastsat. Det er ikke den anden vej
      rundt.

      Dermed er der tale om, at der ved udarbejdelsen af custody statement (…) er snydt på vægtskålen
      for at få transaktionerne til at gå i 0. Stock Lending Fee-beløbet er bare blevet fastsat til det beløb,

 Sagsnr. XX-XXXXXXX                                                      Side 156/239
Case 1:18-md-02865-LAK                 Document 836-47                Filed 06/27/22            Page 270 of 462




      der skal bruges for, at regnestykket giver 0. Dette er efterfølgende søgt kamufleret ved at sætte Stock
      Lending Rate til noget, der næsten giver det rigtige resultat.

      5.       FEJL OG MANGLER VISER, AT DER IKKE ER HANDLET AKTIER

      5.1      Der er ingen dokumentation for, at pensionsplanernes custodians (”Solo-gruppen”) har
               besiddet aktier

      Alle pensionsplaner repræsenteret af TVC Advokatfirma, bortset fra én, har anvendt en eller flere af
      følgende 4 custodians: Old Park Lane, Solo Capital, Telesto og West Point.

      (…)

      De fire custodians – Old Park Lane, Solo Capital, Telesto og West Point – benævnes samlet ”Solo-
      gruppen”. De fire selskaber er blevet kontrolleret af Sanjay Shah (afsnit 6.6, nedenfor), der efterfor-
      skes som en af de formodede hovedbagmænd i udbyttesagen.

      Solo-gruppen er kun kendt af Skattestyrelsen fra dette sagskompleks.

      Som custodians har Solo Capital, Old Park Lane, Telesto og West Point attesteret ejerskab til danske
      aktier, og at der er blevet indeholdt udbytteskat ved udlodning. Det er sket ved udstedelse af Credit
      Advices, som ifølge pensionsplanerne bekræfter besiddelse af en given aktiepost, modtagelse af ud-
      bytte for den pågældende aktiepost, og at der er blevet indeholdt udbytteskat. På baggrund af de
      pågældende Credit Advices (som pensionsplanerne indsendte med refusionsanmodningerne) har
      SKAT udbetalt refusion af indeholdt udbytteskat til pensionsplanernes agenter.

      Credit Advices udarbejdet af Solo-gruppen har ført til refusion af ca. 9 milliarder kr. ud af de i alt ca.
      12,7 milliarder kr., der er omfattet af svindlen:

                              Custodian                           Refusionsbeløb
                              Solo Capital Partners LLP             5.442.113.750
                              Old Park Lane Capital PLC                        k
                                                                    1.776.763.390
                              Telesto Markets LLP                  925.443.359 kkr.
                              West Point Derivatives Ltd           880.884.044 kr.
                              Hovedtotal                          9.025.204.543
                                                                             k
      Solo-gruppen skal dermed have besiddet aktier i et helt ekstraordinært stort (og urealistisk) omfang
      på vegne af pensionsplaner, hvis kunderne/pensionsplanerne skal have været berettiget til refusion
      i dette omfang. Solo-gruppen har ifølge de udstedte Credit Advices samlet modtaget og afregnet 24,4
      milliarder kroner i nettoudbytte til sine kunder.



      Der er imidlertid ingen dokumentation for, at Solo-gruppen har besiddet de aktier, som pensionspla-
      nen påstår at have ejet, og som Solo-gruppen har attesteret ejerskab til:

                     Ingen af de pågældende custodians (eller pensionsplanerne selv) er registreret i VP
                      Securities, og det er ikke på anden vis dokumenteret, at Solo-gruppen faktisk har



 Sagsnr. XX-XXXXXXX                                  Side 156/239
Case 1:18-md-02865-LAK                 Document 836-47               Filed 06/27/22            Page 271 of 462




                      besiddet aktieposter for pensionsplanerne, f.eks. ved at vise en kæde af sub-custo-
                      dians, hvor der er tilknytning til et depot i VP Securities.

                     Der er ikke fremlagt dokumentation for, at Solo-gruppen skulle have modtaget net-
                      toudbytte for aktieposter på vegne af sine kunder (pensionsplanerne). Nettoud-
                      byttet burde ellers udgøre 24,4 milliarder kroner.

                     For en række pensionsplaner, der har anvendt Solo-gruppen som custodians, har
                      Statsadvokaten for Særlig Økonomisk og International Kriminalitet (SØIK) i brev af
                      23. november 2017 oplyst SKAT, at SØIK ikke på baggrund af den på daværende
                      tidspunkt gennemførte efterforskning kunne bekræfte, at 66 konkrete pensionspla-
                      ner har modtaget aktieudbytte som følge af besiddelse af danske aktier. SØIK kunne
                      heller ikke bekræfte, at pensionsplanerne har besiddet danske aktier, herunder ved
                      henvendelse til VP Securities A/S (…). Erklæringen er blevet bekræftet den 12. juli
                      2019 (…).

                     Der er ikke fremlagt dokumentation for pengestrømme til/fra Solo-gruppen som
                      følge af de betydelige investeringer i danske aktier.

      Der er således ingen penge- eller aktiespor, som på nogen måde dokumenterer, endsige sandsynlig-
      gør, at Solo-gruppen skulle have besiddet én eneste aktie i danske selskaber på vegne af pensions-
      planerne.

      Alligevel har Solo-gruppen udstedt dokumenter (bl.a. Credit Advices), der har ført til refusion af over
      9 mia. kr. fra den danske stat på baggrund af påståede aktiebesiddelser.

      Solo-gruppens ”univers” er fiktivt og konstrueret af Sanjay Shah, og dokumenter udstedt af Solo-
      gruppen er derfor uden nogen bevismæssig betydning.

      5.2      Pensionsplanerne henviser til intern bogføring hos deres custodians (”Custody State-
               ments” – (…))

      Pensionsplanerne har som (…) fremlagt en custody statement udarbejdet af deres respektive custo-
      dians. [Pensionsplan C] har dog kun fremlagt custody statement for én af flere anvendte Shah-kon-
      trollerede custodians, hvilket også er kendetegnende for en række øvrige pensionsplaner.

      (…)

      Under alle omstændigheder kan de pågældende custody statements (…) ikke dokumentere ejerskab
      til aktier, idet bilagene ikke viser bevægelser og saldi vedrørende pensionsplanernes aktiebeholdnin-
      ger og penge (dvs. de aktiver, som custodian skulle have i forvaring).

      Af de fremlagte custody statements (…) fremgår således for det første ikke kontoudtog vedrørende
      pensionsplanernes kontantbeholdninger, der viser bevægelser og daglige balancer, herunder indsæt-
      ning og hævning af pengebeløb, udgående og indgående beløb vedrørende køb og salg af aktier,
      modtagelse af indtægter (f.eks. udbytte, refusion og renter) og betaling af fees til f.eks. brokere.
      De fremlagte custody statements indeholder for det andet ikke kontoudtog vedrørende pensionspla-
      nernes aktiebeholdninger, der for hver aktiepost viser navnet på aktieudstederen, antallet af aktier,
      stigning og fald i antallet af aktier (som følge af køb og salg af aktier) samt aktuel værdi af de pågæl-
      dende aktier (samt opgørelse af kursgevinst eller -tab).



 Sagsnr. XX-XXXXXXX                                  Side 156/239
Case 1:18-md-02865-LAK                Document 836-47                Filed 06/27/22           Page 272 of 462




      Da de fremlagte custody statements mangler disse helt centrale oplysninger, er det vildledende over-
      hovedet at betegne dem som ”custody statements”.

      Der er altså ikke med de fremlagte custody statements (…) – eller i øvrigt – fremlagt kontoudtog, der
      dokumenterer, at der faktisk er indsat penge på og trukket penge fra pensionsplanens konto, endsige
      at der faktisk er modtaget aktier på pensionsplanens aktiekonto.

      I det hele taget er der ikke dokumentation for, at der er sket overførsel af aktier til – og penge fra -
      pensionsplanens konto.

      Hvis penge og aktier ikke skifter hænder – hvilket vil fremgå af kontoudtog – er der ikke tale om en
      aktiehandel, men højest om svindel kamufleret som en aktiehandel.

      Hvis penge og aktier ikke skifter hænder, vil der heller ikke være noget formål med at have en custo-
      dian (udover at kamuflere svindlen).

      Det eneste ”bevis” i denne custody statement for, at der skulle være aktier og betalinger, er, at den
      pågældende Shah-kontrollerede custodian ”erklærer”, at aktien er der, og ”posterer” aktier/betalin-
      ger bogføringsmæssigt (internt). Ligesom Credit Advices fra disse Shah-kontrollerede custodians ikke
      er udtryk for nogen realitet, jf. afsnit 6.8-6.9, nedenfor, er deres interne bogføring det naturligvis
      heller ikke.

      5.3      Efterfølgende udarbejdede oversigter over bogføringer beviser ingenting

      Pensionsplanerne har fremlagt ”oversigt over bogføringer” (…). Herom anføres i (…), at ”De enkelte
      bogføringer på pensionsplanens konto hos dens custodian fremgår af oversigten, der fremlægges som
      (…)”. Der er fremlagt en sådan oversigt for hver af (…) sagerne.

      (…)

      De fremlagte oversigter over bogføringer (…) er ikke kontoudtog, men alene udklip fra udaterede
      Excel-ark, som ikke har noget autoritativt præg. Skattestyrelsen påpegede i (…) en række fejl ved
      disse oversigter:

                     Transaktioner er posteret på handelsdatoen og ikke på leveringsdatoen.
                     Oversigterne rummer ikke alle posteringer for en given periode.
                     Posteringer, der ikke fremgår af custody statement, fremgår alligevel af oversigten.
                      Der gælder f.eks. gebyrer til brokere og custodian samt udbetaling af udbytterefu-
                      sion.
                     ”Stocklending Fee” fremgår af oversigten, men svarer til ”Total Fees and Rebates”

      Oversigterne kan derfor ikke anvendes.

      Pensionsplanerne har efterfølgende oplyst, at oversigterne blot er ”et resumé af begivenhederne,
      som er udarbejdet af [pensionsplanernes repræsentant] på basis af de optegnelser over handlerne,
      som pensionsplanerne havde til rådighed.” (…). Det fremgår ikke, hvilke ”optegnelser” der er tale om.
      Videre har pensionsplanerne anført, at ”De uoverensstemmelser, der er konstateret, er opstået ved
      de forenklinger, som er foretaget i oversigterne, der er udarbejdet af Schaffelhuber Müller & Kollegen
      S.à.r.l., for at forklare transaktionerne på en simpel måde for Skatteankestyrelsen.” (…).

      Sådanne oversigter udarbejdet efterfølgende til brug for klagesagen har ingen bevisværdi.

 Sagsnr. XX-XXXXXXX                                 Side 156/239
Case 1:18-md-02865-LAK                 Document 836-47              Filed 06/27/22           Page 273 of 462




      Det er i øvrigt påfaldende, at pensionsplanernes repræsentant i (…) har kunnet anføre oplysninger
      om f.eks. udbetaling af udbytterefusion til pensionsplanen og gebyrer, når sådanne oplysninger ikke
      fremgår af custody statement (…), men derimod efter sigende af en cash account, som pensionspla-
      nerne ikke er i besiddelse af (…).

      5.4        Broker Confirmations (…) dokumenterer ikke ejerskab

      5.4.1      Brokere gennemfører ikke handlen (nyt)

      I alle tilfælde har pensionsplanerne angiveligt anvendt en executing broker. Pensionsplanen gør gæl-
      dende (…), at der er blevet afgivet en købsordre til custodian/clearing agent, der er en del af Solo-
      gruppen. Der er ikke fremlagt dokumentation for disse købsordrer. Når custodian har godkendt or-
      dren, er ordren blevet placeret hos en executing broker.

      Executing broker har angiveligt haft ansvaret for matching af ordren – dvs. at finde en køber/sælger
      til den givne aktiepost. Efter matching har brokeren udstedt en handelsnota (broker confirmation –
      (…)), hvor vilkårene for handlen fremgår.

      Herefter har pensionsplanens custodian angiveligt sørget for clearing af handlen (…). Det vil sige, at
      det er en custodian fra Solo-gruppen, som har haft ansvaret for og kontrollen med, om handlen fak-
      tisk blev gennemført ved udveksling af aktier og penge.

      De fremlagte handelsnotaer dokumenterer dermed ikke, at pensionsplanerne faktisk har købt aktier.
      En handelsnota er alene en bekræftelse af en aftale om aktiehandel med angivelse af centrale afta-
      levilkår. En handelsnota dokumenterer ikke, at aktiehandlen faktisk er blevet gennemført, allerede
      fordi brokeren ikke ved, om handlen er blevet gennemført i overensstemmelse med det aftalte.

      Allerede af den grund kan materialet fra brokerne ikke bevise, at pensionsplanerne har besiddet ak-
      tier.

      Pensionsplanerne tillægger handelsnotaerne (”broker confirmations”) i (…) betydelig vægt. Det an-
      føres i (…), at handelsnotaerne ”er den afgørende dokumentation for, at en et aktiekøb har fundet
      sted”, og at handelsnotaerne er ”den afgørende dokumentation mod påstandene om svindel”, (…).

      Dette er forkert, eftersom handelsnotaerne ikke dokumenterer gennemførsel af handlen (udveksling
      af penge og aktier). I komplekset har brugen af brokere og fremlæggelse af handelsnotaer alene til
      formål at skjule, at der faktisk slet ikke er sket nogen aktiehandler.

      5.4.2      Der er flere uoverensstemmelser mellem de påståede aktiebesiddelser og handelsnota-
                 erne (nyt)




      Hvis pensionsplanerne faktisk havde handlet med aktier, burde forløbet være som følger, når der
      anvendes en executing broker:

            1.   Pensionsplanen afgiver en ordre (f.eks. om køb) – evt. efter godkendelse fra custodian
            2.   Brokeren matcher pensionsplanen med en medkontrahent (f.eks. en sælger)
            3.   Brokeren laver en handelsnota (broker confirmation)


 Sagsnr. XX-XXXXXXX                                  Side 156/239
Case 1:18-md-02865-LAK                 Document 836-47                 Filed 06/27/22            Page 274 of 462




          4.   Handlen gennemføres (settlement) i overensstemmelse med aftalen

      Hvis det hele var foregået pænt og ordentligt, burde handlen blive gennemført (settlement) ud fra
      de vilkår, der er angivet i handelsnotaen (medmindre der sker en fejl ved gennemførslen). Med andre
      ord burde handelsnotaen (ved rigtige aktiehandler) være bestemmende for handlens vilkår.

      I disse sager har pensionsplanerne dog fremlagt en lang række handelsnotaer, hvor aftalevilkårene
      ikke stemmer overens med den ordre, som pensionsplanerne angiveligt har afgivet ifølge custody
      statement (…). Der er tale om meget alvorlige fejl (se afsnit 5.4.3).

      Alligevel er handlen blevet gennemført i overensstemmelse med pensionsplanens påståede – og udo-
      kumenterede – købsordre. Det svarer til, at man bestiller en togbillet til Aarhus, sætter sig på et tog
      til Malmø og alligevel bliver kørt til Aarhus.

      Det giver ingen mening, at handlerne ikke er gennemført i overensstemmelse med handelsnotaerne.
      Det giver heller ingen mening, at oplysningerne i custody statement (…) ikke er i overensstemmelse
      med aftalevilkårene i handelsnotaerne (…).

      Yderligere savner det mening, at pensionsplanerne ikke har reageret på betydelige fejl i handelsno-
      taer, der bekræfter aktiehandler til betydelige millionbeløb.

      Det fremgår da også af en række handelsnotaer, at pensionsplanerne er forpligtet til at tjekke oplys-
      ningerne. F.eks. fremgår følgende af en handelsnota fra (…):

               “Please verify all details for accuracy, and immediately inform (…) of any errors. (…)
               cannot be held responsible for errors not brought to our attention immediately. The
               Purchaser and the Seller acknowledge receipt of this confirmation, that the terms
               contained herein and any and all actions and / or disputes arising therefrom are
               the sole and exclusive responsibility of the purchaser and the seller, and further
               agree to hold Brokers, and its agents and / or representatives harmless from any
               dispute and / or action that may arise as a consequence of the above transaction.”

      Som det fremgår, fraskriver (…) sig ansvaret for alle fejl, der ikke straks reklameres over. Henset til
      handlernes størrelse er det klart, at pensionsplanerne selvfølgelig ville have kontrolleret handelsno-
      taerne nøje og have reageret på uoverensstemmelser, hvis det havde været rigtige aktier. Det gælder
      særligt, fordi pensionsplanerne ikke ville kunne bære et tab forårsaget af fejl i handelsnotaerne. Når
      pensionsplanerne ikke har reageret, skyldes det selvfølgelig, at der ikke er foregået aktiehandler, og
      at der derfor ikke er nogen risici forbundet med en forkert bekræftelse af aftalevilkårene.

      Det giver ikke nogen mening, at brokerne kan begå sådanne fejl, når pensionsplanerne samtidig be-
      tegner brokerne som ”professionelle serviceydere”, (…). Pensionsplanernes forsøg på at styrke bro-
      kernes troværdighed med henvisningen til, at brokerne har været igennem en ”særlig kontrolunder-
      søgelse af det britiske finanstilsyn”, (…), falder til jorden, når der henses til, hvor fundamentale fejlene
      er.

      5.4.3    Konkrete eksempler på fejl i handelsnotaer

      Der er mange tilfælde, hvor handelsnotaerne (…) ikke stemmer overens med oplysningerne i custody
      statements (…) og Credit Advices (…). Det indebærer, at den udokumenterede settlement, som pen-
      sionsplanerne påberåber sig med henvisning til custody statements (…), ikke passer med vilkårene i



 Sagsnr. XX-XXXXXXX                                   Side 156/239
Case 1:18-md-02865-LAK               Document 836-47               Filed 06/27/22          Page 275 of 462




      handelsnotaerne (…). Pensionsplanerne har ikke fremlagt nogen dokumentation for, hvordan settle-
      ment skulle være sket korrekt, til trods for at handelsnotaerne var fejlbehæftede.

      5.4.3.1 To forskellige handelsdatoer for samme transaktion

      (…) viser et tilfælde, hvor der er anvendt to forskellige handelsdatoer (”Trade Dates”), hhv. den 5.
      marts 2015 og den 31. marts 2015, for samme påståede aktiehandel med 3.092.779 TDC-aktier med
      en værdi på ca. 167 mio. kr.

      Bilaget består af en Credit Advice, et custody statement, en regning fra brokeren (…) og en handels-
      nota fra samme. Dokumenterne relaterer sig til [Pensionsplan C] og er allerede blevet fremlagt i sa-
      gen.

      Det custody statement, der er fremlagt i sagen, findes på (…). Dokumentet er udarbejdet af [Pen-
      sionsplan C’s] custodian, West Point (som er en Shah-custodian). Det fremgår heraf, at handelsdagen
      (”Trade Date” indrammet med rødt) er den 5. marts 2015, og at handlen med 3.092.779 TDC-aktier
      er et køb (”Buy” indrammet med rødt).

      Den Credit Advice, der er fremlagt i sagen, findes på (…). Dokumentet er ligeledes udarbejdet af West
      Point. Det er dateret den 10. marts 2015 og fortæller, at [Pensionsplac C] ejede 3.092.779 TDC-aktier
      hen over ex-dagen den 6. marts 2015 (”Ex Date” indrammet med rødt). Credit Advicen understøttes
      altså af den i custody statementet angivne handelsdato.

      Den handelsnota, der er fremlagt i sagen, findes på (…). Dokumentet er udarbejdet af brokeren, (…),
      der tilsyneladende har forestået handlen med TDC-aktierne. Det fremgår af handelsnotaen, at han-
      delsdagen (”Trade Date” indrammet med rødt) er den 31. marts 2015, og at handlen med 3.092.779
      TDC-aktier vedrører et køb (”BUY” indrammet med rødt).

      Der er således uoverensstemmelse mellem handelsdatoerne for samme påståede aktiehandel.

      Der er kun én af handelsdatoerne, som kan være rigtig, og hvis handelsnotaen skal tillægges en så
      ”afgørende” betydning, som [Pensionsplan C] lægger op til, så må det være den 31. marts 2015. Det
      vil betyde, at [Pensionsplan C] ikke ejede 3.092.779 TDC-aktier over ex-dagen, og at den Credit Ad-
      vice, der lå til grund for [Pensionsplacn C’s] refusionsanmodning, således ikke er rigtig.

      Der er flere forhold, som kunne tyde på, at uoverensstemmelsen mellem custody statement og han-
      delsnotaen skyldes en fejl begået af brokeren.

      Først og fremmest fremgår handelsnotaens referencenummer (”TRADE CONFIRMATION REFERENCE:
      e184376” indrammet med rødt) også af regningen fra (…) af 31. marts 2015 (…). Her er handelsdatoen
      (”Trade Date” indrammet med rødt) angivet som den 5. marts 2015 og altså ikke den 31. marts 2015
      som angivet i handelsnotaen.

      Herudover nævnes den 10. marts 2015 som afviklingsdag (”Settlement on 10 March 2015”) under
      ”SETTLEMENT TERMS” i handelsnotaen (…). Denne afviklingsdag fremgår også af custody statement
      på (…) (”Settlement Date” indrammet med rødt), hvilket kunne tyde på, at fejlen alene omfattede
      handelsdagen angivet af brokeren.

      Dette hænger dog ikke sammen med, at ”SETTLEMENT TERMS” er angivet som ”T+2” i handelsno-
      taen. Hvis handelsdagen var den 5. marts 2015 (som anført i custody statement), og afviklingsdagen
      var den 10. marts 2015, så ville handlen være blevet gennemført ”T+3” og ikke som angivet ”T+2”.


 Sagsnr. XX-XXXXXXX                                Side 156/239
Case 1:18-md-02865-LAK                Document 836-47               Filed 06/27/22          Page 276 of 462




      Den 7. og 8. marts er således lørdag og søndag, mens resten af de mellemliggende dage er arbejds-
      dage, jf. nærmere om beregningen af leveringstiden i afsnit 5.6, nedenfor.

      Forvirringen bliver endnu større, når der i handelsnotaen ovenover ”SETTLEMENT TERMS” under
      ”Settlement Date” står ”T+1”. Heller ikke denne afviklingsperiode er rigtig, hvis handelsdagen var den
      5. marts 2015 som forudsat i custody statement.

      TVC Advokatfirma anfører da også i (…), at det er ”mægleren, der har begået en fejl”, og at det var
      ”et generelt problem, som (…) havde”.

      Det var altså ifølge pensionsplanerne et generelt problem, at handelsnotaer (for aktiehandler på
      mange hundrede millioner kr.) udarbejdet af brokeren (…) var fejlbehæftet. Det forekommer ganske
      useriøst af en professionel broker ved så store aktiehandler.

      Dertil giver det ikke mening, at handlen er blevet gennemført i overensstemmelse, som oplyst i cu-
      stody statement, når der fremgår noget andet af den skriftlige aftalebekræftelse (handelsnotaen).

      5.4.3.2 Handelsnotaer forveksler køb og salg

      Der er flere eksempler på, at de påståede aktiehandler fremgår som salg under custody statement
      og brokerens faktura, men fremgår som ”BUY” (køb) i handelsnotaen (…).

      Der er f.eks. uoverensstemmelse mellem custody statement (…) og en handelsnota vedrørende en
      handel med Mærsk B-aktier (…). (…)

      Det fremgår af custody statement, 3. linje, at der er blevet solgt (”Transaction Type: Sell”) 7.896
      Mærsk B-aktier til brokeren, (…) (”Counterparty") med handelsdag den 19. juni 2015 (”Trade Date”)
      og afviklingsdag den 23. juni 2015 (”Settlement Date”).

      Det fremgår derimod af handelsnotaen, der er udarbejdet af (…), og som vedrører netop 7.896 Mærsk
      B-aktier, at aktierne er blevet købt (”YOU: BUY”). Handelsnotaen er adresseret til [Pensionsplan B],
      og ”YOU: BUY” betyder således, at [Pensionsplan B] køber 7.896 Mærsk B-aktier.

      Ifølge TVC Advokatfirma er dette ”ligeledes udtryk for en menneskelig fejltagelse”, og pensionsplanen
      ”har ikke bemærket denne skrivefejl”, (…), selvom det må siges at være en ret afgørende fejl.

      Igen er det meget bemærkelsesværdigt, at [Pensionsplan B] angiveligt endte med at sælge aktier i
      overensstemmelse med intentionerne, selvom brokeren, som stod for matching mellem køber og
      sælger, ifølge handelsnotaen har opfattet [Pensionsplan B] som køber – og dermed må have matchet
      med en sælger, ikke en anden køber.

      5.4.3.3 Handelsnotaer tager ikke højde for helligdage (nyt)

      Et andet eksempel på broker-fejl findes ved settlement-vilkår omkring danske helligdage, særligt på-
      sken. Som eksempel fremlægges (…).
      Settlement/levering af aktier henholdsvis penge er af afgørende betydning ved indgåelse af handler.
      Det er af betydning for, hvornår finansiering skal skaffes, og hvornår man opnår faktisk rådighed over
      aktieposten/købesummen.




 Sagsnr. XX-XXXXXXX                                Side 156/239
Case 1:18-md-02865-LAK                                Document 836-47            Filed 06/27/22         Page 277 of 462




      Settlement angives typisk i handelsnotaer som ”T + (antal dage)”. Ved settlement ”T + 2” skal aktier
      og betaling udveksles på dag nr. 2 regnet fra aftaledatoen. Når dagene tælles, er det kun hverdage,
      der skal tælles med. Det varierer fra land til land, hvilke dage der er hverdage.

      Hverdage fastlægges ud fra markedet i det land, hvor aktien handles (dvs. Danmark, når det er danske
      aktier).

      [Pensionsplan C] købte ifølge (…) 375.802 aktier i Vestas Wind i marts 2015 (…). Aftalen blev ifølge
      handelsnotaen indgået mandag den 30. marts 2015, og settlement skulle ske ”T + 6”, dvs. seks hver-
      dage senere (…). I henhold til Custody statement skete levering tirsdag den 7. april 2015 (…).

      Levering skete dermed ifølge den danske helligdagskalender tre hverdage efter aftaleindgåelsen, dvs.
      T+3:


                                                                            Kalender
                                                      Aktie-udstederen    Normal cyklus     Danmark          England        USA
                                  Mandag                                   Trade date      Trade date       Trade date   Trade date
                                  d. 30. marts 2015                            (T)             (T)              (T)          (T)
                                  Tirsdag             Dividend Ex-date        T+1             T+1             T+1          T+1
                            CUM




                                  d. 31. marts 2015
                                  Onsdag              Dividend Record    Normal Settle-       T+2             T+2          T+2
                                  d. 1. april 2015          Date          ment (T + 2)
                                  Torsdag                                 Skærtorsdag                         T+3          T+3
                                  d. 2. april 2015
                                  Fredag                                   Langfredag
                                  d. 3. april 2015
                                  Lørdag
                                  d. 4. april 2015
       Settlement, aktier




                                  Søndag
                                  d. 5. april 2015
                                  Mandag                                   2. påskedag                                     T+4
                                  d. 6. april 2015
                            EX




                                  Tirsdag                                                     T+3             T+4          T+5
                                  d. 7. april 2015
                                     De grå felter markerer weekend- og helligdage i de pågældende lande.

      Det er bemærkelsesværdigt, at levering skete T+3 (nemlig tirsdag den 7. april 2015), selvom der var
      aftalt levering T+6. Levering T+6 ville have indebåret levering fredag den 10. april 2015. Som tabellen
      viser, stemmer leveringen heller ikke overens med hverken den engelske eller amerikanske hellig-
      dagskalender.
      Levering er altså ikke sket i overensstemmelse med det aftalte.

      5.4.3.4 Handelsnota angiver pris som”#########”



 Sagsnr. XX-XXXXXXX                                               Side 156/239
Case 1:18-md-02865-LAK                 Document 836-47               Filed 06/27/22            Page 278 of 462




      Der er også et eksempel på en handelsnota fra brokeren (…), hvor prisen på pensionsplanens salg af
      7.884 Mærsk-aktier er angivet som ” #########” (…). Prisen var 12.290 kr. pr. aktie, dvs. samlet
      96.894.360 kr.

      I så store handler tjekker de ansvarlige parter selvfølgelig, at det er de rigtige tal, herunder priser,
      som er på bekræftelsen. Det skriger til himlen og springer i øjnene, når købesummen er angivet som
      ”#########”.

      TVC Advokatfirmas forklaring svækker pensionsplanernes sag. Det er – ifølge TVC Advokatfirma –
      ”tydeligvis en computerfejl”, som om det gør noget i relation til, hvorvidt man ville opdage det.

      TVC Advokatfirma har som (…) fremlagt en mail fra brokeren, (…) Capital London Ltd., hvoraf det
      fremgår, at fejlen skyldes, at kolonnen i det underliggende excel-ark ikke var stort nok til at indeholde
      prisen. Der er med mailen fremlagt en ny handelsnota (…). Det forøger mystikken gevaldigt. Under-
      skriveren af mailen, (…), oplyser selv, at han nu er ansat i (…). Uanset at han ikke længere er ansat i
      (…), udsteder han alligevel en ny handelsnota på (…) brevpapir ved at rette i det relevante Excel-ark.
      Det forekommer meget besynderligt.

      Det er derudover utroværdigt, når (…) i sin mail af 16. maj 2019 bekræfter, at den reviderede han-
      delsnota ”accurately reflects” omhandlede den aktiehandel, der skulle være foretaget den 22. juni
      2015, dvs. 4 år tidligere. Troværdigheden svækkes yderligere af, at det ikke var Adrian Milne selv –
      men Patrick Milne – der er anført som broker på de ”oprindelige” handelsnotaer.

      5.4.3.5 Fejlangivelse af afviklingsdagen

      Alle ovennævnte fejl og uoverensstemmelser er fundet i førersagerne. Hvis man begynder at gen-
      nemgå sagerne udenfor førersagerne, fremkommer nye fejl. Eksempelvis fremlægges en handelsnota
      fra brokeren (…) vedrørende en handel med Coloplast-aktier for [Pensionsplan E]. Her fremgår afvik-
      lingsdagen som 9. december 2012, hvilket ikke er i overensstemmelse med hverken custody state-
      ment (…) eller Credit Advice (…).

      5.5      Der er ikke dokumentation for gennemførte handler

      Det er ikke dokumenteret, at der for pensionsplanernes påståede aktiehandler er sket settlement,
      dvs. at aktiehandlerne er gennemført ved, at parternes ydelser (aktier og penge) er blevet udvekslet.

      Ifølge pensionsplanerne er afvikling/settlement af en aktiehandel ikke en betingelse for at opnå ejer-
      skab over aktierne, (…). Det er imidlertid åbenbart, at settlement er en forudsætning for, at der er
      gennemført en aktiehandel. Hvis sælger ikke besidder aktier (inkl. udbytte), som sælger er berettiget
      til at sælge, foreligger der vanhjemmel. Hvis der som følge heraf ikke sker settlement, vil aktier og
      penge ikke have skiftet hænder, og der vil i så fald ikke være tale om en (gennemført) aktiehandel.
      Køberen har jo aldrig erhvervet nogen aktiepost. Det samme gælder, hvis sælger har aktier, men
      handlen af den ene eller anden grund alligevel ikke bliver gennemført.

      Der er intet, som viser, at der på noget tidspunkt har været aktier i et depot tilhørende pensionspla-
      nernes custodian. Og derfor er det irrelevant, at custodian har ”attesteret” pensionsplanernes ejer-
      skab til aktier i Credit Advices, og at broker har bekræftet ”handler” i broker confirmations (…). En
      Credit Advice er kun ord på papir. Og som anført i (…), dokumenterer en broker confirmation ikke, at
      aktiehandlen faktisk er blevet gennemført.




 Sagsnr. XX-XXXXXXX                                  Side 156/239
Case 1:18-md-02865-LAK                 Document 836-47               Filed 06/27/22            Page 279 of 462




      Langt de fleste af de pensionsplaner, som TVC Advokatfirma repræsenterer, har anmodet om udbyt-
      terefusion for mere end ét påstået aktiekøb. Alle de påståede handler vedrører ekstremt store beløb.
      Når pensionsplanerne påberåber, at afvikling/settlement ikke er nødvendig for at erhverve ejen-
      domsretten, viser det bare, hvor svag pensionsplanernes sag er, når den slags argumenter bruges.
      For i virkelighedens verden laver man ikke flere sådanne aftaler, uden at der bliver settlet. Og hvis
      der ikke bliver settlet, vil der være et efterfølgende retsopgør, hvor den part, der taber penge på et
      sådant manglende settlement, vil kræve erstatning af den anden part.

      Der er således ingen dokumentation for, at pensionsplanerne (eller deres custodians) på noget tids-
      punkt har haft, endsige modtaget, aktier. Det betyder, at der aldrig har været nogen aktiehandler. I
      den sammenhæng er det irrelevant, om pensionsplanerne tror, der har været aktier.

      5.6      Vilkår for settlement er ikke markedskonforme

      Frem til den 6. oktober 2014 var standarden for aktiehandler i Danmark, at aktier blev leveret tre
      dage efter aftaleindgåelsen (dvs. settlement T+3). Efter 6. oktober 2014 var standarden levering efter
      to dage (dvs. T+2) (…). Ved beregningen af leveringstid medregnes kun hverdage – dvs. hverken we-
      ekender eller helligdage medregnes.

      Pensionsplanernes forklaring om afvikling af de påståede aktiehandler er ikke konsekvent.

      I (…), oplyser pensionsplanerne, at afvikling sker to dage efter aftaleindgåelsen, dvs. T+2. I (…) er det
      anført, at afvikling sker tre dage efter købet, dvs. T+3. Endelig anførte pensionsplanerne (…), at de
      ved handlerne havde valgt at følge de danske regler for børshandler (…), hvilket pensionsplanerne i
      mail af 24. april 2019 har præciseret til, at afviklingsdatoen både for OTC-handel og handel på børsen
      lå to (tidligere tre) dage senere end handelsdatoen (dvs. T+2 og tidligere T+3).

      Ifølge custody statements (…) har pensionsplanerne imidlertid konsekvent afveget fra markedsstan-
      darden ved køb af aktier. Frem til 6. oktober 2014 er aktierne ifølge bilaget købt på vilkår T+4, og
      efter 6. oktober 2014 er aktierne ifølge bilaget købt på vilkår T+3.

      Dertil kommer, at pensionsplanerne ifølge broker confirmations i nogle tilfælde har settlet på helt
      andre vilkår, f.eks. T+6 (…) eller T+1 (…).

      Det af pensionsplanerne anførte stemmer således ikke overens med det fremlagte materiale. I alle
      tilfælde har der ved levering været aftalt en dags længere leveringstid, end pensionsplanerne anfører
      i deres indlæg, og længere, end hvad markedsstandarden tilsagde.

      Afvigelsen fra markedsvilkårene i custody statement (…) er bemærkelsesværdig, idet afvigelsen – selv
      hvis der havde været aktiehandler og ikke blot bogføringsmæssige posteringer – i høj grad muliggør
      svindel. Det skyldes ”tidsplanen” ved udlodninger på det danske marked:

      Når et selskab beslutter at foretage udlodning, fastsættes en record date. De, der er registreret som
      depotindehavere på den pågældende dato, vil modtage udbyttet.

      Når record date er fastsat, bliver ex date (ex dividend-date) fastlagt. Datoen fastlægges af handels-
      platformen ud fra record date og markedsvilkårene for levering af aktier. Ex date er den første dag,
      hvor aktierne handles uden udbytte, dvs. sælgeren får udbetalt udbyttet, selv om aktien er solgt.
      Før den 6. oktober 2014 var markedsstandarden, at levering skete T+3. Det betød, at hvis man er-
      hvervede aktier mandag den 11. august 2014, ville man få aktierne leveret (blive registreret som ejer)
      torsdag den 14. august 2014. Aktier skulle derfor erhverves tre dage før record date, hvis man skulle


 Sagsnr. XX-XXXXXXX                                  Side 156/239
Case 1:18-md-02865-LAK                Document 836-47               Filed 06/27/22           Page 280 of 462




      være registreret som ejer på record date. Ved handel to dage før record date ville man nemlig – ved
      almindelige vilkår for levering – ikke længere nå at modtage aktierne, inden selskabet fastlagde ejer-
      kredsen med henblik på udbetaling af udbyttet – og dermed ville sælgeren få udbyttet. Ex date var
      derfor to dage før record date.

      For at opnå ret til udbytte skulle man derfor erhverve aktier senest tre dage inden record date. Der-
      med ville man – ifølge markedsstandarden – modtage aktierne og være registreret som ejer på det
      tidspunkt, hvor det udloddende selskab fastlægger ejerkredsen, og man ville få udbyttet udbetalt til
      sig.

      Den 6. oktober 2014 blev markedsstandarden ændret, således levering sker T + 2. Det betyder, at ex
      date blev dagen før record date – altså en dag tættere på record date pga. den forkortede leverings-
      tid.

      Ved pensionsplanernes salg af aktier har de ifølge deres custody statement (…) fulgt markedsstan-
      darden, T+2 (efter 6. oktober 2014).

      Ved pensionsplanernes køb af aktier har de imidlertid afveget fra markedsstandarden. Pensionspla-
      nerne har ifølge custody statements (…) erhvervet aktierne på dagen før ex-daten (dvs. på sidste
      mulige dag, hvor aktierne kunne erhverves inkl. udbytte), men med ”forsinket” levering. Levering
      skete T+3 (selvom markedsstandarden var T+2) og dermed dagen efter record date. Pensionspla-
      nerne har derfor end ikke ifølge sine egne aftaler modtaget udbyttet direkte fra det udloddende sel-
      skab eller gennem egne sub-custodians. Det påståede udbytte er derimod blevet udbetalt til en sæl-
      ger, der var depotindehaver på record date, men som havde pligt til at videreføre udlodningen, da
      aktien jo ifølge pensionsplanerne var blevet solgt inkl. udbytte (før ex date).

      Pensionsplanerne gør dermed gældende, at de har været ejere, selvom de ifølge custody statements
      ikke har været registreret som ejere på record date, da de har handlet på vilkår, der afveg fra mar-
      kedsstandarden. Det er et set-up, som i høj grad vil muliggøre svindel, da pensionsplanerne dermed
      – end ikke ifølge egne papirer – vil være registreret som ejere af aktien på record date, hvor virksom-
      heden noterer ejerne og udbetaler udbyttet. For pensionsplanerne hævder, at de får aktierne leveret
      senere – og med ret til det udbytte, deres sælger modtager.

      Den i strid med markedsstandarden forlængede leveringsperiode giver i øvrigt yderligere arbejde og
      risiko for tab. Hvis pensionsplanerne havde fulgt markedsstandarden, sådan som de fejlagtigt i deres
      indlæg påstår de gjorde, ville man undgå en pengeoverførsel af udbyttet fra sælgeren af aktierne til
      pensionsplanerne. Og pensionsplanere ville også undgå at løbe den risiko, at aktiesælgeren ikke over-
      fører udbyttet til dem. I alle Shah-sagerne vælger man at løbe dette besvær og yderligere risiko uden,
      at man har givet nogen som helst legitim grund hertil.

      5.7      Handlerne (og fortjenesten)

      Pensionsplanerne har oplyst (…), at ”Fra 2015 og fremefter er handlerne foretaget ved brug af en
      algoritme-trader, hvor trusteen blot skulle godkende forslagene. Der forefindes derfor ikke dokumen-
      tation for indgåelse af disse handler.”, (…).

      Denne forklaring er simpelthen for letkøbt. Selvfølgelig er der dokumentation for indgåelse af aktie-
      køb for flere milliarder kroner. Desuden findes der ikke nogen ”algoritme-trader”, som sørger for, at
      aktiekøb gennemføres efter fortløbende antal, eller som afhænger af, hvilken custodian pensionspla-
      nerne er tilknyttet. Det giver simpelthen ikke nogen mening. Hvis der findes en algoritme, som pen-



 Sagsnr. XX-XXXXXXX                                 Side 156/239
Case 1:18-md-02865-LAK                 Document 836-47                Filed 06/27/22            Page 281 of 462




      sionsplanerne anvender, så må den alene være blevet anvendt til at sløre de påståede aktiehandlers
      manglende realitet.

      5.8      Det er udokumenteret, at nettoudbytte og refusion ædes op af omkostninger

      Pensionsplanerne har anført, at deres aktiver ved udgangen af året ikke oversteg $ 250.000 på grund
      af de høje transaktionsomkostninger, der er forbundet med Div-Arb-investeringsmulighederne (dvs.
      udbyttearbitrage) (…).

      Henset til størrelsen af de påståede aktieinvesteringer må der virkelig have været tale om meget
      betydelige omkostninger forbundet med transaktionerne.

      Der er dog ikke fremlagt dokumentation, herunder kontoudtog og fakturaer, for at pensionsplanen
      har afholdt omkostninger, der kan have nedbragt pensionsplanernes aktiver – inklusiv refusion og
      påstået modtaget nettoudbytte på store millionbeløb – til højst 250.000 USD, (…). Omkostningerne
      er i øvrigt ikke specificerede, ligesom der ikke er fremlagt dokumentation for, hvem der er betalt
      omkostninger til, hvilke ydelser omkostningerne dækker, eller hvilke kontraktuelle vilkår omkostnin-
      gerne er omfattet af.

      Yderligere giver det ikke mening, at pensionsplanerne skulle indvilge i at deltage i udbyttearbitrage-
      investeringerne, hvis hele fortjenesten blev ædt op af omkostninger. Selvfølgelig havde pensionspla-
      nerne haft en fortjeneste, hvis de faktisk havde deltaget i et komplekst aktiehandel-set-up.

      Og så er der den lille, men ikke uvæsentlige, detalje, at alle pensionsplaner, som TVC Advokatfirma
      repræsenterer, har afvist at fremlægge egne bankkontoudtog, hvor man kan se bevægelser og saldi.

      5.9      Custody Agreement er ikke blevet overholdt

      Forholdet mellem den enkelte pensionsplan og dennes custodian fra Sologruppen har ifølge pen-
      sionsplanen været reguleret af en Custody agreement og/eller Terms and Conditions for Custody
      Services (…).

      Det fremgår af punkt 5.1 i den fremlagte Custody Agreement (…), at pensionsplanerne ved indgåelsen
      af aftalen straks skulle overføre et beløb til pensionsplanernes konto hos sin custodian (”Minimum
      Cash Balance”) til sikkerhed for pensionsplanernes forpligtelser.

      Sikkerhedsstillelsen var som udgangspunkt 500.000 euro. (…). I nogle tilfælde er sikkerhedskravet
      dog lavere, (…), hvor der alene var krav om 20.000 euro.

      Vilkåret om et minimumsbeløb hos custodian fremgår af alle Custody Agreements og/eller Terms and
      Conditions for Custody Services.

      Sikkerhedsstillelsen er i alle tilfælde urealistisk lav i forhold til custodians indeståelse for pensions-
      planernes transaktioner på milliardbeløb.

      Dertil kommer, at ingen af pensionsplanerne har overholdt vilkåret, (…). På (…) bekræftede pensions-
      planerne således, at ingen af dem havde overført et sådant beløb til sin custodian (…).

      Kravet om kapital udgør en sikkerhed for custodian, som selvfølgelig skal være til stede, inden der
      handles. Sikkerheden er nødvendig, fordi der er risici forbundet med handler. Når der henses til, at
      pensionsplanerne ikke har nogen egenkapital, er kravet om minimumskapital endnu mere relevant.


 Sagsnr. XX-XXXXXXX                                  Side 156/239
Case 1:18-md-02865-LAK                Document 836-47               Filed 06/27/22           Page 282 of 462




      Derfor har det klart formodningen imod sig, at der skulle være foretaget aktiehandler, før sikkerheds-
      stillelsen blev indbetalt.

      Når pensionsplanerne direkte anfører, at vilkåret om minimumskapital hos custodian inden handler
      ikke er blevet opfyldt af nogen af planerne, viser det, at Custody Agreement ikke er blevet overholdt,
      men blot er indgået/underskrevet for syns skyld.

      I (…) har pensionsplanerne anført, at der ikke gjaldt en klausul om minimumskapitalisering i tidlige
      depotaftaler, hvorfor nogle af pensionsplanerne havde realiseret gevinst nok til at efterkomme kra-
      vet uden indbetaling. Derigennem er vilkåret om minimumsbeløb ifølge pensionsplanerne blevet op-
      fyldt ved modregning.

      Det er udokumenteret og har formodningen klart imod sig. Det er i strid med de fremlagte custody
      statements (…), hvor det fremgår på første side af hvert custody statement (…), at ”Opening Cash
      Balance” for pensionsplanerne i alle år er 0 kr. Dertil kommer, at der ifølge custody statement ikke
      genereres noget overskud hos custodian ved transaktionerne, hvilket fremgår af ”Total Cash Ba-
      lance” (…). Der fremgår således ikke nogen gevinster, som ville kunne anvendes til modregning. [Pen-
      sionsplan F] opnåede dog et overskud på 0,29 USD (…).

      Det anførte strider jo også imod, at pensionsplanerne – godt nok udokumenteret som så mange an-
      dre af deres påstande – påstår, at deres gevinster er meget små pga. store omkostninger, jf. afsnit
      5.8. De pensionsplaner, hvor kravet var 500.000 EUR, har et yderligere bevisproblem. Hvis de har så
      stor en formue, skal de indsende regnskab til de amerikanske skattemyndigheder, jf. støttebilaget,
      afsnit 1.3, hvilket jo gælder, når formuen er over 250.000 USD.

      En tilsyneladende undtagelse til det manglende overskud er [Pensionsplan D], hvis konto hos Old
      Park Lane i 2014 blev krediteret cash payment/receipts for 927.100,27 kr. og debiteret 19.952,02
      USD. Det er udokumenteret, hvad disse poster dækker over. Ved udgangen af 2014 var disse beløb
      tilsyneladende på kontoen hos Old Park Lane. Beløbene forsvinder dog fra 2014 til 2015, hvor [Pen-
      sionsplan D] anvendte en anden Shah-custodian, nemlig Solo Capital. Da det både er udokumenteret,
      hvor beløbet stammer fra, og hvor det blev af, kan det ikke tillægges nogen betydning. Dertil kommer,
      at indeståendet/gevinsten under alle omstændigheder fortsat er mindre end minimumsbeløbet på
      500.000 euro hos Old Park Lane (…). Der ses således heller ikke her nogen gevinst, der giver mulighed
      for at bortse fra kravet om indbetaling.

      Ifølge pensionsplanernes egen dokumentation, nemlig custody statements (…), oppebærer pensions-
      planerne således ikke nogen gevinst, der kan anvendes til at opfylde vilkåret om minimumsbeløb ved
      modregning. Kontoen starter nemlig i 0, og der genereres ifølge custody statement ikke nogen ge-
      vinst/noget overskud.

      6.       SYSTEMATIKKEN VISER, AT DET HAR VÆRET EN SKRIVEBORDSØVELSE

      Skattestyrelsen har foretaget en undersøgelse af de refusionsanmodninger og påståede aktiebesid-
      delser, der stammer fra pensionsplaner repræsenteret af TVC Advokatfirma, som har anvendt custo-
      dians fra Solo-gruppen, og som har fremlagt oplysninger om køb af aktier (broker confirmations eller
      custody statement). Undersøgelsens resultater angår --  alle de pensionsplaner, hvor TVC Advokatfirma
      har indgivet klager på vegne af pensionsplanerne i løbet af 2018 – dog ikke [Pensionsplan G], der har
      anvendt en anden custodian.
      Det viser sig, at alle transaktionerne er systematiseret i et omfang, som kun giver mening, hvis der er
      tale om centralt orkestrerede transaktioner, der ikke involverer aktier eller penge. Så systematise-



 Sagsnr. XX-XXXXXXX                                 Side 156/239
Case 1:18-md-02865-LAK                Document 836-47                Filed 06/27/22           Page 283 of 462




      rede transaktioner ville nemlig aldrig kunne finde sted i virkeligheden. Pensionsplanernes påståede
      aktieinvesteringer har nemlig været nøje afstemt.

      Systematikken, der uddybes i de følgende afsnit, dækker blandt andet over, at:

                   Alle aktieposter anvendt til refusion på en given aktie er købt samme dag og for
                    samme kurs (afsnit 6.1, nedenfor).
                   Aktieposterne er systematiseret, så der aldrig er to pensionsplaner, der ejer det
                    samme antal af en given aktie. For A.P. Møller Mærsk-aktierne i 2015 ses det endda,
                    at aktiebesiddelserne (med enkelte huller) er ”fortløbende”, så hver pensionsplan ejer
                    én aktie mere end den foregående (afsnit 6.2, nedenfor).
                   Selvom aktieposterne har betydelige størrelser, lykkes det i alle tilfælde at købe, ud-
                    låne, kurssikre og sælge aktieposten samlet (afsnit 6.2, nedenfor).
                   Pensionsplanernes investeringsprofiler ligner hinanden. Det er således de samme ak-
                    tier, som hver af pensionsplanerne påstår at have ejet (afsnit 6.3, nedenfor).
                   Ved de påståede handler i foråret 2014 har alle pensionsplaner angiveligt købt aktier
                    fra samme broker, solgt aktier til samme broker, indgået -  forward-aftale
                                                                                  ---           med samme
                    part og udlånt aktierne til samme part (afsnit 6.4, nedenfor).
                   Pensionsplanerne afhænder angiveligt aktierne efter et fast mønster, der dog ændres
                    over tid. F.eks. i 2014 sælger alle pensionsplanerne enten på én dag (f.eks. Coloplast-
                    aktier i december) eller i løbet af en periode på fire dage (f.eks. Novozymes-aktier)
                    (afsnit 6.5, nedenfor).
                   Sanjay Shah, der er mistænkt som hovedbagmand i hele udbyttesagen, har kontrol-
                    leret alle fire anvendte custodians, der har spillet en central rolle (afsnit 6.6 og 6.7,
                    nedenfor).
                   Credit Advices er nummereret fortløbende på tværs af custodians, der på papiret er
                    uafhængige juridiske personer (afsnit 6.8, nedenfor). Også ved senere anmodninger
                    om refusion (indsendt i 2017) ses samme nummersystem anvendt (afsnit 6.9, neden-
                    for).

      På trods af alle disse ligheder – og det forhold at pensionsplanerne har valgt samme advokat og ind-
      giver enslydende skrifter i klagesagerne – fastholder pensionsplanerne, at de ikke har noget med
      hinanden at gøre (afsnit 6.10, nedenfor).

      Systematikken viser, at der umuligt kan være tale om faktiske aktiehandler. Systematikken er kun
      mulig, fordi der er tale om en bogføringsøvelse orkestreret centralt og uden hold i virkeligheden –
      hverken gennem pengestrømme eller aktiebesiddelser.

      Endelig er der to pensionsplaner, der tilsyneladende har glemt at søge refusion på ca. 29,5 mio. kr.
      for deres påståede aktiebesiddelser, hvilket kun kan ske, fordi der faktisk ikke er foretaget aktiehand-
      ler (afsnit 6.11, nedenfor).

      6.1      Alle pensionsplaner køber samme dag og til samme pris (nyt)

      I alle tilfælde har pensionsplanerne erhvervet deres aktier dagen før Ex-datoen, dvs. sidste dag hvor
      aktien kunne erhverves inkl. retten til udbytte.

      Derudover har pensionsplanerne betalt nøjagtig samme kurs for aktierne (vistnok markedets lukke-
      kurs den givne dag). Det gælder dog tilsyneladende ikke Chr. Hansen Holding-aktier og Coloplast-
      aktier i 2013 samt [Pensionsplan H’s] køb af Coloplast-aktier i december 2014 (i alt 15 handler ud af
      ca. 1.400 handler).

 Sagsnr. XX-XXXXXXX                                 Side 156/239
Case 1:18-md-02865-LAK                Document 836-47                Filed 06/27/22           Page 284 of 462




      For eksempel har 76 pensionsplaner ifølge deres custody statements (…) købt aktier i Novo Nordisk
      A/S den 19. marts 2015. Pensionsplanerne har hver købt mellem 5,7 millioner aktier og 7,1 millioner
      aktier (svarende til en købesum på mellem 1,96 mia. kr. og 2,44 mia. kr.). Alle aktierne blev erhvervet
      til samme kurs, nemlig 341,9 kr. pr. aktie (se også afsnit 4.1 og 6.1, ovenfor).

      Selvom alle pensionsplaner gør gældende, at de har anvendt samme investeringsstrategi, og selvom
      det ikke er usædvanligt at anvende lukkekursen til aktiehandler, er det påfaldende, at pensionspla-
      nerne har haft så sammenfaldende handelsmønstre. Eksempelvis kræver det ganske meget arbejde
      at skaffe sig adgang til at købe aktieposter af så betydelig en størrelse for hver enkelt pensionsplan.
      Når man har en aftale med en eller flere sælgere, vil man ønske at lukke den så hurtigt som muligt
      for at fastholde sælgeren. Og der er et voldsomt arbejde med at lukke 76 aktiekøb med en værdi pr.
      styk på ca. 2 mia. kr.

      6.2      Størrelsen på aktiebesiddelser er systematiseret

      For pensionsplanerne, der har købt de samme aktier den samme dag og til samme pris, er også ak-
      tieposternes størrelse systematiseret. Der er således ingen tilfælde, hvor to pensionsplaner har købt
      det samme antal aktier.

      (…) viser, hvordan de påståede besiddelser er systematiseret på tværs af pensionsplanerne. Bilaget
      indeholder en række oversigter over det antal aktier, som pensionsplanerne i henhold til deres ind-
      sendte Credit Advices skulle have ejet over udbyttedagen. Oversigterne baserer sig på samtlige Credit
      Advices (…), som Skattestyrelsen har modtaget fra pensionsplaner, der anvendte Solo-gruppen, og
      som Skattestyrelsen har udbetalt udbytterefusion på baggrund af. Udover pensionsplanerne repræ-
      senteret af TVC Advokatfirma indgår der således også andre amerikanske samt malaysiske pensions-
      planer, hvis navn er blevet anonymiseret i bilaget.

      Oversigterne er blevet sorteret efter det antal aktier, som pensionsplanerne i henhold til deres ind-
      sendte Credit Advices hver især skulle have ejet over udbyttedagen. Antallet af aktier er stigende fra
      top til bund.

      Alle oversigterne illustrerer, at antallet af aktier har en direkte sammenhæng med, hvem der er cu-
      stodian for pensionsplanerne. Systemet fungerer således, at der er 3 intervaller, som antallet af aktier
      bogføres efter. Det mindste interval er styret af West Point og Telesto, det største interval er styret
      af Solo Capital, og intervallet i midten er styret af Old Park Lane.

      Oversigten i (…) (Mærsk A-aktier), illustrerer eksempelvis, at West Point og Telesto styrer bogføringen
      i intervallet 7.717 – 8.193. Oversigten viser antallet af Mærsk A-aktier, som pensionsplanerne påstod
      at være i besiddelse af over udbyttedagen den 31. marts 2015 i henhold til deres Credit Advices.
      Blandt pensionsplanerne findes bl.a. [Pensionsplan F], [Pensionsplan C] og [Pensionsplan B], der alle
      er førersager. Deres trustees, som efter sigende ”afgiver samtlige ordrer til samtlige transaktioner”
      (…), og som ikke havde ”nogen direkte eller indirekte forbindelse eller kendskab til alle de øvrige pen-
      sionsplaner” (…), er henholdsvis (…), (…) og (…).

      Som det fremgår (…) er der ingen overlap mellem antallet af aktier, som pensionsplanerne påstår at
      være i besiddelse af over udbyttedagen. I oversigten over Mærsk A-aktierne (…) og Mærsk B-aktierne
      (…) er antallet af aktier endda fortløbende med kun enkelte ”huller”. Den tredje pensionsplan i ræk-
      ken påstår i sin Credit Advice at have ejet 7.840 Mærsk A-aktier, den næste pensionsplan påstår at
      have ejet 7.841 Mærsk A-aktier, den næste igen 7.842 Mærsk A-aktier og så fremdeles.



 Sagsnr. XX-XXXXXXX                                 Side 156/239
Case 1:18-md-02865-LAK                  Document 836-47                 Filed 06/27/22            Page 285 of 462




       Det giver ikke nogen som helst mening, at pensionsplaner, der ikke har noget kendskab til hinanden
       – og som efter sigende skulle styre deres egne påståede aktiehandler – skulle handle i et sådant møn-
       ster. Det siger sig selv, at dette mønster ikke blot er et tilfælde.

       Det fortløbende antal aktier var alene et røgslør, der havde til hensigt at skjule realiteterne for SKAT
       (nu Skattestyrelsen), nemlig at alle påståede køb af aktier er fiktive og alene udformet for uretmæs-
       sigt at opnå udbytterefusion.

       ______________________________

       Det lykkes i alle tilfælde for pensionsplanerne at finde

                     én sælger,
                     én køber,
                     én aktielåntager og
                     én forward-aftalepart,

       der vil handle disse helt abnormt store aktieposter til netop de beløb, som pensionsplanen har ”øn-
       sket”. Det gælder disse meget betydelige aktieposter – og i alle tilfælde.

       Det betyder, at pensionsplanerne på intet tidspunkt er fejlet med at finde medkontrahenter til de
       store transaktioner. Og det betyder, at pensionsplanen på intet tidspunkt er blevet nødt til at splitte
       transaktionen i to eller alene gennemføre transaktionen delvist.

       Det kan ikke lade sig gøre for bare én pensionsplan. Det kan heller ikke lade sig gøre i så mange
       tilfælde.
       Pensionsplanernes påstand er derfor virkelighedsfjern i anden potens.

       6.3        Pensionsplaner har næsten ens aktieporteføljer (nyt)

       Ifølge pensionsplanernes custody statements (…) havde de pensionsplaner, der handlede aktier i
       2015, præcis den samme aktieportefølje og handlede med de samme 14 danske aktier i 2015.

       Det drejer sig om 77 pensionsplaner ud af de over 100 pensionsplaner, som TVC Advokatfirma indgav
       klager på vegne af i 2018. Som eksempel vises her seks pensionsplaners investeringer i 2015, herun-
       der førersagen [Pensionsplan C]:

  Navn (“pension plan”)         [Pensions-      [Pensions-        [Pensions-      [Pensions-       [Pensions-      [Pensionsplan
                                plan C]         plan I]           plan J]         plan K]          plan L]         M]


  SANST j.nr.                   (…)             (…)               (…)             (…)              (…)             (…)
  A.P. Møller Mærsk A/S - A             7.880           7.865             7.849           7.851            7.892            7.871
  A.P. Møller Mærsk A/S - B             7.884           7.871             7.864           8.069            7.893            8.079
  Carlsberg A/S - B                   18.0314         178.346           178.352         178.402          181.135          177.618
  Coloplast A/S - B                   292.365         294.517           295.956         293.038          295.514          295.238
  Danske Bank A/S                 3.026.108        3.399.185       3.080.069       3.332.339         3.293.014           2.978.112
  DSV A/S                             824.244         685.834           759.755         726.245          776.849          804.456



 Sagsnr. XX-XXXXXXX                                   Side 156/239
Case 1:18-md-02865-LAK                 Document 836-47                Filed 06/27/22            Page 286 of 462




  FLSmidth & Co A/S                  81.040           80.155          80.283           80.292           81.548        79.791
  GN Store Nord A/S                 588.285         552.691          626.259          588.941         581.185        591.435
  Novo Nordisk A/S - B            6.267.033       5.887.844        6.671.570        6.274.023       6.191.398      6.300.588
  Novozymes A/S - B                 688.545         686.764          686.991          776.240         797.000        814.004
  Pandora A/S                       416.809         468.196          424.241          458.988         453.572        410.198
  TDC A/S                         3.092.779       3.296.713        2.766.412        2.886.717       2.957.050      3.205.055
  Tryg A/S                           34.618           34.976          34.540           34.742           35.067        34.793
  Vestas Wind Systems A/S           375.802         374.281          373.968          376.685         374.009        378.845
  Hovedtotal                     15.883.706       15.955.238      15.994.109       16.022.572      16.033.126      16.086.083

      (…)

      For aktiehandler foretaget i 2014 kan det konstateres, at pensionsplanerne handlede blandt de
      samme 12 aktier. I 2013 handlede alle pensionsplanerne blandt de samme to aktier.

      Også dette er særdeles besynderligt, hvis pensionsplanerne, som TVC Advokatfirma påstår, alle er
      uafhængige af hinanden. Tværtimod giver det god mening, når der er tale om en skrivebordsøvelse,
      der har til formål at formå den danske stat til at foretage uberettigede udbetalinger.

      6.4       Alle pensionsplaner handler med de samme parter (nyt)

      En gennemgang af pensionsplanernes custody statements (…) viser, at aktiehandler, der blev foreta-
      get i foråret (februar til maj) 2014, blev indgået med præcis samme aftaleparter. Dette gælder for
      alle transaktioner for samtlige pensionsplaner repræsenteret af TVC Advokatfirma, hvor der er ind-
      givet klage i 2018 og fremlagt custody statement og/eller broker confirmations (…).

      Som (…) fremlægges en oversigt, der illustrerer pensionsplanernes aftaleparter ved påståede køb af
      A.P. Møller Mærsk A/S A-aktier i 2014, herunder ét af pensionsplanerne fra førersagerne (markeret
      med rød i bilaget).

      Som det fremgår, varetager brokeren (…) alle transaktioner, der vedrører køb af aktier. Videre frem-
      går det, at brokeren (…) varetager salget af aktier, at (…) er aftalepart til forwards, og at (…) er afta-
      lepart til GMSLA’en. For en del af de påståede aktiehandler er der dog ikke oplysninger om pensions-
      planernes aftaleparter på forwards og GMSLA’er.

      Det er helt usandsynligt, at ”uafhængige” pensionsplaner foretager aktiehandler for mange millioner
      kroner med præcis de samme aftaleparter. Også dette viser, at de fiktive aktiehandler er konstrueret
      fra centralt hold.

      Dertil kommer, at det er helt usandsynligt, at de samme parter kan levere likviditet og risikoafdæk-
      ning i det efterspurgte ekstremt store omfang. Det er i forvejen til fulde udokumenteret og usand-
      synligt, at aktielåntageren skulle kunne skaffe finansiering til bare én pensionsplans ekstraordinært
      store aktiekøb. Det er umuligt, at aktielåntageren skulle kunne skaffe finansiering til mange pensions-
      planer på én gang.

      Det samme gør sig gældende omkring forward-aftaleparten. Det er usandsynligt (og udokumenteret),
      at ét selskab (hjemhørende i skattely) skulle kunne kurssikre en lang række pensionsplaners handler
      for millioner af kroner.


 Sagsnr. XX-XXXXXXX                                  Side 156/239
Case 1:18-md-02865-LAK               Document 836-47               Filed 06/27/22          Page 287 of 462




      6.5      Salgstidspunkt er systematiseret (nyt)

      For aktiehandlerne i 2013 og 2014 anvendes enten samme salgsdato for alle handler af en specifik
      aktie på tværs af pensionsplanerne, eller også sælger alle pensionsplanerne deres aktieposter i løbet
      af fire dage

      F.eks. påstår 20 pensionsplaner, herunder førersagen [Pensionsplan N], at de alle i perioden 16.-19.
      juni 2014 solgte deres Novozymes-aktier, der var blevet købt den 26. februar 2014 (…). Det er påfal-
      dende, at 20 pensionsplaner, som påstår at være uafhængige af hinanden, hver for sig når frem til,
      at Novozymes-aktierne skulle ”ejes” i næsten 4 måneder og så pludselig afhændes inden for ganske
      få dage.

      Et andet eksempel er 23 pensionsplaner, der solgte Coloplast-aktier den 17. december 2014 (sam-
      menstilling af data fra pensionsplanernes (…) – førersagerne er fremhævet):


        Shareholder (Pension Plan)                                   Antal aktier       Salg
                                                                     (Coloplast)        (Handelsdato)

        [Pensionsplan O]                                                  997.679         17. december 2014
        [Pensionsplan P]                                                  919.162         17. december 2014
        [Pensionsplan Q]                                                 1.063.104        17. december 2014
        [Pensionsplan B]                                                   998.992        17. december 2014
        [Pensionsplan E]                                                 1.016.175        17. december 2014
        [Pensionsplan R]                                                  928.526         17. december 2014
        [Pensionsplan S]                                                  950.518         17. december 2014
        [Pensionsplan T]                                                 1.002.630        17. december 2014
        [Pensionsplan U]                                                 1.074.214        17. december 2014
        [Pensionsplan V]                                                 1.020.078        17. december 2014
        [Pensionsplan D]                                                 1.046.892        17. december 2014
        [Pensionsplan W]                                                  997.586         17. december 2014
        [Pensionsplan X]                                                 1.015.159        17. december 2014
        [Pensionsplan Y]                                                 1.095.426        17. december 2014
        [Pensoinsplan Z]                                                  990.463         17. december 2014
        [Pensionsplan Æ]                                                  930.208         17. december 2014
        [Pensionsplan Ø]                                                  907.165         17. december 2014
        [Pensionsplan Å]                                                  933.555         17. december 2014
        [Pensionsplan AA]                                                1.073.342        17. december 2014
        [Pensionsplan H]                                                 1.087.680        17. december 2014
        [Pensionsplan AB]                                                 931.267         17. december 2014
        [Pensionsplan AC]                                                 998.148         17. december 2014
        [Pensionsplan AD]                                                 975.440         17. december 2014


 Sagsnr. XX-XXXXXXX                                Side 156/239
Case 1:18-md-02865-LAK                 Document 836-47               Filed 06/27/22            Page 288 of 462




      I alle disse tilfælde gør pensionsplanerne gældende, at de havde købt aktieposten den 4. december.
      Det er påfaldende, at 23 uafhængige pensionsplaner alle skulle beslutte sig for at ”eje” aktieposten i
      netop 13 dage.

      Eksemplerne viser, hvordan de påståede aktiebeholdninger er systematiseret på tværs af pensions-
      planerne.
      ____________________________

      I 2015 er der tilsyneladende anvendt en anden systematik for afvikling af ”aktiebesiddelserne”. Møn-
      steret ændrer sig, så pensionsplanerne i stedet for at sælge på samme dag eller i løbet af meget få
      dage begynder at afhænde deres aktier over en periode på cirka to måneder.

      Imidlertid er det fortsat tydeligt, at handlerne er systematiseret fra centralt sted. Fordelingen af sal-
      gene tyder nærmere på, at handlernes størrelser søges maskeret.

      Der er således en skarp opdeling mellem de fire custodians i Solo-gruppen. Der er på intet tidspunkt
      to custodians, der sælger samme aktier samme dag.

      Dette kan illustreres med (…), der viser, at Mærsk A-aktier, der påstås købt den 31. marts 2015, an-
      giveligt sælges på forskellige datoer afhængigt af, hvilken custodian der er tale om. F.eks. sælger Old
      Park Lane aktier den 2. juni 2015, mens Telesto sælger aktier den 3. juni 2015, og Solo Capital sælger
      aktier den 8. juni 2015.

      Det er altså koordineret fra centralt hold, hvornår de Shah-kontrollerede custodians skal sælge ak-
      tierne, hvilket understøtter, at aktiehandlerne alene er en fiktiv konstruktion skabt med henblik på
      at opnå uberettigede refusioner af udbytteskat.

      6.6      Sanjay Shah kontrollerede pensionsplanernes custodians (Solo-gruppen)

      Pensionsplanerne repræsenteret af TVC Advokatfirma har alle – bortset fra én ([Pensionsplan G]) –
      anvendt en eller flere af fire custodians: Old Park Lane, Solo Capital, Telesto og West Point. Disse fire
      custodians udgør tilsammen Solo-gruppen.

      Solo-gruppen er kun kendt af Skattestyrelsen fra dette sagskompleks.

      De fire selskaber er alle i vidt omfang kontrolleret af Sanjay Shah, der efterforskes af det danske,
      engelske og tyske politi i forbindelse med udbyttesagen som en af de formodede hovedbagmænd,
      der har orkestreret svindlen.

      Solo Capital Partners LLP, selskabsnummer OC367979, blev grundlagt i september 2011. Selskabet
      blev stiftet af Sanjay Shah og Solo Capital Limited. Solo Capital Partners LLP er aktuelt taget under
      konkursbehandling og behandles som under ”Special Administration” i England på grund af den for-
      modede kriminalitet begået i selskabet. Selskabet har tidligere været ejet af det luxembourgske sel-
      skab, Aesa SARL, der er ejet af Sanjay Shah, ligesom Sanjay Shah tidligere har været administrerende
      direktør for selskabet. En lang række af de Credit Advices, der er indsendt af Solo Capital, er under-
      skrevet af Sanjay Shah personligt (…).
      Old Park Lane Capital PLC var på udbetalingstidspunkterne ejet af en række aktionærer, hvoraf en af
      de største aktionærer er Aesa Holdings (UK) Limited, der efterfølgende har ændret navn til Solo
      Group Holdings Limited og er ejet af Aesa SARL, der ejes af Sanjay Shah.


 Sagsnr. XX-XXXXXXX                                  Side 156/239
Case 1:18-md-02865-LAK                 Document 836-47               Filed 06/27/22            Page 289 of 462




      Telesto Markets LLP var i 2015 ejet af Solo Group Holdings Limited, der som nævnt oven for er ejet
      af Aesa SARL, der som nævnt ejes af Sanjay Shah.

      West Point Derivatives Ltd var i 2014 b.l.a. ejet af Hooloomooloo Holdings Limited, som ejes af Sanjay
      Shah.

      Tidligere påstod pensionsplanerne, at de ikke havde noget kendskab til, om disse 4 custodians ”til-
      hørte samme gruppe af selskaber”. Dette beroede på Skattestyrelsens antagelse, (…).

      Senere har pensionsplanerne radikalt ændret deres forklaring om disse 4 custodians.

      På (…) oplyste pensionsplanerne således som noget nyt, at ”Solo Capital var overordnet custodian i
      forhold til Old Park Lane, Telesto og West Point”, og at alle pensionsplanernes penge indestod på Solo
      Capitals bankkonto, (…), og (…). Og i (…) omtaler pensionsplanerne konsekvent de 4 custodians som
      ”Solo-gruppen”.

      De fire custodians Old Park Lane, Solo Capital, Telesto og West Point udgør således tilsammen Solo-
      gruppen og har været kontrolleret af Sanjay Shah.

      6.7      Custodian: Sanjay Shahs ”univers”

      De fire custodians i Solo-gruppen (Solo Capital, Old Park Lane, Telesto og West Point) har tilsammen
      produceret dokumentation, som er blevet anvendt til at få udbetalt over 9 milliarder kroner i udbyt-
      terefusion fra den danske stat. Dokumentationen dækker over påståede aktiebesiddelser til en kur-
      sværdi (på udlodningstidspunkterne på samlet ca. 1.354 mia. kr. De producerede dokumenter skal
      vise, at Solo-gruppen holdt meget betydelige aktieposter for sine kunder, dvs. pensionsplanerne, og
      at der for de pågældende aktieposter var blevet udbetalt udbytte og indeholdt udbytteskat, som
      pensionsplanerne derefter krævede refunderet fra SKAT.

      Efterfølgende kontrol har imidlertid afdækket, at selvom Solo-gruppen har attesteret at holde aktier,
      hvoraf der er udbetalt bruttoudbytte på i alt 33,4 milliarder kroner, er der ingen objektiv dokumen-
      tation for – eller blot spor af – at Solo-gruppen skulle have besiddet én eneste aktie (afsnit 5.1, oven-
      for). Den eneste ”dokumentation” for aktiebesiddelserne er de dokumenter, som Solo-gruppen selv
      har fremstillet.

      En gennemgang af de dokumenter, som pensionsplanerne har fremlagt fra Solo-gruppen, forstærker
      da også indtrykket af, at Solo-gruppen ikke har besiddet aktier på vegne af pensionsplanerne, men
      derimod alene har fremstillet dokumentation med det ene formål at få udbetalt udbytterefusion:

      Credit Advices er nummereret fortløbende på tværs af de 4 custodians, selvom der er tale om uaf-
      hængige juridiske personer (afsnit 6.8, nedenfor). Credit Advices, der passer ind tidligt i nummerræk-
      ken, er desuden blevet forsøgt anvendt til at opnå refusion sent i forløbet (i 2017) (afsnit 6.9, neden-
      for), hvilket illustrerer, at det er skuffedokumenter uden nogen realitet.

      Påståede aktiebesiddelser er – som det fremgår af afsnit 6.1-6.5 – systematiseret på tværs af Solo-
      gruppen. Det er nøje afstemt, hvor store aktiebesiddelser der attesteres af hver custodian, hvilket
      kun kan have til formål at sløre systematikken og sammenhængen over for skattemyndighederne. I
      nogle tilfælde ses desuden, at størrelsen af pensionsplanernes aktiebesiddelser er ”fortløbende”;
      dvs. at hver pensionsplan på listen ejer én aktie mere end den foregående.



 Sagsnr. XX-XXXXXXX                                  Side 156/239
Case 1:18-md-02865-LAK                  Document 836-47                 Filed 06/27/22            Page 290 of 462




      Aftalegrundlaget mellem custodian og pensionsplan (Custody Agreement) er ikke blevet overholdt,
      idet pensionsplanerne ikke på noget tidspunkt har indbetalt den krævede Minimum Cash Balance
      (afsnit 5.9, ovenfor). Custodian har dermed ikke haft nogen sikkerhed, hvilket ville være uacceptabelt,
      hvis der faktisk blev handlet aktier (jf. også afsnit 3.2, ovenfor), idet custodian angiveligt skulle indestå
      for gennemførsel af transaktionerne.

      Custody statements (…) viser ikke daglige bevægelser på hverken almindelige pengekonti eller på
      aktiedepoter (og -beholdninger) (afsnit 5.2, ovenfor). Uanset betegnelsen udgør de som (…) frem-
      lagte bilag dermed ikke egentlige custody statements, og de dokumenterer ikke aktiebesiddelser.

      Oversigter over bogføringer er udarbejdet efterfølgende af pensionsplanernes repræsentant til brug
      for denne sag (afsnit 5.3, ovenfor). De er fejlbehæftede og indeholder oplysninger, som ikke fremgår
      af sagens bilag. Oversigterne har derfor ingen bevisværdi.

      Samlet set er fejlene og manglerne sammenholdt med systematikkerne i pensionsplanernes doku-
      menter fra Solo-gruppen klare indikatorer for, at pensionsplanerne på intet tidspunkt har ejet aktier,
      men at det derimod har været et samlet og komplekst svindelnummer.

      6.8      Credit Advices er nummereret fortløbende på tværs af Solo-gruppen

      I forbindelse med at SKAT har truffet afgørelser om dels tilbagekaldelse af tidligere afgørelser om
      refusion af indeholdt udbytteskat og dels afslag på nye refusionsanmodninger, har SKAT registreret
      alle Credit Advices indsendt med refusionsanmodningerne, herunder Credit Advices som er udstedt
      af Solo-gruppen. SKATs registrering af Credit Advices fra de omtalte fire custodians omfatter ca. 3.400
      Credit Advices, der har dannet grundlag for refusionsanmodninger på samlet ca. 9 mia. kr.

      SKATs registrering viser, at Credit Advices fra de fire Shah-kontrollerede custodians – som er juridisk
      uafhængige enheder – er nummereret af de respektive custodians selv, og at nummereringen er fort-
      løbende. Registreringen viser også, at der ikke er nogen dubletter i Credit Advice ID-numrene fra disse
      fire custodians. Der er enkelte ”huller” i nummereringen, dvs. Credit Advice ID-numre, som tilsynela-
      dende ikke er benyttet.

      Den fortløbende nummerering af de udstedte Credit Advices fra Solo Capital, Old Park Lane, Telesto
      og West Point ”hopper” mellem disse fire custodians. Det kan som eksempel illustreres med følgende
      uddrag fra SKATs registrering (…):

            Credit Advice ID 2533-2578: Telesto
            Credit Advice ID 2579-2619: West Point
            Credit Advice ID 2620-2659: Solo Capital
            Credit Advice ID 2660-2701: Old Park Lane
            Credit Advice ID 2702-2746: Solo Capital
            Credit Advice ID 2747-2788: Old Park Lane
            Credit Advice ID 2789-2830: Telesto
            Credit Advice ID 2831-2871: West Point



      Som konkrete (anonymiserede) eksempler på den fortløbende nummerering kan nævnes følgende,
      (…):

      Eksempel 1:


 Sagsnr. XX-XXXXXXX                                    Side 156/239
Case 1:18-md-02865-LAK                Document 836-47                Filed 06/27/22           Page 291 of 462




      Credit Advice ID 2788: Old Park Lane                       17. marts 2015
      Credit Advice ID 2789: Telesto                             17. marts 2015

      Eksempel 2:
      Credit Advice ID 2904: Solo Capital                        23. marts 2015
      Credit Advice ID 2905: Old Park Lane                       23. marts 2015
      Credit Advice ID 2906: Solo Capital                        23. marts 2015

      Eksempel 3:
      Credit Advice ID 2935: Solo Capital                        23. marts 2015
      Credit Advice ID 2936: Telesto                             23. marts 2015

      Eksempel 4:
      Credit Advice ID 2955: Old Park Lane                       23. marts 2015
      Credit Advice ID 2956: Telesto                             23. marts 2015
      Credit Advice ID 2957: West Point                          23. marts 2015

      Uanset om disse 4 custodians (til trods for, at de benyttede forskelligt brevpapir) skulle have benyttet
      samme back office, (…), giver det ikke nogen mening, at de i alt ca. 3.400 Credit Advices er fortlø-
      bende nummereret på tværs af selskaberne.

      Og hvis de fire custodians har haft samme back office (…), giver det ikke mening, at de har anvendt
      et så forskelligt layout til deres Credit Advices:

      (…)

      Der er netop tale om fire juridisk uafhængige enheder. Den fortløbende nummerering giver ikke me-
      ning – heller ikke selvom det er inden for samme koncern. Og hvis der var tale om et legitimt set-up
      med koncernforbundne selskaber, giver forskellene i layout ikke mening.

      Det understreger således, at opsætningen for så vidt angår udstedelsen af Credit Advices er orkestre-
      ret fra centralt hold. De udstedte Credit Advices er ikke udtryk for realiteter, men indgår alene som
      et element i den bevidste produktion af anmodninger om at få udbytterefusion uden at have ejerskab
      til aktier.

      I en række tilfælde har pensionsplaner, der uberettiget har fået refunderet udbytteskat, og andre
      nystiftede pensionsplaner efterfølgende (dvs. efter at svindlen blev opdaget) indsendt yderligere re-
      fusionsanmodninger for flere hundrede millioner kr., som imidlertid blev afslået af SKAT med henvis-
      ning til manglende dokumentation for ejerskab til aktier og modtagelse af nettoudbytte. Også i for-
      bindelse med disse efterfølgende anmodninger har pensionsplanerne henvist til Credit Advices fra
      Solo-gruppe

      Mere centralt er det, at de indsendte Credit Advices passer ind i det fortløbende nummersystem (…),
      uanset at disse er indsendt senere.

      Denne fortløbende nummerering af Credit Advices udstedt af de 4 Shah-custodians er en ganske mar-
      kant illustration af den systematiske svindel med refusionerne.
      6.9       Credit Advices fra Solo-gruppen blev anvendt til forsøg på svindel i 2017




 Sagsnr. XX-XXXXXXX                                 Side 156/239
Case 1:18-md-02865-LAK                  Document 836-47                 Filed 06/27/22            Page 292 of 462




      Den 1. februar 2017 modtog SKAT via den nuværende IT-løsning 34 anmodninger om refusion af
      udbytteskat, som alle blev identificeret som mistænkelige af SKATs udbytteafdeling. Anmodningerne
      blev derfor oversendt til Særlig Kontrol.

      De 34 anmodninger fra amerikanske pensionsplaner blev alle indgivet af agenten (…), der var ukendt
      for SKAT. Anmodningerne blev indgivet på vegne af 34 amerikanske pensionsplaner og lød på mellem
      290.835 kr. og 1.479.587 kr. Der blev sammenlagt anmodet om refusion af mere end 25 mio. kr. Af
      de 34 pensionsplaner er de 29 navngivet efter (…).

      En gennemgang af den vedlagte ”dokumentation” viste, at de pågældende Credit Advices var udstedt
      af Telesto (8 stk.), West Point (8 stk.), Old Park Lane (9 stk.) og Solo Capital (9 stk.). Disse Credit Advi-
      ces var nummereret således, at de passede ind i de ”huller” i den fortløbende nummerering af Credit
      Advices, jf. ovenfor, men også sådan, at der fortsat ikke var nogen dubletværdier.

      Det giver ingen mening, at nye (ukendte) pensionsplaner 1½ år senere indsender yderligere Credit
      Advices, som passer ind midt i kronologien af Credit Advice-numre. Det indikerer meget kraftigt, at
      der er tale om præfabrikerede ”skuffe-dokumenter”, der passer ind i et stort, overordnet system.

      Endelig var det – grundet den nuværende elektroniske ansøgningsprocedure – muligt for SKAT at
      tjekke det ”digitale fodspor” for de enkelte uploadede dokumenter, hvilket ikke var muligt med den
      tidligere fysiske ansøgningsprocedure (støttebilaget, afsnit 2). En gennemgang af de uploadede do-
      kumenter vedrørende de 34 pensionsplaner viste, at Sanjay Shah var anført som forfatter på alle
      credit advices udstedt af både Solo Capital og Old Park Lane (i alt 18 dokumenter) (…).

      SKAT, Særlig Kontrol, udsendte forslag til afgørelse i de 34 sager. Forslaget lød i alle tilfælde på, at
      anmodningen ville blive afslået, idet pensionsplanerne ikke havde dokumenteret ejerskab til aktierne
      og modtagelse af nettoudbytte. Forslagene blev sendt i kopi til agenten (…).

      (…) indsendte i forlængelse heraf 35 skrivelser med indsigelser mod SKATs forslag til afgørelse. Der
      er med andre ord fremsendt indsigelser i en ikke-eksisterende sag, dvs. en sag, hvor der aldrig er
      fremsat nogen anmodning om refusion over for SKAT, og hvor SKAT derfor ikke har lavet noget forslag
      til afgørelse (…).

      SKAT traf afgørelse om afvisning af anmodningerne den 1. juni 2018. Afgørelserne er blevet påklaget.

      Når der – som det fremgår – fortsat anmodes om refusion efter samme metode og på samme grund-
      lag som anvendt i nærværende sagskompleks, bliver det tydeligt, at den systematiske svindel med
      refusion af udbytteskatter ikke alene er historisk, men også af fremadrettet betydning.

      6.10     Pensionsplanerne har fastholdt, at handlerne ikke blev styret centralt

      Pensionsplanerne har igennem hele sagsforløbet fastholdt, at der ikke er tale om noget sagskom-
      pleks, og at pensionsplanerne har været fuldkommen uafhængige af hinanden.

      Dette standpunkt fremgår f.eks. af (…):

               ”Vores generelle svar på disse påstande er, at den enkelte [pensionsplan] ikke har
               nogen direkte eller indirekte forbindelse eller kendskab til alle de øvrige pensions-
               planer, der tilsyneladende også har købt danske børsnoterede aktier under en til-
               svarende investeringsstrategi. [Pensionsplanen] har på intet tidspunkt haft kend-
               skab til identiteten af alle de andre pensionsplaner med en lignende investerings-


 Sagsnr. XX-XXXXXXX                                    Side 156/239
Case 1:18-md-02865-LAK                  Document 836-47                  Filed 06/27/22        Page 293 of 462




                 strategi på samme eller andre handelsplatforme udført af samme eller andre mæg-
                 lere, investeringsforvaltere mv.”
                 (mine understregninger)

      Videre har pensionsplanerne beskrevet, hvordan det var pensionsplanerne selv, der købte og solgte
      aktierne. TVC Advokatfirma har bemærket, at pensionsplanernes trustee ”havde en onlineadgang via
      Solos web-portal til at have indblik i og styre samtlige transaktioner på daglig basis”, (…).

      På (…) har pensionsplanerne også fremlagt en liste over tegningsberettigede (”Authorised Signatories
      of Trust”), (…), og en liste over personer, som var berettigede til at handle på vegne af pensionspla-
      nerne (”Authorised Traders of Trust”), (…). Begge lister skulle efter sigende angå [Pensionsplan B], og
      den eneste person på listerne er (…) – [Pensionsplan B’s] trustee.

      Endelig har pensionsplanerne også fremlagt korrespondance mellem (…), der må tilhøre [Pensions-
      plan B], og brokeren (…) vedrørende aktiekøb, (…), ligesom pensionsplanerne også har bemærket, at
      custodian ikke var bemyndiget til at handle på vegne af pensionsplanerne, (…).

      Pensionsplanernes beskrivelse af,

             -   at trustee’en skulle ”styre samtlige transaktioner på daglig basis”, (…),
             -   at pensionsplanerne ikke havde ”nogen direkte eller indirekte forbindelse eller kendskab til
                 alle de øvrige pensionsplaner” eller ”kendskab til identiteten af alle de andre pensionsplaner
                 med en lignende investeringsstrategi”, (…), og
             -   at custodian ikke var bemyndiget til at foretage aktiehandler på vegne af pensionsplanerne,
                 (…),

      hænger på ingen måde sammen med pensionsplanernes kollektive og koordinerede investeringsstra-
      tegi, som de påståede aktiehandler illustrerer.

      6.11       To pensionsplaner har glemt at ansøge om refusion (nyt)

      To pensionsplaner, der er repræsenteret af TVC Advokatfirma, har tilsyneladende glemt at søge re-
      fusion af udbytteskat for deres påståede aktiebesiddelser.

      Det drejer sig om [Pensionsplan Q], der ikke har søgt refusion for aktier erhvervet i 2015:

                       Aktienavn                          Antal aktier        Indeholdt
                                                                              udbytteskat
                       A.P. Møller Mærsk A/S - B          8.094                  4.307.383,98 kr.
                       Carlsberg A/S - B                  179.556                 436.321,08 kr.
                       Coloplast A/S - B                  294.759                 358.132,19 kr.
                       Danske Bank A/S                    3.578.514              5.314.093,29 kr.
                       DSV A/S                            823.723                 355.848,23 kr.
                       FLSmidth & Co A/S                  80.747                  196.215,21 kr.
                       GN Store Nord A/S                  630.605                 153.237,02 kr.
                       Novo Nordisk A/S - B               6.717.867              9.069.120,45 kr.
                       Novozymes A/S - B                  822.009                 665.827,29 kr.



 Sagsnr. XX-XXXXXXX                                   Side 156/239
Case 1:18-md-02865-LAK                Document 836-47               Filed 06/27/22           Page 294 of 462




                      Pandora A/S                       492.896                1.197.737,28 kr.
                      TDC A/S (marts)                   3.090.704               834.490,08 kr.
                      Tryg A/S                          35.072                  274.613,76 kr.
                      Vestas Wind Systems A/S           378.092                 398.130,88 kr.
                      A.P. Møller Mærsk A/S - A         7.894                  4.200.949,98 kr.
                      TDC A/S (august)                  1.092.245               294.906,15 kr.
                      Sum                                                    28.057.006,87 kr.

      Derudover drejer det sig om [Pensionsplan E], der ikke har søgt refusion for en i custody statement
      (…) medtaget aktiebesiddelse på 1.475.613 Coloplast-aktier erhvervet i 2015, hvor der ville være ble-
      vet indeholdt 1.792.869,80 kr.

      Det giver ingen mening, at pensionsplanerne skulle kunne glemme at få udbetalt så betydelige beløb,
      som angiveligt skulle være anvendt til at dække betydelige omkostninger forbundet med dette set-
      up (afsnit 5.8, ovenfor), eller som pensionsplanerne under alle omstændigheder burde mene at have
      krav på, hvis de fastholder, at de har krav på de refusioner, som denne sag omhandler.

      Det giver på den anden side god mening, at en enkelt pensionsplan eller en enkelt bogføringsmæssig
      postering kan forsvinde i mængden i et svindelnummer, der hos Solo-gruppen har været på cirka 9
      milliarder kroner og omfattede langt over 100 pensionsplaner og mange tusinde påståede aktiehand-
      ler.

      Pensionsplanerne hævder, de har meget små gevinster, da gevinsten ædes op af udokumenterede
      udgifter. Hvis det er rigtigt, så mangler de to pensionsplaner et betydeligt beløb og har dermed et
      betydeligt udestående, som ikke er blevet betalt. Det ville de påståede medkontrahenter opdage.
      Når de øjensynligt ikke har opdaget det, er det blot udtryk for, at det hele er papirmanøvrer – og ikke
      udtryk for reelle pengestrømme.

      7.       FORMALIA

      7.1      Bevisbyrde

      Det er pensionsplanerne, der har anmodet om refusion af indeholdt udbytteskat, og det er dermed
      også pensionsplanerne, der har bevisbyrden for, at betingelserne for refusion af udbytteskat er op-
      fyldt, jf. f.eks. UfR 2003.2312/3H. Dette bestrider pensionsplanerne da heller ikke, (…).

      Det er irrelevant, om pensionsplanerne på ansøgningstidspunktet har fremlagt dokumenter, som –
      hvis de havde været korrekte – var tilstrækkelig dokumentation efter SKATs arbejdsgange i 2015, cf.
      (…). Det afgørende er, om Landsskatteretten på baggrund af sagens oplysninger finder, at pensions-
      planerne har bevist, at de opfyldte betingelserne for refusion af udbytteskat.

      Pensionsplanernes forklaring om transaktionerne, der skulle have givet ret til udbytterefusion, er us-
      andsynlig, jf. afsnit 2.4, ovenfor, og bevisbyrden er derfor skærpet, jf. f.eks. UfR 1998.898 H.

      Dertil kommer, at pensionsplanernes bilagsmateriale er fejlbehæftet og mangelfuld og deres forkla-
      ringer og anbringender usammenhængende og skiftende i en sådan grad, at bevisbyrden må skærpes
      yderligere, jf. afsnit 3-6, ovenfor, og afsnit 8, nedenfor, og f.eks. SKM2019.250.ØLR.
      Pensionsplanerne gør omvendt gældende, at bevisbyrden har flyttet sig, således at Skatteforvaltnin-
      gen er nærmest til at bære risikoen for bevistvivl som følge af den passerede tid og de trufne afgø-

 Sagsnr. XX-XXXXXXX                                 Side 156/239
Case 1:18-md-02865-LAK                Document 836-47               Filed 06/27/22           Page 295 of 462




      relser om refusion. Pensionsplanerne gemmer sig i den sammenhæng i vidt omfang bag, at danske
      og engelske myndigheder har beslaglagt materiale fra deres custodians (…), og at Skattestyrelsen bør
      indhente materiale fra SØIK (…).

      Skattestyrelsen bestrider, at bevisbyrden på den måde kan vendes, også når der henses til sagernes
      karakter. Pensionsplanerne har i perioden 2012-2015 anmodet om refusion på baggrund af meget
      store påståede aktiebesiddelser. Pensionsplanerne har således hver især foretaget investeringer for
      mange millioner kroner – og i mange tilfælde endda for flere milliarder kroner. Sagerne blev (i fører-
      sagerne) startet ved udsendelse af forslag til afgørelse den 23. og 24. marts 2017 og dermed få år
      efter udbetalingerne – og på tidspunkter, hvor bogføring fortsat burde være gemt efter både dansk
      og amerikansk ret.

      TVC Advokatfirma repræsenterer mere end 100 pensionsplaner. Det kan simpelthen ikke passe, at
      --
      alle disse pensionsplaner har været så letsindige, at de ikke selv har været i besiddelse af nogen form
      for fysisk eller elektronisk dokumentation for deres tidligere aktiebesiddelser (som udgjorde grund-
      laget for deres refusionsanmodninger).

      Det er påfaldende, at pensionsplanerne ved 5 indlæg og over 4.000 siders bilagsmateriale har undladt
      at fremlægge relevant materiale, som må være i deres besiddelse, hvis der – som de påstår – er
      foregået aktiehandler:

              Pensionsplanerne har ikke fremlagt deres egne kontoudtog. Der er ikke fremlagt kontoudtog
               vedrørende hverken pensionsplanernes kontantbeholdninger eller aktiebeholdninger. Det
               siger sig selv, at pensionsplanerne er i besiddelse af dette materiale.

              Det er ikke dokumenteret, at pensionsplanerne har modtaget de påståede nettoudbytter
               eller udbytterefusion, (…).

              Der er ingen dokumentation for pengestrømme, herunder kontante sikkerhedsstillelser og
               betaling for aktier. Det er dermed heller ikke dokumenteret, at der er sket settlement,
               altså at de påståede aktiehandler faktisk er blevet gennemført.

              Ifølge pensionsplanernes egne oplysninger har de tjent millioner af kroner ved transaktio-
               nerne. Som eksempel herpå kan henvises til [Pensionsplan B] (…). I 19 tilfælde har [Pen-
               sionsplan B] ifølge eget udsagn handlet aktier og derved tjent et beløb, der ”tilfældigvis”
               er næsten lige så stor som udbytterefusionen, (…). Pensionsplanerne har end ikke forsøgt
               at give Landsskatteretten et svar på, hvor deres meget store fortjenester er blevet af. Dette
               er et eksempel på, hvor virkelighedsfjerne pensionsplanernes forsøg på argumentation er.
               Når historien ikke hænger sammen, ja, så er det blot, fordi den er forkert.

              Der er kun fremlagt enkelte af de påberåbte GMSLA’er (…), og disse er udaterede, uden
               underskrift og ufuldstændige. Derudover er pensionsplanerne i de fleste tilfælde ikke afta-
               lepart.

              Der er ingen dokumentation for den påståede pantsætning af arbitragegevinsten (og pen-
               sionsplanernes yderligere midler) til GMSLA-medkontrahenterne og/eller custodian/Solo
               Capital, jf. TTC-klausulen.

      Pensionsplanerne er i stedet fremkommet med en række skiftende forklaringer og en betydelig
      mængde dokumenter. Når pensionsplanernes forklaringer sammenholdes med de dokumenter, som
      pensionsplanerne har fremlagt under sagernes forberedelse for Skatteankestyrelsen, fremgår det ty-

 Sagsnr. XX-XXXXXXX                                 Side 156/239
Case 1:18-md-02865-LAK                 Document 836-47                Filed 06/27/22            Page 296 of 462




      deligt, at pensionsplanerne aldrig har ejet danske aktier. De foreliggende oplysninger peger derimod
      i den modsatte retning, jf. UfR 2003.2313/3 H. ”Dokumentationen” er nemlig i et unaturligt stort
      omfang fejlbehæftet.

      Der er ikke bevistvivl i sagen; der er nemlig ingen dokumentation for de påståede aktiehandler, og
      der er alt for mange fejl i det materiale, som pensionsplanerne har fremlagt for at underbygge deres
      ”historie”. Hvis der efter Landsskatterettens opfattelse foreligger bevistvivl, skyldes det alene, at pen-
      sionsplanerne har undladt at fremlægge dokumenter, der må være i deres besiddelse. Dette skal
      komme dem bevismæssigt til skade og er i modstrid med deres udsagn om, at de ville oplyse sagerne,
      (…).

      7.2       Annullation eller tilbagekaldelse – ugyldige afgørelser kan tilbagekaldes

      Pensionsplanerne har i (…) gjort gældende, at SKAT skulle have tilbagekaldt sine oprindelige, gyldige
      afgørelser om refusion af udbytteskat, (…), selvom der ikke er fremkommet nye faktiske oplysninger
      i sagerne siden afgørelserne om udbetaling, (…). Det anførte er udtryk for en misforståelse af både
      de faktiske og retlige omstændigheder.

      Pensionsplanerne anfører nu korrekt i (…), at de retlige omstændigheder skal forstås således, at
      SKATs afgørelser om tilbagekaldelse er udtryk for en annullation af de oprindelige afgørelser som
      følge af, at disse var ulovhjemlede og derfor ugyldige.

      Følgende fremgår således af afgørelserne til [Pensionsplan C], [Pensionsplan B] og [Pensionsplan F],
      (…):

               ”[Navn] har derfor ikke dokumenteret, at [navn] opfylder betingelserne for at få
               refunderet indeholdte af danske aktier, jf. artikel 10 i dobbeltbeskatningsove-
               renskomsten mellem Danmark og USA.

               (…)

               SKATs afgørelser om at refundere udbytteskat til [navn] hviler dermed på et urigtigt
               grundlag.

               SKAT tilbagekalder derfor de tidligere afgørelser om refusion af udbytteskatter.”

      Tilsvarende formulering fremgår af Skattestyrelsens afgørelser til de øvrige førersager.

      Som det fremgår, fastslås det i afgørelserne, at betingelserne for refusion ikke var opfyldt, og at af-
      gørelserne om udbetaling er truffet på urigtigt grundlag. SKATs afgørelser er således ikke en tilbage-
      kaldelse af en gyldig afgørelse. Det er derfor forkert, når pensionsplanerne skriver, at ”SKAT selv har
      lagt til grund, at de oprindelige afgørelser om udbetaling af refusion af udbytteskat var juridisk gyl-
      dige, da SKAT i modsat fald skulle have truffet afgørelse om at annullere disse tidligere afgørelser”,
      (…).

      Det er irrelevant, om SKAT har benævnt afgørelsen ”tilbagekaldelse” eller ”annullation”, (…). Pen-
      sionsplanerne kan ikke støtte ret på overskriften. Dertil kommer, at begreberne tilbagekaldelse og
      annullation ikke anvendes konsekvent. I SKM2011.501.HR fastslog Højesteret således, at SKAT kunne
      ”tilbagekalde” (ikke annullere) en tilladelse, idet tilladelsen savnede hjemmel, dvs. pga. ugyldighed.
      Dommen illustrerer, hvordan begreberne (til en vis grad) anvendes synonymt.



 Sagsnr. XX-XXXXXXX                                  Side 156/239
Case 1:18-md-02865-LAK                  Document 836-47                Filed 06/27/22        Page 297 of 462




      Idet pensionsplanerne på intet tidspunkt har ejet de hævdede aktier, endsige haft ret til udbyttet
      heraf, er SKATs oprindelige afgørelser om refusion af udbytteskat ugyldige, og SKAT var derfor såvel
      berettiget som forpligtet til at annullere afgørelserne. For ugyldige afgørelser er det klare udgangs-
      punkt, at sådanne ikke kan opretholdes, jf. f.eks. SKM2011.501.HR. Det fremgår da også af Forvalt-
      ningsret Almindelige Emner, 6. udgave, kapitel 8, s. 517-518, hvortil pensionsplanerne henviser (…).
      De af pensionsplanerne anførte betragtninger om tilbagekaldelse er dermed uden betydning for nær-
      værende sag.

      De faktiske omstændigheder er gennemgået nærmere ovenfor og i (…). Som det fremgår heraf, har
      Skattestyrelsen en række oplysninger nu, der ikke forelå på udbetalingstidspunktet. Det er således
      ikke rigtigt, når pensionsplanerne skriver, at Skattestyrelsen i nærværende sag ”ikke ses at være kom-
      met i besiddelse af reelt nye faktiske oplysninger i sagen”, (…). Da SKAT udbetalte udbytterefusioner
      til pensionsplanernes agent, havde SKAT ikke kendskab til den omfattende svindel med refusionsan-
      modninger. SKAT havde heller ikke grundlag for at antage, at grundlaget for anmodningerne var uden
      realitet.

      Betingelserne for annullation/tilbagekaldelse af de tidligere afgørelser er således opfyldt, idet afgø-
      relserne er uhjemlede.

      Selv hvis det kan bebrejdes SKAT, at der ikke blev foretaget en egentlig kontrol af hver enkelt refu-
      sionsanmodning, ændrer det ikke på, at pensionsplanerne ikke har fremlagt dokumentation for, at
      pensionsplanerne faktisk har ejet de påstående aktier. Skattestyrelsen er derfor heller ikke som følge
      heraf afskåret fra at tilbagekalde/annullere afgørelserne om refusion, jf. f.eks. UfR 2003.2312/3H og
      UfR 2007.3052 H.

      Tilbage står nemlig, at der ikke er nogen dokumentation for, at pensionsplanerne faktisk har ejet de
      påståede aktier og modtaget det påståede nettoudbytte, hvorfor de ikke har været berettiget til de
      udbetalte refusioner.

      8.         PENSIONSPLANERNES BETRAGTNINGER

      8.1        Pensionsplanernes pengemaskine

        Pensionsplanerne har i (…), anført, at

          ”elimineringen af de økonomiske risici […] er en standardrutine for enhver DIV-Arb-
        transaktion”

      og, at

            ”hver Div-Arb-transaktion er profitabel”.

      Ifølge pensionsplanerne har de altså uden at have nogen penge kunnet benytte en investeringsmo-
      del, som er uden nogen form for økonomisk risiko, og som altid giver gevinst.

      Pensionsplanerne anfører da også i (…), at ”Div-Arb er en pengemaskine”.

      En sådan (lovlig) pengemaskine eksisterer ikke.
      8.2     Én aktie kan have flere ejere

      Ifølge pensionsplanerne ”kan en aktie have mere end én ejer”, (…).


 Sagsnr. XX-XXXXXXX                                     Side 156/239
Case 1:18-md-02865-LAK                   Document 836-47              Filed 06/27/22          Page 298 of 462




      Det er ikke rigtigt.

      Det ville indebære, at det aktieudstedende selskab skulle udlodde udbytte til mere end 100 % aktio-
      nærer. Det er ikke tilfældet. En eventuel tvivl om, hvem der ejer en aktie, indebærer selvfølgelig ikke,
      at der er flere ejere af samme aktie på samme tidspunkt.

      Hvis der kunne være flere ejere af samme aktie, ville det også betyde, at mere end 100 % aktionærer
      kunne møde og stemme på selskabets generalforsamling.

      8.3       Short-selling medfører, at der er flere aktier på markedet end udstedt af selskabet

      Pensionsplanerne påstår, at short-selling har som typisk konsekvens, at ” der er flere aktier til rådig-
      hed på markedet end der oprindeligt er udstedt.”, (…).

      Det er ikke rigtigt.

      Der kan ikke handles et større antal aktier end udstedt af selskabet – heller ikke ved short-selling.
      Kæden i short-selling kan opstilles således:

                             Ejer/aktielångiver → aktielåntager/short-seller → short-buyer

      Short-selling skal være dækket. Aktielåntageren skal med andre ord have lånt aktien, inden han sæl-
      ger den til short-buyer, og denne salgsaftale skal naturligvis ske med respekt af vilkårene i aktielån-
      tagers låneaftale med aktielångiver – ellers foreligger der vanhjemmel. Man kan altså ikke (lovligt)
      duplikere hverken aktien eller retten til udbytterefusion ved short-selling.

      8.4      1 udbytteskat kan føre til 2 refusioner

      Pensionsplanerne hævder, at deres setup ”resulterer i to parallelle udbytterefusioner, selvom
      statskassen kun har modtaget en enkelt indbetaling af udbytteskat fra selskabet.”, (…).

      Det er åbenlyst forkert.

      Refusionerne er jo udtryk for tilbagebetaling af et beløb, som er blevet indeholdt. Betaling af 1 ud-
      bytteskat kan derfor ikke føre til 2 (retmæssige) refusioner. Det ville jo påføre statskassen enorme
      tab. En eventuel tvivl om, hvem der ejer en aktie og dermed er berettiget til udbytte og refusion,
      indebærer selvfølgelig ikke, at statskassen skal refundere mere udbytteskat, end der er blevet inde-
      holdt. Staten skal jo ikke bære risikoen for (eller udgifterne ved), at der ved en handel forelå van-
      hjemmel.

      8.5      Sagen handler om jura

      Pensionsplanerne forsøger at pakke deres ”pengemaskine” ind i en lang række juridiske betragtnin-
      ger.

      Ejerskab kan ikke opnås gennem juridiske betragtninger. Hvorvidt pensionsplanerne har erhvervet
      de påståede aktier, er tværtimod et spørgsmål om faktum. Og faktum er, at pensionsplanerne ikke
      kan fremlægge noget konkret bevis for at have ejet aktierne. Bemærkelsesværdigt er det især, at
      ingen af de mere end 100 pensionsplaner har fremlagt så meget som én side af deres egne kon-
      toudtog.


 Sagsnr. XX-XXXXXXX                                   Side 156/239
Case 1:18-md-02865-LAK                 Document 836-47                Filed 06/27/22            Page 299 of 462




      Denne sag vedrører ikke afklaring af en juridisk gråzone for ejerskab af aktier. Sagen handler om
      faktum. Derfor er pensionsplanernes betragtninger om bona fide-ejerskab og retmæssigt ejerskab
      (beneficial ownership) ikke relevante.

      Retten til refusion af indeholdt udbytteskat afhænger af, om man har ejet aktier og modtaget net-
      toudbytte heraf. Hvis der ikke er handlet nogen aktier, eller hvis der er tale om fiktive aktiehandler,
      har pensionsplanerne ikke ejet aktierne, og de er derfor heller ikke berettiget til refusion. Det siger
      sig selv. Og så er det uden betydning, om pensionsplanerne var i god tro. Ex tuto skal det bemærkes,
      at det er Skattestyrelsens opfattelse, at pensionsplanerne har været i ond tro.

      Hvis der ikke blot var tale om fiktive aktiehandler, ville der foreligge håndfast og utvetydigt bevis for,
      at pensionsplanerne havde købt og ejet aktierne og modtaget nettoudbytterne herfra.

      8.6        Det er umuligt at svindle med aktiehandler

      Ifølge pensionsplanerne er aktiehandler underlagt så streng regulering, at fiktive aktiehandler slet
      ikke kan forekomme, (…). Det er også – ifølge pensionsplanerne – umuligt for en custodian at udstede
      dokumenter uden realitet.

      Samtidig anerkender pensionsplanerne dog, at der er fejl i (…) (custody statement og broker confir-
      mations), hvilket ifølge pensionsplanerne ”lader […] til at bero på simple menneskelige inputfejl i com-
      puterne”, (…). Derudover indeholder nogle af de skriftlige handelsnotaer fra (…) (broker) ”afvigelser
      fra de elektroniske instruktioner til afvikling af handlen”, (…).

      Disse fejl og afvigelser illustrerer det helt selvfølgelige, at det er muligt at svindle med aktiehandler,
      hvis man har viljen til det.

      Som det fremgår af nærværende indlæg, er der da også flere steder tydelige fejl i det materiale, som
      pensionsplanerne har fremlagt.

      8.7        Skiftende forklaringer 1: Pensionsplanernes ”afgørende” beviser ændrer karakter

      Pensionsplanerne har tidligere hævdet, at de fremlagte Credit Advices udstedt af de Shah-kontrolle-
      rede custodians var ”legalt bevis” for, at pensionsplanerne har købt de påståede aktier, (…). Det er
      endda anført i (…) – i generelle vendinger – at der udover Credit Advices

            ”ikke findes noget andet bevismateriale for modtagelse af et udbytte.”

      Det er simpelthen forkert, at pensionsplanerne – hvis de faktisk havde modtaget de påståede udbyt-
      ter – ikke skulle kunne fremlægge nogen form for objektiv dokumentation herfor.

      Efterfølgende er det da også blevet pensionsplanernes opfattelse, at handelsnotaerne (…) er ”den
      afgørende dokumentation for, at aktiekøb har fundet sted”, (…), idet fremlæggelse af en handelsnota
      er ”den eneste måde, hvorpå det kan dokumenteres, at man er juridisk ejer af aktier”, (…).

      Hverken Credit Advices eller handelsnotaer (…) dokumenterer ejerskab til aktier. Credit Advices er
      blot ord på papir, og handelsnotaer dokumenterer ikke, at handlerne faktisk er blevet gennemført.
      Hertil anfører pensionsplanerne i (…), at ”Denne påstand er materielt forkert. En broker confirmation
      er en handelsnota, der kun kan udstedes […] når en handel er gennemført.” (min understregning).



 Sagsnr. XX-XXXXXXX                                  Side 156/239
Case 1:18-md-02865-LAK                Document 836-47               Filed 06/27/22           Page 300 of 462




      Omvendt anfører pensionsplanerne i (…), at ”handelsnotaen fra en ”broker” [udgør] dokumentation
      for, at der foreligger en endelig og bindende aftale om aktiekøb. For så vidt angår afvikling (settle-
      ment), så dokumenterer handelsnotaen fra mægleren (brokeren) ikke, at afvikling har fundet sted.”
      (min understregning).

      Der er altså enighed om, at de fremlagte broker confirmations (…) ikke dokumenterer, at handlen er
      blevet gennemført.

      Pensionsplanerne har også tidligere hævdet, at en custody statement har ”den samme indholdsmæs-
      sige værdi som dokumentation som et kontoudtog.”, (…). Pensionsplanerne har fastholdt, at de frem-
      lagte custody statements (…) viste daglige kontobevægelser, (…).

      De fremlagte custody statements (…) er dog alene årsopgørelser, som – uden underliggende konto-
      udtog – viser en række interne bogføringsmæssige posteringer hos custodian.

      I (…) oplyses da også om de fremlagte custody statements (…), at de blot er ”kontoudskrifter produ-
      ceret ved hvert års udgang og viser derfor kun et resumé af samtlige transaktioner. Hvert enkelt
      transaktion, værende sig køb, salg, forward hedge eller aktielån, blev løbende bogført i custodians
      systemer, og hver trustee kunne ved onlineadgang løbende se hver enkelt transaktion på kontoen.”

      Det fremgår videre af pensionsplanernes bemærkninger, at ”trustee havde en onlineadgang via Solos
      web-portal til at have indblik i og styre samtlige transaktioner på daglig basis.”

      Det er også i det lys påfaldende, at ingen af pensionsplanerne fremlægger kontoudtog af nogen art.
      Og det er bemærkelsesværdigt, at pensionsplanerne nu så radikalt ændrer forklaring om indholdet
      af (…), som pensionsplanerne i (…), omtalte som ”juridisk bevis for ejerskab af aktiepositioner”.

      8.8      Skiftende forklaringer 2: Uoverensstemmelser i forklaringer om sikkerhedsstillelse og ud-
               betaling af refusion

      Ifølge pensionsplanerne indebærer GMSLA’erne en ”pantsætning af alle aktiver (nuværende og frem-
      tidige)”, (…), oplyser pensionsplanerne, at det økonomiske resultat af de påståede aktietransaktioner
      og forwards blev ”givet i sikkerhed under GMSLA’en”. Der er ikke fremlagt dokumentation for en
      sådan pantsætning af pensionsplanernes aktiver til GMSLA-medkontrahenterne.

      Denne pantsætning hænger i øvrigt ikke sammen med, at pensionsplanerne i (…), har oplyst, at Div-
      Arb-resultatet (herunder nettoudbytte og refusion) blev pantsat til den respektive custodian. Ifølge
      (…), blev ejendomsretten til alle pensionsplanernes pengemidler overdraget til custodian til sikker-
      hed for betalingen af aktietransaktionerne i henhold til TTC-klausulen (pkt. 4.3 i Custody Agreement,
      (…)). Denne sikkerhedsstillelse er heller ikke dokumenteret.

      Pensionsplanerne har i (…), ændret forklaring til, at ejendomsretten til pengemidlerne (herunder net-
      toudbytte og refusion) altid blev overdraget til Solo Capital. Dette er dog ikke i overensstemmelse
      med TTC-klausulen i den fremlagte Custody Agreement (…), som henviser til ”Custodian”. Det er –
      eller har i hvert fald hidtil været – ubestridt, at Solo Capital blot er én blandt 4 Shah-kontrollerede
      custodians benyttet af pensionsplanerne repræsenteret af TVC Advokatfirma. Det er åbenlyst, at
      disse oplysninger fra pensionsplanerne er modstridende.

      Dertil kommer, at refusionerne ubestridt ikke er blevet udbetalt til hverken GMSLA-medkontrahen-
      terne eller custodian (eller Solo Capital), men til pensionsplanernes agenter.



 Sagsnr. XX-XXXXXXX                                 Side 156/239
Case 1:18-md-02865-LAK                 Document 836-47               Filed 06/27/22         Page 301 of 462




      Hvis resultatet er pantsat, giver det ikke mening, at refusionerne er udbetalt til pensionsplanernes
      agenter i stedet for til panthaver.

      8.9        Skiftende forklaringer 3: Pensionsplanernes konti

      Pensionsplanerne har på kontormøderne oplyst, at alle deres penge indestod på Solo Capitals konto,
      (…), og at alle de påståede aktietransaktioner samt modtagelse af nettoudbytte og refusion skete
      over denne konto, (…). Dette er der ikke fremlagt dokumentation for. Det er også i strid med pen-
      sionsplanernes tidligere oplysning om, at pensionsplanerne ikke havde brug for separate konti ud
      over kontoen hos deres respektive custodian (som i langt fra alle tilfælde var Solo Capital), (…).

      Hvis pensionsplanernes penge indestod på Solo Capitals konto, forekommer det også besynderligt,
      at der i vidt omfang er fremlagt custody statements – som pensionsplanerne selv sammenligner med
      kontoudtog, (…) – som er udarbejdet af West Point, Telesto og Old Park Lane.

      Under alle omstændigheder har ingen af pensionsplanerne fremlagt kontoudtog overhovedet.

      8.10       Skiftende forklaringer 4: Manglende bevismateriale

      Det anføres i (…) – i generelle vendinger – at der udover Credit Advices

            ”ikke findes noget andet bevismateriale for modtagelse af et udbytte.”

      Det er simpelthen forkert, at pensionsplanerne – hvis de faktisk havde modtaget de påståede udbyt-
      ter – ikke skulle kunne fremlægge nogen form for objektiv dokumentation herfor, f.eks. i form af
      udbyttenota, kontoudtog, fonds-/depotoversigt eller lignende, jf. støttebilaget, afsnit 2.2, om de ek-
      sempler på dokumentation, der nu fremgår af SKATs hjemmeside.

      8.11       Manglende forbindelse til VP Securities og settlement ved netting

      Pensionsplanerne anfører mange steder i (…), at VP Securities ikke har et retvisende ejerregister (…),
      og at aktiehandler ikke nødvendigvis gennemføres ved levering af aktier mellem custodians, idet
      handler først afvikles ved overførsler af aktier internt (bogføringsmæssigt) hos hver enkelt custodian
      (…).

      Sådanne anbringender kan ikke føre til, at pensionsplanerne skal have medhold i deres klage. Data
      fra VP Securities skal indgå i bevisvurderingen. Det er således relevant, om pensionsplanerne eller
      deres custodians har haft depoter i VP Securities – eller om de kan vise, gennem hvilke sub-custodians
      de efter sigende har ejet aktier.

      Det er pensionsplanerne, som skal dokumentere, at de har ejet aktier i danske selskaber på udlod-
      ningstidspunktet, jf. afsnit 7.1, ovenfor. Hvis pensionsplanerne ikke kan bevise ejerskab, har de ikke
      ret til udbytterefusion.

      Skattestyrelsen har gennem kontakt til VP Securities forsøgt at få bekræftet, om de af pensionspla-
      nerne anførte custodians har haft aktiebeholdninger. Det kunne VP Securities ikke bekræfte. Formå-
      let med Skattestyrelsens kontakt til VP Securities var at oplyse sagerne. Det ændrer ikke på, at pen-
      sionsplanerne har bevisbyrden for ejerskab.
      Det samme gælder om netting-procedurer. Der er ingen beviser for, at pensionsplanernes custodians
      på noget tidspunkt har besiddet aktieposter i danske selskaber. Når de Shah-relaterede custodians
      (Solo Capital, Telesto, West Point og Old Park Lane) ikke har nogen aktier forud for levering, skal de


 Sagsnr. XX-XXXXXXX                                  Side 156/239
Case 1:18-md-02865-LAK                Document 836-47              Filed 06/27/22           Page 302 of 462




      selvfølgelig modtage aktier ved gennemførsel af pensionsplanernes ”handler”. Det er op til pensions-
      planerne at bevise, at der er sket en sådan levering af aktier. Den bevisbyrde kan selvfølgelig ikke
      løftes ved at henvise til overordnede betragtninger om netting.

      Pensionsplanerne gør tilsyneladende gældende, at det er umuligt at bevise ejerskab til danske ak-
      tieposter. Det er selvfølgelig ikke rigtigt.

      8.12     Aktielåntager vil stille sikkerhed på markedsværdien

      Pensionsplanerne gør omkring de påståede sikkerhedsstillelser fra aktielåntager gældende, at

               ”Det er imidlertid kutyme inden for aktie-udlånsbranchen at værdiansætte sikker-
               heden, der skal stilles mark-to-market (dvs. på markedsbasis) uden noget
               ”haircut”. Hovedrisikoen for långiveren i en aktieudlånstransaktion er mislighol-
               delse fra låntagers side. Det er derfor vigtigt, at værdien af sikkerheden (mindst)
               svarer til markedsprisen (mark-to-market).” (…)

      Det anførte stemmer ikke overens med, at sikkerhedsstillelsen ikke var markedsprisen på tidspunktet
      for indgåelse af den konkrete aktieudlånsaftale, men derimod markedsprisen på tidspunktet for ind-
      gåelse af købsaftalen, jf. afsnit 3.2.2, ovenfor.

      I forlængelse heraf henviser pensionsplanerne til, at Nordnet forlanger mere end 100 % af markeds-
      værdien i sikkerhedsstillelse.

      Pensionsplanerne fordrejer imidlertid faktum.

      Nordnet er en stor og etableret spiller på markedet, der ifølge årsrapporten for 2018 har aktiver til
      en værdi af 92 mia. SEK, en bruttofortjeneste på 1,3 mia. SEK og en egenkapital på cirka 2 mia. SEK.

      Udklippet fra Nordnet (…) viser, at en kapitalstærk part, Nordnet, forlanger mere end 100 % sikkerhed
      ved shorting, således at Nordnet er sikker på at få de udlånte aktier hjem igen – og ellers er sikker-
      hedsstillelsen høj nok til at foretage dækningskøb.

      I modsætning til Nordnet har pensionsplanerne hverken egenkapital eller aktiver. Derfor er det selv-
      følgelig medkontrahenten – nemlig aktielåntager, som skal være kapitalstærk og komme med et me-
      get betydeligt millionbeløb – der vil være bekymret for, om denne får sine penge retur. Og derfor er
      det meget usandsynligt, at låntageren vil indvilge i at stille sikkerhed på 100 %.

      Eksemplet med Nordnet viser jo netop, at den kapitalstærke part vil kræve en ”margin” i sikkerheds-
      stillelsen i sin favør.

      Pensionsplanernes påberåbelse af Nordnet-eksemplet illustrerer endnu engang, at pensionsplanerne
      påberåber sig forhold og beviser, der er helt ved siden af deres situation. Og det understreger, hvor
      dårlig en sag de har.




      8.13     Spekulation om, hvorvidt Pinsent Masons har rådgivet Solo Capital




 Sagsnr. XX-XXXXXXX                                Side 156/239
Case 1:18-md-02865-LAK                  Document 836-47                Filed 06/27/22           Page 303 of 462




        Pensionsplanerne henviser til, at Pinsent Masons har rådgivet Solo Gruppen i forbindelse med de
        gennemførte transaktioner (…). Det er imidlertid udokumenteret og fremgår ikke af den fremlagte
        faktura og mailkorrespondance (…), der ikke angår rådgivning af relevans for de for Skatteankesty-
        relsen verserende sager.

        Dertil kommer, at rådgivning eller udtalelser fra Pinsent Masons selvfølgelig ikke har betydning for
        vurderingen af, om pensionsplanerne har ejet aktier. Det gælder, uanset om Pinsent Masons repræ-
        senterer Skattestyrelsen i England.

        Pensionsplanernes fremhævelse af dette forhold ligner alene et forsøg på at mudre billedet.

        Det mest interessante ved pensionsplanernes fremlæggelse af (…) er, hvorfra pensionsplanerne har
        den del af (…), der vedrører rådgivning af Sanjay Shah og hans selskaber. Pensionsplanernes besid-
        delse af (…) i dets helhed tyder på, at pensionsplanerne har kontakt med Sanjay Shah.”

 Skattestyrelsens støttebilag af 9. august 2019:

        ”Skattestyrelsens støttebilag

        Indholdsfortegnelse
        1. AKTØRER                                                                                            2
           1.1    Custodian                                                                                   2
           1.2    Agenter                                                                                     3
           1.3    Amerikanske pensionsplaner                                                                  4
           1.4    Brokere                                                                                     6
        2. REFUSIONSANSØGNINGER                                                                               7
           2.1    Perioden 2012-2015                                                                          7
                  2.1.1     Blanketten                                                                        8
                  2.1.2     Credit Advice                                                                     8
                  2.1.3     Form 6166                                                                         8
                  2.1.4     Power of Attorney                                                                 9
           2.2    Ny ansøgningsproces fra 2017 og fremefter                                                   9
        3. AFTALETYPER                                                                                        9
           3.1    Global Master Securities Lending Agreement (GMSLA)                                          9
           3.2    Forwards                                                                                   10
        4. CIVILE RETSSKRIDT                                                                                 11
                  4.1.1     Tyskland: Arrest for ca. 2,2 milliarder kroner                                   11
                  4.1.2     USA: Retssager for ca. 5,4 milliarder kr. anlagt – og ikke afvist                12
                  4.1.3     Forlig: Tilbagebetaling af hhv. 10 mio. kr. og 1,6 mia. kr.                      13
        5. SKATS DATAANALYSE                                                                                 13
                  5.1.1     Grundlaget for SKATs analyse                                                     14
                  5.1.2     Resultatet af analysen                                                           16
            (…)

   1.   AKTØRER

        Sagskomplekset vedrørende refusion af udbytteskat angår i alt 306 pensionsplaner og selskaber fra
        forskellige udenlandske jurisdiktioner, der via agenter uberettiget har anmodet SKAT (nu Skattesty-
        relsen) om refusion af udbytteskat på i alt ca. 12,7 milliarder kr. i perioden fra 2012 til og med 2015.
        SKAT har på grundlag af refusionsanmodningerne udbetalt de anmodede beløb i alt ca. 12,7 milliar-



 Sagsnr. XX-XXXXXXX                                   Side 156/239
Case 1:18-md-02865-LAK                             Document 836-47            Filed 06/27/22        Page 304 of 462




      der kr. i den tilsvarende periode. Udbetalingerne er sket til udenlandske bankkonti anvist af – og
      tilhørende – agenterne.

      Af de i alt 306 pensionsplaner og selskaber, der har ansøgt SKAT om refusion af udbytteskat, er 277
      pensionsplaner hjemmehørende i USA.

      De forskellige centrale aktører og dokumenter kan illustreres som følger:


             Sag kompl kset



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      1.1             Custodian

      Almindeligvis er en ”custodian” (formueforvalter) et finansielt institut, der opbevarer kunders aktie-
      beholdninger og øvrige værdipapirer.

      De i sagen indsendte Credit Advices, som alene udgør den påberåbte ”dokumentation” for ejerskabet
      af aktierne og modtagelse af udbytte, er produceret af 12 forskellige internationale custodian-fir-
      maer, der oplistes nedenfor.

      Fordelingen af de anmodningsbeløb, som hver custodian har leveret påberåbt ”dokumentation” (Cre-
      dit Advices) til, kan opgøres således (i forhold til de 12,7 milliarder kr., som uberettiget er blevet
      udbetalt):

                                             Custodian                          Total (DKK)
                                             Solo Capital Partners LLP          5.442.113.750
                                             Old Park Lane Capital PLC          1.776.763.390
                                             (…)                                1.135.775.342
                                             Telesto Markets LLP                925.443.359
                                             (…)                                920.721.387
                                             West Point Derivatives Ltd         880.884.044
                                             (…)                                688.383.335
                                             (…)                                582.830.675
                                             (…)                                320.758.845
                                             (…)                                33.748.380


 Sagsnr. XX-XXXXXXX                                            Side 156/239
Case 1:18-md-02865-LAK                 Document 836-47              Filed 06/27/22           Page 305 of 462




                                 (…)                                    1.863.000
                                 (…)                                    810.000
                                 Hovedtotal                             12.710.095.50
                                                                        7

       De involverede custodians har alle hjemsted i England bortset fra (…) og (…), der har hjemsted i hen-
       holdsvis (…) og (…).

   1.2 Agenter
       Alle de i sagen omhandlede 306 pensionsplaner og selskaber ansøgte om refusion af udbytteskat via
       en af SKAT reguleret blanketordning. De 306 enheder anvendte seks internationale eksterne rådgiv-
       ningsfirmaer, såkaldte ”agenter”, der videreformidlede de anmodende enheders ansøgning om refu-
       sion af tilbageholdt udbytteskat til SKAT.

       Fordelingen af refusionsanmodninger mellem de seks agenter har været som følger:


                                 Agent                          Udbetalt (DKK)
                                 (…)                            4.549.985.549
                                 (…)                            3.610.468.065
                                 (…)                            3.043.663.066
                                 (…)                            1.220.975.179
                                 (…)                            262.207.548
                                 (…)                            22.796.100

                                 Hovedtotal                     12.710.095.507


       (…) har spillet den største rolle som agent i komplekset, idet agenten har været involveret i fremsæt-
       telse af anmodninger om refusion af udbytteskat for ca. 4,5 milliarder kr. ud af de svindlede 12,7
       milliarder kr.

       (…) har hjemsted i England, hvilket også er tilfældet for (…), (…) og (…). Agenterne (…) og (…) har
       hjemsted i henholdsvis (…) og (…).

       Agenterne havde ikke alene til opgave at videreformidle materiale, men også at forestå selve den
       direkte kommunikation med SKAT, ligesom agenterne forestod fremsendelse af dokumentationen
       for refusionsanmodningerne.

       Agenterne anviste i deres anmodninger til SKAT på vegne af de 306 pensionsplaner og selskaber de
       udenlandske bankkonti, som man ønskede refusionsbeløbene overført til. Alle de af agenterne anvi-
       ste bankkonti var konti tilhørende agenterne, og SKAT udbetalte på baggrund af en gennemgang af
       anmodningerne alle beløb angående anmodningerne til de af agenterne anviste bankkonti.



   1.3 Amerikanske pensionsplaner


 Sagsnr. XX-XXXXXXX                                 Side 156/239
Case 1:18-md-02865-LAK                 Document 836-47                 Filed 06/27/22           Page 306 of 462




      Langt de fleste af de 277 amerikanske pensionsplaner har ifølge det for SKAT oplyste været ”401 (k)
      plans”. Betegnelsen henviser til, at pensionsplanerne har været oprettet i henhold til betingelserne i
      Section 401 (a) i US Internal Revenue Code (”IRC”).

      En 401(k) plan etableres af en arbejdsgiver til fordel for dennes medarbejdere. Det er en forudsæt-
      ning for oprettelse af en pensionsplan, at arbejdsgiveren har et Employer Identification Number
      (ENI), som tildeles af de amerikanske skattemyndigheder, IRS. Videre er det en betingelse for opret-
      telse af 401 (k) planer, at der er et formelt vedtaget plan document, og at der er en separat aftale
      med en trustee. Det pågældende plan document skal regulere vilkårene for pensionsplanen, herun-
      der overholdelse af IRC og – hvis den finder anvendelse– the Employee Retirement Income Security
      Act (”ERISA”), samt anden gældende lovgivning. Aftalen med trustee’en skal regulere, hvordan pen-
      sionsplanens midler skal investeres og bestyres.

      Indbetalinger til 401 (k) planer kan foretages af både arbejdstagere og arbejdsgiveren i henhold til
      pensionsplanens plan document og de grænser, der sættes af IRC. Når der bortses fra undtagelser
      om periodisering af bidrag ved årsskifter, kan indbetalingerne til en 401 (k) plan for hver deltager
      (både arbejdsgiver og arbejdstagere) ikke overstige det laveste af 1) en beløbsgrænse, der periodisk
      justeres for inflation ($53.000 i 2016 eller $59.000 for deltagere, der er 55 år eller ældre) og 2) 100 %
      af deltagerens kompensation fra arbejdsgiveren det pågældende år. Beløbsgrænsen er lavere for
      visse typer 401 (k) planer.

      Generelt kan 401 (k) planer alene foretage udbetalinger som udlodning til deltagerne eller som dæk-
      ning af tilladte udgifter for pensionsplanen. Udlodning til deltagerne kan kun ske under visse om-
      stændigheder, f.eks. ved ophør af ansættelsesforhold, økonomisk hardship, død, invalidering, alder
      (59½ år) eller ophør af pensionsplanen uden succession. Sådanne udlodninger skal indberettes til IRS
      på Form 1099-R. Det bemærkes, at der kan være behov for andre formularer, hvis udlodningen sker
      til en person, der ikke er bosiddende i USA.

      Bidrag til 401 (k) planer skal opbevares i en særskilt fond, der bestyres af en eller flere trustees, der -
      med visse undtagelser – har ekskl. ret til at bestyre pensionsformuen, herunder til at foretage inve-
      stering af midlerne.

      I nærværende sagskompleks har de omfattede trustees fungeret som bestyrere af pensionsplanerne
      på et overordnet niveau. Trustee’en har underskrevet fuldmagter på vegne af pensionsplanen -og på
      vegne af den arbejdsgiver, der har oprettet planen. Der er omkring 70 forskellige trustees involveret
      i sagskomplekset. Langt de fleste er bosiddende i USA. Ud af de i alt 70 trustees repræsenterer 4
      trustees samlet set 156 af de 277 amerikanske pensionsplaner.

      Langt de fleste af de i sagen involverede 401 (k) planer er af typen ”One-participant plans”, hvilket
      også fremgår af SKATs afgørelser om tilbagekaldelse, hvor dette er tilfældet. ”One-participant plans”
      er pensionsplaner for virksomhedsejere, der ikke har ansatte i den tilknyttede erhvervsvirksomhed
      (bortset fra eventuelt ejerens ægtefælle). Disse pensionsplaner består således, som ordlyden indike-
      rer, udelukkende af ejeren (og eventuelt dennes ægtefælle). Pensionsplanen er i øvrigt undergivet
      samme regler og krav som øvrige 401 (k) plans, dog ikke ERISA.

      ”One-participant plans” er ikke forpligtede til at indsende regnskabsoplysninger (Form 5500) til de
      amerikanske myndigheder, når de har aktiver for højst $250.000 ved udgangen af pensionsplanens
      indkomstår (plan year).




 Sagsnr. XX-XXXXXXX                                   Side 156/239
Case 1:18-md-02865-LAK                  Document 836-47              Filed 06/27/22           Page 307 of 462




       Hvis ”One-participant plans” har aktiver for over $250.000, har de pligt til at indsende regnskabsop-
       lysninger (Form 5500) til de amerikanske myndigheder. Denne forpligtelse opfyldes normalt ved ind-
       sendelse af Form 5500-EZ, men kan i visse tilfælde i stedet opfyldes ved brug af Form 5500-SF.

       Ud af de 277 pensionsplaner i sagskomplekset har langt den overvejende del heraf ikke indsendt
       Form 5500. Det må lægges til grund, at de øvrige pensionsplaner ikke har haft aktiver for mere end
       $250.000 ved udgangen af deres regnskabsår (plan year).

       401 (k) planer indebærer en række skatteretlige fordele i USA. Således har arbejdsgiveren fradragsret
       for indbetalinger til pensionsplanen, arbejdstageren er skattefritaget for indbetalinger til pensions-
       planen, og pensionsplanens midler/indkomst er fritaget fra indkomstbeskatning. Derudover er
       401(k)-planerne i dobbeltbeskatningsoverenskomster med USA tillagt nogle skattefordele, herunder
       ret til refusion af udbytteskat fra udenlandske aktier. Når der i andre lande anmodes om disse fordele,
       skal pensionsplanen bevise, at den er hjemmehørende i USA.

   1.4 Brokere
       Almindeligvis er en broker en mægler, dvs. en mellemmand mellem investorer, der vil købe og sælge
       værdipapirer. Brokeren betales typisk et gebyr for sin rolle.

       Brokeren sørger for matching af køber og sælger og dermed indgåelse af købsaftalen (executing bro-
       ker) og/eller for gennemførsel af handlen (clearing broker), dvs. udveksling af parternes ydelser.

       Pensionsplanerne repræsenteret af TVC Advokatfirma har angiveligt anvendt deres custodian til clea-
       ring (gennemførsel) af handlerne (…). De har dermed alene anvendt executing brokers.

       Det betyder, at brokeren har haft ansvaret for at finde en køber/sælger. Efter matching har brokeren
       udstedt en handelsnota (broker confirmation – (…)), hvor vilkårene for handlen fremgår.

       Disse handelsnotaer er imidlertid fejlbehæftede i et omfang, som i sig selv gør, at de ikke har nogen
       bevisværdi i den relation, at to parter har fundet hinanden i en aktiehandel (sammenfattende indlæg,
       afsnit 5.4). Anvendelsen af executing brokers er derfor højest et led i Sanjay Shahs cover-up af svind-
       len.

       Dertil kommer, at executing brokers ikke forestår gennemførsel af handlerne (clearing), og at de der-
       for ikke har nogen viden om, hvorvidt parterne faktisk udveksler ydelser – og hvorvidt parterne fak-
       tisk har haft de aktieposter, som angiveligt købes/sælges.

       REFUSIONSANSØGNINGER

       2.1        Perioden 2012-2015

       Fra 2012 til 2015 har pensionsplanerne med henvisning til dobbeltbeskatningsoverenskomster mel-
       lem Danmark og det land, hvori de enkelte pensionsplaner var hjemmehørende, anmodet SKAT om
       refusion af indeholdt udbytteskat.

       Refusionsanmodningerne blev indgivet af en række internationale agentvirksomheder via blanket-
       ordningen. Agenterne handlede på pensionsplanernes vegne.

       Anmodningerne var vedlagt følgende:

             1.    Blanket 6.003 ENG – Claim to Relief from Danish Dividend Tax (afsnit 2.1.1, nedenfor),


 Sagsnr. XX-XXXXXXX                                  Side 156/239
Case 1:18-md-02865-LAK                  Document 836-47               Filed 06/27/22          Page 308 of 462




                    2.  Attest udarbejdet af en custodian i form af eksempelvis en ”Credit Advice” for ejer-
                        skabet til de pågældende aktier og modtagelse af udbytte af aktierne (afsnit 2.1.2,
                        nedenfor).
                    3. Form 6166 fra IRS (for så vidt angår de 277 amerikanske pensionsplaner) (afsnit 2.1.3,
                        nedenfor) og
              4.    Fuldmagt fra pensionsplanen (afsnit 2.1.4, nedenfor),

      På baggrund af pensionsplanernes anmodninger udbetalte SKAT de ansøgte beløb til agenternes op-
      lyste konti, såfremt de rette dokumenter var vedlagt. SKAT foretog ikke nogen egentlig sagsbehand-
      ling i forbindelse med udbetalingerne.

      I de sager, hvor Skattestyrelsen (tidligere SKAT) i 2018 har truffet afgørelse om at tilbagekalde de
      tidligere afgørelser om at refundere indeholdt udbytteskat, er det Skattestyrelsens opfattelse, at de
      indsendte dokumenter er uden realitet, og at refusionen er blevet ubetalt med urette.

      2.1.1        Blanketten

      Af anmodningsblanketterne fremgår bl.a., hvilket beløb agenten – på pensionsplanens vegne – søger
      refunderet, og at beløbet skal udbetales til agentens bankkonto. Endvidere erklærer agenten, at pen-
      sionsplanen er ”beneficial owner” af de pågældende aktier.

      Anmodninger indsendt i de konkrete førersager omtales nedenfor i afsnit 6.

      2.1.2        Credit Advice

      Som eneste ”dokumentation” for pensionsplanernes krav på refusion af indeholdt udbytteskat var
      anmodningerne vedlagt Credit Advices udstedt af forskellige custodians (formueforvaltere). Disse
      Credit Advices er udstedt og indsendt som ”dokumentation” for, at pensionsplanerne har ejet aktier
      i danske C20-selskaber, at pensionsplanerne har modtaget udbytter fra disse selskaber, og at der er
      indeholdt udbytteskat i de modtagne udbytter.

      Alle Credit Advices udstedt af Solo-gruppen er forsynet med et ID-nummer.

      Disse Credit Advices viser – tilsyneladende – hvilke danske aktier pensionsplanerne var ejere af, hvilke
      udbytter der var blevet udloddet til pensionsplanerne, og hvilke udbytteskatter der var blevet inde-
      holdt i forbindelse med udlodningerne.

      I de sager, hvor Skattestyrelsen (tidligere SKAT) i 2018 har truffet afgørelse om at tilbagekalde de
      tidligere afgørelser om at refundere indeholdt udbytteskat, er det imidlertid Skattestyrelsens opfat-
      telse, at de indsendte Credit Advices er uden realitet.

      2.1.3        Form 6166

      Form 6166 (Certificatation of US Tax Residency) er et certifikat, som udstedes af United States Trea-
      sury Department som dokumentation for, at et individ eller en virksomhed i amerikansk, skattemæs-
      sig henseende har hjemsted i USA. Certifikatet udstedes af Treasury Department på baggrund af pen-
      sionsplanens indsendelse af Form 8802 (Application for United States Residency Certification).

      Oplysningerne i Form 8802 afgives under ansvar og efterprøves ikke af Treasury Department ved
      udstedelsen af Form 6166. Alle de i sagen omhandlede 277 amerikanske 401 (k) pensionsplaner har
      i deres anmodninger vedlagt Form 6166.


 Sagsnr. XX-XXXXXXX                                   Side 156/239
Case 1:18-md-02865-LAK                Document 836-47               Filed 06/27/22          Page 309 of 462




      Form 6166-certifikatet bekræfter, at en juridisk person har domicil i USA i henhold til amerikansk
      skatteret. Det bemærkes, at certifikatet -
                                               ikke
                                                 - dokumenterer, hvorvidt de øvrige betingelser for at
      modtage refusion af indeholdt udbytteskat fra udenlandske aktier er opfyldt i henhold til en dobbelt-
      beskatningsoverenskomst, herunder om ansøgeren reelt er ejer af de aktier, der ansøges om tilbage-
      betaling på baggrund af.

      For at opfylde kravene til at modtage certifikatet skal pensionsplanen indsende en kopi af den under-
      skrevne Form 5500 eller et IRS determination letter eller en erklæring (afgivet under strafansvar) om,
      hvorfor pensionsplanen ikke er forpligtet til at indgive Form 5500, og hvorfor pensionsplanen ikke
      har et IRS determination letter.

      2.1.4    Power of Attorney

      Den indsendte Power of Attorney giver agenten fuldmagt til på pensionsplanens vegne bl.a. at ansøge
      om refusion af indeholdt udbytteskat og modtage refunderede beløb fra SKAT.

      2.2      Ny ansøgningsproces fra 2017 og fremefter

      I starten af 2017 idriftsatte SKAT en ny IT-løsning for indberetning af anmodninger om refusion af
      udbytteskat. IT-løsningen fungerer som ”TastSelv”, hvor refusionsanmodningen uploades med tilhø-
      rende dokumentation.

      Af SKATs hjemmeside fremgår, at det bl.a. er en betingelse for at få udbytterefusion, at der er inde-
      holdt dansk udbytteskat af det udbytte, der søges om refusion for (”betingelse 3”), og at aktionæren
      er den retmæssige ejer af aktierne på tidspunktet for vedtagelsen af udbyttet (”betingelse 4”), (…).

      Som dokumentation for opfyldelse af betingelse 3 og 4 kan ifølge SKATs hjemmeside f.eks. fremlæg-
      ges udbyttenota eller meddelelse fra depotbanken om modtaget udbytte, kontoudtog, depotoversigt
      med bl.a. oversigt over aktiebeholdningen på tidspunktet for vedtagelsen af udbyttet og købsbilag,
      (…).

      3.       AFTALETYPER

      3.1      Global Master Securities Lending Agreement (GMSLA)

      En GMSLA er en standard for låneaftaler udarbejdet af ISLA (The International Securities Lending
      Association). Standardaftalen giver mulighed for at indgå aftaler om udlån af værdipapirer, f.eks. ak-
      tier, på tværs af landegrænser.

      GMSLA rummer en række standardvilkår, og derudover er der forskellige oplysninger, som parterne
      skal udfylde konkret.

      GMSLA’en er dermed en rammeaftale. Det betyder, at GMSLA’en sætter rammerne i form af vilkår
      for aktieudlånet. GMSLA’en har imidlertid ikke betydning, medmindre parterne faktisk indgår ak-
      tielånsaftaler, som i så fald vil være omfattet af GMSLA’ens vilkår.

      Pensionsplanerne har fremlagt en række GMSLA’er som (…) i de respektive sager. De fremlagte
      GMSLA’er er i mange tilfælde ikke underskrevet af (alle) aftaleparter.




 Sagsnr. XX-XXXXXXX                                Side 156/239
Case 1:18-md-02865-LAK                 Document 836-47                 Filed 06/27/22           Page 310 of 462




      3.2      Forwards

      En forward er en terminskontrakt. Det kan være en bindende aftale om fremtidig levering af en valuta
      eller vare til en på forhånd aftalt dato og pris. Forwardaftalen udgør dermed en kurssikring frem mod
      det tidspunkt, hvor den fremtidige levering skal finde sted, idet aftaleparterne på forhånd ved, hvil-
      ken pris varen/valutaen vil blive handlet for.

      Forwardaftalen behøver ikke være bundet op på fysisk levering af aktivet, men kan også afregnes ved
      differenceafregning. Det vil sige, at parterne ved forward-kontraktens udløb – i stedet for at levere
      valuta/aktiver (f.eks. en aktiepost) – afregner differencen mellem markedsprisen og den i forwarden
      aftalte pris.

      Ved differenceafregning er det ikke nødvendigt for parterne faktisk at besidde det aktiv, som
      forwardkontrakten er bundet til, da aktivet ikke skal leveres, men alene anvendes til at fastslå en
      betalingsforpligtelse.

      Eksempel
      A og B indgår en forward den 1. august 2019. Aftalen lyder på, at A den 1. september 2019 vil erhverve
      B’s Novo Nordisk-aktier, der pr. 1. august har en kursværdi på 1 mio. kr., til 1,01 mio. kr.

      Den 1. september 2019 skal aftalen afregnes. Aktiepostens markedsværdi forudsættes for eksemp-
      lets skyld at være steget til 1,2 mio. kr.

      Afregningen kan herefter enten ske ved, at A køber aktieposten fra B for 1,01 mio. kr. Eller også kan
      afregningen ske ved differenceafregning:

      Parterne havde aftalt at handle aktieposten til 1,01 mio. kr., men aktieposten har en værdi på 1,2
      mio. kr. (markedsprisen, også kaldet spotprisen). Aktieposten er dermed 190.000 kr. mere værd end
      parternes aftalte pris. B skal i så fald betale A 190.000 kr., hvilket udgør forskellen på den aftalte pris
      og markedsprisen på udløbsdatoen.

      4.       CIVILE RETSSKRIDT

      Skattestyrelsen har foretaget en række civilretlige skridt i sagen i flere forskellige jurisdiktioner, her-
      under i USA, Tyskland og England. Dette sker med henblik på at inddrive statens økonomiske tab på
      over 12,7 milliarder kroner, der uberettiget er blevet udbetalt til de af agenterne anviste konti. Skat-
      testyrelsen har således rejst såvel tilbagesøgnings- og erstatningskrav over for en række forskellige
      aktører i sagen for at få fastslået deres respektive betalingsforpligtigelser.

      Herunder er alle de pensionsplaner, der er repræsenteret af TVC Advokatfirma, blevet sagsøgt i USA
      med krav om betaling.

      Der er endnu ikke truffet nogen endelige realitetsafgørelser i sagskomplekset.

      Der er dog en række tilfælde, hvor udenlandske domstole har taget stilling til (dele af) sagskomplek-
      set, og hvor afgørelserne ikke er underlagt tavshedspligt:




 Sagsnr. XX-XXXXXXX                                   Side 156/239
Case 1:18-md-02865-LAK                      Document 836-47                Filed 06/27/22           Page 311 of 462




4.1.1   Tyskland: Arrest for ca. 2,2 milliarder kroner

        I juni 2018 blev der gennemført civilretlige beslaglæggelser og arrester i forskellige jurisdiktioner,
        herunder i Tyskland. I forbindelse med arresterne har SKAT beskrevet og ført bevis for den formodede
        svindel i sagskomplekset.

        For at få medhold i en arrestbegæring i Tyskland skal tre betingelser være opfyldt:

                5.    der skal være et retligt grundlag for kravet mod ejerne,
                      6. det skal være overvejende sandsynligt, at de pågældende aktiver reelt tilhører midler
                           udbetalt af SKAT, og
                      7. der skal være risiko for, at aktiverne flyttes eller taber deres værdi til skade for SKAT,
                           såfremt arrest ikke gennemføres.

        Skattestyrelsen har gennemført arrest i Tyskland for ca. 2,2 milliarder kr.

        4.1.2        USA: Retssager for ca. 5,4 milliarder kr. anlagt – og ikke afvist

        I USA har SKAT antaget et amerikansk advokatfirma til at rådgive om muligheden for at forfølge SKATs
        tilbagesøgnings- og erstatningskrav i USA mod de involverede amerikanske pensionsplaner. Der er
        ved en række amerikanske domstole, primært i New York, i perioden frem mod den 15. juni 2018
        anlagt i alt 155 retssager mod pensionsplaner, ledelsesmedlemmer og trustees for disse pensions-
        planer og i enkelte tilfælde tredjeparter med tilknytning til pensionsplanerne og ansøgningerne. Sam-
        let set er der anlagt retssager for ca. 5,4 milliarder kr.

        Herunder er alle pensionsplaner repræsenteret af TVC Advokatfirma blevet stævnet.

        Første retsmøde i en række af de anlagte retssager blev gennemført den 26. juni 2018 i New York.

        Pensionsplanerne fremsatte over for retten i Southern District of New York en begæring om afvisning
        af sagerne. Pensionsplanerne henviste herved bl.a. til, at retten ikke har jurisdiktion, idet Skattesty-
        relsens krav – ifølge pensionsplanerne – er omfattet af common law-doktrinen ”the revenue rule”,
        som indebærer, at amerikanske domstole ikke har jurisdiktion over sager, der direkte eller indirekte
        søger håndhævelse af fremmede landes skattelovgivning. Reglen indebærer med andre ord, at frem-
        mede landes skattemyndigheder ikke kan indbringe krav, som direkte eller indirekte kan karakterise-
        res som skattekrav, for de amerikanske domstole.

        Retten afviste den 9. januar 2019 pensionsplanernes begæring om afvisning i deres helhed (…). Det
        fremgår bl.a. af rettens kendelse (…), at

                     “If plaintiff can prove that the defendants never in fact owned the relevant Danish
                     stocks – and the Court is obliged to accept their allegations as true for present pur-
                     poses – the revenue rule would not apply because the substance of the claims
                     would be for garden variety commercial fraud. Accordingly, the motion to dismiss
                     is denied.”

        Retten lægger herved bl.a. vægt på, at Skattestyrelsen i sin stævning har gjort gældende, at der er
        tale om svindel (”commercial fraud”) (…), samt at stillingtagen til sagen ikke kræver en for- tolkning
        af begrebet ”beneficial ownership” i dansk skattelovgivning. Skattestyrelsen har således – uden at
        sondre mellem faktisk og retmæssigt ejerskab – påstået, at pensionsplanerne ikke har ejet aktierne,
        og pensionsplaner har ikke fremlagt dokumentation for det modsatte (…).


 Sagsnr. XX-XXXXXXX                                       Side 156/239
Case 1:18-md-02865-LAK                Document 836-47                Filed 06/27/22           Page 312 of 462




      4.1.3    Forlig: Tilbagebetaling af hhv. 10 mio. kr. og 1,6 mia. kr.

      Skattestyrelsen har i sagskomplekset indgået to forlig med i alt 63 amerikanske pensionsplaner og
      dertil knyttede personer og selskaber:

      I efteråret 2018 indgik Skattestyrelsen forlig med 2 amerikanske pensionsplaner. De to pensionspla-
      ner havde tidligere indgivet klager til Skatteankestyrelsen og var under klagesagerne repræsenteret
      af TVC Advokatfirma. Da sagerne blev forligt i efteråret 2018, blev klagerne tilbagekaldt. Forligene
      indebar, at de to pensionsplaner tilbagebetalte de refunderede beløb, jf. Skatteministeriets presse-
      meddelelse af 1. november 2018 (…) og pressemeddelelse af 29. maj 2019 (…).

      I maj 2019 indgik Skattestyrelsen en ny forligsaftale. Den nye forligsaftale blev indgået med 61 ame-
      rikanske pensionsplaner og en række dertil knyttede personer og selskaber. De 61 pensionsplaner
      havde i perioden 2012-2015 fået udbetalt cirka 2,9 milliarder kroner. Heraf havde pensionsplanerne
      selv fået udbetalt cirka 1,6 milliarder kroner. Forliget lød på, at pensionsplanerne og de dertil knyt-
      tede personer og selskaber skulle tilbagebetale cirka 1,6 milliarder kroner. Restbeløbet forfølger Skat-
      testyrelsen fortsat hos andre ansvarlige parter (…).

      Det kan således konstateres, at 63 amerikanske pensionsplaner ind til videre har indgået forlig i
      sagskomplekset, og at forligene omfatter mere end en femtedel af den samlede, formodede svindel.

      5.       SKATS DATAANALYSE

      SKAT har gennemgået de indgivne refusionsanmodninger og sammenholdt disse med de danske C20-
      selskabers udlodninger, aktiekapital, mv. På den baggrund har SKAT foretaget en samlet analyse af,
      om refusionsanmodningerne samlet set kan være korrekte.

      Analysen resulterede i to delkonklusioner, der gennemgås nærmere i det følgende:

               Der er refunderet for meget i forhold til, hvad der er indeholdt
               I nogle tilfælde er der refunderet større beløb, end der er indeholdt af udbytteskat. Det do-
               kumenterer, at (en del af) refusionsanmodningerne er svindel, idet refusionen ikke kan
               overstige det indeholdte beløb.

               Refusionsanmodningerne bygger på usandsynligt store investeringer i og ejerandele af dan-
               ske selskaber

               Det er helt usandsynligt, at meget betydelige andele af danske C20-virksomheder skulle
               være ejet af ukendte pensionsplaner mv., der ofte alene har én ejer, og som højst har et
               meget beskedent kapitalgrundlag.

      Analysens delkonklusioner viser, at der er svindlet i betydeligt omfang.

      5.1.1    Grundlaget for SKATs analyse

      SKAT har analyseret en række udlodninger fra udvalgte danske selskaber, hvor pensionsplanerne mv.
      efterfølgende har ansøgt om refusion af påstået indeholdt udbytteskat. SKATs analyse har været kon-
      centreret om de udlodninger, hvor der er tilgået størst provenu til pensionsplanerne mv., og hvor
      SØIK har indhentet materiale fra VP Securities. Analysen har dermed omfattet cirka 12,4 mia. kr. ud
      af den samlede svindel på 12,7 mia. kr.



 Sagsnr. XX-XXXXXXX                                 Side 156/239
Case 1:18-md-02865-LAK                 Document 836-47               Filed 06/27/22            Page 313 of 462




      5.1.1.1 Det retlige grundlag

      Når selskaber udlodder udbytte, har de som udgangspunkt pligt til at indeholde 27 % udbytteskat
      ved alt udbytte. Indeholdelse kan dog ske med f.eks. 0 % eller 15 % i stedet afhængigt af omstændig-
      hederne og oplysninger om udbyttemodtageren, jf. kildeskattelovens §§ 65-67 A.

      Indeholdelse med andre satser end 27 % er udtryk for, at skatteyderen er omfattet af en undtagel-
      sesbestemmelse, jf. f.eks. kildeskattelovens § 65, stk. 11, og kildeskattebekendtgørelsens § 31, stk.
      1, nr. 2. I sådanne tilfælde vil der ikke (retmæssigt) kunne anmodes om refusion af udbytteskat i
      henhold til dobbeltbeskatningsoverenskomster, idet udbyttemodtageren ikke opfylder undtagelses-
      bestemmelsernes krav, hvis denne er skatteretlig udlænding. Det er altså kun, når der er indeholdt
      27 % udbytteskat, at der kan anmodes om refusion.

      Herudover skal anmodningerne støttes på en dobbeltbeskatningsoverenskomst. Det er derfor et
      krav, at den, der fremsætter anmodningen, ikke er hjemmehørende i Danmark, idet personen i et
      sådant tilfælde ikke vil være omfattet af en dobbeltbeskatningsoverenskomst.

      Der kan således alene (retmæssigt) søges om refusion af udbytteskat, hvis indeholdelse er sket med
      satsen 27 % over for en (skattemæssig) udlænding.

      5.1.1.2 De faktiske oplysninger

      For danske børsnoterede selskaber sørger VP Securities for at registrere, hvilken beskatning der skal
      ske over for hver af de registrerede ejere, når der udloddes udbytte. Videre forestår VP Securities
      selve udlodningen. Herefter oplyser VP Securities selskabet om udlodningerne, bl.a. sådan at selska-
      bet kan opfylde sin oplysningsforpligtelse over for SKAT.

      Selskaber har nemlig pligt til at oplyse til SKAT, hvad der er udloddet i alt, og hvad der er indeholdt i
      udbytteskat med hver af de givne procentsatser (blandt andet 15 % og 27 %). På denne baggrund har
      SKAT kendskab til (…):

               Udloddet beløb
               Indeholdt udbytteskat – både samlet og fordelt på de respektive procentsatser

      SKAT har desuden oplysninger om alle refusionsanmodningerne, idet disse har været stilet til SKAT
      (…). Oplysningerne har været registreret i IT-systemet 3S for så vidt angår ansøgninger fra blanket-
      ordningen.

      Da SKAT fik kendskab til, at der kunne være svindlet med refusionsanmodninger vedrørende udbyt-
      teskat, lavede SKAT manuelt en opgørelse af, hvad der samlet er anmodet om refusion af for hver
      udlodning. Herudover opgjorde SKAT manuelt, hvor meget netop pensionsplanerne mv. har anmodet
      om refusion af pr. udlodning. Samlet har SKAT dermed på nuværende tidspunkt kendskab til:

               Samlede refusionsanmodninger for hver udlodning (…)
               Refusionsanmodningerne fra pensionsplanerne mv. for hver udlodning (…)

      Herudover har SKAT modtaget en række supplerende oplysninger fra VP Securities, som SØIK har
      indhentet. Det er oplysninger, der er udtrukket direkte fra VP Securities’ registre vedrørende en
      række specifikke udlodninger. Heraf fremgår bl.a. det samlede antal aktier (i hver aktieklasse) i omløb
      på udlodningstidspunktet og navn og adresse på hver enkelt registreret ejer på udlodningstidspunk-
      tet.


 Sagsnr. XX-XXXXXXX                                  Side 156/239
Case 1:18-md-02865-LAK                   Document 836-47             Filed 06/27/22           Page 314 of 462




      Oplysningerne om ejerskab registreret i VP Securities er ikke fuldstændige. En betydelig del af ak-
      tierne i børsnoterede selskaber er registreret som ejet af f.eks. banker, der har ét fælles depot for
      deres kunder (kaldet et omnibusdepot). Her står banken registreret som ejer hos VP Securities,
      selvom det er en kunde, der faktisk ejer aktiebeholdningen. Omnibusdepoter er registreret med de-
      potindehaverens (typisk bankens) nationalitet/adresse – uden viden om den underliggende ejers na-
      tionalitet. Hertil kommer, at det kan være, at adresser registreret i VP Securities ikke er blevet opda-
      teret ved aktieejerens flytning.

      SKAT har anvendt adresseoplysningerne fra VP Securities til at fastlægge, om ejeren (skatteretligt) er
      udlænding (…). Henset til, at en meget betydelig andel af danske C20-aktier opbevares i omnibusde-
      poter, kan andelen af udenlandske aktionærer være anderledes end det, der fremgår af VP Securities’
      registreringer. Opgørelsen giver dog alligevel en indikation af, hvor stor en andel af aktierne, der har
      været ejet af personer, som er hjemhørende i andre lande end Danmark.

      På baggrund af selskabernes indberetninger og de indhentede data fra VP Securities har SKAT opnået
      kendskab til (…):

                   Samlet antal aktier i omløb på udbyttedatoen
                   Andel af aktierne, der er registreret som ejet af udlændinge på udbyttedatoen

      Endelig har SKAT indsamlet en række offentligt tilgængelige informationer om blandt andet aktiekur-
      ser og udbytte pr. aktie.

      5.1.2        Resultatet af analysen

      5.1.2.1 Der er refunderet for meget i forhold til, hvad der er indeholdt

      SKAT har overordnet sammenholdt refusionsanmodningerne med den indeholdte udbytteskat for de
      udlodninger i perioden 2012-2015 fra danske C20-selskaber, hvor der har været mest omfattende
      svindel med refusionsanmodninger (…). Det er dermed ikke samtlige udlodninger, der har været om-
      fattet af analysen, men derimod en række udvalgte udlodninger.

      Analysen har vist, at 76,9 % af det indeholdte beløb på tværs af de analyserede udlodninger er blevet
      udbetalt som udbytterefusion.

      Hvis der kigges på de enkelte udlodninger hver for sig, fremgår det, at der i 11 tilfælde er refunderet
      mere, end der er indeholdt (…), og at svindlen har udgjort en meget stor del af refusionsanmodnin-
      gerne. I tre tilfælde har pensionsplanerne mv. alene fået refunderet mere end det indeholdte beløb.

      Når der er refunderet mere, end der er indeholdt, siger det sig selv, at nogle af refusionsanmodnin-
      gerne har været uberettigede. Der kan ikke være krav på at få ”refunderet” noget, der aldrig har
      været indeholdt.

      ----------

      SKAT har herefter foretaget en endnu mere dybdegående analyse (…). Som gennemgået er der alene
      mulighed for at få udbytterefusion, hvis der er indeholdt udbytteskat med satsen 27 %, og udbytte-
      modtageren er (skatteretlig) udlænding.

      Analysen viser, at 91,7 % af det udbytte, der er indeholdt med satsen 27 %, er blevet refunderet. Når
      der tages højde for, at det ikke er alle aktier med en udbytteskattesats på 27 %, der er ejet af udlæn-


 Sagsnr. XX-XXXXXXX                                   Side 156/239
Case 1:18-md-02865-LAK                   Document 836-47               Filed 06/27/22            Page 315 of 462




        dinge, at det er langt fra alle udlændinge, der overhovedet er berettigede til refusion, og at mange
        udlændinge maksimalt vil være berettigede til delvis refusion, er det tydeligt, at (en del af) refusions-
        anmodningerne har været uretmæssige.

        Dette ses særligt for de enkelte udlodninger hver for sig. Der er i 14 tilfælde refunderet mere end den
        udbytteskat, der efter VP Securities’ registreringer er indeholdt med satsen 27 % (…). Det kan ikke
        lade sig gøre (retmæssigt).

        Videre er der i 23 tilfælde refunderet mere end den udbytteskat, der efter VP Securities’ registreringer
        er indeholdt fra udlændinge med satsen 27 % (…).

5.1.2.2 Refusionsanmodningerne er udtryk for usandsynlige investeringer og ejerandele

        SKAT har videre sammenholdt refusionsanmodningernes oplysninger om antal aktier på udbytte-
        tidspunktet med de officielle aktiekurser den pågældende dato (…). På den måde har det været mu-
        ligt at beregne den samlede investering for pensionsplanerne mv. i hvert enkelt C20-selskab på ud-
        byttetidspunktet.

        Som det fremgår, har den samlede investering for pensionsplanerne mv. været på cirka 910 mia. kr.
        i løbet af marts 2015.

        Henset til de forskellige datoer for udlodning i de forskellige selskaber har investeringerne dog ikke
        nødvendigvis været samtidige, selvom de er inden for samme måned. Som eksempel har investerin-
        gerne netop den 19. marts 2015 udgjort kr. 445 mia. i Novo Nordisk (B) og kr. 13,2 mia. i GN Store
        Nord, i alt kr. 458,2 mia.

        Endelig har SKAT sammenholdt refusionsanmodningernes oplysninger om antal aktier med selska-
        bernes samlede aktiekapital (…). Herudfra er det beregnet, hvor stor en andel af selskabernes sam-
        lede aktiekapital, som pensionsplanerne mv. samlet skulle have ejet. Dette er blevet sammenholdt
        med, hvor stor en andel af selskabets aktier der har været tilgængelige for sådanne investeringer.

        Som det fremgår, skulle pensionsplanerne mv. blandt andet have ejet 51,4 % af A.P. Møller-aktierne
        i 2014, 59,5 % af Novo Nordisk B-aktierne i 2014 og 66,9 % af FL Smidth & Co.-aktierne i 2015.

        Overordnet set er det helt usandsynligt, at aktionærer/aktører, der er ukendte på det danske marked,
        skulle have foretaget så store investeringer og besidde så betydelige andele af aktiekapitalen. Tallene
        understøtter dermed, at en stor andel af refusionsanmodningerne nødvendigvis må være uretmæs-
        sige.

        Særligt i forhold til A.P. Møller-aktierne bemærkes det, at fire kendte, danske storaktionærer tilsam-
        men ejede 52,82 % af aktiekapitalen i 2014 (…), og det var dermed umuligt, at pensionsplanerne mv.
        skulle eje 51,4 %.

        (…)”

 Klagerens sammenfattende indlæg
 Af klagerens sammenfattende og afsluttende indlæg fremgår følgende:

        ”Skatteankestyrelsen har som bekendt ved forslag til afgørelse af den 3. juli 2019 i de seks førersager
        indstillet, at Skattestyrelsens afgørelser af henholdsvis den 6. april 2018 og den 4. maj 2018 stadfæstes.


 Sagsnr. XX-XXXXXXX                                    Side 156/239
Case 1:18-md-02865-LAK                Document 836-47                Filed 06/27/22           Page 316 of 462




      Idet formålet med førersagerne er at danne grundlag for de øvrige sager repræsenteret af TVC og SMK,
      må det som udgangspunkt lægges til grund, at Skatteankestyrelsen vil argumentere på samme vis i
      denne sag.

      Heroverfor fastholder pensionsplanen helt overordnet, at Skattestyrelsen ikke er berettiget til at annul-
      lere de oprindelige afgørelser om udbetaling af udbytterefusion.

      Pensionsplanen fastholder således helt overordnet, at pensionsplanen var berettigede til at modtage
      de i sagerne omhandle udbytterefusioner, herunder at pensionsplanen ejede de i sagerne omhandlede
      aktier og udbyttebeløb.

      Skatteankestyrelsens forslag til afgørelse af den 3. juli 2019 i de seks førersager samt Skattestyrelsens
      sammenfattende indlæg af den 9. august 2019 giver pensionsplanen anledning til at fremkomme med
      nærværende sammenfattende indlæg.

      Det er kendetegnende for nærværende sag, at pensionsplanen har fremlagt et meget omfattende bi-
      lagsmateriale, der dokumenterer og understøtter de omtvistede transaktioner og pensionsplanernes
      ejerskab til omtvistede aktier og udbyttebeløb.

      Det er endvidere kendetegnende for sagen, at Skattestyrelsen bygger sine syns- punkter på antagelser
      opstået flere år efter, at SKAT traf afgørelse om de omtvistede refusioner af udbytteskat, samt at den
      bevistvivl, som Skattestyrelsen har søgt at opstille, i vidt omfang må tilskrives Skattestyrelsens egen,
      mangelfulde oplysning af sagen.


                                                       ... ...
      Pensionsplanen fastholder som anført, at den var både civilretligt og skatteretligt ejer af de i sagen om-
      handlede aktier, ligesom pensionsplanen havde retskrav på at modtage de i sagen omhandlede udbyt-
      tebeløb, med den effekt at pensionsplanen havde retskrav på at modtage refusion af indeholdt udbyt-
      teskat.

      Det fastholdes således, at der ikke nu efterfølgende er grundlag for at tilbagekalde eller annullere
      SKATs oprindelige afgørelse om refusion af indeholdt udbytteskat.

      Vi vil i nærværende sammenfattende indlæg fremkomme med vores bemærkninger til Skatteankesty-
      relsens forslag til afgørelse af den 3. juli 2019 i førersagerne. Endvidere vil vi i nærværende indlæg imø-
      degå de synspunkter, som Skattestyrelsen har gjort gældende i styrelsens sammenfattende indlæg af
      den 9. august 2019 i førersagerne.

      Af overskuelighedsmæssige årsager har vi endvidere valgt at indarbejde det tidligere anførte i nærvæ-
      rende indlæg, således at nærværende indlæg tjener som et sammenfattende indlæg.

      I indlæggets 1. del vi foretage en detaljeret beskrivelse af den investeringsstrategi, som pensionsplanen
      fulgte samt de i den forbindelse foretagne dispositioner.

      Vi vil i den forbindelse redegøre for, hvorfor pensionsplanen både civilretlig og skatteretligt ejede af de
      omtvistede aktier og udbyttebeløb.




 Sagsnr. XX-XXXXXXX                                 Side 156/239
  Case 1:18-md-02865-LAK                                      Document 836-47                             Filed 06/27/22                        Page 317 of 462




                I indlæggets 2. del vil vi fremkomme med vores bemærkninger til Skattestyrelsens synspunkter i sagen,
                navnlig Skattestyrelsens synspunkter i relation til dokumentationen for og indholdet af de omtvistede
                transaktioner.

                Endvidere vil vi i den forbindelse fremkomme med vores bemærkninger til de af Skattestyrelsen opstil-
                lede dokumentationskrav, samt Skattestyrelsens egen manglende sagsoplysning.

                I indlæggets 3. del vil vi fremkomme med vores bemærkninger til Skatteankestyrelsens forslag til afgø-
                relse af den 3. juli 2019 i førersagerne, herunder det af Skatteankestyrelsen anførte i relation til doku-
                mentationen for de omhandlede transaktioner og realiteten heraf.

            1. INTRODUKTION..............................................................................................................         8
            DEL 1: PENSIONSPLANEN VAR SKATTEMÆSSIGT RETMÆSSIG EJER AF AKTIER OG
            UDBYTTER
         2 BESKRIVELSE AF FINANSIELLE TRANSAKTIONER OG RELEVANTE EKSTERNE AKTØRER                                                                 9
            2.1 Om pensionsplanen, som erhvervede danske aktier..............................................                                     9
                   2.1.1       Dispositioner på vegne af pensionsplanen...........................................                                11
       2.2 De anvendte finansielle instrumenter....................................................................
                 12
  2.2.1     Aktiekøb/-salg................................................................................................................        13
  2.2.2     Forwards 14
  2.2.3     Aktieudlån......................................................................................................................      14
       2.3 De involverede eksterne aktører............................................................................
                 16
  2.3.1     Brokere 16
  2.3.2     Aktielåntagere og deres mellemmænd (Stock Loan Intermediaries) ............................                                           18
  2.3.3     Forward counterparties og intermediaries....................................................................                          19
  2.3.4     Custodians og clearing-agenter .....................................................................................                  20
  2.3.5     Tax agents ......................................................................................................................     23
  2.3.6     Introducing brokere .......................................................................................................           24
  2.3.7     Arrangers 24
  2.3.8     Sammenfattende bemærkninger om de involverede eksterne aktører........................                                                24
       2.4 Pensionsplanens forretningsmodel og transaktioner ....................................................                                 25
  2.4.1     Introduktion til udbyttearbitrage...................................................................................                  25
  2.4.2     Transaktioner.................................................................................................................        27
  2.4.2.1 Onboarding 27
  2.4.2.2 Køb af aktier og salg af forward .....................................................................................                  27
  2.4.2.2.1Fremgangsmåden ved aktiekøb og salg af forward .......................................................                                 27
  2.4.2.2.2Pensionsplanens og aktiesælgers forretningsmæssige begrundelse
                                  for aktiekøb/-salg...............................................................................               29
  2.4.2.2.3Pensionsplanens og forwardkøberens forretningsmæssige begrundelse
                                  for salg/køb af forward ......................................................................                  31
  2.4.2.3 Aktieudlån og finansiering af aktiekøb ..........................................................................                       32
  2.4.2.3.1Fremgangsmåden ved aktieudlån..................................................................................                        32
  2.4.2.3.2Pensionsplanens og aktielåntagers forretningsmæssige begrundelse
                                  for aktieudlån ....................................................................................             33
  2.4.2.3.3Øvrige bemærkninger til finansiering af aktiekøb .........................................................                             34
  2.4.2.4 Afvikling af transaktionerne (settlement)......................................................................                         35
2.4.2.6     Positionerne lukkes........................................................................................................           38
2.4.2.7     Gevinsten realiseres ......................................................................................................           38
2.4.2.8     Sammenfattende bemærkninger om forretningsmodellen og

     Sagsnr. XX-XXXXXXX                                                           Side 156/239
     Case 1:18-md-02865-LAK                                        Document 836-47                             Filed 06/27/22                         Page 318 of 462




                                     transaktionerne ........................................................................................           39
   2.4.2.9     Eksempler på transaktioner ved udbyttearbitrage ........................................................                                 43
            3. PENSIONSPLANEN BLEV DEN CIVILRETLIGT OG SKATTEMÆSSIGT RETMÆSSIGE
               EJER AF AKTIERNE ..........................................................................................................              46
               3.1 Pensionsplanen blev den civilretlige ejer af aktierne .............................................                                  46
               3.2 Handel med store aktieposter – shortselling..........................................................                                48
     3.2.1     Introduktion til short selling ..........................................................................................                49
     3.2.2     Short selling skaber flere aktier, indtil handlerne bliver afviklet (settlement) ..........52
     3.2.2.1 Skattestyrelsens synspunkter vedrørende ”short buyer”..............................................                                        55
     3.2.2.2 Konsekvensen af flere aktier som følge af short selling (indtil settlement) ..............57
     3.2.2.2.1Manglende kildebeskatning af kompensationsbetaling ................................................                                       58
     3.2.2.3 Skattemæssigt retmæssigt ejerskab ved aktieudlån – dobbelt ejerskab
                                     ud over settlement ...................................................................................             60
     3.2.2.3.1Retspraksis vedrørende skattemæssigt retmæssigt ejerskab ved
                                            aktieudlån ..........................................................................................       61
     3.2.2.3.2SKAT om skattemæssigt retmæssigt ejerskab ved aktieudlån ......................................                                           63
     3.2.2.3.3Skatteministeriet om skattemæssigt retmæssigt ejerskab ved
                                            aktieudlån ..........................................................................................       64
3.2.2.3.3.1 Aktieudlån uden videresalg til tredjemand....................................................................                               64
3.2.2.3.3.2 Aktieudlån med videresalg til tredjemand.....................................................................                               65
3.2.2.3.3.3 Bemærkninger til Skatteministeriets opfattelse ............................................................                                 65
     3.2.2.3.4Faglitteraturen om skattemæssigt retmæssigt ejerskab ved
                                            aktieudlån ..........................................................................................       66
     3.2.2.4 Konklusion: Short                                 selling har                      ingen indflydelse
                                     på pensionsplanens skattemæssig retmæssige ejerskab .........................                                      71
            4. JURIDISKE FORHOLD VEDRØRENDE UDBYTTESKAT......................................................                                           72
          4.1 Udbytteskat indeholdes i henhold til kildeskattelovens regler......................................                                       73
          4.2 Kildeskattebekendtgørelsens regler om fritagelse for indeholdelsespligt.....................                                              73
          4.3 Begrænset skattepligt af udbytte...................................................................................                       74
          4.4 Bestemmelse af den rigtige procentsats........................................................................                            74
          4.5 Kompensationsbetalinger ..............................................................................................                    74
          5. DOKUMENTATION FOR SKATTEMÆSSIGT RETSMÆSSIGT EJERSKAB.......................
                ...................................................................................................................................     75
          5.1 Den i praksis foreliggende dokumentation for et skattemæssigt retsmæssigt
                       ejerskab .............................................................................................................           76
     5.1.1     Broker confirmations (handelsnotaer) ......................................................................                              76
     5.1.2     Custody statements og DCA..........................................................................................                      78
          5.2 Dokumentation for pensionsplanens skattemæssigt retmæssige ejerskab 79
               KONKLUSION PÅ FØRSTE DEL.......................................................................................                          82
               DEL 2: SKATTESTYRELSENS SYNSPUNKTER BEROR PÅ ET UDOKUMENTERET
               OG FORKERT GRUNDLAG – IKKE GRUNDLAG FOR TILBAGEKALDELSE ....................                                                             82
            6. SKATTTESTYRELSENS MANGLENDE SAGSOPLYSNING ..............................................                                                 82
            7. FREMLAGT OG MANGLENDE DOKUMENTATION .....................................................                                                84
          7.1 Skattestyrelsens udokumenterede påstand om falsk dokumentation......................                                                      84
     7.1.1     Fejl i dokumentation fra brokere...............................................................................                          85
     7.1.1.1 Forskellige handelsdatoer på broker confirmations og custody
                                     statements ...........................................................................................             85
     7.1.1.2 Handelsnotaer forveksler køb og salg .......................................................................                               87
     7.1.1.3 Handelsnota angiver pris som ”#####” .....................................................................                                 87
     7.1.1.4 Handelsnotaer tager ikke højde for helligdage .........................................................                                    88


         Sagsnr. XX-XXXXXXX                                                            Side 156/239
Case 1:18-md-02865-LAK                                     Document 836-47                            Filed 06/27/22                        Page 319 of 462




7.1.1.5 Fejl i andre handelsnotaer.........................................................................................                   89
7.1.2     Fejl i dokumentation fra custodian – custody statement og kontoudtog .................                                              89
7.1.3     Overholdelse af GMSLA.............................................................................................                  91
7.1.4     Stock lending rate......................................................................................................            92
     7.2 Manglende dokumentation ...............................................................................                              92
7.2.1     Købekontrakten over aktierne ..................................................................................                     93
7.2.2     Pengestrøm og kontoudtog.......................................................................................                     93
7.2.2.1 Pengestrøm 93
7.2.2.2 Strøm af aktier...........................................................................................................            94
7.2.3     TTC-klausulen ............................................................................................................          94
7.2.4     Enkelte kontoåbningsdokumenter og transaktionsdokumenter ..............................                                             95
7.2.5     Dokumentation i 2014 og 2015 .................................................................................                      95
     7.3 Ansvaret for manglende dokumentation...........................................................                                      96
       8. FOR MEGET UDBETALT UDBYTTESKAT .....................................................................                                97
     8.1 Summen af alle refusioner.................................................................................                           97
     8.2 Summen af refusioner pr. udloddende selskab .................................................                                        99
     8.3 Fejlfunktioner ved administration af udbytteskat .........................................................                           100
       9. PENSIONSPLANENS FINANSIELLE TRANSAKTIONER .....................................................                                     102
     9.1 Finansiering af aktiekøb .................................................................................................           102
     9.2 Muligheden for at gennemføre de omhandlede finansielle
          transaktioner..................................................................................................................     104
     9.3 Registreringer i VP Securities er uden betydning...........................................................                          108
9.3.1     Betydningen af en registrering ved VP Securities ..........................................................                         108
9.3.2     Dokumentation for at Solo-gruppen har besiddet aktier ..............................................                                109
9.3.3     Skrivelser fra SØIK og VP Securities ...............................................................................                110
     9.4 Pensionsplanen modtog udbytte ...................................................................................                    112
     9.5 Der var indeholdt kildeskat af pensionsplanens udbytteudbetaling..............................                                       113
     9.6 Pensionsplanen modtog refusionen ..............................................................................                      115
     9.7 Sikkerhed i henhold til custody agreement ...................................................................                        116
     9.8 ”Fiktive transaktioner”...................................................................................................           117
9.8.1     Definition ”fiktiv transaktion”........................................................................................             118
9.8.1.1 Fiktiv Handel 118
9.8.1.1.1Køb af short sellere ........................................................................................................        118
9.8.1.1.2Levering af aktierne købt af short sellere ......................................................................                    119
9.8.1.1.3Modtagelse af udbytte (market claim) ..........................................................................                      119
9.8.1.2 Fiktive aftaler .................................................................................................................     119
9.8.2     Handel organiseret af Solo.............................................................................................             120
9.8.3     Fiktive aktier – short selling ...........................................................................................          122
     9.9 Skattestyrelsens fejlagtige antagelser om processen ....................................................                             123
     9.10Aktiekøb blev gennemført .............................................................................................               124
     9.11Længere settlement-periode end VP Securities ............................................................                            126
     9.12Ikke blot en skrivebordsøvelse.......................................................................................                128
9.12.1 Alle pensionsplaner køber til samme dag og til samme pris..........................................                                    128
9.12.2 Størrelsen på aktiebesiddelserne ..................................................................................                    130
9.12.3 Næsten ens aktieporteføljer..........................................................................................                  131
9.12.4 Alle pensionsplanerne har handlet med de samme parter ...........................................                                      132
9.12.5 Samme salgstidspunkt ...................................................................................................               132
9.12.6 Sanjay Shah kontrollerede pensionsplanernes custodians (Solo-gruppen)...................                                               133
9.12.7 Shahs ”Univers” .............................................................................................................          134
9.12.8 Fortløbende nummerering af Credit Advices på tværs af Solo- gruppen,
                      som også blev anvendt i 2017.......................................................................                     135


  Sagsnr. XX-XXXXXXX                                                           Side 156/239
      Case 1:18-md-02865-LAK                                   Document 836-47                           Filed 06/27/22                       Page 320 of 462




     9.12.9 Pensionsplanerne er ikke styret centralt .......................................................................                    136
     9.12.10 Ikke-indleverede ansøgninger om refusion ...................................................................                       137
          9.13En udbytteskat kan føre til to refusioner .......................................................................                 138
       9.15 Det er umuligt at svindle med aktiehandler...........................................................                               141
       9.16 Pensionsplanerne skifter ikke forklaring ................................................................                           142
   9.16.1     Broker confirmations og custody statements................................................................                        142
   9.16.2     Sikkerhedsstillelse..........................................................................................................     143
   9.16.3     Pensionsplanernes konti................................................................................................           144
   9.16.4     Dokumentation for modtagelse af udbytte ...................................................................                       144
       9.17 Pinsent Masons ......................................................................................................               145
            10. BEVISBYRDE OG FORMALITET....................................................................................                    146
              KONKLUSION PÅ ANDEN DEL ......................................................................................                    149
              DEL 3: SKATTEANKESTYRELSENS INDSTILLING I FØRERSAGERNE – DE
              GENNEMFØRTE HANDLER HAVDE REALITET ................................................................                               150
            11. ANERKENDELSE AF GENNEMFØRELSEN AF AKTIEHANDLERNE.150
            12. SKATTEANKESTYRELSENS TILSIDESÆTTELSE AF SKATTEMÆSSIGE EJERSKAB I
                FØRERSAGERNE..........................................................................................................          151
       12.1 Kendskab til transaktionsdokumenterne ...............................................................                               151
       12.2 Dokumentation ......................................................................................................                151
   12.2.1     Dokumentation for ejerskab af aktierne........................................................................                    152
   12.2.2     Dokumentation for modtagelse af udbyttet..................................................................                        153
   12.2.3     Dokumentation for modtagelse af udbytterefusion......................................................                             155
       12.3 Ikke grundlag for at anfægte realiteten .................................................................                           155
   12.3.1     Civilretten styrer vurderingen af det skatteretlige ejerskab..........................................                            156
   12.3.2     Generelt om realitetsgrundsætningen ..........................................................................                    156
   12.3.3     Realitetsgrundsætningen i retspraksis...........................................................................                  160
   12.3.4     Realitetsgrundsætningen i den juridiske litteratur ........................................................                       180
   12.3.5     Realitetsgrundsætningen anvendt på pensionsplanernes sager ………….. 182
12.3.5.1      Dokumentation for forbindelsen til pensionsplanens økonomi ....................................                                   183
12.3.5.2      Realitetsgrundsætningen – aftaler med uafhængige parter på
                                    markedsvilkår.......................................................................................        184
12.3.5.3      Realitetsgrundsætningen – handler reelt gennemført på
12.3.5.4      pensionsplanernes vegne, herunder råderet ................................................................                        184
12.3.5.4.1    Overførsler fra custodian...............................................................................................          184
12.3.5.4.2    Custodians handlinger på pensionsplanernes vegne.....................................................                             188
       12.4 I øvrigt ikke grundlag for at tilsidesætte pensionsplanens skattemæssige ejerskab188
   12.4.1     Øvrig documentation.....................................................................................................          189
              Endelig konklusion...................................................................................................             190
              Textmarke nicht definiert.
              Bilag ..................................................................................................................          191
              Sagens videre forløb..........................................................................................                    194

                   1 INTRODUKTION

                   I denne sag foreligger der ikke megen enighed mellem Skattestyrelsen og klageren – med en enkelt
                   undtagelse: sagens genstand.

                   Som Skattestyrelsen ganske rigtig fremhæver i det sammenfattende indlæg af den
                   9. august 2019 i førersagerne, afsnit 2, side 5, angår alle disse sager spørgsmålet om, hvorvidt pen-
                   sionsplanerne var berettigede til refusion af indeholdt udbytteskat.



         Sagsnr. XX-XXXXXXX                                                        Side 156/239
Case 1:18-md-02865-LAK                Document 836-47               Filed 06/27/22           Page 321 of 462




      Sagerne drejer sig dermed ikke i deres egentlige kerne om formaliteter (tilbagekaldelse eller annulla-
      tion) eller om aktiehandel og de involverede aktører i en aktiehandel.

      Sagerne drejer sig i modsætning til Skattestyrelsens påstand ikke om finansiering af aktietransaktioner
      eller om fejl i dokumentationen.

      Sagerne drejer sig i virkeligheden om spørgsmålet om, hvordan man bliver retmæssig ejer af en dansk
      dematerialiseret aktie, om hvorvidt pensionsplanerne virkelig har modtaget et udbytte, om short sling,
      der medfører, at der er flere danske aktier i omløb end udstedt af de danske selskaber, og om mangler
      ved den danske skattelovgivning, der medfører, at der indbetales for lidt i udbytteskat.

      Alle disse spørgsmål udløses af investeringsstrategien udbyttearbitrage, der i 2012 for alvor fandt sin
      vej til det danske marked.

      DEL 1: PENSIONSPLANEN VAR SKATTEMÆSSIGT RETMÆSSIG EJER AF AKTIER OG UDBYTTER

      Det fastholdes, at pensionsplanen var civilretligt og skattemæssigt retmæssig ejer af de i sagen om-
      handlede aktier samt civilretligt og skattemæssigt retmæssig ejer af de i sagen omhandlede udbyttebe-
      løb.

      Aktierne blev erhvervet ved gennemførelsen af udbyttearbitrage.

      2 BESKRIVELSE AF FINANSIELLE TRANSAKTIONER OG RE- LEVANTE EKSTERNE AKTØRER

      Det skal indledningsvist fremhæves, at de transaktioner, der ligger til grund for de omtvistede udbyt-
      terefusioner, er meget komplekse.

      De underliggende transaktioner er så komplekse, at der efter vores opfattelse består en reel risiko for,
      at nærværende sagskompleks afgøres på forkert grundlag som følge af misforståelser angående de in-
      volverede aktører, transaktionerne og selve investeringsstrategien, udbyttearbitrage.

      Derfor vil vi i det følgende redegøre tilbundsgående for de anvendte finansielle instrumenter, de impli-
      cerede aktører, de underliggende transaktioner og den anvendte investeringsstrategi.

      Nedenfor – i afsnit 2.1 – redegøres der således for den implicerede pensionsplan, der ejede de om-
      handlede aktieposter og udbyttebeløb.

      I den forbindelse redegøres der for traderen, der foretog de omhandlede aktietransaktionerne på pen-
      sionsplanens vegne.

      De omhandlede aktietransaktioner er som anført anvendt som led i gennemførelsen af den investe-
      ringsstrategi, der er almindeligt kendt som udbyttearbitrage.

      I afsnit 2.2 redegøres for de anvendte finansielle instrumenter, der blev anvendt som led i gennemfø-
      relsen af udbyttearbitragen.

      Gennemførelsen af den omhandlede investeringsstrategi har forudsat involvering og bistand af et stort
      antal aktører. Vi har i afsnit 2.3 redegjort for de enkelte grupper af involverede aktører, herunder deres
      rolle og forretningsmæssige ræson for involveringen i transaktionerne.




 Sagsnr. XX-XXXXXXX                                 Side 156/239
Case 1:18-md-02865-LAK                Document 836-47               Filed 06/27/22           Page 322 of 462




      I afsnit 2.4 har vi endvidere redegjort for den omhandlede investeringsstrategi, og vi har i den forbin-
      delse redegjort nærmere for de enkelte skridt i gennemførelsen af investeringsstrategien.

      2.1 Om pensionsplanen, som erhvervede danske aktier

      I nærværende sag er de omhandlede aktietransaktioner alle blevet gennemført af en amerikansk ”en-
      keltmands”-pensionsplan, en såkaldt Solo 401K-pensionsplan.

      Det er som anført pensionsplanen, der har ejet de omhandlede aktieposter og ud- bytterefusioner.

      Pensionsplanen har karakter af en ordning, der er skattebegunstiget i USA, derved at pensionsplanens
      indkomst først beskattes, når den udloddes til den/de begunstigede. Formålet med pensionsplanen er
      at generere indkomst/gevinst gennem investeringer og akkumulere disse, indtil de kan udloddes til
      den/de begunstigede. På den måde kan reglerne for de skattebegunstigede pensionsplaner sammen-
      lignes med de danske regler for ratepensioner, der tillige først beskattes ved udbetalingen.

      Solo 401K-pensionsplaner stiftes af enkelmandsvirksomheder, der enten drives i selskabsform (LLC) el-
      ler i personligt regi. De begunstigede er de erhvervsdrivende selv og/eller deres ægtefæller. De begun-
      stigede (deltagerne) kaldes også ”plan participants”.

      Der findes virksomheder, som eksempelvis den amerikanske virksomhed Broad Financial, der er specia-
      liseret i at yde assistance ved stiftelsen af pensionsplaner, herunder 401K-pensionsplaner og Solo
      401K-pensionsplaner.

      Ved stiftelsen af pensionsplanerne anvendes typisk standardiserede formularer. Disse formularer er
      standardiserede, således at samme formularer kan anvendes både ved stiftelsen af små Solo 401K-pen-
      sionsplaner og ved stiftelsen af store pensionsplaner med mange deltagere. Af denne grund er der ek-
      sempelvis i formularerne henvist til administrative ”Committees” udnævnt af arbejdsgiverens besty-
      relse, uanset at en sådan ”Committee” ikke findes i en Solo 401K-pensionsplan, idet sådanne små pen-
      sionsplaner forvaltes af en trustee, som virksomhedsejeren udpeger ved stiftelsen af pensionsplanen
      og den bagvedliggende trust.

      Bidragene til en 401K-pensionsplan opbevares i en (til lejligheden oprettet) trust, der har til formål at
      akkumulere, forvalte og investere disse bidrag til fordel for planens deltagere og begunstigede perso-
      ner. Etableringen af en trust separerer pensionsplanens formue fra virksomhedsejerens egen formue.
      Trusten forvalter formuen ved handlinger foretaget af den tegningsberettigede trustee eller anden be-
      fuldmægtiget.

      The Texas Rocco LLC 401K Plan er en (relativt) nystiftet enkeltmandspensions- plan (Solo 401K-pen-
      sionsplan) forvaltet af en trust og dennes trustee.




 Sagsnr. XX-XXXXXXX                                 Side 156/239
Case 1:18-md-02865-LAK                Document 836-47                Filed 06/27/22            Page 323 of 462




      De involverede aktører omkring selve pensionsplanen kan skitseres, som følger:




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                                                          ~o~nroao~Y.irJs~Q!llO!:SI


           """"""                           """"' .                                    r=••o•-•"'
                              Solo 401 K-pensionsplan                                  Trust
                              Juridisk ejer af formuen                        Forvalter af formuen.
                                                                           Tegningsberettiget:
                                                                               (eller fuldmaegtig)




      Etableringen sker således, ved at en LLC (arbejdsgiveren = enkeltmandsvirksom- heden) stifter en trust
      (jf. fx JEB5 Investment Trust) og 401k-pensionsplanen (The Texas Rocco LLC 401K Plan). Solo 401K-pen-
      sionsplanen er den juridiske ejer af formuen, og trustens trustee er den tegningsberettigede forvalter
      heraf.

      2.1.1 Dispositioner på vegne af pensionsplanen

      Den omhandlede pensionsplan er som anført en selvstændige juridisk person.

      Den kan udelukkende handle gennem sin trustee i den korresponderende trust eller en af trusteen be-
      fuldmægtiget person. Den såkaldte trader, var således enten trusteen selv eller befuldmægtiget, pro-
      fessionel formueforvalter.

      I størstedelen af de sager hvor SMK og TVC Advokatfirma er repræsentanter (TVC-sagerne), var det de
      pågældende trustees selv, der afgav ordrerne til at købe og sælge aktierne og indgik forward hedgen
      samt aktielånene under GMSLA’erne. Alle evner og al viden, som de pågældende trustees har og be-
      nytter til fordel for pensionsplanerne, skal tilregnes de pågældende pensionsplaner.

      Eftersom traderen skal være i stand til at identificere de aktier, hvor prisen på derivatet (futuren eller
      forwarden) er ude af balance med spotprisen, og samtidig være i stand til at fremskaffe den nødven-
      dige finansiering gennem et aktieudlån, er en betydelig grad af specialistviden og forretningsmæssige
      relationer nødvendige for at gennemføre udbyttearbitragehandler.



 Sagsnr. XX-XXXXXXX                                  Side 156/239
Case 1:18-md-02865-LAK                Document 836-47               Filed 06/27/22           Page 324 of 462




      2.2 De anvendte finansielle instrumenter

      Vi vil i det følgende redegøre for finansielle instrumenter, som pensionsplanen anvendte til realiserin-
      gen af investeringsstrategien.

      Helt overordnet er der anvendt tre typer finansielle transaktioner: et køb (og salg) af aktier, en forward
      og et aktielån.

      Som anført købte pensionsplanen danske aktier på udbyttedatoen, holdt dem i en periode (gennem-
      snitligt 45 dage) og solgte dem herefter igen. Den grundlæggende motivation for at købe aktierne på
      netop dette tidspunkt var af skattemæssig art: Pensionsplanen var berettiget til refusion i henhold til
      dobbeltbeskatningsoverenskomsten mellem Danmark og USA. Pensionsplanen kunne dermed i mod-
      sætning til andre med en mindre gunstig skattestatus modtage bruttoudbyttet – og ikke kun nettoud-
      byttet.

      For at afdække risikoen for kursfald indgik pensionsplanen samtidig en forward hedge.

      Finansieringen af aktiekøbene skete ved et aktieudlån, efter aktierne blev købt, men før aktierne skulle
      betales.

      Disse tre transaktioner kan umiddelbart godt ligne en ”kabale, der skal gå op”, således som Skattesty-
      relsen udtrykker det (jf. Skattestyrelsens sammenfattende ind- læg i førersagerne af den 9. august
      2019, side 12). De er dog ikke andet end udtryk for godt forberedte, finansielle, strukturerede transak-
      tioner. Finansindustrien adskiller sig herved ikke fra enhver anden industri: Alt skal forberedes på for-
      hånd, for at slutresultatet falder på plads. Helt ligesom bilfabrikken skal have hundredvis af enkeltdele
      fremme ved samlebåndet på det rette tidspunkt, for at slutresultater er en funktionsdygtig bil, skal
      også finanstransaktioner, der består af mange led, forberedes i forvejen. Ligesom bilfabrikken indgår
      rammeaftaler med underleverandører for levering af enkeltdele, indgår pensionsplanen rammeaftaler
      med mel- lemmænd i aktieudlån (Stock Loan Intermediaries), der kan fremskaffe den nødvendige fi-
      nansiering, samt aftaler med brokere, der kan skaffe aktierne og forwardkontrakter, og clearing-agen-
      ter/custodians, der i sidste ende indestår for, at de indgåede aftaler også vil blive afviklet.

      Disse forberedende aftaler kaldes i finansindustrien ”pre-trade” eller on-boarding.

      2.2.1 Aktiekøb/-salg

      Udbyttearbitrage-investeringsstrategien forudsatte, at pensionsplanen købte de aktier, de omhandlede
      udbytter er betalt på.

      Det er i den forbindelse vigtig at fremhæve, at de omhandlede aktier blev handlet gennem OTC-
      transaktioner.

      Aktier købes og sælges ikke kun gennem børsen. Aktietransaktioner over store voluminer gennemføres
      typisk uden for børsen ved såkaldte OTC-transaktioner (OTC = Over The Counter – over disken). Dette
      forhindrer store kurssving, som handlen med store aktieposter ville udløse ved de offentlige børser.

      Et OTC-marked er et decentraliseret virtuelt marked uden en fysisk lokation. Handel foregår mellem
      markedsdeltagere via internettet, telefon, e-mail og lignende kommunikationssystemer (messaging sy-
      stems). På OTC-markeder er handel mellem to parter anonym ligesom på børser. Det betyder, at man
      kun kan se, hvor meget blev handlet til hvilken pris, men ikke hvem der har købt eller solgt nøjagtigt
      hvor meget. Det er de handlende, der styrer OTC-markedet, og det er dem, der sætter kursen, de er vil-


 Sagsnr. XX-XXXXXXX                                 Side 156/239
Case 1:18-md-02865-LAK                   Document 836-47               Filed 06/27/22           Page 325 of 462




         lige til at købe og sælge for. For at handle på et OTC-marked har man brug for en børsmægler (broker).
         Brokeren kan gennemføre en såkaldt ejermatchinghandel. Brokeren optræder så selv som sælger til sin
         kunde. Brokeren køber aktien fra markedet (fra en anden broker eller en anden kunde). Hvorfra broke-
         ren skaffer sig aktien, som han sælger OTC, kan kunden ikke vide. I mange tilfælde kan end ikke broke-
         ren identificere, hvor den enkelte aktie, som han sælger, stammer fra, da brokeren køber mange ak-
         tieposter fra mange forskellige kilder. Hos brokeren blandes alle de købte aktier.

         De af pensionsplanen gennemførte aktiehandler blev indgået OTC med dennes brokere som ejermat-
         chinghandler.

         Ejermatchinghandler er som defineret i kapitalmarkedslovens § 71, stk. 3, en udførelse af kundeordrer
         over egenbeholdningen. Brokeren – der netop ikke er operatøren af et reguleret marked – træder ind i
         handlen og agerer som sælger til pensionsplanen, der ønsker at købe aktierne. Brokeren skaffer sig ak-
         tierne fra markedet.

         Fristen til afvikling af OTC-handler kan afvige fra den ”markedskonforme” settlementfrist. Det væsent-
         ligste ved OTC-handler er netop, at de ikke er standardiserede som ved børsen. OTC-handler er skræd-
         dersyede.

         Fælles for børshandler og OTC-handler er, at det er strakshandler (spotmarkeder). De foregår her og
         nu. Ejerskabet til aktierne overdrages med øjeblikkelig virkning. Vil man først købe aktien på et senere
         bestemt tidspunkt, men til en nu aftalt pris, indgår man en terminskontrakt (som en forward).

         2.2.2 Forwards

         En forward er en skræddersyet terminskontrakt mellem to parter til at købe eller sælge et aktiv til en
         bestemt pris på et bestemt tidspunkt (en fremtidig dato). En forward afsluttes enten ved fysisk levering
         af aktivet eller ved differenceafregning, hvor parterne ved kontraktens udløb udligner forskellen mel-
         lem den aftalte forwardpris og spotprisen (dvs. den aktuelle markedspris) på udløbstidspunktet.

         Indgåelsen af en forwardkontrakt er ikke at betragte som afståelse af aktierne, når/hvis forwardkon-
         trakten er omfattet af kursgevinstloven.

         Det følger af kursgevinstlovens § 33, stk. 1, sidste punktum, at det overdragne aktiv anses for erhvervet
         eller afstået på afviklingsdagen og til markedsværdien på afviklingsdagen, hvis kontrakten afvikles ved
         levering.

         En forwardkontrakt falder ind under kursgevinstloven, hvis en af de følgende betingelser ikke er op-
         fyldt:

        Kontrakten kan kun opfyldes ved levering af aktierne (altså ikke ved differenceafregning)
        Kontrakten kan ikke overdrages
        Der er ikke indgået nogen modgående kontrakt.

         Ved spørgsmålet om, hvorvidt kontrakten kun kan opfyldes ved levering, eller om differenceafregning
         er mulig, kommer det an på, om kontrakten rent faktisk blev afviklet ved differenceafregning (jf. forar-
         bejderne til kursgevinstloven, bemærkninger til lov nr. 439 af den 10. juni 1997, punkt n). Er dette rent
         faktisk sket, kommer det ikke an på, om det var forudset i kontrakten.




    Sagsnr. XX-XXXXXXX                                 Side 156/239
Case 1:18-md-02865-LAK                      Document 836-47                     Filed 06/27/22               Page 326 of 462




      2.2.3 Aktieudlån

      Et aktieudlån er, som navnet antyder, en aftale om udlån af aktier. De udlånte aktier vil som altoverve-
      jende hovedregel være børsnoterede aktier, hvilket gør aktierne let omsættelige. De lånte aktier vil
      altså være at betegne som en ”genusvare”.

      Et traditionelt aktielån er defineret ved en aftale mellem en kontrahent, långiver (A), og en medkontra-
      hent, låntager (B), hvor A mod et vederlag (gebyr/fee) og eventuelt en sikkerhed udlåner aktier optaget
      på et reguleret marked til B. Ved overdragelsen af de udlånte aktier overgår ejendomsretten til B, såle-
      des at B efterfølgende fuldt kan disponere over aktierne. Dette bevirker, at B har ret til at afgive
      stemme ved generalforsamling, retten til at modtage udbytteudlodning samt at sælge aktierne.

      Samtidigt med udlånet accepterer B at aflevere samme antal aktier tilbage til A på senere aftalt tids-
      punkt. Ved lånet af aktierne vil det oftest blive aftalt, at A vil/skal blive kompenseret for de til aktierne i
      udlånsperioden udloddede udbytter.


          Figur 2.4 illustrerer et akt ielan


                                                                vaerdipapirer


                                                           evt.
                                                           sikkerhedssti IIelse

                                                              vaerdipapirerne
                                                      (
                                                              + vederlag


                                                           evt.
                                                           sikkerhedssti llelsen
       Skattemaessig kvolifikation og behandling al REPO og al<lielan - Kandidatafhandling den 17. juli 2013 al
       Nils Panum Thisted

      Skattemæssig kvalifikation og behandling af REPO og aktielån – Kandidatafhandling den 17. juli 2013 af
      Nils Panum Thisted

      Stiller B sikkerhed til A i form at kontante pengemidler, vil denne kontante sikkerhedsstillelse være for-
      bundet med en forpligtelse for A til at betale renter til B. Værdien af sikkerhedsstillelsen for et aktielån
      ligger typisk over den aktuelle markeds- pris for aktierne.

      Aktieudlån adskiller sig herved grundlæggende fra en repotransaktion (repurchase agreement) eller
      kontrakter om lån med håndpant i aktier. Repotransaktioner og lån med håndpant i aktier ligner til for-
      veksling aktieudlån, der foretages mod kontant sikkerhedsstillelse. I alle tilfælde overdrages der aktier
      fra en person til en anden mod betalingen af en sum penge, og i begge tilfælde er parterne forpligtet til
      at levere aktierne henholdsvis pengene tilbage.




 Sagsnr. XX-XXXXXXX                                          Side 156/239
Case 1:18-md-02865-LAK                 Document 836-47                Filed 06/27/22           Page 327 of 462




      På hvilken side der foretages et såkaldt ”hair-cut”, er dog forskelligt ved aktieudlån og ved repo’er/lån
      med håndpant i aktier. Skattestyrelsen lader i det sammenfattende indlæg i føreresagerne af den 9. au-
      gust 2019 i afsnit 8.12 til at overse dette faktum.

      Det skal i den forbindelse fremhæves, at et aktieudlån sker i aktielåntagers interesse. Det er derfor ak-
      tielåntager, der skal yde en højere sikkerhedsstillelse end den aktuelle markedspris. Aktielåntagere er
      typisk short sellere. Repo’er og lån mod håndpant i aktier sker derimod i aktieindehaverens interesse.
      Aktieindehaveren anmoder kapitalgiveren om et lån og stiller sine aktier i sikkerhed for lånet.

      Transaktionerne kan være meget svære at adskille fra hinanden, dog hjælper indicier, som (1) hvem
      stiller anmodningen, og (2) overstiger værdien af aktierne beløbet, der betales.

      Anmoder modtageren af pengene om et lån, og stiller han aktier, hvis værdi overstiger det beløb, han
      modtager, til sikkerhed herfor, er der tale om en repo eller et lån med håndpant i aktier. Der foretages
      et ”hair-cut”, på værdien af den sikkerhed han stiller for at låne pengene.

      Anmoder derimod modtageren af aktierne om et lån, og giver han en kontant sikkerhed, hvis værdi
      overstiger den aktuelle markedsværdi af aktierne, er der tale om et aktieudlån. Her er det aktieindeha-
      veren, der beskyttes, mod risikoen for at aktielåntager ikke leverer aktierne tilbage (som han jo netop
      gerne ville låne), og derfor skal aktielåntager stille et højere beløb i kontant sikkerhed end den aktuelle
      markedsværdi af aktierne.

      For yderligere forklaringer vedrørende aktielån og repo’er henvises til Katja Joo Dyppel, Beskatning af
      aktielån og repo’er, SR.2013.0053, jf.bilag 2c, samt Nils Panum Thisted, Skattemæssig kvalifikation og
      behandling af REPO og aktielån, som her fremlægges som -    bilag
                                                                    - -75.
                                                                        -

      2.3 De involverede eksterne aktører

      For at kunne realisere de mange strukturerede finansielle transaktioner er det nødvendigt at et antal fi-
      nansielle virksomheder deltager. Der er her tale om fondsmæglere (”brokere”), custodians og clearing-
      virksomheder samt aktielåntagere og deres mellemmænd, forward intermediaries, og endelig de så-
      kaldte introducing brokers og ”Arrangers”.

      Som det fremgår af redegørelsen nedenfor, var der et meget stort antal aktører involveret i gennemfø-
      relsen af de omhandlede transaktioner, der hver især rådede over særlig indsigt og/eller særlige kon-
      takter, eller som blev påført ikke uvæsentlige risici i forbindelse med gennemførelsen af de omhand-
      lede transaktioner.

      2.3.1 Brokere

      Samtlige ordrer til køb og salg af aktier blev af trustee’en/traderen indgivet til en professionel, autori-
      seret og kontrolleret broker i London.

      Brokerens opgave er at matche en købsordre med en salgsordre. Ved denne matchning opstår den juri-
      disk bindende aftale om køb af aktier, der efter dansk lovgivning umiddelbart fører til overgang af det
      civilretlige ejerskab til køber.

      Brokerens primære opgave er at placere ordren på markedet, idet han i sit netværk af brokere og ved
      børsen søger at finde en (eller flere) salgsordrer, der passer til den købsordre, han har modtaget fra sin
      klient. Brokeren betegner selv opgaven som at ”skaffe likviditet” til en ordre. Han mener dermed ikke,
      at han skal finde likvide midler til at betale for et bestemt antal aktier, som hans kunde gerne vil købe.


 Sagsnr. XX-XXXXXXX                                  Side 156/239
Case 1:18-md-02865-LAK                 Document 836-47               Filed 06/27/22            Page 328 of 462




      Den likviditet, som brokeren skal fremskaffe til sin kunde, består i tilstrækkelige aktier til at kunne mat-
      che kundens købsordre med salgsordre.

      Brokerne, som pensionsplanen handlede med, indgik i reglen aktiehandlerne som ejermatchinghand-
      ler. Brokeren, der arbejdede for sælger, købte dermed selv aktierne af sælger og solgte dem videre til
      en anden broker, der agerede for den ultimative køber (pensionsplanen). Pensionsplanen købte med
      andre ord dermed aktierne af sin egen broker, ikke af den ultimative sælger.

      Når brokeren skaffer sig aktierne fra markedet, kan han gøre dette ved at købe aktier af flere forskel-
      lige kilder. Samtlige aktier, som brokeren har købt, indgår i en stor pulje, hvor der ikke længere kan
      skelnes, hvilken ”konkret aktie” der kom fra hvilken kilde. Dematerialiserede aktier er kun antal på de-
      potkonti, der adskiller sig lige så lidt fra hinanden som pengemidler.

      Strømmen af aktier til brokerne ind til en stor pulje kan illustreres, som følger:



                                          str0m af aktier
              On•leg


              SOloc~~




      ”Den aktie” – af ubestemmelig herkomst – som pensionsplanen efterfølgende fik leveret til sin depot-
      konti hos sin custodian, var heller ikke nødvendigvis den selv samme aktie, som dens køb blev matchet
      med ved brokeren. Det er i og for sig også irrelevant, da dematerialiserede aktier er genusvarer: Pen-
      sionsplanen skal bare have leveret en aktie, af samme klasse og fra samme selskab som den har købt.

      Skattemæssigt gør det kun en forskel, hvis man vil undersøge, om den aktie, som pensionsplanen
      købte og fik leveret, stammede fra en short seller eller en long owner. Vil man behandle disse aktier
      forskelligt (skattemæssigt betragtet), støder man på det problem, at pensionsplanen kan have købt en
      aktie, der stammer fra en long owner (der allerede har aktien i sit depot på salgstidspunktet) hos sin
      broker, men når leveringen sker, modtager pensionsplanen en aktie, der stammer fra en short seller –
      eller omvendt. Og ingen er i stand til at skelne disse aktier fra hinanden, i kredsløbet af aktier der kon-


 Sagsnr. XX-XXXXXXX                                  Side 156/239
Case 1:18-md-02865-LAK                Document 836-47                Filed 06/27/22            Page 329 of 462




      stant blandes sammen i puljer. Ville man betragte aktier fra short sellere som koldt vand og aktier fra
      long ownere som varmt vand, er det, der opstår hos såvel brokerne som hos custodians, lunkent vand,
      som man ikke kan skille ad igen.

      Brokerens honorar afhænger af, om han kan skaffe sin kunde det ønskede antal aktier.

      Derfor er pensionsplanens betaling af brokernes honorarer dokumentation for, at pensionsplanens or-
      drer til køb eller salg af aktier blev matchet med tilsvarende ordrer, som brokerne skaffede fra marke-
      det.

      De brokere, som traderne for pensionsplanen placerede ordrerne til køb- og salg af danske aktier hos,
      var finansielle virksomheder, der var uafhængige af Solo- gruppen. Brokeren Novus blev ganske vist
      købt af Sanjay Shah, dog skete det først, efter pensionsplanerne var ophørt med at benytte Novus som
      broker. Det var kun i 2013 – altså før Sanjay Shah overtog Novus – at Novus var broker for pensionspla-
      ner, der benyttede sig af Solo-gruppen som clearer og custodian.

      2.3.2 Aktielåntagere og deres mellemmænd (Stock Loan Intermediaries)

      Pensionsplanen, der var kunde i Solo-gruppen, anvendte et begrænset antal professionelle mellem-
      mænd (Stock Loan Intermediaries) som modparter i forbindelse med aktieudlån. Inden pensionsplanen
      startede sin forretningsaktivitet, indgik den rammeaftaler om aktieudlån (såkaldte GMSLA’er) med mel-
      lemmænd (Stock Loan Intermediaries). I en GMSLA fastsættes kun de generelle vilkår for lånene.

      At ikke alle pensionsplaner har gemt kopier af de underskrevne GMSLA’er er af den simple grund, at
      det drejer sig om standardaftaler, der er identiske for samt- lige pensionsplaner.

      Hvert enkelt konkrete aktieudlån blev indgået ved de e-mails, som trustee’en udvekslede med mellem-
      manden i aktielån, efter at købsordren til aktierne var placeret og matchet ved brokeren. Det er først
      disse e-mails, der indeholder de for indgåelsen at en retligt bindende aftale om aktieudlån nødvendige
      konkrete informationer: Hvilke og hvor mange aktier lånes ud, beløbet for den kontante sikkerhedsstil-
      lelse samt gebyrets og rentens størrelse samt aktieudlånets løbetid.

      Pensionsplanen og dens trustee kendte og kender stadig ikke de ultimative låntagere af aktierne, idet
      aktielånsmellemmændene var imellem dem. Pensionsplanen kender derfor heller ikke de endelige ak-
      tielåntageres motivation for at låne aktierne.

      Inden pensionsplanen købte en given aktiepost, forhørte pensionsplanen sig telefonisk hos mellem-
      mændene om, hvor mange aktier mellemmændene havde brug for at låne, dvs. kunne formidle til en
      endelig låntager. Dette med henblik på at sikre, at pensionsplanen kun købte et antal aktier, som pen-
      sionsplanen efterfølgende kunne låne ud. De i sagerne fremlagte e-mails fra mellemmanden til pen-
      sionsplaner, hvori pensionsplaner spørges til, om de har et givent antal aktier, er således sendt, efter at
      pensionsplanerne allerede havde været i kontakt med mellemmanden.

      Der er således ikke tale om, at aftalerne om aktielån er ”indgået baglæns”, således som det hævdes af
      Skattestyrelsen.

      Der er heller ingen ”brikker der skal falde på plads”, eller en ”kabale, der skal gå op” for at kunne finan-
      siere aktiekøbet, sådan som Skattestyrelsen påstår. Skattestyrelsens påstande hviler på manglende
      kendskab til praktikken i udbyttearbitrage.




 Sagsnr. XX-XXXXXXX                                  Side 156/239
Case 1:18-md-02865-LAK                Document 836-47               Filed 06/27/22          Page 330 of 462




      2.3.3 Forward counterparties og intermediaries

      Pensionsplanen har ikke haft kendskab til de ultimative forwardmodparters identitet, idet forwardkon-
      trakterne er handlet gennem mellemmænd. Mellemmændene træder derved (ligesom ved en ejermat-
      chinghandel) selv ind i kontrakten og er selv umiddelbar forward counterpart til pensionsplanen.

      Den ultimative forward counterparts motivation kan pensionsplanen derfor heller ikke kende.

      Pensionsplanen har ikke lovet køberen af forwarden (hverken intermediarien eller den ultimative
      forward counterpart) noget som helst således som påstået af Skattestyrelsen i det sammenfattende
      indlæg i førersagerne af den 9. august 2019, afsnit 2.3 (side 10). Mindst af alt har pensionsplanen lovet
      modparten til forwarden en kursstigning. Den ultimative modpart til forwarden har simpelthen en
      modsat- rettet interesse i forhold til pensionsplanen: Han ønsker at eje aktien på en bestemt dato efter
      generalforsamlingsdatoen. Om det er, fordi den ultimative modpart af egen motivation forventer en
      kursstigning, eller fordi modparten af (skattemæssige årsager) simpelthen ikke ønsker at eje aktien på
      udbyttedatoen, men vil sikre sig købet af aktien til en bestemt pris på en senere dato, kan pensionspla-
      nen som uafhængig part ikke udtale sig om.

      Et vigtigt aspekt i nærværende sag er, at de købte aktier aldrig blev leveret under forward hedgen, idet
      pensionsplanen altid differenceafregnede mellemværendet med forwardmodparterne, dvs. udlignede
      forskellen mellem den aftalte forwardpris og spotprisen (markedsprisen) på tidspunktet for udløbet af
      forwardkontrakten. Derved undgik pensionsplanen, at forwardkontrakterne i skattemæssig henseende
      kunne anses for en afståelse af de erhvervede aktier.

      Det var væsentligt for såvel pensionsplanen som også de ultimative modparter til forwardkontrak-
      terne, at forwardkontrakten ville være omfattet af kursgevinstloven, således at indgåelsen af forwar-
      den IKKE er at betragte som afståelse af aktierne. Som det fremgår af forarbejderne til kursgevinst-
      loven (bemærkningerne til lov nr. 439 af den 10. juni 1997, punkt n) kommer det for spørgsmålet om,
      hvorvidt en kontrakt kun kan opfyldes ved levering, eller om differenceafregning er mulig, an på, om
      kontrakten rent faktisk er blev afviklet ved differenceafregning. Er dette rent faktisk sket, kommer det
      ikke an på, om det var forudset i kontrakten.

      2.3.4 Custodians og clearing-agenter

      Custodians og clearing-agenterne har en dobbeltrolle. På den ene side har custodian til opgave at op-
      bevare pensionsplanernes værdipapirer (aktier). Denne rolle kan custodian først opfylde, når aktierne
      er overført fra sælgers custodian til købers custodian. Det sker ved settlementprocessen (afvikling).
      Ved afviklingen af aktiehandlen skal købsprisen betales mod levering af aktier (payment versus deli-
      very). Der skal med andre ord udveksles penge og værdipapirer mellem de involverede custodians.
      Dette kan enten ske på brutto- eller på nettobasis.

      Sker afviklingen på bruttobasis, udveksles den konkrete aktiepost, der blev solgt fra den ene custodian
      til den anden mod overførslen af den konkrete købesum.




 Sagsnr. XX-XXXXXXX                                 Side 156/239
Case 1:18-md-02865-LAK                Document 836-47               Filed 06/27/22        Page 331 of 462




      Afvikling på bruttobasis kan illustreres, som følger:




                                                   4000



                    2000                                                       2000



                       BANKC                                              BANKO
                  \.___ _ _ _ _s_ooo _ _ _ _ _,,)
                                                   y
               Bruttooverf(l)rslen af 27 .000 er et resultat af den
                 bi-laterale handelsaktivitet mellem 4 banker

      Sker afviklingen på nettobasis, modregnes først alle aktietransaktioner i den pågældende afviklingspe-
      riode (hvilket ikke nødvendigvis er en hel dag) mellem de pågældende custodians, inden nettobalancen
      overdrages mellem sælgers og købers custodian.

      Afvikling på nettobasis kan illustreres, som følger:




                                                     EUREX
                                                    Clearing
                                                     KV8501




                         Netting af fordringer pa og forpligtelser til
                        levering har reduceret netto-overdragelsen
                                   med 75% til kun 7.000


 Sagsnr. XX-XXXXXXX                                  Side 156/239
Case 1:18-md-02865-LAK                 Document 836-47               Filed 06/27/22            Page 332 of 462




      Ved clearingen opgøres forpligtelserne, der skal udveksles. Sker clearingen under anvendelse af net-
      ting, om- og modregnes flere overførselsordrer mellem de involverede custodians til en nettofordring,
      således at kun nettoforpligtelsen overdrages mellem de to custodians (jf. kapitalmarkedslovens § 3,
      stk. 1, nr. 29).

      Har køber og sælger samme custodian, afvikles aktietransaktionen internt jf. CSD- direktivets artikel 9
      (afviklingsinternalisatorer), således at ingen aktier sendes fra custodian til custodian. Clearingen og af-
      viklingen af transaktionerne er ikke desto mindre reel – og i tiltagende omfang nøje reguleret af EU.

      Custodians og clearing-agenterne bliver principielt først aktive, efter at den endelige og bindende af-
      tale om overdragelse af ejerskab til aktierne er indgået.

      Idet clearing-agenten dog indestår for opfyldelsen af en indgået aftale om køb og salg af aktier – som
      garant for betaling af købssummen og levering af aktierne – skal brokeren og traderen begge informere
      clearing-agenten om hensigten om at indgå en aktiehandel, som først matches når clearing-agenten
      har givet tilsagn om, at de kontraktuelle forpligtelser vil blive opfyldt.

      Som følge af denne risiko, som clearing-agenten overtager ved afviklingen af handler indgået af en pen-
      sionsplan uden tilstrækkelig egenkapital til at betale for de købte aktier, og nødvendigheden af at
      skaffe en aktielåntager til det specifikke antal aktier, som pensionsplanen køber, forlanger clearing-
      agenten et betragteligt honorar. Et honorar, som clearing-agenten enten forlanger udbetalt til sig selv
      eller (af skattemæssige årsager) til en forbunden virksomhed.

      På grund af den høje risiko for at skulle indestå for betalingen af købesummer i så betragtelig størrel-
      sesorden som i de omtalte aktiehandler, var honoraret, som Solo-gruppen forlangte for sine tjenestey-
      delser som custodian og clearing-agent også ganske væsentligt. Honorarer i en størrelsesorden, om-
      kring 70-80 pct. af gevinsten, er normale inden for branchen og blev også betalt af pensionsplanerne.

      Disse honorarer blev trukket fra pensionsplanernes cash-konto hos deres custodian. Idet pengene un-
      der TTC-klausulen allerede befandt sig på Solo Capitals konto, viste betalingen af honoraret sig kun ved
      en bogføring på pensionsplanernes cash-konto hos deres egen custodian. TTC-klausulen i Custody
      Agreements var en sikkerhed for Solo-gruppen, for det tilfælde at clearing-agenten/custodian måtte
      træde til og betale købssummen i en given aktietransaktion.

      2.3.5 Tax agents

      Anmodningerne om refusion blev indsendt af en professionel tax agent på vegne af pensionsplanen.
      Den engagerede tax agent havde til opgave at verificere, at samtlige forudsætninger for at få udbetalt
      refusion fra Danmark var opfyldt og behørigt dokumenteret.

      Den pågældende tax agent modtog honorar for sine ydelser.

      Eftersom den engagerede tax agent ikke kun var ansvarlig for anmodningen om refusion, men også for
      overvågningen heraf, skulle refusionen udbetales fra SKAT til tax agenten. Tax agenten informerede
      pensionsplanen om modtagelsen om den respektive refusion og overførte samtlige refusionsbeløb til
      Solo Capitals kontant-konto, jf. bilag 76, som her fremlægges. Dette skete med frigørende virkning for
      den pågældende tax agent, idet pensionsplanen havde sin konto hos Solo Capital gruppen. I Solo-grup-
      pen blev modtagelsen af hvert refusionsbeløb bogført på hver pensionsplans konto.

      Solo Capital var berettiget til at modtage refusionsbeløbene, som tilkom pensionsplanen, idet pen-
      sionsplanen havde overdraget ejendomsretten til alle sine kontante midler til sikkerhed til sin custo-


 Sagsnr. XX-XXXXXXX                                  Side 156/239
 Case 1:18-md-02865-LAK                 Document 836-47                Filed 06/27/22            Page 333 of 462




        dian. Denne overdragelse til sikkerhed af kontante midler skete under TTC-klausulen i Custody Agree-
        ment.

        Overdragelse af ejendomsretten til refusionsbeløbet står ikke i modstrid med GMSLA’en som påstået af
        Skattestyrelsen i styrelsens sammenfattende indlæg i førersagerne af den 9. august 2019, idet
        GMSLA’en kun pantsætter de aktiver, der tilhører pensionsplanen. De kontante midler tilhører kun
        pensionsplanen i ”et logisk sekund”, hvorefter de i henhold til TTC-klausulen umiddelbart overdrages til
        custodianens ejerskab.

        Samtlige pengemidler, der tilkom pensionsplanerne, blev dog bogført på separate konti hos Solo-grup-
        pen, således at de enkelte pensionsplaners midler til enhver tid kunne identificeres og fritages fra sik-
        kerhedsstillelsen. Dette skete i øvrigt på bag- grund af rådgivning modtaget fra advokatfirmaet Pinsent
        Masons, der som bekendt er Skattestyrelsens eget advokatfirma i England.

        Såfremt pensionsplanen ikke havde noget udestående med sin custodian, dvs. hvis custodian ikke
        havde måttet betale en aktiehandel på vegne af pensionsplanen, kunne pensionsplanen på ethvert
        tidspunkt opsige kontrakten med sin custodian og forlange såvel pengemidler som også aktiedepoter
        overført til en anden custodian/bank. Den pågældende custodian havde på intet tidspunkt nogen ret-
        tigheder til aktiedepoterne, og overdragelsen af ejendomsretten til pengemidlerne skete kun til sikker-
        hed.

2.3.6   Introducing brokere

        Eftersom det ikke er let at finde alle de her beskrevne finansielle virksomheder, der er villige til at ac-
        ceptere en nystiftet enkeltmandspensionsplan som kunde til at investere i store danske aktieposter
        uden selv at råde over tilstrækkelig egenkapital, er såkaldte introducing brokere nødvendige. En intro-
        ducing broker introducerer kunder til de forskellige finansielle virksomheder mod honorar.

2.3.7   Arrangers

        Endelig havde pensionsplanen brug for en såkaldt arranger. En arranger er en agent med eksklusiv ad-
        gang til bestemte netværk, firmaer eller forretningskoncepter (immaterielle rettigheder). Også en ar-
        ranger fakturerer pensionsplanen for sine tjenesteydelser.

2.3.8   Sammenfattende bemærkninger om de involverede eksterne aktører

        Aflønningen af det store antal medvirkende finansielle virksomheder, der rådede over særlig viden og
        særlige kontakter, eller som overtog visse finansielle risici i forbindelse med gennemførelsen af aktie-
        transaktionerne, efterlod pensionsplanen med en mindre del af det samlede provenu ved den om-
        handlede udbyttearbitrage. Dette svarer til markedspraksis og er intet tegn på, at de diverse aktører
        ikke skulle være uafhængige af hinanden, eller at pensionsplanen blot skulle have ageret som ”strå-
        mand” for andre involverede parter, sådan som Skattestyrelsen lader til at ville antyde.

        Pensionsplanen var ikke undergivet Sanjay Shahs kontrol og kunne på ethvert tidspunkt også skifte til
        en anden finansiel virksomhed. Dette dokumenteres netop også, ved at en del pensionsplaner først var
        klienter hos Solo Capital og efterfølgende hos North Channel Bank. Pensionsplanen kender ikke de kon-
        krete navne på de pensionsplaner, der skiftede clearer og custodian, men ved, at det skete.

        Skattestyrelsen er i en bedre position til at kunne navngive de pensionsplaner, der har indgivet anmod-
        ninger om refusion på basis af et DCA udstedt af Solo Capital og senere af North Channel Bank.
        2.4 Pensionsplanens forretningsmodel og transaktioner


   Sagsnr. XX-XXXXXXX                                  Side 156/239
Case 1:18-md-02865-LAK                Document 836-47               Filed 06/27/22           Page 334 of 462




      2.4.1 Introduktion til udbyttearbitrage

      Pensionsplanen anvendte den investeringsstrategi, der kaldes udbyttearbitrage. Udbyttearbitrage er
      helt grundlæggende en investering i aktier omkring udbyttedatoen.

      Forretningsmodellen er mulig som følge af det forhold, at ikke alle aktionærer har samme skattestatus.
      Nogle betaler mere i udbytteskat end andre. Enkelte er – ligesom pensionsplanen – helt fritaget for at
      betale udbytteskat. Aktionærer der er (helt eller delvist) fritaget for at betale udbytteskat, modtager
      således en højere indkomst fra udbytteudlodningen end andre aktionærer, der er mindre gunstigt stil-
      let.

      Aktionærer der ikke har adgang til en dobbeltbeskatningsoverenskomst, ved med sikkerhed, at de på
      udbyttedatoen mister 27 pct. af udbyttet. Disse 27 pct. mister en amerikansk pensionsplan ikke. Aktio-
      nærer, der skattemæssigt set ikke står så godt som pensionsplanen, vil derfor gerne sælge aktierne hen
      over udbyttedatoen. Dette gør de i reglen ved at sælge aktierne kort før eller på selve udbyttedatoen
      til den aktuelle markedspris (som stadig indeholder hele bruttoudbyttet) og købe aktier tilbage fra mar-
      kedet ved at købe en forwardkontrakt.

      Dagen efter udbyttedatoen falder aktierne i pris, idet selskabet jo har mistet værdi pga. udlodningen af
      udbyttet. Teoretisk set skulle aktierne dagen efter udbyttedatoen – også kaldet ex-datoen, idet det er
      den første dag hvor, aktierne handles udenret til udbytte – falde med samme beløb som bruttoudbyt-
      tet. Det er jo den værdi, som selskabet mister i kroner og ører ved selve udlodningen.

      I praksis falder prisen dog stort set aldrig med nøjagtig samme beløb som brutto- udbyttet. Allerede
      dette faktum tilskynder spekulationer i prisudviklingen omkring udbyttedatoen og dermed en øget
      handelsaktivitet på netop dette tidspunkt.

      Spekulationsforretningen bliver til en arbitrageinvestering ved den parallelle investering i en forward-
      kontrakt.

      Arbitrage er et økonomisk fagudtryk for handel med ensartede varer (og tjenesteydelser) på adskilte
      markeder. Handlens formål er at udnytte synlige prisforskelle på forskellige markeder. Handles den
      samme varer på to forskellige markeder til en forskellig pris, opstår arbitragemuligheden: Den samme
      vare købes og sælges samtidig på forskellige markeder, og arbitragøren kan umiddelbart se, hvilken ge-
      vinst han vil realisere.

      De forskellige ”markeder”, der herved er tale om, kan ikke kun være forskellige børser. En og samme
      aktie handles ikke nødvendigvis til helt samme pris på samtlige børser. De forskellige markeder, som en
      arbitragør kan rette sig mod, kan også være selve aktiemarkedet og derivatmarkedet som fx forward-
      markedet. Prisen på en aktie, der straks købes på det såkaldte ”spotmarked,” er ikke den samme som
      prisen for samme aktie, der handles over en forwardkontrakt.

      Prisen for en aktie, der handles over en forwardkontrakt, afviger allerede pga. rentefaktoren fra selve
      købsprisen for aktien: Hvis man over en forwardkontrakt aftaler at købe en aktie på et bestemt tids-
      punkt i fremtiden til en bestemt pris, vil selve forrentningen af købsprisen blive medregnet i prisen på
      forwardkontrakten og derved afvige fra aktieprisen på spotmarkedet.

      Prisen på forwardkontrakten kan dog også afvige fra spotprisen af mange andre grunde. En årsag, til at
      forwardprisen kommer ud af balance med forwardprisen – sådan som den skulle ligge hvis kun forrent-
      ningen af købsprisen ville blive indkalkuleret – kan være efterspørgsel fra ”tidligere aktionærer” der in-


 Sagsnr. XX-XXXXXXX                                 Side 156/239
 Case 1:18-md-02865-LAK                   Document 836-47               Filed 06/27/22          Page 335 of 462




          den udbyttedatoen sælger deres aktier til markedet for at undgå tabet af de 27 pct. udbytteskat. Da
          den oprindelige aktionær uden dobbeltbeskatningsoverenskomst ved, at han ved udlodningen af ud-
          byttet mister de 27 pct. af udbytteskatten, har udbyttet og dermed selve aktien en mindre værdi for
          ham, end for en pensionsplan der har ret til refusion. Denne subjektive værdiforskel, der forårsages af,
          at nogle aktionærer diskrimineres i forhold til andre, bringer markedet i bevægelse. Værditabet, der
          sker på ex-datoen, er mindre for skattebegunstigede pensionsplaner end for andre aktionærer. Pen-
          sionsplanen kan derfor sælge aktierne igen til de tidligere ejere under en forwardaftale til en højere
          pris, end forwardprisen skulle være, da køberen af forwarden stadig vil stå finansielt bedre, end hvis
          han havde beholdt aktien, modtaget et nettoudbytte og lidt en værditab på sin aktie på ex-datoen i en
          størrelsesorden af bruttoudbyttet.

          Pensionsplanen lider et umiddelbart ”tab” på ex-datoen, da aktien også i hans besiddelse mister i
          værdi. Bruttoudbyttet trækkes fra aktiens markedsværdi. Dette tab udlignes i pensionsplanens tilfælde
          dog fuldt ud ved modtagelsen af nettoudbyttet og refusionen. Tilbage bliver for pensionsplanen gevin-
          sten, som denne kan realisere på arbitragetransaktionen: købet af aktien på spotmarkedet og salget af
          akten på derivatmarkedet (forwardkontrakten).

          Selvom gevinsten, som pensionsplanen realiserede, udgjorde samme værdi som refusionen af udbyt-
          teskatten, bestod selve gevinsten dog ikke i refusionen som påstået af Skattestyrelsen. Den realiserede
          gevinst stammede fra selve arbitrageforretningen. Denne kunne pensionsplanen ikke risikere at miste
          ved markedsbevægelser og var derfor nødt til at lukke samtlige positioner, når arbitragegevinsten var
          faldet til refusionsbeløbet.

          At udbyttearbitrage er en fuldkommen legitim investerignsstrategi, fremgår af den som bilag 77 frem-
          langte brochure fra det engelste finanstilsyn FCA fra juni 2017.

          2.4.2 Transaktioner

          I det følgende beskrives forretningsgangen ved udbyttearbitrage i praksis, idet hvert enkelt trin belyses
          nærmere.

2.4.2.1   Onboarding

          Forud for iværksættelsen af pensionsplanens handelsaktivitet har pensionsplanen været igennem ud-
          førlige kontoåbningsprocedurer hos samtlige af de implicerede finansielle virksomheder, herunder bro-
          ker (fondsmægler), mellemmændene til forwardkontrakterne og aktielånene samt clearing- og settle-
          ment-agenten og custodian.

          Det nødvendige aftalegrundlag skulle være på plads, førend pensionsplanen kunne gennemføre han-
          delsaktiviteten, herunder rammeaftalerne med aktielåns-mellemmændene (GMSLA-aftaler). Herved
          sikredes, at der pr. e-mail og med kort varsel kunne indgås en konkret aftale om udlån af et konkret an-
          tal aktier på en helt konkret dato.

2.4.2.2   Køb af aktier og salg af forward

          2.4.2.2.1 Fremgangsmåden ved aktiekøb og salg af forward

          Første trin i selve udbyttearbitrage-transaktionerne har bestået i at placere en købsordre til fondsmæg-
          leren. Når pensionsplanens trustee (eller den af trustee autoriserede trader) har identificeret en be-
          stemt aktie, hvor prisen på derivatet (future/forward) er ude af balance med prisen for selve aktien på
          spotmarkedet, forhører trustee’en sig telefonisk hos sin aktielånsmellemmand, om der på markedet er


   Sagsnr. XX-XXXXXXX                                   Side 156/239
Case 1:18-md-02865-LAK                Document 836-47               Filed 06/27/22          Page 336 of 462




      en interesse for at låne aktier i det pågældende selskab. Giver aktielånsmellemmanden udtryk for, at
      der eksisterer generel forespørgsel på markedet efter at låne en bestemt aktie, placerer pensionspla-
      nens trustee en ordre om at købe et bestemt antal aktier hos broker (fondsmægler = execution bro-
      ker).

      Brokeren kontakter herefter sit netværk for at identificere en (eller flere) passende salgsordrer på mar-
      kedet. Handlerne sker ikke nødvendigvis ved børsen. Store mængder aktier, som dem der er nødven-
      dige, for at udbyttearbitrage kan betale sig (idet prisforskellen mellem spotmarkedet og derivatmarke-
      det er så minimal), handles generelt OTC, dvs. udenom børsen. Dette med henblik på at forhindre risi-
      koen for (illegal) markedsmanipulation. Der henvises til det anførte ovenfor under afsnit 2.2.1 .

      Identificerer brokeren en eller flere passende salgsordrer i sit netværk af brokere, meddeler han dette
      til pensionsplanens trader, som anmodes om at indhente tilsagn fra clearing-agenten om, at denne vil
      indestå for, at afvikling vil ske. Parallelt hermed anmodes sælgers clearing-agent om at indestå for, at
      afviklingen vil ske. Således indestår købers clearing-agent for, at købesummen betales, og sælgerens
      clearing-agent indestår for, for at aktierne leveres. Modtager clearing- agenterne disse meldinger om-
      kring udbyttedatoen, og kan de se, at afviklingsdatoen ligger efter ”record day”, markeres transaktio-
      nen i computersystemerne (som ”cum ex- trade”), så de respektive custodians er opmærksomme på,
      at der opstår en såkaldt ”market claim”, når udbyttet udbetales.

      ”Record day” er datoen, hvor selskabet (VP Securities) verificerer, hvem der er registreret som ejere af
      de danske aktier. Udbyttet vil af VP Securities sendes, til den der på ”record day” står registreret som
      ejer af en aktie. Er en aktiehandel ikke afviklet på record day endnu, vil VP Securities umiddelbart
      sende udbyttet til den forkerte modtager, nemlig sælgeren. Har sælger eksempelvis sit depot i Nordea,
      og køberen sit depot i Danske Bank, vil VP Securities sende udbyttet til Nordea. Nordea kan dog se, at
      aktierne efter record day er overført til Danske Bank. Nordea er derfor under den såkaldte ”market
      claim-proces” forpligtet til at sende udbyttet videre til Danske Bank, hvor den retmæssige ejer af aktien
      har sit depot.

      Under market claim-processen er de respektive custodians således forpligtede til at debitere nettoud-
      byttet, som sælger i første omgang har modtaget, fordi han stadig stod registreret som ejer på ”record
      day” og overføre dette nettoudbytte til køberen af aktien.

      Finder brokeren ikke en passende salgsordre på markedet, kan købsordren ikke efterkommes, og pen-
      sionsplanen bliver ikke ejer af danske aktier. Eksempler på købsordrer, der ikke blev matchet, fremlæg-
      ges som bilag 78. Desværre har ikke alle pensionsplaner gemt kopier af de købsordrer, der ikke blev
      matchet, da de jo ikke havde nogen juridiske eller finansielle konsekvenser.

      Idet pensionsplanen kun vil købe aktierne, hvis den samtidig kan sælge det samme antal aktier via en
      forward, sender pensionsplanens trader parallelt med ordren til køb af aktier også en ordre til salg af
      samme antal aktier via en forward- kontrakt.

      Disse to ordrer – køb af aktier og salg af en forward – sendes ikke nødvendigvis til den samme broker.
      Kan brokeren identificere en anden broker (i sit netværk), som har en klient, der ønsker at købe ak-
      tierne over en forward, meddeler pensionsplanens broker dette til pensionsplanen, som igen opfordres
      til at indhente tilsagn fra clearing-agenten om at ville indestå for afviklingen.

      Pensionsplanen anmoder herefter sin clearing-agent om tilsagn til at afvikle aktiekøbet og forwardsal-
      get. Giver clearing-agenten tilsagn, meddeles dette til pensionsplanen og brokerne, som så matches
      handlerne. Alt dette sker indenfor få sekunder/minutter over elektroniske kommunikationssystemer.



 Sagsnr. XX-XXXXXXX                                 Side 156/239
Case 1:18-md-02865-LAK                 Document 836-47                 Filed 06/27/22            Page 337 of 462




      Brokerne gennemfører handlerne som såkaldte ejermatchinghandler. Det betyder, at det er de respek-
      tive brokere, der indtræder som part i købsaftalen. Der er ikke nogen direkte kontakt mellem pensions-
      planen og de ultimative sælgere af aktierne. Sælgeren af aktierne er og forbliver derfor ukendt for pen-
      sionsplanen. Der er ingen kontraktuel forbindelse mellem dem.

      Idet en broker samtidig indgår flere ejermatchinghandler med forskellige brokere over aktier udstedt af
      samme selskab, er det ikke muligt efterfølgende at identificere den oprindelige ejer af de aktier, pen-
      sionsplanen købte. Hos brokeren blandes alle aktierne således sammen i en pulje, hvor det efterføl-
      gende ikke længere er muligt at spore en bestemt aktie tilbage til en bestemt oprindelig sælger.

      I det øjeblik hvor brokerne matcher handlerne, bliver pensionsplanen ejer af aktierne. Indenfor tre se-
      kunder efter at ordrerne er blevet matchet, sendes der automatisk en såkaldt ”trade report” til børsen
      i London (LSE), og afviklingen af hand- len sættes samtidig i gang ved de afviklingsinstruktioner der au-
      tomatisk sendes til clearing-agenten. Ud over denne ”trade report”, der er rettet mod offentligheden,
      sendes der ligeledes en såkaldt ”transaction report” til det engelske finanstilsyn, FCA (via LSE’s Una-
      vista MIFIR Reporting Portal – jf. Sanjay Shahs processkrift til High Court i London, afsnit 56.9). Denne
      ”transaction report” anvendes i tilsynsmyndighedernes kontrol og overvågning af aktietransaktionerne.
      Begge rapporter sendes elektronisk og fuldt automatisk fra handelssystemerne (computerne), hvor ak-
      tiehandlerne blev matchet.

      Efter matchingen af købs- og salgsordre begynder fristen for afviklingen af handlen at løbe. Handler,
      der skulle afvikles gennem Solo-gruppens selskaber, blev, som mange andre OTC-handler, afviklet med
      en dags længere frist, end VP Securities (som den nationale CSD) afvikler handler. Clearing-agenter har
      (også i henhold til FCA’s regler) pligt til at sørge for, at risikoen en ”fail” undgås – dvs. at en handel ikke
      kan afvikles – og hertil anvendes en længere afviklingsperiode, især når der er tale om så store aktiepo-
      ster som de i nærværende sag omtalte. Indtil 2015 blev aktiehandlerne således afviklet, fire dage efter
      ordrerne blev matchet (T+4), og fra og med 2015 blev aktiehandlerne afviklet, tre dage efter matchin-
      gen (T+3).

      2.4.2.2.2 Pensionsplanens og aktiesælgers forretningsmæssige begrundelse for aktiekøb/-salg

      Hovedaktørerne i en udbyttearbitragetransaktion er naturligvis køber og sælger af aktierne. Disse har
      modsatrettede interesser: Mens sælgeren ikke ønsker at eje aktierne på retserhvervelsestidspunktet
      for udbyttet (udbyttedatoen), har køberne netop interesse i at være den retmæssig ejer af aktierne på
      denne dato.

      Den ultimative sælgers motivationer for ikke at ville eje aktierne på udbyttedatoen kan som anført
      være mange. Som følge af manglende ret til refusion efter den dobbeltbeskatningsaftale, som sælger
      er underlagt, kan sælger have en interesse i om muligt at sælge aktien til en pris, der indeholder 100
      pct. af værdien af bruttoudbyttet. Han vil derved økonomisk være stillet, som om han var underlagt en
      dobbeltbeskatningsoverenskomst, der gav ret til refusion af hele udbytteskatten. Sælgeren kan også
      have et ønske om at blive beskattet af en aktieavance – frem for at blive beskattet af aktieudbyttet. I
      denne situation vil sælgerens søge at sælge aktien (inklusive udbytte) til en højere pris end aktiernes
      tilbagekøbspris efter udbyttedatoen (dvs. eksklusive udbytte).

      Endvidere kan der naturligvis være tale om spekulanter, der spekulerer i, at markedsprisen for en aktie
      ikke falder svarende til udbyttets værdi. Sådanne spekulanter kan også optræde som sælgere af aktier
      inden udbyttedatoen. Der findes selvsagt også mange andre realøkonomiske incitamenter til salg af ak-
      tier inden udbyttedatoen. Pensionsplanen kan ikke vide, hvad der har været en given ultimativ sælgers
      incitament til at sælge inden udbyttedagen. Det bemærkes dog, at der notorisk kan være mange for-
      skellige incitamenter hertil.


 Sagsnr. XX-XXXXXXX                                   Side 156/239
Case 1:18-md-02865-LAK               Document 836-47               Filed 06/27/22           Page 338 of 462




      Pensionsplanen købte aktierne med henblik på at realisere en gevinst ved at købe aktierne på spotmar-
      kedet og sælge aktierne gennem en forward eller en future.
      Pensionsplanens trustee / trader kan samtidig se både prisen på spotmarkedet og prisen på forward-
      /futuremarkedet og derved øjeblikkeligt regne sig frem til, hvilken gevinst der kan realiseres ved at
      købe aktierne på spotmarkedet og sælge dem gennem en forward eller en future. Forudsætningen for
      at denne gevinst også realiseres i virkeligheden, er blot, (1) at refusionen af udbytteskatten udbetales,
      og (2) at pensionsplanen kan bære omkostningerne i forbindelse med aktieudlånet, der finansierer
      købsprisen af aktierne.

      Pensionsplanens kalkulation af investeringens rentabilitet er baseret på den forudsætning, at pensions-
      planen ikke mister udbytteskatten på ex-datoen, men har krav på at modtage refusion. I modsat fald
      ville pensionsplanen være lige så dårligt stillet som en sælger, der ikke har adgang til udbytterefusion.
      Uden refusion har pensionsplanen betalt for meget for aktierne inden ex-datoen.

      Pensionsplanens erhvervelse af de i sagen omhandlede aktieposter har været finansieret af de kon-
      tante sikkerhedsstillelser fra aktielåntagere. Mens aktielåntagere skal betale et gebyr for aktielånet,
      skal pensionsplanen betale renter for den kontante sikkerhedsstillelse. Gebyr og rentesats er variable
      størrelser, der til stadighed genforhandles mellem parterne afhængig af de aktuelle markedsbetingel-
      ser. Dette medfører for pensionsplanen en usikkerhed med hensyn til finansieringsomkostningerne,
      som kan tvinge pensionsplanen til at sælge aktierne inden udløbsdatoen for forwarden eller foranle-
      dige pensionsplanen til at forlænge aktielånet og hedgen ud over den oprindelige løbetid.

      For det tilfælde at SKAT ikke har villet udbetale den refusion, som pensionsplanen har haft retskrav på,
      har pensionsplanen ikke haft tilstrækkelig egenkapital til umiddelbart at overleve dette tab af udbyt-
      terefusion, der svarede til 27 pct. af ud- byttet. For at imødegå denne risiko har pensionsplanen gene-
      relt været nødt til at sælge aktierne på spotmarkedet og kalde aktielånet tilbage, når finansieringsom-
      kostningerne i forbindelse med transaktionen nåede til et beløb svarende til den hidtidige gevinst uden
      udbytteskatten. Pensionsplanen ville da stadig nå et nulre- sultat, hvis SKAT ikke skulle udbetale refu-
      sionen. Dette er således også årsagen til, at gevinsten, der realiseres ved transaktionerne, svarer til
      samme beløb som udbytteskatten. Refusionen af udbytteskatten er dog kun tilbagebetaling af det be-
      løb, som pensionsplanen mistede, da pensionsplanen havde købt aktien dagen før ex-datoen for en
      pris inklusive bruttoudbytte, men kun modtog et nettoudbytte fra det danske selskab under afviklingen
      af market claim-processen.

      2.4.2.2.3 Pensionsplanens og forwardkøberens forretningsmæssige begrun- delse for salg/køb af
      forward

      Den forretningsmæssige begrundelse for at indgå en forward er i bund og grund at afdække en risi-
      koposition: Har man en aktiepost, kan man afdække risikoen for kurssvingninger ved at sælge en
      forwardkontrakt. Heri aftales at sælge aktierne på et bestemt tidspunkt i fremtiden til en bestemt pris.

      Også køberen af forwardkontrakten sikrer sig mod kurssvingninger ved at købe aktierne under en
      forwardaftale: Han ved, til hvilken pris han kan købe aktierne i fremtiden. Dette kan være et væsentligt
      argument for en short seller eller for en aktionær, der sælger sine aktier inden udbyttedatoen for at
      undgå udbytteskatten.

      Hvilken konkret motivation modparterne til forwardkontrakterne har haft, kan pen- sionsplanen ikke
      udtale sig om, da den ikke havde nogen direkte kontakt til dem. Der var altid en mellemmand imellem
      pensionsplanen selv og den ultimative forwardmodpart.




 Sagsnr. XX-XXXXXXX                                Side 156/239
Case 1:18-md-02865-LAK                 Document 836-47                Filed 06/27/22           Page 339 of 462




      Den ultimative modpart til en forward hedge kan have haft utallige grunde til at indgå en aftale med
      pensionsplanen.

      Således kan den ultimative køber af en forward håbe på, at aktieprisen hurtigt sti- ger igen, efter den
      dato hvor aktien ikke længere bliver handlet med ret til udbytte (ex dividend-datoen). Empiriske under-
      søgelser viser således, at aktieprisen på ex- dividend datoen ikke altid falder med nøjagtig samme
      værdi som bruttoudbyttet, samt at aktiekursen stiger hurtigere end normalt efter ex-dividend datoen.

      Den ultimative modpart til en forward kan også være en udlænding, der inden udbyttedatoen sælger
      sin aktie for ikke at miste udbytteskatten, som han ikke er refusionsberettiget til. Han kan ønske at
      sikre sig retten til at igen købe en tilsvarende post aktier i selskabet fra markedet til en bestemt pris.
      Han kan ved en høj prisansættelse af forwarden give arbitrageuren et incitament til at købe aktierne in-
      den udbyttedatoen og sælge aktier efter udbyttedatoen. Modparten til forwarden kan derved bringe
      prisen for forwarden ud af balance med spotmarkedet.

      2.4.2.3 Aktieudlån og finansiering af aktiekøb

      2.4.2.3.1 Fremgangsmåden ved aktieudlån

      Pensionsplanen finansierer købet af aktierne ved at låne aktierne ud og betale aktiesælger med den
      kontante sikkerhedsstillelse modtaget fra aktielåntager.

      Ex dividend-datoen, der er den første dag, hvor aktierne handles uden krav på udbytte, indtræder mel-
      lem handelsdatoen og udlånsdatoen og afviklingsdatoen. Uanset at aktiernes værdi således er lavere
      på udlånsdatoen end på handelsdatoen, stiller aktielåntager en kontant sikkerhed svarende til købspri-
      sen på handelsdatoen. Dette er helt almindelig markedspraksis, idet aktielångiver i reglen altid forlan-
      ger mere i sikkerhed for aktielånet end den aktuelle markedsværdi af aktierne, jf. afsnit 8.1 i dette ind-
      læg. Dette adskiller netop et aktieudlån fra et lån mod håndpant i aktier. Her er det aktiernes værdi,
      der overstiger lånets værdi.

      Ved aktielån er det dog aktieudlåner, der beskyttes, mod risikoen for at aktielåntager – som i mange til-
      fælde netop er en short seller – ikke kan levere de lånte aktier tilbage. Derfor overstiger den kontante
      sikkerhedsstillelse den aktuelle markedsværdi af aktierne.

      Som anført ovenfor har pensionsplanen allerede forud for købet af de omhandlede aktier indgået en
      GMSLA-rammeaftale med aktielånsmellemmanden, der indeholder de generelle betingelser for aktie-
      udlånet. Pensionsplanen og aktielånsmellemmanden aftaler herefter de konkrete vilkår om hvilke ak-
      tier, antallet af aktier, låne- gebyret, rentesats osv. Disse aftaler indgås via e-mail. Når aktielånsmellem-
      manden og pensionsplanen er enige om lånebetingelserne, meddeles aktielånet til clearing-agenten og
      custodian. Disse kontrollerer, at den fra aktielångiver modtagne besked om aktieudlån svarer til den fra
      aktielånsmellemmanden modtagne besked. Er dette tilfældet, bekræftes aktieudlånet.

      Idet pensionsplanen anvender den kontante sikkerhedsstillelse fra aktielåntager til at betale købsprisen
      for aktierne, skal aktieudlånet afvikles samme dag hos clearing-agenten og custodian som selve aktie-
      købet. Uden betaling af købsprisen leveres aktierne ikke til pensionsplanens depotkonto hos custodian.

      Afviklingen af aktiekøbet sker parallelt med afviklingen af aktieudlånet. Aktierne registreres dermed tre
      henholdsvis fire dage efter købet af aktierne, først på pensionsplanens depotkonto og derefter på ak-
      tielånetagerens depotkonto. Denne registrering på pensionsplanens konto er af afgørende betydning
      for, at pensionsplanens market claim afvikles korrekt, og at pensionsplanen modtager udbyttet, der i
      første omgang var sendt forkert af sted af VP Securities til sælgerens konto.


 Sagsnr. XX-XXXXXXX                                  Side 156/239
Case 1:18-md-02865-LAK                  Document 836-47                 Filed 06/27/22            Page 340 of 462




      Selvom samtlige betingelser aftales pr. E-mail, når selve aktielånet indgås, betyder det ikke, at betingel-
      serne for aktielånet er fastlåst. Da aktielånene ikke havde en fast løbetid (se: ”term: open”) var de åbne
      for konstante genforhandlinger, dvs. at pensionsplanen på ethvert tidspunkt kunne forlange et andet
      gebyr, og at aktie- låntageren på ethvert tidspunkt kunne forlange en anden rente ved at true med
      straks at opsige lånet. Havde pensionsplanen interesse i at lade aktielånet løbe videre, ville denne ac-
      ceptere de ændrede betingelser. Tilsvarende forholdt det sig for aktielåntageren.

      Som eksempel på disse e-mails, ved hvilke aktielånsbetingelserne blev løbende ændres, fremlægges bi-
      lag 79.

      Den af Skattestyrelsen i det sammenfattende indlæg af den 9. august 2019 i førersagerne, afsnit 4.5,
      side 28, anførte formel er derfor ganske rigtig, men den kan ikke anvendes til at nå frem til det nøjag-
      tige beløb, som den samlede Stock Lending Fee udgjorde. Uden at kende den til enhver tid gældende
      nøjagtige rentesats, der fandt anvendelse hver enkelt dag, er det ikke muligt at regne baglæns, sådan
      som Skattestyrelsen forsøger på side 29. Den af Skattestyrelsen påståede ”regnefejl” kan ikke konstate-
      res.

      Da Skattestyrelsen anvender den forkerte rentesats på samtlige beregninger af samtlige aktielån for
      alle pensionsplanerne, kommer styrelsen naturligvis også til samme ”regnefejl” i alle sagerne. Når Sty-
      relsen når den konklusion, at der forelig- ger en fejl i alle sagerne, burde Styrelsen nærmere komme til
      den konklusion, at der må være en fejl i styrelsens fremgangsmåde og tage variable rentesatser i be-
      tragtning for de forskellige dage.

      At Skattestyrelsen ikke kan få styrelsens egne beregninger til at stemme, er ikke et tegn på svindel,
      men et tegn på at styrelsen ikke ved, hvordan aktielånsbranchen fungerer i realiteten.

      2.4.2.3.2 Pensionsplanens og aktielåntagers forretningsmæssige begrundelse for aktieudlån

      Pensionsplanen har til betaling af de købte aktier brug for kontante midler. Disse fremskaffes ved at
      låne aktierne ud og modtage en kontant sikkerhedsstillelse for aktierne, der svarer til købsprisen. Fi-
      nansindustrien taler herved om såkaldte ”cash-neutral-transactions”.

      Aktielåntageren kan have mange bevæggrunde for at ville låne aktierne.

      Det er således ikke korrekt, når Skattestyrelsen påstår, at aktielåntageren alene har haft short selling
      som formål.

      Aktielåntageren kan således have brug for de lånte aktier til hedging. Aktielåntageren kan også være en
      bank, der ønsker af komme af med store likvide pengemidler for at have et andet, mere værdifuldt ak-
      tiv i regnskabet end kontante pengemidler. En aktielåntager kan ligeledes være et investeringsselskab,
      der skal respektere en bestemt allokering af sine aktiver (risikospredning) og derfor har brug for flere
      aktier i sit depot på regnskabsdatoen.

      Den Europæiske Centralbank henviser på sin internetside (https://www.ecb.eu- ropa.eu/explai-
      ners/tell-me-more/html/securities_lending.de.html) også udtrykkeligt til, at der eksisterer mange årsa-
      ger til at låne en aktie: Hvis man kun midlertidigt har brug for en aktie en enkelt dag eller enkelte uger,
      så er det ofte billigere, hurtigere og mindre risikabelt at låne aktierne i stedet for at købe dem. Mange
      forskellige strategier, der bruges på de finansielle markeder, beror på aktielån. De lånte aktier kan bru-
      ges til handel (løbe en risiko for at realisere en gevinst), arbitrage (realisere en risikofri gevinst fra pris-
      forskelle) eller hedgingformål (nedsætte risiko). Hvis aktier af en hvilken som helst grund leveres sent,
      kan aktielån være en mulighed for at fremskaffe de manglende aktier til tiden.


 Sagsnr. XX-XXXXXXX                                    Side 156/239
Case 1:18-md-02865-LAK                 Document 836-47               Filed 06/27/22            Page 341 of 462




      Det bør i dette sammenhæng bemærkes, at verdens største nationalbanker selv agerer som låntager af
      værdipapirer som middel til at realisere deres pengepolitik. Herved kan nationalbanker pumpe yderli-
      gere likviditet ind i markedet med henblik på at øge pengemængden og derigennem øge inflationen.
      Således er det også alment kendt, at den schweiziske og japanske nationalbank er registrerede som
      verdens største ejere af børsnoterede aktier – om disse nu er købt eller lånt.

      Størrelsen af den globale aktieudlånsindustri udgør USD 10 billioner, hvorfor det selvsagt er umuligt at
      redegøre for alle de mulige bevæggrunde, som en aktielåntager kan have.

      Aktielåntageren vil derfor ikke nødvendigvis have den forventning, at aktieprisen vil falde, således som
      Skattestyrelsen påstår i indlægget.

      Aktielåntageren og pensionsplanen har modsatrettede interesser: Mens pensionsplanen har aktier og
      har brug for kontante pengemidler, har aktielåntageren – der råder over kontante pengemidler – brug
      for aktierne. Begge parter i et aktieudlån tager betaling for deres ydelser: Aktielåntager forlanger ren-
      ter på den kontante sikkerhedsstillelse, som han skal stille, og pensionsplanen forlanger et gebyr for at
      låne aktierne ud. Hvem, der herved realiserer et tab, og hvem, der realiserer en gevinst, afhænger af
      de aktuelle markedsbetingelser og de involverede parters forhandlingsevner.

      2.4.2.3.3 Øvrige bemærkninger til finansiering af aktiekøb

      Pensionsplaner, der ikke har tilstrækkelig egenkapital til selv at betale for aktierne, handler, under det
      der er kendt som ”margin trading” eller gearing. Herved kan handles et enormt antal aktier (eller andre
      aktiver) uden at anvende egenkapital. Alt, hvad investoren har brug for, er en prime broker, der forsy-
      ner investoren med den nødvendige kapital.

      Arbitragetransaktioner (ikke blot dem, der foretages omkring udbyttedatoen) kan finansernes uden
      egenkapital, når gevinsten ved at købe en aktie på spotmarkedet og samtidig sælge derivativet på
      forwardmarkedet straks kan determineres. I reglen er prisforskellen mellem spot- og forwardmarked
      minimal. Der skal derfor et enormt handelsvolumen til for at skabe nok gevinst, til at strategien giver
      nok af- kast til at betale samtlige tjenesteydelser i denne forbindelse.

      Prime brokere, der i nærværende sager var custodians, og clearing-agenterne behøver ikke nødvendig-
      vis selv direkte at finansiere investoren i form af en kredit.
      Prime brokeren kan også blot agere som garant for, at betalingen af aktierne vil ske. Skaffer pensions-
      planen sig de nødvendige finansielle midler til at betale for aktierne ved at låne disse ud mod en kon-
      tant sikkerhedsstillelse, begrænser prime brokerens rolle sig til at være garant.

      2.4.2.4 Afvikling af transaktionerne (settlement)

      Selve afviklingen af aktiekøbene blev indtil 2015 gennemført fire dage og fra 2015 tre dage efter de
      omhandlede køb af aktier og salg af forwards. Aktiekøbene afvikledes ved clearing og afregning (settle-
      ment). Det var clearing-agentens opgave at beregne, hvilken sum penge der i alt skulle fra købers cu-
      stodian til brokeren (og derfra videre til den ultimative sælger), og hvor mange aktier der i alt skulle fra
      custodians depotkonto til pensionsplanens depotkonto.

      Disse afregninger kan ske på brutto- eller nettobasis. Det betyder, at hver eneste handel enten kan be-
      tales separat, og hver eneste antal aktier overdrages separat til pensionsplanens custodian (bruttoaf-
      vikling). Alternativt kan samtlige købs- og salgssummer, der skal udredes mellem brokerens (= sælge-
      rens) custodian og køberens custodian, modregnes hinanden, og samtlige tilgange og salg af aktiepo-



 Sagsnr. XX-XXXXXXX                                  Side 156/239
Case 1:18-md-02865-LAK                Document 836-47               Filed 06/27/22           Page 342 of 462




      ster nettes (modregnes), således at der kun overføres en enkelt nettosum penge, og der kun overdra-
      ges en samlet nettopost af aktier mellem købers og sælgers custodian (nettoafvikling efter netting).

      Anvendes der netting under clearing- og settlementproceduren, kan en aktie aldrig spores fra den ulti-
      mative sælger, til den pensionsplan der købte aktien. Efter netting af alle køb og salg vil pensionspla-
      nen med høj sandsynlighed netop ikke modtage en aktie, der på et tidspunkt lå i brokerens eller den ul-
      timative sælgers depot, men en aktie, der tidligere lå i depotet for en anden kunde hos samme custo-
      dian. Dette er netop formålet med netting: Der overdrages færre aktier mellem diverse custodians.

      Skulle pensionsplanen på dagen for afviklingen af handlen endnu ikke have modtaget den kontante sik-
      kerhedsstillelse for aktieudlånet, hæfter clearing-agenten over for brokeren (sælgeren) for betalingen
      af købsprisen. Efter købs- og salgsordre er matchet, kan afviklingen af handlen ikke længere stoppes.
      Clearing-agenten har pligt til selv at betale aktierne, hvis køber ikke har tilstrækkelige midler.

      Det bemærkes, at clearing-agenten i ingen af de af pensionsplanen gennemførte handler har måttet
      udrede købsprisen, indtil et aktielån var på plads.

      Pensionsplanen fik samme dag -   afviklet
                                         - - -aktiekøbet, forwarden og aktieudlånet. Pensionsplanen regi-
      streredes herved fire henholdsvis tre dage efter købet som ejer af aktierne. Pensionsplanen var således
      i en periode af fire henholdsvis tre dage ejer af aktierne, uden at dette var registreret hos custodian.
      Registreringen hos custodian skete først, når pensionsplanen betalte for aktierne og fik dem leveret til
      sin depotkonto. Dette betød, at den oprindelige ejer i de første fire henholdsvis tre dage efter købsaf-
      talens indgåelse stadig var registreret som ejer af aktierne, selvom vedkommende ikke længere var den
      retmæssige ejer af aktierne.

      Efter at pensionsplanen havde været retmæssig ejer af aktierne i flere dage, lånte pensionsplanen ak-
      tierne ud, således at købesummen kunne erlægges. Aktielåntager blev fra dette tidspunkt registreret
      som den nye civilretlige ejer.

      Registreringen af ejerskabet af aktierne er under dansk lovgivning dog ikke nogen forudsætning for at
      erhverve ejerskab. Registreringen er kun deklaratorisk og tjener sikringen af rettighederne som ejer
      mod tredjemand. På dette punkt adskiller dansk lovgivning sig fundamentalt fra tysk lovgivning. Det er
      derfor så fatalt for Skattestyrelsen at basere hele styrelsens argumentation i sagen på tysk retspraksis.

      Skattestyrelsen tillægger registreringen af ejerskabet hos custodian en betydning for ejerskabet, som
      denne ikke har. Pensionsplanens ejerskab starter ikke først ved registreringen af købet hos custodian,
      hvorfor der heller ikke er tale om et ”gennemgangs-ejerskab” af aktierne for få minutter, når først pen-
      sionsplanen registreres som ejer, og aktielåntager dernæst umiddelbart efter registreres som civilretlig
      ejer under aktieudlånet. Pensionsplanen var ejer af aktierne allerede fra matchingen af købsordren.

      2.4.2.5 Transaktionernes løbetid

      Som anført ovenfor blev de købte aktier aldrig leveret under forward hedgen, idet pensionsplanen altid
      differenceafregnede mellemværendet med forwardmodparterne.

      Pensionsplanen holdt aldrig aktierne i netop samme periode som forward kontraktens løbetid. Gen-
      nemsnitligt gik der 90 dage mellem pensionsplanens køb og salg af aktierne. Denne løbetid blev opnået
      ved enten (1) at forlænge forwardkontrakterne (såkaldt ”roll-over”), (2) ved at købe en anden forward
      fra markedet med samme afviklingsdato som den oprindeligt solgte forwardkontrakt eller (3) ved en
      tidligere differenceafregning af den solgte forwardkontrakt. At forwardens løbetid generelt ikke blev



 Sagsnr. XX-XXXXXXX                                 Side 156/239
 Case 1:18-md-02865-LAK                   Document 836-47                Filed 06/27/22           Page 343 of 462




          overholdt, er dokumentation for, at det drejer sig om ægte transaktioner, idet de er underlagt marke-
          dernes bevægelser.

          Skattestyrelsens påstand om, at pensionsplanen skulle have handlet aktierne så hurtig efter hinanden,
          at det ikke var muligt at identificere den retmæssige ejer, er således tydeligvis ikke korrekt. Når der går
          90 dage mellem køb og salg af aktierne, giver det ingen mening at tale om ”looping” af aktierne.

          Den af Skattestyrelsen fremførte påstand om ”looping” lader til at være en påstand, der helt ukritisk er
          overtaget fra de tyske ”cum ex-sager”. Dette, til trods for at Skattestyrelsen og Skatteministeriet begge
          er af den overbevisning, at (1) cum ex-trading ikke er mulig i Danmark, og at (2) ingen af pensionspla-
          nerne angiveligt slet ikke skulle have købt nogen danske aktier. Ønsker Skattestyrelsen virkelig at støtte
          sig til den tyske argumentation, må Skattestyrelsen først indrømme, at (1) dette drejer sig om en cum
          ex-sag, og (2) alle pensionsplanerne virkelig købte og solgte danske aktier. Tyskerne har, i alle de
          mange år de har kæmpet for at ændre lovgivningen for at forhindre cum ex-trading, aldrig påstået, at
          der slet ingen handel fandt sted. Tyskerne indrømmer desuden, at der eksisterede en mangelfuld lov-
          givning.

          Pensionsplanen var i stand til at lade 90 dage gå, inden de solgte aktierne igen, fordi finansieringen var
          sikret ved et aktieudlån. Så længe pensionsplanen realiserede et positivt resultat ved aktieudlånet (dvs.
          så længe aktieudlånsgebyret oversteg renterne på den kontante sikkerhedsstillelse), eller pensionspla-
          nen i det mindste ikke realiserede et tab, der oversteg arbitragegevinsten, kunne pensionsplanen holde
          på aktierne og lade aktielånet løbe videre.

          I de tilfælde hvor gebyret for aktieudlånet oversteg renterne, som pensionsplanen skulle betale for den
          kontante sikkerhedsstillelse, og pensionsplanen således realiserede en gevinst på at opretholde aktie-
          udlånet, var det enten modtagelsen af re- fusionen eller udviklingen af priserne på aktiemarkederne,
          der bevirkede, at pensionsplanen lukkede samtlige positioner. Da forwardkontrakten var solgt, til en
          pris der var ude af balance med det aktuelle aktiemarked, kunne den normale prisudvikling af såvel ak-
          tiemarkedet som også forwardmarkedet bevirke, at pensionsplanen ville realisere de hidtidige gevin-
          ster og ikke løbe yderligere risici.

          Den kalkulerede gevinst, som pensionsplanerne skulle realisere, lå på samme niveau som udbytteskat-
          ten, og når den var nået, var den målsatte gevinst realiseret, og positionerne lukket.

2.4.2.6   Positionerne lukkes

          Som alle pensionsordninger har en solo 401K-pensionsplan som mål at generere et overskud og under
          alle omstændigheder undgå at realisere tab.

          Udbyttearbitrage er her en oplagt investeringsform, idet traderen ved en nøje overvågning af investe-
          ringen kan lukke positionerne i tide til at undgå at realisere et tab.

          Pensionsplanen ved, i det øjeblik hvor aktierne købes, og forward kontrakten sælges, hvilken gevinst
          der kan realiseres (købs- og salgspriser er begge kendte). De eneste usikkerhedsfaktorer, som transak-
          tionen er forbundet med, er, (1) om og hvornår refusionen udbetales, og (2) omkostningerne forbun-
          det med aktieudlånet og dermed med finansieringen af aktiekøbet.

          Pensionsplanen ved, at salgsprisen på forwarden ligger under købsprisen for aktierne. Det er også gan-
          ske normalt, da udbyttet forfalder mellem aktiernes købsdato og forwardkontraktens udløbsdato. Hvis
          salgsprisen på forwarden plus bruttoudbyttet ligger over aktiernes købspris (på spotmarkedet), kan



   Sagsnr. XX-XXXXXXX                                   Side 156/239
 Case 1:18-md-02865-LAK                  Document 836-47               Filed 06/27/22           Page 344 of 462




          pensionsplanen regne med at realisere en gevinst. Fra denne gevinst er pensionsplanen kun nødt til at
          trække omkostningerne for aktieudlånet fra.

          Betingelserne for aktieudlånet (= renterne på den kontante sikkerhedsstillelse og gebyret for aktielå-
          net) er konstant genstand for genforhandlinger, idet både aktie- långiver og aktielåntager på ethvert
          tidspunkt kan opsige aktielånet. Det betyder i praksis, at de aktuelle markedsbetingelser for aktieudlån
          konstant har direkte indflydelse på omkostningerne for transaktionen. Stiger omkostningerne for aktie-
          udlånet, således at pensionsplanen ikke længere kan realisere en gevinst, hvis refusionen ikke modta-
          ges, er pensionsplanen nødt til at lukke samtlige positioner: sige aktieudlånet op, sælge aktierne og
          købe en forward/forwarden.

          Aktielånet kan siges op med dags varsel.

          Forwardkontrakten kan enten købes tilbage, eller pensionsplanen kan indgå en tilsvarende forward-
          kontrakt over køb af samme antal aktier, som den tidligere har solgt, med samme afviklingsdato som
          det oprindelige salg.

          Salget af aktierne sker helt efter samme procedure som købet af aktierne beskrevet ovenfor. Nu er
          pensionsplanen blot sælger ikke køber.

2.4.2.7   Gevinsten realiseres

          Pensionsplanen starter hele transaktionen med et likviditetsmæssigt tab: Pensionsplanen har købt ak-
          tierne for deres fulde værdi – inklusive bruttoudbyttet – og den næste dag (på ex-datoen) handles ak-
          tierne til en lavere værdi. Teoretisk set skulle denne lavere værdi svare til bruttoudbyttet. Markederne
          reagerer dog anderledes end teorien. Sommetider falder aktieprisen mere, sommetider mindre end
          bruttoudbyttet.

          Faktum er dog, at markedsprisen af de af pensionsplanen købte aktier allerede dagen efter købet fal-
          der. Dette ”tab” udlignes af to betalinger: nettoudbyttet og refusionen. Det betyder, at tabet på den
          meget likvide aktieværdi erstattes af to mindre likvide aktivposter: kravet på nettoudbyttet og refu-
          sionskravet. Mens nettoudbyttet i reglen modtages få dage efter aktiekøbet, varer det flere måneder,
          inden refusionen bliver modtaget.

          Bogholderimæssigt realiserede pensionsplanen heller ikke noget tab dagen efter købet, på trods af at
          markedspriserne for aktierne faldt, for pensionsplanen solgte samtidig en forward. Summen af værdien
          for forwarden, nettoudbyttet og udbytterefusionen var altid mindst den samme som købsprisen af ak-
          tierne. Formålet med en forward-hedge er jo netop at udligne det tab der sker på værdien af aktierne
          ved en tilsvarende stigning i værdien af hedgen.

          Gevinsten, som pensionsplanen realiserer, stammer således ikke fra refusionen. Refusionen inddækker
          kun tabet på aktieværdien. Gevinsten stammer derimod enten fra et overskud realiseret under aktie-
          udlånet (hvis gebyret for aktieudlånet oversteg renterne, der skule betales på den kontante sikkerheds-
          stillelse), fra salget af aktierne eller fra differenceafregningen af forwardkontrakten.

          Grunden til, at det regnskabsmæssigt giver indtryk af, at pensionsplanens gevinst var refusionen (jf.
          Skattestyrelsens sammenfattende indlæg i førersagerne af den
          9. august 2019, afsnit 4.2, side 24), er den, at pensionsplanen principielt lukkede sine positioner, når
          den gevinst, som pensionsplanen kunne realisere under aktieudlånet, aktiesalget og/eller forwardkon-
          trakten udgjorde samme værdi som refusionen. Ville pensionsplanen lade investeringen løbe videre,



   Sagsnr. XX-XXXXXXX                                  Side 156/239
Case 1:18-md-02865-LAK                Document 836-47                Filed 06/27/22            Page 345 of 462




      kunne pensionsplanen risikere at realisere et tab: Nemlig i tilfælde af at refusionen ikke ville blive ud-
      betalt.

      2.4.2.8 Sammenfattende bemærkninger om forretningsmodellen og trans- aktionerne

      I nærværende sag købte pensionsplanen de danske aktier inden udbyttets ex- dato, dvs. inden udbyt-
      tet blev trukket fra aktien. Den blev ejer af aktierne og udbyttet på baggrund af en endelig og bindende
      aftale om køb af aktierne.

      Denne aftale blev indgået, ved at pensionsplanens købsordre elektronisk blev matchet med en salgsor-
      dre ved en mægler. Pensionsplanen betalte 100 pct. af den aktuelle markedspris, inden udbyttet blev
      trukket fra aktiens værdi. Købsprisen var således inklusive 100 pct. af bruttoudbyttet.

      Da pensionsplanen havde adgang til en dobbeltbeskatningsoverenskomst, der giver den ret til refusion
      af udbytteskatten, havde aktierne også denne værdi for pensionsplanen, selvom de umiddelbart kun
      modtog nettoudbyttet på sin konto hos sin custodian.

      Aktierne blev betalt tre henholdsvis fire dage efter købet ved at låne aktierne ud efter udbyttedatoen
      og derved modtage en kontant sikkerhedsstillelse svarende til købsprisen for aktierne. De enkelte ak-
      tielån blev trukket under GMSLA’en, der var indgået forud for aktiehandlen som en rammeaftale. De-
      taljerne for hvert enkelt aktielån blev fastlagt ved e-mailkorrespondance. E-mailkorrespondancen frem-
      lægges som bilag 80.

      Den økonomiske risiko forbundet med transaktionen blev styret ved hjælp af en forward hedge (i 2012
      anvendtes futures til samme formål). Samme dag som aktierne blev købt, blev der indgået en forward
      hedge over salget af aktierne på et senere tidspunkt til en fastlagt pris. Aktierne blev dog i ingen af sa-
      gerne leveret under forward hedgen. Forward hedgen blev altid differenceafregnet. Derved var risi-
      koen for at miste ejerskabet til aktierne ved indgåelsen af hedgen udelukket.

      Til illustration af forløbet af transaktionerne i den af pensionsplanen gennemførte udbyttearbitrage
      henvises til tidslinjen nedenfor. Tidslinjen illustrerer endvidere, at pensionsplanen umuligt kan have
      solgt de ”samme” aktier under en forwardkontrakt, som de lige havde købt samme dag, selv hvis der
      ses bort fra det faktum, at forwarden generelt blev afviklet ved differenceafregning, og at der aldrig
      blev leveret aktier under forwardkontrakten.


        Dato           01/ 06             05/ 06           26/ 07            30/ 07             30/ 08




                                                                                           Afvikling af foniva rd
                      Forward                                                               s alg af aktier ved
                                                                                               levering eller
                                                                                           differenceafregning




                                         lllf1w.          ~Ii~

                                                                                           Afvikling af foniva rd
                                                          Forward                           k¢b af a t ier ve d
                                                                                               leverin g e ller
                                                                                           differenceafregning




 Sagsnr. XX-XXXXXXX                                  Side 156/239
Case 1:18-md-02865-LAK                Document 836-47                Filed 06/27/22           Page 346 of 462




      Det var forskellen mellem prisen for aktien på spotmarkedet og prisen for aktien på forwardmarkedet,
      der fik pensionsplanen til at købe aktierne umiddelbart før udbetalingen af udbyttet. Pensionsplanens
      trader kunne se, at salgsprisen på forward- markedet ikke lå lige så langt under prisen på spotmarke-
      det, som bruttoudbyttet matematisk ville medføre. Dette kan som anført bland andet skyldes, at de
      sæl- gere, der ønsker at købe aktierne tilbage efter udbyttedatoen, tilbyder mere end normalt for ak-
      tierne, da udbyttet af deres aktier beskattes med 27 %, hvorfor disse sælgere kan tilbyde en højere pris
      for forwarden end andre købere. Grunden hertil er en øget efterspørgsel fra markedet på at købe ak-
      tier efter udbyttedatoen (fx fra dem der har solgt aktierne inden udbyttedatoen).

      Ved at købe aktien, modtage nettoudbyttet samt refusion af indeholdt udbytteskat og sælge aktien
      igen til en lavere pris (aktieprisen falder efter udbetaling af ud- bytte) kunne pensionsplanen realisere
      en gevinst. Det var denne gevinst, der var formålet med hele transaktionen – og det, som skabte det
      økonomiske overskud. Hensigten med transaktionerne var således ikke blot at opnå refusion af udbyt-
      teskat fra de danske skattemyndigheder, sådan som det påstås af Skattestyrelsen. Tværtimod bevir-
      kede den efterfølgende refusion af indeholdt udbytteskat blot, at dispositionen var skattemæssigt
      neutral for pensionsplanen.

      Udbyttearbitrage er således intet andet end en normal arbitrageforretning. Det eneste specielle ved
      udbyttearbitrage er, at den gennemføres omkring datoen for udlodningen af udbyttet. Det er netop
      det faktum, at selskabet har til hensigt at ud- lodde et udbytte, der bringer markederne (spot- og
      forwardmarkedet) ud af balance.

      Udenlandske investorer, der ikke er berettigede til udbytterefusion, søger at sælge deres aktier, inden
      udbyttet udloddes, for at købe dem tilbage fra markederne efter udlodningen. (Danske) aktionærer,
      der hellere vil realisere et resultat, der er skattepligtigt i henhold til aktieavancebeskatningsreglerne,
      end at modtage et aktieudbytte, søger ligeledes at sælge deres aktier til markedet inden udlodningen
      af udbyttet. Disse aktionærer vil eventuelt også købe aktier tilbage fra markedet efter udbyttedatoen.
      Og endelig er der rene spekulanter, der mener, at aktieprisen ikke falder, med netop det beløb der ud-
      betales i udbytte, som bringer aktier på marke- det lige inden udbyttedatoen. Alle disse grupper af in-
      vestorer forårsager bevægelser på markedet lige omkring udbyttedatoen. Disse bevægelser er ikke
      identiske på spot- og forwardmarkedet. Prisen på spotmarkedet for en og samme aktie kan udvikle sig
      anderledes end prisen på forwardmarkedet. Derved opstår muligheden for en arbitrageforretning.

      Den eneste grund til, at udyttearbitrage kaldes udbyttearbitrage, er, at denne arbitrageforretning fore-
      tages, netop når udlodningen af udbyttet bringer specielt store bevægelser ind i markedet.

      Lignende arbitrageforretninger foretages hele året rundt, idet spot- og futuremarkedet ikke kun afviger
      fra hinanden omkring udbyttedatoen.

      Skattestyrelsen interesserer sig dog kun for udbyttearbitrage, fordi denne foretages omkring udlod-
      ningsdatoen for udbyttet og derved udløser en udbytteindkomst for arbitrageuren med deraf følgende
      retskrav på refusion af indeholdt udbytteskat i henhold til de gældende regler herom.

      Efter pensionsplanen allerede i sit 2. indlæg udførligt havde beskrevet udbyttearbitragen for Skattesty-
      relsen, var det Skattestyrelsen selv, der i styrelsens 2. indlæg af den 18. januar 2019 for første gang be-
      tegnede udbyttearbitrage som en ”pengemaskine”. Dette begreb er ikke pensionsplanernes, således
      som Skattestyrelsen igen påstår det i styrelsens sammenfattende indlæg i førersagerne af den 8. au-
      gust 2019, afsnit 8.1.

      Utroligt nok bliver Skattestyrelsen gennem samtlige indlæg ved med at benægte eksistensen af udbyt-
      tearbitrage (senest i det sammenfattende indlæg i førersagerne af den 9. august 2019, afsnit 4.3, side


 Sagsnr. XX-XXXXXXX                                 Side 156/239
Case 1:18-md-02865-LAK                Document 836-47                Filed 06/27/22           Page 347 of 462




      26). Dette, til trods for den megen omtale denne investeringsstrategi har fået under betegnelsen ”cum
      ex” ikke kun i dansk, men også i international presse, og den grundige undersøgelse foretaget af ESMA
      på foranledning af Europamentet, jf. Europaparlamentets forslag til beslutning om en fælles løsning fra
      november 2018, som her fremlægges som bilag 81. Da Skattestyrelsen den 9. august 2019 fremsendte
      sit sammenfattende indlæg i førersagerne, forelå ESMAs rapport om udbyttearbitrage allerede. Det
      hjælper derfor ikke Skattestyrelsens sag at benægte realiteterne.

      Det vidner også kun om naivitet at tro, at det udelukkende er pensionsplanerne, der realiserer en ge-
      vinst ved udbyttearbitragen. Det er dog kun synligt for pensionsplanerne, hvilken gevinst de selv reali-
      serede ved forretningen. Det er jo deres forretning. Pensionsplanerne kan umuligt redegøre for uaf-
      hængige tredjeparters forretningsmodeller og profit.

      Pensionsplanerne skal naturligvis ikke dele deres gevinst med modparterne til aktielånet og forwarden.
      Det ville jo have betydet et illegalt samarbejde mellem disse uafhængige markedsdeltagere. Aktielånta-
      ger og forwardmodparten har forretningsmæssige interesser, der er modsat dem, som pensionspla-
      nerne har. De samarbejder naturligvis ikke og deler ingen gevinst.

      Efter så mange siders beskrivelser af udbyttearbitrage gennem de tidligere indlæg er det også ufatte-
      ligt, at Skattestyrelsen stadig ikke kan eller vil forstå pensionsplanernes rolle. Skattestyrelsen opremser
      i styrelsens indlæg af den 9. august 2019, afsnit 4.3, side 27, de forskellige aktører uden at forstå pen-
      sionsplanens rolle.

      Således anføres partnerne, som følger:


        Part                              Ydelse
        S:;elger                          Leverer aktierne
        Pensionsplanen                    ?
        K0ber                             Aftager aktierne.
        Aktielant ager                    Levernr firumsiering.
        Forward-kaher/-sailger            Afdaikker kursrisici.
                                          Indest.ar fm solvens og gennemforsel aftransaktioner.


      Hertil bemærker Skattestyrelsen:

               “Som det fremgår, byder hver part – bortset fra pensionsplanen – efter det oply-
               ste ind med noget, der er nødvendigt, for at transaktionerne kan gennemføres
               med det ønskede resultat. Det siger derfor sig selv, at alle parter skal have en del
               af for- tjenesten, før det giver mening for dem at indgå i arbitragefor- retningen.
               Ellers er der intet forretningsmæssigt rationale for dem for at deltage i dette set-
               up, der naturligvis medfører en række risici, f.eks. medkontrahenters mislighol-
               delse og med- kontrahenters insolvens.“

      Hvad Skattestyrelsen nægter at acceptere, er, at pensionsplanen er køberen af aktierne. Der er ingen
      grund til spørgsmålstegnet ud for pensionsplanen. Pensionsplanen er køberen af aktierne, da pensions-
      planen netop råder over en gunstig skattestatus, som den anvender til at realisere sin gevinst.




 Sagsnr. XX-XXXXXXX                                 Side 156/239
Case 1:18-md-02865-LAK                 Document 836-47                 Filed 06/27/22            Page 348 of 462




      De andre parters forretning er ikke udbyttearbitrage. Der er derfor heller ingen grund til, at de skulle
      have del i pensionsplanens udbyttearbitragegevinst. Det giver absolut ingen mening, at køberen og
      sælgeren at aktier eller køberen og sæl- gerne af en forwardkontrakt skulle dele gevinsten, der blev re-
      aliseret ved transaktionerne. Det gør købere og sælgere aldrig.

      2.4.2.9 Eksempler på transaktioner ved udbyttearbitrage

      Til illustration af økonomien i de af pensionsplanens gennemførte udbyttearbitrageforretninger gen-
      nemgås i det følgende en transaktion gennemført af pensionsplanen. Det drejer sig om købet af en
      post aktier i TDC A/S i 2015).

      En gennemgang af alle pensionsplanens transaktioner ville vise, at pensionsplanen sommetider realise-
      rede en gevinst på køb og salg af aktierne ligesom i enhver anden investering i spekulationsøjemed.
      Sommetider blev gevinsten derimod realiseret på forward hedgen. Her virkede hedgen netop efter
      hensigten: modvirke tabene på selve aktietransaktionen. At gevinsten opstod på så forskellig vis, er
      netop dokumentation for realiteten af transaktionerne, og for at de på ingen måde var centralt organi-
      seret eller styret.

      Appendix 1 viser ligeledes en oversigt over samtlige aktietransaktioner, som pensionsplanen gennem-
      førte. Det fremgår heraf, hvordan det varierer, hvor gevinsten realiseres: på aktiehandlen eller forward
      hedgen. Dette er typisk for udbyttearbitragetransaktioner.

      En udbyttearbitragetransaktion kan opdeles i tre transaktioner: en aktiehandel, en forwardkontrakt og
      et aktieudlån.

      Køb/salg af aktier og forwardkontrakten:

      Pensionsplanen afgav den 5. marts 2015 en købsordre på 2.358.808 TDC A/S aktier til en pris på kr.
      54,00 pr. aktie, i alt kr. 127.375.632,00. Betaling, levering af aktier og registrering var fastsat til at ske
      den 10. marts 2015. Idet købet indgås, samme dato som udlodningen af udbyttet besluttes, markeres
      handlen i clearing- systemet som en såkaldt ”cum ex trade”. Dette markerer over for de involverede
      custodians, at der efter afviklingen af aktiehandlen skal realiseres en market claim. Dette sikrer, at der
      ikke er to personer, der begge modtager udbyttet, modtager en DCA og derved kan anmode om refu-
      sion.

      Pensionsplanen indgik – ligeledes den 5. marts 2015 – en forwardkontrakt (en finansiel kontrakt) ved-
      rørende salg af 2.358.808 TDC A/S aktier til en pris på kr. 53,00 pr. aktie til afvikling den 19. juni 2015.

      Pensionsplanen indgik den 2. juni 2015 en ny forwardkontrakt med samme afviklingsdag, nemlig den
      19. juni 2015 vedrørende køb af 2.358.808 TDC A/S aktier til en pris på kr. 49,68 pr. aktie. Den lukkede
      derfor den åbne position og havde en samlet gevinst på forwarden på kr. 3,56 pr. aktie.

      Den 2. juni 2015 solgte pensionsplanen aktierne med valutadato den 4. juni 2015 til en pris på kr. 49,69
      pr. aktie, i alt kr. 117.209.169,52. Pensionsplanen havde således et nettotab på kr. -4,31 pr. aktie, i alt
      kr. -10.166.462,48.

      Aktiehandlerne og forwardkontrakterne gav tilsammen et samlet tab på kr. 0,75 pr. aktie, i alt et tab på
      kr. 1.774.059,50.




 Sagsnr. XX-XXXXXXX                                   Side 156/239
Case 1:18-md-02865-LAK                 Document 836-47               Filed 06/27/22            Page 349 of 462




      Aktieudlånet

      Den 9. marts 2015 afgav pensionsplanen en ordre til afvikling den 10. marts 2015 om at udlåne
      2.358.808 TDC A/S aktier mod kontant sikkerhedsstillelse af kr. 54,00 pr. aktie, i alt kr. 127.375.632,00.
      Pensionsplanen modtog således kr. 127.375.632,00 som sikkerhed for at få aktierne tilbage.

      Aktieudlånet blev den 2. juni 2015 sagt op med valutadato den 4. juni 2015. Dette havde den konse-
      kvens, at aktierne skulle leveres tilbage. Aktierne havde da en markedsværdi på kr. 49,69 pr. aktie, i alt
      kr. 117.209.169,52.

      Dette beløb samt det samlede beløb af den løbende regulering af værdiansættelsen, MTM, som ud-
      gjorde kr. -10.166.462,48 skulle tilbagebetales til aktielåntager, i alt kr. 127.375.632,00.

      Dermed var aktielåntageren sikret at modtage det fulde beløb, som han havde stillet i kontant sikker-
      hed for aktielånet.

      Herudover skulle pensionsplanen betale rente på aktieudlånet på kr. -213.000,36 samt modtage gebyr
      for aktieudlånet på kr. 265.130,02, i alt betale netto kr. 52.129,66.

      Udbytte og refusionsbetalingen

      Interimudbyttet var blevet vedtaget den 5. marts 2015.

      Aktierne blev handlet uden udbytte fra den 6. marts 2015 (ex-dato).

      Pay day, dvs. dagen hvor udbyttet udbetales, var den 10. marts 2015.

      Pensionsplanen modtog nettoudbyttet i form af en market claim, idet sælger af aktierne stadig var re-
      gistreret som ejer af aktierne på record day. Pensionsplanene var på record day (den 9. marts 2015)
      endnu ikke registreret som ejer af aktien, da afviklingen af købet først skete den 10. marts 2015.
      Record day er i Danmark dagen før pay day. VP Securities udbetalte derfor umiddelbart udbyttet til den
      tidligere ejer, der stadig var registreret som ejer af aktien hos VP Securities, den 9. marts 2015. I hen-
      hold til den såkaldte ”market claim proces” er sælgerens custodian forpligtet til at debitere udbyttet fra
      sælger og kreditere udbyttet hos køber (el- ler sende udbyttet videre til købers custodian, så han kan
      kreditere købers konto). Det er således køberen af aktierne, der modtager udbyttet og er refusionsbe-
      rettiget.

      Bruttoudbyttet betalt af TDC A/S var kr. 1,00, i alt kr. 2.358.808,00 for pensionsplanens aktier.

      Heraf udgjorde nettoudbyttet kr. 1.721.929,84 og udbytteskatten kr. 636.878,16.

      Betalingen af disse to beløb til pensionsplanen udlignede blot tabet, som pensionsplanen havde på ex-
      datoen, da aktierne på denne dato mistede det tilsvarende beløb i værdi. Refusionen var således ikke
      drivkraften til investeringerne i de danske aktier. Grunden til at investere i de danske aktier var prisfor-
      skellen på spot- og forwardmarkedet, der var udløst af udlodningen af et udbytte.




 Sagsnr. XX-XXXXXXX                                  Side 156/239
Case 1:18-md-02865-LAK                    Document 836-47                Filed 06/27/22         Page 350 of 462




         3 PENSIONSPLANEN BLEV DEN CIVILRETLIGT OG SKATTEMÆSSIGT RETMÆSSIGE EJER AF AKTIERNE

         3.1 Pensionsplanen blev den civilretlige ejer af aktierne

         Som udgangspunkt gælder principielt, at skatteretten styres af civilretten. Dette gælder tillige i forhold
         til spørgsmålet om opnåelse af ejendomsret til aktier.

         Det er et grundlæggende obligationsretligt princip i dansk ret, at ejerskab til et givent aktiv opnås, når
         der er indgået en endelig og bindende aftale mellem parterne, som er juridisk gyldig. Dette princip gæl-
         der også for erhvervelse af aktier.

         Ejerskabet erhverves, uanset om køberen måtte misligholde forpligtelsen til at betale købesummen. Af
         samme grund findes der regler om, at sælger efterfølgende kan hæve salget, hvis der ikke sker betaling
         af den aftalte købesum, medmindre der alene mangler at blive betalt et uvæsentligt beløb. Disse regler
         om efterfølgende ophævelse af et salg, hvis ikke køber betaler købesummen, illustrerer med al tydelig-
         hed, at betaling af købesummen ikke er en forudsætning for ejendomsrettens overgang. I givet fald
         ville det ikke være nødvendigt med regler om efterfølgende ophævelse af handlen, i de tilfælde hvor
         køber ikke betaler den aftalte købesum.

         Da betalingen af købesummen ikke er en betingelse for at erhverve ejerskab, leveres aktier (i afviklings-
         processen kaldet settlement), først når betalingen sker (i henhold til princippet ”Payment versus Deli-
         very” – DvP).

         Konsekvensen heraf er, at:

        Settlement af en aktiehandel, som sker hos clearing- og settlement- agenten, er ikke en forudsætning
         for at erhverve ejerskab af en aktie.
        Dokumentation af en pengestrøm fra køber til sælger er ikke dokumentation for, at en køber har er-
         hvervet ejerskab til en dansk aktie.
        Dokumentation for overdragelse af en aktie fra sælgers til købers depot er ikke dokumentation for, at
         en køber har erhvervet ejerskab til en dansk aktie.
        Køberen af en aktie er ejer, allerede inden aktien registreres i hans depot.
        Sælges en aktie, så kort inden udbyttedatoen at aktien endnu ikke er registreret i køberens depot, bli-
         ver udbyttet udbetalt til den forkerte via VP Securities og de underliggende subcustodians. Det er med
         baggrund heri, at købelovens § 19, stk. 1, erklærer køberen af en aktie berettiget til modtagelsen af ud-
         byttet (og dermed til refusion).

         I overensstemmelse hermed fastholder bemærkningerne til aktieavancebeskatningslovens § 23 (L78 af
         den 16. november 2005, jf. bilag 12) således også:

                  ”Det afgørende for fastlæggelse af afståelsestidspunktet er, hvornår der forelig-
                  ger en endelig og bindende aftale om afståelsen. For aktier, der er handlet på
                  børsen, vil det være børsnotaens dato (handelsdatoen) der lægges til grund.

                  Derudover kan fastlæggelsen af erhvervelsestidspunktet have en betydning, f.eks
                  i forbindelse med ny lovgivning. Også her er det afgørende, hvornår der foreligger
                  en endelig og bindende aftale om erhvervelsen. For aktier, der er handlet på bør-
                  sen, vil det være børsnotaens dato (handelsdatoen), der lægges til grund”.

         Tilsvarende er anført i Den juridiske vejledning, afsnit C.B.2.1.6.1.



    Sagsnr. XX-XXXXXXX                                  Side 156/239
Case 1:18-md-02865-LAK                Document 836-47                Filed 06/27/22           Page 351 of 462




      Handelsdatoen for en børsnoteret aktie er således det tidspunkt, hvor købs- og salgsordre “matches”.
      Denne matching af købs- og salgsordre – der sker ved et automatiseret ”hand shake” på moderne au-
      tomatiserede handelsfaciliteter – betegnes som ”gennemførelsen af handlen”.

      Også Skatterådet lader ingen tvivl om, at det civilretlige ejerskab erhverves på handelsdatoen, som
      netop ikke er afviklingsdatoen, idet det i afgørelsen af den 20. marts 2007 (SKM2008.831.SR) fasthol-
      des, at handelsdatoen ligger efter afgivelsen af en ordre på køb af aktier, men før afviklingen af
      transaktionen:

               “En bestilling kan ikke sidestilles med et køb […]

               […] det er handelsdatoen, der skal lægges til grund ved fastsættelsen tidspunktet,
               for køb eller salg af aktier. Valørdatoen er således ikke afgørende. […] Det gælder,
               uanset at valørdatoen først er den 4.1.2006 og uanset at aktierne derfor ikke var
               med i spørgerens depot pr 31.12.2005)”

      Det er dermed på den ene side klart, at en købsordre ikke er nok til at blive ejer af en aktie. På den an-
      den side er det på samme måde klart, at købet endnu ikke behøver at være afviklet ved bogføring på
      køberens depotkonto. Betaling af aktierne er derfor heller ikke nødvendig for at blive ejer af aktierne,
      idet købsprisen for aktierne først skal betales ved levering (delivery versus payment), jf. værdipapirhan-
      delslovens § 72/kapitalmarkedslovens § 188, dvs. ved bogføring af aktierne på køberens depotkonto.

      Pensionsplanen har i den foreliggende sag afgivet en købsordre til sine brokere om køb af aktier. Disse
      ordrer blev matchet med salgsordrer, der kom fra andre brokere. Denne matching er selve købsaftalen,
      der er endelig og bindende. Betalingen og registreringen af aktierne, der bekræfter, at aftalen var en-
      delig og bindende, skete tre til fire dage senere.

      Det kan ved sagens afgørelse således lægges til grund, at pensionsplanen var civilretlige ejere af de i sa-
      gerne omhandlede aktier.

      Af dette civilretlige ejerskab følger ligeledes skattemæssigt retmæssigt ejerskab, såfremt der ikke fore-
      ligger en af de af retspraksis udviklede undtagelser.

      Retspraksis har især i forbindelse med aktielån fastholdt, at aktielåntager bliver den civilretlige ejer af
      aktien, men ikke den skatteretligt retmæssige ejer af aktien. Aktielångiver fortsætter med at være den
      skattemæssigt retmæssige ejer af aktien, helt indtil aktien sælges af aktielåntager til en tredjemand.

      På udbyttedatoen havde pensionsplanen ikke lånt aktierne ud. Udlånet skete først tre til fire dage se-
      nere. Om aktielåntager efterfølgende lånte aktierne ud, beholdt dem eller solgte dem videre til en
      tredjemand, kan pensionsplanen ikke vide. Pensionsplanen blev derfor ved med at være den skatte-
      mæssigt retmæssige ejer af aktierne, selvom der tre-fire dage senere fulgte et aktieudlån.

      At forwardkontrakten blev indgået, samme dag som aktierne blev købt, medfører ligeledes ikke, at
      pensionsplanen mistede det skattemæssigt retmæssige ejerskab til aktierne.

      3.2 Handel med store aktieposter – shortselling

      Skattestyrelsen mener i det sammenfattende indlæg til førersagerne af den 9. august 2019, afsnit 4.1,
      side 22-24, at der er handlet urealistisk store aktieposter, og at pensionsplanerne af den grund umuligt
      kan have været ejere af de omtalte aktier. Styrelsen mener, at det skulle være umuligt at erhverve så



 Sagsnr. XX-XXXXXXX                                  Side 156/239
Case 1:18-md-02865-LAK                 Document 836-47                Filed 06/27/22             Page 352 of 462




      store aktieposter på en enkelt dag. Som eksempel herfor angiver styrelsen et salg af aktier for kr. 3,9
      mia., som blev solgt gennem accelereret bookbuilding – ikke på det fri marked.

      Styrelsen bemærker således ganske rigtigt, at store aktieposter netop ikke handles på børsen. Til store
      aktieposter søges alternative markeder OTC.

      Ville Skattestyrelsen foretage en lignende analyse af alle handler foretaget fx af Danske Bank, Deutsche
      Bank, Citibank eller Blackrock, ville skattestyrelsen nå frem til lignende store handler med aktier. Der
      handles hver dag af alle store aktører på markedet ufatteligt store aktieposter.

      Da det ganske rigtigt kan være svært at skaffe store aktieposter, er det evident, at der blandt de aktier,
      som pensionsplanerne købte, logisk nok må have været en del aktier solgt af short sellere. Hvilke og
      hvor mange aktier der kom fra long ownere eller short sellere, er umuligt at sige. Men det gælder for
      enhver køber af aktier. Ingen kan vide, hvem han køber en aktie af. Hverken ved børshandler eller ved
      OTC-handler.

      3.2.1 Introduktion til short selling

      Short selling er ikke lovreguleret i Danmark med undtagelse af reglerne om forbud mod udækket short
      selling og enkelte flagningsregler.

      Ifølge notat af den 10. april 2018 fra Finanstilsynet vedrørende short selling i Danmark, der fremlægges
      som bilag 82, betyder short selling i henhold til Finanstilsynets egen definition, , salg af en aktie, som
      sælger ikke ejer på salgstidspunktet, i modsætning til en almindelig værdipapirhandel, hvor sælgeren
      ejer det værdipapir, som sælges.

      Det er internationalt anerkendt, at en short seller betragtes som dækket, hvis han blot har en ramme-
      aftale om aktielån på plads, på det tidspunkt hvor han sælger de aktier, han ikke ejer. En sådan ramme-
      aftale er en GMSLA. Den, der ønsker at sælge aktier, han ikke ejer, skal ved en rammeaftale om ak-
      tielån blot sikre sig at kunne levere aktierne på leveringstidspunktet. I short selling-branchen tales her-
      ved også om en ”lokaliseringsaftale”: Short selleren skal være i stand til at lokalisere de aktier, som
      dækker hans salg, så han kan levere på afregningstidspunktet. For at udtrykke det med Finanstilsynets
      ord, jf. bilag 82, side 2, så skal en short seller

               ”altså før salget have været i stand til at låne papiret eller på tilsvarende vis sikret
               sig at kunne få overført ejerskab til papiret.”

      ”At være i stand” til at låne er netop ikke det samme som allerede at have lånt. Derfor taler Finanstilsy-
      net om, at short selleren blot skal sikre sig, at han kan overføre ejerskab.

      Short selleren skal med andre ord ikke indgå en konkret aftale om lån af et bestemt antal aktier, inden
      salget foretages, sådan som Skattestyrelsen postulerer i indlægget af den 9. august 2019, idet en sådan
      aftale ville gøre ”short selleren” til den civilretlige ejer af aktien. Han ville dermed slet ikke være short
      seller længre, men en ”long owner seller.” Short selling kan derfor (legalt) kun forekomme i form af
      salg under rammeaftaler om aktielån (medmindre der er tale om short selling foretaget af såkaldte
      ”market makere” – banker autoriseret til at foretage udækket short selling).

      Idet en short seller blot skal være dækket i form af indgåelse af en rammeaftale om aktielån, har short
      selling den konsekvens, at en short seller øger antallet af aktier i handel, og dermed antallet af aktier
      som indgås endelige og bindende aftaler om køb af. Alle køberne af disse aktier bliver i henhold til ob-
      ligationsrettens almindelige regler ejere af de erhvervede aktier.


 Sagsnr. XX-XXXXXXX                                  Side 156/239
Case 1:18-md-02865-LAK                              Document 836-47              Filed 06/27/22               Page 353 of 462




      Finanstilsynet fremhæver således også i bilag 82, side 6:

                         “Tilsvarende gør short selling det muligt for market makere at tilbyde deres kun-
                         der (detailkunder såvel som institutionelle kunder) at købe et værdipapir, selvom
                         om market makeren ikke kan skaffe papiret fra sin egenbeholdning eller via
                         markedet på tidspunktet for kundens ordre.“ (vores fremhævning)

      Short sellere kan i praksis sælge et ubegrænset antal aktier, så længe de blot har lokaliseringsaftaler
      om aktielån (GMSLA’er), der gør det muligt for dem at levere de solgte aktier. Således var værdien af
      korte positioner i danske børsnoterede aktier i starten af 2018 ca. kr. 25 mia. svarende til ca. 1 pct. af
      den samlede værdi af det danske noterede aktiemarked. Og disse tal omfatter kun korte positioner,
      der hver især har været indberetningspligtige. Har de ultimative sælgere af aktierne, som blev solgt til
      pensionsplanerne, delvist været short sellere, behøver de ikke nødvendigvis at dukke op i disse stati-
      stikker, hvis hver short sellers nettoposition ikke oversteg 0,2 pct. af den af selskabet udstedte aktieka-
      pital.

         Figur 3: Vcerdien afkorte nettopositioner i danske borsnoterede ak-
         tier er seksdoblet siden 2013

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         Note: Figuren viser markedsvrerdien i danske kroner al udestaende korte nettopositioner over 0,2 pct.
         af den udstedle aktiekapilal i danske b,nsnoterede aktier fordelt pa udstederselskabets sektor samt den
         relative sterre~e if!. det samlede marked. Sektorfordelingen er bestemt ud fra GICS-koder.
         Kilde: Finanstilsynet.




 Sagsnr. XX-XXXXXXX                                               Side 156/239
Case 1:18-md-02865-LAK                 Document 836-47                 Filed 06/27/22            Page 354 of 462




      Ingen kan skelne mellem aktier solgt af en short seller og aktier solgt af en reel aktieejer (long
      owner). Det tilgængelige antal aktier i handel stiger dermed ved short selling (midlertidigt) til et
      antal over 100 pct. af de udstedte aktier. Det er først ved afviklingen (settlement) af aktiehand-
      lerne, at dette overskydende antal aktier i handel bringes tilbage til det reelle antal aktier ud-
      stedt af selskabet. Den samlede mængde af dematerialiserede aktier vil altid være korrekt på af-
      viklingstidspunktet, når short selleren skal levere de solgte aktier, idet han trækker aktier under
      aktielånet eller foretager et inddækningskøb på markedet.

      Det er således muligt, at der handles flere danske aktier på markedet, end det an- tal der oprin-
      deligt blev udstedt af selskaberne. Short selling har netop den typiske – og tillige ofte af central-
      banker og finanstilsyn ønskede (jf. Finanstilsynets rapport on short selling, jf. bilag 82, side 5-6)
      – konsekvens, at der er flere aktier til rådighed på markedet, end der oprindeligt er udstedt.

      Overdragelsen af ejerskab er i henhold til dansk lovgivning fuldstændigt adskilt fra afviklingen af en
      aktiehandel. Det er tilmed irrelevant for spørgsmålet om ejerskab, om (1) en aktiehandel afvikles ”fy-
      sisk” (ved en “de-registrering” af sælger og en “registrering” af køber ved VP Securities eller et andet
      depotinstitut), eller om handlen (2) afvikles ved brug af netting (med den konsekvens, at der eventu-
      elt slet ikke sendes en nettorapport til VP Securities – hvis nettoresultatet er 0).

      3.2.2 Short selling skaber flere aktier, indtil handlerne bliver afviklet (settlement)

      Når en short seller sælger aktier under en rammeaftale om aktielån (GMSLA), skaber han enten flere
      aktier, end selskabet har udstedt, eller udtrykt anderledes opstår der dobbelt ejerskab til en og
      samme aktie: Aktielångiveren, der endnu ikke har lånt aktien ud under en konkret aftale om aktielån
      (men kun har indgået en rammeaftale om et potentielt udlån) er stadig civilretlig ejer af aktien. Samti-
      dig erhverver køberen civilretligt ejerskab af en aktie ved den endelige og bindende aftale med short
      selleren.

      Det er først ved afviklingen af handlerne (der i reglen sker, to dage efter handlen er indgået ved en
      endelig og bindende aftale), at antallet af ejere bringes tilbage til antallet af aktier, der er udstedt af
      selskabet, da der ikke kan registreres mere end én ejer af samme aktie. Det er dette faktum, vi har
      forsøgt at skitsere med følgende illustration.

      Illustrationen viser en kunstig verden hvor et selskab kun at udstedt en enkelt aktie. Dermed kan eje-
      ren kun sælge en enkelt aktie.

      Illustrationen viser dog 3 short sellers, der bringer det samlede antal af aktier i omløb op til 4 aktier,
      selv om der kun kan leveres en enkelt aktie. Handlet bliver alligevel 4 aktier.

      I den her illustrerede situation er der flere aktier der bliver genstand for en endelig og bindende aftale
      om køb af aktier, og der er således fire købere der bliver ejere af aktierne selv om der kun er en der
      kan få aktien leveret. Der opstår således en temporær ”inflation” af aktier, som Unidroit udtrykker
      det, på handelsdatoen som igen forsvinder på afviklingsdatoen.




 Sagsnr. XX-XXXXXXX                                   Side 156/239
Case 1:18-md-02865-LAK                   Document 836-47                Filed 06/27/22         Page 355 of 462




                                                 EU 909/2014 Art 37 Ill & Kap ML§ 192 II



                                        This Chart simulates a world of only 1 Share
                                   It explains why Free-Float temporarily exceeds 100%


                                                   Example Market of 1 Share

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      Det er således kun indtil afviklingen af aktiehandlerne, at der eksisterer flere ejere af danske aktier, end
      svarende til det antal aktier selskaberne har udstedt. Da der ikke ”fysisk” kan leveres flere aktier, end
      selskabet har udstedt, må det dobbelte midlertidige ejerskab skabt af short selleren ophøre, når ak-
      tierne skal leveres ved elektroniske bogføringer (posteringer/registreringer) hos den eller de involve-
      rede custodians. Om afvikling under anvendelse af netting kan føre til en forlængelse af det dobbelte
      ejerskab ud over tidspunktet for afviklingen, behøves ikke diskuteres her, da pensionsplanen lånte ak-
      tierne ud, på det tidspunkt hvor aktiekøbene skulle afvikles for at kunne betale købsprisen. Pensions-
      planens civilretlige ejerskab ophørte derfor også med afviklingen af aktiekøbet, i henhold til den aktie-
      udlånsaftale de indgik pr. e-mail. På udbyttedatoen havde pensionsplanen dog civilretligt ejerskab til
      aktierne, hvorfor den også var rette indkomstmodtagere af udbyttet, med den konsekvens at den
      havde retskrav på at modtage refusion af indeholdt udbytteskat i henhold til dagældende regler
      herom.

      Hvilke aktier, der har mere end én civilretlig ejer, kan ikke identificeres, idet short sellere agerer under
      en eller flere rammeaftaler om aktieudlån. Rammeaftalerne (GMSLA’er) om aktielån indgås ofte mel-
      lem (long owner-)aktionærer og mellemmænd for aktielån (stock loan intermediaries) på den ene side
      og short sellere og stock loan intermediaries på den anden side. Aktionæren, der låner sin aktie ud,
      kender derfor ikke nødvendigvis short selleren. Aktielångiver, der stiller sin aktie til rådighed for et po-
      tentielt eller konkret udlån, kender heller ikke den ultimative aktielåntager og dennes motivation og
      ved langt mindre, om den ultimative låntager overhovedet er en short seller.

      Short selleren trækker kun på rammeaftalen (GMSLA) – ofte blot ved e-mails, der fastholder de kon-
      krete betingelser for det konkrete aktielån – hvis og når han skal levere aktierne under clearing- og
      settlement-processen. Hvis short selleren køber aktier fra markedet igen, inden han skal levere de ak-
      tier, han oprindeligt solgte, og han aftaler en kortere leveringstid for aktiekøbet end for aktiesalget

 Sagsnr. XX-XXXXXXX                                   Side 156/239
Case 1:18-md-02865-LAK                 Document 836-47               Filed 06/27/22            Page 356 of 462




      (ved OTC-for- retninger kan leveringsfristen aftales frit), behøver short selleren aldrig at trække nogen
      aktier under GMSLA. Han har ikke desto mindre overdraget ejerskab til ak- tier til en køber.

      På aktieleveringsdagen udligner short selleren således det overstigende antal af aktier i forhold til an-
      tallet af udstedte aktier (free float bringes tilbage til normalen), idet han foretager et dækningskøb, så
      ingen ”opdager”, at short seller har solgt aktier, han ikke ejede. Lykkedes det ikke short seller at lave et
      sådant dækningskøb, ville det være åbenlyst, at der havde været flere ejere af aktier end svarende til
      det udstedte antal. Han må derfor trække på GMSLA, hvilket bringer aktielångivers ejerskab til ophør.
      Dette ændrer dog ikke på, at der juridisk har været to ejere i en periode. Hvem, der fortsætter med at
      være ejeren, afgøres efter de tingsretlige regler, herunder reglerne om iagttagelse af sikringsakter og
      vindikation/ekstinktion. Det er netop i - denne
                                                  - -forbindelse, at leveringen af aktien spiller en rolle under
      dansk lovgivning. Den, der har aktien registreret i sit depot, har en sikret retsposition som ejer. Indtil
      leveringen er ejerskabet, som køberen erhverver, ikke beskyttet mod ekstinktion. Køberen har ikke de-
      sto mindre erhvervet ejerskab til aktien.

      Sagt med andre ord betyder dette, at short selleren i perioden mellem salget af aktierne, han ikke
      ejede, og dækningskøbet (eller lånet af aktierne under en konkret låneaftale) overdrog ejerskab af ak-
      tier ved en simpel købekontrakt til en køber, der ikke kan vide, at sælgeren er en short seller. Herved
      skaber short selleren de facto flere ejere af danske aktier, end selskabet har udstedt. Dette kan kun for-
      hindres, hvis selve overdragelsen af ejerskab af aktier kræver levering af aktierne.

      Et sådan krav eksisterer dog ikke i dansk lovgivning. I dansk lovgivning er levering af aktierne, der sker
      under settlement-processen, og som fører til registrering af ejerskabet hos købers custodian, blot de-
      klaratorisk.

      Herved adskiller dansk lovgivning sig ganske væsentlig fra fx tysk lovgivning. I henhold til tysk lovgiv-
      ning er leveringen af aktien fra sælgers depot til købers depot nødvendig, for at køber bliver ejer. Da
      dette ikke er nødvendigt i dansk lovgivning, har Danmark – også i henhold til den tyske prof. dr. Chri-
      stoph Spengel fra Universitetet i Mannheim – gjort det utroligt let for short sellere at skabe flere aktio-
      nærer end svarende til antallet af danske aktier udstedt af selskaberne.

      Professoren mener, at Danmark i udbyttesagen lider under et juridisk problem, som lovgivning og rets-
      praksis selv har skabt.

      Det er helt åbenlyst, at Skattestyrelsen forsøger at støtte sig til tyske regler og retspraksis omkring er-
      hvervelse af ejerskab af aktier for at løse problemerne, der opstår ved short selling. Skattestyrelsen for-
      søger at gøre dette helt uden retsgrundlag. Der er ingen regler i Danmark, der fordrer levering af ak-
      tierne for at erhverve ejerskab, tværtimod.

      3.2.2.1 Skattestyrelsens synspunkter vedrørende ”short buyer”

      I sit sammenfattende indlæg af den 9. august 2019 præsenterer Skattestyrelsen i afsnit 8.3, side 69, en
      kæde, der skulle gengive short selling:

               Ejer/aktielångiver à Aktielåntager/short seller à ”Short buyer”

      Denne kæde gengiver ganske rigtigt, hvordan en aktie leveres. Den gengiver dog ikke, hvordan ejerska-
      bet overdrages.

      Skattestyrelsen lader ved præsentationen af denne kæde til at ville introducere den (nye og fiktive) fi-
      gur ”short buyer”. En ”short buyer” findes i realiteten ikke. Introduktionen af dematerialiserede aktier


 Sagsnr. XX-XXXXXXX                                  Side 156/239
Case 1:18-md-02865-LAK                 Document 836-47                 Filed 06/27/22            Page 357 of 462




      og den anonyme måde, disse handles på, har gjort det umuligt at følge en bestemt aktie fra en bestemt
      sælger til en bestemt køber. Aktier eksisterer kun som tal i computere, og når disse tal under afviklings-
      processen kan modregnes hinanden (kaldet ”netting”), så hver finansiel virksomhed kun overdrager
      nettosummen af alle køb og salg foretaget af hans kunder til den næste finansielle virksomhed, er det
      udelukket at forfølge en bestemt aktie fra sælger til køber. Der findes ikke en ”short buyer” svarende til
      en short seller.

      En short seller er kun en short seller, hvis han ikke er den civilretlige ejer af aktien. Den civilretlige ejer
      af aktien er long seller. I det øjeblik short selleren indgår et konkret aktielån med ejeren af aktien, bli-
      ver aktielåntageren den civilretlige ejer af aktien. Det betyder med andre ord, at short selleren kun er
      ”short”, så længe han enten (1) er udækket (hvilket er tilladt for en såkaldt ”market maker”), eller (2)
      ”kun” er dækket ved en GMSLA, men endnu ikke har trukket (= lånt) et konkret antal aktier under en
      GMSLA. Når aktierne trækkes ved et konkret aktielån under GMSLA’en, bliver short selleren til long ow-
      ner. Short selling er derfor kun muligt, så længe der ”kun” eksisterer en GMSLA, der endnu ikke er truk-
      ket aktier under. Når en short seller trækker aktier under en GMSLA, trækker han aktier, som selskabet
      har udstedt. Eksistensen af GMSLA’en dækker short selleren og gør hans salg legalt (idet han dermed
      ikke er ”udækket”), men samtidig medfører denne short selling, at der handles med flere aktier, end
      der er udstedt af selskabet. Der er flere aktier på markedet til handel end udstedt af selskabet.

      Havde Skattestyrelsen ret i sin argumentation, ville short selling udelukkende eksistere i form af udæk-
      ket short selling (foretaget af market makers).

      Grunden til at short selleren kan overdrage ejerskab til noget, han ikke selv har (civilretligt og retmæs-
      sigt ejerskab), er, at shortselleren kan legitimere overdragelsen af ejerskabet til aktierne ved at kunne
      udelukke risikoen for en ”fail” af handlen, dvs. at handlen ikke afvikles. En fail kan short selleren ude-
      lukke ved at (1) være i besiddelse af en GMSLA, der tillader ham at låne aktier til leveringen, og
      (2) have en clearing agent og custodian, der – i nødstilfælde – er forpligtet til at indestå for, at aktierne
      leveres under afviklingen af handlen. Short sellerens van- hjemmel til aktierne, der stadig ejes af ak-
      tielånegiver på salgstidspunktet, medfører ikke, at køberen, der handler i god tro på sælgers ejerskab,
      ikke erhverver ejerskab. Aktielångivers ejerskab til aktierne ekstingveres derimod af køberen, der hand-
      ler i god tro. Denne ekstinktion retfærdiggøres af, at aktielånegiver selv har udsat sig for den risiko, at
      aktielåntager disponerer over aktierne ved at indgå en GMSLA.

      Hvordan køberen handler i god tro på short sellerens ret til at overdrage legitime- ret ejerskab til ak-
      tier, han først låner senere, kan illustreres, som følger:




 Sagsnr. XX-XXXXXXX                                   Side 156/239
Case 1:18-md-02865-LAK                       Document 836-47           Filed 06/27/22            Page 358 of 462




                                    (Solo) Settlement for Danish Shares
                                                  post Oct. 6~ 2014



               Day 1                Day 2            Day 3                 Day 4                 Dayx



                       T-0           T+l              T+2                   T+3                 T+ X
                Cum -Day            Ex-Day        Record-Day             Pay-Day             Unwind-date


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      Den korrekte kæde til illustration af overdragelsen af ejerskab skulle følgelig se ud, som følger:

                 Ejer/aktielångiver à Køber, der erhverver i god tro

      Kunne en sælger, der ikke selv er ejer, ikke overdrage ejerskab, ville reglerne omkring erhvervelse af
      ejerskab i god tro (vindikation/ekstinktion) slet ikke eksistere. Idet det dobbelte ejerskab af aktierne
      ophører – eller sagt med andre ord: idet antallet af aktier, der ejes, bringes tilbage til antallet af aktier,
      der er udstedt af selskabet – når aktierne leveres og registreres på køberens depotkonto, fører short
      selling ikke til problemer vedrørende ekstinktion. Når short selleren indgår en aftale om lån af et be-
      stemt antal aktier under en GMSLA, bliver han ejer af disse aktier og leverer dem til sin køber af ak-
      tierne.

      At antallet af aktier i handel øges ved short selling, er netop en af de af Finanstilsynet ønskede virknin-
      ger af short selling. Der kan således henvises til både Finanstilsynets publikation omkring short selling
      (jf. bilag 82) samt ESMAs rapport om udbyttearbitrage, jf. bilag 83. ESMA gør det helt tydeligt, at et
      retskrav på refusion bør afhænge af modtagelsen af et nettoudbytte og ikke af ejerskabet af en aktie,
      idet short selling netop har den konsekvens, at der handles med flere aktier, end der er udstedt af sel-
      skaberne. Når handlen i sig selv er nok til at erhverve ejerskab, har short selling fatale konsekvenser for
      skattesystemet. ESMA lægger ingen skjul på, at en DCA (dividend credit advice) er det korrekte doku-
      ment, som et retskrav på refusion skal dokumenteres med, men at denne DCA ikke skal afhænge af
      ejerskabet af aktien, men af modtagelsen af udbyttet.

      Skattestyrelsen lader til at basere hele sin teori om, at der ikke skulle være ”realitet” i de gennemførte
      aktiehandler, på det faktum at aktiehandlerne skulle være foretaget som short selling. Herved overser
      Skattestyrelsen, at også short selling er reelle aktiehandler, og at leveringskæden ikke er identisk med


 Sagsnr. XX-XXXXXXX                                    Side 156/239
Case 1:18-md-02865-LAK                Document 836-47                Filed 06/27/22           Page 359 of 462




      kæden til overdragelse af ejerskab, da leveringskæden først finder sted, flere dage efter ejerskabet er
      overdraget. Skattestyrelsen overser konsekvent, at der kan handles ubegrænset mange aktier, og at
      kun antallet af aktier, der kan leveres, er begrænset af antallet af aktier udstedt af selskaberne

      3.2.2.2 Konsekvensen af flere aktier som følge af short selling (indtil settlement)

      At short sellere i perioden mellem købsaftalen og leveringen af aktier kan skabe flere ejere af aktier
      end svarende til antallet af udstedte aktier, fører udelukkende til problemer, hvis og når short selling
      sker omkring udbyttedatoen. Købekontrakten gør da en person udbytteberettiget, selv om han ikke er
      registreret som ejer endnu, jf. købelovens § 19, stk. 1: Køb af aktier omfatter det udbytte, som ikke var
      forfaldent, på det tidspunkt hvor købet sluttedes.

      Dette har den konsekvens, at køberen skal krediteres nettoudbyttet på udbyttets betalingsdato, uanset
      hvornår registreringen af aktierne sker på hans depot. Ligger betalingsdatoen på en tidligere dato end
      registreringsdatoen af aktien hos custodian, skal sælgeren af aktien betale nettoudbyttet til køberen
      (short selleren betaler en kompensationsbetaling under ”market claim-processen” til køber). På denne
      kompensationsbetaling er der i dansk skatteret ingen kildeskat, selvom det i virkeligheden drejer sig
      om betalingen af et udbytte til aktiens civilretlige ejer. Da køberen af aktien er ejer på udbyttedatoen
      og modtager nettoudbyttet på betalingsdatoen, er han også berettiget til refusion.

      Ligger betalingsdatoen for udbyttet efter registreringsdatoen af aktiesalget udført af en short seller, er
      det aktielångiver, der i henhold til GMSLA’en er berettiget til kompensationsbetalingen. Aktiekøberen
      modtager i dette tilfælde udbyttet direkte fra selskabet (hvor der også indbetales udbytteskat), men
      aktieudlåneren modtager kompensationsbetalingen fra short selleren, som Danmark ikke opkræver kil-
      deskat af, på trods af at den økonomisk og skatteretligt betragtes som et udbytte.

      Det midlertidige dobbelte ejerskab af aktien mellem salg og levering af aktien har dog kun konsekven-
      ser for udbetalingen af udbytte og beskatningen heraf.

      Idet det kumulative juridiske ejerskab ender, når aktierne skal leveres, vil altid kun én aktionær pr. ak-
      tie være stemmeberettiget ved generalforsamlingen, idet stemmeberettigelsen fordrer, at registrerin-
      gen af aktien eftervises ved en udskrift fra den respektive custodian.

      Skattestyrelsens påstand i styrelsens sammenfattende indlæg i førersagerne af den 9. august 2019 om,
      at

               ”Hvis der kunne være flere ejere af samme aktie, ville det også betyde, at mere
               end 100 % aktionærer kunne møde og stemme på selskabets generalforsamling.”

      er naturligvis ikke korrekt.

      3.2.2.2.1 Manglende kildebeskatning af kompensationsbetaling

      Skatteministeriet og Skattestyrelsen har, som fremgår af den i 2015 udstedte Early Warning, helt klart
      identificeret, at et af hovedproblemerne i udbytteskattesagerne er short selling.

      Så længe der ikke opkræves udbytteskat af kompensationsbetalingen, som en short seller skal betale,
      til den der køber aktien på generalforsamlingsdatoen (retserhvervelsestidspunktet for udbyttet og der-
      med med retskrav på refusion), men som først bliver registreret som ejer efter record day, vil der
      mangle en indbetaling af udbytteskat. Da køberen af aktien (eller nogen som helst anden person) ikke
      kan se forskel på en aktie købt af en short seller og en aktie købt af en long owner, er short selleren,


 Sagsnr. XX-XXXXXXX                                 Side 156/239
Case 1:18-md-02865-LAK                   Document 836-47                                      Filed 06/27/22                                  Page 360 of 462




      der sælger på generalforsamlingsdatoen, nødt til at betale en kompensationsbetaling ind i kæden af
      custodians og endelig ned til køberen svarende til nettoudbyttet på aktierne. Alle købere af aktier, også
      dem der køber det overskydende antal aktier, der er i omløb, modtager et nettoudbytte og en DCA og
      er refusionsberettigede som ejere af aktierne og modtagere af et nettoudbytte.

      Da ingen andre end short selleren selv og dennes umiddelbare custodian ved, kan se eller kan konsta-
      tere, at en betaling i virkeligheden ikke kommer fra selskabet selv, men fra en short seller, er det nød-
      vendigt at beskatte kompensationsbetalingen. Allerede ved den første subcustodian i kæden af custo-
      dians blandes alle nettoudbytter fra selskabet selv uigenkaldeligt med kompensationsbetalingerne fra
      short sellere. Ingen i kæden af custodians er i stand til at bekræfte over for køberen af aktien, om det
      beløb, han får krediteret på sin konto (nettoudbyttets sum), i virkeligheden stammer fra en short seller
      eller fra selskabet.

      Dette afspejles også i det faktum, at hverken køberen af en aktie – eller noget andet menneske – kan
      sige, om den aktie, han har købt og får leveret, stammer fra en short seller eller fra en long owner. Det
      er meget muligt, at netop den ”aktie”, som køberen får registreret på sin depotkonto pga. netting i af-
      viklingsprocessen, før var registreret hos en helt anden kunde som samme custodian. Køberen mod-
      tager jo ikke netop den specifikke aktie, som ”hans” sælger har solgt ham, men en hvilken som helst
      aktie fra samme selskab, da aktier er genusvarer.

      Ved kontormødet blev fremlagt følgende skitse, der viser dette problem i grafisk form:


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      Det fremgår af skitsen, at såvel aktier som også betalingen af udbyttet fra selskabet selv (vist med sorte
      pile) blandes med aktier/kompensationsbetalinger, der stammer fra en short seller (vist med røde pile).
      Mens short selleren udelukkende kan opfylde sin forpligtelse til levering af aktier, med aktier der er ud-
      stedt af selskabet, kan ”udbyttet”, som køberen modtager, lige så godt være en kompensationsbetaling
      fra en short seller. Idet kravet på betaling af udbyttet allerede opstår med købet af aktierne, er short
      selleren nødt til at skabe et ”udbytte” – udover, hvad selskabet har betalt. Dette udbytte fra short sel-
      leren kaldes kompensations- betaling.



 Sagsnr. XX-XXXXXXX                                              Side 156/239
Case 1:18-md-02865-LAK                Document 836-47               Filed 06/27/22           Page 361 of 462




      I Tyskland erkendte man problemerne omkring kompensationsbetalingerne allerede i 1999 (ved en
      kendelse fra BFH) og indførte i 2007 en kildebeskatning på kompensationsbetalingerne. I 2012 blev kil-
      debeskatningsreglerne igen ændret, da det stod klart, at man ligeledes var nødt til at ændre skyldne-
      ren, der er pligtig til at foretage indeholdelse og indberetning af kildeskat på udbytte. Danmark har der-
      imod til dato intet gjort for at rette op på denne mangel. I Danmark holder man stadig fast ved kilde-
      skattelovens § 65, ifølge hvilken det er det udloddende selskab, der har pligt til at indeholde og indbe-
      rette udbytteskatten, og en beskatning af kompensationsbetalingen fra short selleren sker slet ikke.

      3.2.2.3 Skattemæssigt retmæssigt ejerskab ved aktieudlån – dobbelt ejer- skab ud over settlement

      Ud over problemerne der skabes ved at en køber, der handler i god tro, kan erhverve ejerskab til aktier,
      der stadig ejes af en aktielångiver, medfører den praktiske håndtering af aktieudlån samt retspraksis
      omkring aktieudlån og retmæssigt ejerskab yderlige problemer vedrørende identifikationen af den
      skattemæssigt retmæssige ejer og dermed en risiko for dobbelt refusion, idet der evt. udbetales re- fu-
      sion til en aktielångiver, der ikke længere er at betragte som den skattemæssigt retmæssige ejer af ak-
      tierne.

      3.2.2.3.1 Retspraksis vedrørende skattemæssigt retmæssigt ejerskab ved aktieudlån

      Ved aktieudlån registreres aktielåntageren ved VP Securities som den nye ejer af aktien. Denne civilret-
      lige kategorisering af aktielånet, som kommer til udtryk hos VP Securities, stemmer dog ikke overens
      med de skatteretlige kategoriseringer af aktielån.

      Ud fra skatteretlige betragtninger af aktielån bliver ejendomsretten ikke overdraget fra långiver til lån-
      tager (jf. SKM2010.266.SR). Der sker således ikke en afståelse, ved aktielån som er indgået i henhold til
      den danske standardiserede aktielånsordning, Morgan Stanley & Co International Limited – Overseas
      Securities Lender’s Agreement eller Overseas Securities Lenders Association, Global Master Securities
      Lending Agreement (GMSLA).

      Långiver beholder som udgangspunkt alle sine rettigheder mv. hidrørende fra aktierne. Låntager har
      dog visse dispositionsbeføjelser over aktierne, idet låneaftalen som udgangspunkt blot kræver tilbage-
      levering på et bestemt tidspunkt i fremtiden. Indtil dette tidspunkt oprinder, kan låntager disponere
      fuldt ud over aktierne, herunder afstå dem til tredjemand. Låntager skal dog betale et beløb til långi-
      ver, der svarer til udbyttet udbetalt af selskabet under aktielånets varighed (kompensationsbetaling).
      Låntager skal ved låneperiodens afslutning tilbagelevere aktier af samme mængde og art. Derved stilles
      långiver således, som om aktierne havde været i hans besiddelse under hele låneperioden. Han betrag-
      tes derfor ud fra en helhedsopfattelse af aktielånearrangementet fortsat som den skatteretlige ejer af
      aktierne. Dette resultat når både SKAT, skatteeksperter og Landsskatteretten.

      Idet aktieudlåneren ikke mister det skatteretlige ejerskab af aktierne ved udlån, og han i overensstem-
      melse hermed i henhold til GMSLA’en også er berettiget til at modtage udbyttet, er aktieudlåner også
      berettiget til udbytterefusion.

      Idet salg af dematerialiserede aktier foregår anonymt (via mæglere), og der ved alle tjenesteyderne,
      der deltager i en overdragelsestransaktion, sker en sammenblanding af alle aktier, der overdrages mel-
      lem alle deres kunder, kan en køber af en aktie ikke vide, om han køber og modtager en aktie, der
      stammer fra en long owner (der har aktien i sit depot), eller om han køber aktien af en short seller, der
      kun har kunnet låne aktien.




 Sagsnr. XX-XXXXXXX                                 Side 156/239
Case 1:18-md-02865-LAK                                          Document 836-47                     Filed 06/27/22                               Page 362 of 462




      Dette er i og for sig i 364 dage om året heller ikke relevant. Det er kun, i det øjeblik hvor selskabet ud-
      lodder et udbytte, at det bliver et problem, når skattemyndighederne, retspraksis og litteraturen er-
      klærer aktielångiveren for den skattemæssige ejer af aktien.

      Når køber ikke kan vide, om sælger er en short seller, der kun låner aktien, må køber nødvendigvis ved
      køb af aktien ikke kun blive civilretlig ejer af aktien, men også skattemæssig ejer. Idet køberen af aktien
      vil blive registreret hos VP Securities eller enhver anden subcustodian, vil køberen også modtage et
      nettoudbytte og være refusionsberettiget.

      Ved siden af aktieudlåneren, der har modtaget en kompensationsbetaling fra aktielåntageren og er
      skattepligtig heraf, som om han havde modtaget udbyttet direkte, er der den nye ejer af aktien, der li-
      geledes modtager et udbytte, er skattepligtig heraf og er refusionsberettiget.

      Retspraksis omkring aktielån har således skabt to skattemæssige ejere af samme aktie på udlodnings-
      tidspunktet.

           Ejer 1                                                                                                                                 Ejer 2



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                                                                                27% at udbyttet beholder Aktielantager i gevinst som

      Idet short selling skal være dækket i form af et aktielån, fører alle de af retspraksis, skatteeksperter
      (Katja Dyppel Joo, jf. bilag 2c) og SKAT Jura og Store Selskaber (jf. Early Warning 2015 fremlagt som bi-
      lag 4a) anerkendte problemer omkring aktielån til de omtalte problemer i forbindelse med short sel-
      ling.

      3.2.2.3.2 SKAT om skattemæssigt retmæssigt ejerskab ved aktieudlån

      Som SKAT Store Selskaber den 27. marts 2015 skrev til SKAT Jura i Early Warning, registrerer VP Securi-
      ties som udgangspunkt den juridiske ejer. Ved aktielån registreres låntager som ejer, hvorved udlåner
      ikke længere er registreret som ejer. Herefter anføres det, at der ved aktielån skattemæssigt skal hen-
      ses til, hvem der er retmæssig ejer/beneficial owner, jf. SKM2010.266.SR. Af afgørelsen fremgår, at en
      aftale om lån af aktier ikke skatteretligt kan kvalificeres som afståelse. En långiver anses skattemæssigt
      for retmæssig ejer af aktierne. Udbytte, der udloddes i låneperioden, anses for at tilfalde långiver, og
      långiver skal derfor beskattes heraf.

      I forbindelse med short selling har dette den konsekvens, at aktielångiveren fortsat anses for at mod-
      tage et udbytte, han beskattes heraf, og følgelig må han være refusionsberettiget, hvis han i øvrigt op-
      fylder betingelserne herfor.




 Sagsnr. XX-XXXXXXX                                                             Side 156/239
Case 1:18-md-02865-LAK                Document 836-47                Filed 06/27/22           Page 363 of 462




      Samtidig erhverver en køber, der handler i god tro, og ikke ved, at han køber af en short seller, ejerskab
      til aktierne, ligesom han modtager udbyttet og er skattepligtig heraf, med den konsekvens at han tillige
      er berettiget til refusion af indeholdt udbytteskat i henhold til gældende regler herom.

      SKAT Juras Early Warning af den 7. juli 2015 til Skatteministeriet tager som udgangspunkt afsæt i Early
      Warning fra SKAT Store Selskaber. Også SKAT Juras Early Warning fremfører indledningsvis, at låntager
      registreres civilretligt som ejer af de lånte aktier, men at aktierne i overensstemmelse med TfS 1999,
      408 ikke anses for afstået. Skattemæssigt anses långiver således fortsat som ejer af de udlånte aktier. I
      SKM2010.266.SR tilsluttede Skatterådet sig SKATs indstilling om, at det er långiver, der efter de indgå-
      ede dobbeltbeskatningsaftaler er beneficial owner af udbytte på de lånte aktier, når disse ikke er vide-
      resolgt af låntager.

      Problemet, der herved opstår, er, at aktielångiveren principielt ikke kan vide, hvorfor låntager indgår et
      aktielån, og han kan langt mindre vide, om låntager sælger aktierne videre. Aktielångiver må dermed
      med afsæt i SKM2010.266.SR gå ud fra, at han trods udlån af aktierne fortsat er den retmæssige mod-
      tager af udbyttet, skattepligtig heraf og refusionsberettiget. Samtidig bliver køberen af aktierne ret-
      mæssig ejer af aktierne, udbyttet heraf og således ligeledes refusionsberettiget.

      Skattemæssigt set, medfører SKM2010.266.SR således et dobbelt skattemæssigt ejerskab af de samme
      aktier. Dette naturligvis kun, så længe aktielånet består.

      SKAT Jura angiver med rette i Early Warning, at den skattemæssige behandling af aktielån i Danmark
      afviger fra den skattemæssige behandling af aktielån i resten af verden. Denne forskel giver anledning
      til problemer, når danske långivere eller låntagere indgår aktielån med udenlandske långivere eller lån-
      tagere.

      3.2.2.3.3 Skatteministeriet om skattemæssigt retmæssigt ejerskab ved aktie- udlån

      Skatteministeriet skelner i sit svar på Early Warning i forbindelse med aktielån af den 23. september
      2015 mellem to forskellige situationer, når det drejer sig om aktielån: (1) aktielån uden videresalg til
      tredjemand og (2) aktielån med videresalg til tredjemand.

      3.2.2.3.3.1 Aktieudlån uden videresalg til tredjemand

      Dette beskriver Skatteministeriet, som følger:

               ”I en aktielåneaftale mellem lånegiver og lånetager vil lånegiver, desuagtet udlå-
               net af aktierne til lånetager, stadig skattemæssigt være den retmæssige ejer (”be-
               neficial owner”) af aktiern og dermed også af udbyttet”

      Skatteministeriet støtter sig herved på SKM2010.266.SR, ifølge hvilken udbytte på udlånte aktier skal
      beskattes hos långiver. Er der tale om en udenlandsk långiver, vil denne også være berettiget til at søge
      refusion af den overskydende indeholdte udbytteskat (jf. bilag 4a, notat af den 23. september 2015,
      side 6)

      Når Skatteministeriet i samme notat skriver, ”at der i dansk skatteret ikke er hjemmel til, at andre end
      den part, der efter dansk ret skattemæssigt anses som modtager af pengene fra et selskab, kan få god-
      skrevet eller tilbagebetalt kildeskatter på udbytte”, skal dette ses, i sammenhæng med at der her kun
      er tale om tilfælde af aktielån uden videresalg til tredjemand.

      Skatteministeriet lader ingen tvivl om gældende ret, når de udlånte aktier ikke sælges til tredjemand:


 Sagsnr. XX-XXXXXXX                                 Side 156/239
    Case 1:18-md-02865-LAK                    Document 836-47               Filed 06/27/22           Page 364 of 462




              ”Det er lånetager, der modtager udbyttet på aktierne. Lånetager vil som regel kompensere lånegiver
              for udbyttet vis en såkaldt udbyttekompensation. Overføres bruttoudbyttet fra lånetager til lånegiver
              som udbyttekompensation, vil udbyttekompensationen generelt have en så direkte tilknytning til de ud-
              loddede udbytte, at udbyttekompensationen beskattes som ud- bytte hos långiver (jf SKM2009.65.SR).
              Tilsvarende er lånetager ikke skattepligtig af udbyttet, idet lånetager de facto blot modtager udbyttet
              på lånegivers vegne. Udlodningen af udbyttet har således som udgangspunkt ingen skattemæssige kon-
              sekvenser for lånetager.”

              Hvad Skatteministeriet her overser, er det faktum, at låntager slet ikke modtager et bruttoudbytte,
              som denne kan give videre til långiver. Da låntager kun modtager et nettoudbytte, kan det også kun
              være dette beløb, som låntager skal give videre til långiver. Refusionen af udbytteskatten må långiver
              anmode om hos skattemyndig- hederne på baggrund af sit skattemæssige ejerskab af aktierne. Et så-
              dant ejer- skab er relativt problematisk at dokumentere, da der ikke findes noget register for aktieud-
              lån. Det er kun låntager, der kan dokumentere sit civilretlige ejerskab med en udskrift fra sin custodian.

3.2.2.3.3.3   Aktieudlån med videresalg til tredjemand

                       ”Ved lånetagers videresalg til tredjemand anses aktierne ikke for afstået af låne-
                       giver, for så vidt angår avanceopgørelsen. Dette skal ses i sammenhæng med, at
                       det i låneaftalen mellem lånegiver og lånetager er aftalt, at lånetager skal tilba-
                       gelevere aktierne, idet der fortsat er tale om et lån. Da aktierne imidlertid er en
                       genusvare, er salget så at sige irrelevant for lånegiver i avancehenseende. Der
                       sker således ikke afståelsesbeskatning af lånegiver.

                       Med tredjemands erhvervelse af aktierne fra lånetager bliver tredjemand imidler-
                       tid retmæssig ejer af aktierne og dermed også af udbyttet. (jf. SKM2010.266.SR).
                       Udbyttet beskattes så- ledes hos tredjemand. Det er dermed tredjemand der er
                       berettiget til at modtage en eventuel refusion af indeholdt udbytteskat.

                       I de tilfælde hvor lånetager fortsat skal kompensere lånegiver for udbytte, som lå-
                       netager pga. salget til trediemand ikke har modtaget, kvalificeres udgiften til ud-
                       byttekompensation som et tab omfattet af statsskatteloven.”

              Som følge af at aktierne er solgt af låntager til tredjemand, er Skatteministeriet af den opfattelse, at
              långiver ikke længere anses som aktuel aktionær, at kompensationsbetalingen ikke længere er at anse
              som et udbytte, og at aktielåntager ikke længere er refusionsberettiget. Refusionsberettiget er den
              tredjemand, der har erhvervet aktierne fra aktielåntager.

3.2.2.3.3.3   Bemærkninger til Skatteministeriets opfattelse

              Skatteministeriet overser to grundlæggende aspekter:

   1          Aktielångiver kan ikke vide, om og hvornår en aktielåntager sælger aktierne, da de ikke nødvendigvis
              har nogen umiddelbar kontakt med hinanden. Aktielån formidles af mellemmænd, såkaldte ”stock loan
              intermediaries”.
   2          Aktielångiver modtager kun nettoudbyttet fra aktielåntageren (dette helt i henhold til de internatio-
              nale standardaftaler om aktielån GMSLA).

              At lade aktielångivers retsstilling afhænge af omstændigheder, han ikke kan kende til og ingen indfly-
              delse har på, vil resultere i retsusikkerhed, der vil ødelægge det danske marked for aktieudlån. Når en
              aktielångiver i praksis hverken kan vide, om en aktielåntager sælger aktierne (og i givet fald hvornår),


       Sagsnr. XX-XXXXXXX                                   Side 156/239
Case 1:18-md-02865-LAK                 Document 836-47                Filed 06/27/22            Page 365 of 462




      eller om det beløb, han modtager, berettiger ham til refusion eller ej, selvom han kun modtager et be-
      løb svarende til nettoudbyttet, kan hans retsstilling umuligt ændres ved aktielåntagers ensidige disposi-
      tioner. Det ville stride imod ethvert retsstatsligt princip.

      Skatteministeriets position er i tilfælde af videresalg af aktierne til tredjemand juridisk ikke holdbar.
      Når retspraksis i henhold til SKM2010.266.SR fastholder, at aktielångiver fortsat er den skattemæssige
      ejer af aktien, må dette nødvendigvis gælde, uanset om aktielåntager sælger aktierne videre til tredje-
      mand eller ej.

      Den tværministerielle arbejdsgruppe oprettet i 2015 under Skatteministeriet lader også til at erkende
      problemet, idet det såvel i publikationen ”SKAT ud af krisen”,jf. bilag 4b, som også i statusnotatet af
      den 26. juni 2016,side 6, jf. bilag 5a, tilkendegives, at der i Danmark ikke findes et sæt regler, der sikrer,
      at det er muligt at identificere de skattemæssigt retmæssige aktieejere.

      3.2.2.3.4 Faglitteraturen om skattemæssigt retmæssigt ejerskab ved aktieudlån

      I faglitteraturen har specielt Katja Joo Dyppel beskæftiget sig med konsekvenserne af aktieudlån, jf. bi-
      lag 2a, i sin artikel ”Beskatning af aktielån og repo’er” fra 2013.

      Hun fastholder, at aktier, som overføres ved indgåelse af aktielån, generelt ikke anses for afstået i skat-
      teretlig henseende, hvorfor udlånet at aktier ikke medfører afståelsesbeskatning.

      Hun konstaterer ligeledes korrekt, at selskaberne udbetaler udbyttet til låntageren af aktierne, såfremt
      aktierne er overdraget til låntagers værdipapirdepot, eller til tredjemand, hvis aktierne er overdraget til
      dennes værdipapirdepot. I henhold til standardlåneaftalerne er aktielångiver dog berettiget til eventu-
      elt udloddet udbytte i låneperioden, hvorfor låntager skal kompensere långiver for udbyttet.

      For at en betaling kan anses som et udbytte i skatteretlig henseende, er det en betingelse, at betalin-
      gen kan anses som en udlodning, og at modtageren heraf er aktionær i det udloddende selskab. Dette
      følger af ligningslovens § 16 A, hvorefter der ved udbytte forstås ”alt, hvad der af selskabet udloddes til
      aktuelle aktionærer”. Afgørende er således, om långiver eller låntager er aktionær på tidspunktet for
      udlodningen.

      Katja Joo Dyppel foretager herefter en grundig analyse af retspraksis, der ser ud, som følger:

      I TfS 2001, 146 tog Ligningsrådet stilling til den skatteretlige kvalifikation af udbyt- ter betalt under et
      aktielån. Herefter skulle det kompenserede udbytte beskattes som almindelig indkomst hos långiver,
      uanset om låntager fortsat besad aktierne eller havde afstået disse. I det omfang låntager modtog ud-
      bytte fra selskabet, skulle dette udbytte udbyttebeskattes. Såfremt det i skatteretlig henseende forud-
      sættes, at de udlånte aktier ikke er afstået til låntager, og långivers aktionærposition således ikke er
      ophørt, er denne afgørelse svær at forklare. Efter ligningslovens § 16 A forudsætter udbyttebeskatnin-
      gen tilstedeværelsen af en aktionærposition, og tilsvarende gælder i forhold til statsskattelovens § 4 E.
      Det følger således heraf, at der ikke foreligger et udbytte, medmindre udbetalingerne sker til en aktio-
      nær. Det synes rimeligt at forudsætte, at en aktionær i aktieavancebeskatningslovens forstand tillige er
      aktionær i ligningslovens § 16 A’s forstand, og eftersom der ikke foreligger en afståelse/erhvervelse ef-
      ter aktieavancebeskatningsloven, synes praksis vanskelig at begrunde.

      Konsekvensen af Ligningsrådets afgørelse offentliggjort i TfS 2001, 146 fremgår af TfS 2001, 760, hvor
      der tages stilling til, om kompenseret udbytte fra et aktielån indgår i investeringsforeningers mini-
      mumsudlodning. For investeringsforeninger, som udlåner aktier, indgår de udlånte aktier stadig i inve-
      steringsforeningens aktiebeholdning, men ifølge Ligningsrådet skulle modtagne refusioner af udbytte


 Sagsnr. XX-XXXXXXX                                  Side 156/239
Case 1:18-md-02865-LAK                    Document 836-47                Filed 06/27/22           Page 366 of 462




         og andet vederlag ikke indgå i minimumsudlodningen. Argumentet var, at der i minimumsudlodningen
         alene indgår renter, indtjente udbytter efter ligningslovens § 16 A og gevinster på finansielle kontrakter
         efter kursgevinstlovens §§ 29-33, jf. ligningslovens § 16 A. Eftersom det overdragne udbytte fra lånta-
         ger til långiver var skattepligtigt som almindelig indkomst, anså Ligningsrådet ikke dette beløb for at
         kunne omfattes af minimumsudlodningen i ligningslovens § 16 C.

         Senere i TfS 2002, 755 tog Ligningsrådet bl.a. stilling til den skatteretlige behandling af låntagers
         fradragsret for betaling af vederlag for udlånet samt kompenserende udbytter til långiver. Med henvis-
         ning til TfS 2001,146, hvorefter vederlag og kompensation for udbytte kvalificeres hos långiver, uaf-
         hængig af om aktierne er solgt videre af låntager eller ej, anføres det, at tilsvarende betragtninger gør
         sig gældende for låntager. I denne forbindelse bemærker Ligningsrådet, at aktiernes eventuelle vide-
         resalg derfor er irrelevant for låntagers mulighed for at kunne fradrage vederlag og kompensation for
         udbytte i den skattepligtige indkomst.

         I relation til den skatteretlige behandling af udbytter og kompenserende udbytter på de udlånte aktier
         ændrede Landsskatteretten det af Ligningsrådet afgivne svar i TfS 2002, 755 i en kendelse offentliggjort
         i TfS 2004, 152. Ifølge Landsskatteretten afhænger den skatteretlige behandling af, hvordan låntager
         disponerer over de lånte aktier i låneperioden, og der tages stilling hertil i tre scenarier:

1        Låntager har videresolgt aktierne og modtager ikke udbytte, men skal kompensere långiver for udbytte.
         Det løbende vederlag og det beløb, der betales til långiver som kompensation for udbyttet, har en så-
         dan direkte forbindelse til aftalen om aktielån, at udgiften skal indgå ved opgørelsen af låntagers ge-
         vinst eller tab ved salg og køb efter reglerne i statsskattelovens § 4, litra f.
2        Låntager videresælger ikke aktierne og modtager ikke udbytte og har derfor ingen gevinst konstateret,
         men skal stadig betale et vederlag for at låne aktierne. Udgifterne til vederlaget udgør derfor hans tab
         ved aftalen, og dette tab er efter statsskattelovens § 4 F ikke fradragsberettiget ved opgørelsen af den
         skattepligtige indkomst, men alene i eventuelle andre gevinster ved tilsvarende aftaler i samme år.
3        Låntager har ikke videresolgt aktierne, men har modtaget udbytte, som han skal kompensere långiver
         for. Da låntager ikke er blevet ejer af aktierne i kraft af låneaftale eller på anden måde, er han ikke skat-
         tepligtig af udbyttet, der tilfalder långiver i henhold til GMSLA’en.

         Af Landsskatterettens kendelse kan det udledes, at den skatteretlige behandling af låntagers udgift til
         vederlag og kompenserende udbytte afhænger af, hvordan låntager disponerer over aktierne i perio-
         den. Heraf følger, at, i det omfang låntager alene kompenserer långiver for det udbytte, som låntager
         selv har modtaget, skal låntager ikke beskattes af det modtagne udbytte, således at udlodningen in-
         gen skattemæssige konsekvenser har for låntager. Argumentet er, at låntager ikke er blevet ejer af ak-
         tierne og alene oppebærer udbytte på långivers vegne.

         I de tilfælde hvor låntager skal kompensere for udbytte, som han ikke har modtaget, hvad enten ak-
         tierne er videresolgt eller ej, kvalificeres udgiften som et tab omfattet af væddemålsbestemmelsen i
         statsskattelovens § 4 F. Dette betyder, at årets tab alene kan modregnes i årets gevinster på tilsva-
         rende aftaler.

         I TfS 2009, 283 tages bl.a. stilling til, hvordan långiver beskattes af kompenserende udbytte. Med hen-
         visning til Landsskatterettens kendelse anfører Skatterådet, at betalinger, som modtages for mang-
         lende udbytte på udlånte aktier, er skattepligtige som udbytte hos långiver, såfremt udbyttet tilfalder
         långiver.

         For at det kompenserende udbytte beskattes som udbytte hos långiver, må det dog være en betin-
         gelse, at der rent faktisk kompenseres for et udloddet udbytte. Er der således ikke udloddet udbytte,
         men skal låntager alligevel betale et vederlag, kan dette næppe kvalificeres som et udbytte, da betin-


    Sagsnr. XX-XXXXXXX                                  Side 156/239
Case 1:18-md-02865-LAK                 Document 836-47                Filed 06/27/22           Page 367 of 462




      gelsen om, at der er foretaget en udlodning i overensstemmelse med ligningslovens § 16 A, ikke er op-
      fyldt. I et sådant tilfælde er indkomsten formentlig skattepligtig efter statsskattelovens § 4.

      I Skatterådets afgørelse i TfS 2009, 283 henvises til situation 3 i Landsskatterettens kendelse, som ved-
      rører det tilfælde, hvor låntager ikke har videresolgt aktierne, men har modtaget udbytte, som långiver
      skal kompenseres for. Der er således ikke taget stilling til beskatning af långiver, i den situation hvor
      låntager har solgt de lånte aktier og fortsat er forpligtet til at kompensere långiver for manglende ud-
      bytte.

      Katja Joo Dyppel illustrerer situationen, som følger:


         Flgur 4- BetallngsstrfN'II ved kompenserende udbytte ved vlderesalg

                                 Udltn af                              Vlderesalg af

           Langtwraf     ··---..~~~!~-~~---· >,___t.a_ma_ae_r a_f_, ···-···~~~~~~'.~~~---··> ~ 3 Mard
            akller                                _   akUer
         '----~               Kompens-atlon
          EJervzrdl-           for udbytte                                                   Ejerverdl-
          paplrerne                                                                          paplreme
                                                                                                 t
                                                                                              Udbytte

      Forskelligt fra det tilfælde, hvor låntager ikke sælger de lånte aktier, er, at tredjemand (også) bliver ejer
      af aktierne, hvorfor der foreligger dobbelt ejerskab, såfremt låntagers salg af aktierne ikke bevirker, at
      långiver anses for at have opgivet sin aktionærposition.

      Konsekvensen af at långiver fortsat anses for at være aktionær, kan være, at långiver fortsat udbytte-
      beskattes efter ligningslovens § 16 A af kompenserende udbytte modtaget af låntager, uanset at lånta-
      ger kompenserer långiveren for udloddet udbytte, uden at låntager selv har modtaget dette. Samtidig
      vil tredjemand ligeledes blive udbyttebeskattet af det udloddede udbytte, som denne modtager fra det
      udloddende selskab, jf. ligningslovens § 16 A. Dette dobbelte ejerskab kan således resultere i den
      uhensigtsmæssige konsekvens, at der opstår en situation, hvor der udbyttebeskattes et større beløb,
      end der faktisk udloddes.

      Katja Joo Dyppel anfører i sin artikel fra 2013, at man alternativt kan argumentere for, at selvom långi-
      ver ikke anses for at have afstået sine aktier ved indgåelse af aktielånet, resulterer låntagers salg i, at
      långiver ikke længere er aktuel aktionær af specifikke aktier, men alene har retten til i fremtiden at
      modtage samme mængde aktier udstedt af samme selskab og med samme rettigheder som de ud-
      lånte. Dette resulterer i, at långiver ikke længere anses for aktuel aktionær og således ikke længere kan
      modtage udbytte efter ligningslovens § 16 A, hvorfor udbyttet i stedet beskattes efter statsskatte-
      lovens § 4. Katja Joo Dyppel bekræfter, at det er uhensigtsmæssigt, at låntagers handling er afgørende
      for egen og lån- givers beskatning af kompenserende udbytte. Hun mener dog, at det kan være kor-
      rekt, eftersom det synes vanskeligt at se, hvordan långiver fortsat kan anses for at være aktuel aktio-
      nær efter ligningslovens § 16 A, når aktierne er solgt til tredjemand.

      Katja Joo Dyppels alternative argumentation har følgende konsekvens: Såfremt låntager (af aktierne)
      skal kompensere långiver for udbytte udloddet i udlånsperioden, afhænger den skatteretlige behand-
      ling af, om låntager har (videre)solgt aktierne til tredjemand eller ej. Er aktierne ikke solgt til tredje-
      mand, anses långiver for at være aktuel aktionær og udbyttebeskattes således efter ligningslovens § 16
      A, uden at udlodningen har skattemæssige konsekvenser for låntager. Er aktierne derimod solgt til

 Sagsnr. XX-XXXXXXX                                   Side 156/239
Case 1:18-md-02865-LAK                 Document 836-47                Filed 06/27/22            Page 368 of 462




      tredjemand, kan långiver efter Katja Joo Dyppels mening formentlig ikke anses som aktuel aktionær,
      hvorfor det kompenserende udbytte beskattes efter statsskattelovens § 4, mens låntager alene har
      fradrag for det kompenserende udbytte efter væddemålsbestemmelsen i statsskattelovens § 4, litra f.

      Ved denne alternative argumentation overser Katja Joo Dyppel, at långiver i praksis slet ikke kan vide,
      hvad låntager gør med aktierne. De fleste aktielån formidles af mellemmænd (stock loan intermedia-
      ries), der forhindrer enhver direkte kontakt med den oprindelige aktieudlåner og den endelige lånta-
      ger. Stock loan intermediary er den kontraktuelle modpart til aktieudlåneren, og stock loan intermidi-
      ary kan enten låne aktien direkte ud til en anden klient eller låne aktien ud til en anden stock loan in-
      termediary. Om og hvornår en aktie sælges videre til en tredjemand, er i praksis fuldkommen uklart for
      den oprindelige aktieudlåner. I praksis fungerer den alternative model præsenteret af Katja Joo Dyppel
      derfor ikke.

      De praktiske konsekvenser for en aktieudlåner ville være, at han aldrig kan vide, om han stadig er skat-
      temæssig ejer af aktierne eller ej, hvordan han skal beskattes af kompensationsbetalingen, og om han
      er refusionsberettiget. Det betyder for aktieudlåneren en så betydelig risiko, at han i praksis aldrig vil
      være parat til at låne sine aktier ud, da han konstant vil risikere at overtræde skattelovgivningen på
      grund af handlinger foretaget af en aktielåntager, som han ikke kender.

      På et lille nationalt marked hvor aktielångiver og låntager kender hinanden, kan Katja Joo Dyppels al-
      ternative betragtningsmodel måske fungere. På de internationale aktiemarkeder er denne model dømt
      til at fejle.

      3.2.2.4 Konklusion: Short selling har ingen indflydelse på pensionsplanens skattemæssig retmæssige
      ejerskab

      Det er uden betydning for pensionsplanens ret til refusion, om en person, der lånte aktierne af den
      stock loan intermediary, som pensionsplanen lånte deres aktier til, solgte aktierne igen, idet pensions-
      planen først lånte aktierne ud efter retserhvervelsestidspunktet for udbyttet. Pensionsplanens skatte-
      mæssigt retmæssige ejerskab kan derfor ikke berøres af et videresalg til en tredjepart.

      Retserhvervelsestidspunktet for udbyttet og dermed for retskravet på refusion er tidspunktet for de-
      klarering af udbyttet, jf. den juridiske vejledning, afsnit C.B.3.1 (Det skattemæssige udbyttebegreb).
      Deklarering af udbytte vil sædvanligvis ske på selskabets ordinære eller ekstraordinære generalforsam-
      ling. Skattemæssigt forstås ved udbytte således alt, hvad der af et selskab udloddes til aktuelle aktio-
      nærer (jf. ligningslovens § 16 A, stk. 2, nr. 1).

      Pensionsplanen købte senest på generalforsamlingsdagen de danske aktier. Den blev den civilretlige og
      dermed også den skattemæssige ejer af aktierne samme dag, idet aftalen om køb af aktier er tilstræk-
      kelig til overdragelse af ejendomsretten.

      Udbyttet blev af selskabet (VP Securities) udbetalt til den tidligere ejer af aktierne, idet denne stadig
      var registreret som ejer af aktierne på den såkaldte record day. Selskabet kan med frigørende virkning
      over for den aktuelle civilretlige og skatteretlige ejer af en aktie udbetale udbyttet, til den der er regi-
      streret som ejer på record day (jf. værdipapirhandelsloven § 71, stk. 2), selvom denne person ikke
      (længere) er den retmæssige modtager af udbyttet.

      Udbyttet, der er udbetalt til sælgeren, skal debiteres dennes konto og krediteres pensionsplanens
      konto. Dette sker gennem de involverede custodians, der skal afvikle denne ”market claim”, som købe-
      rens krav på overførsel af udbyttet kaldes. Sælger har ingen indflydelse på denne videresendelse af ud-
      byttet til den berettigede (køberen).


 Sagsnr. XX-XXXXXXX                                  Side 156/239
Case 1:18-md-02865-LAK                Document 836-47                Filed 06/27/22           Page 369 of 462




      Købte pensionsplanen aktien af en long owner seller, debiteres denne sælger det udbytte, som han
      modtog på grund af sin registrering på record day fra selskabet. Beløbet krediteres pensionsplanens
      konto, så snart denne registreres som ny ejer af aktien ved sin custodian. Det er først på det tidspunkt,
      at det i kæden af custodians bliver synligt, hvem den egentlige berettigede til udbyttet var: pensions-
      planen, der var ejer af aktien på udbyttedatoen, på trods af at han stadig ikke var registreret som så-
      dan.

      Købte pensionsplanen derimod aktien af en short seller – hvilket pensionsplanen ikke kan vide – er det
      short selleren, der skal kompensere pensionsplanen for det udbytte, der tilfalder pensionsplanen som
      retmæssig ejer af aktien på udbyttedatoen. Det egentlige udbytte udbetales af selskabet via VP Securi-
      ties til den aktionær, som short selleren efter udbyttedatoen inddækker sit salg hos på leveringsdatoen
      (settlement day). Kompensationsbetalingen fra short selleren kan i praksis ikke skelnes fra selve udbyt-
      tet, der oprindeligt kom fra selskabet, da begge dele blandes sammen i pengestrømmen, der fører ned
      gennem de forskellige custodians. Det forholder sig i praksis ikke således, at køberen af en aktie ved,
      hvem sælgeren er – heller ikke ved OTC-handler. Køberen kan derfor umuligt vide, om den ”market
      claim”, der krediteres på hans konto, når aktiekøbet afvikles, og aktierne registreres i hans depot hos
      hans custodian, i virkeligheden stammer fra en long owner seller eller en short seller.

      Hvis pensionsplanen købte af en short seller, var den aktionær, der -senere
                                                                             - - -lånte aktien til short selle-
      ren for at afvikle handlen, stadig retmæssige ejer af aktien på udbyttetidspunktet. Samtidig blev pen-
      sionsplanen ejer af aktien ved købekontrakten med short selleren.

      Det på udbyttedatoen erhvervede retmæssige ejerskab af aktien og dermed kravet på udbetaling af
      udbyttet og refusion mister pensionsplanen civilretligt først, når aktien lånes ud til en tredjemand.
      Dette udlån foretages mellem generalforsamlingsdatoen og afviklingsdatoen for aktiekøbet. Om pen-
      sionsplanen også skatteretligt mistede ejerskabet til aktien og dermed kravet på udbyttet, da aktierne
      blev lånt ud, er uden betydning for pensionsplanens ret til udbyttet og refusionen, der opstod, inden
      aktien blev lånt ud.

      Pensionsplanen var på det afgørende tidspunkt, generalforsamlingsdagen, der er retserhvervelsestids-
      punktet, ejer af de danske aktier. Dette, på trods af at pensionsplanen endnu ikke var registreret som
      ejer hos sin custodian og derfor ikke kunne deltage i selve generalforsamlingen.

      Da det kun er registrerede ejere af aktier, der kan deltage i generalforsamlingen, fører det civilretlige
      dobbelte ejerskab til en aktie, der består mellem købet af en aktie fra en short seller og afviklingen af
      aktiekøbet, heller ikke til, at der kan afgives flere stemmer ved en generalforsamling, end der er ud-
      stedt aktier.

      4 JURIDISKE FORHOLD VEDRØRENDE UDBYTTESKAT

      I det følgende vil vi redegøre for hjemmelen til udbetaling af den i sagen omtvistede refusion af udbyt-
      teskatter.

      I nærværende sag findes hjemmelen til refusion i kildeskatteloven og den dertilhørende kildeskattebe-
      kendtgørelse, samt den relevante dobbeltbeskatningsoverenskomst mellem Danmark og USA.

      4.1 Udbytteskat indeholdes i henhold til kildeskattelovens regler.

      I henhold til kildeskattelovens § 65, stk. 1, skal der som udgangspunkt ved enhver beslutning om udlod-
      ning af udbytter fra selskaber hjemmehørende i Danmark indeholdes udbytteskat med en sats på 27
      pct.


 Sagsnr. XX-XXXXXXX                                 Side 156/239
Case 1:18-md-02865-LAK                     Document 836-47                Filed 06/27/22           Page 370 of 462




           Ifølge kildeskattelovens § 65, stk. 6, har udbytteskatten med virkning fra indkomståret 2014 været ned-
           sat til 22 pct. ved udbytteudlodninger til selskaber og fonde, der er skattepligtige til Danmark efter sel-
           skabsskattelovens § 1 eller fondsbeskatningsloven. Forinden var udbytteskattesatsen for disse selska-
           ber og fonde nedsat til 25 pct. svarende til den dagældende selskabsskattesats efter selskabsskatte-
           lovens § 17, stk. 1.

           Det fremgår af kildeskattelovens § 66, stk. 1, at de selskaber, der er underlagt pligt til indeholdelse af
           udbytteskatter, i måneden efter vedtagelsen af udbytteudlodningen skal indbetale det indeholdte be-
           løb til SKAT senest samtidig med udløbet af betalingsfristen for selskabets indbetaling af indeholdt A-
           skat og arbejdsmarkedsbidrag.

           Kildeskattelovens § 65, stk. 4 (indtil den 1. januar 2013 § 65, stk. 5), bestemmer, at der ikke skal inde-
           holdes kildeskat af udbytter, hvis udbyttemodtageren er hjemmehørende i udlandet og ikke er omfat-
           tet af begrænset skattepligt efter bestemmelsen i selskabsskattelovens § 2, stk. 1, litra c.

           Udgangspunktet i selskabsskattelovens § 2, stk. 1, litra c, er, at udenlandske modtagere af udbytte fra
           Danmark omfattes af begrænset skattepligt. Dette gælder dog navnlig ikke for modtagere af udbytter
           på datterselskabsaktier (dvs. ejerskab af mindst 10 pct. af det udloddende selskab) eller koncernsel-
           skabsaktier (dvs. hvor den udenlandske ejer er sambeskattet med det danske udbyttebetalende sel-
           skab eller kan sambeskattes med dette efter selskabsskattelovens § 31 A), forudsat at den udenlandske
           modtager kan påberåbe sig en dobbeltbeskatningsoverenskomst eller EU's moder/datterselskabsdirek-
           tiv (Direktiv 2011/96/EU).

           4.2 Kildeskattebekendtgørelsens regler om fritagelse for indeholdelsespligt

           Skatteministeren har i medfør af kildeskattelovens § 65, stk. 3 (indtil den 1. januar 2013 § 65, stk. 4),
           adgang til at fastsætte regler om fritagelse for pligten til indeholdelse af udbytteskatter ved udlodnin-
           ger, der ikke er skattepligtige for modtageren. Denne adgang er udnyttet i kildeskattebekendtgørelsens
           kapitel 9, der handler om udbytteskatter og royaltyskatter.

           Kildeskattebekendtgørelsens § 31 bestemmer, at der bl.a. ikke skal indeholdes udbytteskatter, når
           modtageren kan modtage udbyttet skattefrit efter reglerne om skattefrihed for datterselskabs/kon-
           cernselskabsaktier i aktieavancebeskatningslovens § 4 A eller § 4 B, selskabsskattelovens § 2, stk. 1, li-
           tra c, selskabsskattelovens § 13, stk. 1, nr. 2, eller fondsbeskatningslovens § 10, stk. 1, medmindre det
           udloddende selskab er et investeringsselskab fritaget for dansk skattepligt efter selskabsskattelovens §
           13, stk. 1, nr. 19.

           4.3 Begrænset skattepligt af udbytte

           I henhold til selskabsskattelovens § 2, stk. 1, litra c, er udenlandske modtagere af udbytte fra Danmark
           som udgangspunkt begrænset skattepligtige til Danmark af udbyttet. Skattesatsen for den begrænsede
           skattepligt udgør 27 pct. svarende til den udbytteskat, der ifølge kildeskattelovens § 65, stk. 1, er inde-
           holdt ved udbetaling af udbyttet til den udenlandske aktionær.

4.4        Bestemmelse af den rigtige procentsats

           Der skal således ikke indeholdes den samme skatteprocent i udbytteskat for samtlige aktionærer. Er
           aktionærens skattestatus ikke kendt, indeholdes den højeste skatteprocent (27 pct.). Dette betyder
           dog ikke absolut, at Skattestyrelsen er på den sikre side mht. at indtage lige så meget udbytteskat, som
           der senere hen er retskrav på refusion for. Handler foretaget på udbyttedatoen, der stadig ikke er af-
           viklet på record day, vil medføre en risiko for refusionskrav fra aktiekøbere, der ikke kan vide, hvor me-


      Sagsnr. XX-XXXXXXX                                 Side 156/239
Case 1:18-md-02865-LAK                      Document 836-47                Filed 06/27/22           Page 371 of 462




           get udbytteskat der blev indbetalt. Deres refusionskrav vil derfor altid rette sig mod de 27 pct. udbyt-
           teskat, selv hvis den ultimative sælger ikke var trukket for udbytteskat.

4.5        Kompensationsbetalinger

           Det må lægges til grund, at der er indeholdt udbytteskat, på det udbytte der blev udloddet af de dan-
           ske selskaber.

           En bestemmelse om indeholdelse af udbytteskat på kompensationsbetalingerne, der betales ind i cu-
           stody-kæden af short sellere og ikke på nogen måde i kæden kan skelnes, fra udbyttet der stammer fra
           de danske selskaber, findes ikke. Den i Tyskland i 2006 indførte regel til beskatning af udbyttekompen-
           sationsbetalingen fra short selleren mangler til dato i Danmark.

4.6        Refusion af udbytteskat

           Det fremgår bl.a. af kildeskattelovens § 69 B, stk. 1, at har nogen, der er skattepligtige efter kildeskatte-
           lovens § 2, eller selskabsskattelovens § 2, modtaget udbytte, royalty eller renter, hvori der efter §§ 65-
           65 D er indeholdt kildeskat, som overstiger den endelige skat efter en dobbeltbeskatningsove-
           renskomst, tilbagebetales beløbet inden seks måneder fra told- og skatteforvaltningens modtagelse af
           anmodning om tilbagebetaling.

           Af dobbeltbeskatningsoverenskomsten mellem USA og Danmark fremgår af artikel 10, stk. 3, litra c, at
           udbytte fra et selskab hjemmehørende i Danmark ikke beskattes i Danmark, såfremt den retmæssige
           ejer er en pensionskasse, som om- talt i artikel 22, stk. 2, litra e, der er hjemmehørende i USA. Det er en
           forudsætning, at sådant udbytte ikke hidrører fra udøvelse af virksomhed af pensionskassen eller gen-
           nem et forbundet foretagende.

           Af dobbeltbeskatningsoverenskomstens artikel 22, stk. 2, litra e, fremgår, at en person, der er hjemme-
           hørende i en kontraherende stat, alene skal være berettiget til alle fordele efter denne overenskomst,
           hvis denne person er en juridisk person, hvad enten fritaget for beskatning eller ikke, der er organiseret
           efter lovgivningen i en kontraherende stat med det formål at yde pension eller lignende ydelser efter
           en fastsat ordning til arbejdstagere, herunder selvstændigt erhvervsdrivende. Det er en forudsætning,
           at mere end 50 pct. af denne persons begunstigede, medlemmer eller deltagere er fysiske personer,
           som er hjemmehørende i en af de kontraherende stater.

           Hverken Skattestyrelsen eller Skatteankestyrelsen dementerer, at ansøgeren om refusion var en ameri-
           kansk 401K-pensionsplan organiseret efter lovgivningen i USA med det formål at yde pension efter en
           fastsat ordning til arbejdstager, herunder selvstændige erhvervsdrivende.

           Idet det om anført ovenfor må lægges til grund, at den omhandlede pensionsplan har været såvel civil-
           retlige som skatteretlige ejer af de omhandlede aktier og udbytter, må det derfor lægge til grund, at
           pensionsplanen opfylder betingelserne for refusion efter kildeskatteloven og den dertilhørende be-
           kendtgørelse. Og der er som anført ikke grundlag for at nægte refusionen med henvisning til utilstræk-
           kelig indeholdelse af udbytteskatten.

           5 DOKUMENTATION FOR SKATTEMÆSSIGT RETSMÆSSIGT EJERSKAB

           Der findes ingen entydig dokumentation for skattemæssigt retmæssigt ejerskab. Dette er også bekræf-
           tet af den tværministerielle arbejdsgruppe (jf. notatet af den 27. juni 2016, side 2, bilag 5a):




      Sagsnr. XX-XXXXXXX                                  Side 156/239
Case 1:18-md-02865-LAK                 Document 836-47                Filed 06/27/22            Page 372 of 462




               “Ved kortlægning af gældende civilretlige regler er det bl.a. konstateret, at der
               ikke findes regler, der sikrer, at det er muligt at identificere de konkrete ejere af
               værdipapirer.“

      Dette hænger sammen med, at skattemæssigt ejerskab ikke registreres nogen steder. Det eneste, der
      registreres, er civilretligt ejerskab – og det sker ved hver enkelt investor-custodian i henhold til EU's
      CSD-direktiv og Finality-direktivet.

      I det følgende vil den for civilretligt ejerskab foreliggende dokumentation derfor blive gennemgået.

      5.1 Den i praksis foreliggende dokumentation for et skattemæssigt retsmæssigt ejerskab

      5.1.1 Broker confirmations (handelsnotaer)

      Den endelige og bindende aftale mellem køberen og sælgeren af en aktie, der medfører, at køberen
      umiddelbart bliver ejer af aktien, bliver for dematerialiserede aktier indgået elektronisk gennem en
      fondsmægler (broker).

      Børsnoterede aktier kan i henhold til kapitalmarkedsloven og den underliggende EU-lovgivning ikke
      handles uden deltagelse af (autoriserede og kontrollerede) fondsmæglerfirmaer. Af brokere føres
      købs- og slagsordre sammen ved en elektronisk transaktion kaldet ”matching”. Ved ejermatching-
      handler agerer brokeren som sælger af aktien til sin egen kunde. Brokeren køber aktien fra en anden
      kunde eller en anden broker.

      Da selve indgåelsen af aftalen, der overdrager ejerskabet til aktien til køberen, er en rent elektronisk
      proces, kan dokumentationen heraf kun ske ved (1) undersøgelse af computeren, hvor købs- og slags-
      ordre blev ført sammen, eller ved (2) in- direkte beviser som handelsnotaen (= broker confirmations),
      der efterfølgende udstedes som fysisk dokumentation for, at en elektronisk kontrakt er indgået.

      Det skal hertil bemærkes, at handelsnotaen i sig selv ikke er selve kontrakten, der overdrager ejerska-
      bet til aktierne. Eventuelle menneskelige fejl (såsom brug af den forkerte skabelon, der henviser til køb
      (”BUY”) i stedet for salg (”SALE”), eller forkerte datoer, beløb eller lignende trykfejl i en broker confir-
      mation er uden nogen relevans for gyldigheden af selve købekontrakten, der blev indgået ved den
      elektroniske matching. Officielle statistikker fra USA viser da også, at ca. 10 pct. af alle broker confirma-
      tions er fejlbehæftede, jf. præsentation fra konference i USA, jf. præsentation fra ACA’s Spring 2015
      Compliance Conference, der fremlægges som bilag 84.

      Selve kontrakten vedrørende køb af de dematerialiserede aktier er en ren elektronisk sammenføring af
      købs- og salgsordre. En sådan elektronisk kontrakt har i henhold til EU-lovgivningen (forordning
      910/2015) samme retsvirkning og bevisværdi som en fysisk kontrakt udarbejdet i papirform.

      MIFID II, der i Danmark er gennemført ved kapitalmarkedsloven, har indført regler for en markeds-
      struktur, der sikrer, at handel finder sted på regulerede markedspladser. For at opnå en bedre beskyt-
      telse af investorer har MIFID II pålagt alle aktier og andre finansielle instrumenter en handelsforplig-
      telse på ”regulerede handelsfaciliteter” (”trade obligation”, artikel 23 i MIFID). Det betyder, at enhver
      ordre til køb af aktier, der afgives af en kunde til en fondsmægler – der skal have adgang til en regule-
      ret handelsfacilitet – obligatorisk skal føre til en matching, dvs. indgåelsen af en endelig og bindende
      aftale om køb af aktier. Fondsmæglere er undergivet en ikke-diskretionær pligt til at gennemføre han-
      delsordrer via en tilfældig, elektronisk computerstyret ”matching-procedure”.




 Sagsnr. XX-XXXXXXX                                  Side 156/239
Case 1:18-md-02865-LAK                 Document 836-47                Filed 06/27/22            Page 373 of 462




      Idet såvel aktierne selv som også kontrakten, ved hvilken ejerskabet til aktierne overdrages, udeluk-
      kende eksisterer i elektronisk form, forefindes dokumentationen for begge dele kun i elektronisk form.
      Fysiske beviser for at aktierne findes, og at ejerskabet hertil er overdraget, er ikke mere end dokumen-
      ter, der efterfølgende udstedes til bevisbrug.

      Handelsnotaen er således et stykke papir, der repræsenterer det faktum, at der er indgået en elektro-
      nisk købsaftale.

      Handelsnotaen må ikke – som Skattestyrelsen gør det i styrelsens sammenfattende indlæg af den 9.
      august 2019 – forveksles med den elektroniske instruktion fra handelsplatformen – hvor matching er
      sket – til clearing-agenten og custodian om at afvikle handlen.

      Handelsnotaen udstedes først, når der fra brokeren er givet instruktioner til clearing-agenten om afvik-
      ling af den endelige og bindende købekontrakt. Disse instruktioner sætter en afvikling i gang, som ikke
      kan stoppes igen. Af netop denne grund hæfter clearing-agenten for betalingen og leveringen af ak-
      tierne.

      De enkelte trin, der gennemføres ved købet af en aktie, kan skitseres, som følger:




                                                                               Kobs ordre
                                              K0ber
                                                                               Handelsnota


                                                    Handels
                         Bekreeftigelse af
                                                    lnstruktioner                               Maegler
                         afvikling



                                         , Clearing                    Handels lnstruktioner

                         lc90~till0~          Agent
                         Rapport                                                   Bekreeftigelse af
                                                                                   ebti!,liog


                                             London
                                              Stock
                                            Exchang


      5.1.2 Custody statements og DCA

      På trods af at clearing og afvikling (settlement) af en aktiehandel, der fører til at aktien registreres i kø-
      berens depot hos dennes custodian, ikke er nødvendig for at blive ejer af en dansk aktie, blev pensions-
      planens aktiehandler clearet og afviklet, og aktierne registreret i dens depot hos custodian.


 Sagsnr. XX-XXXXXXX                                  Side 156/239
Case 1:18-md-02865-LAK                   Document 836-47                Filed 06/27/22           Page 374 of 462




         Dette dokumenteres ved de fremlagte custody statements. Udskriften fra værdipapirdepotet (custody
         statement) dokumenterer, at en aktiehandel er blevet clearet, og aktieoverdragelsen afviklet (settle-
         ment er sket), og at den dematerialiserede aktie befinder sig på køberens depotkonto.

         Der findes ingen pligt til at opbevare danske værdipapirer i et depot ved VP Securities eller i en dansk
         bank. Manglen på en depotudskrift fra et sådant institut er derfor intet indicium for, at investoren ikke
         ejer en dansk aktie.

         Ingen aktionær har krav på at få oplyst af sin custodian, hvor denne har sine underdepotkonti. Sanjay
         Shah oplyser ikke engang til High Court i London (jf. hans processkrift, der fremlægges som bilag 85,
         punkt 56.1.4 og 56.1.5) i hvilke banker Solo-gruppen havde sine depotkonti. Manglen på præsentation
         af en kæde af subcustodians fra aktionærens egen depotkonto til et depot hos VP Securities kan derfor
         ligeledes ikke være et indicium for, at aktionæren ikke er ejer af en dansk aktie.

         Ud over et custody statement modtager ejeren af en aktie også den af SKAT oprindeligt forlangte Divi-
         dend Credit Advice (DCA). Denne udstedes af custodian, når aktiehandlen er afviklet, og udbyttet er
         modtaget.

         De fremlagte custody statements og DCA dokumenterer således at pensionsplanen ikke blot indgik en
         endelig og bindende aftale om køb af aktier, men at disse aftaler også blev ”gennemført” – som Skat-
         testyrelsen gerne lægmandsagtigt ønsker at formulere sig. Korrekt ville Skattestyrelsen tale om, at
         handlerne var blevet afviklet eller afregnet.

         Om handlerne med aktierne blev afviklet (clearing og settlement) ved en ”fysisk” levering af aktierne
         ved en ”de-registrering” hos sælger og en ”registrering” hos køber og en dertilhørende transfer af ak-
         tier mellem sælgers og købers custodian, eller om handlen blev afviklet ved brug af netting (med den
         konsekvens, at der eventuelt slet ikke sendtes en nettorapport til VP Securities – hvis nettoresultatet er
         0), er i denne forbindelse irrelevant.

         5.2 Dokumentation for pensionsplanens skattemæssigt retmæssige ejerskab

         Dokumentation for hvert eneste skridt i gennemførelsen af en komplet udbyttearbitrage transaktion er
         blevet fremlagt, i det omfang den stadig er til stede. De 12 enkelte skridt kan opsummeres, som følger:

1        Ordre til køb af aktier afgives pr. e-mail til brokeren, som her fremlægges som bilag 86. Samtidig infor-
         meres clearing-agenten om, at denne ordre er afgivet, og pensionsplanen beder om tilsagn om at af-
         vikle købet, hvis det matches.
2        Clearing-agenten giver tilsagn til aktiekøbet (hvilket indirekte betyder en garanti for afviklingen og be-
         talingen af aktierne i clearing-agentens egen- skab af prime broker) – dette tilsagn gives i sig selv elek-
         tronisk og kan derfor ikke fremlægges i form af et papirdokument, men det bekræftes også via e-mail,
         jf. bilag 80.
3        Den elektroniske matching af købsordren og derved indgåelsen af en bindende aftale om køb af ak-
         tierne bliver bekræftet af mægleren (broker) pr. e-mail. Selve matchingen er en elektronisk proces,
         som man ikke kan dokumentere i sig selv, dog bekræfter mægleren handlen pr. e-mail, som er fremlagt
         som bilag 86. Senere sender brokeren handelsnotaen, som er fremlagt som bilag 11.
4        Faktura fra fondsmægleren (broker) bliver modtaget pr. e-mail. Er frem- lagt som bilag 11.
5        En broker confirmation (handelsnota) bliver modtaget pr. e-mail, jf. bilag 11.
6        Ordre til at sælge aktier gennem en forwardkontrakt bliver afgivet pr. e- mail, jf. bilag 86.
7        Bekræftelse vedrørende forwardkontrakten bliver modtaget pr. e-mail, jf. bilag 80.
8        Ordre vedrørende aktieudlån bliver afgivet pr. e-mail, jf. bilag 86.
9        Bekræftelse af aktieudlån bliver modtaget pr. e-mail, eksempel fremlægges som jf. bilag 80.


    Sagsnr. XX-XXXXXXX                                 Side 156/239
Case 1:18-md-02865-LAK                    Document 836-47                Filed 06/27/22           Page 375 of 462




10        De enkelte skridt til at sælge aktierne igen svarer til de, der er beskrevet under punkt 1-5 i forbindelse
          med købet af aktierne.
11        Den åbne forwardkontrakt bliver lukket ved at placere en ordre til at købe en forwardkontrakt (jf.
          punkt 6 og 7).
12        Aktieudlånet bliver kaldt tilbage pr. e-mail, hvilket også blev bekræftet pr. e-mail (jf. punkt 8 og 9).

          Idet selve aftalen om overdragelsen af ejerskab til en aktie indgås rent elektronisk (ved matching af
          købs- og salgsordre i computersystemerne), er handelsnotaen (broker confirmation), der udstedes, ef-
          ter handlen er indgået, blot en bekræftelse af, hvad der elektronisk er sket. Skrivefejl i en broker-con-
          firmation har derfor ---
                               ingen indflydelse på, om der foreligger en endelig og bindende aftale.

          Clearing- og afvikling af aktiehandlen sker ligeledes elektronisk på computersystemer, som kunderne
          (pensionsplanen) ikke har adgang til. Pensionsplanen har kun adgang til de e-mails, de selv har sendt og
          modtaget, samt den dokumentation, der efter handlen udstedes som dokumentation: en broker con-
          firmation (handels- nota), et DCA (Dividend Credit Advice) og et custody statement (kontoudtog over
          depotkonto). Andre dokumenter kan pensionsplanen ikke have i sin besiddelse som dokumentation for
          ejerskabet.

          Pensionsplanen har fremlagt følgende dokumentation for at eftervise købet og ejerskabet af aktierne,
          finansieringen af aktiekøbene og modtagelse af udbyttet:

1         Ordre til køb og salg af aktier (e-mails). Når sådanne e-mails matches, sluttes kontrakten til køb eller
          salg af aktier
2         Broker confirmations = handelsnotaer, der viser, at der er indgået en elektronisk kontrakt om køb eller
          salg af aktier
3         Dividend Credit Advice: Viser ikke kun ejerskab af aktier, men også modtagelse af et nettoudbytte
4         Custody statements, der viser aktieposterne, aktieudlån og forward hedgen.
5         E-mails vedrørende clearing og afvikling af transaktionerne
6         GMSLA-rammeaftaler samt e-mails, der i hvert enkelt tilfælde konkretiserer betingelserne for det en-
          kelte aktieudlån. Pensionsplanen har hermed fremlagt ”al korrespondance om aktielån”. Skattestyrel-
          sens påstand på side 17 er forkert. Skattestyrelsens opfordring i styrelsens 3. indlæg om at fremlægge
          al korrespondance er blevet besvaret.

          Herudover har pensionsplanen fremlagt dokumentationen i forbindelse med kontoåbningsproceduren
          hos de forskellige finansielle virksomheder, der var involveret i aktietransaktionerne.

          Det er således ikke korrekt, når Skattestyrelsen påstår, at ingen af pensionsplanerne har fremlagt

                   ”nogen form for fysisk eller elektronisk dokumentation for de- res tidligere aktie-
                   besiddelser (som udgjorde grundlaget for deres refusionsanmodninger)” (indlæg
                   af den 9. maj 2019, pkt. 1)

          Skattestyrelsen forlanger på den ene side, at Landsskatteretten skal se bort fra de selvsamme doku-
          menter, som styrelsen på den anden side samtidig påstår, ikke eksisterer. Dokumenterne, som pen-
          sionsplanen havde i sin besiddelse, og yderligere dokumentation, som den har fremskaffet, eftersom
          Skattestyrelsen tilsyneladende ikke var tilfreds med den allerede fremlagte dokumentation, er indleve-
          ret til Skatteankestyrelsen.

          I et forsøg på at bringe den fremlagte dokumentation i miskredit påberåber Skattestyrelsen sig, at de
          virksomheder, der udstedte dokumentationen, var uærlige og udstedte falsk dokumentation. Herved
          ignorerer Skattestyrelsen komplet, at hverken nogen af de involverede uafhængige virksomheder, re-


     Sagsnr. XX-XXXXXXX                                 Side 156/239
Case 1:18-md-02865-LAK                 Document 836-47                Filed 06/27/22           Page 376 of 462




      visorer, finanstilsyn eller andre offentlige myndigheder til dato har påstået eller dokumenteret at, no-
      gen af de påberåbte dokumenter i sagen skulle være falske.

      Taget i betragtning at elektroniske dokumenter har almindelig bevisværdi, og købekontrakterne, der
      umiddelbart førte til, at pensionsplanerne blev ejere af de danske aktier, blev indgået elektronisk gen-
      nem fondsmæglerne, er det denne elektroniske matching, der skal dokumenteres i denne sag. Denne
      elektroniske matching er pensionsplanen ikke i besiddelse af, da den sker hos fondsmæglerne, dvs. på
      den handelsplatform hvor mæglerne agerer.

      Efter den elektroniske matching, der udgør selve købekontrakten, udstedes diverse dokumenter i fysisk
      form. Disse kan have skrive- og trykfejl, som dog er uden betydning for gyldigheden af kontrakten, der
      allerede var sluttet elektronisk.

      Umiddelbart efter den elektroniske matching af købs- og salgsordre gives instruktioner videre til clea-
      ring og afvikling. Clearing og afvikling af handlen er et yderligere bevis for, at der tidligere var indgået
      en købskontrakt. Dette yderligere bevis kan pensionsplanen dog ikke levere, da Solo-gruppens compu-
      tere er blevet beslaglagt.

      KONKLUSION PÅ FØRSTE DEL

      Pensionsplanen blev den skattemæssigt retmæssige ejer af aktierne og modtog udbytte fra de danske
      selskaber, idet også kompensationsbetalingen fra en short seller må betragtes som udbytte i henhold
      til den dansk-amerikanske dobbeltbeskatningsoverenskomsts artikel 10, eftersom ingen ejer af en aktie
      kan skelne mellem aktier købt af short sellere og aktier købt af long ownere.

      Ligestilles kompensationsbetalingen ikke med et ægte udbytte fra selskabet selv, vil dette – ud over de
      rent faktuelle problemer, der opstår, når ingen kan skelne mellem kompensationsbetalingen og udnyt-
      tet i kæden af custodians – også medføre, at modtageren af kompensationsbetalingen ikke vil være
      skattepligtig heraf, idet den så heller ikke vil være omfattet af statsskattelovens § 4. Enhver dansk skat-
      tepligtig modtager af et udbytte ville i det tilfælde påberåbe sig at have modtaget en kompensations-
      betaling og ikke et ægte udbytte.

      Pensionsplanens ejerskab af aktierne er også dokumenteret ved alle de af EU-lovgivningen forlangte
      dokumenter for ejerskab. Yderligere dokumentation kan ingen fremlægge som bevis for skattemæssigt
      retmæssigt ejerskab.

      DEL 2: SKATTESTYRELSENS SYNSPUNKTER BEROR PÅ ET UDO- KUMENTERET OG FORKERT GRUNDLAG
      – IKKE GRUNDLAG FOR TILBAGEKALDELSE

      6 SKATTTESTYRELSENS MANGLENDE SAGSOPLYSNING

      Det skal i særlig grad fremhæves, at Skattestyrelsen – på linje med alle andre myndigheder – har haft
      ansvaret for at oplyse sagen tilstrækkeligt, inden Skattestyrelsen traf afgørelse i sagen.

      Dette er et helt grundlæggende princip i dansk forvaltningsret. Princippet – benævnt officialprincippet
      eller officialmaksimen – er ikke lovfæstet, men udtryk for noget så grundlæggende, at det i teorien an-
      tages, at det er udtryk for en almindelig retsgrundsætning.

      Formålet med officialprincippet er at understøtte, at der træffes materielt lovlige og rigtige afgørelser.




 Sagsnr. XX-XXXXXXX                                  Side 156/239
Case 1:18-md-02865-LAK                Document 836-47                Filed 06/27/22           Page 377 of 462




      Officialprincippet hører til de såkaldte garantiforskrifter, og hvis en sag er utilstrækkeligt oplyst, kan
      det betyde, at afgørelsen må tilsidesættes som ugyldig. Det kan også betyde, at sagen må genoptages,
      så de manglende undersøgelser kan blive foretaget.

      I nærværende sag har Skattestyrelsen i vidt omfang forsømt at overholde officialprincippet. Dette er
      særligt kritisabelt, når henses til den ekstraordinært store sagsgenstand og de meget alvorlige beskyd-
      ninger, og den heraf afledte store betydning for pensionsplanerne og disses ejere.

      I den forbindelse skal særligt fremhæves den manglende rapport fra den 19. juni 2018 fra Deloitte, der
      var udarbejdet på anmodning fra Kammeradvokaten v/Boris Frederiksen. I Deloitte-rapporten er fulgt
      den komplette pengestrøm til Solo Capital-gruppens kapitalkonto hos Barclays Bank, men Skattestyrel-
      sen har imidlertid ikke fremlagt denne rapport i sagen.

      Dertil kommer, at Skattestyrelsen ikke har fået kopi fra SØIK af de oplysninger, der er relevante for sa-
      gerne, herunder særligt de oplysninger, som er relevante for dokumentation af de omtvistede aktie-
      transaktioner og modtagelsen af udbytte mv.

      Skattestyrelsen har endvidere forsømt at indhente relevante oplysninger hos de mange professionelle
      udenlandske aktører og udenlandske kontrol- og tilsynsmyndigheder.

      Skattestyrelsen har tilsyneladende end ikke orienteret sig hos VP Securities om, hvordan værdipapiraf-
      viklingen foregår i praksis, herunder hvad der sker med udbyttet, når et aktiekøb ikke er afviklet endnu
      på record day. Dette er særligt kritisabelt når henses til den helt centrale betydning, som afviklingen af
      market claim processen har i nærværende sag.

      Forsømmelsen af at indhente relevante oplysninger skal ses i lyset af, at SKAT via sine kontrolbeføjelser
      har reel mulighed for at indhente de af SKAT efterspurgte oplysninger.

      I nærværende sag har SKAT imidlertid baseret sin opfattelse på udokumenterede antagelser om pen-
      sionsplanernes manglende ejerskab og udlån af de omhandlede aktier. SKAT har således ikke ført noget
      egentligt bevis for påstanden om manglende ejerskab mv., og påstanden er således aldeles udokumen-
      teret.

      Ved afgørelsen af nærværende sag er det meget væsentligt at holde sig for øje, at manglende tilstræk-
      kelig sagsoplysning ikke kan komme pensionsplanerne til skade. Dette gælder særligt, når Skattestyrel-
      sen, der som anført har en række særlige værktøjer til oplysning af sagen, er den nærmeste til at op-
      lyse en række af sagens forhold.

      Den manglende sagsoplysning må således i enhver henseende komme Skattestyrelsen til skade.

      7 FREMLAGT OG MANGLENDE DOKUMENTATION

      7.1 Skattestyrelsens udokumenterede påstand om falsk dokumentation

      Idet Skattestyrelsen meget vel erkender, at de fremlagte dokumenter (aftaler, e- mails, custody state-
      ments, DCN’er) tilsammen beviser, at pensionsplanen var ejer af aktierne, modtog nettoudbyttet og
      havde retskrav pa refusion, forsøger Skatte- styrelsen at overbevise Landsskatteretten om at se bort fra
      denne dokumentation, under påstand om at denne angiveligt skulle være ”falsk”.

      Skattestyrelsen tøver stadig med udtrykkeligt at påberåbe sig dokumentfalsk. Dette, sandsynligvis på
      baggrund af at ingen af de involverede uafhængige virksomheder, der har udstedt disse dokumenter,


 Sagsnr. XX-XXXXXXX                                 Side 156/239
Case 1:18-md-02865-LAK                 Document 836-47                Filed 06/27/22            Page 378 of 462




      er blevet sigtet for dokumentfalsk af hverken de ansvarlige revisorer, finanstilsyn eller anklagemyndig-
      heder. End ikke den omfangsrige dokumentation, der er blevet fremlagt af de hundredevis af stævnede
      personer for domstolene over hele verden, hvor Skattestyrelsen har startet en stormflod af civile søgs-
      mål, har frembragt nogen form for bevis at der skulle være tale om dokumentfalsk.

      Skattestyrelsen forsøger at afkræfte bevisværdien af den fremlagte dokumentation og benægte realite-
      ten i transaktionerne ved at fremhæve trykfejl og andre mangler i de fremlagte papirer. Skattestyrelsen
      mener, at disse fejl skulle være mistillidsskabende.

      Hertil skal indledningsvis bemærkes, at denne sag ikke er en sag om trykfejl i diverse dokumenter. Det
      er en sag om, hvordan man bliver ejer af en dansk aktie, og om hvorvidt pensionsplanerne har modta-
      get et nettoudbytte fra deres aktier.

      Ved en gennemgang af de omtalte fejl og mangler ses, at der gennemgående er tale om menneskelige
      trykfejl. Disse fejl er netop udtryk for realiteten i transaktionen og dokumentationen heraf. Havde bro-
      kernes og Solo-gruppens eneste opgaver og formål været at fremstille falske dokumenter – og ikke,
      som det i virkeligheden var tilfældet, at matche købs- og salgsordrer (brokernes virkelige opgave) og
      cleare og afvikle reelle aktiehandler (Solo-gruppens virkelige opgave) – må det formodes, at så mange
      selskaber med så mange medarbejdere i det mindste ville have været i stand til at fremstille korrekte
      ”falske” dokumenter uden trykfejl eller andre mangler. Da Solo-gruppen imidlertid koncentrerede sig
      om clearing, afvikling og opbevaring af aktier, traderne koncentrerede sig om at placere købs- og salgs-
      ordrer samt fremskaffe finansieringen ved at finde låntagere til deres aktieposter, og fondsmæglerne
      koncentrerede sig om at matche købs- og salgsordrer på den alternative markedsplads, var der ingen,
      der bemærkede de for selve transaktionerne ubetydelige menneskelige trykfejl i dokumentationen, der
      blot beviser, hvad aktørerne i virkelighedens verden har gennemført af transaktioner. Rigtige menne-
      sker, der foretager rigtige transaktioner og skal dokumentere dette, laver rigtige fejl. Det er de fejl, som
      Skattestyrelsen under et stort detektivarbejde har identificeret. En perfekt dokumentation uden de i al-
      mindelig aktiehandel normale fejl ville derimod indikere, at materialet var fremstillet til formålet og
      ikke kunne dokumentere reelle aktietransaktioner.

      7.1.1 Fejl i dokumentation fra brokere

      Skattestyrelsen lader til at forveksle menneskelige fejl – der sker helt uden eller nærmere sagt mod de
      handlende personers vilje – og svindel, der kræver forsæt. Hvis Skattestyrelsen for alvor er af den op-
      fattelse, at en skrivefejl i dokumentationen over en aktiehandel gør selve handlen ugyldig eller endog
      svigagtig, er 10 pct. af alle handler i hele verden ugyldige eller svigagtige. En position, som Skattestyrel-
      sen ikke med alvor kan indtage.

      Dokumentationen er jo ikke selve handlen, men det lader Skattestyrelsen også i det sammenfattende
      indlæg i førersagerne af den 9. august 2019, afsnit 8.6, side 70, stadig ikke til at kunne eller ville forstå.
      Skrivefejl kan ske og sker de facto hver dag, også inden for aktiehandel. Aktiehandlerne i sig selv berø-
      res dog ikke af disse skrivefejl. Aktiehandlerne finder korrekt sted, og da de er bundet ind i et så strengt
      reguleret system, kan der ikke svindles med aktiehandel. Det har EU aller- senest med MIFID og MIFIR
      sikret.

      Hvis Skattestyrelsen for alvor er af den opfattelse, at menneskelige skrivefejl medfører, at dokumentet,
      der indeholder en skrivefejl, er fiktivt, svigagtigt eller ikke-eksisterende, så må pensionsplanerne kon-
      statere, at Skattestyrelsen selv må se sig konfronteret med det faktum, at styrelsen i det tilfælde slet
      ikke har sagsøgt nogen i de civile retssager, da Skattestyrelsen i disse sager konstant fejlagtigt har be-
      tegnet sagsøger som ”SKAT”. En fejl, som Skattestyrelsens engelske advokat, Pinsent Masons, har in-
      drømmet over for High Court i London.


 Sagsnr. XX-XXXXXXX                                  Side 156/239
Case 1:18-md-02865-LAK                Document 836-47               Filed 06/27/22            Page 379 of 462




      7.1.1.1 Forskellige handelsdatoer på broker confirmations og custody statements

      Skattestyrelsen fremhæver i styrelsens sammenfattende indlæg, afsnit 5.4.3, side 36, at der skulle
      være

               ”flere tilfælde, hvor handelsnotaerne (bilag 11) ikke stemmer overens med oplys-
               ningerne i custody statements (bilag 10) og Credit Advices (bilag Q)”.

      Heraf følger ganske rigtigt, at custody statements – der i realiteten dokumenterer settlement – ikke
      passer med handelsnotaerne i bilag 11. Custody statements stemmer dog overens med de clearing-til-
      sagn, der blev fremlagt som bilag 80.

      Bilag 11 var en fejlagtig handelsnota vedlagt regningen fra brokeren Sunrise, som blev modtaget længe
      efter transaktionerne.

      Skattestyrelsen fremhæver yderligere, at pensionsplanerne ikke har fremlagt nogen dokumentation
      for, hvordan settlement skulle være sket korrekt, til trods for at handelsnotaerne (angiveligt) var fejlbe-
      hæftede.

      Hertil skal bemærkes, at settlement netop ikke foregår på grundlag af handelsnotaerne. Settlement
      sker på grundlag af de elektroniske clearing- og settlementinstruktioner, som går fra handelsplatfor-
      men, hvor købs- og slagsordre matches, til clearing-agenten og custodian. Sådanne elektroniske afvik-
      lingsinstruktioner, der går fra en computer til en anden, kan pensionsplanerne uden adgang til disse
      computere ikke fremlægge.

      Kun SØIK kan fremlægge denne dokumentation, da de er i besiddelse af computersystemerne.

      Handelsnotaen udstedes først af brokeren (flere uger), efter settlementinstruktionerne er afgivet.

      Efter at have konstateret uoverensstemmelser mellem handelsnotaerne – derud- viser menneskelige
      skrivefejl– og custody statements, analyserer Skattestyrelsen da også i afsnit 5.4.3.1, side 37, datoerne,
      der er angivet som handelsdato og som settlement-dato i de forskellige bilag, og kommer selv til den
      helt rigtige konklusion, at

               ”Der er flere forhold, som kunne tyde på, at uoverensstemmelsen mellem custody
               statement og handelsnotaen skyldes en fejl begået af brokeren”

      Disse skrivefejl i en broker confirmation gør dog ikke selve aktiehandlen, der sker ved elektronisk mat-
      ching af købs- og salgsordre, ugyldig.

      Betydningen, som pensionsplanerne henviser til, at handelsnotaerne har som dokumentation i sagen,
      er ikke en betydning, som pensionsplanerne har opfundet, sådan som Skattestyrelsen antyder. Lovgi-
      ver har i modsætning til Skattestyrelsen forstået, at når settlement af en handel – hvilket i dansk sprog-
      brug betegnes som ”afvikling” eller ”afregning” – ikke er nødvendigt for at blive ejer af en aktie, så må
      dokumentationen, man kan finde for handlen, findes et andet sted. Dokumentationen må findes for
      den købekontrakt, der indgås elektronisk ved matching af købs- og salgsordre.

      En sådan dokumentation er handelsnotaen. Hvis en sådan handelsnota indeholder fejl, betyder dette
      dog ikke, at handlen ikke har fundet sted. Handelsnotaen er blot udtryk for det, der er sket elektronisk.




 Sagsnr. XX-XXXXXXX                                 Side 156/239
 Case 1:18-md-02865-LAK                   Document 836-47                Filed 06/27/22           Page 380 of 462




          Når uafhængige, autoriserede og kontrollerede fondsmæglere har udstedt disse handelsnotaer, er det
          udtryk for, at de under deres professionelle ansvar har gennemført en handel.

          Det bemærkes hertil, at en handel er gennemført, allerede når købs- og salgsordre er matchet. Skat-
          testyrelsen tager fejl i styrelsens påstand om, at pensionsplanerne ikke har dokumenteret, at en aftale
          om køb af aktier er blevet gennemført. Da ejerskabet skifter til køberen, når kontrakten indgås, er kon-
          traktens indgåelse i sig selv også gennemførelsen.

          En broker confirmation er blot dokumentation for, at en elektronisk aftale er indgået. Det er ikke selve
          aftalen. Der, hvor selve indholdet af aftalen manifesterer sig, er registreringen af det købte antal aktier
          på depotkontoen hos custodian. Dette vises i custody statements.

          Custody statements indeholder de korrekte datoer, og disse bekræftes og understøttes af de handels-
          e-mails, der er fremlagt i sagerne. Handlen blev indgået ved at matche de ordrer, der fremgår af e-
          mails.

          Handelsdatoen i de fremlagte e-mails passer til handelsdatoen i custody statements og i DCA. Det er
          udelukkende mægleren, der har begået en fejl i udarbejdelsen af dokumentationen, der var vedlagt
          hans regninger.

7.1.1.2   Handelsnotaer forveksler køb og salg

          Den af Skattestyrelsen konstaterede henvisning til et køb af aktier, mens custody statements viser et
          salg, er ligeledes udtryk for en menneskelig fejltagelse. Pensionsplanen, der tydeligvis koncentrerede
          sig om at gennemføre aktiehandlerne og verificere, at de bestilte henholdsvis solgte aktier blev ordent-
          ligt registret på pensionsplanens depotkonto, har ikke bemærket denne skrivefejl i handelsnotaerne
          modtaget fra pensionsplanens mægler. Pensionsplanens ordre var overensstemmende med registre-
          ringen på pensionsplanens depotkonto. Ofte modtog pensionsplanen også først handelsnotaerne, flere
          uger efter en aktietransaktion var gennemført.

          Pensionsplanen har som følge af Skattestyrelsens skrivelse været i kontakt med brokeren og kan heref-
          ter oplyse, at det helt åbenbart var en menneskelig fejl foretaget at den ansatte medarbejder, der
          skulle udstede handelsnotaen. Medarbejderen brugte den forkerte skabelon, hvor der standardmæs-
          sigt var anført ”BUY”, og ikke skabelonen med ”SALE”.

7.1.1.3   Handelsnota angiver pris som ”#####”

          Også eksemplet på en handelsnota fra brokeren Bastion Capital London Ltd., hvor prisen på salget af
          7.884 Mærsk-aktier er angivet som ”#########” (bilag AA, side 57) er tydeligvis en computerfejl.

          Pensionsionsplanen har som ovenfor anført heller ikke tidligere bemærket denne trykfejl, idet en bro-
          ker confirmation først modtages, længe efter selve aktietransaktionen er gennemført.

          Fejlen er som dokumenteret ved e-mails af den 7 januar og 16. maj 2019 fra Bastion Capital London
          Ltd., der fremlægges som bilag 88 og 89, også blevet bekræftet af brokeren Bastion Capital London Ltd,
          idet det anføres, at feltet ikke indeholdt et antal, men kun ”####”, da feltets størrelse var indstillet med
          for få tegn til at kunne gengive det korrekte beløb. Bastion Capital London Ltd. har herefter udstedt en
          korrigeret broker confirmation. Dette er der intet ”mystisk” i, selvom Skattestyrelsen gerne vil se en
          mystik, i alt hvad der foregår i denne sag. Sagens faktum er blot redegjort for og dokumenteret, såle-
          des som Skattestyrelsen har opfordret til.



   Sagsnr. XX-XXXXXXX                                    Side 156/239
Case 1:18-md-02865-LAK                Document 836-47               Filed 06/27/22           Page 381 of 462




      Naturligvis har pensionsplanernes repræsentanter anmodet brokeren om at ud- stede en korrekt bro-
      ker confirmation, nu efter fejlen er opdaget ved Skattestyrelsens detektivarbejde.

      At Adrian Mildne udstedte den nye broker confirmation, selvom han i dag ikke længere arbejder for sin
      brors virksomhed, Bastion Capital London Ltd., har den enkle forklaring, at han stadig har formularen
      på sin computer, og at det var hans fejl, at formularen var indstillet med for få tegn. Adrian Mildne
      kunne derfor også så længe efter transaktionerne bekræfte, at feltet simpelthen var forkert indstillet,
      for han havde jo stadig originalen på sin computer. De reelle, originale transaktioner var registreret i
      hans computer. Om det nu er Adrian Mildne eller hans bror, Patrick Mildne, der underskriver en formu-
      lar, der oprindeligt – i original – stammer fra en computer, som Adrian Mildne i det mindste har en kopi
      af, er for så vidt underordnet. Det svækker på ingen måde troværdigheden af den fremlagte dokumen-
      tation.

      7.1.1.4 Handelsnotaer tager ikke højde for helligdage

      Skattestyrelsen mener, at handelsnotaerne fejlagtigt ikke skulle have taget højde for helligdage og an-
      fører hertil, at hverdage skal fastlægges, ud fra markedet i det land hvor aktien handles. Om dette nu
      er rigtigt eller ej – hvorfor skulle en OTC- handel, der gennemføres af udlændinge ved udenlandske
      brokere, og som afvikles af udenlandske clearing-agenter og custodians, holde sig til danske hverdage?
      – er herved ikke af afgørende betydning.

      Faktum er, som Skattestyrelsen selv angiver det, at handlen i realiteten blev afviklet T+3 i henhold til
      den danske helligdagskalender. Handelsnotaen fra Sunrise Brokers var endnu en gang som så ofte fejl-
      agtig, da den viste T+6. Denne trykfejl betyder dog ikke, at det aftalte ikke blev overholdt. Det aftalte
      var indholdet i computeren, som SØIK har beslaglagt.

      7.1.1.5 Fejl i andre handelsnotaer

      De af Skattestyrelsen fremhævede fejl i handelsnotaer fra andre sager, der ikke er førersager, bekræf-
      ter kun pensionsplanernes udsagn om, hvor mange trykfejl der var i de for selve forretningen ”udbytte-
      arbitrage” uvæsentlige bekræftelser af, hvad der var sket i realitetens verden. Den endelige og bin-
      dende aftale er en elektronisk transaktion, og den var der ingen fejl ved. Dette dokumenteres af de
      fremlagte custody statements.

      Pensionsplanerne var klar over, at de var engagerede sig i udbyttearbitrage, og at de pga. den margi-
      nale profit, de kan realisere, på hver en aktie de ejer, er nødt til at erhverve enorme aktiemængder.
      Dette kan naturligvis kun lade sig gøre ved at anvende service providere, der tilbyder de nødvendige
      tjenesteydelser som en ”fabriksvare”. Som i enhver anden fabrik betyder stigende produktion også en
      stigende mængde fejl.

      Taget i betragtning, hvor mange transaktioner der er gennemført af pensionsplanerne, og hvor mange
      enkelte skridt der er nødvendige, for at dette alt sammen falder på plads, er det virkelig bemærkelses-
      værdige ikke, at der er fejl i den efterfølgende dokumentation, men hvor få der i virkeligheden er.

      7.1.2 Fejl i dokumentation fra custodian – custody statement og kontoudtog

      Skattestyrelsen lader til at misforstå, hvad det er for dokumentation, der er fremlagt ved kontormøde-
      rne med Skatteankestyrelsen.




 Sagsnr. XX-XXXXXXX                                 Side 156/239
Case 1:18-md-02865-LAK                 Document 836-47               Filed 06/27/22              Page 382 of 462




      Skattestyrelsen skriver således i styrelsens 3. indlæg af den 9. maj 2019, pkt. 3.4, at,

               ”De fremlagte oversigter over bogføringer (bilag 45-49 samt PowerPoint-præsen-
               tation, s. 134) er ikke kontoudtog, men alene udklip fra udaterede Excel-ark, som
               ikke har noget auto- ritativt præg, og hvis oprindelse ikke er dokumenteret.”

      Hertil bemærkes, at oversigten er udarbejdet af Schaffelhuber Müller & Kollegen S.à r.l. til brug for
      kontormøderne til at forklare transaktionerne. Dette blev også oplyst til Skatteankestyrelsen ved kon-
      tormøderne.

      De fremlagte oversigterne er blot et resumé af begivenhederne, som er udarbejdet at Schaffelhuber
      Müller & Kollegen S.à r.l. på basis af de optegnelser over handlerne, som pensionsplanerne havde til rå-
      dighed. Som Skattestyrelsen burde have bemærket, er der intet sted er angivet, at dette er et kontoud-
      skrift fra custodians computersystemer. I det tilfælde ville oversigterne jo havde angivet den enkelte
      custodians navn og være udarbejdet på custodians brevpapir.

      Oversigterne er udarbejdet som et hjælpeinstrument for Skattestyrelsen og Landsskatteretten/Skatte-
      ankestyrelsen til at forstå de enkelte trin af en komplet aktietransaktion, der består i så mange enkelte
      delaspekter. Således giver de mening.

      Skattestyrelsen bemærker videre til disse oversigter:

               ” Oversigterne over bogføringer (bilag 45-49 og PowerPoint- præsentation, s.
               134, fra kontormøderne) rummer ikke alle transaktioner for den givne pensions-
               plan for en given periode, men kun uddrag.”

      Det er ganske rigtigt. Som Skattestyrelsen rigtig bemærker, er der netop tale om et uddrag af bogførin-
      ger af transaktioner. Uddrag betyder, at ikke alt er taget med. For at lette forståelsen har vi kun medta-
      get transaktioner vedrørende en enkelt aktie. Ellers ville oversigten blive uoverskuelig og kompliceret.
      Oversigten var kun udarbejdet som en forklaring af et enkelt eksempel. Oversigten er og skulle ikke
      være et formelt kontoudtog fra et kontoførende institut.

      Skattestyrelsen forstår ikke, hvorfor modtagelsen af refusionen fremgår af oversigterne udarbejdet til
      Skatteankestyrelsen, men ikke af de fremlagte custody statements. Grunden hertil er relativt enkel:
      Som forklaret ved kontormøderne viser nogle sider af custody statements aktiekøb og -salg. Andre vi-
      ser lånetransaktionerne, og andre igen viser forwardtransaktionerne. Custody statements viser såle-
      des alle transaktioner vedrørende aktiepositionerne. Udbytterefusionen blev naturligvis ikke bogført
      på aktiekontiene, men derimod på en ”cash account”. Denne cash account kunne pensionsplanerne lø-
      bende se online. Eftersom Skattestyrelsen lægger så stor vægt på ligeledes at se bevægelserne på kon-
      tantkontoen, har pensionsplanerne under stor anstrengelse kunnet fremskaffe de her som ----bilag 90
      fremlagte kontoudtog over bevægelserne på deres kontantkonto som ført ved deres respektive custo-
      dian.

      Pensionsplanerne har til dato ikke betragtet dokumentation for modtagelse af udbytterefusionen for
      væsentlig for sagen, idet Skattestyrelsen jo godt ved, hvor meget udbytterefusion SKAT har udbetalt til
      pensionsplanernes agent på vegne af pensionsplanerne. Det fremgår jo også tydeligt af Skattestyrel-
      sens egne bilag. Der er heller ingen af pensionsplanerne, der bestrider modtagelsen af udbytterefusio-
      nen.




 Sagsnr. XX-XXXXXXX                                  Side 156/239
Case 1:18-md-02865-LAK                Document 836-47                Filed 06/27/22           Page 383 of 462




      Hvis Skattestyrelsen mener, at udbytterefusionen ikke skulle være tilgået pensionsplanerne, så rejses
      det alvorlige spørgsmål om, hvorfor Skattestyrelsen har stævnet alle pensionsplanerne i USA for tilba-
      gebetaling og derved forårsaget så enorme omkostninger for de danske skatteborgere.

      Den af Skattestyrelsen efterlyste dokumentation for betaling af brokeren, tax agent og custody fee
      fremgår af de her fremlagte cash account statements.

      Den af Skattestyrelsen efterspurgte stock lending fee, der fremgår af oversigten, dækker de samlede
      omkostninger og renter i forbindelse med aktieudlånet. Der er altså tale om totalsummen af begge po-
      steringer, der af custody agreement frem- står som ”stock lending fee” og ”interest”. At oversigten be-
      nytter andre betegnelser end custody statement, er simpelthen fordi disse to ikke er udarbejdet af de
      samme personer. Oversigten er som sagt et resumé og trækker derfor forskellige poster sammen.

      Der er følgelig ikke tale om fejl i de fremlagte custody statements. De uoverensstemmelser, der er kon-
      stateret, er opstået ved de forenklinger, som er foretaget i oversigterne, der er udarbejdet af Schaffel-
      huber Müller & Kollegen S.à r.l., for at forklare transaktionerne på en simpel måde for Skatteankesty-
      relsen.

      Desuden forholder det sig således, at fejlkvotienten i custody statements i henhold til officielle ameri-
      kanske statistikker er 9:1, hvilket betyder at 10 pct. af alle dokumenter vedrørende aktietransaktioner
      er fejlbehæftede. Fejl er således intet udtryk for, at der ikke blev handlet danske aktier, tværtimod.

      7.1.3 Overholdelse af GMSLA

      Skattestyrelsen anfører i det sammenfattende indlæg af den 9. august 2019 i afsnit 3.2.4, side 18, at
      GMSLA’er ikke skulle være overholdt.

      Det anføres i denne forbindelse, at GMSLA’erne skulle forudse en såkaldt ”Marking to market”
      (”MTM”) re-evaluering af værdien af aktierne, og denne svarede til den kontante sikkerhedsstillelse,
      for at sikre at der hverken forelå en over- eller en undersikring.

      Spørgsmålet om en over- eller undersikring har absolut intet at gøre med spørgs- målet om, hvorvidt
      pensionsplanerne var ejere af de danske aktier og modtog ud- bytte. GMSLA’erne forudser derfor både
      i afsnit 5.4.b og i afsnit 5.5.b, at aktielån- tager og aktielångiver kun efter anmodning vil modtage en
      yderligere betaling af sikkerhed eller en tilbagebetaling af den allerede stillede sikkerhed. Det er derfor
      ikke relevant, om 5.4 eller 5.5finder anvendelse.

      Skattestyrelsen kan dog ud fra de fremlagte custody statements, der er udarbejdet for at vise samtlige
      årets transaktioner, ikke se hver enkelt bogføring af den daglige MTM. Det årlige kontoudtog viser et
      sammenfattende beløb i slutningen af året.

      Da vi ikke har adgang til computersystemet ”TAS”, der befinder sig på Solo-gruppens computere, og
      som foretog disse daglige MTM-beregninger – jf. punkt 56.8.3, side 23, i Sanjay Shahs processkrift – og
      ikke har daglige udskrifter fra dette system, har vi ved udarbejdelsen af vores støttedokument til for-
      klaring af transaktionerne heller ikke kunnet optage disse enkelte daglige bogføringer. De ville i øvrigt
      have gjort oversigten totalt uoverskuelig og dermed tilintetgøre hele formålet med et forklarende støt-
      tedokument.

      Idet disse daglige MTM-reguleringer er uden betydning for ejerskabet, er der ikke foretager nærmere
      undersøgelser af forholdet omkring MTM.



 Sagsnr. XX-XXXXXXX                                 Side 156/239
 Case 1:18-md-02865-LAK                 Document 836-47               Filed 06/27/22           Page 384 of 462




        7.1.4 Stock lending rate

        Skattestyrelsen anfører i det sammenfattende indlæg af den 9. august 2019 i afsnit 3.2.5, at stock len-
        ding rate fastsættes arbitrært, og at den aftale rate ikke anvendes.

        Skattestyrelsen tvivler på, at betingelserne for aktielånene forhandles mellem partnerne, blot fordi (1)
        man i de fremlagte e-mails kan se de samme betingelser, og (2) den aftale rente ikke skulle være over-
        holdt.

        Havde Skattestyrelsen set bedre efter, ville man havde set, at der ikke var fastsat nogen låneperiode
        (Term: open). Dette medfører, at pensionsplanen og den professionelle mellemmand i aktielån på et-
        hvert tidspunkt kunne opsige lånet, hvis modparten ikke gik med til ændrede, nye markedsbetingelser.
        At rentesatsen konstant blev ændret mellem parterne, ses, derved at man ikke kan regne baglæns, så-
        dan om Skattestyrelsen forsøger i afsnit 4.5, side 28. Det er forkert kun at anvende en enkelt rentesats
        for hele låneperioden. Da dette er en regelmæssig øvelse, sker det ofte telefonisk. Vi har som bilag 79
        fremlagt enkelte eksempler på e-mails sendt i forbindelse med aftalen om en ”re-rating”.

        Den til ethvert tidspunkt aftalte rentesats blev overholdt. Der gjaldt bare ikke konstant den samme
        rentesats.

        Hvad angår det faktum, at der på en givent tidspunkt er aftalt samme rentesats i alle aktieudlånene, er
        dette en naturlig konsekvens af, at (1) alle pensionsplanerne arbejdede med de samme fem mellem-
        mænd i aktielån (stock loan intermediaries), og disse derfor naturligvis ved indgåelsen af aftalerne an-
        vendte den på det tids- punkt gældende markedsrente, og (2) at der efterfølgende formfrit blev aftalt
        andre rentesatser ved en såkaldt ”re-rating”.

        Hvorvidt pensionsplanerne i deres løbende forhandlinger med mellemmændene i aktielån var i stand
        til at forhandle sig til andre rentesatser, afhang som sagt af det aktuelle marked og pensionsplanernes
        forhandlingsevne.

        7.2 Manglende dokumentation

        Vi vil i det følgende redegøre for den dokumentation, som Skattestyrelsen hævder mangler i nærvæ-
        rende sag.

7.2.1   Købekontrakten over aktierne

        Pensionsplanerne kan ikke umiddelbart dokumentere selve kontrakten, med hvilken aktierne blev købt,
        da denne kontrakt er elektronisk. Den sluttes, når købs- og slagsordre matches.

7.2.2   Pengestrøm og kontoudtog

        7.2.2.1 Pengestrøm

        Skattestyrelsen forlanger af få dokumenteret en pengestrøm til pensionsplanerne. En sådan pengestrøm
        er ikke nødvendig for at blive ejer af en aktie. Ejerskabet erhverves allerede inden betalingen af aktien.

        Da afviklingen af køb (og salg) af aktier foregår efter princippet ”delivery versus payment”, må betalings-
        strømmen for aktierne dog nødvendigvis ske fra en kontantkonto hos custodian. Ellers kan custodian jo
        ikke sikre, at betalingen sker, samtidig med at aktierne leveres til køberens konto.



   Sagsnr. XX-XXXXXXX                                 Side 156/239
Case 1:18-md-02865-LAK                Document 836-47                Filed 06/27/22            Page 385 of 462




      Da betalingen skal ske fra en kontant konto hos custodian, indbetales den kontante sikkerhedsstillelse
      under aktieudlånet ligeledes til denne konto hos custodian. Dette sikrer også, at aktielåntager modtager
      aktierne, på samme tidspunkt som han betaler den kontante sikkerhedsstillelse.

      Også modtagelsen af nettoudbyttet kan kun være sket på pensionsplanens konto hos dens custodian,
      idet pengestrømmen fra selskabet ned igennem sub-custodykæden kun kan nå frem til custodian, ikke til
      nogen som helst anden bank eller finansiel virksomhed.

      Da pensionsplanerne brugte et onlinesystem til at se pengestrømmene til deres egne konti, kan de uden
      computeren fra deres custodian ikke dokumentere alle disse pengestrømme. Det eneste, pensionspla-
      nerne kan vise, er de cash account statements fra deres egne custodians, som de stadig har opbevaret i
      papirform, jf. bilag 90.

      Alle pensionsplanernes pengemidler befandt sig under en TTC-klausul på Solo Capitals konto ved en eller
      flere forretningsbanker.

      Da ingen af de fire custodians i Solo-gruppen havde en banklicens, der tillod dem at opbevare kontante
      midler, blev alle kontante pengemidler opbevaret på Solo Capitals konto i en almindelig forretningsbank.
      Ifølge pensionsplanernes seneste efterforskninger agerede Solo Capital herved subcustodian for sine tre
      datterselskaber (de tre andre custodians) og opbevarede således ikke kun egne kunders pengemidler,
      men også pengemidler tilhørende de tre datterselskaber og deres respektive kunder. Alle pengetransak-
      tioner mellem kunder inden for Solo-gruppen kunne udføres, uden at det førte til bevægelser på Solo Ca-
      pitals konto i dennes bank. Dette var helt i overensstemmelse med det europæiske CSD direktiv
      909/2014 kapitel IV Artikel 9 om internaliseret afvikling.

      Hvilken forretningsbank Solo Capital brugte, ved pensionsplanerne ikke med sikkerhed. Ud fra Sanjay
      Shah’s processkrift til High Court i London lader det dog til, at Solo Capital opbevarede pensionsplanernes
      kontante pengemidler på en konto i Barclays.

      Pensionsplanerne oprettede alle en konto i USA i forbindelse med deres stiftelse – jf. eksempelvis de som
      bilag 91 i førersagerne fremlagte kontoudtog – dog blev disse konti ikke brugt til gennemførelse af aktie-
      transaktionerne og pengestrøm- mene i forbindelse hermed. Kontoudskrifter fra andre banker, der viser
      udbetalinger fra Solo til pensionsplanerne, kan ikke fremlægges, da de ikke havde fået udbetalt deres ge-
      vinst fra deres custodian til en anden bank endnu, da Solo Capital i sommeren 2015 blev lukket ned og sat
      under administration af PwC.

      Pensionsplanerne havde ingen grund til at lade gevinsten fra udbyttearbitrage- transaktionerne udbetale
      til en anden konto i USA, da en udbetaling til de begunstigede ikke umiddelbart stod for døren. Gevin-
      sterne var i førersagerne dog under alle omstændigheder under et beløb, der ville føre til en rapporte-
      ringspligt til IRS.

      Grunden til, at gevinsten, der blev hængende hos pensionsplanerne, var under USD 250.000, er de høje
      transaktionsomkostninger, som er beskrevet i afsnit 2. Ikke mindst Solo-gruppen fakturerede betydelige
      beløb til pensionsplanerne (jf. afsnit 2.3.4.) for deres tjenesteydelser, og for at Solo-gruppen i sidste ene
      måtte indestå som garant for, at aktierne ville blive betalt, hvis en aktielåntager ikke blev fundet i tide.

      7.2.2.2 Strøm af aktier

      Dokumentation af en strøm af aktier (eller udbytte) gennem kæden af custodians kan pensionsplanerne
      ikke fremlægge, da ingen custodian oplyste pensionsplanerne om, hvem deres respektive subcustodian
      er. Men når afviklingen af en aktiehandel ikke er nødvendigt for at være ejer af en dansk aktie, og det


 Sagsnr. XX-XXXXXXX                                  Side 156/239
 Case 1:18-md-02865-LAK                 Document 836-47               Filed 06/27/22          Page 386 of 462




        først er ved afviklingen af en handel, at der eventuelt foretages en ”strøm af aktier” gennem kæden af
        custodians (nemlig hvis der ikke sker en internaliseret afvikling), er en sådan strøm af aktier gennem cu-
        stody-kæden tilmed uden bevisværdi.

        Endelig skal bemærkes, at netting-procedurerne, der anvendes af alle clearing- og afviklingsagenter, fører
        til, at det er umuligt at følge nogen som helst aktie gennem kæden af subcustodians.

        7.2.3 TTC-klausulen

        Skattestyrelsen påstår, at pensionsplanerne ikke har dokumenteret TTC-klausulen. Som forklaret på kon-
        tormøderne, var TTC-klausulen oprindeligt en bestanddel af custody agreements. I 2014 blev denne klau-
        sul taget ud af custody agreements og sat ind i de almene forretningsbetingelser, der skulle accepteres
        online.

        For Pegasus Fox 23 LLC Solo 401K Plan er der i førersagerne fremlagt en custtody agreement, der indehol-
        der TTC-klausulen. I øvrigt er der fremlagt et eksempel på en udskrift fra forretningsbetingelserne, der
        skulle godkendes online. Denne godkendelse kan pensionsplanerne ikke dokumentere, da SØIK har be-
        slaglagt computerne fra Solo-gruppen. Pensionsplanerne har dog fremlagt dokumentation for, at pen-
        sionsplanerne har besluttet at godkende de almene forretningsbetingelser.

7.2.4   Enkelte kontoåbningsdokumenter og transaktionsdokumenter

        For nogle af pensionsplanerne mangler den ovennævnte dokumentation vedrørende transaktionerne og
        kontoåbningsproceduren. Det er hovedsageligt, fordi de respektive pensionsplaners trustees ikke læn-
        gere har adgang til den e-mailkonto, som alle transaktionerne blev afviklet over. Det kan dog formodes,
        at alle transaktionerne for samtlige af de pensionsplaner, som TVC Advokatfirma/Schaffelhuber Müller &
        Kollegen S.à r.l. repræsenterer, og som var kunder i Solo-gruppen, blev gennemført på samme vis. Den
        fremlagte dokumentation fra de øvrige pensionsplaner kan derfor anvendes analogt.

7.2.5   Dokumentation i 2014 og 2015

        For handler gennemført i 2014 foreligger der flere dokumenter end for handler gennemført i 2015. Det
        har den simple årsag, at handlen blev automatiseret i 2015 med indførelsen af softwaresystemerne
        Octave, og BrokerMesh til at varetage opgaverne omkring ordrer (algo trading), handel, clearing og sett-
        lement. Det er kun beklageligt, at Skattestyrelsen nægter eksistensen af algo trading. Pensionsplanerne
        henviser Skattestyrelsen til kapitalmarkedslovens § 3, nr. 18 og nr. 20, der regulerer algo trading.

        Faktum er, at algo traderen foretog valget af aktier, der skulle købes (idet algoritmen kendte udbytteda-
        toen og det udbytte, der blev forventedes udloddet), samt antallet, som hver pensionsplan ville købe.
        Dette skete ud fra programmerede aspekter om finansieringsmuligheder for den enkelte pensionsplan, ri-
        sikoprofil og risiko- spredning etc.

        Skattestyrelsens påstand med hensyn til algo trading (jf. det sammenfattende ind- læg af den 9. august
        2019, side 44), ifølge hvilken

                 ”Hvis der findes en algoritme, som pensionsplanerne anvender, så må den alene være blevet an-
                 vendt til at sløre de påståede aktiehandlers manglende realitet”

        er fuldkommen absurd. Det er ikke slet ikke formålet med algo trading at sløre aktiehandler og deres rea-
        litet.



   Sagsnr. XX-XXXXXXX                                 Side 156/239
Case 1:18-md-02865-LAK                Document 836-47               Filed 06/27/22           Page 387 of 462




      Alle aktiehandler, også de, der blev clearet af Solo-gruppen, blev indrapporteret til myndighederne i Lon-
      don (FCA og børsen) på behørig vis (daglig trade- og transaction reports), som de allerede fremlagte stati-
      stikker fra Finanstilsynet dokumenterer. Disse indrapporteringer ville Skattestyrelsen få bekræftet at
      SØIK, hvis styrelsen blot ville anmode SØIK herom. En sådan bekræftelse kan på ingen måde være til
      skade for eventuelle strafferetlige undersøgelser, der efter 3½ år angiveligt stadig er i gang.

      Det reelle formål med algo trading er at forøge handelsvoluminet med mindre risiko for fejl, idet menne-
      skelig indblanding elimineres mest muligt.

      Algo trading kan heller ikke sløre aktiehandlerne, idet de som allerede nævnt indberettes til finanstilsynet
      (FCA) og børsen (LSE) i London.

      Som resultat af disse indberetninger har den tværministerielle arbejdsgruppe i sit statusnotat af den 27.
      juni 2016 således også kunnet konstatere:

               “I forbindelse med arbejdet i den tværministerielle arbejdsgruppe har udvalget modtaget oplys-
               ninger om handelsstatistik fra Finanstilsynet for årene 2012-2015, der viser aktiehandler for ud-
               valgte børsnoterede danske selskaber. Det fremgår heraf, at der blandt andet er bemærkelses-
               værdigt store aktiehandler omkring tidspunktet for udlodning af udbytte. Arbejdsgruppen har på
               nuværende tidspunkt ikke afdækket årsagen hertil, herunder om handlerne kan være skattemoti-
               verede. SKAT vil undersøge dette nærmere.“

      7.3 Ansvaret for manglende dokumentation

      Skattestyrelsen påstår, at

               ”Pensionsplanerne gemmer sig i den sammenhæng i vidt omfang bag, at danske og engelske
               myndigheder har beslaglagt materiale fra deres custodians”

      Hertil bemærkes indledningsvis, at der ikke er tale om at ”gemme sig”, bag det simple faktum at materia-
      let virkelig er beslaglagt. Det er desværre et faktum i sagen, at myndighederne har beslaglagt de compu-
      tersystemer, der afviklede aktiehandlerne. Pensionsplanerne har derfor ikke mulighed for at eftervise alle
      de elektroniske transaktioner, der foregik efter afgivelsen af ordrer til køb af aktierne.
      Matching af købs- og salgsordre skete elektronisk, clearing og settlement skete elektronisk, og selve op-
      bevaringen og eksistensen af aktierne var elektronisk. Dematerialiserede aktier eksisterer nu engang kun
      i elektronisk form.

      Al dokumentation, der er udstedt, er derfor ikke mere end en fysisk genspejling af, hvad der foregik rent
      elektronisk. Uden adgang til de elektroniske transaktioner er pensionsplanerne begrænset til at frem-
      lægge dokumentationsmateriale i papirform, der ikke udgør selve retsakterne, men blot er udtryk for, at
      retsakter er blevet udført. Når disse udtryk for, at retsakter har fundet sted, udstedes af mennesker, in-
      deholder disse naturligvis også de ganske almindelige menneskelige fejl såsom skrivefejl i datoer eller
      ISIN-numre, anvendelser af forkerte skabeloner (der viser køb i stedet for salg) og for små felter, der ikke
      kan udvise de mange tal og derfor kun giver et udprint med ”####”.

      Computersystemerne er de vigtigste bevisgenstande i sagen, da de elektroniske retsakter blev udført her.
      Disse computersystemer har SØIK haft i sin besiddelse i årevis, uden at dette har ført til nogen positiv be-
      kræftelse af, at pensionsplanerne ikke ejede de danske aktier. Det må være udtryk for, at SØIK virkelig
      har fundet elektronisk dokumentation for afviklingen af aktiehandlerne. Da afviklingen først skete, - efter
                                                                                                               -
      at der var indgået en endelig aftale om køb af aktierne, der overdrog ejerskabet til aktierne til køberen, er



 Sagsnr. XX-XXXXXXX                                 Side 156/239
Case 1:18-md-02865-LAK                      Document 836-47                    Filed 06/27/22             Page 388 of 462




      afviklingen dokumentation for, at ejerskabet inden da var overdraget ved matching af købs- og salgsor-
      dre.

      8 FOR MEGET UDBETALT UDBYTTESKAT

      8.1 Summen af alle refusioner

      Skattestyrelsen præsenterer i flere af styrelsens indlæg forskellige statistikker, af hvilke det angiveligt
      skulle fremgå, at SKAT skulle have udbetalt mere i refusion end modtaget i udbytteskat.

      Disse af SKAT selv fremstillede statistikker står i modstrid med de offentligt tilgængelige statistikker.

      I henhold til SIR-rapporten af den 24 september 2015 (Skatteudvalget 2014-15 –2. samling) SAU Alm del),
      side 16, har SKAT ikke udbetalt mere i refusion end modtaget:

      Af side 16 fremgår således:


   Graf 7.2, der fremgar nedenfor, omfatter indtregter, refusioner samt antal ans0gninger
   om refusioner for arene 2005 til juni maned 2015.


                                             UDBYTTESKAT
                                                                                                                 50.000

                                                                                                                 40.000

                                                                                                                 30.000
        10
                                                                                                                 20.000
         5
                                                                                                                 10.000

         0                                                                                                       0
              2005     2006      2007       2008   2009     2010       2011    2012    2013     2014   jun-15

         -     lndtaegter i alt i kr.   -     Refusioner i alt i kr.   -      Antal refusioner-Ansil'gninger i stk.


                                                        Graf 7.2.I




 Sagsnr. XX-XXXXXXX                                        Side 156/239
Case 1:18-md-02865-LAK                         Document 836-47                                 Filed 06/27/22                              Page 389 of 462




      Denne grafiske fremstilling understøttes af tabel 7.1, side 15, i samme SIR-rapport:


        Tabel 7 .1 om fatter indtiBgter (udbytteskat), refusioner samt antallet af ans0gninger
        vedr0rende refusion pr. ~r fra 2005 til juni 2015.

        I                                                                                                                                                 2015
                                 2005         2006         2007     2008       2009      2010           2011          2012       2013       2014
                                                                                                                                                         Jan -j,lnj

         ln<ftllBO!er i mis kt      6,65        9,36         99<       1 1,1     8.06          6.36          9.6~       8.71      11 ,6l          132        18.51
         Refusioner i mia kr         I . If     1,88         1,0)      0,75      0.75          0.68          1,12       1'5        2.79           6.06        873
         Antal ansaanonaer        16617       18.618       15681    16.655     21.284     21 , s,           2,.m      3076!      33861      4 1.76'        3' 850

                                                                    Tabel 7.1.


      Lidt mere aktuelle tal fremlægges i rapporten fra den tværministerielle arbejdsgruppe 2016/2017.
      Også disse viser, at der ikke blev udbetalt mere i refusioner, end der var modtaget fra de danske sel-
      skaber. Fra denne rapport stammer nedenstående skema, der viser Danmark nettoindtægter fra ud-
      bytteskat på aktier:


        Tabel 2.1. lndtaegter fra kildeskatten                pa udbytter
            ~a. kr. (lobende e!jser)            2005 2006 2007 2008 2009 2010 2011 2012 2013 2014                                                    2015
            Bruttoindteagter fra udbytte-         6,7 9,4 10.0 11.1
            skat
                                                                     8.1   6.4 9.7 8.7 11.7 13.2                                                     22.2
            Mod<egnel i selskabssl<a1 11          -1.2       -1.6    -1.8      ·2.1     -0,8      -0,6        -0,9     •1,1      ·1,6      ·1,7          -3.6
             Refusione(1 1                        -1 .2      -1.9    -1 . 1    -0,8     -0,8      -0,7        -1. 1    -1 .5     -2.8      -6,1      -10,9
            Helal okononisl< kritTinalite!           0,0      0,0     0,0      0,0      0,0           0,0      0,0      --0, I   --0,7     -3,8          ·7,8
            Nelloindleesiter Ira udbytte-                    5,9      7,0               6.5                    7.6                7.9                    15,5
                                                     4,3                       8.3                    5.1               6.2                 9.3
            skat''



      Det bestrides således principielt, at SKAT skulle have udbetalt mere i refusion, end der blev indbetalt.

      Det eneste, der kan ses ud fra de fremlagte statistikker, er, at antallet af refusioner er steget betragte-
      ligt. Men at sælge aktierne inden udbyttedatoen til en aktionær, der er refusionsberettiget, er jo også
      netop er motivationen for sælgeren af aktierne – og det faktum, der bringer markedet for derivater
      (forwards og futures) ud af balance med spotmarkedet. Statistikken viser således blot, at investorer,
      der interesserer sig for udbyttearbitrage, fra 2014 for alvor henvendte sig til det danske aktiemarked.

      Skattestyrelsen lader i det sammenfattende indlæg i førersagerne af den 9. august 2019 således også
      til at opgive denne helt åbenbare falske påstand om for meget udbetalt udbytterefusion, idet det
      igennem samtlige tidligere indlæg fremførte argument nu opgives.

      8.2 Summen af refusioner pr. udloddende selskab

      Skattestyrelsen henviser i det sammenfattende indlæg i afsnit 2.1 nu kun til samtlige refusioner fore-
      taget i henhold til TRYG A/S. Skattestyrelsen ønsker at afvise pensionsplanerne retskrav på refusion,
      med den begrundelse at der i alt er ansøgt om refusion for ca. kr. 151 mio. TRGY A/S havde for det på-



 Sagsnr. XX-XXXXXXX                                                  Side 156/239
Case 1:18-md-02865-LAK                    Document 836-47               Filed 06/27/22            Page 390 of 462




         gældende skatteår (2015) dog kun indeholdt ca. kr. 123 mio. i udbytteskat. Ud af de kr. 151 mio.
         havde amerikanske pensionsplaner modtaget kr. 136 mio.

         Hertil bemærker Skattestyrelsen i afsnit 2.1, side 6, at

                  “der har været søgt - og udbetalt – langt mere i refusion, end der har være indeholdt. Det si-
                  ger sig selv, at der aldrig kan være krav på refusion af mere, end der har været indeholdt”.

         Skattestyrelsen er dog ikke i stand til at dokumentere, hvem der konkret ikke skulle være berettiget til
         refusion. En pensionsplans krav på refusion kan ikke nægtes, med henvisning til at en anden modtager
         af refusion eventuelt ikke har været berettiget til at modtage denne.

         Ved at citere dette eksempel har Skattestyrelsen valgt (frivilligt eller tilfældigt) at dokumentere, at ud-
         bytteskattesystemet lider under en systemisk fejlfunktion, og at der ikke er tale om svindel. Skattesty-
         relsen har ingen forklaring på, hvorfor der er udbetalt ca. kr. 151 mio. i refusion, mens der kun er ind-
         betalt ca. kr. 136 mio. af Tryg A/S.

         Selvom Skattestyrelsen hævder, at alle ansøgninger fra kunder i Solo-gruppen, som beløber sig til kr.
         136 mio., var svindel, hvilket klart bestrides, så er der stadig en difference på kr. 15 mio., der er udbe-
         talt mere end indbetalt (forskellen mellem kr. 136 mio. og kr. 151 mio.). Der må derfor helt klart være
         en anden forklaring på uoverensstemmelserne. Den mest nærliggende er, at der ikke er udbetalt for
         meget, men snarere indbetalt for lidt udbytteskat.

         Hvis den retmæssige ejer af en aktie på udbyttedatoen ikke identificeres korrekt, beregnes den udbyt-
         teskat, som skal indbetales, også forkert.

         8.3 Fejlfunktioner ved administration af udbytteskat

         Selvom det ikke er pensionsplanens opgave at analysere det danske udbytteskattesystem og forklare,
         hvordan det kan ske, at der udbetales mere i udbytterefusion for et bestemt selskab, end dette selskab
         har indbetalt i udbytteskat, skal vi alligevel gerne komme med vores bud på de mest indlysende forkla-
         ringer på dette misforhold:

1        Bankordningen – regnearksløsningen – har ført til, at der blev udbetalt udbytterefusion til bankerne
         uden dokumentation for ejerskab af aktierne henholdsvis modtagelse af udbytte. Da betalingerne til
         bankerne ikke blev registreret af SKATs egen “3-S”-platform – se Bech-Bruun-rapporten, side 92 ff.,
         samt SIR-rapporten af den 24. september 2015, pkt. 11.4 – kunne bankernes ansøgninger føre til, at
         der blev udbetalt refusion for samme aktie flere gange. En via bankordningen og en anden via blanket-
         ordningen. Bankordningen blev stoppet i 2015, da man blev klar over problemerne, dog kun med den
         officielle forklaring, at der manglende retlig hjemmel for løsningen. Faktum var imidlertid, at bankerne
         havde modtaget refusioner af indeholdt udbytteskat uden tilstrækkelig dokumentation for retmæssigt
         ejerskab af aktierne. En undersøgelse af bankordningen er derfor med rette nu også sat i gang af skat-
         teministeren.
2        Sælger en aktionær på udbyttedatoen sine aktier til en køber med en anden skattestatus, og afvikles
         handlen med en længere frist end den af VP Securities anvendte (dvs. nu længere end T+3), vil VP
         Securities anvende den forkerte skatteprocent ved beregningen af udbytteskatten. Er sælger fx fritaget
         for skat, og er dette registreret ved VP Securities, beregnes, der ikke udbytteskat af det udbytte (jf.
         Skattestyrelsens bilag AO), som umiddelbart sendes til sælgeren af aktierne (fordi han stadig er regi-
         streret som ejer på ”record day”). Idet køberen af aktien ikke kan vide, at sælgeren er registreret som
         skattefri ved VP Securities, forventer køberen kun at modtage et nettoudbytte. Det er kun nettoudbyt-
         ter, der cirkulerer under ”market claims”-processen mellem de forskellige custodians og subcustodians.


    Sagsnr. XX-XXXXXXX                                  Side 156/239
Case 1:18-md-02865-LAK                   Document 836-47                Filed 06/27/22           Page 391 of 462




         Køberen (pensionsplanen), der modtager et nettoudbytte, er berettiget til refusion, da han var den ret-
         mæssige ejer af aktien på udbyttedatoen. VP Securities har dog ikke beregnet de 27 pct. udbytteskat.
         Dem er sælgeren af aktien løbet med.
3        Udbytteskatten beregnes på baggrund af registreringerne hos VP Securities. VP Securities kender dog
         ikke de retmæssige ejere af danske aktier. Den retmæssige ejer kan bl.a. i tilfælde af aktieudlån være
         en anden med en helt anden skattestatus end den registrerede civilretlige ejer.
4        Fejlene i den måde, hvorpå skattemyndighederne har administreret refusion af indeholdt udbytteskat,
         er endnu mere åbenlyse i tilfældet med short selling. Hovedproblemet med short selling, der udløses af
         aktieudlån gennemført af banker, formueforvaltere og ikke mindst hedge fonde, er, at det fører til en
         stigning af aktiernes ”free-float” – dvs. aktier, der er til rådighed på markedet – udover 100 pct. af alle
         aktier udstedt af et selskab gennem VP Securities, og at dette gør det muligt, at der er mere end én ret-
         mæssig ejer af en og samme aktie.

         Dette er, efter vores opfattelse, de mest indlysende forklaringer på, hvorfor der kunne være udbetalt
         mere i refusion af udbytteskat, end de beløb de danske skattemyndigheder har modtaget fra selska-
         berne, hvis denne påstand af Skattestyrelsen skulle være korrekt.

         Eksemplet, som Skattestyrelsen ønsker at anvende som dokumentation for at nægte pensionsplanerne
         udbytterefusion, bekræfter blot, at et system til administration af udbytteskat, der er baseret på regi-
         streringerne ved VP Securities, lider under alvorlige mangler. De retmæssige ejere, der er berettiget til
         refusion, kan ikke identificeres ved disse registreringer.

         Som påvist ovenfor er det i henhold til gældende ret ejeren af aktierne, der har ret til udbytterefusion,
         hvis han er den retmæssige ejer af aktierne på udbyttedatoen og har modtaget nettoudbyttet. Den ret-
         mæssige ejer af aktierne har ingen pligt til at undersøge eller dokumentere, om andre retmæssige
         ejere ligeledes anmoder om refusion. Dette er tillige også ganske umuligt for en ejer af en aktie (eller
         for nogen som helst anden person).

         Som allerede påvist ovenfor kan der være flere retmæssige ejere af danske aktier end svarende til det
         antal aktier, som et dansk selskab har udstedt.

         Skatteministeriet har til trods for den meget klare ”Early Warning” af 2015 ikke løst problemet omkring
         aktielån og short selling, men i det mindste erkender ministeriet i statusnotatet af den 26. juni 2016, at
         Danmark simpelthen ikke har et system eller regler til at identificere den retmæssige ejer af danske ak-
         tier (side 6).

         9 PENSIONSPLANENS FINANSIELLE TRANSAKTIONER

         9.1 Finansiering af aktiekøb

         Pensionsplanen har med rammeaftalerne om aktieudlån (GMSLA’er) samt de fremlagte e-mails, hvor-
         ved de enkelte aktielån trækkes under GMSLA’en, dokumenteret, at den rådede over de nødvendige fi-
         nansielle midler til at betale for aktierne, i det øjeblik udlånet foretoges. Dermed kunne pensionspla-
         nen betale for aktierne på leveringsdatoen.

         Et ejendomsforbehold, der gjorde, at ejerskabet til aktierne først gik over til pensionsplanen (jf. kapital-
         markedslovens § 188, stk. 1), var ikke gjort gældende af sælger ved indgåelsen af købekontrakten. Pen-
         sionsplanen blev således allerede inden betaling af aktierne civilretlige ejere af aktierne. Dette ejerskab
         blev efterfølgende sikret ved registreringen hos dennes custodian. Denne sikringsakt medførte, at pen-
         sionsplanen kunne modtage det udbytte, som i henhold til købelovens § 19, stk, 1, tilkommer pensions-
         planen som køber af aktierne.


    Sagsnr. XX-XXXXXXX                                  Side 156/239
Case 1:18-md-02865-LAK                      Document 836-47                  Filed 06/27/22     Page 392 of 462




      Skattestyrelsen har rejst tvivl vedrørende spørgsmålet om, hvorvidt en aktielåntager ville stille et beløb
      til sikkerhed, som svarer til aktiernes markedsværdi dagen før aktielånet, dvs. før ex-datoen.

      At det er normal kutyme, at aktielåntager skal stille et større beløb i kontant sikker- hed end markeds-
      værdien på lånedatoen, har pensionsplanen dokumenteret ved at fremlægge dokumentation for, hvor
      meget eksempelvis Nordnet forlanger i garantistillelse.


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                         Bra nd A/S                                   ALMB          14 00
                    e.mhu, A/S                                        AM B U B      1 500
                     B a v arian N ordic A/S                          B AVA         1 600
                    C a rlsber g B A/S                                C ARL B       11 5 0
                    Ch r. Ha n se n Holdi ng A/S                      C HR          1 250
                    Colo p la s t B A/S                               COLO B        1 200
                     DFDS A/S                                         DFD S         1 300
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                     ISS A/S                                          I SS          1 200
                    ~         BankA/S                                 JYSK          1 300
                    ~         A/S                                     MAT A S       1 250
                     Nordea Bank                                      N O A OK      1 200



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      Skattestyrelsen forsøger i styrelsens sammenfattende indlæg af den 9. august 2019 under pkt. 8.12,
      side 74, at fordreje rollerne i et aktieudlån ved at påstå, at det er aktielångivers egenkapital, der spiller


 Sagsnr. XX-XXXXXXX                                          Side 156/239
Case 1:18-md-02865-LAK                 Document 836-47               Filed 06/27/22            Page 393 of 462




      en rolle for, hvilket beløb der skal stil- les i kontant sikkerhed for et aktieudlån. Det er det naturligvis
      ikke. Formålet med den kontante sikkerhedsstillelse er at sikre et eventuelt dækningskøb, hvis låntage-
      ren ikke leverer aktierne tilbage.

      Skattestyrelsen undlader i sin beskrivelse af Nordnet at nævne, at det ikke er bankens kapitalstyrke,
      der er afgørende for, hvor meget kontant sikkerhed de kan forlange af deres kunder. Faktum er, at når
      Nordnet låner aktier ud til deres kunder, så er banken selv nødt til at låne aktierne andetsteds. Nordnet
      må herved stille sikkerhed, i samme størrelsesorden som banken selv forlanger af sine kunder, hvis
      banken vil arbejde konkurrencedygtigt i markedet.

      Der hvor låntagers og långivers kapitalstyrke kommer til udtryk, er i de løbende forhandlinger om ren-
      ten, som pensionsplanen skal betale for den kontante sikkerhedsstillelse, og lånegebyret, som låntager
      skal betale for at låne aktierne. Jo stærkere aktielåntagers kapitalstyrke er i forhold til aktielångiveren
      (pensionsplanen), des bedre kan aktielångiver påtvinge en højere rente og et lavere aktielånsgebyr. Det
      samlede resultat af renten, der skal betales på de kontante midler, og gebyret, der skal betales for ak-
      tielånet, betegnes i branchen som ”rebate”.

      For så vidt angår konsekvenserne af et eventuelt prisfald på aktiemarkedet, henvises til standardbetin-
      gelserne under GMSLA, der allerede forudser, hvordan parterne skal håndtere dette.

      9.2 Muligheden for at gennemføre de omhandlede finansielle transaktioner

      Skattestyrelsen mener, det skulle ligne en kabale at få alle tre transaktioner til at finde sted samtidig,
      nemlig at (1) finde en aktiesælger, der vil sælge til pensionsplanen, (2) finde en aktielåntager, der skulle
      bruge aktierne og var villig til at stille købsprisen som kontant sikkerhed for aktielånet, og (3) finde en
      forward counterpart, der kunne bære et eventuelt kurstab på aktierne.

      Skattestyrelsen forsøger, at få det til at fremstå som en umulighed. Det er dog ingenlunde tilfældet.

      I modsætning til hvad Skattestyrelsen påstår, drejer det sig her ikke om tilfældigheder, men om ganske
      normale transaktioner på internationale finansmarkeder. Her indgås aftaler med brokere til at formidle
      køb og salg af aktier samt derivater og rammeaftaler med mellemmænd i aktielån (stock loan interme-
      diaries), længe inden en eneste transaktion afvikles. Alle de enkelte transaktioner er således tilret-
      telagt, længe inden de gennemføres. Finansindustrien adskiller sig på dette punkt fra enhver anden
      form for industri. Overalt skal alle bestanddele af det, der skal produceres (biler, huse, brød eller struk-
      turerede finansprodukter som udbyttearbitrage) planlægges og koordineres i forvejen, for at alt er til
      stede på rette tidspunkt i maskineriet. Mangler blot en enkelt bestanddel, fungerer slutproduktet ikke.

      Hvad angår udfordringen at finde en sælger, der vil sælge til en pensionsplan, er svaret ganske enkelt:
      Sælgeren til pensionsplanen var ikke den tidligere ejer af aktien, men pensionsplanens fondsmægler,
      der gennemførte transaktionerne som ejermatching-handler. Det vil sige, at han selv solgte aktierne til
      pensionsplanen. Aktierne skaffede han fra en anden fondsmægler, der selv skaffede dem fra den oprin-
      delige aktionær. Det er på denne måde, at ejermatching-handler foregår.

      Pensionsplanens fondsmægler vidste, at pensionsplanen havde indgået en rammeaftale om udlån af
      aktieposter, og at pensionsplanen derfor havde en konstant mellemmand (stock loan intermediary),
      hvis eneste opgave var at fremskaffe aktieudlån. Mægleren vidste derfor, at pensionsplanen allerede
      inden købet af aktierne ville kontakte mellemmanden til aktieudlån for at høre, om han kunne formidle
      et udlån mod den nødvendige kontante sikkerhed, hvis pensionsplanen ville købe aktierne.




 Sagsnr. XX-XXXXXXX                                  Side 156/239
Case 1:18-md-02865-LAK                 Document 836-47                Filed 06/27/22           Page 394 of 462




      Fondsmægleren modtog desuden accept fra pensionsplanens clearing-agent, om at handlen ville gen-
      nemgå clearing og afvikling. Clearing-agenten overtog derved risikoen for, at betaling skulle ske ved le-
      vering af aktien. Denne risiko kunne clearing-agenten i sin egenskab af prime broker overtage, idet
      clearing-agenten selv ville modtage aktierne, hvis pensionsplanen ikke kunne betale.

      At finde en sælger er derfor absolut ingen udfordring i praksis, når alle forretningsforbindelser først er
      etableret.

      Som det fremgår af de som bilag 78 fremlagte e-mails, lykkedes det trods al forberedelse heller ikke al-
      tid alle pensionsplanere i hvert eneste tilfælde at placere en ordre til køb af aktier. Dette kan teoretisk
      skyldes, at der ikke var et tilsvarende udbud af aktier på markedet, eller at clearing-agenten ikke havde
      givet sit tilsagn om at ville indestå for afviklingen af handlen. Hvilket af de to scenarier, der konkret var
      tilfældet, spiller for så vidt ingen rolle. Faktum er dog, at pensionsplanerne netop ikke altid fik ”kabalen
      til at gå op”, sådan som det igen fuldstændig udokumenteret påstås af Skattestyrelsen.

      Det samme gælder for udfordringen at finde en forward counterpart. En forward formidles også af
      mæglere. Den ultimative modpart til forward-kontrakten kan have mange forskellige grunde til at
      indgå kontrakten. En af dem kan være at spekulere i, hvor meget aktiekursen vil falde, når udbyttet ud-
      loddes. En anden kan være, at forward-modparten vil sikre sig kursen, som han kan købe aktierne til-
      bage fra markedet til, efter at han oprindeligt har solgt sine aktier til markedet før udlodningen af ud-
      byttet. Det kan herved dreje sig om en ren spekulationsforretning, eller som nævnt ovenfor en udlæn-
      ding, der ville miste de 27 pct. udbytteskat, hvis han ejede aktien på udbyttedatoen.

      Endelig er der aktielåntageren, hvis motivation allerede er beskrevet udførligt i dette indlæg. Også ak-
      tielåntageren findes gennem professionelle stock loan intermediaries. Den på forhånd indgåede
      GMSLA-rammeaftale sikrer pensionsplanen, at aktierne kan lånes ud, når der opstår behov herfor. En
      kort samtale med mellemmanden inden aktiekøbet sikrer pensionsplanen, at det konkrete udlån kan
      foretages i rette tid til at betale for aktierne.

      At finde alle disse modparter er ganske rigtigt ikke noget, der gøres på kort tid. Derfor tager kontoåb-
      ningsproceduren hos de forskellige professionelle aktører også så lang tid. Alle kontrakter skal på plads,
      inden handlen kan begynde.

      Det bedste bevis for, at dette er muligt i den virkelige verden og forholder sig netop som beskrevet i
      vores indlæg, er, at alle handels- og transaktionsrapporterne blev indleveret til de respektive ansvarlige
      (tilsyns-)myndigheder i London (FCA og LSE). Dette understøttes yderligere af den omfangsrige doku-
      mentation for transaktionerne (custody statements = kontoudskrifter, elektroniske depotregistrerin-
      ger, handelsnotaer fra fondsmæglerne, custodians reviderede årsregnskaber osv.).

      Det bemærkes videre, at den følgende statistik fra Finanstilsynet over omsætningen af danske aktier,
      som er blevet fremlagt i sagerne, bekræfter, at det i virke- lighedens verden forholder sig som anført:




 Sagsnr. XX-XXXXXXX                                  Side 156/239
Case 1:18-md-02865-LAK                          Document 836-47                        Filed 06/27/22               Page 395 of 462




         Figur2.3. Oms.etningen afaktieri udvalgte selskaber- 2015

            fimu:A. Novozymes B - 2015                                      f.igyrB. TDC-2015


           Mia. kr.                                                        Mia . kr.
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                                                                                          •
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              80
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                          Omsa1tning           • Udbytledato

        AwD,. : Den angivne udbyttedato er den t0rste dag, hvor aklien handles uden 1.10.~ (den sakaldte x-dag - dagen efter
        generaHors am ling sdagen Se Ive udbyttet udbetales f0 rst til aktion1:ereme et par dage s enere. Figureme er base ret pa Mi-
                    der har Iii formal at unders0 ge markedsmisbrugssager. Oet betyder, at der for en transaktion godt kan v1:ere 1, 2,
        3, 4 eller i enkelle tiHl:elde fiere Mif![l indberetninger. Oen an givne oms1:etning er dermed ikke n0dvendigvis luldst1:endig
        retvisende. Uanset om der er risiko for fiere indberetninger baseret pa samme transaktion, sa kan det dog ikke forklare de
        store udsving om kring udbytted atoerne.
        Kilde: Finanstilsynel

      Det faktum, at der er et dagligt handelsomfang af danske aktier på mere end kr. 100 billioner, betyder
      netop, at utallige investorer hver eneste dag handler aktier i de samme selskaber på det samme tids-
      punkt. Mange investorer vælger netop at handle en bestemt aktie, når udbetalingen af et udbytte står
      for døren. Alt dette er ikke noget tegn på svindel.

      Havde der virkelig været reelle tegn på svindel i sagerne, måtte der også fra anklagemyndighedens side
      foreligge mistanke, af en styrke der ville føre til sigtelse af pensionsplanerne eller deres trustees. Ret-
      ten i Lyngby har ved kendelse af den 18. marts 2019 tilkendegivet, at dette hverken er tilfældet for Do-
      ston Bradley eller nogen af de af ham forvaltede pensionsplaner (bl.a. prøvesagen for Pegasus Fox 23
      LLC Solo 401K Plan). Kendelsen fremlægges som bilag 92.

      På linje hermed har de engelske anklagemyndigheder i november 2019 også besluttet at indstille deres
      egne efterforskninger i sagsforløbet. De vil kun yde Danmark den i henhold til internationale aftaler på-
      krævede assistance, jf. Justitsministeriets meddelelse til Folketingets retsudvalg citeret i artikel af den
      16. november 2019, som her fremlægges som bilag 93. Endvidere fremlægges som bilag 94 skrivelse
      fra de engelske anklagemyndigheder, hvoraf det fremgår, at de ikke længere af egen drift fortsætter
      undersøgelserne mod tidligere ansatte i Solo-gruppen.

      Til trods herfor påstår Skattestyrelsen fortsat, at pensionsplanernes arbitrageforretninger

                   ”alene fungerer som bogføringsmæssige posteringer uden virkelige handler”
                   (sammenfattende indlæg af den 9. august 2019, side 28)




 Sagsnr. XX-XXXXXXX                                                Side 156/239
Case 1:18-md-02865-LAK                 Document 836-47                Filed 06/27/22            Page 396 of 462




      Det forholder sig dog således, at al handel med dematerialiserede aktier i dag kun manifesterer sig i
      form at elektroniske, bogføringsmæssige registreringer, da der ikke længere eksisterer nogen doku-
      menter i papirform, der overdrages. Pensionsplanerne afgav elektroniske ordrer til deres mæglere, li-
      gesom enhver anden kunde ville gøre det til sin mægler. Mægleren matchede elektronisk pensionspla-
      nernes købsordrer med salgsordrer i henhold til gældende regler og under overvågning af det britiske
      FCA. Efter matchingen af ordrerne blev der elektronisk givet clearing-instruktioner til clearing- og sett-
      lement-agenten. Såvel instruktioner til clearing og settlement som også til selve gennemførelsen heraf
      sker i dag altid elektronisk, da dematerialiserede aktier slet ikke kan cleares, afvikles og opbevares i no-
      gen anden form end elektronisk.

      En aktiehandel manifesterer sig i dag således kun elektronisk og er reel, når disse elektroniske posterin-
      ger er baseret på virkelige transaktioner, der i dag ligeledes er elektroniske. Handlerne, der blev gen-
      nemført af pensionsplanerne via de britiske mæglere og clearing- og settlement-agenter, adskiller sig
      dermed på ingen vis fra handler, der gennemføres ved enhver anden dansk bank. Også her gennemfø-
      res alt helt elektronisk ved bogføringsmæssige posteringer.

      Købet af en e-bog er i dag heller ikke andet end bogføringsmæssige posteringer og elektroniske
      transaktioner. Ikke desto mindre er såvel købene af de dematerialiserede aktier, som pensionsplanerne
      foretog, lige så virkelige som ethvert onlinekøb af en e-bog.

      9.3 Registreringer i VP Securities er uden betydning

      9.3.1 Betydningen af en registrering ved VP Securities

      Skattestyrelsen har gentagne gange igennem samtlige indlæg argumenteret for, at ”Pensionsplanerne
      ikke var ejere af de i sagen omhandlede aktier.” Om skattestyrelsen hermed mener civilretligt eller
      skatteretligt ejerskab, undgås det konsekvent at konkretisere, og i stedet insisteres på et juridisk
      ukendt begreb om ”faktisk” ejerskab.

      Skattestyrelsen hævder, at pensionsplanen ikke var ”ejer” af aktierne, fordi den ikke købte nogen ak-
      tier. Det lader til, at Skattestyrelsen herved henviser til, at pensionsplanen ikke skulle være de civilret-
      lige ejere af aktierne og dermed ikke den skattemæssige ejere, blot fordi de ikke kan findes i VP Securi-
      ties’ register.

      Skattestyrelsen indrømmer endeligi førersagerne i indlægget af den 9. maj 2019, afsnit 4.10, og i det
      sammenfattende indlæg af den 9. august 2019, afsnit 8.11, at en registrering ved VP Securities ikke er
      nødvendig for at være ejer af en aktie. Ellers ville Skattestyrelsen ikke have trukket sig tilbage til et ud-
      sagn om, at

               ”Data fra VP Securities skal indgå i bevisvurderingen”.

      Det er herved klart, at registreringer ved VP Securities blot er et af flere mulige beviser for ejerskab.
      Skattestyrelsen lader endelig til at erkende, at omnibus depoter gør det umuligt for VP Securities at be-
      kræfte, at en person IKKE er aktionær. VP Securities kan kun bekræfte, at en person er aktionær, når og
      hvis en sådan person har et depot hos VP Securities.




 Sagsnr. XX-XXXXXXX                                   Side 156/239
Case 1:18-md-02865-LAK                Document 836-47                Filed 06/27/22           Page 397 of 462




      Skattestyrelsen mener i styrelsens sammenfattende indlæg af den 9. august 2019, afsnit 8.11, at det
      skulle være

               ”relevant, om pensionsplanerne eller deres custodians har haft depoter i VP
               Securities – eller om de kan vise, gennem hvilke sub-custodians de efter sigende
               har ejet aktier.”

      At en eksisterende registrering ved VP Securities entydigt efterviser civilretligt ejerskab, har pensions-
      planerne aldrig sat spørgsmålstegn ved. Det er jo netop formålet med registreringen af ejerskabet ved
      en custodian, at ejerskabet opnår beskyttelse mod ekstinktion. Men beskyttelse er netop ikke ensbety-
      dende med ”eksistens eller manglende eksistens”. Ejerskab kan meget vel bestå uden denne beskyt-
      telse.

      Skattestyrelsen kan under gældende EU-lovgivning dog ikke diskriminere andre custodians i forhold til
      VP Securities. Det ville være et klart brud på grundlæggende regler om kapitalens fri bevægelighed og
      garantien omkring fri tjenesteydelser inden for EU. Skattestyrelsen kan derfor ikke forlange af aktionæ-
      rer, der har deres depot hos en udenlandsk custodian, at fremlægge en kæde af custodians og subcu-
      stodians helt op til VP Securities som eneste accepterede bevis for ejerskab. Ingen aktionær i et selskab
      har adgang til disse sub-custody-kæder. Disse kæder kan allerhøjest Skattestyrelsen som del af den of-
      fentlige forvaltning med statsmagtens tvangsmidler fremtvinge fra de forskellige custodians i kæden af
      custodians. Dette har Skattestyrelsen dog ikke gjort. Det må i den foreliggende sag komme Skattesty-
      relsen til skade under officialmaksimen.

      Registreringen af ejerskab af aktier ved en hvilken som helt autoriseret og kontrolleret CSD (custodian)
      i EU skal have den samme bevisværdi. Skattestyrelsen kan ikke gøre engelske custodians til andenrangs
      sammenlignet med den danske CSD VP Securities.

      Som Skattestyrelsen helt rigtigt har bemærket, har pensionsplanerne mange steder anført, at VP
      Securities ikke har et retvisende ejerregister, og at aktiehandler ikke nødvendigvis gennemføres ved le-
      vering af aktier mellem custodians, idet handler først afvikles ved overførsler af aktier internt (bogfø-
      ringsmæssigt) hos hver enkelt custodian.

      Dette faktum, som følger af EU-lovgivningens liberalisering af kapitalmarkederne, forsøger Skattesty-
      relsen af udrydde ved den simple påstand:

               ”Sådanne anbringender kan ikke føre til, at pensionsplanerne skal have medhold i
               deres klage”.

      Skattestyrelsen fremkommer ikke med nogen juridisk begrundelse for, hvorfor Landsskatteretten skulle
      se bort fra gældende regler i EU for handel med værdipapirer, blot fordi resultatet medfører, at hver-
      ken VP Securities kan bruges som eneste retsgyldige kilde til at dokumentere ejerskab af danske aktier,
      eller at dokumentationen af kæder af custodians og penge henholdsvis aktier ikke er et praktisk muligt
      bevis for ejerskab under EU-reguleringerne.

      Skattestyrelsen nægter simpelthen at acceptere faktum i sagen, at ejerskab er et juridisk begreb, og at
      erhvervelsen heraf er bestemt af juridiske regler. Juridiske regler, som til dels er danske og til dels er
      europæiske og endda internationale (Den Haag-konventioner).




 Sagsnr. XX-XXXXXXX                                 Side 156/239
Case 1:18-md-02865-LAK                Document 836-47               Filed 06/27/22            Page 398 of 462




      9.3.2 Dokumentation for at Solo-gruppen har besiddet aktier

      Skattestyrelsen forlanger i førersagerne det sammenfattende indlæg af den 9. august 2019, afsnit 5.1,
      side 31, at der skal fremlægges dokumentation for at Solo- gruppen har ”besiddet” de aktier, som pen-
      sionsplanerne har ejet, og som Solo- gruppen hat attesteret ejerskab til.

      Den af Skattestyrelsen forlangte kæde af custodians og sub-custodians kan ingen klient i nogen som
      helst bank fremlægge. Derfor heller ikke pensionsplanerne. Idet det er teknisk umuligt for en hvilken
      som helst kunde hos de internationale custodians, der hænger bag en lang kæde af sub-custodians, an-
      erkender allerede Europa-Parlamentets og Rådets direktiv 98/26/EF af den 19. maj 1998 om endelig af-
      regning i betalingssystemer og værdipapirafregningssystemer (Settlement Finality-direktivet) også en-
      deligheden (og dermed den retligt bindende virkning) af en registrering af en værdipapirafvikling gen-
      nemført ved en autoriseret clearing- agent og opbevaringen af værdipapirerne hos en custodian. En re-
      gistrering hos den CSD, hvor aktierne oprindeligt blev udgivet, eller dokumentationen af en kæde af
      custodians forlanger direktivet ikke, for at ejerskabet anerkendes, selv i forhold til tredjemand. Direkti-
      vets overvejelsesgrund nr. 11 fastslår derimod udtrykkeligt, at:

                “overførselsordrer og netting af sådanne ordrer bør have retsvirkning i alle med-
                lemsstaters retssystemer og være bindende for tredjeparter“.

      Artikel 3 fastlår videre, at:

                “Overførselsordrer og netting har retsvirkning og er bindende for tredjeparter,
                selv i tilfælde af insolvensbehandling mod en deltager, såfremt overførselsor-
                drerne var indgået i systemet in- den tidspunktet for insolvensbehandlingens ind-
                ledning“

      Skattestyrelsens krav om en ejerskabskæde er således i direkte strid med EU-lovgivningen. Finality-di-
      rektivet ligestiller settlement hos enhver autoriseret og kontrolleret clearing-agent og custodian med
      afregningen af en værdipapirhandel hos den CSD, hvor aktierne blev udgivet.

      9.3.3 Skrivelser fra SØIK og VP Securities

      Skattestyrelsen anfører i førersagerne i det sammenfattende indlæg af den 9. august 2019, at man ef-
      ter henvendelse til SØIK den 23. november 2017 fik oplyst, at SØIK på daværende tidspunkt ikke kunne
      bekræfte, at pensionsplanerne havde modtaget udbytte fra de danske aktier.

      Dette er da også ganske naturligt. Det kan som nævnt ovenfor ingen bekræfte.

      Det bemærkelsesværdige er herved, at SØIK netop ikke skriver, at de kan udelukke, at pensionspla-
      nerne har modtaget udbytte. For det kan nemlig heller ingen.

      Det samme gælder SØIKs udtalelse vedr. ejerskab af danske aktier. SØIK udelukker ikke, at pensionspla-
      nerne har været ejere af aktierne. De kan kun sige, de ikke kan bekræfte det. Det er desvære helt na-
      turligt, når man ikke har udsøgt computersystemerne fra Solo-gruppen. At SØIK ikke har gjort det,
      fremgår netop af det faktum, at SØIK har anmodet VP Securities om at bekræfte, om pensionsplanerne
      har ejet de danske aktier. Havde man undersøgt computerne, kunne man selv havde udtalt sig og var
      ikke nødt til at henvende sig til VP Securities.

      Men VP Securities ved jo netop intet om aktionærer, der har deres aktier hos subcustodians i hele ver-
      den. Derfor bekræfter VP Securities i bilag N heller ikke positivt, at de kan udelukke pensionsplanernes


 Sagsnr. XX-XXXXXXX                                 Side 156/239
Case 1:18-md-02865-LAK                Document 836-47                Filed 06/27/22           Page 399 of 462




      ejerskab. I VP Securities’ skrivelse af den 13. august 2019 henleder VP således også udtrykkeligt op-
      mærksomheden på, at de ikke har ført depoter registreret i pensionsplanernes navne, men at aktierne
      kan have ligget i omnibusdepoter.

      Lige så misvisende er den som bilag AO den 17. august 2019 eftersendte skrivelse fra VP Securities af
      den 13. august 2019. Kammeradvokaten har i henhold til denne skrivelse anmodet VP Securities om at
      bekræfte størrelsen på beregninger af bruttoudbytte tildelt depoter registreret i VP Securities. Kamme-
      radvokaten har til dette formål oplyst VP Securities om størrelsen af diverse bruttoudbyttebeløb, som
      pensionsplanerne har oplyst ved tilbagesøgning af skat i relation til udbyttebetalinger fra forskellige
      børsnoterede selskaber. VP Securities blev anmodet om at redegøre for, hvorvidt beløbene stemmer
      overens med fordelingen af bruttoudbytte til depoter i VP Securities, hvor der er tilbageholdt 27 pct. i
      skat.

      Allerede spørgsmålet er formuleret misvisende. Som anført ovenfor ville VP Securities ikke have tilba-
      geholdt 27 pct. i udbytteskat, på de aktier som pensionsplanerne købte, hvis de pågældende aktier på
      record day var i et depot for en person med en anden skattestatus end de 27 pct. Var sælger tilmed en
      af de i VP Securities-skrivelsen nævnte skattefritagne aktionærer, er der slet ikke indbetalt udbytte-
      skat af de udbytter, som pensionsplanerne modtog gennem market claim-processen. En sådan fejl kan
      udelukkende tilskrives det danske udbytteskattesystem.

      Spørgsmålet til VP Securities dokumenterer også Skattestyrelsens komplette uvidenhed om market
      claim-processen og virkningen af short selling på udbyttedatoen, der introducerer yderligere udbytter i
      depotkæden, end dem der oprindeligt stammede fra selskabet selv.

      Skattestyrelsen dokumenterer med bilag AO således ikke andet end fejlfunktionen af systemet til admi-
      nistration af udbytteskat.

      Skattestyrelsen skulle hellere have spurgt VP Securities, om en registrering af ejerskab erhvervet ved
      matching af en købs- og en salgsordre, som derefter afvikles ved en autoriseret clearing-agent og regi-
      streres på en konto hos en udenlandsk custodian, er dokumentation for en reel afviklet aktiehandel.
      Dette spørgsmål stiller Skattestyrelsen naturligvis ikke, da VP Securities ville bekræfte dette. VP Securi-
      ties kunne ved denne lejlighed ligeledes have bekræftet, at det af Skattestyrelsen på side 32 forlangte
      ”kontoudtog” ikke er andet end de fremlagte custody statements, og at et sådant ikke viser stigningen
      og faldet i antal aktier samt opgørelse af kursgevinst – eller -tab. Et custody statement viser aktiebe-
      holdningen – aktiernes navn, antallet og prisen, der handles til. Custody statements viser ligeledes, om
      der er tale om køb eller salg. Endelig viser de fremlagte custody statements datoen for hver enkelt
      transaktion.

      Custody statement opfylder alt, hvad et kontoudtog fra en depotkonto skal vise. Og mere er der heller
      ikke brug for. Opgørelsen af en gevinst eller et tab kan Skattestyrelsen selv regne sig frem til ved at
      tage købsprisen og salgsprisen for den respektive aktiepost. Det er det, vi har gjort i de fremlagte udar-
      bejdede opstillinger, som Skattestyrelsen ikke ønsker at acceptere, jf. styrelsens sammenfattende ind-
      læg af den 9. august 2019, afsnit 5.3, side 33. Hvis styrelsen ikke vil det, må de desværre selv gøre sig
      umagen og regne sig frem til gevinster og tab. Det viser et kontoudtog nu engang ikke.

      9.4 Pensionsplanen modtog udbytte

      Da pensionsplanen købte aktierne, samme dag som det blev besluttet at udlodde et udbytte, var pen-
      sionsplanen endnu ikke registreret som ejer af aktierne på record day. Udbyttet blev derfor umiddel-
      bart, i første omgang henført til sælgers custodian.



 Sagsnr. XX-XXXXXXX                                 Side 156/239
Case 1:18-md-02865-LAK                Document 836-47                Filed 06/27/22           Page 400 of 462




      Da handler på generalforsamlingsdatoen dog markeres som ”cum ex” i clearing-systemerne, sørger
      clearing-agenterne og custodians for at udbyttet fra selskabet tages fra sælger, så snart køber er blevet
      registreret som ny ejer af aktien. Udbyttet føres under ”market claim”-processen automatisk videre til
      køberen. Da køberen kun kan identificeres ved sin konto hos sin custodian, ledes udbyttet videre til kø-
      berens kontantkonto hos custodian.

      Det, som pensionsplanen modtog, var dermed selve udbyttet fra det danske selskab, selvom køberen
      ikke var registreret som ejer på record day.

      Som allerede nævnt ovenfor kan hverken pensionsplanen eller nogen andre udelukke, at der blandt de
      kroner, som pensionsplanen modtog gennem kæden af custodians, befandt sig enkelte kroner, som
      stammede fra en short seller og dermed egentlig var en kompensationsbetaling. Som skitsen i afsnit
      3.3.2.2.1 viser, blandes de kroner og ører der stammer fra en short seller dog uigenkaldeligt med de
      kroner og ører, der stammer fra selskabet selv. Ingen i kæden af cstodians kan adskille det samlede be-
      løb modtaget fra sin egen custodian i de enkelte delsummer bestående at reelt udbytte og kompensa-
      tionsbetaling.

      Pensionsplanen må derfor med god tro formode, at samtlige kroner og ører, den modtog, alle stam-
      mede fra de danske selskaber. Pensionsplanen har dog ingen adgang til sin custodians konto og kan
      derfor naturligvis ikke dokumentere, om custodian har modtaget udbyttet eller en kompensationsbeta-
      ling fra en short seller, sådan som Skattestyrelsen forlanger det i det sammenfattende indlæg af den
      9. august 2019, side 31.

      Pensionsplanerne kan pga. beslaglæggelsen af samtlige dokumenter hos deres custodians kun henvise
      til Sanjay Shahs processkrift til High Court i London, der ligeledes er indgivet på vegne af de enkelte cu-
      stodians.

      Som det fremgår af side 18 og 19 i dette processkrift, havde Solo-gruppen omnibuskonti hos finansin-
      stitutter, der blandt andet havde deres depoter hos Danske Bank. Danske Bank har selv et omnibusde-
      pot hos VP Securities. Om de øvrige depotbanker, som Solo-gruppen anvendte, ligeledes havde en
      konto hos VP Securities, ved selv Sanjay Shah ikke, da han åbenbart ikke var direktør for de fire custodi-
      ans i Solo-gruppen.

      Da hverken pensionsplanen eller dennes custodians kan vide, hvor stor en del af det nettoudbytte, der
      blev modtaget til pensionsplanen, i realiteten oprindeligt kom fra de danske selskaber, og hvor stor en
      del der kom fra short sellere, er det af Skattestyrelsen opstillede krav (i det sammenfattende indlæg af
      den 9. august 2019, side 31) om dokumentation for modtagelsen af udbyttet urealistisk. Ingen kan do-
      kumentere, hvor meget udbytte og hvor meget kompensationsbetaling de har modtaget.

      9.5 Der var indeholdt kildeskat af pensionsplanens udbytteudbetaling

      Idet de danske selskaber har pligt til at indeholde udbytteskat, og pensionsplanen lige så lidt som no-
      gen anden kan skelne mellem kroner, der oprindeligt stammer fra en kompensationsbetaling, og kro-
      ner, der stammer fra selskabet selv, kan pensionsplanen med rette gå ud fra, at selskaberne i Danmark
      har opfyldt deres pligt til at indbetale udbytteskatten.

      Denne opfattelse støttes netop også af det faktum, at pensionsplanen kun modtog et nettoudbytte.

      Ex tuto bemærkes det, at det er -
                                      uden
                                        - -betydning for aktionærens krav på refusion, om det udbyttebeta-
      lende selskab har undladt at indbetale den udbytteskat, som det burde.



 Sagsnr. XX-XXXXXXX                                 Side 156/239
Case 1:18-md-02865-LAK                Document 836-47                Filed 06/27/22           Page 401 of 462




      Det kommer således ikke pensionsplanen til skade eller hindrer dennes ret til udbytterefusion, at det
      udbyttebetalende selskab i strid med sine forpligtelser har undladt indbetale den indeholdte udbyt-
      teskat.

      Det er efter kildeskattelovens § 69, stk. 1 en betingelse for refusionen af udbytteskatter til udbytte-
      modtager, at det udbyttebetalende selskab har indeholdt den udbytteskat, der søges refunderet.

      Som det fremgår af bestemmelsens 1. stykke, er det en betingelse, at der ”efter §§ 65-65 D er inde-
      holdt kildeskat, som overstiger den endelige skat efter en dobbeltbeskatningsoverenskomst[..]”.

      Som det følger af det ovenfor citerede, er det en betingelse for refusion af udbytteskatter, at det ud-
      byttebetalende selskab har indeholdt udbytteskatten af det omhandlede udbytte.

      Såfremt de udbyttebetalende selskaber har indeholdt, men ikke indbetalt udbytteskatten, som de
      burde, følger det af retspraksis vedrørende manglende afregning af indeholdte, men ikke indbetalte
      udbytteskatter, at udbyttemodtager i udgangspunktet ikke hæfter for den manglende indbetaling af
      udbytteskatten.

      Der kan i den forbindelse henvises til praksis vedrørende nulstilling af udbytteskatter, jf. Højesterets
      dom af den 26. maj 1981, der er offentliggjort i U 1981.473H, og Højesterets dom af 22. marts 2013,
      der er offentliggjort i SKM2013.294.HR. Om baggrunden for nulstillingsinstituttet skal endvidere henvi-
      ses til det af anførte af Signe Wesenberg-Lund og Winnie Smidt Pålsson i TfS 2011.618, og artiklen of-
      fentliggjort i TfS 2011.170.

      I forlængelse af ovennævnte skal det fremhæves, at det efter praksis er en betingelse for en sådan
      hæftelse for ikke-indbetalte udbytteskatter, at udbyttemodtager er særligt nært knyttet til det udbyt-
      tebetalende selskab, jf. hertil Den Juridiske Vejledning 2019-2, afsnit A.D.6 (Nulstilling og erstatnings-
      ansvar).

      I nærværende sag er der intet grundlag for at nægte pensionsplanen refusion af de i sagen omhand-
      lede udbytteskatter, og derved reelt stille pensionsplanen som om, at de hæftede for de udbyttebeta-
      lende selskabers manglende indbetaling af udbytteskatter.

      Som det fremgår af ovennævnte praksis, er der således ingen hjemmel til at lade pensionsplanen hæfte
      for en manglende indbetaling af udbytteskatter.

      Det skal i den forbindelse fremhæves, at den omhandlede pensionsplan ikke havde nogen særlig til-
      knytning til de udbyttebetalende selskaber, der alle er store, børsnoterede selskaber.

      Pensionsplanen har selvsagt ikke haft nogen indflydelse – hverken direkte eller indirekte – på de udbyt-
      tebetalende selskabers beslutninger om indbetaling af udbytteskatter.

      Derfor ville det også være aldeles uhjemlet, om man i nærværende sag nægtede pensionsplanen refu-
      sion af de i sagen omhandlede udbytteskatter med henvisning til, at de udbyttebetalende selskaber
      ikke har indbetalt de udbytteskatter, som de burde.

      9.6 Pensionsplanen modtog refusionen

      Pensionsplanen havde engageret et professionelt “tax reclaim“-firma (tax agent) til at verificere, at
      samtlige forudsætninger for at få udbetalt refusion fra Danmark var opfyldt og behørigt dokumenteret.



 Sagsnr. XX-XXXXXXX                                  Side 156/239
Case 1:18-md-02865-LAK                Document 836-47               Filed 06/27/22           Page 402 of 462




      Eftersom den engagerede tax agent ikke kun var ansvarlig for anmodningen om refusionen, men også
      for overvågningen heraf, skulle refusionen udbetales fra SKAT til tax agenten. Tax agenten informerede
      pensionsplanen om modtagelsen om den respektive refusion og overførte samtlige refusionsbeløb til
      Solo Capitals kontantkonto. Dette skete med frigørende virkning over for pensionsplanen, idet pen-
      sionsplanen havde sin konto hos Solo-gruppen. I Solo-gruppen blev modtagelsen af hvert refusionsbe-
      løb bogført på hver pensionsplans konto, ligesom alle andre transaktioner (køb og salg af aktier, mod-
      tagelse og tilbagebetaling af den kontante sikkerhedsstillelse samt betalingerne under forward-kon-
      trakterne). Dette var Solo-gruppen forpligtet til i sin egenskab af custodian.

      Ligesom udbyttet faldt også refusionen under TTC-klausulen, uden gæld til custodian var pensionspla-
      nen dog fri til at råde over den modtagne refusion.

      Ved modtagelse af refusionen blev det likviditetsmæssige tab, som pensionsplanen havde lidt, da den
      købte aktierne inklusive bruttoudbyttet, men kun modtog et nettoudbytte, udlignet. Den gevinst, som
      pensionsplanen havde realiseret ved aktiehandlen eller forwardtransaktionen manifesterede sig nu
      også i en tilsvarende likviditet. Pensionsplanen havde netop lukket samtlige positioner, da den hidtil re-
      aliserede gevinst efterhånden kun svarede til refusionsbeløbet. Gevinsten af aktiehandlen kunne der-
      ved dække tabet på udbytteskatten, hvis pensionsplanen mod al forventning ikke skulle modtage refu-
      sion. I det øjeblik refusionen modtoges, skulle gevinsten fra aktiehandlen eller forwardtransaktionen
      ikke længere dække dette likviditetsmæssige tab og viste sig bogholderimæssigt som en gevinst. En ge-
      vinst, der havde samme størrelse som refusionen. Gevinsten var dog ikke refusionen.

      Den realiserede gevinst, der var til stede som likviditet efter refusionen, brugte pensionsplanen på at
      betale diverse serviceydelser. At der skulle betales regninger for tjenesteydelser der var blevet ydet,
      begrænsede dog ikke pensionsplanen i dens rådighedsbeføjelse over gevinsten, der svarede til refu-
      sionsbeløbet. Pensionsplanen bar ansvaret for, hvem der blev betalt hvornår og hvor meget. Det lå in-
      den for pensionsplanernes egne rådighedsbeføjelser at betale for modtagne ydelser eller ej (mislig-
      holde kontrakterne med tjenesteyderne).

      Desuden var der intet til hinder for, at pensionsplanen kunne trække gevinsten svarende til refusions-
      beløbet ud fra Solo-gruppen. Ville pensionsplanen fx skifte til en anden custodian, stod det pensions-
      planen frit for at lade samtlige aktiver inklusive gevinsten overføre til en anden custodian/bank.

      Pensionsplanen nåede dog ikke at trække gevinsten ud til en anden bank, inden Solo-gruppens forret-
      ningsaktivitet blev stoppet i sommeren 2015. Da Solo-gruppen ikke kunne drive forretning uden sine
      servere, måtte virksomheden melde betalingsstandsning og PwC blev udnævnt som administrator.
      Samtlige midler, der befandt sig på Solo-gruppens konti, kom under administration hos PwC, der til
      dato ikke har udbetalt pensionsplanen dennes andel af pengemidlerne.

      Det er dog en rådighedsberøvelse over pengemidlerne, som først PWC med urette har påført pensions-
      planen. Indtil da var pensionsplanen ubegrænset i sin rådighedsbeføjelserne over pengemidlerne.

      9.7 Sikkerhed i henhold til custody agreement

      Det fremgår af punkt 5.1 i det i førersagerne fremlagte custody agreement, jf. bilag 21, at pensionspla-
      nen ved indgåelsen af aftalen straks skulle overføre et beløb til pensionsplanens konto hos custodians
      (minimum cash balance) til sikkerhed for pensionsplanens forpligtelser.

      Denne forpligtelse blev ikke forudset i alle udgaver at de custody agreements, der blev anvendt. De cu-
      stody agreements, om Solo Capital startede med at bruge, forudså ikke denne betingelse.



 Sagsnr. XX-XXXXXXX                                 Side 156/239
Case 1:18-md-02865-LAK                Document 836-47               Filed 06/27/22            Page 403 of 462




      Under hensyntagen til at MIFID II inden længe ville træde i kraft, blev dette krav om det minimumsde-
      pot indført. Det skulle sikre, at alle klienter kunne betragtes som (semi-)professionelle. Introduktionen
      af et minimumsdepot blev over for pensionsplanerne ikke begrundet med, at der skulle være risici for-
      bundet med handlerne i udbyttearbitrage. Risikoen forbundet med udbyttearbitrage er i virkeligheden
      også meget begrænset, idet der, samme dag som aktierne erhverves, indgås en forward hedge. Pen-
      sionsplanen – og dennes custodian – sikrer sig ved forward hedgen, at aktierne kan sælges til en be-
      stemt pris. Den pris, som forwarden fastholder.

      De fire custodians behøvede ikke at håndhæve en forudbetaling af et bestemt minimumsdepot, da de
      som specialister i udbyttearbitrage vidste, hvordan de kunne håndtere risici ved at realisere alle
      transaktionerne (aktiekøb, forward hedge og aktielån) samtidig.

      Custodian løb i realiteten også kun en (begrænset) finansiel risiko, indtil nettoudbyttet fra aktierne blev
      modtaget og dermed stod som sikkerhedsstillelse i henhold til custody agreement og TTC-klausulen.

      Idet pengene befinder sig hos Solo Capital under TTC-klausulen, er disse ikke længere en bestanddel af
      pensionsplanens egne formue, som skal indrapporteres til IRS. ”Tilte Transfer” betyder netop, at ejer-
      skabet til de kontante pengemidler er overdraget til Solo Capital. Pensionsplanen har dermed ikke
      brudt nogen rapporteringspligt i USA, sådan som Skattestyrelsen i styrelsens sammenfattende indlæg i
      førersagerne på side 46 gerne vil have det til at fremstå.

      Når og hvis en pensionsplan skiftede custodian (indenfor Solo-gruppen) fra det ene år til det andet,
      blev minimumsdepotet stående hos Solo Capital som moderselskab, og de nye custody statements vi-
      ste en ”opening cash balance” på kr. 0. Dette faktum har Skattestyrelsen også selv konstateret, idet det
      påstås, at ”pengene forsvinder”:

               ”En tilsyneladende undtagelse til det manglende overskud er Jump Group (SANST
               j.nr. XX-XXXXXXX, bilag 10, s. 2), hvis konto hos Old Park Lane i 2014 blev kredite-
               ret cash payment/receipts for 927.100,27 kr. og debiteret 19.952,02 USD. Det er
               udokumenteret, hvad disse poster dækker over. Ved udgangen af 2014 var disse
               beløb tilsyneladende på kontoen hos Old Park Lane. Beløbene forsvinder dog fra
               2014 til 2015, hvor Jump Group anvendte en anden Shah-custodian, nemlig Solo
               Capital”.

      9.8 ”Fiktive transaktioner”

      Skattestyrelsen henviser gentagne gange til, at påstanden om fiktiv aktivitet er et resultat af undersø-
      gelser af registreringerne hos VP Securities. Pensionsplanen har utallige gange benægtet, at VP Securi-
      ties skulle være en egnet kilde til dokumentation af retmæssigt ejerskab af danske aktier, herunder til
      at identificere en fiktiv eller en reel aktivitet.

      Pensionsplanerne repræsenteret i førersagerne har anmodet en engelsk sagkyndig – Simon Bird – om
      at undersøge, om aktiviteten hos Solo-selskaberne kunne være ”fiktiv”. Den sagkyndige konkluderer i
      sin rapport – der her fremlægges som bilag 95, at påstanden om ”fiktiv” aktivitet ikke er holdbar. Han
      fremhæver desuden, at hans undersøgelser vedrørende begrebet “fiktiv aktivitet” viser, at dette ikke er
      et juridisk entydigt defineret begreb.

      Skattestyrelsen påstår uden nogen dokumentation, at pensionsplanen ikke blev ejer af aktierne. Det
      må påhvile Skattestyrelsen at dokumentere denne påstand om et negativt faktum (intet ejerskab), ef-
      tersom pensionsplanen har fremlagt ikke kun den oprindeligt krævede dokumentation for ejerskab,
      men sidenhen også alle de nu forlangte dokumenter til støtte for en refusionsanmodning, som overho-


 Sagsnr. XX-XXXXXXX                                 Side 156/239
Case 1:18-md-02865-LAK                    Document 836-47               Filed 06/27/22            Page 404 of 462




         ved kan fremlægges. Pensionsplanen har som det eneste ikke fremlagt dokumentation for ejerskabs-
         kæder og pengestrømmen, som ingen aktionær, der holder sine aktier i et omnibusdepot, kan frem-
         lægge. Pensionsplanen har løftet bevisbyrden for flere år siden. Der skal i den forbindelse tillige henvi-
         ses til det ovenfor anførte om bevisbyrde i disse sager.

         9.8.1 Definition ”fiktiv transaktion”

         9.8.1.1 Fiktiv Handel

         Skattestyrelsen påstår i styrelsens sammenfattende indlæg af den 9. august 2019, side 5, 12, 50, 52, 54
         og 70, ligesom i alle styrelsens tidligere indlæg, at de af pensionsplanerne gennemførte aktietransak-
         tioner skulle være fiktive – og ikke have ført til, at pensionsplanerne faktisk blev ejere af de omhand-
         lede aktier.

         Mens Skattestyrelsens indlæg i Danmark ikke leverer mange indicier for, hvad der menes med ”fiktive
         transaktioner” og ”faktiske ejere”, leverer Skattestyrelsens indlæg i andre lande under de civile erstat-
         ningssager flere indikationer for, hvad Skattestyrelsens egentlige anbringende kan være.

         Skattestyrelsen lader til at benægte transaktionernes realitet ved at tage udgangspunkt i, at pensions-
         planerne må have købt de store aktieposter af short sellere, som aldrig leverede aktier til pensionspla-
         nernes depoter hvorfor pensionsplanerne ikke kan have modtaget et udbytte (i form af en market
         claim) og derfor ikke var refusionsberettigede.

         Dette udgangspunkt støttes på følgende forudsætninger:

1        Pensionsplanerne købte aktier af short sellere
2        Aktierne blev aldrig leveret til pensionsplanerne
3        Pensionsplanerne modtog ikke noget udbytte (nogen market claim).

         9.8.1.1.1 Køb af short sellere

         Som det fremgår mere udførligt af det ovenstående afsnit (vedrørende short selling), er der ingen kø-
         ber, der ved, om han køber af en short seller eller en long owner. Pensionsplanen har ingen kontakt til
         den ultimative sælger. Desuden sammenblandes samtlige aktier solgt af alle brokerens kunder ui-
         genkaldeligt hos brokeren, således at det ikke kan spores, hvilken ”aktie” der kom fra hvilken sælger.
         Dematerialiserede aktier er genusvarer, der ikke kan identificeres og spores individuelt. Endelig medfø-
         rer ejermatchinghandlerne gennemført af brokerne, at pensionsplanerne altid køber af en long owner.
         Ingen af brokerne solgte aktierne short. De var ikke market makere.

         9.8.1.1.2 Levering af aktierne købt af short sellere

         Selv hvis enkelte af de aktier, som pensionsplanerne købte, ultimativt skulle have stammet fra en eller
         flere short sellere, blev samtlige aktier leveret til pensionsplanernes depotkonto i Solo-gruppen. Senest
         på leveringstidspunktet er der kun én civilretlig ejer af aktierne tilbage.

         Skatteretligt er pensionsplanerne ligeledes at betragte som de retmæssige ejere af aktierne, for pen-
         sionsplanerne vidste ikke, om – og i givet fald – hvilke af de købte aktier, short selleren havde lånt for
         at kunne levere.

         Ved leveringen til pensionsplanerne ender desuden aktielångivers retmæssige ejerskab (og ret til refu-
         sion), og pensionsplanerne bliver de eneste retmæssige ejer af aktierne.


    Sagsnr. XX-XXXXXXX                                  Side 156/239
Case 1:18-md-02865-LAK                   Document 836-47               Filed 06/27/22            Page 405 of 462




         9.8.1.1.3 Modtagelse af udbytte (market claim)

         Idet pensionsplanerne modtog aktierne på deres depot og også var de sidste købere af aktierne på ud-
         byttedatoen (generalforsamlingsdatoen), modtog pensionsplanerne også udbyttet fra selskaberne. Om
         det udbytte, pensionsplanerne modtog, var en kompensationsbetaling fra en short seller, eller udbyt-
         tet, der oprindeligt blev udbetalt af selskabet selv, kan ingen se. Mindst af alt pensionsplanerne selv.
         Det kan derfor heller ikke forlanges af pensionsplanerne at eftervise, at de beløb, de modtog, ikke var
         kompensationsbetalinger, men derimod oprindeligt udbytte fra de danske selskaber.

9.8.1.2 Fiktive aftaler

         Skattestyrelsens teori om fiktive transaktioner kan også fortolkes således, at styrelsen mener, at pen-
         sionsplanerne enten slet ikke afgav nogen ordrer til at købe aktier, eller, hvis disse blev afgivet, så var
         de ikke rettet mod et køb af aktier, men rettet mod at lade det se ud, som om pensionsplanen havde til
         hensigt at købe aktier.

         Med en sådan definition ville Skattestyrelsen orientere sig efter det i Tyskland definerede begreb
         ”Scheingeschäft”. I den europæiske database eur-lex.europa.eu og på Europa-Parlamentets hjem-
         meside, europarl.europa.eu oversættes det tyske ”Scheingeschäft” netop til ”fiktive transaktioner”, ”fi-
         dusoperationer”, ”fantom-operationer” eller ”formodede forhold”, der ikke tager udgangspunkt i fakti-
         ske forhold (ikke er resultatet af de pågældende parters faktiske hensigter).

         Taget i betragtning, at Tyskland efter utallige års erfaring med undersøgelserne af udbyttearbitrage el-
         ler cum ex-trading, må betragtes som førende i Europa, må formodes, at Skattestyrelsen lader sig influ-
         ere af de tyske myndigheders sprogbrug.

         Skattestyrelsen støder herved ikke kun på det problem, at tysk lovgivning adskiller sig væsentligt fra
         dansk lovgivning, hvad angår forudsætningerne for at erhverve ejerskab til aktier (jf. ovenfor). Skat-
         testyrelsen lader sig også lede af de tyske påstande om, at cum ex transaktionerne skulle være såkaldte
         ”Scheingeschäfte”, uden at et tilsvarende begreb findes i dansk sprogbrug og langt mindre er juridisk
         defineret.

         Under tysk lovgivning er ”Scheingeschäft” både defineret i skatteretten (§ 41 Abs. 2 AO), og i civilretten
         § 117 BGB (jf. BFH BStBl 1985, 33; 2004, 622; Klein, AO, 13. udgave S. 42 Nr. 42). I henhold hertil er der
         tale om et ”Scheingeschäft”, når de kontraherende parter ved fælles overenskomst kun får det til at se
         ud, som om der foreligger en retshandel, men at parterne samstemmende ikke har til hensigt at lade
         de med retshandlen almindeligvis forbundne retlige virkninger indtræde (BGH NJW 1982, 569; 2002,
         1963). Dette især på baggrund af, at de er enige om ikke at ville, det som de erklærer, og at erklærin-
         gerne kun afgives for foregive, at det man erklærer, svarer til ens virkelige hensigt. (BFH BStBl 1997,
         655; BFH/NV 1988,151; 2007, 2233).

         I de omhandlede sager forholder det sig dog således, at der ikke foreligger nogen ydre omstændighe-
         der (indicier), der tyder på et forbehold fra pensionsplanernes side om ikke at ønske de med aftalerne
         (købekontrakterne, forwardkontrakterne og aktieudlånene) forbundne retlige virkninger. Tværtimod.
         Pensionsplanerne ville netop opnå ejerskab til aktierne og således opfylde betingelserne i dobbeltbe-
         skatningsoverenskomsten med Danmark. Pensionsplanerne og de respektive kontraktuelle modparter
         ønskede samtlige retsvirkninger, der er forbundet med de indgåede aftaler. Disse retlige virkninger
         blev også realiseret, idet aktieposterne blev registreret på pensionsplanernes depotkonti.

         Når en person afgiver en hensigtserklæring, der er forbundet med bestemte retsvirkninger, og perso-
         nen både har til hensigt at lade disse retsvirkninger indtræde og også muligheden herfor, kan der ikke


  Sagsnr. XX-XXXXXXX                                   Side 156/239
Case 1:18-md-02865-LAK                    Document 836-47                 Filed 06/27/22            Page 406 of 462




         være tale om fiktive handlinger eller aftaler. Er viljen til, at retsvirkningerne skal indtræde, til stede, og
         har personen muligheden for at kunne sørge for, at retsvirkningerne indtræder, så er aftalen vedrø-
         rende disse retsvirkninger også endelige og bindende og medfører de retsvirkninger, som aftalen
         havde til hensigt.

         9.8.2 Handel organiseret af Solo

         Skattestyrelsens påstand om fiktiv handel arrangeret og styret af en clearing-agent (Solo) stiller realite-
         terne og reglerne for aktiehandel på hovedet, idet:

        Fondsmægleren modtager en ordre (instruktioner) fra sin kunde (pensionsplanen)
        Fondsmægleren sender instruktioner til clearing og afviklingsagenten om clearing af handlen
        Clearing og afviklingsagenten er en simpel modtager af instruktioner fra fondsmægleren og kan derved
         ikke arrangere, foranledige eller styre transaktionen. Clearing og custody kommer til sidst i kæden af
         tjenesteydelser.

         Skattestyrelsens påstande omkring interne bogføringer og en manglende strøm af aktier og penge er
         uholdbare, eftersom disse påstande henviser til post-trade-processen (dvs. clearing og afvikling), der
         først finder sted, efter at køber er blevet ejer af aktierne. Ejerskabet overdrages ved den endelige og
         bindende aftale om købet. Clearing og afvikling er således principielt uden betydning for opnåelse af
         ejerskab til aktierne, da der er tale om processer, der fører til en registrering af det allerede opnåede
         ejerskab ved en custodian.

         I denne forbindelse skal det bemærkes, at virksomheden, der udelukkende er ansvarlig for clearing og
         afvikling, i henhold til artikel 37, stk. 3, i CSD-forordningen er pålagt følgende forbud: ”Overtræk på
         værdipapirer, debetsaldi og værdipapiroprettelse er […] ikke tilladt i et værdipapirafviklingssystem, som
         drives af en CSD”. Dette gælder i henhold til kapitalmarkedslovens § 192, pkt. 2, også for en investor-
         CSDsom selskaberne i Solo-gruppen. Det er derfor umuligt, at en reguleret og kontrolleret britisk inve-
         stor-CSD kan have krediteret danske aktier på kontoen for en pensionsplan uden at have debiteret
         samme på en anden depotkonto. Det ville det regelmæssige tilsyn med virksomheden under FCA-regu-
         leringerne have opdaget og forhindret.

         Selv hvis den løbende kontrol af Solo-gruppen gennem FCA ikke havde afsløret manglende dækning af
         transaktionerne på kontiene, ville den grundige undersøgelse af Solo-gruppens servere efter 2015 af
         både FCA, de britiske anklagemyndigheder og SØIK have frembragt dokumentation herfor og ført til til-
         svarende strafferetlige skridt.

         De indsendte trade- og transaction reports, som blev modtaget hos henholdsvis FCA (de britiske til-
         synsmyndigheder) og LSE (børsen i London), dokumenterer yderligere, at brokerne, clearing-agenterne
         og custodians ikke blot foretog ”interne bogføringer”. Registreringerne af aktietransaktionerne i elek-
         tronisk form blev rapporteret til de ansvarlige myndigheder, sådan som det er forudsat i den relevante
         lovgivning.

         Clearing-agenten og custodian har i modsætning til det af Skattestyrelsen anførte afviklet den ved den
         uafhængige broker indgåede købekontrakt og derved sikret det allerede af pensionsplanen erhvervede
         ejerskab til aktierne. Solo-gruppen foretog ingen fiktive transaktioner, men sørgede for, at det oversky-
         dende antal ejere af danske akter, som eventuelt kunne være opstået ved køb af aktier fra short sel-
         lere, blev bragt tilbage til det antal aktier, som var udstedt af de danske selskaber.




    Sagsnr. XX-XXXXXXX                                   Side 156/239
Case 1:18-md-02865-LAK                       Document 836-47                 Filed 06/27/22            Page 407 of 462




           9.8.3 Fiktive aktier – short selling

           Som forklaret ovenfor i afsnit 7, fører short selling til, at der er flere civilretlige ejere af danske aktier,
           fra det tidspunkt hvor købekontrakten indgås, til det tidspunkt hvor aktierne leveres under afvikling af
           handlen.

           Kan Skattestyrelsen ikke godkende konceptet med flere ejere af samme aktier, kommer Skattestyrel-
           sen nødvendigvis til den konklusion, at der må være flere aktier i omløb end udstedt af selskaberne.

           Disse aktier er dog langt fra fiktive, som Skattestyrelsen påstår i det sammenfattende indlæg af den 9.
           august 2019, side 21. De er reelle, de handles, og de giver krav på registrering på køberens depotkonto
           samt krav på udbytte (såfremt køberen er den sidste køber på udbyttedatoen). De adskiller sig hverken
           i realiteten, faktisk eller retligt fra aktier udstedt af selskaberne selv. De lider kun under en enkelt man-
           gel: De er (endnu) ikke beskyttet over for tredjeparter, da de endnu ikke er registreret på en depot-
           konto. Denne mangel lider aktier udstedt af selskaberne dog også selv under i perioden mellem salget
           at aktierne (foretaget af en long owner) og registreringen af overdragelsen af ejerskabet på depotkon-
           toen.

           Aktier solgt ved short selling kan heller ikke i realiteten skelnes fra aktierne solgt af en long owner sel-
           ler. Den eneste, der kan se forskellen på aktierne, er short sellerens custodian og clearing-agent, der
           kan se, at short selleren ikke har aktien på salgstidspunktet, og clearing-agenten derfor indestår for, at
           den solgte aktie også leveres. Den aktie, som custodian bogfører på køberens konto, er dog altid en
           ægte aktie udstedt af selskabet. Det overskydende antal aktier, der befinder sig i handlen, kan ikke re-
           gistreres på en depotkonto.

           Short selling kan dog medføre, at der er mere end en retmæssig ejer af aktierne, idet aktielångiver ikke
           kan vide, om aktielåntager sælger aktierne til en tredjepart køber, der handler i god tro og dermed ikke
           ved, at aktierne, han køber, kun er lånt. I mange tilfælde ved den retmæssige ejer slet ikke, at hans ak-
           tie er lånt ud, idet mange banker i deres almene forretningsbetingelser har (havde) betinget sig retten
           til at låne aktierne ud eller endog sælge dem til tredjemand, uden at depotindehaveren informeres. I
           det tilfælde er det banken, der kompenserer sin kunde for udbyttet, der modtages. De aktier, som kø-
           beren modtager på sin depotkonto, er også i dette tilfælde aktierne udstedt af selskabet selv. Andre
           aktier kan selv ikke registreres på en depotkonto.

           I det øjeblik hvor pensionsplanens aktiekøb alle blev afviklet, og aktierne var registreret på dens konto,
           var det uden tvivl ægte aktier udstedt af de danske selskaber som pensionsplanen ejede.

9.9        Skattestyrelsens fejlagtige antagelser om processen

           Skattestyrelsen beskriver i det sammenfattende indlæg af den 9. august 2019 i afsnit 5.4, side 34-35,
           hvordan styrelsen mener, forløbet til køb af aktier skulle være, og gengiver herved – igen fejlagtig –
           hvad pensionsplanerne i førersagerne tidligere har skrevet.

           Skattestyrelsen påstår således:

                    Pensionsplanen gør gældende (5. indlæg, side 12, punkt 3 og afsnit I.1.1.7), at der
                    er blevet afgivet en købsordre til custodian/clearing agent, der er en del af Solo-
                    gruppen. Der er ikke fremlagt dokumentation for disse købsordrer. Når custodian
                    har godkendt ordren, er ordren blevet placeret hos en executing broker.

           Dette citat er forkert.


      Sagsnr. XX-XXXXXXX                                    Side 156/239
Case 1:18-md-02865-LAK                Document 836-47                Filed 06/27/22           Page 408 of 462




      Pensionsplanen har aldrig påstået, at købsordren afgives til custodian/clearing- agenten. Købsordren
      afgives naturligvis til brokeren. Clearing-agenten informeres blot om, at ordren er afgivet, således at
      clearing-agenten kan give forhåndstilsagn om at afvikle handlen, hvis den matches. Når clearing-agen-
      ten har givet sit tilsagn om afvikling, matcher brokeren ordren, som han allerede har fra pensionspla-
      nen.

      Handelsnotaen dokumenterer rent faktisk, at handlen er blevet matchet, og da ingen kan forhindre af-
      viklingen, efter matching er foregået, er en broker confirmation samtidig også en bekræftelse af afvik-
      lingen (”gennemførelsen”, som Skattestyrelsen ønsker at kalde det). Derfor indeholder en broker con-
      firmation også informationer omkring settlement date.

      På side 35 fortsætter Skattestyrelsen med en forkert beskrivelse af, hvordan en handel foregår:

                    1. “Pensionsplanen afgiver en ordre (f.eks. om køb) – evt. efter godken-
                       delse fra custodian
                    2. Brokeren matcher pensionsplanen med en med- kontrahent (f.eks en
                       sælger)
                    3. Brokeren laver en handelsnota (broker confirmation)
                    4. Handlen gennemføres 8settlement) i overensstemmelse med aftalen“

      Dette er ikke korrekt.

      Brokeren matcher ikke en pensionsplan med en medkontrahent. Det, der bliver matchet, er de respek-
      tive ordrer.

      Skulle Skattestyrelsen have ment, at det var ordrerne, der blev matchet, og blot have glemt at skrive
      ordet ”ordre” må vi hermed konstatere, at skrivefejl også sker for Skattestyrelsen selv. Når det sker for
      Skattestyrelsen selv i et indlæg på ”kun” 76 sider, er det så meget desto mere naturligt, at der også på
      tusindvis af sider af broker confirmations sker skrivefejl.

      Skattestyrelsen fortsætter på side 35:

               “Hvis det hele var foregået pænt og ordentligt, burde handlen blive gennemført
               (settlement) ud fra de vilkår, der er angivet i handelsnotaen (medmindre der sker
               en fejl ved gennemførslen). Med andre ord burde handelsnotaen (ved rigtige ak-
               tiehandler) være bestemmende for handlens vilkår.“

      Den grundlæggende fejltagelse, som Skattestyrelsen begår her, er, at settlement ikke sker på baggrund
      af en handelsnota (broker confirmation), men på baggrund af en egen, separat elektronisk ”settlement
      instruction” der går ud fra handelsplatformen, hvor ordrerne blev matchet. Det er fuldkommen ligegyl-
      digt, hvad der står på en broker confirmation for settlement af en handel. Clearing-agenten ser ikke no-
      gen broker confirmation. Den er sendt som dokumentation fra brokeren til kunden (pensionsplanerne).

      Det af Skattestyrelsen konstruerede eksempel, hvor ”man bestiller en togbillet til Århus, sætter sig på
      et tog til Malmø og alligevel bliver kørt til Århus”, er lige så forkert som resten af Skattestyrelsens på-
      stande omkring handelsnotaerne (broker confirmations). En broker confirmation er hverken at sam-
      menligne med en togbillet eller at sammenligne med at stige på det forkerte tog. Vil man absolut sam-
      menligne et aktiekøb med en togrejse, kan en broker confirmation højest sammenlignes med en hånd-
      skrevet kvittering, man har modtaget for togbilletten til Århus. Man stiger dog stadig på det rigtige tog
      og har også den rigtige billet.
      9.10 Aktiekøb blev gennemført


 Sagsnr. XX-XXXXXXX                                  Side 156/239
Case 1:18-md-02865-LAK                Document 836-47                Filed 06/27/22            Page 409 of 462




      Skattestyrelsens påstand, om at det ikke er dokumenteret, at der for pensionsplanens aktiehandler er
      sket settlement, dvs. at aktiehandlerne er gennemført, ved at parternes ydelser (aktier og penge) blev
      udvekslet, er forkert.

      Dokumentationen for settlement er de fremlagte custody statements.

      Det kan udelukkes, at sælger ikke har været berettiget til at sælge de aktier, som pensionsplanen
      købte, og at der dermed kunne foreligge vanhjemmel, idet pensionsplanen i realiteten modtog ak-
      tierne på sin depotkonti. Dette er netop, hvad custody statement viser.

      Skattestyrelsen fremhæver i styrelsens sammenfattende indlæg af den 9. august 2019 under punkt 5.5
      på side 42, at

               ”der er intet, som viser, at der på noget tidspunkt har været aktier i et depot tilhø-
               rende pensionsplanernes custodian”.

      Dette er en simpel udokumenteret påstand fra Skattestyrelsen.

      Pensionsplanernes custodian har ikke haft en egen omnibuskonto hos VP Securities. Af samme grund
      bekræfter VP Securities således også, at de ikke kan bekræfte, at pensionsplanerne har været ejere af
      danske aktier.

      VP Securities bekræfter dog -
                                  ikke,
                                    - at de kan udelukke, at pensionsplanerne har været ejere af de danske
      aktier. Dette netop pga. omnibuskonti og afviklingen af aktiehandler under anvendelsen af netting.

      VP Securities har ganske vist bekræftet, at pensionsplanernes custodians ikke selv havde nogen konto
      hos VP Securities. Dette betyder dog ikke automatisk. at de pågældende custodians ikke havde nogen
      aktier i depot. Om de havde aktier i depot, kan kun bekræftes af de fire custodians selv, for kun de ved
      med sikkerhed, hvor de havde deres respektive depotkonti – hos hvilken subcustodian.

      Hvis SØIK ikke havde fundet noget aktiedepot for de fire custodians på computerne, der blev beslaglagt
      i 2015, må det formodes, at SØIK havde dokumenteret dette over for Skattestyrelsen. En sådan doku-
      mentation kan på ingen måde komme de strafferetlige efterforskninger til skade.

      Det faktum, at en sådan bekræftelse ikke foreligger, må fortolkes således, at SØIK rent faktisk har fun-
      det alle nødvendige aktiedepoter.

      Et custody statement og et dividend credit advice (DCA) er ikke blot som påstået af Skattestyrelsen
      ”ord på papir”. Det er derimod dokumenter, der udstedes som følge af en uigenkaldelig proces, der
      sættes i gang, når en købsordre matches med en salgsordre. De elektroniske handelsplatforme giver så
      et automatisk signal til afvikling, og resultatet af afviklingen er et custody settlement og et CDA, når ud-
      byttet modtages. Under det britiske Finanstilsyns kontrol kan der ikke etableres handelssystemer, der
      ikke reelt handler med aktier. De påkrævede ”trade reports” og ”transactions reports” til myndighe-
      derne i London ville have afsløret enhver ”fiktiv aktivitet”.

      Der foreligger absolut ingen grund til at formode, at dokumentationen blot skulle være ord på papir og
      det hele en ”skrivebordsøvelse” – som påstået i Skattestyrelsens sammenfattende indlæg i afsnit 6,
      side 47. For hvis det virkelig var som påstået af Skattestyrelsen, så må man for alvor stille sig det
      spørgsmål, hvorfor Solo Capital-gruppen/Sanjay Shah overhovedet gjorde sig den umage at onboarde



 Sagsnr. XX-XXXXXXX                                  Side 156/239
Case 1:18-md-02865-LAK                 Document 836-47                 Filed 06/27/22           Page 410 of 462




      så mange kunder. Hvis Solo Capital blot trykkede falske papirer, ville der ikke være brug for nogen pen-
      sionsplaner.

      At Skattestyrelsen også er af denne mening, dokumenteres ved det faktum, at det fra juni 2015 og ind-
      til de civile stævninger i sagen i sommeren 2018 konstant blev benægtet, at pensionsplanerne overho-
      vedet eksisterede. Skatteministeren og SKAT talte offentligt om ”fiktive pensionsplaner”.

      Med de civile stævninger måtte Skattestyrelsen nødvendigvis indrømme eksistensen af pensionspla-
      nerne, men trækker sig nu tilbage på lige så uholdbare påstande om ”fiktive handler” eller ”fiktive ak-
      tier”.

      9.11 Længere settlement-periode end VP Securities

      Indledningsvis skal pensionsplanernes repræsentanter gøre opmærksom på, at forvirringerne, der i fø-
      rersagerne er opstået undervejs, omkring hvilken settlementperiode der blev anvendt, udelukkende
      skyldes repræsentanternes egne manglende sagsoplysning, på tidspunkterne hvor de enkelte indlæg
      skulle fremsendes til Skatteankestyrelsen.

      Som Skattestyrelsen rigtigt påpeger, og som beskrevet ovenfor i afsnit 2, blev OTC-handlerne generelt
      afviklet med en dags længere frist, end VP Securities – og andre nationale CSD’er – bruger.

      En længere afviklingsfrist betyder dog ikke, at en handel ikke er ”markedskonform”. Og endnu mindre
      er det et bevis for svindel.

      Det eneste, som en længere afviklingsfrist medfører, er, at der opstår den internationalt anerkendte og
      velfungerende ”market claim”: Udbyttet sendes videre fra sælgers custodian til købers custodian, når
      aktiehandlen, der er markeret ”cum ex”, afvikles i depotsystemerne. Ingen af de internationale værdi-
      papirafviklingssystemer har problemer med at afvikle aktiehandler med en hvilken som helst afviklings-
      frist. Var det anderledes, ville lovgiver – ikke mindst fra EU’s side – have indført en lovpligtig afviklings-
      frist.

      At en sådan lovpligtig afviklingsfrist ikke eksisterer, betyder netop, at parterne frit kan aftale afviklings-
      fristen. Det er der intet svigagtigt eller risikabelt ved.

      Hvis man tjekker de store clearing-agenters hjemmesider (fx Euroclear: ttps://www.luxcsd.com/luxcsd-
      en/products-and-services/market-coverage/europe-t2s/belgium/settlement-services-belgium-euro-
      clear-belgium-- 1279750 eller Clearstream https://www.clearstream.com/re-
      source/blob/1316782/08a424c5b61fe77d19385e550a56a842/compensation-hand- book-cata-en-
      data.pdf), ser man, at de har indarbejdet et flagningssystem, der tillader dem at håndtere handler om-
      kring udbyttedatoen korrekt (nemlig markeret ”cum ex”), ligegyldigt hvor lang en afviklingsfrist der er
      aftalt.

      Der eksisterer ikke nogen ”risiko”, som Skattestyrelsen påstår i det sammenfattende indlæg i afsnit 5.6,
      side 43, for at pensionsplanerne ”udnytter tidsplanen” for udlodninger på det danske marked. Alle ver-
      dens aktiemarkeder opererer med lange afviklingsfrister og håndterer dette ved at overføre udbyttet
      som en ”market claim” til køberen. Alle custodians kan håndtere dette.

      Selv Også VP Securities kender market claim claim-processen og kan håndtere den. En bedre sagsoplys-
      ning fra Skattestyrelsens side, ved at informere orientere sig hos VP Securities om ”market claim-pro-
      cessen, kunne spare os alle for disse uholdbare påstande, der alene stammer fra Skattestyrelsens egne
      egen uvidenhed om, hvordan aktiemarkedet fungerer.


 Sagsnr. XX-XXXXXXX                                   Side 156/239
Case 1:18-md-02865-LAK                   Document 836-47              Filed 06/27/22           Page 411 of 462




      Problemet, som Skattestyrelsen står overfor, er ikke en afviklingsfrist, der ikke er ”markedskonform”,
      men derimod en skattelovgivning, der ikke kan håndtere market claim-processen, når man arbejder
      med nettoudbytter.

      Når udbyttet sendes ud af VP Securities og videre i afviklingssystemet i form af et nettoudbytte, vil
      dette altid betyde, at market claim-proceduren kan medføre, at udbyttet modtages af en person, der
      har en helt anden skattestatus, end den som VP Securities lagde til grund, da udbytteskatten blev be-
      regnet.

      Der er altså intet galt med en lang afviklingsfrist. Problemet ligger i market claim- proceduren, som
      Skattestyrelsen ikke kan håndtere. Formodentlig fordi Skattestyrelsen (eller lovgiver) ikke forstår denne
      proces.

      Market claim-processen indeholder heller ingen yderligere risiko for køberen af aktierne, idet udbyttet
      automatisk sendes videre af de involverede custodians fra sælger til køber. Den af Skattestyrelsen på-
      ståede risiko for, at sælger ikke overfører udbyttet til dem, eksisterer slet ikke. Sælger har selv ingen
      indflydelse på det. Det klarer afviklingssystemerne fuldautomatisk.

      Vi anbefaler Skattestyrelsen at forhøre sig hos VP Securities, om hvordan reel aktiehandel foregår i vir-
      kelighedens verden, og hvordan den håndteres. Så ville alt det, som ”ikke giver nogen mening” (se side
      17, 23, 27, 23, 27, 30, 35, 36, 38, 44, 45, 47, 50, 52, 58, 60, 61, 63 og 72) for Skattestyrelsen blive klart
      og tydeligt. Det er simpelthen for letkøbt at påstå, at finanstransaktioner, der hver dag gennemføres af
      hundredvis af aktører i hele verden – herunder af verdens største banker – ikke skulle give nogen me-
      ning. Naturligvis giver de ikke nogen mening, for den der ikke forstår finanstransaktionerne. Kinesisk gi-
      ver heller ikke nogen mening, for den der aldrig har lært sproget. Alligevel tales kinesisk af ca 1,1 mia.
      mennesker. Og ligesådan gennemføres disse transaktioner.

      Som dokumentation herfor kan henvises til ESMAs rapport af den 2. juli 2019 (jf. bilag 83), der påviser
      eksistensen af udbyttearbitrage og den trussel, som disse handler betyder for lande, hvis lovgivning
      ikke passer til aktiemarkedernes realiteter som skabt af EU’s egen harmoniserede lovgivning.

      9.12 Ikke blot en skrivebordsøvelse

      Skattestyrelsen mener i førersagerne at kunne konkludere, at samtlige aktiehandler skulle være en skri-
      vebordsøvelse, blot fordi de har konstateret en vis systematik.

      Den konstaterede systematik er i realiteten ikke andet end udtryk for reel udbyttearbitrage.

      9.12.1 Alle pensionsplaner køber til samme dag og til samme pris

      Skattestyrelsen mener, at det er et tegn på svindel, at alle pensionsplaner har købt aktier samme dag
      og til samme pris, jf. Skattestyrelsens indlæg af den 9. august 2019, afsnit 4.1.

      Det er naturligvis ikke rigtigt.

      Det er en selvfølge for alle investorer i udbyttearbitrage at købe aktier senest på udbyttedatoen. Det er
      der bestemt intet påfaldende ved, men det er derimod en indikation for ægte udbyttearbitrage på
      markedsvilkår. Aktiesælgerne, der ikke har adgang til en dobbeltbeskatningsoverenskomst, sælger først
      på udbyttedatoen deres aktier.




 Sagsnr. XX-XXXXXXX                                  Side 156/239
Case 1:18-md-02865-LAK                Document 836-47                Filed 06/27/22            Page 412 of 462




      Som beskrevet ovenfor er det også nødvendigt at handle enorme mængder aktier for overhovedet at
      realisere en gevinst, når forskellen mellem spot- og forwardprisen er så minimal, som den er i udbytte-
      arbitrage. Så store mængder aktier kan kun handles OTC for ikke at risikere, at spotprisen bevæger sig,
      og man risikerer påstande om markedsmanipulation.

      At fastsætte OTC-prisen som markedets lukkekurs, som Skattestyrelsen i det sammenfattende indlæg
      af den 9. august 2019, side 48, rigtigt erkender, er kun logisk, hvis prisen skal være fair for begge parter
      og ikke risikere at blive underkendt som ikke retvisende. Skattestyrelsen indrømmer således også på
      side 49, at det ikke er usædvanligt at anvende slutkursen til aktiehandler.

      Det er således helt uklart, hvad det er, Skattestyrelsen egentlig vil gøre gældende, når det konstateres,
      at aktierne er handlet til samme pris, nemlig markedets lukkekurs.

      At der i 15 tilfælde ud af ca. 1.400 er anvendt en anden kurs, bekræfter ligeledes, at det ikke er en cen-
      tralt organiseret, fiktiv handel.

      Det er påfaldende, at Skattestyrelsen på en gang både mener, at både anvendelsen af samme kurs og
      anvendelsen af forskellige kurser skulle være tegn på svindel. Det kan jo ikke være rigtigt. Det må jo
      være enten/eller. Skattestyrelsen må bestemme sig for, hvad der nu skal være indikation for svindel:
      samme pris eller forskellige priser. Det kan umuligt være begge dele.

      Dette viser, hvor desperat Skattestyrelsen forsøger at trække hvert eneste aspekt af aktietransaktio-
      nerne frem for at påstå, at ligegyldigt hvordan pensionsplanerne havde handlet, så mener Skattestyrel-
      sen, at det er svindel. Dette viser, at Skattestyrelsen på forhånd har besluttet, at der er tale om svindel,
      – uanset hvordan pensionsplanerne har handlet. Skattestyrelsen er umulig at gøre tilfreds. Skattesty-
      relsen har besluttet, at pensionsplanerne skal være skyldige, men ved bare ikke i hvad.

      Der er således heller ikke noget påfaldende i, at pensionsplanerne, der alle investerede i udbyttearbi-
      trage, har haft sammenfaldende handelsmønstre. Mange af dem har jo haft samme trustees.

      Desuden fører automatiseringen af handlerne i 2015 ved introduktionen af algo trading til en harmoni-
      seret handel. Det er der intet mistænkeligt ved.

      Skattestyrelsen erkender ganske rigtigt, at det kræver ganske meget arbejde at skaffe sig adgang til at
      købe aktieposter af så betydelig størrelse. Dette arbejde udføres jo også, måneder inden selve handlen
      indgås, ved at indgå kontrakter med brokere, der kan skaffe det, de kalder ”likviditet”, altså aktier nok
      til at matche handlerne.

      At brokerne herved sandsynligvis ligeledes indgår aftaler med short sellere, der ønsker at spekulere på
      prisudviklingen omkring udbyttedatoen, må pensionsplanerne erkende. Hvor mange, og hvilke aktier
      købt af pensionsplanere, der i sidste ende så virkelig kom fra short sellere, og hvor mange der kom fra
      long owners, kan pensionsplanerne ikke vide.

      Pensionsplanerne har heller ingen grund til at ”lukke aftalen” med sælgerne så hurtigt som muligt for
      at ”fastholde” sælgerne, som Skattestyrelsen påstår i det sammenfattende indlæg, side 49, for sælgers
      clearing-agent og custodian hæfter for, at aktierne også bliver leveret på settlement-datoen til den af-
      talte pris. Det er markedsvilkår for al aktiehandel i hele verden, som Skattestyrelsen åbenbart er uvi-
      dende om.




 Sagsnr. XX-XXXXXXX                                  Side 156/239
Case 1:18-md-02865-LAK                Document 836-47                Filed 06/27/22           Page 413 of 462




      9.12.2 Størrelsen på aktiebesiddelserne

      Pensionsplanerne har aldrig benægtet, at deres aktiehandler var systematiserede. Systematiseret bety-
      der dog ikke svindel eller skrivebordsøvelser, som Skattestyrelsen ønsker at betegne det. ”Systematise-
      ret” betyder hverken mere eller mindre end en velorganiseret ”trading desk”, som den eksisterer i en-
      hver anden bank.

      At algo traderen ikke foreslog alle trustees at købe samme antal aktier til samme klient, sker ikke for at
      ”sløre” noget som helst. Det sker for at give alle de involverede aktører (clearing-agenter, custodians,
      brokere og arrangers etc.) en bedre mulighed for at skelne mellem de forskellige ordrer afgivet på
      vegne af de forskellige pensionsplaner. Det reducerer risikoen for fejl.

      Naturligvis har hver eneste trustee i 2012-2014 selv anvendt lignende teknikker for at sikre, at han ikke
      forvekslede aktieposterne, der tilhørte de forskellige pensionsplaner.

      Da udbyttedatoen udløser købet af aktierne, og dette som ovenfor forklaret sker til samme pris, er de
      forskellige antal aktier hverken mere eller mindre end et element til at sikre forvaltningen af så store
      aktieporteføljer for så mange pensionsplaner. Det var jo mere undtagelsen end reglen, at en trustee
      kun forvaltede en enkelt pensionsplan.

      Igen må det konstateres, at Skattestyrelsen fordrejer faktum i sagen, helt efter hvad passer bedst i for-
      hold til styrelsens argumentation: Havde alle pensionsplaner købt samme antal aktier, ville dette også
      være blevet brugt imod dem.

      Skattestyrelsen bemærker i styrelsens sammenfattende indlæg nederst på side 50 - i øvrigt helt uden-
      for den øvrige systematik i indlægget og uden relation til antallet af aktier, der blev købt af hver pen-
      sionsplan:

               ”Det lykkes i alle tilfælde for pensionsplanerne at finde

                       én sælger,

                       én køber,

                       én aktielåntager og

                       én forward-aftalepart,

               der vil handle disse helt abnormt store aktieposter til netop de beløb, som pen-
               sionsplanen har ”ønsket”. Det gælder disse meget betydelige aktieposter – og i
               alle tilfælde.

               Det betyder, at pensionsplanerne på intet tidspunkt er fejlet med at finde med-
               kontrahenter til de store transaktioner. Og det betyder, at pensionsplanen på in-
               tet tidspunkt er blevet nødt til at splitte transaktionen i to eller alene gennemføre
               transaktionen delvist.

               Det kan ikke lade sig gøre for bare én pensionsplan. Det kan heller ikke lade sig
               gøre i så mange tilfælde. Pensionsplanernes påstand er derfor virkelighedsfjern i
               anden potens.”



 Sagsnr. XX-XXXXXXX                                 Side 156/239
Case 1:18-md-02865-LAK                    Document 836-47                 Filed 06/27/22            Page 414 of 462




         Igen et eksempel på, hvor lidt Skattestyrelsen stadig forstår vedrørende udbyttearbitrage, og hvor arro-
         gant de præsenterer deres uvidenhed.

         For det første kan Skattestyrelsen kun se de ordrer, der er blevet matchet, og hvor pensionsplanerne
         derfor har erhvervet ejerskab til aktierne. Aktier, pensionsplanerne ikke har købt, giver ikke krav på et
         udbytte, og lange mindre et krav på refusion. Det er derfor kun naturligligt, at Skattestyrelsen ikke kan
         se forretninger, der ikke er blevet realiseret.

         Pensionsplanerne har på intet tidspunkt påstået, at alle deres købsordrer blev matchet. Som eksempler
         på købsordrer, der ikke blev matchet, er fremlagt som bilag 78.

         Hvad angår Skattestyrelsens gentagne påstand om, at styrelsen ikke mener, det kan lade sig gøre at
         finde en sælger, en køber til forwarden samt en aktielåntager, så kan kun henvises til ovenstående,
         hvor det beskrives, hvor mange mellem- mænd der indgås kontrakter med, inden selve handlen star-
         ter.

         Pensionsplanerne vidste, at de ved at blive kunder i Solo-gruppen fik adgang til højt specialiserede bro-
         kere, clearing-agenter og custodians, der havde adgang til de nødvendige kontraktuelle modparter, for
         at transaktionerne kunne lykkes. Det var det, de betalte den høje pris for.

         9.12.3 Næsten ens aktieporteføljer

         At Skattestyrelsen i førersagerne i det sammenfattende indlæg i afsnit 6.3 kan konstatere, at pensions-
         planerne har haft næsten ens porteføljer, er en logisk konsekvens af (1) deres strategi var udbyttearbi-
         trage, hvorfor de alle netop købte ak- tier, i selskaber der udloddede et udbytte, og (2) algo traderen,
         der i 2015 foreslog, hvilke og hvor mange aktier hver pensionsplan skulle købe. Det var computeren
         programmeret til. Det betyder ikke, at handlerne ikke fandt sted.

         De 12 aktier, som der blev købt i 2014, og de to, der blev handlet i 2012, er ligeledes et entydigt udtryk
         for udbyttearbitrage. Traderen (trustee’en) vælger, hvilke af de aktier, han vil købe, på vegne af pen-
         sionsplanerne som netop udlodder udbytte.

         Skattestyrelsens konstateringer er ikke dokumentation for en skrivebordsøvelse, med derimod doku-
         mentation for reelle aktiehandler.

9.12.4   Alle pensionsplanerne har handlet med de samme parter

         Der er ikke mange kommentarer nødvendige til at besvare, hvorfor pensionsplanerne handlede med de
         samme partnere: Da der er tale om ejermatchinghandler, er sælgerne (og senere køberne) af aktierne
         altid pensionsplanernes brokere.

         Modparten til forwardkontrakten var ligeledes professionelle mellemmænd ligesom aktielåntagerne.

         Alle modparterne var ikke de ultimative modparter men professionelle mellemmænd indenfor deres
         respektive branche.

         For at clearing-agenten ville og kunne indestå for den finansielle risiko for en fail (dvs. at den nødven-
         dige kapital ikke ville være til stede til at betale for aktierne på afviklingsdatoen), var det naturligvis en
         betingelse, at samtlige parter – altså pensionsplanerne og alle mellemmænd til de forskellige transak-
         tioner – var kunder hos Solo-gruppen. Ved at have alle parter som kunder havde Solo-gruppen ikke



   Sagsnr. XX-XXXXXXX                                    Side 156/239
Case 1:18-md-02865-LAK                   Document 836-47               Filed 06/27/22           Page 415 of 462




         brug for så stor en egenkapital under Basel 2-kravene (internationale krav om en minimumskapitalise-
         ring af finansielle virksomheder).

9.12.5   Samme salgstidspunkt

         At alle pensionsplaner solgte deres aktier på næsten samme tidspunkt, er heller ikke udtryk for svindel,
         men derimod dokumentation for realiteten af de enkelte bestanddele af udbyttearbitrage.

         Pensionsplanerne købte aktierne på samme tidspunkt og havde dermed næsten de samme finansie-
         ringsbetingelser – da de afhænger af de aktuelle markedsbetingelser. Det betyder med andre ord, at
         omkostningerne for finansieringen på samme tidspunkt har absorberet den hidtidige gevinst ved
         transaktionerne. Udviklingen af markedet er ens for alle pensionsplaner og har derfor samme konse-
         kvenser for alle pensionsplaner. De når mere eller mindre samtidig et nulresultat af investeringen og
         må lukke samtlige positioner (se ovenfor).

         9.12.6 Sanjay Shah kontrollerede pensionsplanernes custodians (Solo- gruppen)

         Skattestyrelsen anfører i det sammenfattende indlæg af den 9. august 2019 i af- snit 6.6, side 55, at
         pensionsplanerne skulle have ændret deres forklaring om de fire custodians.

         Det er ikke korrekt. Pensionsplanerne har ikke ændret deres forklaringer, de har tilføjet yderligere in-
         formationer, som de har modtaget mellem de forskellige indlæg. Pensionsplanerne har – som følge af
         at Skattestyrelsen nu igennem flere år er kommet med formodninger og beskyldninger mod pensions-
         planere – været tvunget til at undersøge forbindelserne mellem de anvendte custodians nærmere. For
         at gennemføre udbyttearbitrage er det for pensionsplanerne fuldkommen irrelevant, hvilket selskab
         der tilhører hvem, og i hvilken indbyrdes relation de står.

         Ved at henvende sig til en ekspert i London (Simon Bird), der har udarbejdet en rapport, jf. bilag 95, har
         pensionsplanerne i førersagerne fået oplyst, at Solo Capital allerede blev stiftet i 2009 og ikke som på-
         stået af Skattestyrelsen i 2011. Solo Capital købte herefter de specialiserede firmaer Telesto, Old Park
         Lane og West Point Derivatives i perioden 2012-2015. Disse virksomheder eksisterede allerede og
         havde hver især tilladelse fra det engelske finanstilsyn til at arbejde som clearing-agent og custodian.
         Efter de blev datterselskaber til Solo Capital, havde de deres omnibuskonti hos Solo Capital og ikke
         længere direkte ved eksterne custodians. De eksterne omnibus-custody accounts for hele gruppen blev
         i henhold til Simon Bird etableret i Solo Capitals navn.

         Dette vidste pensionsplanerne ikke i 2014 og 2015, og de havde heller ikke brug for at vide det.

         Det er kendetegnende for samtlige Skattestyrelsens indlæg, at der konstant fremsættes irrelevante op-
         fordringer og udokumenterede påstande, som pensionsplanerne med stor umage må efterkomme. Når
         det lykkes, vender Skattestyrelsen til- bage og påstår, at pensionsplanerne modsiger sig selv – med den
         nye viden de har fremskaffet takket være undersøgelserne foretaget under presset fra Skattestyrelsen.
         Alternativt hævder Skattestyrelsen, at pensionsplanerne ikke har løftet bevisbyrden eller har undladt at
         besvare en opfordring, hvis det af Skattestyrelsen forlagte dokument ikke kan fremskaffes – af rent
         praktiske årsager, eller simpelt- hen fordi det, som Skattestyrelsen forlanger dokumenteret, ikke kan
         dokumenteres af noget menneske på jorden.

         Det er ligeledes påfaldende, at Skattestyrelsen igen forsøger at bringe pensionsplaneres troværdighed
         og bevisværdien af deres dokumentation i miskredit ved at henvise til efterforskninger foretaget af det
         danske, engelske og tyske politi. En efterforskning af så mange myndigheder i så mange år uden synligt
         resultat taler dog ikke ligefrem for Skattestyrelsens formodning om, at der skulle være foregået noget


   Sagsnr. XX-XXXXXXX                                  Side 156/239
Case 1:18-md-02865-LAK                 Document 836-47                Filed 06/27/22            Page 416 of 462




      ulovligt i Sanjay Shahs virksomheder. Havde hans virksomheder ikke afviklet aktietransaktioner, men
      blot udarbejdet falske dokumenter, må det kunne lægges til grund, at anklagemyndighederne i tre
      lande efter nu fire år kunne have påvist dette. Ikke mindst, da de er i besiddelse af al den dokumenta-
      tion, som pensionsplanerne mangler: computerne, hvor transaktionerne blev registreret.

      9.12.7 Shahs ”Univers”

      Skattestyrelsen præsenterer i det sammenfattende indlæg af den 9. august 2019 en lang historie om
      ”Shahs Univers”.

      Hertil skal først og fremmest bemærkes, at disse sager ikke drejer sig om Sanjay Shah og hans selska-
      ber. Han er part i de civile søgsmål i London og Dubai og forsvarer selv sin sag der. Det er ikke pensions-
      planernes opgave at besvare spørgsmål vedrørende ejeren af de selskaber, som de blot var kunder hos.

      Det kan de heller ikke, uden at Skattestyrelsen igen ville komme med påstande om, at alle informatio-
      ner eller rettelser, som pensionsplanerne ville opdrive vedrørende Skattestyrelsens opfundne historier
      omkring et ”Shah univers”, ville være dokumentation for, at pensionsplanerne og deres custodians age-
      rede som en sammensvoren ”bande”.

      Pensionsplanerne har dog fra High Court i London indhentet Sanjay Shahs eget 204 siders processkrift
      af maj 2019, hvori han udførligt tager stilling til samtlige af Skattestyrelsen fremsatte påstande, jf. bilag
      85. Yderligere har pensionsplanerne ikke at tilføje til dette omfangsrige dokument.

      Så udførligt, som Sanjay Shah beskriver hvert et skridt, som hans selskaber foretog i forbindelse med
      afviklingen af aktietransaktionerne på vegne af pensionsplanerne, kan pensionsplanerne slet ikke be-
      skrive post-trade-processen. Pensionsplanerne ved kun, at de har givet instruktioner til afvikling, men
      hvordan denne sker, kan de ikke beskrive. Pensionsplanerne må derfor helt og fuldt forlade sig på be-
      skrivelserne præsenteret af Sanjay Shah i London.

      Som det fremgår heraf, var forretningsgangen hos de fire custodians i Solo-gruppen organiseret, så den
      nøje fulgte de europæiske og engelske love og regler omkring aktiehandel.

      Det ses yderligere, at Solo-gruppens forretningsgang svarer til den typiske udbyttearbitrage som be-
      skrevet af ESMA.

      Sådan som Sanjay Shah beskriver afviklingen af aktiehandlerne (clearing/settlement, custody) skete
      denne i fuld overensstemmelse med Unidroits retningslinjer fastlagt i Geneva Securities Convention –
      som her fremlægges som -    bilag
                                    - -96,
                                        - hvilke er gældende ret – også for Danmark, som har været medlem
      af Unidroit siden 1940. I henhold til denne konvention kan den elektroniske registrering af ak- tieposter
      hos en custodian, der dokumenterer ejerskab af aktierne, ikke være falske (jf. artikel 10, 16 og 18). De
      mest centrale regler i denne konvention findes også i EU's regler, især i CSD-direktivet samt Finality-di-
      rektivet, og sikrer således inden for EU retssikkerheden inden for afviklingen af aktiehandler.

      9.12.8 Fortløbende nummerering af Credit Advices på tværs af Solo-grup- pen, som også blev an-
      vendt i 2017

      Skattestyrelsen anfører, at de fire custodians, der tilhører Solo-gruppen har udgivet DCA’er med fortlø-
      bende numre. Som Skattestyrelsen korrekt har konstateret, forekommer der ikke nogen dubletter i
      numrene fra disse fire custodians. Skattestyrelsen har ligeledes konstateret ”huller” i nummereringen,
      som tilsyneladende ikke var benyttet, men som Skattestyrelsen bemærker, må være udstedt til de 34
      pensionsplaner, som i februar 2017 indgav anmodning af refusion af udbytteskat.


 Sagsnr. XX-XXXXXXX                                  Side 156/239
Case 1:18-md-02865-LAK                 Document 836-47               Filed 06/27/22            Page 417 of 462




      Dette faktum taler ikke for, at Credit Advices er orkestreret fra centralt hold. Det er heller ikke udtryk
      for manglende realitet eller svindel.

      Det er blot dokumentation for, at de fire selskaber, der tilhører samme gruppe af selskaber, brugte det
      samme ”back office” til at udstede DCA’er for de fire selskaber. Det er dokumentation for, at de fire cu-
      stodians arbejdede sammen med hen- syn til diverse administrative opgaver såsom udstedelse af do-
      kumentation til klienterne. Det er udtryk for arbejdsrationalisering og omkostningsbesparelse.

      At der ikke er udstedt nogen dubletter, og at DCA’erne, som Alpine Consultancy fremlagde i 2017, pas-
      ser ind i ”hullerne”, som Skattestyrelsen har konstateret, er netop dokumentation for, at de fire custo-
      dians må have anvendt samme IT-ser- viceudbyder eller software til at udstede DNA’erne, og at denne
      software eller IT- serviceudbyder arbejdede fejlfrit. Der blev ikke udgivet DCA’er med samme nummer
      for de fire custodians (dermed ingen dubletter), og alle numre blev udgivet uden ”huller”.

      Det er logisk, at de i februar 2017 indsendte DCA’er passer ind i nummereringen, da de 34 pensionspla-
      ner må have handlet de danske aktier på samme tidspunkt som de andre pensionsplaner, der tidligere
      havde indgivet anmodning om refusion – og fået denne bevilliget.

      Idet pensionsplanerne netop ikke er del af Solo-gruppen kan de naturligvis ikke fremlægge de af Skat-
      testyrelsen forlangte interne aftaler om en central administration til at udstede samtlige DCA’er. Kunne
      pensionsplanerne fremlægge disse interne aftaler, ville Skattestyrelsen netop anvende dette som angi-
      velig dokumentation for pensionsplanernes manglende selvstændighed fra deres custodians.

      Der er dog intet underligt i, at den centrale administration udsteder DCA’er på hver af de fire custodi-
      ans’ egne brevpapirer, og at hver custodian har sit eget layout. Det var jo netop selvstændige virksom-
      heder, der havde hvert sit særpræg. De havde absolut ingen grund til at anvende samme layout, og da
      slet ingen grund til at anvende et fælles navn, når de ”bestilte” eller ”trak” deres DCA’er ved den cen-
      trale administration.

      Anvendelsen af en fortløbende nummerering dokumenterer derimod, at der i Solo- gruppen var ind-
      bygget en ekstra sikkerhed for, at to pensionsplaner ikke kunne modtage en DCA for den samme ak-
      tiepost. Hver eneste aktiepost havde over alle fire virksomheder et eget nummer.

      Pensionsplanerne har i øvrigt aldrig påstået, at de fire custodians skulle være fire uafhængige virksom-
      heder. Det er pensionsplanerne selv, der har introduceret begrebet ”Solo-gruppen”.

      9.12.9 Pensionsplanerne er ikke styret centralt

      Skattestyrelsen påstår i det sammenfattende indlæg, side 61, at pensionsplanerne skulle have påstået,
      at de alle var fuldkommen uafhængige af hinanden.

      Det er ikke korrekt.

      Pensionsplanerne har aldrig påstået alle at være fuldkommen uafhængige af hinanden.

      Pensionsplanerne vidste, at de havde kontakt til nogle af de andre pensionsplaner via den samme
      trustee.

      De havde dog og har stadig ikke alle indbyrdes kontakt, og langt mindre har TVC Advokatfirmas klienter
      kontakt til andre pensionsplaner, der var klienter hos andre brokere, custodians, clearere etc. og ligele-
      des investerede i udbyttearbitrage. Pensionsplanerne har med overraskelse konstateret, hvor mange


 Sagsnr. XX-XXXXXXX                                  Side 156/239
Case 1:18-md-02865-LAK                Document 836-47                Filed 06/27/22           Page 418 of 462




      andre amerikanske pensionsplaner der har fulgt samme investeringsstrategi i udbyttearbitrage i dan-
      ske aktier, da Skattestyrelsen gik ud og stævnede 470 personer og selskaber i hele verden i forbindelse
      med denne aktivitet.

      Det faktum, at 110 pensionsplaner alle har engageret den samme advokat, er langt mindre et tegn på
      deres manglende indbyrdes uafhængighed – mindst af alt for deres angivelige afhængighed af deres
      custodian. TVC Advokatfirma er ikke engageret af pensionsplanernes custodian. TVC Advokatfirma er
      engageret af pensionsplanernes trustee. At 110 pensionsplaner finder den samme advokat, er mere et
      tegn på, hvor kompleks en sag dette er, og dermed hvor svært det er at finde danske advokater, der
      kan forklare udbyttearbitrage. En forretning, som Skattestyrelsen selv og deres advokat til dato helt
      åbenlyst stadig ikke forstår.

      Desuden gør den offentlige kampagne i samtlige medier det ikke let at finde advokater, der er parate til
      at involvere sig i disse sager, hvori det lader til, at pensionsplanerne er ”dømt” på forhånd. En fair rets-
      sag er med den offentlige stemning imod pensionsplanerne praktisk talt umulig. En sådan sag er der
      ikke mange advokater, der er villige til at føre.

      Endelig skal bemærkes, at Skattestyrelsens henvisning til, at pensionsplanerne indgiver enslydende
      skrifter i klagesagerne (jf. Skattestyrelsens sammenfattende indlæg af den 9. august 2019, side 48) blot
      er en logisk konsekvens af, at SKAT selv startede ud med at sende enslydende skrivelser ud til samtlige
      pensionsplaner for at informere dem om, at SKAT havde til hensigt at tilbagekalde deres tidligere afgø-
      relser, og at selve tilbagekaldelserne af afgørelserne ligeledes var enslydende. SKAT anvendte endog
      enslydende skrivelser til samtlige pensionsplaner, uanset hvilken custodian disse havde anvendt. En ad-
      vokat vil logisk nok besvare samtlige enslydende skrivelser fra SKAT med enslydende skrivelser.

      9.12.10 Ikke-indleverede ansøgninger om refusion

      Skattestyrelsen anfører i det sammenfattende indlæg af den 9. august 2019 i af- snit 6.11, side 62, at to
      pensionsplaner repræsenteret af os (The Sanford Villa Pension Plan, Skatteankestyrelsens j.nr 18-
      0004776, samt The Patrick Partners Conglomerate Pension Plan, Skatteankestyrelsens j.nr. 18-
      0004361) ”tilsyneladende har glemt at søge refusion for udbytteskat” for deres aktiebesiddelser.

      Skattestyrelsen mener hertil, at det ikke skulle give

               ”mening, at pensionsplanerne skulle kunne glemme at få udbe- talt så betydelige
               beløb, som angiveligt skulle være anvendt til at dække betydelige omkostninger
               forbundet med dette set-up, eller som pensionsplanerne under alle omstændighe-
               der burde mene at have krav på, hvis de fastholder, at de har krav på de refusio-
               ner, som denne sag omhandler.”

      Vi kan hertil oplyse, at det på ingen måde drejer sig om en forglemmelse.

      Sanford Villa Pension Plan havde blot endnu ikke modtaget sit amerikanske skattecertifikat 6166 i au-
      gust 2015, da SKAT stoppede alle refusioner med påstand om angivelig svindel, jf. -
                                                                                        bilag
                                                                                          - -97.
                                                                                              -

      Da pensionsplanen havde lukket samtlige positioner i tide til blot at realisere et nulresultat uden refu-
      sionen, besluttede pensionsplanen af omdømmemæssige år- sager at undlade at indgive yderligere an-
      modninger om refusion. Pressen i Dan- mark var jo allerede på det tidspunkt fyldt med de udokumen-
      terede påstande om svindel.




 Sagsnr. XX-XXXXXXX                                  Side 156/239
Case 1:18-md-02865-LAK                   Document 836-47                Filed 06/27/22           Page 419 of 462




         Som skatteministerens pressemøde viser, da enkelte pensionsplaner i 2017 besluttede at anmode om
         den resterende refusion, som de havde retskrav, på inden disse ville være forældede, var pensionspla-
         nens frygt, omkring den offentlige historie man ville opfinde vedrørende deres anmodninger, velbe-
         grundet. Anmodningerne i 2017 blev stort meldt ud som ”yderligere forsøg på svindel”. Igen uden no-
         gen form for dokumentation herfor.

         Hvad The Patrick Partners Conglomerate Pension Plan angår, så har pensionsplanen ikke glemt at søge
         om refusion. Denne pensionsplan havde overgivet samtlige dokumenter til Syntax til at anmode om re-
         fusion. Syntax har ved e-mail til Roger Lehman (som her fremlægges som bilag 98) bekræftet, at refu-
         sionsanmodningen inklusive DCA, jf. bilag 99, blev indsendt til SKAT den 19. maj 2015.

         Som beskrevet ovenfor sikrede investeringsstrategien, at en manglende refusion netop ikke ville resul-
         tere i et tab, hvis refusionen ikke blev udbetalt. Trustee’en overvågede nøje prisudviklingen og omkost-
         ningerne, så han kunne lukke positionerne inden en manglende refusion ville medføre et tab uden re-
         fusionen.

         De øvrige service providere, der modtog størstedelen af gevinsten, der blev realiseret ved arbitragen,
         blev honoreret på basis af gevinsten. Denne var 0 uden refusionen. Derfor kunne pensionsplanerne
         uden problemer overleve, at en refusion ikke blev udbetalt.

         9.13 En udbytteskat kan føre til to refusioner

         Som forklaret tidligere i dette indlæg, kan manglerne i den danske skattelovgivning medføre, at
         statskassen kun modtager en indbetaling af udbytteskat, men at der er to retmæssige ejere af samme
         aktie og derfor to modtagere af et nettoudbytte og følgelig to refusionsberettigede.

         De tab, som dette ganske rigtigt påfører statskassen, er ikke en følge af eventuelle tvivl om, hvem der
         er ejeren af en aktie, således som det påstås i styrelsens indlæg af den 9, august 2019, afsnit 8.4, side
         69. Der er ingen tvivl om, hvem ejeren er, og at der kan være to ejere af samme aktie som følge af
         dansk lovgivning og retspraksis.

         Disse fejl og mangler er ikke pensionsplanerne ansvar, og de tab, som det påfører staten, må staten
         også selv bære risikoen for. Det er statens ansvar at lovgive på forsvarlig vis og sørge for at indkræve så
         meget skat, at det svarer til det beløb, de skal udbetale.

         9.14 Sagen handler om jura

         Skattestyrelsen hævder i det sammenfattende indlæg af den 9. august 2019 i afsnit 8.5, side 69, at
         denne sag ikke drejer sig om jura.

         Det er naturligvis forkert.

         Ejerskab er et rent juridisk begreb opfundet og udformet af lovtekster og retspraksis, og hvordan dette
         erhverves, beskyttes og overdrages, bestemmes alene af juraen. Faktum i sagen kan kun levere indika-
         tioner for, om der er erhvervet ejerskab eller ej.

         Ved handel med dematerialiserede aktier er faktum dog begrænset til relativt få aspekter, da

        Der ikke eksisterer nogen aktier i papirform, som man kan følge i fysisk form. Dematerialiserede aktier
         findes kun som elektroniske bogføringsposter eller registreringer



    Sagsnr. XX-XXXXXXX                                 Side 156/239
Case 1:18-md-02865-LAK                   Document 836-47               Filed 06/27/22           Page 420 of 462




        Betaling af aktierne ikke er nødvendig for at erhverve ejerskab, hvorfor en pengestrøm allerede af den
         grund ikke kan følges for at eftervise overdragelsen af ejerskab. Desuden kan hverken en penge- eller
         aktiestrøm følges op gennem clearingsystemerne
        Afvikling af et aktiekøb ikke er nødvendig for at erhverve ejerskab til aktier
        Netting ved afviklingen af aktiehandler gør det umuligt at følge enkelte ”aktier” gennem afviklingssy-
         stemet
        Dematerialiserede aktier ikke kan identificeres som ”enkelte bestemte aktier”, hvorfor en køber af ”en
         aktie” aldrig vil modtage netop den bestemte aktie, som han købte af ”sin sælger”.

         Faktum ved handel med dematerialiserede aktier er, at ejerskab overdrages ved en endelig og bin-
         dende aftale om køb af aktien, og at eksistensen af en sådan aftale, der tilvejebringes rent elektronisk
         ved matching af en købs- og en salgsordre, i første linje dokumenteres med den efterfølgende handels-
         nota, der udstedes, efter handlen også er afviklet.

         Udover handelsnotaen dokumenterer et custody statement, at det erhvervede ejerskab desuden har
         opnået beskyttelse mod tredjemand ved at blive registreret på en depotkonto (den erhvervede rettig-
         hed er offentliggjort og dermed beskyttet). Når ejeren af aktien modtager et udbytte, udsteder custo-
         dian en dividend credit advice, som er et dokument, der dokumenterer, at ejerskabet er erhvervet, at
         ejer- skabet er blevet registreret, og at udbyttet er modtaget. Idet en dividend credit advice indeholder
         samtlige informationer, som SKAT har brug for til at vurdere pensionsplanens retskrav på refusion, var
         det dette dokument, som SKAT selv forlangte af alle, der ønskede at anmode om refusion.

         Idet aktieoverdragelser sker rent elektronisk, kan kun de involverede parter dokumentere, at transak-
         tionen har fundet sted.

         Dette er i de foreliggende tilfælde sket.

         Blot fordi Skattestyrelsen nu forlanger yderligere informationer og bilag, betyder det ikke, at pensions-
         planen ikke havde ejerskab til aktierne, ikke havde modtaget refusion og ikke havde retskrav på refu-
         sion.

         Pensionsplanen har fremlagt den dokumentation, der kan eksistere for ejerskabet. At en uafhængig
         tredjepart, der ikke var involveret i aktieoverdragelsen, ikke kan bekræfte ejerskabet, er et faktum, der
         gælder for samtlige dematerialiserede aktier. Heraf kan man ikke under regler om bevisbyrde konklu-
         dere, at pensionsplanen ikke har dokumenteret sit ejerskab til aktierne. Pensionsplanen har fremlagt
         det, der på juridisk bedste vis dokumenterer ejerskabet til en aktie.

         De af pensionsplanen fremførte betragtninger om bona fide-køb og retmæssigt ejerskab er altafgø-
         rende i denne sag, hvor Skattestyrelsen hovedsageligt begrunder sin tvivl om pensionsplanens ejerskab
         med betragtninger om for meget udbetalt udbytteskat. SKAT har dog selv i Early Warning af 2015 til
         Skatteministeriet fremført, at der kan opstå situationer med to retmæssige ejere af samme aktie.
         Det er kun naturligt, at Skattestyrelsen hellere end gerne ville være uden denne dokumentation, for at
         Skattestyrelsen godt ved, at det er problemerne omkring aktieudlån, short selling til bona fide-køberen
         og det dobbelte retmæssige ejerskab i henhold til dansk lovgivning og retspraksis, som denne sag i vir-
         keligheden drejer sig om. Skattestyrelsen ville forståeligt nok gerne være foruden dokumentation for,
         at styrelsen selv i 2015 gav pensionsplanen ret i argumentationen vedrørende dobbelt retmæssigt ejer-
         skab til en aktie. Langt værre for Skattestyrelsen er i denne sammenhæng, at selv hvis man ville følge
         Skatteministeriets opfattelse – der afviger fra Skattestyrelsens egen, der i 2015 argumenterede for, at
         der fandtes to retmæssige ejere af samme aktie – og ville antage, at aktielångiveren mister sit retmæs-
         sige ejerskab, når aktielåntageren sælger aktien videre til en bona fide-køber, så ville pensionsplanerne
         være berettiget til refusion. Man ville så i overensstemmelse med Skatteministeriet forhindre to ret-

    Sagsnr. XX-XXXXXXX                                 Side 156/239
Case 1:18-md-02865-LAK                 Document 836-47                Filed 06/27/22           Page 421 of 462




      mæssige ejere af samme aktie, men den, der så ikke var berettiget til refusion, ville i henhold til denne
      fortolkning være (den ultimative) aktielångiver. Pensionsplanen ville som bona fide-køber være ret-
      mæssig ejer og dermed refusionsberettiget.

      Uanset hvad Skattestyrelsen mener, så drejer denne sag sig netop om problemerne omkring opnåelse
      af ejerskab af aktier og afklaringen af de juridiske ”gråzoner”, som hidtidig retspraksis har efterladt sig,
      og som SKAT selv tydeligt påpegede i Early Warning af 2015.

      Skattestyrelsen bemærker ex tuto, at pensionsplanerne var i ond tro. Dette er netop, hvad hele Skat-
      testyrelsens sag bygger på: Skattestyrelsen har efter den såkaldte ”whistleblower” besluttet, at samt-
      lige amerikanske pensionsplaner, der har handlet danske aktier, er rene svindlere, og at de agerede i
      ond tro, men har ikke andet end udokumenterede påstande at fremføre til støtte herfor.

      Skattestyrelsen forsøger ved at vælte bevisbyrden tilbage på pensionsplanerne igen at redde sig ud af
      sit dilemma, der består i, at styrelsen ikke kan bevise så meget som et enkelt ord af sine uholdbare på-
      stande mod pensionsplanerne. Pensionsplanerne har dog løftet bevisbyrden for retskravet på refusion
      mere end én gang. Alt omkring handler med dematerialiserede aktier er så vidt som overhovedet mu-
      ligt dokumenteret. Hvad intet menneske i verden kan dokumentere, kan man heller ikke forlange af
      pensionsplanerne at dokumentere.

      Dokumentation af ejerskab af dematerialiserede aktier, der opbevares i sub-custody, kan ikke eftervi-
      ses på andre måder, end pensionsplanerne har gjort.

      9.15 Det er umuligt at svindle med aktiehandler

      Pensionsplanen fastholder fortsat, at det under de gældende EU-regler, der i bund og grund baser sig
      på Unidroits Geneva Securities Convention, jf. bilag 96, ikke er muligt at svindle med registreringen af
      dematerialiserede aktier. Konventionen fastslår, at den elektroniske registrering af aktieposter hos en
      custodian, der dokumenterer ejerskab af aktierne, ikke kan være falsk (jf. artikel 10, 16 og 18). De mest
      centrale regler i denne konvention genfindes i EU's CSD-direktiv samt i Finality-direktivet. Disse to di-
      rektiver sikrer i EU retssikkerheden inden for afviklingen af aktiehandler. Der sondres herved ikke mel-
      lem registreringer hos den CSD, hvor aktierne oprindeligt blev udstedt (”issuer-CSD”), og registreringer
      af aktieposterne hos enhver anden custodian (”investor-CSD”).

      I kommentarerne af Dan Moalem, David Moalem, Peer Schaumburg-Müller og Erik Werlauff til kapital-
      markedsloven af 2018 fastholdes således også til § 3, nr. 34 (side 197), at:

               ”et fondsaktiv anses som registreret i en CSD, både (i) når den pågældende CSD
               opererer som issuer.CSD og forestår den første registrering af et fondsaktiv, og (ii)
               når CSD’en agerer som investor-CSD og foretager en teknisk registrering i sine sy-
               stemer af et papir, der er udstedt af en anden CSD ”

      Kapitalmarkedsloven bekræfter derved, at der ikke eksisterer noget legalt grundlag for at diskriminere
      en registrering af et værdipapir ved en investor-CSD sammenlignet med en registrering ved en national
      CSD (som VP Securities).

      Europa-Kommissionens generaldirektorat ”Internal Market and Services” har under ”Det Europæiske
      Økonomiske og Sociale Udvalg” i perioden 5. januar 2010 – 21. januar 2011 gennemført en offentlig
      konsultation vedrørende lovgivningen til at styrke retssikkerheden omkring ejerskab af værdipapirer
      (Legislation on Legal Certainty of Securities Holding and Dispositions), jf. bilag 100, som fremlægges
      her. Som det helt utvetydigt fremgår heraf, beskytter EU-lovgivningen enhver køber af en demateriali-


 Sagsnr. XX-XXXXXXX                                  Side 156/239
Case 1:18-md-02865-LAK                 Document 836-47               Filed 06/27/22            Page 422 of 462




      seret aktie, der får denne registreret på sin depotkonto. Han er utvivlsomt den civilretlige ejer af en ak-
      tie. Der skelnes ikke mellem beskyttelse opnået ved registrering hos en issuer-CSD og beskyttelse op-
      nået ved registrering ved en investor-CSD. De to er ligestillet.

      9.16 Pensionsplanerne skifter ikke forklaring

      Skattestyrelsen påstår i det sammenfattende indlæg af den 9. august 2019, afsnit 8.7, side 70, at pen-
      sionsplanerne i førersagerne angiveligt skulle skifte forklaringer.

      Det er ikke korrekt.

      9.16.1 Broker confirmations og custody statements

      Pensionsplanerne skifter ikke forklaringer med hensyn til den fremlagte dokumentation, men efter-
      kommer med største omhu Skattestyrelsens umættelige krav om flere og flere dokumenter. Dokumen-
      terne, som pensionsplanerne har fremlagt, er dem, som i modsætning til de af Skattestyrelsen for-
      langte dokumenter – virkelig dokumenterer ejerskab. Det, Skattestyrelsen gerne vil se – som fx bank-
      konti hos en anden end Solo-gruppen – dokumenterer på ingen måde ejerskab af danske aktier.

      Ejerskab erhverves som hele tiden forklaret af pensionsplanerne ved en elektronisk transaktion. Denne
      kommer til udtryk i en handelsnota (broker confirmation), et custody statement og endelig en DCA. Det
      har pensionsplanerne fra første dag af konstant bekræftet.

      Det er også kendetegnende for Skattestyrelsen at opstille krav om dokumentation, uden at konkreti-
      sere, hvad denne dokumentation skulle være, og hvordan den skulle kunne fremlægges af pensionspla-
      nerne. Således påstår Skattestyrelsen eksempelvis på side 70, at der måtte eksistere ”nogen form for
      objektiv dokumentation for modtagelsen af udbyttet”. Hvad denne objektive dokumentation skal
      være, anfører Skattestyrelsen ikke. Udbyttet modtages jo af alle aktionærer i hele verden netop på en
      kontantkonto ved deres custodian. Kom pengene til en konto til en anden bank end custodian, ville
      dette tale for, at der netop ikke var tale om et udbytte.

      Som allerede fremhævet utallige gange, kan pensionsplanerne som kunder heller ikke fremlægge doku-
      mentation for tilgangen af pengene til deres custodian. Den tilgang af penge kan kun custodian doku-
      mentere.

      Custodian er i de nærværende sager dog afskåret fra at hjælpe sine kunder – pensionsplanerne – med
      at fremlægge dokumentation om modtagelse af udbyttet igennem custody kæden, idet alle bilag fra
      samtlige custodians er blevet beslaglagt af myndighederne.

      Det er ligeledes grundlæggende forkert, når Skattestyrelsen på side 71 angiver, at en handelsnota ikke
      betyder, at en handel er blevet gennemført. Handelsnotaen udstedes først af brokeren, når der er givet
      instruktioner om afvikling. Instruktionerne til clearing og afvikling sætter en afviklingsproces i gang,
      som ingen kan stoppe. Det er derfor, at clearing-agenten hæfter for betalingen af pengene (og levering
      af aktien).

      At Skattestyrelsen ikke forstår tilstrækkeligt engelsk til at forstå, at et custody statement er et kon-
      toudtog (jf. Skattestyrelsens sammenfattende indlæg, side 71) er et beklageligt faktum, ændrer dog in-
      tet i forhold til sagens faktum. Et ”custody statement” er et kontoudtog over en depotkonto. Hvad end
      dette udstedes dagligt, ugentligt, månedligt eller årligt. De viser alle aktiver – aktier, forward, kontrak-
      ter samt aktielån, som pensionsplanerne har indgået.



 Sagsnr. XX-XXXXXXX                                  Side 156/239
Case 1:18-md-02865-LAK                   Document 836-47                Filed 06/27/22           Page 423 of 462




         9.16.2 Sikkerhedsstillelse

         Skattestyrelsen tror i styrelsens sammenfattende indlæg i afsnit 8.8, side 72, at der skulle være en
         modsigelse mellem udtalelsen om en pantsættelse under GMSLA’erne og overdragelsen af ejerskab til
         de kontante midler under TTC-klausulen.

         Dette er igen ikke tilfældet.

         Pensionsplanerne havde både overdraget ejerskabet til deres kontante pengemidler til deres custodian
         under TTC-klausulen og pantsat deres – øvrige aktiver – under GMSLA’en.

         Overdragelsen af ejerskab til sikkerhed for pengemidlerne går forud for en simpel pantsætning. Pant-
         sætningen omfatter netop kun aktiver, der tilhører pensionsplanerne. Pengemidlerne tilhører umiddel-
         bart efter modtagelsen ikke længere pensionsplanerne, da ejerskabet allerede er overdraget til custi-
         dian.

         En pantsætning giver færre rettigheder over et aktiv end en overdragelse til sikkerhed. Det burde selv
         Skattestyrelsen vide. Pantegiver er stadig ejer af sit aktiv. Det er ikke tilfældet, når der er tale om en
         overdragelse af ejerskab til sikkerhed (som det sker under en TTC-klausul).

         Skattestyrelsen mener i det sammenfattende indlæg i afsnit 8.8, side 72, i øvrigt, at det ikke giver no-
         gen mening, at refusionerne blev udbetalt til pensionsplanernes agenter, når resultatet af transaktio-
         nerne er pantsat.

         Skattestyrelsen overser herved, at pensionsplanerne under TTC-klausulen udelukkende har overdraget
         ejerskabet til kontante pengemidler til custodian. De har ikke overdraget ejerskabet til aktierne og der-
         med heller ikke kravet på refusion. Custodian kunne derfor slet ikke anmode om refusion. Det var kun
         pensionsplanerne, der som ejere af aktierne kunne bede tax agenterne om at indsende anmodninger
         om refusion på pensionsplanernes vegne.

         På grund af TTC-klausulen blev pengemidlerne dog indbetalt direkte til custodians henholdsvis subcu-
         stodians konto (Old Park Lane, West Point Derivatives og Telesto havde selv deres kontante midler på
         deres moderselskabs pengekonto.) Dette viser – igen – pensionsplanernes efterfølgende efterforsknin-
         ger.

9.16.3   Pensionsplanernes konti

         Skattestyrelsen angiver fejlagtigt, at pensionsplanerne skulle have givet modstridende oplysninger om
         deres konti.

         Det er ikke tilfældet.

         Pensionsplanerne har, som rigtigt er, oplyst, at de selv umiddelbart havde deres konti hos deres custo-
         dians. Udover disse konti havde de kun en konto i USA til stiftelsen – som her fremlagt som bilag 91.

         Pensionsplanerne havde deres danske aktier på en depotkonto hos deres custodian. Var deres umid-
         delbare custodian ikke Solo Capital, men et af de tre datterselskaber, opbevarede den umiddelbare cu-
         stodian aktierne på deres omnibuskonto hos Solo Capital. Solo Capital opbevarede igen aktierne på
         omnibuskonti hos deres custodian. Hvor disse custodians, der opbevarede aktierne for Solo Capital,
         igen havde deres omnibuskonto kan pensionsplanerne ikke få oplyst.



   Sagsnr. XX-XXXXXXX                                   Side 156/239
Case 1:18-md-02865-LAK                        Document 836-47           Filed 06/27/22            Page 424 of 462




         Hvad angår pengemidlerne, så er det ganske rigtigt, at de indestod på Solo Capitals egen konto i
         Barclays Bank. De var jo overdraget til sikkerhed til Solo.

         Ikke desto mindre blev det naturligvis registreret hos den respektive custodian, hvor mange pengemid-
         ler der tilgik hver enkelt pensionsplan (udbytter, salgspris af aktier, forwardsalgspris, refusion etc.), og
         som blev overdraget til sikkerhed til custodian. Alle custodians i gruppen opbevarede de pengemidler,
         som pensionsplanerne havde overdraget til sikkerhed til dem, til Solo Capitals bankkonto i Barclays
         Bank.

         Dokumentation for, at custodians bogførte alle pengemidler korrekt på pensionsplanernes konti, er
         fremlagt som bilag 90.

9.16.4   Dokumentation for modtagelse af udbytte

         Skattestyrelsen beviser i styrelsens sammenfattende indlæg i afsnit 8.10, side 73, endnu en gang styrel-
         sens manglende forståelse af engelsk. Styrelsen forlanger at se en ”udbyttenota” for modtagelsen af
         udbyttet. Men det er jo de fremlagte Dividend Credit Advices. Derfor forlangte SKAT i sin tid netop
         også disse dividend credit advices, da Acupay spurte Lisbeth Rømer, hvilke bilag der skulle fremlægges
         sammen med ansøgningen om refusion, jf. Acupay System LLC’s indlæg til Retten i London af den 1.
         april 2019, som her fremlægges som bilag 102 Lisbeth Rømer lader til at forstå mere engelsk end Skat-
         testyrelsens advokater.

         De yderligere forlangte kontoudtog og fonds-/depotudskrifter er ligeledes fremlagt.

         En pensionsplan, der har din konto hos Solo Capital (eller en af de tre datterselskaber), kan naturligvis
         kun fremlægge kontoudskrifter herfra og ikke fra en anden bank.

         En kunde i Vendsyssel Bank kan jo heller ikke fremlægge en kontoudskrift fra Nordea for at bevise, at
         han har aktier, i sit depot der føres i Vendsyssel Bank. Selv ikke hvis Vendsyssel Bank har sin omnibus-
         konto i Nordea.

         9.17 Pinsent Masons

         Skattestyrelsen påstår i det sammenfattende indlæg af den 9. august 2019 i afsnit 8.13, side 75, at pen-
         sionsplanerne i førersagerne forsøger at mudre billedet ved at henvise til, at Skattestyrelsens egen ad-
         vokat i England rådgav Solo-gruppen.

         Det er naturligvis ikke tilfældet.

         Den, der forsøger at mudre billedet, er Skattestyrelsen med alle styrelsens udokumenterede påstande
         omkring Sanjay Shah og hans ”univers”, som slet ikke er part i disse sager.

         Det er heller ikke nogen simpel påstand fra pensionsplanernes side, at Skattestyrelsens egen advokat i
         London, Pinsent Masons, har rådgivet Solo-gruppen. Det er et faktum, der tydelig fremgår at Sanjay
         Shahs processkrift til High Court i London (jf. side 52 samt processkriftets appendix 1, nr. 24, side 54 og
         55) at ikke mindre end 44 advokater hos Pinsent Masons har rådgivet Solo Capital, som var stiftet med
         det formål at yde tjenester til udbyttearbitrageindustrien, Sanjay Shahs åbenlyse speciale, når man be-
         tragter hans offentligt tilgængelige CV samt hans processkrift. Desuden bekræftes det af utallige pres-
         semeddelelser, som her fremlægges som bilag 103-106 samt af den e-mailkorrespondance, pensions-
         planerne har fået udleveret af Pinsent Mason, der her fremlægges som bilag 107. Endelig er pensions-



   Sagsnr. XX-XXXXXXX                                   Side 156/239
Case 1:18-md-02865-LAK                Document 836-47               Filed 06/27/22           Page 425 of 462




      planerne kommet i besiddelse af fakturaen af den 29. december 2011 fra Pinsent Mason, der frem-
      lægge som bilag 108.

      Solo Capital havde absolut ingen grund til at hyre og betale 44 advokater hos Pinsent Masons, hvis fir-
      maets hensigt blot var at trykke fiktive papirer, for at lade det se ud som om der blev afviklet aktie-
      handler. Som det fremgår at Sanjay Shahs processkrift, lod Solo-gruppen sig rådgive om utallige aspek-
      ter vedrørende en korrekt forretningsførelse (inklusive corporate government og legal compliance,
      clearing, settlement og custody). De i dag så centrale og omtvistede custody agreements stammer lige-
      ledes fra Skattestyrelsens egne engelske advokater.

      At Solo-gruppens tidligere klienter søger hjælp fra deres kontraktuelle partnere (Solo-gruppen) i kam-
      pen mod de uberettigede påstande om svindel, er kun logisk. At Sanjay Shah leverer den dokumenta-
      tion, han kan for at understøtte sine klienter, er dokumentation for, at også han er overbevist om at
      have gennemført en rigtig og ærlig forretning. Forholdt det sig anderledes, ville han naturligvis ikke un-
      derstøtte pensionsplanerne, som han jo i det tilfælde ville have bedraget. For de gav ordre om at købe
      aktier.

      Der er absolut intet mistillidsvækkende ved, at pensionsplanerne via de respektive advokater søger
      kontakt til Sanjay Shah. Hvis nogen forsøger at mudre billedet, er det helt sikkert Skattestyrelsen med
      påstande som disse.

      10 BEVISBYRDE OG FORMALITET

      De foreliggende afgørelser fra SKAT er i meget høj grad baseret på en lang række antagelser og for-
      modninger vedrørende de faktiske forhold, som samlet får SKAT og Skattestyrelsen til at konkludere, at
      der skulle være tale om svindel.

      Betingelserne for, at der kan ske tilbagekaldelse af de oprindelige afgørelser om udbetaling af refusion
      af udbytteskat, er i de foreliggende sager ikke til stede.

      Dette er reelt også blevet bekræftet i Skattestyrelsens egne indlæg, der må læses således, at sagerne
      rettelig ikke handler om tilbagekaldelse af de oprindelige afgørelser om udbetaling af refusion af ud-
      bytteskat, men om hvorvidt disse afgørelser kan annulleres som ulovhjemlede. Skatteankestyrelsen
      fremhæver således ligeledes i kontorindstillingen, at SKAT skulle være berettiget til at annullere den
      oprindelige afgørelse om udbetaling af refusion.

      Der består således enighed om, at SKAT ikke kunne tilbagekalde afgørelserne. Tilbage bliver spørgsmå-
      let om, hvorvidt betingelserne for annullation er opfyldt.

      Det fastholdes, at det nu er skattemyndighederne, der har bevisbyrden for, at man nu kan annullere de
      oprindelige afgørelser om udbetaling af refusion af udbytte- skat, samt at skattemyndighederne ikke
      har løftet denne bevisbyrde.

      Det skal selvsagt ikke bestrides, at det som udgangspunkt er den skatteyder, der søger om refusion af
      udbytteskat, der har bevisbyrden for, at betingelserne for, at der kan ske en sådan udbetaling, er op-
      fyldt.

      I nærværende sager fører en række faktiske forhold til, at dette udgangspunkt ikke gælder i de forelig-
      gende sager, der reelt handler om, hvorvidt der kan ske annullation af de oprindelige afgørelser om ud-
      betaling af refusion af udbytteskat.



 Sagsnr. XX-XXXXXXX                                 Side 156/239
Case 1:18-md-02865-LAK                Document 836-47               Filed 06/27/22            Page 426 of 462




      Det er først nu – flere år efter indgivelsen og SKATs godkendelse af refusionsanmodningerne – at Skat-
      testyrelsen stiller spørgsmålstegn ved validiteten af den dokumentation, som var vedlagt anmodnin-
      gerne, og som faktisk dokumenterer ejerskabet af aktierne, modtagelsen af nettoudbyttet og dermed
      også betalingen af udbytteskatten. Det faktum, at SKAT oprindeligt godkendte ansøgningerne om ud-
      betaling af refusion af udbytteskat, har selvsagt bevirket, at de involverede pensionsplaner indrette-
      rede sig, i tillid til at de ikke behøvede at fremskaffe yderligere dokumentation for, at de var og er be-
      rettigede til at få den ansøgte udbytterefusion. Havde pensionsplanerne, dengang de søgte om udbyt-
      terefusion, fået en tilkendegivelse fra SKAT om, at man ønskede yderligere dokumentation, ville de
      have haft mulighed for at søge denne tilvejebragt, ligesom de havde været opmærksomme på at
      gemme allerede eksisterende relevante dokumenter. Pensionsplanernes muligheder for at modbevise
      Skattestyrelsens nye påstande er blevet væsentligt forringet af det lange tidsforløb og det forhold, at
      SØIK nu har beslaglagt en stor del af sagens dokumenter.

      Både SKAT og Skattestyrelsen har videre forsømt at indhente relevante oplysninger hos de mange pro-
      fessionelle udenlandske aktører, der ubestridt har været impliceret i de omhandlede transaktioner. Til-
      svarende har SKAT og Skattestyrelsen forsømt at indhente relevante oplysninger hos udenlandske kon-
      trol- og tilsynsmyndigheder.

      Forsømmelsen af at indhente relevante oplysninger skal ses i lyset af, at SKAT og Skattestyrelsen via
      deres kontrolbeføjelser – i modsætning til pensionsplanerne – har reel mulighed for at indhente de af
      Skattestyrelsen efterspurgte oplysninger.

      På baggrund af ovennævnte gøres det helt overordnet gældende, at SKAT kunne og burde have foreta-
      get en mere effektiv undersøgelse af de af Skattestyrelsen nu problematiserede forhold, på det tids-
      punkt hvor man behandlede de oprindelige ansøgninger, samt at dette har medført, at de involverede
      pensionsplaner havde en berettiget forventning om, at de ikke skulle fremskaffe yderligere dokumen-
      tation.

      Det er således SKATs adfærd, der har ført til, at der nu, flere år efter at ansøgningerne om udbetaling af
      udbytterefusion blev godkendt af SKAT, er opstået tvivl hos skattemyndighederne om, hvorvidt betin-
      gelserne for at udbetale denne refusion var opfyldt. Det følger heraf, at skattemyndighederne er nær-
      mest til at bære risikoen for denne tvivl, med den virkning at foreliggende bevistvivl vedrørende fakti-
      ske forhold, som burde have været yderligere belyst i forbindelse med de oprindelige ansøgninger om
      udbytterefusion, skal komme skattemyndighederne til skade.

      Som allerede anført har Skattestyrelsen alene baseret sin efterfølgende opfattelse på udokumenterede
      antagelser om pensionsplanernes manglende ejerskab og udlån af de omhandlede aktier. Skattestyrel-
      sen har således ikke ført noget egentligt bevis for påstanden om manglende ejerskab mv., og påstan-
      den er således aldeles udokumenteret.

      Bevistvivlen vedrørende de forhold, som Skattestyrelsen nu efterfølgende har problematiseret, må så-
      ledes tilskrives SKATs manglende oprindelige effektive undersøgelser, hvorfor betingelserne for at an-
      nullere de oprindelige afgørelser om ud- betaling af refusion af udbytteskat ikke er opfyldt. Der skal al-
      lerede som følge heraf gives pensionsplanerne medhold i de nedlagte påstande.


                                                       ... ...
      Skattestyrelsen har i sine indlæg anført en lang række af synspunkter vedrørende spørgsmålet om be-
      visbyrden i nærværende sagskompleks, herunder bevisbyrden i tilfælde af svindel, således som Skat-
      testyrelsen reelt gør gældende, at der foreligger.


 Sagsnr. XX-XXXXXXX                                 Side 156/239
Case 1:18-md-02865-LAK                Document 836-47                Filed 06/27/22           Page 427 of 462




      Det er imidlertid særdeles vigtigt at holde sig for øje, at Skattestyrelsen selvsagt ikke blot ved hjælp af
      udokumenterede påstande om svindel, kan vende problematikken således, at pensionsplanerne ”sid-
      der med aben” i bevisbyrdemæssig henseende. Der er som anført tale om udokumenterede antagelser
      om pensionsplanernes manglende ejerskab, og Skattestyrelsen har ikke ført noget egentligt bevis her-
      for.

      Det synes endvidere som om, at Skattestyrelsen reelt ikke ønsker at bidrage til, at der sker en behørig
      oplysning af sagerne, men at disse skal afgøres på antagelser, kombineret med den kulisse man hos
      skattemyndighederne har søgt at skabe siden sensommeren 2015, om at --   alt blot er udtryk for strafbar
      svindel.

      Det forhold, at der eventuelt måtte være begået noget kriminelt af andre involverede aktører – hvad
      pensionsplanerne ikke har nogen form for kendskab til – er ikke i sig selv afgørende for, om der nu kan
      ske annullation af SKATs oprindelige afgørelser om udbetaling af refusion af udbytteskat.

      Det er i den forbindelse særdeles vigtigt at være opmærksom på, at nærværende sager udelukkende
      handler om, hvorvidt de involverede pensionsplaner har retskrav på at beholde den ansøgte refusion af
      indeholdt udbytteskat som oprindeligt antaget og udbetalt af SKAT.

      Det kan ikke opstilles krav til pensionsplanerne om fremlæggelse af yderligere og/eller anden doku-
      mentation end den allerede fremlagte. Som anført ovenfor har pensionsplanerne i sagerne fremlagt
      omfattende dokumentation, der dokumenterer ejerskabet til aktierne, modtagelsen af nettoudbyttet
      og dermed betalingen også af udbytteskatten. Samtidig er de af Skattestyrelsen forlangte registreringer
      ved VP Securities, penge eller aktiestrømme blot indicier, og ikke egentlig dokumentation, for ejerska-
      bet til de omhandlede aktier. Der henvises i den forbindelse til de ovenfor anførte problemer med do-
      kumentationen af ejerskab til dematerialiserede aktier- Såvel Skattestyrelsen som også Skatteankesty-
      relsen indrømmer selv, at der ikke findes nogen måde, hvorpå man med 100 pct. sikkerhed kan efter-
      vise retmæssigt ejerskab af danske aktier, hvilket selvsagt ikke kan lægges pensionsplanerne til last un-
      der betragtninger.

      KONKLUSION PÅ ANDEN DEL

      Samtlige aktiehandler var reelle og er dokumenteret, med alle de bilag som i virkelighedens verden do-
      kumenterer en reel aktiehandel og overdragelse af ejerskab til aktier. At skattestyrelsen fremkommer
      med en ønskeliste af dokumenter, styrelsen gerne ville se, men som ikke er en juridisk gyldig dokumen-
      tation for ejerskab af aktier og modtagelse af udbytte, kan ikke medføre, at pensionsplanen ikke har
      løftet bevisbyrden for sit krav på refusion.

      Skattestyrelsens udokumenterede påstande om svindel mod de involverede custodians er ikke tilstræk-
      keligt til at tilsidesætte den af disse custodians udstedte dokumentation for transaktionerne. Skattesty-
      relsen forsøger herved at liste sig uden om det faktum, at de britiske tilsynsmyndigheder helt åbenbart
      ikke har fundet noget bevis for svig hos de fire custodians. Helt ligesom SØIK, der efter fire års efter-
      forskning ikke er kommet frem med så meget som en anklage. Beslutningen taget i november 2019 af
      de engelske myndigheder om at indstille deres strafferetlige efterforskninger i sagen og overlade dette
      umulige forehavende til Danmark er yderligere dokumentation for, hvor uhodbare påstandene om
      svindel i virkelighedens verden er.

      At forlange mere dokumentation af en udenlandsk custodian end af VP Securities betyder endelig en
      uretmæssig diskriminering af engelske custodians, der ikke holder ved EU-Domstolen.




 Sagsnr. XX-XXXXXXX                                 Side 156/239
Case 1:18-md-02865-LAK                Document 836-47               Filed 06/27/22           Page 428 of 462




      EU har fastsat et regelsæt, (CSD og Finality-direktiverne) der garanterer, at en køber af en demateriali-
      seret aktie også virkelig bliver ejer heraf og uden tvivl kan dokumentere dette i alle EU-lande ved en
      udskrift fra sin egen custodian, også kaldet investor-CSD.

      Pensionsplanens dokumentation for ejerskab i form at DCA’er og custody statements kan ikke afvises
      som dokumentation i sagerne.

      DEL 3: SKATTEANKESTYRELSENS INDSTILLING I FØRERSAGERNE – DE GENNEMFØRTE HANDLER
      HAVDE REALITET

      11 ANERKENDELSE AF GENNEMFØRELSEN AF AKTIEHAND- LERNE

      Skatteankestyrelsens kontorindstilling i førersagerne underbygger den manglende relevans af Skat-
      testyrelsens synspunkter vedrørende fejl i dokumentationen og rene spekulationer vedrørende sand-
      synligheden af, hvad der i realiteten er foregået. Skatteankestyrelsen stiller ikke spørgsmålstegn ved, at
      der er indgået aftaler om køb af aktier, og at disse er gennemført.

      Gennemførelsen af investeringsstrategien udbyttearbitrage stilles der lige så lidt spørgsmålstegn ved,
      som ved alle de enkelte etaper i transaktionen (køb og salg af aktier, indgåelse af forwardkontrakter
      samt aktieudlånet mod kontant sikkerhedsstillelse).

      Skatteankestyrelsen betvivler i førersagerne heller ikke, at pensionsplanerne kunne finansiere aktiekø-
      bene. At pensionsplanerne altovervejende – men ikke udelukkende – var nystiftede, spiller ingen rolle
      for muligheden for at købe og finansiere aktierne. Aktiekøbene blev betalt ved hjælp af den kontante
      sikkerhedsstillelse fra en aktielåntager, der blev betalt til pensionsplanerne, samme dag som pensions-
      planerne skulle betale for aktierne.

      Skatteankestyrelsen fremfører i førersagerne ligeledes ikke en registrering af pensionsplanerne hos VP
      Securities som en betingelse for ejerskab. Skatteankestyrelsen erkender den begrænsede værdi af regi-
      streringerne hos VP Securities, der kun kender enkelte civilretlige aktionærer i de danske C20-selska-
      ber, men langtfra alle (pga. omnibusdepoter), og slet ikke kender de retmæssige ejere af danske ak-
      tier. Retmæssigt ejerskab registreres ingen steder.

      Skatteankestyrelsen bekræfter i førersagerne udtrykkeligt, at der foreligger dokumentation vedrø-
      rende transaktioner omkring køb og salg af aktier, aktieudlån og indgåelse af forwards herunder han-
      delsnotaer, e-mails mv. Skatteankestyrelsen er blot af den opfattelse, at denne dokumentation ikke

               ”er kommet Pensionsplanerne til ”kundskab”, og af den grund skulle de ikke be-
               vise Pensionsplanens ejerskab til aktierne.”

      Dette er dog ikke korrekt. Pensionsplanerne havde fuldt kendskab til samtlige dokumenter, idet de er
      fremlagt af pensionsplanernes trustees. Pensionsplanerne kan kun handle gennem disse trustees, og
      deres viden skal tilregnes pensionsplanerne. Som juridiske personer kan de kun have viden om faktum
      gennem fysiske personer. Disse fysiske personer er deres trustees.




 Sagsnr. XX-XXXXXXX                                 Side 156/239
Case 1:18-md-02865-LAK               Document 836-47               Filed 06/27/22           Page 429 of 462




      12 SKATTEANKESTYRELSENS TILSIDESÆTTELSE AF SKATTEMÆSSIGE EJERSKAB I FØRERSAGERNE

      12.1 Kendskab til transaktionsdokumenterne

      Skatteankestyrelsens virkelige begrundelse for at ville tilsidesætte pensionsplanernes skattemæssigt
      retmæssige ejerskab af aktierne i førersagerne lader til at være, at pensionsplanerne skulle have haft
      kendskab til alle de dokumenter, der i realiteten dokumenterer aktietransaktionerne.

      Hertil skal bemærkes, at en person også uden kendskab til en retligt bindende aftale kan erhverve ret-
      tigheder (og pligter) gennem en sådan aftale. Det er tilstrækkeligt, at personen har givet fuldmagt til
      den handlende person, og at denne har kendskab til dokumenterne.

      I de foreliggende sager handlede altovervejende pensionsplanens egen trustee. Ordren til køb og salg
      af aktier blev afgivet af trustee’en pr. e-mail, forward hedgen blev solgt pr. e-mail, handelsnotaerne
      blev sendt til trustee’en pr. e-mail – og efterfølgende til pensionsplanens trustee i hard copy sammen
      med fakturaen. Aktieudlånet baseret på en GMSLA blev indgået pr. e-mail sendt og modtaget af tru-
      stee’en.

      Trustee’en er ikke kun i besiddelse af en fuldmagt fra pensionsplanen til at handle på dennes vegne.
      Trustee’en er pensionsplanens eget handlende organ. Når en pensionsplan vil indgå en retsakt, kan
      dette kun ske ved en handling af trustee’en.

      Hvis Skatteankestyrelsen med ”pensionsplanen” mener pensionsplanens begunstigede, må hertil be-
      mærkes, at de begunstigede personer af en given pensionsordning – der ikke er selvforvaltet – aldrig
      har kendskab til de enkelte retsakter, ved hvilke pensionsordningen erhverver og sælger aktiver, der til-
      kommer de begunstigede under pensionsordningen. Når fx Danica eller Nordea investerer midlerne i
      en dansk pensionsordning for deres begunstigede forsikringstagere, sender de ikke hver gang forsik-
      ringstagerne kopier af transaktionsdokumenterne. Danica og Nordea erhverver alligevel aktier på
      vegne af deres pensionsforsikrede personer.

      Der er ingen grund til at betragte en amerikansk solo 401K-pensionsplan anderledes end Danica eller
      Nordea, når der forvaltes pensionsmidler.

      12.2 Dokumentation

      Skatteankestyrelsen anbefaler i førersagerne at tilsidesætte pensionsplanernes retskrav på refusion,
      under henvisning til at det ikke skulle være tilstrækkeligt dokumenteret, at pensionsplanerne (a) har
      været ejere af de omhandlede aktier, (b) har modtaget udbytte af aktierne, eller (c) har modtaget ud-
      bytterefusion.

      12.2.1 Dokumentation for ejerskab af aktierne

      Idet al handel med dematerialiserede aktier foregår papirløst, er dokumentationen heraf et grundlæg-
      gende problem. For aktionærer, der har et eget depot ved VP Securities, er det relativt let at dokumen-
      tere ejerskab. De fleste udenlandske aktionærer har dog ikke et eget depot ved VP Securities. De opbe-
      varer deres aktier i udenlandske banker, der arbejder med omnibuskonti i lange kæder af subcustodi-
      ans.

      Handles der med aktier mellem kunder hos en og samme custodian, ses dette hverken hos VP Securi-
      ties eller hos den næste custodian i kæden af subcustodians. Køb og salg af aktier udligner hinanden
      under ”netting proceduren”. Det eksterne spor af en sådan handel hos den samme custodian begræn-


 Sagsnr. XX-XXXXXXX                                Side 156/239
Case 1:18-md-02865-LAK                Document 836-47                Filed 06/27/22           Page 430 of 462




      ser sig til de to rapporter, der udstedes af handels- og afviklingssystemerne: ”trade reports”, der sen-
      des til børsen (her LSE) og ”transaction reports”, der sendes til finanstilsynet (her FCA i London).

      Overstiger antallet af aktier, der købes eller sælges inden for en enkelt custodian, vil et spor af afvik-
      lingsprocessen føre til den næste custodian i kæden af subcustodians, hvor netting af samtlige transak-
      tioner igen kan medføre, at ingen aktier overføres til eller fra denne custodians omnibuskonto.

      Brugen af omnibuskonti i kæderne af subcustodians og anvendelsen af netting sletter således de ek-
      sterne spor af afviklingen af aktietransaktionerne.

      Dette gælder såvel for sporet af aktier, der afvikles igennem systemerne, som også for pengestrøm-
      mene til betaling af aktierne.

      At spore aktiehandlerne ved penge- og aktiestrømme er således ikke muligt.

      Aktiehandler kan udelukkende dokumenteres af de involverede brokere og custodians. En ekstern
      tredjepart kan ikke eftervise en handel med dematerialiserede aktier.

      Det kan derfor ikke forlanges af pensionsplanerne at fremlægge en sådan dokumentation. Dokumenta-
      tionen for aktiehandlerne, der kan forlanges, er den af samtlige myndigheder forlangte dokumentation
      for en aktiehandel: en handelsnota, et custody statement og endelig en DCA, når der er modtaget ud-
      bytte.

      Disse dokumenter er fremlagt i samtlige sager, i det omfang de stadig er til rådighed. Idet SKAT i 2014
      og 2015 dog kun forlangte en DCA som dokumentation for ejerskabet af aktierne og modtagelsen af
      udbyttet, har pensionsplanerne ikke i samtlige tilfælde opbevaret yderligere dokumentation for ejer-
      skabet af aktier og modtagelse af udbytte.

      Alle øvrige processer sker rent elektronisk og efterlader ingen ”spor”, der kan dokumenteres i papir-
      form.

      Det er derfor ikke kun urimeligt, men også urealistisk at ville forlange en anden dokumentation fra pen-
      sionsplanerne end de fremlagte handelsnotaer, custody statements og DCA’er.

      Man kan heller ikke underkende værdien af de fremlagte dokumenter, med den simple påstand at de
      stammer fra selskaber, der direkte eller indirekte er forbundet med Sanjay Shah.

      For det første er der efter fire års (formodentlig og forhåbentlig) intensiv efterforskning af det såkaldte
      sagskompleks gennem SØIK, til dato stadig ingen anklage rejst mod Sanjay Shah, jf. også Justitsministe-
      rens svar af 2017 og 2018, der her fremlægges som bilag 109 og 110. De britiske anklagemyndigheder,
      der siden 2015 også har undersøgt sagen, har ligeledes ikke fremlagt nogen form for indicer for uret-
      mæssig handling. Briterne har endog opgivet den arrest, de havde over Sanjay Shahs aktiver, i novem-
      ber 2018, jf. Crown Court i Londons ophævelse af restriktioner på Sanjay Shahs aktiver af den 10. de-
      cember 2018, der fremlægges som bilag 111. Dette gør man ikke, hvis der foreligger holdbare indicier
      for strafbare handlinger. Alle påstande mod Sanjay Shah og hans selskaber er således fuldstændig udo-
      kumenterede.

      For det andet lader påstanden mod Sanjay Shah netop til at lyde på, at hans selskaber skulle have ud-
      stedt falske dokumenter. Uden at bevise denne påstand argumenterer Skattestyrelsen således i ring for
      at diskvalificere den foreliggende og eneste mulige retsgyldige dokumentation for aktiehandlen. Et vir-
      keligt bevis for, at dokumentation, der stammer fra Sanjay Shahs selskaber, skulle være falsk, frem-


 Sagsnr. XX-XXXXXXX                                 Side 156/239
Case 1:18-md-02865-LAK                Document 836-47                Filed 06/27/22            Page 431 of 462




      lægger Skattestyrelsen ikke. Skattestyrelsen argumenterer udelukkende med, at transaktionerne skulle
      være ”urealistiske” (15 gange i det sammenfattende indlæg), ”utroværdige” (fire gange), ”uden reali-
      tet” (seks gange), ”usandsynlige” (15 gange), ”umulige” (10 gange), ”fiktive” (11 gange), ”ikke have no-
      get forretningsmæssigt rationale” (seks gange). Disse påstande leverer intet grundlag for, hvad der
      skulle være ”falsk” ved den af Solo-gruppen udstedte dokumentation. Det ene- ste, disse påstande vi-
      ser, er, at Skattestyrelsen øjensynligt ikke forstår aktielån og short selling og ikke har nogen erfaring
      med aktiehandel i så betydelig omfang, som det sker ved margin trading, udbyttearbitrage og algorit-
      misk handel.

      12.2.2 Dokumentation for modtagelse af udbyttet

      Enhver aktionær modtager udbyttet på sine aktier på en konto hos sin custodian, idet pengene kun kan
      finde sin vej fra selskabet til aktionæren gennem kæden af custodians og subcustodians.

      Købes en aktie så kort før ex datoen, at køberen endnu ikke er registreret hos sin custodian som aktio-
      nær, når udbyttet først frem til sælgerens custodian. Senest når aktien bookes ud fra sælgers konto,
      ser dennes custodian salgsdatoen og ved dermed, at udbyttet i virkeligheden tilhørte køberen (jf. købe-
      lovens § 19). Sælgers custodian trækker derfor automatisk udbyttet fra sælger og overfører det til kø-
      berens custodian, for at denne kan kreditere beløbet på køberens konto. Denne proces kaldes ”market
      claim-processen”.

      Market claim-processen kan kun gennemføres af de involverede custodians, da kun de kan se, at ud-
      byttet skal føres videre til køberen, der endnu ikke var registreret på record day.

      Optræder der en short seller på udbyttedatoen, fører short salget til, at der på udbyttedatoen er flere
      ejere af danske aktier, end svarende til antallet af aktier udstedt af selskabet. Short selleren er derfor
      nødt til at betale en kompensationsbetaling ind i systemet af custodians og subcustodians, idet købe-
      ren af en aktie ikke kan se, om den ultimative sælger er en long owner eller en short seller. Alle købere
      af aktier har dog ret til nettoudbyttet, der cirkulerer i systemet.

      Det er derfor muligt at pengene, der når frem til køberen af aktierne under market claim-processen, i
      virkeligheden – helt eller delvist – oprindeligt stammer fra en short seller og er en kompensationsbeta-
      ling. Uanset hvad den oprindelige kilde til betalingen er, kan den dog kun nå frem til aktionæren via
      dennes custodian, da kun han ved, at aktionæren ejer aktierne.

      Idet nettoudbyttet fra selskaberne sammenblandes uigenkaldeligt med nettokompensationsbetalin-
      gerne fra short sellerne allerede hos den første custodian i kæden, er det umuligt at identificere, hvad
      det er, hver enkelt aktionær modtager under market claim-processen.

      Den eneste, der kan dokumentere, at aktionæren har modtaget et udbytte (eller en kompensationsbe-
      taling, der ikke kan skelnes herfra), er den enkelte aktionærs egen custodian.

      Den lovpligtige dokumentation for modtagelsen af et udbytte er en DCA. Af denne grund forlangte
      SKAT også oprindeligt en DCA.

      Som der fremgår af ESMAs rapport af den 2. juli 2019, er dokumentationen for modtagelsen af et ud-
      byttet en DCA. Denne skal udstedes af custodian, når der krediteres et nettoudbytte på en aktionærs
      konto. Dette, uafhængigt af om kilden til betalingen er selskabet selv eller en short seller – idet ingen i
      virkelighedens verden kan skelne et reelt nettoudbytte fra en netto-kompensationsbetaling.




 Sagsnr. XX-XXXXXXX                                  Side 156/239
Case 1:18-md-02865-LAK                Document 836-47               Filed 06/27/22           Page 432 of 462




      Skattestyrelsens ønske om af følge en pengestrøm fra selskabet til enhver aktionær er – som ESMA do-
      kumenterer det – ren utopi.

      Ud over selve DCA’en kan en aktionær naturligvis også ved et kontoudtog vise, at han har modtaget et
      udbytte. Dette kontoudtog stammer dog ligeledes fra custodian.

      Så længe Skattestyrelsen under udokumenterede påstande om svig begået af Solo-gruppen nægter at
      godkende dokumentation modtaget fra Solo-gruppen, kan der ikke eksistere nogen dokumentation for
      modtagelsen af udbytte. Skattestyrelsen kan ikke pålægge pensionsplanerne at fremlægge dokumenta-
      tion, der ikke kan eksistere.

      12.2.3 Dokumentation for modtagelse af udbytterefusion

      Det bestrides ikke af Skattestyrelsen, at SKAT har udbetalt refusion.

      Det bestrides øjensynligt heller ikke af Skattestyrelsen, at pensionsplanerne har modtaget udbytterefu-
      sionen, for hvorfor skulle SKAT ellers i juni 2018 have stævnet samtlige pensionsplaner i USA og Eng-
      land? Skattestyrelsen bekræfter i samtlige stævninger, at pensionsplanerne har modtaget refusionen
      fra SKAT.

      Modtagelsen af refusionen, som SKAT udbetalte, er også en logisk konsekvens af anmodningen om re-
      fusion, som var korrekt dokumenteret, med alt som SKAT forlangte.

      Som det fremgår af anmodningerne om refusion, udbetalte SKAT umiddelbart refusionen til agenterne
      (Acupay, Goal Taxback etc.). Herfra blev refusionen overført til pensionsplanernes konto hos deres cuo-
      todian, hvor midlerne var overdraget til sikkerhed under TTC-klausulen i custody agreement. Penge-
      strømmen, der viser tilgangen til pensionsplanerne, er derfor en overførsel fra agenterne til custodian
      henholdsvis Solo Capital, som var kontoførende for de øvrige selskaber i Solo- gruppen. Pensionspla-
      nerne kunne via deres onlinetilgang til deres konto se, at refusionsbeløbene blev krediteret deres kon-
      tantkonto hos deres custodian. Når pensionsplanerne skulle betale gebyrer for de modtagne servicey-
      delser, skete dette via anvisning til custodian, der så tog pengene ud af Solo Capitals kontantkonto i
      Barclays Bank.

      Kontoudskrifterne fra Barclays Bank er kun Solo Capitals administrator (PwC) samt SØIK og det engel-
      ske NCA i besiddelse af.

      Pensionsplanerne så intet behov for at fremstille et screen print af bogføringen af modtagelsen af ud-
      bytterefusionen på deres konto.

      12.3 Ikke grundlag for at anfægte realiteten

      I Skattestyrelsens sammenfattende indlæg af den 9. august 2019 har styrelsen i førersagerne som an-
      ført anfægtet den civilretlige realitet af de i sagen omtvistede transaktioner.

      For det tilfælde at pensionsplanerne skulle få medhold i det civilretlige, synes Skattestyrelsen endvi-
      dere også at anfægte den skatteretlige realitet af de omhandlede transaktioner.

      Dertil kommer, at Skatteankestyrelsen i kontorindstillingen har anført, at de omhandlede aktietransak-
      tioner i realiteten ikke har passeret pensionsplanernes økonomi, således at der efter Skatteankestyrel-
      sens opfattelse alene er tale om tomme bogføringer hos custodians uden skatteretlig realitet.



 Sagsnr. XX-XXXXXXX                                  Side 156/239
Case 1:18-md-02865-LAK                   Document 836-47                Filed 06/27/22           Page 433 of 462




12.3.1   Civilretten styrer vurderingen af det skatteretlige ejerskab

         Som anført ovenfor skal det lægges til grund, at de omhandlede aktietransaktioner civilretligt var gyl-
         dige.

         Det gøres herefter gældende, at transaktionerne, herunder de omtvistede køb og salg af aktier, aktie-
         udlån og indgåelse af forwards også havde den fornødne skatteretlige realitet.

         Således var pensionsplanerne også de skatteretlige ejere af det udbytte, der blev udbetalt til pensions-
         planerne, og som de bagvedliggende selskaber har indeholdt udbytteskatter af. Som følge heraf tilkom-
         mer de omhandlede refusioner af udbytteskatter også pensionsplanerne.

         Der er således ikke grundlag for i skattemæssig henseende at anfægte de civilretligt gyldige handler
         mellem pensionsplanerne og de eventuelle short sellers, der kan have optrådt som ultimative sælgere.

         Der skal i den forbindelse henvises til udgangspunktet i dansk skatteret: at civilretten er styrende for
         skatteretten.

         Det er således den praktiske hovedregel, at civilretten er styrende, for hvilket faktum der skal lægges
         156ilg rund for skatteretten,jf. Således bl.a. Søren Mørup i TfS 2002.665 og Jakob Bundgaards Skatteret
         & civilret, 2006, side 187.

         Dette udgangspunkt gælder tillige i forhold til spørgsmålet om opnåelse af ejendomsret til aktier og
         derfor også spørgsmålet om pensionsplanerens retskrav på de i sagerne udbetalte refusioner af inde-
         holdt udbytteskat.

         Der er således ikke grundlag for at anlægge en anden bedømmelse i skatteretlig henseende – med an-
         dre ord skal pensionsplanerne også i skatteretlig henseende anses for ejere af de omhandlede aktier,
         der civilretligt er overdraget til dem.

12.3.2   Generelt om realitetsgrundsætningen

         Som anført ovenfor er det almindelige udgangspunkt, at den skatteretlige kvalifikation af faktum styres
         af den civilretlige kvalifikation af faktum.

            Dette udgangspunkt kan – i særlige tilfælde – fraviges. Det antages således i store dele af teorien og
            i praksis, at der gælder en generalklausul om skatterettens realitet – ofte benævnt realitetsgrund-
            sætningen.

            Realitetsgrundsætningen anvendes, i tilfælde hvor der er en klar uoverensstemmelse mellem den
            indre realitet og den ydre formelle fremtoning.

            Realitetsgrundsætningen sikrer, at beskatningen ved skatteudnyttelser knyttes til realøkonomien
            og realindholdet i de dispositioner, som beskatningen skal ske i forhold til, snarere end til disposi-
            tionernes formelle iklædning.

            Realitetsgrundsætningen formuleredes første gang af Jan Pedersen, der om realitetsgrundsætnings
            indhold har anført følgende i Skatteretten 1, 9. udgave, 2019, side 124ff:




   Sagsnr. XX-XXXXXXX                                  Side 156/239
Case 1:18-md-02865-LAK              Document 836-47                 Filed 06/27/22           Page 434 of 462




                 ”Generalklausulens formål er at virke bestemmende for den retlige afgræns-
                 ning mellem skattetænkning og skatteunddragelse. Generalklausulen er ulov-
                 bestemt, men dannet af domstolens retsskabende virksomhed.

                 Dens hovedindhold er kravet om, at beskatningen ved skatteudnyttelser knyt-
                 tes til realøkonomien og realindholdet i de dispositioner, som beskatningen
                 skal ske i forhold til snarere end til dispositionernes formelle iklædning.

                 Generalklausulen anvendes ved en klar uoverensstemmelse mellem den indre
                 realitet og den ydre formelle fremtoning. I det praktiske retsliv vil realitetsbe-
                 dømmelsen naturligvis ofte kunne give anledning til tvivl.

                 Dette skyldes, at realitetsgrundsætningen snarere er et udtryk for en særlig
                 retlig metode til imødegåelse af skatteudnyttelse end en afgrænset retsregel
                 til brug for løsning af enkeltspørgsmål.

                 Realitetsgrundsætningens anvendelsesområde kan følgelig alene fastlægges
                 på grundlag af praksis.

                 Da grundsætningen anvendes på skatterettens mange og forskellige problem-
                 stillinger er det selvsagt vanskeligt at sammenfatte praksis i andet end pro-
                 grammæssige erklæringer.

                 […]

                 Generalklausulen kan avendes til at tilsidesætte tomme og kunstige skattebe-
                 tingede dispositioner, således at beskatningen i stedet foretages i forhold til
                 den modstående realitet. Generalklausulen er dog ikke en arbitrær norm, som
                 kan anvendes til en beskatning efter forgodtbefindende.

                 Klausulen forudsætter en indiskutabel konstatering af, at almindelige og nor-
                 male forretningsmæssige dispositioner er tilsidesat til fordel for tomme og
                 skattebetingede dispositioner således, at dispositionernes form står i modsæt-
                 ning til deres reelle indhold.”

        Til belysning af realitetsgrundsætningens indhold skal også henvises til det af Jan Pedersen anførte i
        TfS 2000, 142, hvoraf følgende bl.a. fremgår:

                 ”Det er kendetegnende, at den skatteretlige retsanvendelse ikke retter sig
                 mod det økonomiske indhold af skatteydernes dispositioner. Derimod retter
                 beskatningen sig mod den civilretlige kvalifikation af disse dispositioner. Den
                 omstændighed, at en skatteyder har modtaget et beløb under nærmere an-
                 givne omstændigheder, har ikke selvstændig interesse for den skatteretlige
                 retsanvendelse. Først når dispositionen er kvalificeret i skatteretlig henseende
                 som løn, salg, gave, lån, køb, erhvervs- udøvelse osv., kan skattelovgivningen
                 anvendes på de således rubricerede civilretlige begivenheder. Selvom ind-
                 komstbeskatningen retter sig mod privatøkonomiske pengestrømme, hvoraf
                 nærmere angivne andele søges inddraget til samfundet, formår indkomstskat-
                 tesystemet alene at løse denne opgave ved hjælp af en forudgående civilretlig
                 kvalificering. Nogen skatteretlig sondring mellem formalitet og realitet i skat-
                 teydernes dispositioner er derfor ikke i almindelighed fornøden.


   Sagsnr. XX-XXXXXXX                                  Side 156/239
Case 1:18-md-02865-LAK              Document 836-47                Filed 06/27/22            Page 435 of 462




                Det må imidlertid haves for øje, at skatteudnyttelse netop indebærer et mis-
                brug af den civilretlige styring. Gennem omgåelser eller måske endda pro-
                forma tilrettelægges dispositionerne på en sådan måde, at de i formen frem-
                træder på en i skatteretlig henseende fordelagtig måde, men dog således, at
                dispositionens faktiske og reelle indhold afviger herfra.

                En række domstolsafgørelser illustrerer et sådant skisma mel- lem formalitet
                og realitet. F.eks. den berømte Havnemølledom, UfR 1960, s. 535 H, hvor den
                selskabsskatteretlige dobbeltbeskatning var søgt undgået ved, at en virksom-
                hedsgren var løftet ud af selskabet og overført til et interessentskab, som var
                stiftet til lejligheden af aktionærerne. Som udgangspunkt kan en sådan spalt-
                ning ikke kritiseres, men bedømmelsen må dog blive en anden, når udskillel-
                sen sker således, at den fysiske drift af interessentskabet fortsat varetages af
                selskabet, der samtidig bærer enhver risiko. Formålet med udskillelsen var da
                også alene at overføre en del af selskabets indkomst til interessentskabet. I
                driftsmæssig og realøkonomisk henseende var status quo, og udskillelsen
                havde ingen realitet. Ved Højesterets dom blev den overførte indkomst derfor
                anset som maskeret udbytte, idet indkomsten reelt var optjent af selskabet og
                derefter udloddet.

                Kendetegnende for en del af skatteudnyttelserne er således, at den civilretlige
                form benyttes som en kulisse med henblik på at styre beskatningen i en for-
                delagtig retning. Dispositionerne karakteriseres ved en kunstig og usædvanlig
                form, idet skatteudnytteren alene ønsker at opnå de heraf følgende skatte-
                mæssige fordele, men ikke de tilsvarende civilretlige følger. Afståelser maske-
                res som langvarige lån eller brugsaftaler på en sådan måde, at “overdrage-
                ren” reelt opgiver sin ejendomsret, låneaftaler med tilhørende rentefradrag
                oprettes, uden at låntager er pålagt en reel økonomisk byrde etc.

                Hovedindholdet i realitetsgrundsætningen er derfor, at beskatningen under
                visse betingelser kan rettes mod den faktiske økonomiske realitet på bekost-
                ning af den modstående civilretlige formalitet. Herved frigøres beskatningen
                fra den civilretlige styring, idet lovlige og retskraftige dispositioner frakendes
                skattemæssig betydning.

                Realitetsgrundsætningen indebærer ikke hjemmelsmæssige problemer, idet
                normen ikke foreskriver fortolkninger eller analogislutninger ud over de be-
                rørte skatteloves klare ordgrænse. Realitetsgrundsætningen relaterer sig deri-
                mod til den præjudicielle fastlæggelse af det faktum, som skattelovene skal
                anvendes på. Nærmere bestemt gennemføres en prøvelse af, om den hæv-
                dede civilretlige form har en hertil svarende realitet.
                Dette er malende beskrevet som kravet om, at dispositionerne skal være af
                “kød og blod”. Realitetsgrundsætningen relaterer sig således til faktumbe-
                stemmelsen snarere end lovfortolkningen.

                Det må naturligvis præciseres, at realitetsgrundsætningen ikke indebærer en
                total formløshed, hvor “målet helliger midlet”. Nogen arbitrær og uhjemlet
                beskatning giver grundsætningen ikke mulighed for. Dette sikres ved kravet
                om, at den civilretlige styring alene kan tilsidesættes, såfremt den hævdede
                form slet ikke svarer til de realøkonomiske realiteter.



   Sagsnr. XX-XXXXXXX                                 Side 156/239
Case 1:18-md-02865-LAK              Document 836-47                Filed 06/27/22           Page 436 of 462




                 Grundet realitetsgrundsætningens natur er det dog – desværre – ikke muligt
                 at angive mere konkrete og klare rammer for grundsætningens anvendelses-
                 område.”

        12.3.3 Realitetsgrundsætningen i retspraksis

        Som anført er realitetsgrundsætningen ikke en fri adgang for skattemyndighederne til frit af gen-
        nemføre en beskatning – der er således grænser for realitetsgrundsætningens anvendelse.

        Til belysning af anvendelsen af realitetsgrundsætningen henvises i det følgende til en række afgø-
        relser fra praksis.

        De fremhævede afgørelser illustrerer netop, at realitetsgrundsætningen ikke er en arbitrær norm,
        der kan anvendes til beskatning efter forgodtbefindende.

        Fra praksis skal for det første henvises til Højesterets dom af den 30. oktober 2003, der er offentlig-
        gjort i TfS 2003, 889 H.

        Det i sagen omhandlede selskabet – Over-Hold ApS – købet et underskudselskab og besluttede ef-
        terfølgende at omdanne selskabet til anpartsselskab og i samme forbindelse udvide anpartskapita-
        len med kr. 120 mio.

        Kapitaludvidelsen skete via et lån i selskabets moderselskab, og kapitaludvidelsen blev straks vide-
        reudlånt til et andet koncernforbundet selskab, der anvendte beløbet til køb af aktier.

        Alle transaktioner fandt sted samme dag.

        Det erhvervede anpartsselskab modtog den samme rentebetaling, som selskabet ydede for lånet
        hos moderselskabet.

        Selskabet gjorde gældende, at den valgte fremgangsmåde var begrundet i et ønske om at etablere
        en ordning, hvorved anpartsselskabet kunne udnytte adgangen til at fremføre tidligere års under-
        skud til modregning i renteindtægter efter dagældende bestemmelser i ligningsloven

        Landsskatteretten stadfæstede de stedlige skattemyndigheders nægtelse af retten til fradrag for
        renter. Landsskatteretten lagde i den forbindelse til grund, at lånet ikke var forbundet med en reel
        risiko for selskaberne, samt at selskabet ikke havde haft fri dispositionsret over låneprovenuet. Det
        blev endvidere tillagt vægt, at selskabet ikke havde opnået indtægter ved dispositionerne, og at
        derefter

        Landsskatterettens opfattelse ikke var nogen forretningsmæssig begrundelse for at placere rente-
        indtægten i det danske underskudsselskab Over-Trading A/S.

        Vestre Landsret stadfæstede Landsskatterettens afgørelse. I den forbindelse lagde landsretten til
        grund, at lånet ikke var forbundet med en reel risiko for selskaberne, samt at selskabet ikke havde
        haft fri dispositionsret over låneprovenuet.

        Det var endvidere blevet tillagt vægt, at selskabet ikke havde opnået indtægter ved dispositio-
        nerne. Ved den påankede afgørelse var lånoptagelsen derfor ikke blevet tillagt skattemæssig betyd-
        ning.



   Sagsnr. XX-XXXXXXX                                 Side 156/239
Case 1:18-md-02865-LAK               Document 836-47                 Filed 06/27/22             Page 437 of 462




        Højesteret lagde derimod vægt på, at fremgangsmåden til udnyttelse af adgangen til underskuds-
        fremførsel, der kunne have været etableret, uden at der var blevet ydet lån mellem de koncernfor-
        bundne selskaber, måtte karakteriseres som en lovlig udnyttelse af den udtrykkelige bestemmelse
        for finansielle underskudsselskaber i ligningslovens dagældende § 15, stk. 7, nr. 3.

        Af Højesterets begrundelse fremgår følgende:

                 ”Højesterets bemærkninger.

                 Over-Hold ApS modtog ved låneoptagelsen hos Cirrus AB et provenu på 120
                 mio. kr. og anvendte det til en kontant kapital- forhøjelse i Over-Trading ApS,
                 der var et finansielt underskuds- selskab, med henblik på indtjening i dette sel-
                 skab. Over-Trading ApS udlånte beløbet til Bonnier Information Services A/S,
                 som anvendte det til anskaffelse af aktier i A/S Børsen Holding.

                 Den valgte fremgangsmåde var begrundet i et ønske om at etablere en ord-
                 ning, som gjorde det muligt for Over-Trading ApS at udnytte den adgang til at
                 fremføre tidligere års under- skud til modregning i renteindtægter, som be-
                 stod efter de dagældende bestemmelser i ligningslovens § 15, stk. 1, jf. stk. 5
                 og stk. 7, nr. 3. En sådan ordning, der kunne have været etableret, uden at der
                 blev ydet lån mellem de koncernforbundne selskaber, må karakteriseres som
                 en lovlig udnyttelse af den udtrykkelige undtagelse for finansielle underskuds-
                 selskaber i ligningslovens § 15, stk. 7, nr. 3.

                 De omstændigheder, der er påberåbt af Skatteministeriet, giver på den an-
                 førte baggrund ikke grundlag for at anse lånet fra Cirrus AB til Over-Hold ApS
                 for at være uden realitet eller for at fastslå, at der er sket en vilkårlig forvrid-
                 ning af selskabernes indkomstgrundlag. Højesteret tager herefter Over-Hold
                 ApS’ påstand til følge.”

        Højesterets gav derfor selskabet medhold i dets påstand om rentefradrag.

        Fra praksis skal for det andet endvidere henvises til Højesterets dom af den 7. december 2006, der
        er offentliggjort i SKM2006.749 H.

        Sagen vedrørte spørgsmålet om, hvorvidt der var tale om et skattefrit salg af aktier til det udste-
        dende selskab eller reelt om en aktieoverdragelse til tredjemand, således at avancen var skatteplig-
        tig efter aktieavancebeskatningsloven § 2, i en situation hvor det udstedende selskab ikke finansie-
        rede tilbagekøbet med fri reserver, der var opsparet i selskabet, men ved et samtidigt kapitalind-
        skud.

        Det omhandlede anpartsselskab, Finwill ApS, havde i februar 1999 erhvervet 50 pct. Af aktiekapita-
        len (nominelt kr. 750.000) i et aktieselskab, Circuit Electric A/S. I april 1999 købte Circuit Electric A/S
        samtlige aktier tilhørende Finwill ApS. Accept af denne retshandel blev givet den 9. april 1999.
        Samme dato afholdtes ekstraordinær generalforsamling i Circuit Electric A/S. Her blev det besluttet
        at gennemføre en nedsættelse af aktiekapitalen med nominelt kr. 750.000, idet der samtidig gen-
        nemførtes en kapitalforhøjelse med nominelt kr. 750.000. De nye aktier tegne- des af selskabet He-
        deselskabet Miljø og Energi A/S.

        Det fulgte af aktieselskabsloven, at der kunne gennemføres en samtidig kapitalnedsættelse og kapi-
        talforhøjelse, jf. lovens § 46, stk. 1, 1. pkt., og at en grænse på 10 pct. For erhvervelse af egne aktier


   Sagsnr. XX-XXXXXXX                                   Side 156/239
Case 1:18-md-02865-LAK              Document 836-47                Filed 06/27/22            Page 438 of 462




        kunne overskrides, såfremt aktierne erhvervedes med henblik på en kapitalnedsættelse, jf. lovens §
        48 B, nr. 1. Derfor går modellen under betegnelsen ’elevatormodellen’.

        Skattemyndighederne anså imidlertid den overdragelse af aktier, der havde fundet sted fra Finwill
        ApS til Circuit Electric A/S, som værende sket direkte til Hedeselskabet Miljø og Energi A/S, hvorfor
        denne avance, der var blevet konstateret hos Finwill ApS, blev anset for at være skattepligtig i hen-
        hold til aktieavancebeskatningslovens § 2, stk. 1. Begrundelsen herfor var, at overførslen af aktier
        fra Finwill ApS til Hedeselskabet Miljø og Energi A/S var ”camoufleret” som en kapitalforhøjelse og
        nedsættelse. Heroverfor anførte Finwill ApS, at der ikke havde været tale om en pro forma-retshan-
        del, og at betalinger faktisk var sket i overensstemmelse med de trufne beslutninger.

        Landsskatteretten lagde efter en samlet vurdering til grund, at der reelt var sket en overdragelse af
        aktierne fra anpartsselskabet direkte til Hedeselskabet Miljø og Energi A/S, hvorfor avancen heraf
        var skattepligtig for anpartsselskabet efter reglerne i aktieavancebeskatningsloven (aktieavancebe-
        skatningslovens § 2, stk. 1). Begrundelsen herfor var, at der forelå en sådan sammenhæng mellem
        de fore- tagne dispositioner, at aktieafståelsen reelt måtte anses for at være sket til Hedeselskabet
        Miljø og Energi A/S.

        Vestre Landsret stadfæstede denne afgørelse med følgende præmisser:

                 ”Det må lægges til grund, at A betingede sig, at overdragelse skete til selska-
                 bet alene med det formål at opnå skattefrihed. Den gennemførte model blev
                 således foretrukket, fordi den antoges at medføre skattefrihed.

                 Selskabet havde ikke selv midler til at købe aktierne. Overdragelsen forudsatte
                 derfor tilvejebringelse af midler udefra. Købesummen blev tilvejebragt ved, at
                 G1 Miljø og Energi A/S i forbindelse med tegning af en ganske tilsvarende ak-
                 tiepost indbetalte købesummen til selskabet, der derefter udbetalte den til As
                 selskab. Overdragelsen forudsatte en kapitalnedsættelse, som var betinget af
                 en samtidig gennemført kapitalforhøjelse af samme størrelse, svarende til kø-
                 besummen. Overdragelsen indebar derfor ingen ændring af aktiekapitalen el-
                 ler af egenkapitalens størrelse.

                 De retlige konsekvenser for G1 Miljø og Energi A/S og selskabet må på den
                 baggrund antages i alt væsentligt at ville have været de samme, uanset om
                 en afståelse straks skete til G1 Miljø og Energi A/S eller til selskabet. Det
                 samme gælder for As selskab. Der var ikke i øvrigt nogen forretningsmæssig
                 begrundelse for, at afståelsen skete til selskabet frem for til G1 Miljø og
                 Energi A/S.

                 Under de anførte omstændigheder findes overdragelsen reelt at være sket til
                 G1 Energi og Miljø A/S, der efter overdragelsen ejede selskabet 100 %, og
                 overdragelsen til det udstedende selskab må anses for gennemført alene for
                 at undgå skat. Det tiltrædes derfor, at overdragelsen er anset for skatteplig-
                 tig.
                 Overdragelsen findes således ikke – uanset at de selskabsretlige dispositioner
                 var gyldige – at have karakter af en sådan overdragelse af aktier til det udste-
                 dende selskab, som efter ligningslovens § 16 B, stk. 1, jf. selskabsskattelovens
                 § 13, stk. 1, nr. 2, ifølge Ligningsvejledningen 1999, S.C.1.2.4.3., kan ske skat-
                 tefrit.”



   Sagsnr. XX-XXXXXXX                                  Side 156/239
Case 1:18-md-02865-LAK               Document 836-47                Filed 06/27/22            Page 439 of 462




        Landsskatteretten og Vestre Landsret anvendte således realitetsgrundsætningen.

        Højesterets flertal (fem ud af syv dommere) kom imidlertid til et andet resultat. Af Højesterets dom
        fremgår følgende:

                 ”De almindelige regler om beskatning ved afståelse af aktier findes i aktieavance-
                 beskatningsloven. Efter reglerne i den dagældende aktieavancebeskatningslov er
                 fortjeneste skattepligtig, når den skattepligtige har erhvervet aktierne på et tids-
                 punkt, der ligger mindre end tre år forud for afståelsen. Er aktionæren et aktiesel-
                 skab, er fortjenesten skattefri ved en ejertid på tre år eller mere, jf. den dagæl-
                 dende aktieavancebeskatningslovs § 4, stk. 6.

                 I ligningslovens § 16 B er det imidlertid bestemt, at hele afståelsessummen er
                 skattepligtig som udbytte, hvis aktionæren afstår aktier til det selskab, der har
                 udstedt de pågældende aktier. Bestemmelsen omfatter ikke kun tilfælde, hvor ak-
                 tionæren afhænder en del af sine aktier til det udstedende selskab, men også til-
                 fælde, hvor aktionæren afhænder alle sine aktier til selskabet. Efter forarbejderne
                 til bestemmelsen har den til formål at forhindre ”aktionærerne i at opnå en lem-
                 peligere beskatning ved at lade selskabet opkøbe egne aktier i stedet for på sæd-
                 vanlig måde at foretage udlodning til aktionærerne”, jf. Folketingstidende 1960-
                 61, tillæg A, sp. 836.

                 Efter den dagældende bestemmelse i selskabsskattelovens § 13, stk. 1, nr. 2, er
                 aktieudbytte skattefrit, hvis det udbyttemodtagende selskab (moderselskabet)
                 ejer mindst 25 % af aktiekapitalen i det udbyttegivende selskab (datterselskabet) i
                 en sammenhængende periode på mindst et år, inden for hvilken periode udlod-
                 ningstidspunktet skal ligge. Bestemmelsen har til formål at lempe den økonomi-
                 ske dobbeltbeskatning af udloddede selskabsindkomster, jf. Folketingstidende
                 1975-76, tillæg A, sp. 4105.

                 Samspillet mellem reglerne indebærer, at et moderselskabs fortjeneste ved salg
                 af aktier i et datterselskab er skattefri ved opfyldelsen af kravet om et års ejertid,
                 hvis aktierne afstås til datterselskabet, mens fortjenesten først er skattefri efter
                 tre års ejertid, hvis aktierne sælges til anden side.

                 Fem dommere – Torben Melchior, Per Sørensen, Lene Pagter Kristensen, Thomas
                 Rørdam og Poul Dahl Jensen – udtaler herefter: Udbyttebegrebet i selskabsskatte-
                 lovens § 13, stk. 1, nr. 2, omfatter også de afståelsessummer, der efter ligningslo-
                 vens § 16 B, stk. 1, behandles som udbytte, jf. Meddelelser fra Skattedepartemen-
                 tet 1982, afgørelse nr. 2. Det følger derfor af ordlyden af bestemmelserne, at
                 Finwill ApS, der på afståelsestidspunktet den 9. april 1999 havde ejet 25 % af ak-
                 tiekapitalen i Circuit Electric A/S i over et år, var berettiget til skattefrit at sælge
                 alle sine aktier i Circuit Electric til dette selskab.

                 Spørgsmålet i sagen er, om salget er skattefrit også i den foreliggende situation,
                 hvor Circuit Electric ikke finansierede tilbagekøbet med frie reserver, der var op-
                 sparet i selskabet, men hvor tilbagekøbet – som led i en udskiftning af selskabets
                 aktionærkreds – blev finansieret med et samtidigt kapitalindskud, der fremkom
                 ved, at Hedeselskabet Miljø og Energi A/S som indtrædende aktionær tegnede
                 nye aktier i selskabet.



   Sagsnr. XX-XXXXXXX                                  Side 156/239
Case 1:18-md-02865-LAK              Document 836-47                 Filed 06/27/22            Page 440 of 462




                Ændring af ejerforholdene i et aktieselskab kan gennemføres ved, at en aktionær
                sælger aktier direkte til en anden eller en ny aktionær. Det følger imidlertid af ak-
                tieselskabslovens § 44 a, stk. 1, nr. 2, og § 48 b, nr. 1, at ændring af ejerforhol-
                dene også kan gennemføres ved en kapitalnedsættelse, der kan kombineres med
                en samtidig kapitalforhøjelse, jf. lovens § 46. Det må lægges til grund, at de dis-
                positioner, der er foretaget i forbindelse med Finwills udtræden som aktionær og
                Hedeselskabet Miljø og Energis indtræden, er sket i overensstemmelse med aktie-
                selskabslovens regler.

                Det fremgår af forarbejderne til ligningslovens § 16 B, at bestemmelsen er affat-
                tet i overensstemmelse med § 16 A, og at dette er sket ud fra et ønske om, at der
                ikke skal være forskel på den skattemæssige behandling af de tilfælde, hvor en
                aktionær sælger aktier til det udstedende selskab, og de tilfælde, hvor et selskab
                indløser en del af aktiekapitalen ved udlodning til aktionærerne, jf. Folketingsti-
                dende 1960-61, tillæg B, sp. 852. Efter forarbejderne til § 16 A omfatter denne be-
                stemmelse enhver udlodning fra selskabet, uanset om denne hidrører fra indtjent
                overskud, indkomstskattefri formueforøgelser eller fra den kapital, der er ind-
                skudt i selskabet, jf. Folketingstidende 1960-61, tillæg A, sp. 833. Vi finder, at det
                må følge heraf, at § 16 B på samme måde må omfatte enhver afståelsessum fra
                selskabet, uanset om den hidrører fra indtjent overskud, indkomstskattefri formu-
                eforøgelser eller – som her – fra den kapital, som er indskudt i selskabet. Sådanne
                afståelsessummer er derfor skattefri, når betingelserne i selskabsskattelovens §
                13, stk. 1, nr. 2, er opfyldt.

                På denne baggrund finder vi, at det forhold, at det udstedende selskab, Circuit
                Electric, finansierede tilbagekøbet af aktierne fra Finwill med den kapital, som He-
                deselskabet Miljø og Energi samtidig indskød i Circuit Electric, ikke kan føre til, at
                afståelsessummen ikke er omfattet af ligningslovens § 16 B, stk. 1, med deraf føl-
                gende mulighed for skattefrihed efter selskabsskattelovens § 13, stk. 1, nr. 2.

                Det kan efter vores opfattelse ikke føre til et andet resultat, at Circuit Electric ikke
                forud for kapitalforhøjelsen rådede over tilstrækkelige midler til at finansiere til-
                bagekøbet, idet det må lægges til grund, at Hedeselskabet Miljø og Energis teg-
                ning af nye aktier for et beløb på 17.460.000 kr. modsvaredes af reelle værdier i
                Circuit Electric.

                Vi finder herefter, at der ikke er grundlag for at nægte at anerkende, at afståel-
                sessummen ved Finwills aktieoverdragelse til Circuit Electric er udbytte omfattet
                af ligningslovens § 16 B, stk. 1, og dermed skattefrit efter selskabsskattelovens §
                13, stk. 1, nr. 2. Som følge af det anførte stemmer vi for at tage Finwills påstand
                til følge.

                Dommerne Asbjørn Jensen og Marianne Højgaard Pedersen udtaler: Som anført
                af landsretten var det aftalt, at Hedeselskabet Miljø og Energi skulle købe Finwills
                aktiepost på 50 % af den samlede aktiekapital i Circuit Electric. Det må endvidere
                lægges til grund, at salgssummen herfor var aftalt til 17.460.000 kr. Alene for at
                undgå, at salgssummen skulle være omfattet af loven om aktieavancebeskatning,
                blev det herefter aftalt, at virksomhedsoverdragelsen skulle gennemføres som en
                kapitalnedsættelse i selskabet og en samtidig kapitalforhøjelse.




   Sagsnr. XX-XXXXXXX                                  Side 156/239
Case 1:18-md-02865-LAK                Document 836-47                Filed 06/27/22             Page 441 of 462




                  Efter selskabsskattelovens § 13, stk. 1, nr. 2, jf. ligningslovens § 16 B, stk. 1, er en
                  salgssum skattefri, hvis den kan anses som udbytte. Formålet med § 13, stk. 1, nr.
                  2, er ifølge forarbejderne udelukkende at lempe dobbeltbeskatning ved udlodning
                  til et moderselskab af datterselskabets indkomster, og formålet med ligningslo-
                  vens § 16 B, stk. 1, er ifølge forarbejderne udelukkende at forhindre, at der kan
                  opnås en lempeligere beskatning ved et salg til selskabet end ved en udlodning af
                  udbytte.

                  Som anført af landsretten havde Circuit Electric ikke selv midler til at købe ak-
                  tierne, og transaktionerne indebar ingen ændring af aktiekapitalen eller af egen-
                  kapitalens størrelse. Den aftalte kapitalforhøjelse i Circuit Electric havde ikke til
                  formål at tilføre selskabet kapital, men var reelt Hedeselskabet Miljø og Energis
                  betaling for Finwills aktier. Transaktionerne blev udelukkende tilrettelagt på
                  denne måde og ikke som et direkte salg af aktierne, for at Finwill kunne undgå at
                  blive beskattet af avancen ved salget. Ud over skattebesparelsen var der ingen
                  forretningsmæssig begrundelse for den anvendte fremgangsmåde.

                  Under disse omstændigheder kan salgssummen efter vores opfattelse ikke anses
                  for omfattet af selskabsskattelovens § 13, stk. 1, nr. 2. Vi tiltræder derfor, at af-
                  ståelsessummen på de 17.460.000 kr. ikke kan fritages for beskatning, men skal
                  beskattes efter de almindelige regler om beskatning af fortjeneste ved afståelse
                  af aktier i aktieavancebeskatningsloven.

                  Det forhold, at forslaget til en ændring af ligningslovens § 16 B i lovforslag nr. L
                  87 i folketingsåret 1998-99 blev trukket tilbage, kan efter vores opfattelse ikke ta-
                  ges som udtryk for, at lovgivningsmagten herefter har accepteret, at salg af ak-
                  tier kan tilrettelægges på en måde som den foreliggende, uden at fortjenesten
                  omfattes af de grundlæggende regler om beskatning af avancer i aktieavancebe-
                  skatningsloven.

                  Vi stemmer derfor for at stadfæste dommen. Afgørelsen træffes efter stemmefler-
                  tallet.”

     Den ovenfor refererede Højesteretsdom kan således både ses som udtryk for den store betydning, som
     anvendelsen af civilretlige begreber har i skatteretten, jf. herom ovenfor. Dommen kan endvidere ses
     som udtryk for det forhold, at realitetsgrundsætningen ikke er en arbitrær norm, der giver skattemyn-
     dighederne muligheder for at gennemføre en beskatning efter forgodtbefindende.

     Til illustration af realitetsgrundsætningen skal fra praksis for det tredje henvises til mindretallets dis-
     sens i Højesterets dom af den 24. august 2007, der er offentliggjort i TfS 2007, 752 H.

     Sagen omhandlede spørgsmålet om, hvorvidt en kommanditist havde fradrag for renteudgifter i forbin-
     delse med et kommanditselskabs deltagelse i et ejendomsinvesteringsprojekt.

     Det fremgik af udbudsmaterialet, at der var budgetteret med et negativt driftsresultat over en periode
     på 20 år.

     Erhvervelsen af ejendommen, der var erhvervet med en tilbagekøbsret til den oprindelige ejer og til en
     høj pris, var bl.a. finansieret ved et “sælgerpantebrev” uden personlig hæftelse. Det var i vilkårene be-
     stemt, at gælden blev reguleret “med ud- svingene i forhold til debitors samlede indtægter og udgifter
     vedrørende ejendom- men”. Herudover skulle gælden afdrages med kr. 350.000.


   Sagsnr. XX-XXXXXXX                                    Side 156/239
Case 1:18-md-02865-LAK               Document 836-47                 Filed 06/27/22          Page 442 of 462




      Spørgsmålet var herefter, om kommanditisten havde fradrag for renterne på det pågældende lån.

      Landsskatterettens flertal stadfæstede skattemyndighedernes nægtelse af fra- dragsret med følgende
      begrundelse:

              ”Landsskatteretten skal udtale:

              To retsmedlemmer, herunder retsformanden, skal […] vedrørende lån optaget hos
              S A/S […] tilslutte sig […], at der ikke kan indrømmes fradrag for renteudgifter
              heraf. Der er tale om lån ydet på non-recourse vilkår i et arrangement uden realø-
              konomisk risiko for skatteyderen, og lånet er udelukkende optaget af skattemæs-
              sige årsager. Disse to retsmedlemmer voterer derfor for, at klageren ikke indrøm-
              mes fradrag for renteudgifter af gæld til S A/S.

              Et retsmedlem skal bemærke, at K/S K’s påtagelse af gælds- og renteforpligtelser
              ikke kan anses for at have reelt indhold […].”

      Landsskatterettens afgørelse blev efterfølgende stadfæstet af Østre Landsret ved dom af den 19. ja-
      nuar 20007. Af landsrettens begrundelse fremgår følgende:

              ”Gældsbrevet var uden personlig hæftelse, men med nærmere angiven sikkerhed
              udstedt til sælgeren af den pågældende udlejningsejendom. Det indgik i et sam-
              menhængende kompleks af aftaler. Der er ikke fremkommet oplysninger, som
              kan afsvække den tilvejebragte formodning om, at købsprisen for ejendommen
              langt oversteg handelsværdien, hvorved bemærkes, at Skatteministeriet ikke har
              forholdt sig til afskrivningsgrundlaget. I betragtning af samtlige vilkår for over-
              dragelsen, sikkerhedsstillelsen og gældsopskrivningen er det ikke godtgjort, at
              kreditor nogensinde skulle modtage betaling svarende til fordringens pålydende.
              For øvrigt var investeringen efter udbudsmaterialet underskudsgivende og kunne
              kun give nettofordel efter skat.

              Betalingsforpligtelsen i henhold til gældsbrevet var på det samlede aftalegrund-
              lag forud begrænset til en årlig ydelse på 1.296 kr. pr. anpart. Der skulle ikke be-
              tales mere, fordi sælgeren mod sin nærmere fastsatte rådighedsadgang havde
              påtaget sig udgiftsrisikoen, og fordi aktualisering af den personlige hæftelse for
              kreditforeningslånet henset til sikkerheden og den aftalte berigtigelse af betalin-
              gerne var hypotetisk.

              Efter en samlet bedømmelse af arrangementet finder landsretten, at A ikke har
              haft nogen reel risiko for at skulle tilbagebetale og forrente sine andele af kre-
              ditsaldoen ifølge gældsbrevet. De posterede renteudgifter er herefter ikke
              fradragsberettigede. Den principale og den subsidiære påstand kan derfor ikke ta-
              ges til følge.

              Da han ikke har godtgjort, at arrangementet bortset fra gældsbrevet var reelt,
              kan de posterede udgifter ikke fradrages som løbende ydelse. Den mere subsi-
              diære påstand kan ej heller tages til følge.

              Herefter frifindes Skatteministeriet”




 Sagsnr. XX-XXXXXXX                                   Side 156/239
Case 1:18-md-02865-LAK                 Document 836-47                Filed 06/27/22           Page 443 of 462




      Landsretten henså således særligt til fraværet af personlig hæftelse og købsprisen, der oversteg han-
      delsværdien, samt til, at det ikke – i lyset af de særlige vilkår for sælgerpantebrevet – var godtgjort, at
      kreditor ville modtage betaling svarende til fordringens pålydende.

      Retten henså endvidere til, at investeringen var underskudsgivende og kun kunne give en nettofordel
      efter skat. Under henvisning til fraværet af reel mulighed for tilbagebetaling og forrentning af lånet
      fandt retten, at renteudgifterne ikke var fradragsberettigede.

      Landsretten kunne heller ikke tiltræde kommanditistens anbringende, hvorefter der skulle være selv-
      stændig hjemmel til fradraget efter bestemmelsen om renteperiodisering i virksomhedsskattelovens §
      6, stk. 2. Under hensyn til fraværet af realitet fandt retten heller ikke, at der kunne indrømmes fradrag
      for løbende ydelser. Skatteministeriet blev herefter i det hele frifundet.

      Højesteret delte sig imidlertid med stemmerne tre-to. Højesterets flertal fandt ligesom landsretten
      ikke, at det var godtgjort, at der forelå en reel gældsforpligtelse, hvorfor hverken de betalte eller i øv-
      rigt udgiftsposterede renter var fradragsberettigede.

      I nærværende sammenhæng er det imidlertid Højesterets mindretals begrundelse, der er interessant.
      Af mindretallets begrundelse fremgår følgende:

               ” Dommerne Lene Pagter Kristensen og Niels Grubbe udtaler:

               Det er ubestridt, at K pr. 31. december 1992 ved en civilretligt gyldig overdragelse erhvervede
               ejendommen fra S, og skatte- myndighederne har anerkendt, at overdragelsen også lægges
               til grund i skattemæssig henseende, således at selskabet som ejer havde mulighed for at fore-
               tage skattemæssige afskrivninger på ejendommen. Det er endvidere ubestridt, at K drev er-
               hvervsmæssig virksomhed med udlejning af ejendommen og som led heri med skattemæssig
               virkning oppebar lejeindtægter og afholdt sædvanlige ejendomsudgifter og renter på kredit-
               foreningsgælden.

               Sagen angår således alene spørgsmålet, om rentefradrag skal nægtes, under henvisning til at
               gældsbrevet ikke i skattemæssig henseende var udtryk for en reel skyld til S.

               Gældsbrevet blev oprettet som led i berigtigelsen af købet og skulle navnlig dække restkøbe-
               summen samt K’s løbende driftsunderskud vedrørende ejendommen.

               S havde selv erhvervet ejendommen pr. 1. maj 1990 ved et køb i almindelig fri handel mellem
               uafhængige parter for en kontant købesum på 27,2 mio. kr. Videresalget til K 2½ år senere
               skete til en pris, der svarede til anskaffelsessummen, 27,9 mio. kr., med tillæg af projekt- og
               salgsokkostninger, i alt 30,4 mio. kr. Ejendommen var da fuldt udlejet, og lejen var noget
               større end ved købet. Der blev endvidere ved videresalget – men ikke ved erhvervelsen – stil-
               let en 10-årig garanti for den aktuelle nettoleje med en årlig akkumuleret forhøjelse på 3 %
               svarende til den aftalte lejeregulering. Den garanterede nettoleje på 1.765.000 kr. gav K et
               årligt afkast, der før renter og skat udgjorde 5,8 % af anskaffelsessummen på 30,4 mio. kr. i
               det første år og steg med 3 % årligt. På denne baggrund finder vi, at det ikke er sandsynlig-
               gjort, at købsprisen oversteg handelsværdien. Dette gælder, uanset de foreliggende – sum-
               mariske – oplysninger om afhændelsen af ejendommen i 2003, og uanset den offentlige ejen-
               domsvurdering, S’ opfattelse af markedssituationen og det statistiske materiale om kontant-
               priser for forretningsejendomme.




 Sagsnr. XX-XXXXXXX                                  Side 156/239
Case 1:18-md-02865-LAK                 Document 836-47                Filed 06/27/22            Page 444 of 462




               Forpligtelsen i henhold til gældsbrevet var sikret bl.a. ved håndpant i et ejerpantebrev på 6
               mio. kr. med sikkerhed i ejendommen efter kreditforeningslånet og ved transport i lejeind-
               tægterne. Disse goder udgjorde reelle aktiver for K, som således – ud over hæftelse for gæl-
               den – ved sikkerhedsstillelsen påtog sig en formueopofrelse. Selvom projektet var tilrettelagt

               med henblik på at eliminere risiko for tab, havde K således en risiko, men på grund af kom-
               manditselskabets vedtægter og låneaftalens bestemmelse om begrænset hæftelse (non-
               recourse vilkår) indebar dette ikke en risiko for, at kommanditisterne led tab ud over deres
               pligt til at foretage indskud og løbende indbetalinger. Denne risikobegrænsning for komman-
               ditisterne er ikke i sig selv til hinder for, at de kan få ret til fradrag for renter på lånet.

               Vi finder – i modsætning til flertallet – at K uanset sikkerhedsstillelsen for gældsbrevet og S’
               købe- og forkøbsret havde reel adgang til at råde retligt og faktisk over ejendommen.

               Vi finder endvidere – i modsætning til flertallet – at K havde reel mulighed for gevinst ved af-
               hændelse af ejendommen. Denne mulighed bestod også i tilfælde af S’ udnyttelse af køberet-
               ten, såfremt nettolejeindtægten steg med mere end de forudsatte 3 % årligt, eller rentebyr-
               den blev mindsket ved om- prioritering af kreditforeningslånet eller lånet hos S.

               Selvom projektet var etableret med henblik på en 10-årig projektperiode, var K ikke bundet til
               denne periode, men kunne afvikle gælden til S forinden eller afhænde ejendommen før perio-
               dens udløb. Hvis S ikke gjorde køberetten gældende i løbet af 10-års perioden, kunne K be-
               holde ejendommen, og alt efter udviklingen i leje- og renteniveauet var dette efter vores op-
               fattelse ikke kun en teoretisk mulighed.

               Under disse omstændigheder finder vi ikke grundlag for at fastslå, at realiteten i de indgåede
               aftaler alene var, at kommanditisterne købte sig til et midlertidigt formelt gældsforhold med
               henblik på at opnå bl.a. det omstridte rentefradrag, og dermed heller ikke for at fastslå, at
               det af K udstedte gældsbrev ikke i skattemæssig henseende var udtryk for en reel skyld til S.
               Herefter er A berettiget til rentefradrag.

               Efter virksomhedsskattelovens § 6, stk. 2, fordeles fradrag for renteudgifter mv. over den pe-
               riode, renteudgifterne vedrører. Denne bestemmelse fraviger de almindelige regler i lignings-
               lovens § 5, stk. 1 og 2, om periodisering af rentefradrag, men den kan efter sin ordlyd ikke an-
               tages at fravige bestemmelsen i ligningslovens dagældende § 5, stk. 7 (nu stk. 8), hvorefter
               rentefradraget i visse tilfælde begrænses til betalte renter. Denne forståelse har også støtte i
               bemærkningerne til § 6, stk. 2, i lovforslaget til virksomhedsskatteloven (Folketingstidende
               1985/86, Tillæg A, sp. 2629).
               Det er ubestridt, at bestemmelsen i ligningslovens dagældende
               § 5, stk. 7, 1. pkt., isoleret set i det foreliggende tilfælde vil føre til en begrænsning af rente-
               fradraget til de beløb, som A har nedlagt subsidiær påstand om. Vi finder, at A ikke er undta-
               get fra denne begrænsning som følge af bestemmelsen i 2. pkt. om betaling eller sikkerheds-
               stillelse for forfalden gæld. Heller ikke 3. pkt. finder anvendelse, allerede fordi S ikke tilhører
               nogen af de kategorier af kreditorer, som denne bestemmelse an går.

               Vi stemmer herefter for at tage A’s subsidiære påstand til følge.”

      Højesterets mindretals begrundelse er således udtryk for, at den skatteretlige realitetsgrundsætning ikke kan
      anvendes til at tilsidesætte enhver uoverensstemmelse mellem form og indhold, idet mindretallet kan siges
      at have opretholdt formaliteten i sagen, jf. herved mindretallets bemærkning om, at der var ikke grundlag for
      at fastslå, at realiteten i de indgåede aftaler alene var, at kommanditisterne købte sig til et midlertidigt for-


 Sagsnr. XX-XXXXXXX                                  Side 156/239
Case 1:18-md-02865-LAK                Document 836-47               Filed 06/27/22           Page 445 of 462




      melt gældsforhold med henblik på at opnå bl.a. det omstridte rentefradrag, hvorfor der ikke var grundlag for
      at fastslå, at gældsbrevet ikke i skattemæssig henseende var udtryk for en reel skyld.

      Tilsvarende skal der for det fjerde henvises til mindretallets dissens i Højesterets dom af den 25. november
      1999, der er offentliggjort TfS 1999, 950 H.

      Sagen omhandlede spørgsmålet om, hvorvidt et selskab (J.S. Ejendoms- og Investeringsselskab A/S (tidligere
      Jysk Sengetøjslager A/S), der var en del af Jysk Sengetøjslager-koncernen, havde ret til fradrag for provisions-
      betalinger til selskabet Hobby Hall A/S, som selskabet var sambeskattet med.

      Ved aftale af den 25. august 1989 blev det mellem Jysk Sengetøjslager A/S og Hobby Hall A/S aftalt, at Hobby
      Hall A/S skulle forestå det samlede indkøb til Jysk Sengetøjslager A/S, og at der betaltes en provision fra Jysk
      Sengetøjslager A/S til Hobby Hall A/S som vederlag for det udførte arbejde. Provisionen aftaltes til 5 pct. Af
      indkøbet.

      Aftalen blev senere af revisor suppleret med oplysning om, at Hobby Hall A/S foretog de samlede indkøb til
      koncernen, herunder leverancer til udenlandske datterselskaber og samarbejdspartnere.




 Sagsnr. XX-XXXXXXX                                 Side 156/239
Case 1:18-md-02865-LAK                      Document 836-47             Filed 06/27/22          Page 446 of 462




        Fastlæggelsen af varesortimentet skete i samarbejde mellem indkøberne og ansatte i det klagende selskab.
        Varekontrollen blev foretaget af indkøberne, og Hobby Hall A/S afholdt de hermed forbundne udgifter.

        Dette gjaldt bl.a. løn, gager og rejse-, kørsels-, lokale- og administrationsomkostninger. Udover Jysk Senge-
        tøjslager A/S’ hovedaktionær var tillige ansat en direktør og fire-fem indkøbere i Hobby Hall A/S.

        Indkøbsvirksomheden udøvedes fra lejede lokaler i Silkeborg.

        Indkøbsfunktionen skete i Jysk Sengetøjslager A/S’ navn og for Jysk Sengetøjslager A/S’ regning og risiko.

        De indkøbte varer leveredes og faktureredes direkte til Jysk Sengetøjslager A/S, ligesom Jysk Sengetøjslager
        A/S viderefakturerede til udenlandske datterselskaber for eventuelle leverancer.

        Hobby Hall A/S modtog en provision på 5 pct. Af Jysk Sengetøjslager A/S’ samlede indkøb.

        I perioden fra den 1. september 1989 til den 31. august 1990 betalte Jysk Sengetøjslager A/S en provision til
        Hobby Hall A/S på kr. 21.884.788.

        De stedlige skattemyndigheder nægtede imidlertid Jysk Sengetøjslager A/S fradrag for størstedelen af den
        betalte provision og forhøjede ansættelsen med kr. 18.468.059, idet de til indkøbsfunktionen afholdte ud-
        gifter efter skattemyndighedernes opfattelse kunne skønnes til at udgøre kr. 3 mio., mens resten af provi-
        sionen blev anset som et ikke-fradragsberettiget tilskud.

        Landsskatteretten stadfæstede skattemyndighedernes afgørelse, idet Landsskatteretten var af den opfat-
        telse, at den foretagne overdragelse af indkøbsfunktionen ikke kunne anerkendes skattemæssigt

        Herved henså Landsskatteretten til, at der for Hobby Hall A/S ikke bestod nogen erhvervsmæssig risiko, idet
        selskabet handlede i Jysk Sengetøjslager A/S’ navn og for dette selskabs regning og risiko.

        Ordningen fandtes efter Landsskatterettens opfattelse derfor ikke at være forretningsmæssig begrundet, og
        i den forbindelse henviste Landsskatteretten til selskabets revisors skrivelse af den 28. august 1992, hvoraf
        fremgik, at Hobby Hall A/S’ funktion alene var at foretage indkøb til Jysk Sengetøjslager A/S, idet sidst-
        nævnte selskab foretog faktureringer til datterselskaber mv. Ordningen fandtes herefter alene at være
        etableret for at overføre indkomster til Hobby Hall A/S, hvorfor Landsskatteretten stadfæstede skattemyn-
        dighedernes afgørelse.

        Vestre Landsret stadfæstede ved dom af den 11. december 1997 Landsskatterettens afgørelse i sagen med
        den begrundelse, at de aftalte vilkår mellem Hobby Hall A/S og moderselskabet ikke kunne anses for sæd-
        vanlige forretningsmæssige vilkår.

        Ligesom Vestre Landsret fandt Højesterets flertal også, at der ikke var grundlag for at anerkende opsplitnin-
        gen af indkøbsfunktionen. Af flertallet fandt således, at aftalen afveg fra normale, forretningsmæssigt be-
        grundede funktionsopdelinger, at den ordning måtte tilsidesættes i skattemæssig henseende.

        I nærværende sag er det imidlertid Højesterets mindretals begrundelse, der er interessant.

        Mindretallet anerkendte i princippet den selskabsretlige konstruktion, om end den ydede provision ikke
        kunne anerkendes i størrelsesmæssig henseende. Af mindretallets begrundelse fremgår følgende:

                     ”Dommerne Walsøe og Jytte Scharling udtaler:

                     Den af Hobby Hall udførte indkøbsfunktion kan som anført ikke anses for en sædvanlig
                     agenturvirksomhed, men har karakter af løbende udførelse af indkøbsopgaver for det
                     interessefor- bundne J.S. Ejendoms- og Investeringsselskab.

Sagsnr. XX-XXXXXXX                                          Side 3/3
Case 1:18-md-02865-LAK                       Document 836-47               Filed 06/27/22            Page 447 of 462




                     På grundlag af oplysningerne om Jysk Sengetøjslager-koncernens art og størrelse samt
                     de afgivne forklaringer må det efter vores opfattelse lægges til grund, at overførslen
                     af indkøbsfunktionen til et selvstændigt selskab inden for koncernen også tjente for-
                     retningsmæssige hensyn. Vi finder herefter, at der ikke er grundlag for skattemæssigt
                     helt at se bort fra aftalen af 25. august 1989.

                     Aftalen er imidlertid indgået mellem interesseforbundne parter, og af de grunde, der
                     er anført af landsretten, tiltræder vi, at det må anses for usandsynligt, at appellanten
                     ville overlade indkøbsopgaver på tilsvarende vilkår til en udenforstående virksomhed.

                     Hobby Hall afholdt udgifterne til personale, lokaler, kørsel og administration, og
                     Hobby Hall’s udførelse af indkøbsfunktionerne ville med hensyn til kvalitet, priser m.v.
                     være af en vis betydning for appellantens indtjening. På denne baggrund må det anta-
                     ges, at det også ville være normalt forretningsmæssigt begrundet at tilsige en koncer-
                     nforbundet virksomhed en fortjeneste for udførelsen af indkøbsfunktionerne for appel-
                     lanten.

                     Under hensyn til Hobby Hall’s omkostninger ved indkøbsvirksomheden og den særde-
                     les begrænsede økonomiske risiko overstiger den aftalte provision på 5% af omsætnin-
                     gen imidlertid i betydelig grad, hvad der kunne opnås mellem uafhængige parter.

                     På denne baggrund stemmer vi for at tage parternes subsidiære påstande om sagens
                     hjemvisning til fornyet behandling ved ligningsmyndighederne til følge.”

        Som det ses, anerkendte Højesterets mindretal i princippet opsplitningen af indkøbsfunktionen – dvs. den
        foretagne selskabsretlige konstruktion.

        Højesterets dom illustrer endvidere det faktum, at realitetsgrundsætningen ikke finder anvendelse ved blot
        enhver uoverensstemmelse.

        Endvidere kan der for det femte henvises til Vestre Landsrets dom af den 27. juni 2002, der er offentliggjort
        TfS 2002, 760 V.

        Sagen drejede sig om, hvorvidt en leasingvirksomhed, som blev drevet af et leasingselskab, ophørte, før el-
        ler senest samtidig med at samtlige aktier i leasingselskabet pr. 1. september 1992 blev overdraget af Aktiv-
        banken A/S til sagsøgeren, Bilka Lavprisvarehus A/S, der herefter blev sambeskattet med leasingselskabet,
        og om leasingselskabet på dette tidspunkt havde afhændet samtlige sine driftsmidler, med den konsekvens
        at selskabets afskrivningssaldo vedrørende driftsmidlerne skulle fradrages skattemæssigt i regnskabsåret
        1992 (skatteåret 1993/1994) efter den dagældende afskrivningslovs § 6.

        Aktivbanken, der var eneaktionær i et leasingselskab, havde afhændet aktierne i leasingselskabet til Bilka.

        Leasingselskabet havde en stor uudnyttet afskrivningssaldo, og købsprisen var fastsat som leasingselskabets
        egenkapital med et tillæg på kr. 49 mio., der blev beregnet på grundlag af en forventet skattemæssig værdi
        af leasingaktiverne.

        Leasingselskabet havde ved overdragelsen intet personale, og der blev ikke indgået flere kontrakter.

        Landsskatteretten stadfæstede skattemyndighedernes afgørelse med følgende begrundelse:

                     ”Landsskatteretten skal udtale

                     Ud fra en samlet vurdering af kontraktmaterialet og de gennemførte dispositioner i
                     forbindelse med Bilkas overtagelse af Leasingselskabet finder Landsskatteretten i

Sagsnr. XX-XXXXXXX                                            Side 3/3
Case 1:18-md-02865-LAK                       Document 836-47                Filed 06/27/22           Page 448 of 462




                     overensstemmelse med skattemyndighedernes synspunkt at måtte lægge til grund, at
                     samtlige driftsmidler i Leasingselskabet – uanset det formelle grundlag – reelt må an-
                     ses for overdraget, inden Bilka overtog selskabet, og at hele den hidtidige erhvervs-
                     mæssige aktivitet dermed var ophørt på dette tidspunkt.

                     Landsskatteretten har herved henset til de fra skattemyndighedernes side fremførte
                     anbringender til støtte for synspunktet, idet retten særlig har lagt vægt på, at der efter
                     Bilkas overtagelse af Leasingselskabet ingen faktisk aktivitet har været i dette, ligesom
                     der i kraft af de indgåede aftaler ikke har været nogen økonomisk risiko eller nogen
                     mulighed for yderligere indtægtserhvervelse forbundet med leasingaktiviteten.

                     Da retten er enig med Kammeradvokaten i, at der ikke har bestået nogen interesse-
                     modsætning mellem Bilka og Aktivbanken for så vidt angår den fortsatte formelle pla-
                     cering af en leasingaktivitet i Leasingselskabet med henblik på at kunne udnytte sel-
                     skabets afskrivningsgrundlag skattemæssigt, og da retten endvidere kan tiltræde det
                     af Kammeradvokaten anførte vedrørende realitetsgrundsætningen, finder retten, at
                     den af skattemyndighederne foretagne omkvalifikation af de indgåede aftaler har væ-
                     ret berettiget. Da retten endelig er enig i de fore- tagne ændringer af skatteansættel-
                     serne under de anførte forudsætninger, stadfæstes de påklagede ansættelser”

        Skatteministeriet gjorde gældende, at selskabets leasingaktiviteter i skattemæssig henseende blev afstået
        samtidig med salget af selskabet, idet aktiviteterne efter dette tidspunkt savnede realitet. Tab ved afhæn-
        delse af driftsmidlerne skulle derfor fratrækkes samme skatteår. Da leasingselskabets sambeskatning med
        det købende selskab først blev etableret det efterfølgende skatteår, kunne det konstaterede underskud ef-
        ter Skatteministeriets anbringende ikke anvendes i sambeskatning med det købende selskab.

        Skatteministeriet anførte til støtte for anbringendet om fravær af realitet, at der havde foreligget et interes-
        sefællesskab mellem det sælgende og det købende selskab på grundlag af sammenfaldende skattemæssige
        interesser, samt endvidere, at der var indgået aftaler, der eliminerede tabsrisiko og gevinstmulighed knyttet
        til leasingaktiverne.

        Det blev hermed gjort gældende, at det sælgende selskab i realiteten havde frakøbt leasingaktiverne, såle-
        des at leasingaktiviteterne forblev hos sælgeren efter overdragelsen af aktierne i selskabet.

        Landsretten lagde til grund, at salget af selskabet var skattemæssigt betinget, og at der efter salget ikke fo-
        regik nogen reel aktivitet i leasingselskabet.

        Landsretten lagde imidlertid vægt på, at der fortsat blev drevet leasingvirksomhed på grundlag af leasing-
        kontrakterne, herunder med de aktiver, som leasingselskabet fortsat i hvert fald formelt ejede.

        En fælles skattemæssig interesse, driftsrisikoens forbliven hos sælgeren samt det forhold, at sælgeren efter
        salget fortsat over for leasingtagerne fremstod som ejer af leasingaktiviteterne, kunne ikke begrunde, at det
        havde været hensigten at ændre ved ejerforholdet til leasingaktiverne.

        Ved landsrettens dom blev Skatteministeriet herefter dømt til at anerkende arrangementets realitet.

        Fra praksis skal der for det sjette henvises til Højesterets dom af den 10. juni 1997, der er offentliggjort TfS
        1997, 506 H.

        Sagen omhandlede en hovedaktionærs optagelse af lån i et behersket skattelyselskab.

        Den i sagen omhandlede skatteyder, der i årene 1980-92 var bosiddende i Bel- gien, var alene skattepligtig i
        Danmark af erhvervsindtægter og erhvervsformue.




Sagsnr. XX-XXXXXXX                                            Side 3/3
Case 1:18-md-02865-LAK                    Document 836-47                Filed 06/27/22            Page 449 of 462




        Skatteyderen foretog for 1985 fradrag for renter af lån i sin skattepligtige indkomst og for 1986 fradrag for
        gæld i sin skattepligtige formue som følge af et lån på kr. 4 mio. ydet af et af ham stiftet selskab på Jersey til
        hans personligt drevne virksom- hed i Danmark.

        Lånet på kr. 4 mio. blev ydet af et af skatteyderen stiftet selskab på Jersey den 13. september 1985 til skat-
        teyderens personligt drevne virksomhed i Danmark, Ejendomscenteret, som indfriede dette etårige finan-
        slån den 15. september 1986. Som långiver havde skatteyderen underskrevet for Jersey-selskabet ifølge
        fuldmagt, og som låntager havde Ejendomscenteret v/skatteyderen underskrevet.

        Skatteyderen havde fra selskabet modtaget uigenkaldelig fuldmagt til at foretage alle dispositioner vedrø-
        rende selskabets værdipapirer, og det omhandlede lånedokument var underskrevet af skatteyderen for lån-
        giveren ifølge fuldmagt og af skatteyderen som låntager for virksomheden.

        Skattemyndighederne godkendte ikke disse fradrag, med den begrundelse at skatteyderen i realiteten både
        var kreditor og debitor i låneforholdet. Lånets formelle eksistens blev ikke anfægtet.

        Skatteyderen påklagede skattemyndighedernes afgørelse til Landsskatteretten, som stadfæstede de fore-
        tagne ansættelser.

        Skatteyderen indbragte herefter sagen for landsretten, hvor skatteyderen dels nedlagde påstand om, at
        Skatteministeriet blev tilpligtet at anerkende, at skatteyderens skattepligtige formue i Danmark for indkom-
        ståret 1985 blev reduceret med kr. 4 mio., dels nedlagde påstand om, at Skatteministeriet blev tilpligtet at
        anerkende, at skatteyderen i sin skattepligtige indkomst i Danmark for indkomståret 1985 var berettiget til
        at fradrage renter på kr. 126.000 og for indkomståret 1986 var berettiget til at fradrage renter på kr.
        229.556.

        Skatteyderen gjorde under sagen gældende, at Jersey-selskabet var et lovligt etableret og bestående sel-
        skab efter lovgivningen på Jersey. Selskabet skulle som følge heraf anerkendes i Danmark som et selvstæn-
        digt skattesubjekt. Lånet af den 10. september 1985 på kr. 4 mio. var indgået mellem to selvstændige rets-
        subjekter med Jersey-selskabet som kreditor og skatteyderen som debitor, og lånet skulle derfor anerken-
        des i skatteretlig henseende, idet lånet var indgået på sædvanlige forretningsmæssige og uanfægtelige vil-
        kår. Skatteyderen havde ikke bestemmende indflydelse i Jersey-selskabet, der havde en selvstændig besty-
        relse, som skatteyderen end ikke var medlem af.

        Endelig gjorde skatteyderen gældende, at lånevilkårene var sædvanlige og almindelige markedsvilkår. Der
        var ingen sammenblanding af parternes interesser i forbindelse med lånet, som også blev indfriet rettidigt.

        Landsretten lagde til grund, at hovedformålet med selskabets eksistens og overdragelsen af pantebrevene
        har været at opnå skattemæssige fordele.

        Landsretten lagde endvidere til grund, at skatteyderen i den relevante periode havde været enerådende i
        selskabet på Jersey (Zartok Ltd.)., som havde sit udspring i Danmark, hvorfra selskabet også blev drevet.
        Skatteyderen havde efter landsrettens opfattelse ikke dokumenteret eller på anden måde sandsynliggjort
        nogen forretningsmæssig begrundelse for driften og eksistensen af Zartok Ltd. El- ler for det lån, som dette
        selskab ydede til sagsøgers i Danmark personligt drevne virksomhed, Ejendomscentret Nordbo Huse.

        Derfor fandt landsretten, at skatteyderens lånoptagelse på kr. 4 mio. hos selskabet på Jersey burde fraken-
        des skattemæssig betydning

        Højesteret fandt derimod, at optagne lån hos selskabet på Jersey havde den fornødne realitet og derfor
        burde anerkendes, og Højesteret statuerede, at den aftalte rentesats svarede til armslængdevilkår.

        Af Højesterets – kortfattede – begrundelse fremgår følgende:
                 ”Sagen angår alene det lån, som Tage S. Nielsens personlige firma, Ejendomscentret
                 Nordbo Huse, i september 1985 optog hos Zartok Ltd. Zartok Ltd. Var et på Jersey lov-

Sagsnr. XX-XXXXXXX                                          Side 3/3
Case 1:18-md-02865-LAK                        Document 836-47                Filed 06/27/22           Page 450 of 462




                     ligt oprettet og bestående selskab, og lånet, som afløste danske banklån, blev ydet på
                     almindelige markedsvilkår.

                     Højesteret finder, at låneoptagelsen havde karakter af en sædvanlig forretningsmæs-
                     sig disposition til finansiering af virksomhedens drift. Der er derfor ikke grundlag for at
                     frakende lånet skattemæssig betydning.

                     Højesteret tager herefter appellantens påstand til følge.”

        Fra praksis skal der for det syvende henvises til Højesterets dom af den 16. april 1997, der er offentliggjort i
        TfS 1997, 392 H.

        Sagen omhandlede et dansk selskab, der havde foretaget en del af sin eksport gennem en behersket anstalt
        i Liechtenstein til en pris svarende til blot 50 pct. Af faktureringsprisen ved salg direkte fra moderselskab.

        Det var skattemyndighedernes opfattelse, at der forelå en mellemfakturering uden selvstændig økonomisk
        realitet, hvorfor anstaltens indkomst blev tilbageført til det danske moderselskab.

        Landsskatteretten stadfæstede skattemyndighedernes afgørelse. I den forbindelse lagde Landsskatteretten
        til grund, at der ved salget af de omhandlede varer gennem selskabet i Liechtenstein var foregået en under-
        fakturering på ca. 50 pct., hvilket fremgik af, at de faktisk opnåede priser ved videresalget til firmaerne i
        Holland og Tyskland var omtrentlig de dobbelte af de til firmaet i Liechtenstein fakturerede priser.

        Landsskatteretten lagde endvidere vægt på, at selskabet i Liechtenstein var uden ansatte, lokaler og er-
        hvervsmæssig aktivitet, hvorfor selskabet efter Landsskatterettens opfattelse måtte anses for et i skatte-
        mæssig henseende ikke-eksisterende selskab.

        Vestre Landsrets flertal gav sagsøgeren medhold, idet flertallet lagde til grund, at salget gennem selskabet i
        Liechtenstein skete, til priser der ikke væsentligt afveg, fra de priser der blev anvendt ved salg til andre
        udenlandske aftagere. Uanset om disse priser var ca. 50 pct. Lavere, end de priser der anvendtes ved salg til
        danske kunder, og uanset om der var tale om priser ved salg til mellemhandlere, fandtes der herefter ikke
        at være grundlag for at statuere, at der er sket en indkomstoverførsel til selskabet i Liechtenstein, som ikke
        skulle respekteres af skattemyndighederne.

        Højesterets flertal stadfæstede landsrettens afgørelse, idet Højesterets flertal lagde til grund, at ejeren af
        det danske selskab gennem selskabet i Liechtenstein i et ikke nærmere oplyst omfang drev virksomhed i
        form af videresalg af de om- handlede produkter til bl.a. Sverige.

        Højesterets flertal lagde endvidere til grund, at salget til selskabet i Liechtenstein som mellemhandler skete,
        til priser der ikke væsentligt afveg fra de priser, der blev anvendt i forhold til andre udenlandske aftagere.
        Derfor fandt Højesterets flertal, at det var betænkeligt at anse det for godtgjort, at salget til selskabet i Lie-
        chtenstein var sket på sådanne vilkår, at der herved forelå en overførsel af indkomst, der rettelig tilkom det
        danske moderselskab.

        Højesterets flertal statuerede således, at det foretagne mellemsalg havde den fornødne realitet, og statue-
        rede ovenikøbet, at den fastsatte mellemfaktureringspris svarede til armslængdeprisen, dvs. værdien ved
        salg til tredjemand.

        12.3.4 Realitetsgrundsætningen i den juridiske litteratur

        Som anført ovenfor har realitetsgrundsætningen også været indgående behandlet i den juridiske litteratur.

        I sin tid blev realitetsgrundsætningen formuleret af professor Jan Pedersen i doktordisputatsen ”Skatteud-
        nyttelse” fra 1989.



Sagsnr. XX-XXXXXXX                                             Side 3/3
Case 1:18-md-02865-LAK                       Document 836-47               Filed 06/27/22           Page 451 of 462




        I sin doktorafhandling lagde Jan Pedersen til grund, at civilretten i udgangspunktet er styrende for skatteret-
        ten.

        I udgangspunktet retter den skatteretlige retsanvendelse sig således ikke mod det økonomiske indhold af
        skatteydernes dispositioner – men mod den civilretlige kvalifikation af disse dispositioner.

        Med andre ord har den omstændighed, at en skatteyder eksempelvis har modtaget et beløb under nær-
        mere angivne omstændigheder, ikke selvstændig interesse for den skatteretlige retsanvendelse. Først når
        dispositionen er kvalificeret i civilretlig henseende som løn, salg, gave, lån, køb, erhvervsudøvelse osv., kan
        skattelovgivningen anvendes på de således rubricerede civilretlige begivenheder.

        Den skatteretlige kvalificering forudsætter således en forudgående civilretlig kvalificering. Derfor er der i
        udgangspunktet ikke behov for en skatteretlig sondring mellem formalitet og realitet i skatteydernes dispo-
        sitioner.

        Imidlertid er der risiko for misbrug af ovennævnte civilretlige styring.

        Gennem omgåelser eller måske endda proforma kan dispositionerne tilrettelægges, på en sådan måde at
        de i formen fremtræder på en i skatteretlig henseende fordelagtig måde, men dog således at dispositioner-
        nes faktiske og reelle indhold afviger herfra.

        Kendetegnende for en del af skatteudnyttelserne er således, at den civilretlige form benyttes som en kulisse
        med henblik på at styre beskatningen i en fordelagtig retning.

        Dispositionerne karakteriseres ved en kunstig og usædvanlig form, idet skatteud- nytteren alene ønsker at
        opnå de heraf følgende skattemæssige fordele, men ikke de tilsvarende civilretlige følger. Afståelser maske-
        res som langvarige lån eller brugsaftaler, på en sådan måde at “overdrageren” reelt opgiver sin ejendoms-
        ret, låneaftaler med tilhørende rentefradrag oprettes, uden at låntager er pålagt en reel økonomisk byrde
        etc.

        Hovedindholdet i realitetsgrundsætningen er derfor, at beskatningen under visse betingelser kan rettes
        mod den faktiske økonomiske realitet på bekostning af den modstående civilretlige formalitet.

        Det er meget væsentligt at holde sig for øje, at realitetsgrundsætningen ikke er en arbitrær norm, der giver
        skattemyndighederne mulighed for at gennemføre beskatning efter forgodtbefindende.

        Det antages således, at ovennævnte civilretlige styring alene kan tilsidesættes, såfremt den hævdede form
        slet ikke svarer til de realøkonomiske realiteter, idet det dog ikke er muligt at angive mere konkrete og klare
        rammer for grundsætningens anvendelsesområde. Jf. således Jan Pedersen i TfS 2000, 142, hvor følgende
        endvidere anføres:

                     ”I sin tid blev realitetsgrundsætningen formuleret som et resultat af domstolenes rets-
                     skabende virksomhed.

                     Det blev fremhævet, at etableringen af praksis opfyldte helt essentielle skattepolitiske
                     behov, og at en passivitet mod skatte- udnyttelse indebar en trussel mod selve ind-
                     komstbeskatningen og dermed hele samfundet.

                     Domstolene påtog sig herved et betydeligt retspolitisk ansvar, som opnåede tilslutning
                     fra brede kredse – også blandt skatteydere.

                     Den forløbne retsudvikling har forøget og forstærket dokumentationen for selve eksi-
                     stensen og egenarten af det retlige princip, som realitetsgrundsætningen er udtryk for.




Sagsnr. XX-XXXXXXX                                            Side 3/3
    Case 1:18-md-02865-LAK                        Document 836-47                Filed 06/27/22            Page 452 of 462




                         Den konkrete retsanvendelse vil altid være vanskelig, idet den indebærer en afvejning
                         af rent normative begreber.

                         De enkelte afgørelser og domme kan derfor give anledning til diskussion pro et contra.
                         Afgørende er imidlertid, at navnlig

                         Højesteret foretager en ihærdig overvågning til sikring af, at realitetsgrundsætningen
                         ikke misbruges til gennemførelse af en uhjemlet beskatning. Herved sikres ikke blot, at
                         beskatning sker på lovligt grundlag, men tillige sikres den grundlæggende aftalefrihed.

                         Højesteret har herved fortsat sit retspolitiske ansvar og medvirket til, at retsstillingen
                         ud fra en overordnet bedømmelse fortsat må anses for ret og rimelig.”

            12.3.5 Realitetsgrundsætningen anvendt på pensionsplanernes sager

            Som anført har realitetsgrundsætningen -   ikke
                                                          -karakter af en fri adgang for skattemyndighederne til en skat-
            teretlig omkvalificering af et givent faktum.

            Det følger således af den ovenfor citerede praksis fra Højesteret, at realitetsgrundsætningen ikke blot kan
            misbruges til gennemførelse af en uhjemlet beskatning, idet beskatningen ifølge realitetsgrundsætningen –
            som anført af Jan Pedersen – fortsat skal indebære rimelige resultater.

            I nærværende sag gøres det gældende, at man ikke med hjemmel i realitetsgrundsætningen kan bortcensu-
            rere pensionsplanernes ejerskab til de omhandlede aktier.

            Der findes således ikke det i realitetsgrundsætningen forudsatte misforhold mellem pensionsplanernes civil-
            retlige ejerskab og pensionsplanernes skatteretlige ejerskab til de omhandlede aktieposter.

            Der er således ikke grundlag for at anlægge en anden bedømmelse i skatteretlig henseende – med andre
            ord skal pensionsplanerne også i skatteretlig henseende anses for ejere af de omhandlede aktier, der civil-
            retligt er overdraget til dem.

            Derfor var pensionsplanerne også de skatteretlige ejere af det udbytte, der blev udbetalt til pensionspla-
            nerne, og som de bagvedliggende selskaber har indeholdt udbytteskatter af. Som følge heraf tilkommer de
            omhandlede refusioner af udbytteskatter også pensionsplanerne.

            12.3.5.1 Dokumentation for forbindelsen til pensionsplanens økonomi

            Den fornødne forbindelse til pensionsplanerne, der dokumenterer, at aktietransaktionerne mv. har passeret
            pensionsplanernes økonomi, er i førersagerne ligesom i denne sag dokumenteret ved fremlæggelse af cu-
            stody statements og de af Schaffelhuber Müller & Kollegen S.à r.l. udarbejdede bogføringer.

            Aktietransaktionerne, modtagelsen af udbyttet og udbytterefusionen er alle registreret direkte på pensions-
            planernes konti (kontant- og værdipapirkontiene) hos deres respektive custodians.

            Skattestyrelsen bekræfter selv i de civile sager for High Court i London, at de har udbetalt refusionsbelø-
            bene til tre tax agents, der har overført følgende beløb til Solo Capitals kontaktkonto i Barclays Bank (om-
            regnet til danske kroner):

           Fra Syntax til Solo Capital: kr. 2.746 mia.
           Fra Goal til Solo Capital: kr. 2.79 mia.
           Fra Acupay til Solo Capital kr. 2.961 mia.

            Disse beløb er alle pensionsplanernes penge i henhold til ansøgningerne om refusion.


    Sagsnr. XX-XXXXXXX                                             Side 3/3
    Case 1:18-md-02865-LAK                   Document 836-47               Filed 06/27/22           Page 453 of 462




            Da pensionsplanerne endnu ikke havde eksisteret særligt længe, da SØIK foranledigede beslaglæggelsen af
            samtlige konti, der tilhørte de fire custodians, og Solo blev overført til PWC’s administration, var der endnu
            ingen af pensionsplanerne, der gennemførte aktietransaktioner i 2014 og 2015, der havde haft lejlighed til
            at trække penge ud fra Solo-gruppen.

            De begunstigede personer var/er også alle stadig for unge til at have modtaget pensionsudbetalinger fra
            pensionsplanerne.

            Havde Skattestyrelsen og Skatteankestyrelsen accepteret en pensionsplan, som havde handlet aktier i 2012
            – som fx The Sander Gerber Pension Plan – som førersag, kunne vi have dokumenteret udbetalinger fra
            Solo-gruppen til amerikanske banker. Denne pensionsplans transaktioner lå langt nok tilbage i tiden til at
            have nået at overføre penge ud af det, som Skattestyrelsen gerne vil betegne som et ”lukket system”.

            At samtlige realiserede gevinster stadig befandt sig på kontoen i Solo-gruppen, betyder dog ikke, at transak-
            tionerne ikke havde nogen forbindelse til pensionsplanernes økonomi.

            12.3.5.2 Realitetsgrundsætningen – aftaler med uafhængige parter på markedsvilkår

            Mens Skatteankestyrelsen ikke tvivler på, at køb og salg af aktier, forwardkontrakterne og aktieudlånene
            blev indgået mellem uafhængige parter, er den manglende indbetaling af den i custody agreement, punkt
            5.1, nævnte indbetaling til custodian for Skatteankestyrelsen et tegn på den manglende uafhængighed af
            pensionsplanerne i forhold til custodian.

            Depotaftalen, som pensionsplanerne underskrev med Solo-gruppens custodians, indeholdt et standardkrav
            om at indbetale en margin på USD 500.000, inden aktiehandlen kunne starte. Pensionsplanerne blev dog in-
            formeret om, at denne betingelse var indføjet med henblik på fremtidige transaktioner, der skulle foregå
            under MIFID II-reglerne. MIFID II var dog endnu ikke trådt i kraft i 2014. De pågældende custodians lod der-
            for pensionsplanerne vente med at indbetale den forlangte margin, til efter den (de) første handel (handler)
            var gennemført, såfremt pensionsplanen ville købe aktierne den sidste dag inden udbyttets ex-dato. Denne
            risiko kunne de respektive custodians løbe, idet custodian allerede ved modtagelse af nettoudbyttet kunne
            tage den oprindeligt forlangte ”initial margin”.

            At custodian ikke straks forlangte den forudsete margin, betyder dog ikke, at pensionsplanerne ikke var uaf-
            hængige af deres custodian. Fortjenesten, som custodian havde på transaktionerne, var stor nok til, at
            denne som uafhængig tjenesteyder var villig til at løbe den finansielle risiko i ganske få dage.




            12.3.5.3 Realitetsgrundsætningen – handler reelt gennemført på pensionsplanernes vegne, herunder rå-
            deret

            Skatteankestyrelsens fremfører i styrelsens indstilling i førersagerne ikke mindre end to argumenter for de-
            res standpunkt, at handlerne ikke skulle være gennemført af eller på vegne af pensionsplanerne:

1           Der er ikke fremlagt dokumentation for overførsel af midler til pensionsplanen fra custodian eller andre ak-
            tører involveret i aktietransaktionerne mv
2           Den lange række af fremlagte aftaler, kontoudtog, handelsnotaer mv. med custodian som den agerende i
            transaktionerne skulle –sagens omstændigheder taget i betragtning – ikke være tilstrækkeligt til at doku-
            mentere, at custodian har handlet på pensionsplanernes vegne.

            12.3.5.3.1 Overførsler fra custodian




    Sagsnr. XX-XXXXXXX                                        Side 3/3
Case 1:18-md-02865-LAK                   Document 836-47                Filed 06/27/22           Page 454 of 462




        Hvem pensionsplanerne har betalt hvor meget for at muliggøre transaktionerne, er uden relevans for
        spørgsmålet om, hvorvidt pensionsplanerne erhvervede ejerskab til aktierne.

        Idet pensionsplanerne ikke selv rådede over den nødvendige kapital til at finansiere transaktionerne, løb
        clearing-agenten og custodian naturligvis en relativt stor risiko for at måtte springe ind og betale for ak-
        tierne, hvis pensionsplanen ikke kunne skaffe en aktielåntager i tide. Denne risiko tog clearing-agenten og
        custodian sig naturligvis godt betalt for.

        Personerne, der formidlede pensionsplanerne som kunder til Solo-gruppen, lod sig ligeledes betale en ”In-
        troduction” eller ”Arrangement fee”.

        Pensionsplanerne var fra begyndelsen af klar over, at dette var nødvendige forretningsmæssige transak-
        tionsomkostninger, som de måtte betale, efter at de havde realiseret gevinsten fra selve transaktionerne
        som præsenteret i annex 1.

        Overførslerne blev gennemført elektronisk hvorfor pensionsplanerne ikke kan fremlægge dokumentation
        herfor. De er dog heller ikke nødvendige for at erhverve ejerskab.

        I henhold til Skattestyrelsens egne stævninger indgivet til High Court i London er Skattestyrelsen enig i, at
        der er foretaget betalinger fra Solo Capitals konto i Barclays Bank i ganske betydeligt omfang til diverse
        modtagere. Skattestyrelsen er- kender derved, at der er betalt tjenesteydere fra Solo Capitals konto på
        vegne af pensionsplanerne, som var ejere af midlerne på Solo Capitals konto.

        Hvilket beløb, der først blev faktureret af Solo Capital til pensionsplanerne for tjenesteydelser og derefter
        betalt af Solo Capital selv til andre tjenesteydere, og hvilke beløb, pensionsplanerne selv betalte til andre
        tjenesteydere, kan på nuværende tidspunkt ikke dokumenteres ud fra stævningerne i London.

        Det fremgår dog, at følgende personer og virksomheder har modtaget følgende beløb fra Solo Capitals
        konto i Barclays Bank til deres respektive konti i Varengold Bank:


          MQsl1llg!!~               Bel0b modtaget               Qmi;tg!!illQ fil           TOTAL
                                    fra Solo Capital I           DKK
                                    henhold til
                                    st.evningerne I
                                    London


          Ganymede Cay-             200.624.137 EUR              1.496.644.478 DKK          2,2 mia. DKK
          man
                                    57.319 077 GBP              459.131.688 DKK

                                    5.308.011 USO               35.356.626 OKK




Sagsnr. XX-XXXXXXX                                        Side 3/3
Case 1:18-md-02865-LAK                    Document 836-47              Filed 06/27/22           Page 455 of 462




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                       Limited        8.666.662, .#!.
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           Elysium Global'
           #2-/&8             222.100.000 EUR           Ca. 1,8
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            2-/&8             2.2 11.193 EUR            16.493.976 DKK            33,5 08
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           Dubai Ltd
           $' 8                                                                     DKK
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           Sanjay
            %' Shah
                    '              11.100.000 USO            74.294.828,64 8
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Sagsnr. XX-XXXXXXX                                        Side 3/3
Case 1:18-md-02865-LAK                   Document 836-47               Filed 06/27/22          Page 456 of 462




        Fra Barclays Bank blev der i henhold til stævningerne også foretaget følgende betalinger til andre konti:

          MR!lt@ggc                 Bel0b modtaget             Qmcgooiog DKK             TOTAL
                                    fra Solo Capital I                                   DKK
                                    henhold til
                                    sta!vningerne I
                                    London

          Elysium Global Ltd        110.000.000 EUR            820 .495 .951,55          1,7 row,.
          (Virgin Islands) (or)                                DKK                       DKK
          Elysium Global Du-        22.000.000 GBP
          bai Ltd                                              177.836 .721 DKK
                                    96.000.000 USD
                                                               642 .623 .757 DKK


          Ganymede Cay-             9.000.000 EUR              67.139.806,23 DKK         212,6 roiQ,
          man                                                                            DKK




Sagsnr. XX-XXXXXXX                                        Side 3/3
Case 1:18-md-02865-LAK                      Document 836-47              Filed 06/27/22       Page 457 of 462




                                         18.000.000 GBP            145.482.61 8,47
                                                                   DKK

           Sanj ay Shah                  9.818.000 EUR             73.242.085, 70 DKK     94,4 roio,
                                                                                          DKK
                                         2.493.000 GBP             2 0.148270 DKK

                                         151.000 USO               1.010.489,16 DKK


           Edo ~                         60.000 GBP                480.606 DKK            12 roio, DKK

                                         1 .554.375 EUR            1 1.595.548 DKK

           Jaswinder Bains               3,245 roio. G BP          2 6 11Jio._ DKK        26 roio, DKK

           Tree frog capital             13.545.774 EU R           101 .050.692 DKK       114 roio,
           Limed                                                                          DKK
                                         2.000.500 USO             13.325 .3 17

           Darren Lui                    274.191 GBP               2-196.298 DKK          2,2 roio.
                                                                                          DKK

           ~          Shah               6.596.000 GBP             53,3 wio.- DKK         53,3 roio,
                                                                                          DKK

           l::lo.R1!lORIQQIQSl.          24.180.000 JPY            1.5 24.657 DKK         9, 1 roio,
                                                                                          DKK
                                         950.000 GBP               7 .609.595 DKK

           Solo Gapital Lim-             1.152.700 GBP                                    9,3 roio,
           i)g:j;j.                                                                       DKK

                      Gapi!al Ltd        531.000 GBP               4.253.364 ,49 DKK      4, 4 w.LQ..
                                                                                          DKK
                                         17.000 E UR               126.8 19 ,02 DKK


           ~s.-                          2.150.333 EUR             16 IIJio.. DKK         16 roio, DKK

                      Q l)Q{ijii,willa   1.500.000 EUR             11.190.027,63 DKK      12 roio, DKK

           Old P ark Lane                206.099 GBP               1.650.874 ,14 DKK      1 ,7 roio,
           Capital Ltd                                                                    DKK



           l i:1~11 Markets              320.000 EUR              2.387.181,52 DKK      7 roiQ, OKK
           LLP
                                         672.522 USO              4.479.664,58 DKK



Sagsnr. XX-XXXXXXX                                          Side 3/3
Case 1:18-md-02865-LAK                   Document 836-47                Filed 06/27/22           Page 458 of 462




        12.3.5.3.2 Custodians handlinger på pensionsplanernes vegne

        Den fremlagte dokumentation viser netop, at custodian ikke har handlet på vegne af pensionsplanerne før
        de af pensionsplanerne selv indgåede aktiehandler skulle afvikles. Det er heller ikke en custodians opgave.
        En custodian bliver først rigtigt aktiv, når pensionsplanerne allerede er blevet ejere af de danske aktier, ved
        at deres ordrer til køb af danske aktier bliver matchet ved brokeren med salgsordrer.

        Custodians ”handler” heller ikke ”på vegne” af pensionsplanerne. De udfører ordrer modtaget fra pensions-
        planerne: ordrer til at afvikle de aktiekøb, som pensionsplanerne selv har udført.

        Sådan som systemerne til afvikling af aktiehandler fungerer, kan afviklingen af en aktiehandel ikke stoppes
        længere, så snart en købsordre er blevet matchet med en salgsordre. Enhver clearer/custodian, der autori-
        seres af en tilsynsmyndighed i EU, skal lade sit computersystem til afvikling af aktiehandlerne godkende af
        til- synsmyndigheder. Dette sikrer, at handlerne afvikles korrekt, og at der ikke kan gribes manuelt ind i af-
        viklingsprocessen.

        Afviklingen sættes ikke i gang af handelsnotaen, således som det påstås af Skattestyrelsen i styrelsens sam-
        menfattende indlæg. Afviklingen sættes i gang af et eget elektronisk signal (afviklingsinstruktionen) auto-
        matisk udløst af handelssystemet, når købs- og slagsordre er blevet matchet.

        12.4 I øvrigt ikke grundlag for at tilsidesætte pensionsplanens skattemæssige ejerskab

        Pensionsplanens skattemæssige ejerskab kan desuden ikke tilsidesættes, med den begrundelse at pensions-
        planen skulle have ejet flere aktier, end der var til rådighed på markedet, eller at der er blevet udbetalt
        mere i refusion end modtaget fra de danske selskaber.

        At pensionsplanen kunne eje de store aktieposter, er en naturlig konsekvens af, at ejerskab erhverves alle-
        rede med aftalen om køb af aktier. Short selling vil have denne for enhver køber af danske aktier usynlige
        konsekvens, at ingen ved, om de køber en aktie af en long owner eller en short seller. Heller ikke hvis man
        køber tre aktier i Tryg A/S hos sin egen bank. Især købet af aktier gennem en bank, der har tilladelse til at
        handle som ”market maker”, er risikoen stor for, at man køber en aktie, som banken slet ikke har – at ban-
        ken handler som udækket short seller, sådan som det er ønsket af EU og Finanstilsynet for at øge likvidite-
        ten i danske aktier.

        At udbetalingen af refusion KAN overstige indbetalingen, kan være en konsekvens enten af short selling el-
        ler simpelthen af at aktionærer med en skattestatus sælger til aktionærer med en anden skattestatus på ud-
        byttedatoen med en settlement dato efter record day.

        Det bestrides dog, at Danmark skulle have udbetalt mere i refusion end modtaget fra de danske selskaber.

        Skatteankestyrelsen anerkender i førersagerne konsekvenserne af short selling som præsenteret af pen-
        sionsplanernes repræsentanter, og at dette kan medføre, at der i visse situationer kan skabes flere ejere af
        danske aktier end svarende til det antal aktier, som selskaberne har udstedt, men at dette heller ikke fører
        til et andet resultat

        (…)

        ENDELIG KONKLUSION

        På baggrund af ovennævnte gøres det sammenfattende gældende, at der ikke er grundlag for
        at tilbagekalde de oprindelige afgørelser om refusion af udbytteskatter.

        Skattestyrelsens anbringender i nærværende sag er bygget på antagelser opstået flere år efter
        afgørelserne om refusion af udbytteskat.



Sagsnr. XX-XXXXXXX                                        Side 3/3
Case 1:18-md-02865-LAK                    Document 836-47               Filed 06/27/22           Page 459 of 462




        Den bevistvivl, som Skattestyrelsen har søgt at opstille, må i vidt omfang tilskrives Skattestyrel-
        sens egen, mangelfulde sagsoplysning. Som anført ovenfor er der tale om udokumenterede an-
        tagelser om pensionsplanernes manglende ejerskab, som Skattestyrelsen ikke har ført noget
        egentligt bevis for. Dertil kommer, at Skattestyrelsen reelt ikke har ønsket at bidrage til oplys-
        ningen af sagerne, men har forsømt at indhente en lang række relevante oplysninger.

        I nærværende sag skal det lægges til grund, at pensionsplanen var den skatteretligt retmæssige
        ejer af de i sagen omtvistede aktieposter og udbyttebetalinger, og at pensionsplanen derfor
        også havde ret til de omhandlede udbytterefusioner, som den også modtog.

        Pensionsplanen har fremlagt et meget omfattende materiale til støtte for realiteten i de om-
        handlede transaktioner – både i relation til aktiehandlerne, aktielånene og de omhandlede
        forwards.

        Den fremlagte dokumentation skal selvsagt ses i lyset af, at fremskaffelsen som anført bl.a. er
        besværliggjort af det forhold, at oplysningerne er søgt fremskaffet flere år efter de oprindelige
        refusionsanmodninger, at en række oplysninger lægger på de hos custodians beslaglagte hard-
        diske osv.

        Ikke desto mindre har pensionsplanen fremlagt den tilstrækkelige dokumentation for de om-
        handlede aktiehandler, herunder handelsnotaer, custody statements og DCA’ere.

        Det er efter omstændighederne ikke blot urealistisk at stille krav om yderligere dokumentation
        – det er også urimelig. Særlig når henses til at Skattestyrelsen selv har forsømt at indhente en
        række af oplysningerne.

        Tilsvarende har pensionsplanen også ved det fremlagte DCA’ere hidrørende fra custodians i til-
        strækkelig grad dokumenteret modtagelsen af nettoudbytterne.

        DCA’ere er som anført den eneste mulige dokumentation for modtagelsen af nettoudbytterne.

        Som anført er det både urealistisk og urimeligt at stille krav om dokumentation af pengestrøm-
        mene af udbytterne fra aktieudstedende selskab til aktionær. Det er jo umuligt at identificere
        hvilken del af de under market claim processen modtagne nettoudbytter, der hidrørte fra op-
        rindelige udbytter udloddet af det aktieudstedende selskab, og hvor stor en del af nettoudbyt-
        terne der hidrørte fra kompensationsbetaling fra en short seller.

        Der kan som anført heller ikke komme pensionsplanen til skade, at lovgiver i Danmark ikke har
        formået at tage hensyn til short sellings særlige natur, der bl.a. med- fører det tilsigtede fæno-
        men, at der kan være udbydes et større antal aktier end udstedt, samt det deraf afledte dob-
        belte ejerskab

        Landsskatteretten skal således lægge til grund, at pensionsplanen var den skatte- retligt ret-
        mæssige ejer af de i sagen omtvistede aktieposter og udbyttebetalinger, og at pensionsplanen
        derfor også havde ret til de omhandlede udbytterefusioner, som den også modtog.”

Landsskatterettens afgørelse
Det fremgår bl.a. af kildeskattelovens § 69 b, stk. 1, at har nogen, der er skattepligtige efter § 2 eller sel-
skabsskattelovens § 2, modtaget udbytte, royalty eller renter, hvori der efter §§ 65-65 d er indeholdt kil-
deskat, som overstiger den endelige skat efter en dobbeltbeskatningsoverenskomst, tilbagebetales belø-
bet inden 6 måneder fra told- og skatteforvaltningens modtagelse af anmodning om tilbagebetaling.

Af dobbeltbeskatningsoverenskomsten mellem USA og Danmark fremgår af artikel 10, stk. 3, litra c, at
udbytte fra et selskab hjemmehørende i Danmark ikke beskattes i Danmark, såfremt den retmæssige

Sagsnr. XX-XXXXXXX                                         Side 3/3
Case 1:18-md-02865-LAK                Document 836-47             Filed 06/27/22         Page 460 of 462




ejer er en pensionskasse, som omtalt i artikel 22, stk. 2, litra e, der er hjemmehørende i USA. Det er en
forudsætning, at sådant udbytte ikke hidrører fra udøvelse af virksomhed af pensionskassen eller gen-
nem et forbundet foretagende.

Af dobbeltbeskatningsoverenskomstens artikel 22, stk. 2, litra e, fremgår, at en person, der er hjemme-
hørende i en kontraherende stat, alene skal være berettiget til alle fordele efter denne overenskomst,
hvis denne person er en juridisk person, hvad enten fritaget for beskatning eller ikke, der er organiseret
efter lovgivningen i en kontraherende stat med det formål at yde pension eller lignende ydelser efter en
fastsat ordning til arbejdstagere, herunder selvstændige erhvervsdrivende. Det er en forudsætning, at
mere end 50 pct. af denne persons begunstigede, medlemmer eller deltagere er fysiske personer, som
er hjemmehørende i en af de kontraherende stater.

Refusion af udbytteskat er således betinget af, at Pensionsplanen har ejet aktier, og at Pensionsplanen
har modtaget udbytte af disse aktier, hvor der i forbindelse med udbetalingen af udbyttet er indeholdt
udbytteskat.

Landsskatteretten finder, at det påhviler Pensionsplanen at bevise, at disse betingelser er opfyldt, og at
Pensionsplanen på den baggrund var berettiget til refusion af udbytteskat.

Landsskatteretten finder ikke, at denne bevisbyrde er løftet.

Landsskatteretten har herved lagt vægt på, at Pensionsplanen er en nystiftet pensionskasse, der ikke har
økonomi til at foretage de påståede omhandlede aktiekøb, og at det ikke er dokumenteret, at Pensions-
planen har købt og været ejer af de omhandlede påståede aktier eller har modtaget udbytte af aktierne.
Den dokumentation, der er fremlagt vedrørende transaktioner ved køb og salg af aktier, aktieudlån og
indgåelse af forwards, er alene fremlæggelse af en række aftaler m.v., der ikke dokumenterer Pensions-
planens ejerskab til de omhandlede påståede aktier. Der ses således ikke at være den fornødne forbin-
delse til Pensionsplanen, der dokumenterer, at der har været aktietransaktioner m.v., der har passeret
Pensionsplanens økonomi. Der er ikke fremlagt dokumentation for, at Pensionsplanen har indbetalt
startkapital til custodian, og der er ikke fremlagt dokumentation for øvrige overførsler af midler til Pen-
sionsplanen fra custodian eller andre aktører involveret i de påståede aktietransaktioner m.v. Der er
alene fremlagt en lang række konstruerede aftaler, kontoudtog, handelsnotaer m.v. med custodian som
den agerende i de påståede transaktioner, hvilket uanset det fremlagte ikke dokumenterer, at custodian
har handlet aktier på Pensionsplanens vegne. Der er herved særligt lagt vægt på den fortløbende num-
merering på Credit Advices i sagskomplekset, hvilket tyder på en systematisk tilrettelæggelse af de på-
ståede handler med henblik på uberettiget at opnå refusion af udbytteskat. Der henvises endvidere til
Landsskatterettens afgørelse af 19. december 2019, SKM 2019.650 LSR.

Det forhold, at der er fremlagt Tax Opinion af 27. juni 2012, kan ikke føre til et andet resultat, idet betin-
gelserne for udbytterefusion ikke er opfyldt i den konkrete sag.

Da Pensionsplanen ikke er anset for at have ejet aktier eller modtaget udbytte som angivet i forbindelse
med anmodningen om udbytterefusion, finder Landsskatteretten, at SKAT har udbetalt refusionen på et
urigtigt grundlag på baggrund af Pensionsplanens ansøgning. SKAT var derfor berettiget til at annullere
de oprindelige afgørelser om udbetaling af udbytterefusion. Repræsentantens bemærkninger om bevis-
byrde og den omstændighed, at SKAT har anvendt ordet "tilbagekaldelse", kan ikke føre til et andet re-
sultat.




Sagsnr. XX-XXXXXXX                                   Side 3/3
Case 1:18-md-02865-LAK                      Document 836-47           Filed 06/27/22      Page 461 of 462




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Case 1:18-md-02865-LAK             Document 836-47             Filed 06/27/22     Page 462 of 462




Vejledende medholdsvurdering
Skatteankestyrelsen skal komme med en udtalelse om, i hvilket omfang der er givet medhold i klagen.

Medholdsvurderingen har betydning for, i hvilken grad klageren kan få omkostningsgodtgørelse af udgif-
ter til rådgivning under klagesagen. Medholdsvurderingen er kun vejledende. Ansøgning om omkost-
ningsgodtgørelse skal sendes til Skattestyrelsen, som træffer afgørelsen.


Skatteankestyrelsen udtaler følgende:


Der er ikke givet medhold i de påklagede forhold.




Afgørelsen sendes til

The Proper Pacific LLC 401k Plan, 31W 21 ST Street Apt 2N, EzϭϬϬϭϬEĞǁzŽƌŬ͕h^

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Advokatfirmaet Poul Schmith, Kammeradvokaten I/S, Vester Farimagsgade 23, 1606 København V

Skattestyrelsen


Sagsnr. XX-XXXXXXX                                  Side 3/3
